                         EXHIBIT A




Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 1 of 662   Document 73-1
CONFIDENTIAL




                                    FIRST REPORT – Part 1

                                               of

                                      Dr. Jon A. Krosnick
                                      Stanford University
                                      432 McClatchy Hall
                                        450 Serra Street
                                   Stanford, California 94305

                                               on


                                        August 13, 2019




 Scott Weaver, individually and on behalf of all others similarly situated, Plaintiff, v. Champion
Petfoods USA, Inc. and Champion Petfoods LP, Defendants. United States District Court for the
                  Eastern District of Wisconsin, Case No. 2:18-cv-01996-JPS.




                                                                                       Page 1
     Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 2 of 662      Document 73-1
I.      Introduction and Background of Opinion

     1. I am the Frederic O. Glover Professor of Humanities and Social Sciences and a Professor

of Communication, Political Science, and (by courtesy) Psychology at Stanford University in

Stanford, California, a Research Psychologist at the U.S. Census Bureau, and a Research Advisor

of the Gallup Organization.

     2. I have written this report to offer an opinion about how providing information about

Champion dog foods to supplement information on packages affects consumers’ perceptions of

the quality of the product and the economic value of the products to consumers.

     3. A recent full curriculum vitae is attached to this declaration as Appendix A. In

paragraphs 4-9 below, I summarize some important aspects of my qualifications and background.

     4. I received an A.B. degree in psychology from Harvard University and M.A. and Ph.D.

degrees in social psychology from the University of Michigan. As a part of my undergraduate

and graduate studies, I received extensive training in social psychology, survey and experimental

research techniques, statistical data analysis, and political science.

     5. From 1986 to 2004, I was a member of the faculties in Psychology and Political Science

at The Ohio State University. My position there involved teaching classroom courses for

undergraduates and graduate students, as well as one-on-one training of graduate students in

research methods. Since 2004, I have done similar work at Stanford University.

     6. My research has been recognized by the Erik H. Erikson Early Career Award, by election

as a Fellow of the American Academy of Arts and Sciences, by election as a Fellow of the

American Association for the Advancement of Science, by two fellowships at the Center for

Advanced Study in the Behavioral Sciences, and by election as a Fellow by the American

Psychological Association, the American Psychological Society, and the Society for Personality




      Case 2:18-cv-01996-JPS          Filed 09/18/19       Page 3 of 662     Document 73-1
                                                                                         Page 2
and Social Psychology. I was awarded the Nevitt Sanford Award from the International Society

of Political Psychology. And I was awarded the lifetime career achievement award from the

American Association for Public Opinion Research, the world’s leading professional

organization of survey researchers.

   7. I have authored or co-authored seven published books and two forthcoming, more than

160 articles published or in press in journals or edited books, over 250 research presentations at

professional conferences, and more than 250 invited addresses at universities and to government

agencies, businesses, and in other settings. My journal articles have been selected by editors for

reprinting in edited books more than 15 times. My journal articles have appeared in top-ranked

journals in social psychology (Journal of Personality and Social Psychology, Journal of

Experimental Social Psychology), political science (American Political Science Review,

American Journal of Political Science), survey research methods (Public Opinion Quarterly), and

sociology (American Sociological Review, American Journal of Sociology).

   8. Much of my research has focused on survey research methods, including how best to

measure behavior and opinions through surveys, and almost all of my research has involved

collection and analysis of survey data.

   9. There are several other indicators of my competence as an expert on social science

research methods. First, I have served on the editorial board of the most prestigious journals in

social psychology (Journal of Personality and Social Psychology) and in survey research

methods (Public Opinion Quarterly). Second, I regularly serve as a reviewer for other journals,

publishers, and professional organizations. Third, I have received more than 100 grants to

support my research. Fourth, I have served on the Board of Overseers of the General Social

Survey and was co-Principal Investigator of the American National Election Studies, which are




     Case 2:18-cv-01996-JPS           Filed 09/18/19     Page 4 of 662      Document 73-1
                                                                                        Page 3
the nation's leading academic survey research projects studying the public’s opinions and

behaviors. Fifth, I have been teaching research methodology since the early 1980s and have been

invited to give lectures and teach courses on research methodology to the research staffs of

federal agencies in Washington, D.C., and at many professional organizations and universities

around the U.S., as well as in the United Kingdom, the Netherlands, South Africa, Canada, and

elsewhere.

   10. To complete my assignment in this case, I reviewed case-specific documents supplied to

me by Plaintiffs’ counsel, including:

             ●   The Third Amended Class Action Complaint
             ●   Champion Declaration re Class Cert- WI case.pdf
             ●   Champion Milam Declaration re Class Cert- Wi Case.pdf
             ●   Champion Rebuttal Expert Report- WI case.pdf
             ●   Code of Federal Regs.pdf
             ●   CPF0001136.pdf
             ●   CPF0057656.pdf
             ●   CPF1973651.pdf
             ●   CPF2070652.pdf
             ●   CPF2117026.pdf
             ●   CPF2117031-CPF2117039.pdf
             ●   CPF2117040-CPF2117048.pdf
             ●   D Colo – Jerding and Renfro v. Champion.pdf
             ●   D Iowa – Blackburn v. Champion.pdf
             ●   D Mass – Slawsby v. Champion.pdf
             ●   D Minn – Song and Wertkin v. Champion.pdf
             ●   Damages Expert Rpt.- WI case.pdf
             ●   DM-#534873-v8-Second_Amended-Complain_-
                 _Illinois_Champion_Dog_Food.pdf
             ●   Label Expert Rpt.- WI case.pdf;
             ●   Dog Food Testing.pdf
             ●   ED Mich – Shaker v. Champion.pdf
             ●   ED Wis – Weaver v Champion (redacted).pdf
             ●   ND Ill – Zarinebaf and Chernik v. Champion.pdf
             ●   NDNY – Colangelo v. Champion.pdf
             ●   WD Wash – Rydman v. Champion.pdf
             ●   Numerous Champion marketing materials and internal reports




     Case 2:18-cv-01996-JPS             Filed 09/18/19   Page 5 of 662     Document 73-1
                                                                                       Page 4
    11. I also drew upon my pre-existing knowledge of the literatures on survey research

methods and related fields. I oversaw the design and conduct of an experiment embedded in a

survey conducted with a nationally representative sample of American adults.

    12. Based upon my prior experience and my work done on this matter, I have reached the

conclusion, based on a survey that I conducted, that providing corrective information to

consumers about alleged contaminants in Champion dog foods and providing corrective

information about local sourcing, use of fresh ingredients, and participation of third parties in

manufacturing decreased the apparent quality and healthiness of Champion dog foods and

decreased the economic value of the dog foods to consumers by specific, measurable amounts. I

outline the details of all this below.

    13. My comments below are organized in the following manner. I begin by explaining the

logic and theory underlying survey research methods and the principles that justify generalizing

from a systematically selected sample of people to the full population from which they are

drawn. Then I review the uses of surveys in court and the valuable roles that surveys can play in

litigation generally and in this case in particular. Next, I review the procedures that I

implemented to conduct a survey in this case, and I describe the results of that survey. Details of

the methodology and results of the survey that I conducted are provided in the Technical Report

in this document.

Survey Research Methods

    14. Survey research is a well-established and solidly respected scientific approach to

measuring the behavior, attitudes, and beliefs of populations of individuals (Babbie, E.R. 1990.

Survey Research Methods. Belmont, CA: Wadsworth; Weisberg, H, Krosnick, J. A., & Bowen,

B. 1996. An Introduction to Survey Research, Polling, and Data Analysis. Thousand Oaks, CA:




     Case 2:18-cv-01996-JPS              Filed 09/18/19    Page 6 of 662       Document 73-1
                                                                                           Page 5
Sage). Conducting a survey research study involves three principal phases: (1) drawing a sample

of respondents to represent a population, (2) collecting data from those respondents, and

(3) analyzing the data generated to answer the questions of interest. Surveys are usually done for

one or both of two reasons: (1) to document the prevalence of some characteristic in a

population, and/or (2) to document causal processes that produce behaviors, beliefs, or attitudes.

   15. Survey research dates back at least to the 19th century, but the most significant

developments and improvements in the method took place during the first half of the 20th

century. During that time, researchers came to recognize that the method by which respondents

are selected from a population can introduce substantial error to measurements if done

improperly. Therefore, research on survey sampling has burgeoned during the last fifty years,

and the result of this work is an excellent understanding of effective methods for drawing

representative samples of populations. And the centerpiece of high quality, scientific survey

research is random selection.

   16. Although the word “random” has taken on the meaning “non-systematic” or “arbitrary”

in contemporary informal, everyday conversations, the technical, scientific meaning of this term

is anything but arbitrary. “Random” has a very specific, technical, and non-arbitrary definition in

science, and randomization is one of the most valuable scientific tools, because it allows

researchers to reach two sorts of conclusions. In one of its forms, random selection from a

population is accomplished by using a method to select a subset of the population such that each

member of the population has a known, non-zero probability of being chosen. For example, this

can be done by flipping an unbiased coin over and over again, with each observation of heads or

tails determining whether the next person on a list of population members should be chosen for

study or omitted.




     Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 7 of 662      Document 73-1
                                                                                        Page 6
   17. Randomization has also been employed in thousands of scientific experiments. Consider,

for example, randomized clinical trials in which a researcher wishes to determine whether a drug

helps people suffering from an affliction. In particular, consider a researcher who wishes to learn

whether an analgesic reduces pain from headaches. The researcher could give the drug to a group

of people who report often suffering from headaches and, a month later, could ask those people

whether their headache pain has been less than it was before they were given the drug. But if the

month began at the beginning of April, and many of the headaches people experienced during

that time were due to allergic reactions to pollen released by newly-blooming plants and flowers

at the beginning of April, then people may report less pain not as the result of taking the drug but

instead because of the disappearance of the stimulating pollen mid-month.

   18. To avoid this artifact, the researcher can compare reports of headache pain from a group

of people given the drug with reports of headache pain from a group of people not given the

drug. But imagine that the researcher collected data from the first group of people by giving

them the drug at the beginning of April and measuring headache pain at the end of April, and the

researcher collected data from people not given the drug by asking about their headache pain

during the month of May. Again, the difference between these two groups could be because less

pollen in May caused headaches then to be less painful.

   19. This ambiguity can be eliminated by random assignment. This randomization would

again be done using a truly random device. Let us assume that flipping a coin is a truly random

process, meaning that each time the coin is flipped, there is a 50% chance that it will fall with the

heads side up, and a 50% chance that it will fall with the tails side up, and that the result of any

given coin flip cannot be predicted in any way. If we begin with a group of people who agree to

participate in an experiment on analgesics and flip a coin for each of those people, we can




     Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 8 of 662       Document 73-1
                                                                                          Page 7
separate them into two groups (one whose coins land heads up, and the other whose coins land

tails up) that are essentially identical to one another in every regard: the percent of men, the

percent of women, the percent of old people, the percent of young people, the percent who have

graduated from college, the percent with red hair, and on and on. Every attribute will be present

in almost exactly the same amount in the two groups.

    20. If one of those groups is then given the analgesic to use when experiencing headaches in

April, and the other group is not given the analgesic to use during the same time period, the

difference between the two groups in their reports of headache pain will be attributable to the

impact of the drug (if a statistical test indicates that that difference had a small probability of

occurring by chance alone). This reasoning is only possible because participants were randomly

assigned to the two groups. Randomization in this sense eliminates all artifacts.

    21. But imagine that the people who participated in the experiment on headache pain were all

18-year-old men. Do the results of the study apply to 18-year-old women as well? Or to older

men and women? There is no way to know, so a researcher who studies only 18-year-old men

has no legitimate scientific basis to claim that the obtained study results show that the drug helps

adults generally. Fortunately, randomization can be used in a second way to eliminate this

ambiguity. The participants in a study can be randomly selected from the population of interest,

and the results can then legitimately be viewed as descriptive of the population.

    22. This can again be accomplished using a randomizing device. In the Netherlands, for

example, the government maintains a “register” listing every person living in that country, and

the register can be used by researchers to select a random sample of the population. You can

imagine this process being done using a randomizing device such as the coin I described earlier.

Imagine that for each person in the register, a researcher flips a coin, removes individuals from




     Case 2:18-cv-01996-JPS            Filed 09/18/19      Page 9 of 662        Document 73-1
                                                                                            Page 8
the list whose coin lands with heads facing up, and retains individuals whose coin lands with

tails facing up. After this has been done once, about half of the people in the register will remain.

If the same coin flipping procedure is implemented again among the retained individuals, about

one quarter of the original register will remain. And this can be done over and over in order to

obtain a random sample of a relatively small size (say 1,000 people out of a population of

millions). This is called “simple random sampling.”

    23. If random sampling from the population is not implemented, there is no scientific basis to

justify generalizing the results of a study from a group of participants to any larger population of

people. According to William Barber (Barber, W. G., 2011. The universe. In Diamond S. S., &

Swann, J. B. 2011. Trademark and deceptive advertising surveys: Law, science, and design.

Chicago, IL: American Bar Association), random sampling “produces the most statistically

reliable results” (p. 47).

    24. If simple random sampling is done, statistical principles permit precise documentation of

the uncertainty associated with the sample in generalizing to the population due to what is called

“sampling error.” For example, if a researcher is interested in gauging the percentage of a

company's employees who smoked five or more cigarettes each day during January, 2000, he or

she could draw a simple random sample of size N from the population of all employees and

interview each interviewed sample member, asking whether he or she smoked five or more

cigarettes each day during January, 2000.

    25. Imagine that a proportion p (somewhere between 0% and 100%) of the respondents

report having done so. If the only error in this measurement is due to simple random sampling

error, and if the study were to be repeated exactly the same way 100 times, in 95 percent of those




     Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 10 of 662       Document 73-1
                                                                                         Page 9
times, the observed proportion of smokers would be within the “confidence interval” around the

observed proportion p, that is between (p-SE) and (p+SE), where:

                                   𝑆𝐸 = ±1.96√𝑝(1 − 𝑝)⁄(𝑁 − 1)

As the size of the sample approaches the size of the total population, SE gets a bit smaller than

the formula above suggests. But most survey samples are much smaller than their relevant

populations, so the formula offered above accurately describes the sampling error involved.

   26. For example, if 38% of 1,000 survey respondents said that their favorite color was blue,

the sampling error of that proportion is:

                              𝑆𝐸 = ±1.96√. 38(1 − .38)⁄(1,000 − 1)

   27. This means that if the study were repeated 100 times, in 95 of them, the observed

proportion of people saying blue was their favorite color would fall between 35% (38% - 3%)

and 41% (38% + 3%). This is based on the fact that the sample of 1,000 respondents was

selected by simple random sampling. It is also possible to compute confidence intervals

differently if more complex approaches to random sampling are implemented.

   28. The response rate for a survey is the proportion of members of the selected sample from

whom data are in fact collected. In almost all surveys, the response rate is less than 100%. A low

response rate does not guarantee the presence of non-response bias. It is possible to conduct a

survey with a response rate of 20% and end up with data from the participating sample that

closely mirrors the population.

   29. An accumulating number of publications show that as long as a representative sample is

scientifically drawn from the population and thorough, professional efforts are made to collect

data from all selected potential respondents, variation in response rates is generally not

associated with notable changes in the accuracy of the survey’s results (Curtin, R., Presser, S., &




    Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 11 of 662       Document 73-1
                                                                                        Page 10
Singer, E. 2000. The effects of response rate changes on the index of consumer sentiment. Public

Opinion Quarterly, 64, 413-428; Holbrook, A. L., Krosnick, J. A., & Pfent, A. M., 2008. The

causes and consequences of response rates in surveys by the news media and government

contractor survey research firms. In J. M. Lepkowski, C. Tucker, J. M. Brick, E. D. de Leeuw, L.

Japec, P. J. Lavrakas, M. W. Link, & R. L. Sangster (Eds.), Advances in Telephone Survey

Methodology. New York: Wiley; Keeter, S., Miller, C., Kohut, A., Groves, R. M., & Presser, S.

2000. Consequences of reducing nonresponse in a national telephone survey. Public Opinion

Quarterly, 64, 125-148; Merkle, D., & Edelman, M. 2002. Nonresponse in exit polls: A

comprehensive analysis. In R. M. Groves, D. A. Dillman, J. L. Eltinge, & R. J. A. Little (Eds.),

Survey Nonresponse, pp. 243–58. New York: Wiley).

   30. A key factor that determines the accuracy of a survey is its questionnaire. Survey

research is premised upon the notion that all respondents should be asked the same questions in

the same way. The wordings of questions are typically specified through an extensive design

process. Questions are drafted based upon a set of principles that seek to achieve

comprehensibility, uniform understanding across respondents, and the absence of forces biasing

respondents toward any given answer. A huge literature of thousands of scientific studies now

exists identifying these principles and guiding researchers in how best to word questions to

achieve these goals.

   31. Survey research findings are used widely by government agencies, businesses, and in

academic research. For example, whereas survey data appeared in articles in top journals in

political science, economics, social psychology, and sociology in 1949 at a rate of 3%, 6%, 22%,

and 24%, respectively, these figures increased by 1994 to 42%, 42%, 50%, and 70%,

respectively (Presser, S. 1984. The use of survey data in basic research in the social sciences. In




    Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 12 of 662       Document 73-1
                                                                                        Page 11
C. F. Turner and E. Martin (Eds.), Surveying Subjective Phenomena. New York: Russell Sage

Foundation; Saris, W. E., Gallhofer, I., van der Veld, W., & Corten, I. 2003. A Scientific Method

for Questionnaire Design: SQP. Amsterdam: University of Amsterdam).

    32. Decades of research have shown that the reliability and validity of survey data collected

optimally are generally quite high, and that respondents can be relied upon to provide quite

accurate descriptions of their past experiences, behaviors, and opinions. Most visibly, scientific

surveys conducted according to best practices just before U.S. presidential elections predict post-

election government reports of the actual election voting results very closely (see, e.g., Visser, P.

S., Krosnick, J. A., Marquette, J., & Curtin, M. 1996. Mail surveys for election forecasting? An

evaluation of the Columbus Dispatch poll. Public Opinion Quarterly, 60, 181-227; Visser, P. S.,

Krosnick, J. A., Marquette, J., & Curtin, M. 2000. Improving election forecasting: Allocation of

undecided respondents, identification of likely voters, and response order effects. In P. Lavrakas

& M. Traugott (Eds.), Election Polls, the News Media, and Democracy. New York, NY:

Chatham House). For example, for decades beginning in 1936, the percent of votes won by the

winner has correlated with the Gallup Poll’s pre-election prediction of that percentage .85, a

nearly perfect association.1 Likewise, for decades beginning in 1948, the American National

Election Study surveys’ post-election measurements of the proportions of votes won by the

winning presidential candidate have correlated with official government vote counts .92, again

nearly perfect.

    33. A high level of accuracy can be achieved if a survey is conducted using optimal

procedures, including drawing a representative sample of the population, taking extensive steps



1
  Correlations can range from 1 (meaning a perfect match between the variables) to 0 (meaning a
relation between the variables no better than chance) to -1 (meaning a perfect inverse relation
between the variables).


    Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 13 of 662       Document 73-1
                                                                                        Page 12
to collect data from as many sampled people as possible, optimizing the choice of survey mode

to achieve accurate measurements, asking questions that are easily comprehensible and do not

entail biased wording or format, weighting results to correct for unequal sampling probabilities

and unequal non-response, and much more.

Uses of Surveys in Court

   34. Surveys have been admitted routinely in court as evidence suitable for use by an expert to

form an opinion. Diamond (2000) provided a history of the uses of surveys in court in her

chapter, Reference Guide on Survey Research (2nd edition). In Reference Manual on Scientific

Evidence. Washington, D.C.: Federal Judicial Center, 229-276), she wrote:

               “Forty years ago, the question whether surveys constituted acceptable evidence

       still was unsettled. Early doubts about the admissibility of surveys centered on their use

       of sampling techniques and their status as hearsay evidence. Federal Rule of Evidence

       703 settled both matters for survey by redirecting attention to the “validity of the

       techniques employed.” The inquiry under Rule 703 focuses on whether facts or data are

       “of a type reasonably relied upon by experts in the particular field in forming opinions or

       inferences upon the subject.” For a survey, the question becomes, “Was the poll or survey

       conducted in accordance with generally accepted survey principles, and were the results

       used in a statistically correct way?”

               “Because the survey method provides an economical and systematic way to

       gather information about a large number of individuals or social units, surveys are used

       widely in business, government, and, increasingly, administrative settings and judicial

       proceedings. Both federal and state courts have accepted survey evidence on a variety of

       issues. … Surveys of employees or prospective employees are used to support or refute




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 14 of 662        Document 73-1
                                                                                        Page 13
       claims of employment discrimination. …Requests for a change of venue on grounds of

       jury pool bias often are backed by evidence from a survey of jury-eligible respondents in

       the area of the original venue. … A routine use of surveys in federal courts occurs in

       Lanham Act cases, where the plaintiff alleges trademark infringement or claims that false

       advertising has confused or deceived consumers. The pivotal legal question in such cases

       virtually demands survey research because it centers on consumer perception (i.e., is the

       consumer likely to be confused about the source of a product, or does the advertisement

       imply an inaccurate message?). In addition, survey methodology has been used creatively

       to assist federal courts in managing mass torts litigation. Faced with the prospect of

       conducting discovery concerning 10,000 plaintiffs, the plaintiffs and defendants in

       Wilhoite v. Olin Corp. jointly drafted a discovery survey that was administered in person

       by neutral third parties, thus replacing interrogatories and depositions. It resulted in

       substantial savings in both time and cost. (Diamond, 2000, p. 233-235).”

   35. The value of surveys in court was affirmed by Jay and Levine (2005; Litigation surveys.

In S. J. Best and B. Radcliff (Eds.), Polling America: An encyclopedia of public opinion.

Westport, CT: Greenwood Press):

              “Litigation surveys benefit the legal process by providing information on disputed

       issues that could not feasibly be presented in court through conventional means. In class

       action lawsuits, mass torts litigation, or other court cases involving numerous plaintiffs

       who are potential witnesses, survey evidence presented by a single witness effectively

       can substitute for the testimony of hundreds, even thousands. This can shorten the

       litigation process, reduce litigation costs, and ease court congestion. Moreover, survey

       evidence derived from a representative sample of a large class of potential witnesses may




    Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 15 of 662        Document 73-1
                                                                                         Page 14
        in fact prove more reliable than the testimony of a few individuals selected from that

        class, since a few handpicked witnesses may not be truly representative of the whole. A

        clear preference for survey evidence in appropriate cases has been expressed by the

        federal judiciary through litigation reference materials published by the Federal Judicial

        Center (Jay & Levine 2003, p. 433).”

    36. These characterizations of the value of surveys in court are directly applicable to the

present case. Rather than spending the time and money necessary to collect information about

experiences from an entire group of people through direct testimony, a survey can be conducted

to efficiently collect scientifically projectable results that will describe a population of interest

within a specifiable margin of error.

    37. Survey research methodology is now a solid science, with widely agreed-upon principles

of optimal design for sampling, questionnaire construction, data collection, and data analysis.

Experts in this field, including myself, routinely belong to and attend annual conferences

sponsored by professional associations such as the American Association for Public Opinion

Research and subscribe to journals such as Public Opinion Quarterly, the Journal of Official

Statistics, the International Journal of Public Opinion Research, and other such periodicals to

track the latest advances in survey methodology.

Design of the First Champion Survey

    38. Thus far, I have offered reasons to believe that a survey can be done efficiently and can

accurately inform the Court about people’s perceptions of consumer products. To conduct a

survey for this case, a series of methodological choices had to be made, and I outline these

choices below, along with considerations that influenced how such choices were made in this

investigation.




     Case 2:18-cv-01996-JPS           Filed 09/18/19       Page 16 of 662        Document 73-1
                                                                                           Page 15
   39. One choice involves the mode of data collection. Many survey researchers believe that

the highest response rates and most accurate measurements can be achieved if respondents are

contacted face-to-face at their homes and are interviewed in person, and empirical evidence

supports this belief (see, e.g., Holbrook, A. L., Green, M. C., & Krosnick, J. A. 2003. Telephone

vs. face-to-face interviewing of national probability samples with long questionnaires:

Comparisons of respondent satisficing and social desirability response bias. Public Opinion

Quarterly, 67, 79-125). This method is extremely time-consuming and expensive and is used

only in the highest visibility surveys done by the federal government and academic researchers.

Much more common and cost-effective are surveys conducted by telephone, paper-and-pencil

questionnaires, or questionnaires administered via the Internet.

   40. When choosing among these three survey modes, it is important to consider the accuracy

of the measurements obtained. First, consider the choice between telephone interviewing and a

paper questionnaire. Dozens of published studies have compared information collected via

telephone interviews with comparable information collected via paper questionnaires.

Unfortunately, most of these studies involved design flaws (e.g., non-random assignment of

individuals to survey modes, cross-over designs wherein the same respondent provides data in

multiple modes, the use of different questionnaires in the different modes) that preclude reaching

clear conclusions about differences between the modes in terms of results. And almost none of

these studies reported any analyses comparing the validity of the measurements obtained via the

two modes.

   41. One study that made such a comparison and is especially relevant to the present case was

conducted by Silver and myself (Silver, M. D., & Krosnick, J. A. 2001. An experimental

comparison of the quality of data obtained in telephone and self-administered mailed surveys




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 17 of 662      Document 73-1
                                                                                      Page 16
with a listed sample. Paper presented at the American Association for Public Opinion Research

Annual Meeting, Montreal, Canada). In this study, each member of a representative sample of

commercial airline pilots was randomly assigned to be interviewed either by telephone or to

complete paper questionnaires. Respondents were asked to report the number of times they had

witnessed various types of safety-related events while working in the cockpit of a commercial

airliner during a specific period of time. Respondents were randomly assigned to one of various

lengths of recall periods, ranging from one week to six months. If respondents reported event

frequencies accurately, then there should be a linear relation between the number of days in the

recall period and the number of safety-related events reported, mediated by the number of hours

flown in the recall period by each pilot. That is, the longer a pilot’s assigned recall period, the

more hours he should have flown, and the more hours a pilot flew, the more safety-related events

he or she should have witnessed. The more measurement error was contained in answers to the

event frequency questions, the weaker the relation between these variables would have been.

Therefore, the strength of this statistical relation can be viewed as a measure of the validity of the

reports provided.

   42. Silver and Krosnick (2001) found the relation between hours flown and number of events

reported to be 20% stronger among respondents interviewed by telephone than among

respondents who completed paper and pencil questionnaires, a statistically significant difference.

Furthermore, the telephone respondents expressed significantly greater confidence in the

accuracy of their event reports. The higher accuracy and confidence seem to be attributable to the

fact that the paper questionnaire respondents rushed through the process of answering, spending

only 13 minutes on average completing the questionnaire, as compared to the 19 minutes on

average spent by respondents interviewed by telephone, a statistically significant difference. This




    Case 2:18-cv-01996-JPS            Filed 09/18/19      Page 18 of 662        Document 73-1
                                                                                          Page 17
set of results suggests caution about employing paper questionnaires to collect data for the

current case.

    43. The third standard mode that could be employed is questionnaire administration via

computers and the Internet. It is possible to conduct Internet surveys of scientific, representative,

samples of members of a population if these individuals have been selected truly randomly from

the population of interest and recruited to join a long-term panel and to complete questionnaires

regularly (e.g., every week or two). This method has proven to yield results that are generally as

accurate as, or more accurate than, the results yielded by comparable telephone surveys of the

same population (see, e.g., Chang, L., & Krosnick, J. A. 2009. National surveys via RDD

telephone interviewing vs. the Internet: Comparing sample representativeness and response

quality. Public Opinion Quarterly, 73, 641-678; Chang, L., & Krosnick, J. A. 2010. Comparing

oral interviewing with self-administered computerized questionnaires: An experiment. Public

Opinion Quarterly, 74, 154-167; MacInnis, B., Krosnick, J. A., Ho, A. S., & Cho, M-J. 2018.

The accuracy of measurements with probability survey samples: Replication and extension.

Public Opinion Quarterly, 82, 707-744; Pasek, J. 2015. When will nonprobability surveys mirror

probability surveys? Considering types of inference and weighting strategies as criteria for

correspondence. International Journal of Public Opinion Research, 28, 269-291; Yeager, D. S.,

Krosnick, J. A., Chang, L., Javitz, H. S., Levendusky, M. S., Simpser, A., & Wang, R. 2011.

Comparing the accuracy of RDD telephone surveys and Internet surveys conducted with

probability and non-probability samples. Public Opinion Quarterly, 75, 709-747). Because of this

track record, I chose Internet data collection for this survey.2



2
 The vast majority of Internet surveys done these days are not done with random, representative
samples who are systematically selected from a well-defined population, all of whom have a
known, non-zero probability of selection. Instead, these surveys are done with people who were


    Case 2:18-cv-01996-JPS            Filed 09/18/19      Page 19 of 662       Document 73-1
                                                                                         Page 18
Procedure for Implementing the First Champion Survey

   44. In order to implement a survey in this case, the following sequence of events was

executed (for details, see the Technical Report in this document). First, I designed a

questionnaire that displayed packaging of one Acana product or one Orijen product and asked

questions that assessed perceptions of the quality and healthiness of the products and asked

respondents whether they would or would not purchase the product at a specified price, in

addition to a variety of questions about people’s experiences owning dogs. Each respondent saw

one package and answered questions about that product.

   45. The questionnaire was then administered to a large, nationally representative sample of

American adults ages 18 years old and older by the National Opinion Research Center, a well-

established and highly respected survey research organization with extensive experience

collecting survey data of all types.

Evaluation of the Survey in Light of Criteria Articulated by Dr. Shari Diamond

   46. Dr. Shari Diamond, Professor at Northwestern University, has written an authoritative

text on the uses of surveys in court, and she provided guidelines for evaluating survey evidence

and principles to guide survey design in order to yield reliable data. In the most recent edition of

that chapter, Dr. Diamond listed a series of questions that should be asked about any survey

evidence that is submitted for a court’s consideration (Diamond, S.S. 2011. Reference Guide on

Survey Research. In The Federal Judicial Center and National Research Council of the National




not systematically sampled and instead volunteered to complete questionnaires to make money in
response to banner ads on websites, email invitations sent to non-representative groups of people
(e.g., members of the United Airlines frequent flier club), and other such recruitment methods
that do not involve random sampling from any population. There is no scientific justification for
the claim that such samples describe populations of interest, and such samples routinely produce
results that are considerably less accurate than those yielded by truly random samples.


    Case 2:18-cv-01996-JPS             Filed 09/18/19    Page 20 of 662       Document 73-1
                                                                                        Page 19
Academies Reference Manual on Scientific Evidence, Third Edition). Next, I address each of

these questions (listed as headers in italics) with regard to the survey conducted in this case.

      Was the Survey Designed to Address Relevant Questions?

   47. The survey was designed to address these questions of interest:

   ● How did learning about the risk of the presence of certain heavy metals (lead, mercury,

       cadmium, and arsenic) and non-natural substances (BPA) in the foods, learning that the

       foods were not always made with fresh regional ingredients, and learning that the foods

       were sometimes made with ingredients from third parties impact the value of the dog

       foods to consumers?

   ● How did learning about the risk of the presence of certain heavy metals (lead, mercury,

       cadmium, and arsenic) and non-natural substances (BPA) in the foods, learning that the

       foods were not always made with fresh regional ingredients, and learning that the foods

       were sometimes made with ingredients from third parties impact consumers’ perceptions

       of the quality and healthiness of the dog foods?

   Was Participation in the Design, Administration, and Interpretation of the Survey

   Appropriately Controlled to Ensure the Objectivity of the Survey?

   48. I designed the survey and interpreted the obtained data. In doing so, I worked with

employees of The Strategy Team. These individuals took all necessary steps to ensure objectivity

in all of their activities. The survey was designed according to principles of best practices in

survey research and questionnaire design, and the analysis of the data and interpretation of the

analysis results were done according to widely-accepted principles in social science, all intended

to assure objectivity and accuracy.

   49. NORC selected and invited potential survey respondents to complete a questionnaire via




    Case 2:18-cv-01996-JPS            Filed 09/18/19      Page 21 of 662       Document 73-1
                                                                                         Page 20
the Internet. All staff at NORC who participated in the collection of the survey data were

unaware that this project was linked to litigation and were unaware of who paid for the costs of

the survey, with a few exceptions. These exceptions were individuals who were (1) high-level

managers who had no direct conversations with the respondents and never discussed the

litigation-relevance of the study with any other employees at NORC, or (2) financial staff who

accepted payment for the costs of the project and had no contact with the respondents and never

discussed the litigation-relevance of the study with any other employees at NORC.

      Are the Experts Who Designed, Conducted, or Analyzed the Survey Appropriately Skilled

      and Experienced?

   50. The experts involved in the design, conduct, and analysis of this survey are appropriately

skilled and experienced. They include:

           ● Jon Krosnick: I earned an A.B. from Harvard University in psychology and an
             M.A. and a PhD. from the University of Michigan in social psychology. As a part
             of my undergraduate and graduate studies, I received extensive training in social
             psychology, survey and experimental research techniques, and statistical data
             analysis. I have decades of experience conducting hundreds of surveys and am a
             nationally recognized expert in survey research. I have held faculty positions at
             The Ohio State University and Stanford University and have worked as a
             consultant for numerous organizations. I am a staff researcher at the U.S. Census
             Bureau advising and participating in survey research. I have served as the Co-
             Principal Investigator of the American National Election Studies, the nation’s pre-
             eminent survey study of voters and elections. I have served as editor or reviewer
             for the top peer-reviewed journals in the social sciences. My research has been
             recognized by the Erik H. Erikson Early Career Award, by election as a Fellow by
             the American Academy of Arts and Sciences and the American Association for
             the Advancement of Science, two fellowships at the Center for Advanced Study
             in the Behavioral Sciences, and election as a fellow by the American
             Psychological Association, the American Psychological Society, and the Society
             for Personality and Social Psychology. In addition, I was awarded the lifetime
             career achievement award from the American Association for Public Opinion
             Research, the world’s leading professional organization of survey researchers.

           ● Amanda Scott: Dr. Scott earned a B.A. from Ohio Wesleyan University and an
             M.A. and PhD. from the Ohio State University. Dr. Amanda Scott is a social
             psychologist whose academic training focused primarily on stereotyping, group



    Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 22 of 662       Document 73-1
                                                                                      Page 21
               behavior, and legal decision-making and involved extensive training in
               methodology. As a graduate student, she began collaborating with me by
               conducting a large-scale survey of passengers at the Port Columbus International
               Airport. As field director for that project, she was responsible for all data
               collection activities and for statistical analysis of the data. She has over 14 years
               of professional and consulting experience in applied research, including project
               management and statistical support work with me in my conduct of survey
               research in the context of litigation.


       Are the Experts Who Will Testify About Surveys Conducted by Others Appropriately

       Skilled and Experienced?

   51. I am qualified to discuss the survey that I conducted.

      Was an Appropriate Universe or Population Identified?

   52. For this survey, the population is all adults living in the United States, age 18 and older.

      Did the Sampling Frame Approximate the Population?

   53. The sampling frame was a comprehensive set of residential addresses in the U.S.

      Does the Sample Approximate the Relevant Characteristics of the Population?

      What Is the Evidence That Nonresponse Did Not Bias the Results of the Survey?

   54. A sample of U.S. adults age 18 and older was selected from NORC’s AmeriSpeak Panel

for this study. Members of that panel were recruited from the U.S. population via probability

sampling. Standard procedures for base-weighting and post-stratification were implemented to

assure a match of the sample to the population.

      What Procedures Were Used to Reduce the Likelihood of a Biased Sample?

   55. The respondents were members of a panel of individuals whose households were selected

randomly from the nation’s population of households. Respondents were offered financial

incentives to join the panel and complete questionnaires regularly. Multiple invitations were sent

to panel members inviting them to complete the questionnaire for this survey. For the subset of




    Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 23 of 662       Document 73-1
                                                                                        Page 22
panelists who prefer to complete surveys by telephone rather than on the Internet, a postcard was

mailed to their home addresses, and telephone calls were made to encourage these panel

members to complete the questionnaire online. Statistical weighting was implemented to adjust

for unequal probability of selection into the panel by design when the panel was created.

      What Precautions Were Taken to Ensure That Only Qualified Respondents Were Included

      in the Survey?

   56. All respondents were qualified to participate – none were screened out.

      Were Questions on the Survey Framed to Be Clear, Precise, and Unbiased?

   57. The questions were drafted according to the principles of optimal questionnaire

measurement identified in the published peer reviewed academic literatures on survey

methodology and related fields, drawing on my expertise and years of experience in the field. I

have published numerous papers on this topic and am confident that I crafted questions that were

clear, precise, and unbiased. These best practices principles are designed to maximize question

clarity and precision and to avoid bias.

       Were Some Respondents Likely to Have No Opinion? If So, What Steps Were Taken to

       Reduce Guessing?

   58. Respondents saw photographs of one of two dog food packages, answered questions

about whether they would purchase that dog food at a specified price, their perceptions of the

quality and healthiness of the food, and about their experiences owning dogs.

   59. A large volume of literature suggests that sometimes when answering questions,

respondents hesitate before answering because they are not completely sure of the meaning of a

question or the meanings of answer choices or are uncertain about whether they are sufficiently

confident in their answers to justify expressing an opinion (e.g., Krosnick, J. A. 2002. The causes




    Case 2:18-cv-01996-JPS           Filed 09/18/19     Page 24 of 662       Document 73-1
                                                                                       Page 23
of no-opinion responses to attitude measures in surveys: They rarely are what they appear to be.

In R. M. Groves, D. A. Dillman, J. L. Eltinge, and R. J. A. Little (Eds.), Survey Nonresponse.

New York: Wiley, 88-100). Research has indicated that in such situations, it is best to encourage

respondents to answer substantively, even if they are not completely sure, because their answers

are highly likely to reveal reliable judgments. But if a respondent prefers not to answer, he or she

should be permitted to do so. (e.g., Krosnick, J. A., & Presser, S. 2010. Questionnaire design. In

J. D. Wright & P. V. Marsden (Eds.), Handbook of Survey Research (Second Edition). West

Yorkshire, England: Emerald Group).

   60. In this survey, if a respondent volunteered that he or she did not know the answer to a

question (by skipping the question), the following message was displayed: “We noticed that you

didn’t answer the question below. We would be really grateful if you’d be willing to answer it as

accurately as you can, even if you’re not completely sure of your answer. But if you prefer not to

answer the question, just click on the blue button below.” If the respondent skipped the question

again, he or she was not probed further, and the next question was displayed.

       Did the Survey Use Open-Ended or Closed-Ended Questions? How Was the Choice in

       Each Instance Justified?

   61. The large volume of literature on questionnaire design indicates that an open-ended

format is optimal when the construct being measured is (1) a number, or (2) non-numeric and

categorical, with a universe of possible answers that cannot be known in advance of

administering the survey. Otherwise, closed-ended questions function well (e.g., Krosnick, J. A.,

& Presser, S. 2010. Questionnaire design. In J. D. Wright & P. V. Marsden (Eds.), Handbook of

Survey Research (Second Edition). West Yorkshire, England: Emerald Group).

   62. In this survey, all measurements of numbers were made using open-ended questions. For




    Case 2:18-cv-01996-JPS           Filed 09/18/19     Page 25 of 662        Document 73-1
                                                                                        Page 24
example, respondents were asked how many dogs they had owned: "What is the total number of

dogs you have owned since you were 18 years old?” No questions involved answer choices that

were non-numeric and categorical with an unknown universe of possible responses.

    If Probes Were Used to Clarify Ambiguous or Incomplete Answers, What Steps Were Taken

   to Ensure That the Probes Were Not Leading and Were Administered in a Consistent

   Fashion?

   63. No probes were used in this survey.

      What Approach Was Used to Avoid or Measure Potential Order or Context Effects?

   64. Question order effects (also called context effects) occur when asking one question

changes a person’s answers to a subsequent question, which would have been answered

differently had the prior question not been asked. Although the scholarly literature has

documented question order effects for particular types of questions (e.g., asking a general

question before asking specific versions of the same question, such as whether you like your life

overall and whether you like specific aspects of your life), in general, question order effects have

been found to occur rarely. For example, Smith (Smith, T. W. 1991. Context effects in the

General Social Survey. In P. P. Biemer, R. M. Groves, L. E. Lyberg, N. A. Mathiowetz, & S.

Sudman (Eds.), Measurement Error in Surveys. New York: John Wiley) conducted a large-scale

analysis of many experiments and found that “Overall the number of context effects created by

the rotation design employed by the GSS prior to 1988 are minuscule; 11-12 probable order

effects out of over 500 variables” (p. 69). Similarly, Schuman and Presser (Schuman, H., &

Presser, S. 1981. Questions and Answers in Attitude Surveys: Experiments on Question Form,

Wording, and Context. New York: Academic Press) conducted a similar analysis with data from

113 different experiments and found 8 statistically significant effects, just two more than would




    Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 26 of 662       Document 73-1
                                                                                        Page 25
be expected by chance alone. Therefore, the threat of question order effects is quite minimal.

   65. Diamond (2011) suggested using a particular type of order when asking general and

specific questions on the same topic, but this study’s questionnaire included no such sequences.

She also suggested randomizing the order of questions to minimize the potential for question

order effects. We did not do this because no question sequences in the questionnaire match ones

that past research indicates were at risk for question order effects. And randomizing question

order would transform an orderly sequence of questions into an incomprehensible shuffling from

question topic to question topic and thereby compromise measurement quality.

      If the Survey Was Designed to Test a Causal Proposition, Did the Survey Include an

      Appropriate Control Group or Question?

   66. Causal propositions were tested by randomly assigning respondents to read one of 256

combinations of corrective statements about a dog food. For each of 8 corrective statements, half

of the respondents were the control group, meaning that they did not see that statement, and the

other half of the respondents were the treatment group, meaning that they did see the corrective

statement.

      What Limitations Are Associated with the Mode of Data Collection Used in the Survey?

   67. Self-administration via computers has been shown to yield especially accurate

measurements when a probability sample is recruited, as was done for this study.

      Were the Interviewers Appropriately Selected and Trained?

   68. No interviewers were involved in conducting this survey. Telephone calls were made to

encourage respondents to complete the questionnaire, but these interviewers did not collect any

data. NORC chose their most reliable interviewers, and TST staff listened to interviewers and

gave feedback to them prior to the start of calling.




    Case 2:18-cv-01996-JPS           Filed 09/18/19     Page 27 of 662      Document 73-1
                                                                                      Page 26
       What Did the Interviewers Know About the Survey and Its Sponsorship?

    69. None of the interviewers who called potential respondents knew about the sponsorship of

the survey or its purpose.

        What Procedures Were Used to Ensure and Determine That the Survey Was

        Administered to Minimize Error and Bias?

    70. Diamond (2011) listed three methods for ensuring that a survey is administered to

minimize error and bias: monitoring interviews, validation of interviews, and reviewing the work

done by individual interviewers. None of these apply in the present case, because interviewers

were not involved in data collection.

    What Was Done to Ensure That the Data Were Recorded Accurately?

    71. No interviewers collected or recorded data in this study, so data entry from interviewers

is not a concern. Extensive testing of the online questionnaire was conducted to ensure that

answers were recorded accurately.

    What Was Done to Ensure That the Grouped Data Were Classified Consistently and

    Accurately?

    72. No data were coded in this study.

       When Was Information About the Survey Methodology and Results Disclosed?

    73. Information about the survey methodology and results is disclosed fully in this report.

Does the Survey Report Include Complete and Detailed Information on All Relevant

       Characteristics?

    74. Diamond (2011) listed several specific areas that should be discussed in any survey

report, and all are discussed here. These include:

           ● “The purpose of the survey” (p. 415): This is described in this report.




     Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 28 of 662       Document 73-1
                                                                                       Page 27
           ● “A definition of the target population and a description of the sampling frame” (p.
             415): This is described in this report.

           ● “A description of the sample design, including the method of selecting
             respondents, the method of interview, the number of callbacks, respondent
             eligibility or screening criteria and method, and other pertinent information” (p.
             415): This is described in this report.

           ● “A description of the results of sample implementation, including the number of
             potential respondents contacted, potential respondents not reached, noneligibles,
             refusals, incomplete interviews or terminations, and completed interviews” (p.
             415): The equivalent of these for online surveys are included in this report.

           ● “The exact wording of the questions used, including a copy of each version of the
             actual questionnaire, interviewer instructions, and visual exhibits” (p. 415): This
             is described in this report.

           ● “A description of any special scoring (e.g., grouping of verbatim responses into
             broader categories” (p. 416): This did not occur in this study.

           ● “A description of any weighting or estimating procedures used” (p. 416): This is
             described in this report.

           ● “Estimates of the sampling error, where appropriate (i.e., in probability samples)”
             (p. 416): This is described in this report.

           ● “Statistical tables clearly labeled and identified regarding the source of the data,
             including the number of raw cases forming the base for each table, row, or
             column” (p. 416): This is done in this report.

           ● “Copies of interviewer instructions, validation results, and code books.” (p. 416):
             Since interviewers did not collect data in this study, this report does not address
             issues involving interviewers. No codebooks were created.


      In Surveys of Individuals, What Measures Were Taken to Protect the Identities of

      Individual Respondents?

   75. None of the primary researchers (me and employees at The Strategy Team) were

provided information about who was selected to be invited to participate in the survey or who

participated.




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 29 of 662       Document 73-1
                                                                                       Page 28
   76. All identifying information was stored on password-protected computers. In the data files

possessed by the primary researchers, respondents were identified only by numbers that could

not be connected to their names. Only NORC had access to that link for sample management and

incentive fulfillment purposes, and NORC employees are professionally committed to protecting

these identities and never revealing them, according to the code of ethics of the professional

association of their industry, the American Association for Public Opinion Research.

   77. Diamond (2011) said that “Copies of all questionnaires should be made available upon

request so that the opposing party has an opportunity to evaluate the raw data. All identifying

information, such as the respondent’s name, address, and telephone number, should be removed

to ensure respondent confidentiality” (p. 418). In keeping with this advice, the identities of

respondents are not provided as part of the survey documentation in this report, and the primary

investigators do not possess such information.

Results

   78. The results of this survey support a series of conclusions (details are provided in the

Technical Report in this document): providing information about the risk of the presence of

heavy metals and BPA in the dog foods and providing corrective information about the local

sourcing, use of fresh ingredients, and participation of third parties in manufacturing decreased

the value of the dog food by measurable amounts, and also decreased the perceived quality and

healthiness of the dog foods.

   79. The impact of corrective statements on value is shown in the next table.




    Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 30 of 662       Document 73-1
                                                                                        Page 29
                       Percent Decrease in the Value of the Product
                     With Increasing Numbers of Corrective Statements

                                Number of
                                corrective        Percent decrease
                                statements            in value
                                     1                 -10.7%
                                     2                 -20.3%
                                     3                 -28.8%
                                     4                 -36.4%

                                     5                 -43.3%
                                     6                 -49.3%
                                     7                 -54.8%
                                     8                 -59.6%


   80. I also found that the impact of the number of corrective statements on the decision to

purchase the products and how the products were evaluated was observed among various

subgroups of respondents, including: people who spent more money on dog food and people who

did not do this, people who owned more dogs and people who did not, people who owned dogs

during the class period and people who did not, people who bought dog food from a pet store and

did not, completed the questionnaire earlier in the field period and people who completed it later,

people who took longer to complete the questionnaire and people who did not, people were

female, were not female, were more educated, were not more educated, had higher household

incomes, were married, were older, and were not older, who did not live in households by

themselves or with only one other person, people who lived in a household with at least one child

under 18 years old, and people who did not live in those households, people who lived in

households that were not limited to cellular telephone service, people who live in a one family,




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 31 of 662       Document 73-1
                                                                                       Page 30
people who lived in homes that were owned or being bought by one of the members of the

household, people who lived in a detached home, people who live in the Northeast or Midwest

and people who do not live in these areas, people who are working as a paid employee, people

who are white and non-Hispanic, and people who are not white and non-Hispanic.

    81. In sum, the results are consistent with the conclusion that disclosing additional

information about the manufacturing and ingredients of the dog foods decreased their value and

perceived quality and healthiness by measurable amounts.

    82. Because the number of units of each dog food sold is a known fact and fixed as a matter

of history, it is possible to use the results of this survey to calculate damages in this case.

Because the respondents in this survey constitute a representative sample of American

consumers, and because the findings are observed to be widely generalizable across population

subgroups, the survey is designed to allow application of the results to all purchases of

Champion dog foods during the class period.

Conclusion

    83. This case constitutes a sensible context in which to take advantage of the science of

survey research methodology for informing the Court. By designing and implementing a survey

implementing best practices, data were gathered on the central issues at stake in this case

efficiently and cost-effectively.

        I make this declaration under penalty of perjury under the laws of the United States and

the State of California this 13th day of August, 2019, at Portola Valley, California.



___________________________

Jon A. Krosnick




    Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 32 of 662        Document 73-1
                                                                                           Page 31
                              Technical Report

                         Survey Methods and Results




Case 2:18-cv-01996-JPS     Filed 09/18/19   Page 33 of 662   Document 73-1
                                                                       Page 32
                                      INTRODUCTION

1. A study was conducted to gather information about people’s perceptions of dog foods made
   by Champion. To do this, the following steps were taken.

2. First, case documents were reviewed. Then a questionnaire was designed to measure the
   value of Champion dog foods and perceptions of their quality and healthiness, in addition to
   additional assessments of respondents’ experiences owning dogs.

3. Plaintiffs’ attorneys provided images of 13-pound packages of two Champion products:
   Orijen Six Fish dog food, and Acana Duck and Pear Singles dog food. These were the focus
   of the experiment embedded in the survey to assess values and to assess perceptions of
   quality and healthiness.

4. Images of the packages of 70 other Champion products were also provided by Plaintiffs’
   attorneys. As the two photos arrays displayed next indicate, the products are visually very
   similar to one another.




    Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 34 of 662       Document 73-1
                                                                                      Page 33
  Images of the Fronts of All of the Packages Included in this Analysis




Case 2:18-cv-01996-JPS       Filed 09/18/19    Page 35 of 662     Document 73-1
                                                                            Page 34
Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 36 of 662   Document 73-1
                                                                     Page 35
         Images of the Backs of All of the Packages Included in this Analysis




Case 2:18-cv-01996-JPS     Filed 09/18/19    Page 37 of 662     Document 73-1
                                                                          Page 36
5. An analysis was conducted to assess the similarity of these packages to one another. Four of
   the sets of package images were missing one or more sides3 of the package. These 6 sets of
   images were excluded from the analysis. Out of these 70 products, 66 were included in the
   analysis, bringing the total number of unique product packages included to 68.

6. To conduct this analysis, elements that were present on the packages were identified, and the
   packages were analyzed to determine what percentage of the packages contained each
   element. Two researchers reviewed each set of packages to judge whether the packages
3
 The four products without sides were: Orijen Puppy 5lb 2014, Orijen Adult Freeze Dried Dog 16oz 2018, Orijen
Regional Red Freeze Dried 16oz 2018, and Orijen Tundra Freeze Dried Dog 16oz 2018.



     Case 2:18-cv-01996-JPS              Filed 09/18/19        Page 38 of 662         Document 73-1
                                                                                                Page 37
     contained the element in question, and a third researcher resolved any disagreements. As the
     next table suggests, the packages in this set uniformly or nearly uniformly share many
     common elements with the Orijen Six Fish dog food and Acana Duck and Pear Singles dog
     food shown to respondents, which justifies generalizing the findings of this experiment
     across packages.

                          Percent of Packages with Each Package Element Present

                                                                                               Percent of Packages
                                                                                                with the Element
                                                                                                     Present
    Element (Text, Image, or Idea that Appears on the Package)                                      (N = 68)

    "Acana" or "Orijen"                                                                                 100%

    Type of food (E.g., Six Fish, Duck & Pear, Tundra, Regional Red,
                                                                                                        100%
    Meadowland)
    “Biologically appropriate”4                                                                         100%

    “Never outsourced”                                                                                  100%
    List of percentages of animal ingredients vs. vegetables, fruits, and/or
    botanicals vs. grain, potato, gluten(s)/tapioca, plant protein                                      100%
    concentrates, oats and/or GMO
    "Vegetables"                                                                                        100%

    "Fresh" ingredients                                                                                 100%

    "Regional" ingredients                                                                              100%

    Photo of vista / outdoors / agricultural landscape                                                  100%
    Statement about vista / outdoors / landscape shown (e.g. "AMERICA'S
                                                                                                        100%
    VAST AND FERTILE LANDS")
    Caption to photo of vista / outdoors / agricultural landscape contains
                                                                                                        100%
    "Our source of inspiration"
    Statement about keeping dogs happy and strong                                                       100%
    Icons for biologically appropriate, fresh regional ingredients, and never
                                                                                                        100%
    outsourced
    "All...life stages"                                                                                 100%

    Total weight of food in package                                                                     100%


4
 The capitalization of words varied in some cases. It is considered a match to this direct quote if all of the words
appeared in the same order.



      Case 2:18-cv-01996-JPS                Filed 09/18/19          Page 39 of 662           Document 73-1
                                                                                                       Page 38
                                                                            Percent of Packages
                                                                             with the Element
                                                                                  Present
Element (Text, Image, or Idea that Appears on the Package)                       (N = 68)
Photo of a supplier (farmer, fisher, etc), with person and business name          100%

Ingredients                                                                       100%

Calorie Content: metabolizable energy (ME) listed                                 100%

"Guaranteed analysis" table                                                       100%

Daily ration and feeding guide / feeding instructions based on size               100%

Rations / instructions for puppies, gestation, and lactation                      100%
Champion Petfoods / Champion Freeze-dried / Dogstar Kitchens /
                                                                                  100%
Northstar Kitchens Logo
Address of company / location where product produced                              100%

Customer care information                                                         100%
"Formulated to meet the nutritional levels established by the AAFCO
                                                                                  100%
Dog Food Nutrient Profiles for all life stages."
Graphic of plant(s) and/or animal(s) (ingredients)                                100%

"championpetfoods.com"                                                            100%

Reference to "trusted" supplier / producer                                        100%

Ingredients delivered fresh, raw, and/or daily                                    100%

Description of key ingredients in food                                             99%

"Fruits"                                                                           99%
0(%) (any of following) grain, potato, gluten(s)/tapioca, plant protein
                                                                                   97%
concentrates, GMO
"People we (know and) trust"                                                       97%

Reference to wolf ancestry / evolution / evolutionary diet                         97%

Statement that food is made / prepared in company's own kitchens                   97%
Statement suggesting the food is low in additives or preservatives or is
                                                                                   97%
preserved naturally
"Wholeprey" or "Whole Prey"                                                        96%



  Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 40 of 662      Document 73-1
                                                                                     Page 39
                                                                            Percent of Packages
                                                                             with the Element
                                                                                  Present
Element (Text, Image, or Idea that Appears on the Package)                       (N = 68)
"Botanicals"                                                                       96%

Photo of plant(s) or animal(s) (ingredients)                                       96%

"Organs"                                                                           96%

Facebook, Twitter, and/or Instagram icons                                          96%

Social media handle(s)                                                             96%

Statement about how each dog is unique                                             94%

"Cartilage"                                                                        94%
"Calories distributed to support peak conditioning with" [XX% from
                                                                                   94%
protein], [XX% from carbohydrates], [XX% from fat], [etc.]
"All breeds"                                                                       91%

Statement suggesting that reading the ingredients will please the reader           90%

Statement about the food being rich in protein                                     88%

Signature of Reinhard Muhlenfeld, Founder                                          85%

Daily ration based on activity level                                               85%

"Award-winning" (or shows awards won)                                              84%
Refers to (Mother) Nature's wisdom, designs, or intentions (besides / in
                                                                                   82%
addition to "Nourish as nature intended")
"Easy open"                                                                        79%

Statement suggesting that the food is low in carbohydrates                         79%
Freeze-dried ingredients (mentioned on package besides in ingredient
                                                                                   79%
list)
Made in the USA / Made in Canada                                                   78%

"Trusted everywhere"                                                               74%

"Ingredients we love"                                                              74%

Provides weight of the key ingredients in the package (e.g., 1lb whole
                                                                                   74%
Atlantic mackerel)




  Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 41 of 662        Document 73-1
                                                                                     Page 40
                                                                              Percent of Packages
                                                                               with the Element
                                                                                    Present
  Element (Text, Image, or Idea that Appears on the Package)                       (N = 68)
  Proportion fresh (or raw) and proportion dried (or oils) (e.g. "Half are
  FRESH or RAW and loaded with goodness and taste, and half are
                                                                                       74%
  DRIED or OILS that provide a strong and natural source of animal
  proteins and fats.")

  Statement about pride (e.g. "Prepared with pride" or "Kentucky Proud")               71%

7. A questionnaire was designed according to best practices in survey research. The final
   version of the questionnaire appears in Appendix B.

Survey Design

8. Each respondent was randomly assigned to see one of two dog food packages:

   ● 50 percent of respondents saw Orijen Six Fish.

   ● 50 percent of respondents saw Acana Duck and Pear Singles.

9. After seeing photos of one side of the package, respondents read a transcript of all of the
   words on the side they had just viewed. This process was repeated for all sides of the
   package.

10. Next, respondents read between zero and eight pieces of additional information. Each of the
    eight pieces of additional information was a statement provided by Plaintiffs’ attorneys to
    correct alleged misinformation on the Champion packaging. The display of each piece of
    information was independently randomly assigned to sample members before they started
    answering the questionnaire, using random numbers obtained from random.org. Thus, for
    each corrective statement, each respondent was randomly assigned to either see it or not see
    it. The order of presentation of the corrective statements was also randomized across
    respondents. The eight corrective statements were:

       ● Laboratory testing has shown there is a risk that this food may contain mercury. The
         World Health Organization has said that in humans, “Mercury may have toxic effects
         on the nervous, digestive and immune systems, and on lungs, kidneys, skin and eyes.”

       ● Laboratory testing has shown there is a risk that this food may contain cadmium. A
         federal public health agency of the U.S. Department of Health and Human Services,
         has found, “Kidney and bone effects have also been observed in laboratory animals
         ingesting cadmium. Anemia, liver disease, and nerve or brain damage have been
         observed in animals eating or drinking cadmium.”




    Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 42 of 662      Document 73-1
                                                                                       Page 41
       ● Laboratory testing has shown there is a risk that this food may contain lead. The Food
         & Drug Administration has said, “Lead is poisonous to humans and can affect people
         of any age or health status.”

       ● Laboratory testing has shown there is a risk that this food may contain arsenic. The
         Environmental Protection Agency has said, “Arsenic has been linked to a number of
         cancers. These include cancer of the bladder, lungs, skin, kidney, nasal passages,
         liver, and prostate.”

       ● Laboratory testing has shown there is a risk that this food may contain BPA. The
         Food & Drug Administration has said, “BPA is an industrial chemical used to make
         polycarbonate, a hard, clear plastic, which is used in many consumer products.”

       ● The manufacturer of this food has stated that it may include ingredients that are not
         are delivered to them fresh but have been frozen before they are used to make the dog
         food.

       ● The manufacturer of this food has stated that it may include ingredients that are
         sourced outside the region where it is manufactured. This may include not only other
         regions within the United States but also other regions internationally.

       ● The manufacturer of this food has stated that it uses third parties to process and
         manufacture protein meals and tallows used in its dog foods.

11. After reading the corrective statements, respondents who indicated they had ever owned a
    dog were asked whether they would buy the product at a specified price.

12. Respondents who saw the Orijen Six Fish product were randomly assigned to see one of the
    following five prices:

       ●   $47.99
       ●   $50.99
       ●   $53.49
       ●   $55.99
       ●   $58.99

13. Respondents who saw the Acana Duck and Pear Singles product were randomly assigned to
    see one of the following five prices:

       ●   $37.99
       ●   $39.99
       ●   $41.99
       ●   $43.99
       ●   $45.99



    Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 43 of 662       Document 73-1
                                                                                      Page 42
14. These prices surrounded the manufacturer’s suggested retail price for the product, including
    prices about 10 percent below, about 5 percent below, about 5 percent above, and about 10
    percent above.5

15. The price to which each respondent was randomly assigned was inserted into the following
    question:

          ● fc(1/2)pc(1/2/3/4/5): If you were buying dog food, and the 13lb bag of dog food you
            just saw was available for sale at a price of [PRICE], would you buy it, or would you
            not buy it?

16. Respondents were also asked a series of questions about their experiences owning dogs as
    well as some questions about their own lifestyle and demographics.

Respondents

17. The National Opinion Research Center (NORC) provided the respondents for the survey. The
    respondents were members of their AmeriSpeak panel. The panel members were recruited by
    a process that began with random selection of residential addresses in the U.S. People living
    at those addresses received invitations to join the panel and complete questionnaires
    regularly. A description of the methodology used to build the AmeriSpeak Panel appears in
    the field report provided by NORC in Appendix C (See NORC Appendix 1).

18. NORC sent emails to potential respondents inviting them to complete the questionnaire for
    this study. The emails provided a link to the online questionnaire. Respondents could access
    the questionnaire by clicking the link or by clicking a link in their personalized portal at the
    AmeriSpeak website.

19. The questionnaire was programmed in software hosted by SurveyGizmo. At the conclusion
    of the SurveyGizmo questionnaire, respondents were redirected back to the AmeriSpeak
    website, which recorded that the respondent had completed the questionnaire, so the
    respondent could receive AmeriSpeak points as compensation (valued at approximately $5
    initially; this incentive was increased to $10 one week after the data collection was
    launched).

20. Among the group of AmeriSpeak panel members selected to be invited to participate in this
    study, a random subset of 1,059 of these individuals was selected to be invited before
    everyone else. Invitations were sent to these individuals on March 20, 2019. Then, on March
    21, after proper operation of the questionnaire software had been confirmed, email invitations
    were sent to all other members of the sample. On March 26, 2019, a reminder email was sent
    to all potential respondents who had not yet completed the questionnaire. Additional
    reminders were sent on March 29, 2019, April 1, 2019 and April 2, 2019. 3,729 members of
    the invited sample were “telephone preference” panel members, meaning they preferred to

5
    See CPF2117043-CPF2117045



       Case 2:18-cv-01996-JPS        Filed 09/18/19      Page 44 of 662        Document 73-1
                                                                                         Page 43
    complete surveys by telephone rather than the Internet. These panel members were called by
    NORC to invite them to participate in the survey. An average of 3.4 telephone calls were
    made to telephone preference panel members throughout the field period. These panel
    members also received postcards notifying them of the survey opportunity.

21. All emails sent to potential respondents, as well as the screens from NORC's online
    questionnaire, appear in the field report from NORC in Appendix C. Data were downloaded
    and final weights were computed for the analyses in this report on the morning of April 2,
    2019.

22. 24,881 panel members were invited to complete the questionnaire, and 6,728 did so, so the
    completion rate is 27.0% percent. The survey had a cumulative response rate of 7.9% (ORR2
    - see Callegaro, M., & DiSogra, C. 2008). The response rate was calculated using the panel
    recruitment rate and panel retention rate (provided by NORC) and the completion rate. See
    next table.

                                  Cumulative Response Rate of Survey

               Panel
            Recruitment            Panel Retention            Survey
           Response Rate                Rate               Completion Rate                ORR2
                 34.2%                   85.1%                    27.0%                    7.9%



Data File Preparation

23. SurveyGizmo software recorded all activities performed by people completing the
    questionnaire. Before analysis was done, the following steps were taken to properly prepare
    the dataset.

    ● Some rows of data in the file did not contain a respondent ID number. Such a row was
      created when a respondent did not begin the questionnaire properly (by clicking the
      invitation link) and instead typed the questionnaire link into the address bar of a browser
      window or when a bot randomly stumbled on the questionnaire on the internet. All of
      these rows of data were removed from the datafile.

    ● Some respondents stopped answering questions before completing the entire
      questionnaire.6 If those respondents later attempted to continue completing the
      questionnaire, the questionnaire restarted from the beginning to ensure that respondents
      remembered all directions and had seen all materials when answering questions. No data
      from these respondents’ first incomplete questionnaires were analyzed. In total, 400

6
  A respondent was considered to have completed the questionnaire if he or she progressed past this question: SEX:
What is your sex? 33 respondents who progressed past this screen but did not submit a completed questionnaire, or
submitted a completed questionnaire after progressing this screen are included in this analysis.



     Case 2:18-cv-01996-JPS               Filed 09/18/19         Page 45 of 662          Document 73-1
                                                                                                   Page 44
           people began the questionnaire, stopped before completing, and did not return to later
           complete the questionnaire.

      ● Thirty respondents completed the questionnaire twice.7 This occurred when a respondent
        did not return to the NORC website at the end of completing the questionnaire the first
        time. In all such cases, data from the person’s first time completing of the questionnaire
        were analyzed, and all subsequent responses were not analyzed.

Weighting

24. Using standard scientific procedures, data were weighted so that the respondents in the
    participating sample resembled the population from which respondents were drawn. More
    information on the weighting procedure appears in Appendix D. In the next table, three sets
    of percentages are displayed: the percent of people in different demographic groups in the
    U.S. population according to CPS, ACS or NHIS benchmarks, the percent of respondents in
    different demographic groups in the dog food survey (before weighting the data) and the
    percent of respondents in different demographic groups in the dog food study (after
    weighting the data).

                                                                                            Percent from
                                                                     Percent from             Dog Food
                                              CPS, ACS, or             Dog Food             Survey With
                                              NHIS Percent           Survey With             Final Post-
                                                Used as              Base Weight            Stratification
                                               Weighting                 Only                  Weight
       Demographic Group                        Target                (n = 6,728)            (n = 6,728)
       Male                                     48.44%                  47.58%                 48.44%
       Female                                     51.56%                 52.42%                51.56%
       Married                                    52.70%                 58.81%                52.70%
       Widowed                                     6.06%                  5.35%                 6.06%
       Divorced/Separated                         12.41%                 14.67%                12.41%
       Never married                              28.83%                 21.17%                28.83%
       Northeast                                  17.76%                 18.79%                17.76%
       Midwest                                    20.79%                 24.05%                20.79%
       South                                      37.70%                 32.75%                37.70%
       West                                       23.75%                 24.41%                23.75%
       Non-Metro Area                             12.89%                 12.82%                12.22%
       Metro Area                                 87.11%                 87.18%                87.78%

7
    Two respondents completed the questionnaire four times; these respondents were excluded from the analysis.




       Case 2:18-cv-01996-JPS               Filed 09/18/19        Page 46 of 662          Document 73-1
                                                                                                    Page 45
                                                                  Percent from
                                                  Percent from      Dog Food
                                CPS, ACS, or        Dog Food      Survey With
                                NHIS Percent      Survey With      Final Post-
                                  Used as         Base Weight     Stratification
                                 Weighting            Only           Weight
Demographic Group                 Target           (n = 6,728)     (n = 6,728)
One household member              14.37%             16.61%          14.37%
Two household members              34.66%           33.73%           34.66%
Three household members            18.76%           16.29%           18.76%
Four household members             17.28%           12.94%           17.28%
Five household members              8.50%            8.17%           8.50%
Six or more household
                                    6.42%           12.25%           6.42%
members
18-29                              21.08%           14.54%           21.08%
30-44                              25.02%           24.44%           25.02%
45-59                              25.35%           25.52%           25.35%
60+                                28.56%           35.50%           28.56%
No HS diploma                      10.90%            2.93%           10.90%
HS graduate or equivalent          28.64%           19.10%           28.64%
Some college                       28.20%           29.86%           28.20%
BA or above                        32.25%           48.12%           32.25%
Home ownership - no                31.14%           21.20%           31.14%
Home ownership - yes               68.86%           78.80%           68.86%
White, non-Hispanic                63.49%           77.70%           63.49%
Black, non-Hispanic                11.87%            6.23%           11.87%
Hispanic                           16.24%            8.45%           16.24%
Other/Multiple, non-Hispanic        8.40%            7.62%           8.40%
Working - as a paid
                                   55.48%           52.79%           55.48%
employee
Working - self-employed             6.42%            9.49%           6.42%
Not working - retired              18.63%           22.44%           18.63%
Not working - disabled              5.47%            4.01%           5.47%
Other Not Working                  13.99%           11.27%           13.99%
Live in detached house             67.46%           73.92%           67.46%



Case 2:18-cv-01996-JPS         Filed 09/18/19   Page 47 of 662   Document 73-1
                                                                           Page 46
                                                                                        Percent from
                                                                  Percent from            Dog Food
                                           CPS, ACS, or             Dog Food            Survey With
                                           NHIS Percent           Survey With            Final Post-
                                             Used as              Base Weight           Stratification
                                            Weighting                 Only                 Weight
     Demographic Group                       Target                (n = 6,728)           (n = 6,728)
     Live in other structure                 32.54%                  26.08%                32.54%
     Have internet access                      10.38%                 8.11%                11.76%
     No not have internet access               89.62%                91.89%                88.24%

25. Throughout this report, weighted frequencies and percentages are displayed in the tables. The
    weighted total number of respondents may not equal the sum of the numbers of respondents
    in subgroups.

                                                 RESULTS

Impact of Corrective Statements on Decision to Purchase the Product

26. Of the 6,728 people who completed the questionnaire, 915 (or 13.6%) had never owned a
    dog and were not asked whether they would buy the product they saw. Another four
    respondents were asked if they ever owned a dog but declined to answer the question and
    were not asked if they would buy the product they saw. One respondent who had owned a
    dog declined to answer the question about whether he or she would buy the product.
    Therefore, a total of 5,808 respondents were included in the analysis of the impact of
    corrective statement on purchasing decisions.

27. The questionnaire included items tapping respondents’ experiences owning dogs that
    indicated an inclination toward devoting effort to promoting the health of their dogs and
    toward promoting their own health. Those among these questions that manifested statistically
    significant relations with the purchasing decision in theoretically expected directions were
    submitted to principal components factor analyses. These analyses identified one factor
    related to the concern for dogs’ health and safety and a second factor that involved
    purchasing healthy foods for oneself.

28. Nine items most strongly loaded on the first factor (referred to as “concern for dog”):

    ● DOG_HEALTHY_PRES. How important to you is it that your dog is as healthy as
      possible? Extremely important, very important, moderately important, slightly important,
      or not important at all?8


8
  Three other versions (DOG_HEALTHY_PAST, DOGS_HEALTHY_PRES, DOGS_HEALTHY_PAST) of this
question were asked depending on whether the respondent currently or only formerly owned dogs and whether the
respondent owned one dog or more than one dog. A summary variable collapsing across the four items was included
in this analysis. See Appendix B for details.



     Case 2:18-cv-01996-JPS              Filed 09/18/19        Page 48 of 662         Document 73-1
                                                                                                Page 47
    ● DOG_SAFE_PRES. How important to you is it that your dog is as safe as possible?
      Extremely important, very important, moderately important, slightly important, or not
      important at all?9

    ● BOOKS_INGRED. Did you ever read books, magazines, or information online to learn
      about what ingredients are in dog foods to decide which ones to buy, or did you never do
      that?

    ● FOOD_TASTE. If you were to buy dog food, when deciding which food to buy, how much
      attention would you pay to whether the food tastes good to dogs? A great deal of
      attention, a lot of attention, a moderate amount of attention, a little attention, or none at
      all?

    ● FOOD_HEALTH. If you were to buy dog food, when deciding which food to buy, how
      much attention would you pay to whether the food will improve the health of dogs? A
      great deal of attention, a lot of attention, a moderate amount of attention, a little
      attention, or none at all?

    ● FOOD_APPEARANCE. If you were to buy dog food, when deciding which food to buy,
      how much attention would you pay to whether the food will improve the appearance of
      dogs? A great deal of attention, a lot of attention, a moderate amount of attention, a little
      attention, or none at all?

    ● FOOD_ALLNATURAL. If you were to buy dog food, when deciding which food to buy,
      how much attention would you pay to whether the food is all-natural? A great deal of
      attention, a lot of attention, a moderate amount of attention, a little attention, or none at
      all?

    ● FOOD_GRAINFREE. If you were to buy dog food, when deciding which food to buy,
      how much attention would you pay to whether the food is grain free? A great deal of
      attention, a lot of attention, a moderate amount of attention, a little attention, or none at
      all?

    ● FOOD_ORGANIC. If you were to buy dog food, when deciding which food to buy, how
      much attention would you pay to whether the food is organic? A great deal of attention, a
      lot of attention, a moderate amount of attention, a little attention, or none at all?

29. Responses to these nine questions were coded to range from 0 to 1, averaged to create an
    index and then squared to reflect an accelerating relation of the variables with purchasing
    decisions. The squared average is referred to as the “Concern for dog index.” For respondents
    who answered fewer than nine of the questions, their index score was the average of their

9
  Three other versions of this question (DOG_SAFE_PAST, DOGS_SAFE_PRES, DOGS_SAFE_PAST) were
asked depending on whether the respondent currently or only formerly owned dogs and whether the respondent
owned one dog or more than one dog. A summary variable collapsing across the four items was included in this
analysis. See Appendix B for details.



     Case 2:18-cv-01996-JPS              Filed 09/18/19         Page 49 of 662         Document 73-1
                                                                                                 Page 48
   non-missing values. One respondent chose not answer any of the nine questions. Another 915
   respondents were never asked these questions because they said they never owned a dog
   earlier in the questionnaire. The value of the index for these respondents was set to -1 to
   allow their evaluations of the products to be included in the analysis. Additionally, a dummy
   variable coded to indicate whether they were missing on this index was also included.

30. Two items loaded most strongly on the second factor (called “Purchase of non-GMO /
    Organic”):

   ● P_SHOP_ORGANIC. When you shopped for groceries during the last month, did you
     ever buy organic products, or did you not do that?

   ● P_SHOP_NONGMO. When you shopped for groceries during the last month, do you ever
     buy non-GMO products, or do you not do that?

31. Responses to these questions were coded to range from 0 to 1, then averaged to create an
    index and squared to create a “Purchase of non-GMO/Organic” index. For respondents who
    answered only one of the two questions, their index value was their non-missing answer. Six
    respondents chose not answer either of these two questions. The value of the index for these
    respondents was set to -1 to allow their evaluations of the products and their decisions to
    purchase the products to be included in the analysis. Additionally, a dummy variable coded
    to indicate whether they were missing on this index was also included.

32. Finally, the parameters of an ordinary least squares regression were estimated, predicting the
    decision of whether to buy the product using the number of corrective statements seen,
    controlling for the two indices, a dummy variable for each index that indicated the
    respondent did not answer any of the questions in the index, and three sets of dummy
    variables representing three demographic control variables (gender, age, and education), plus
    dummy variables to identify respondents with missing values on any of those variables.

     Estimates of the Parameters of an OLS Regression Equation Predicting Whether
  Respondents Said They Would Purchase the Dog Food Using the Number of Corrective
Statements Seen, Gender, Age, Education, the “Concern for dog” Index, and the “Purchase
                             of non-GMO / Organic” Index

                                                                 Unstandardized
                                                                   Regression
  Predictor                                                        Coefficient          p-value
 Number of corrective statements                                       -.02               .00
 Gender (female = 1)                                                   -.07               .00
 Gender (missing = 1)                                                  -.09               .07
 Age (age 30 - 44 = 1)                                                 -.07               .02
 Age (age 45-59 = 1)                                                   -.14               .00




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 50 of 662        Document 73-1
                                                                                        Page 49
                                                                 Unstandardized
                                                                   Regression
  Predictor                                                        Coefficient          p-value
 Age (age 60 or older = 1)                                              -.14               .00
 Education (HS graduate or equivalent = 1)                              -.06               .10
 Education (Some college = 1)                                           -.09               .01
 Education (Bachelor's degree or more = 1)                              -.05               .16
 Concern for dog (1 = higher index score)                                .20               .00
 Missing concern for dog index (1 = missing)                            -.56               .00
 Purchase of non-GMO / organic (1 = higher index score)                  .06               .00
 Missing purchase of non-GMO/organic index (1 = missing)                 .83               .00
 Constant                                                                .28               .00
 N                                                                     5,808
     2
 R                                                                       .08

33. The impact of the number of corrective statements was negative and statistically significant,
    indicating that the more corrective statements a respondent read, the less likely he or she was
    to purchase the product, as shown in the next graph.




Impact of the Number of Corrective Statements on the Value of the Dog Food




         Case 2:18-cv-01996-JPS     Filed 09/18/19      Page 51 of 662         Document 73-1
                                                                                         Page 50
34. Having established that the linear impact of corrective statements was statistically significant
    in predicting purchasing decisions, I conducted another regression to yield an easily
    interpretable estimate of the impact of the number of corrective statements on the value of
    the dog food. The methodology employed is the Lewbel-Watanabe estimation approach (see
    Lewbel, 2000 & Watanabe, 2010). This approach uses binary choice decision data (e.g., the
    decision to buy or not buy a product at a specific offered price) to identify the mean value of
    the product to consumers. This approach was used to identify the average decrease in value
    for each corrective statement viewed.

35. To implement the Lewbel-Watanabe approach, the purchasing decision was weighted by the
    price and the percent of respondents who said they would purchase the product (see
    Appendix E for more detail). The coefficients produced by a Poisson regression implemented
    using this approach can be interpreted as the approximate percent change in price for each
    one unit change in the predictor variable (in this case, one corrective statement).

    Estimates of the Parameters of a Poisson Regression Equation Predicting The L-W
  Weighted Decision of Whether Respondents Said They Would Purchase the Dog Food
 Using the Number of Corrective Statements Seen, Gender, Age, Education, the “Concern
            for dog” Index, and the “Purchase of non-GMO / Organic” Index


                                                                Unstandardized
                                                                  Regression
  Predictor                                                       Coefficient           p-value

 Number of corrective statements                                       -.11                .09

 Gender (female = 1)                                                   -.45                .02

 Gender (missing = 1)                                                 -15.39               .00

 Age (age 30 - 44 = 1)                                                 -.47                .05

 Age (age 45 - 59 = 1)                                                 -.83                .01

 Age (age 60 or older = 1)                                             -.89                .00

 Education (HS graduate or equivalent = 1)                             -.89                .02

 Education (Some college = 1)                                          -.57                .09

 Education (Bachelor's degree or more = 1)                             -.50                .13

 Concern for dog (1 = higher index score)                              .81                 .09

 Missing concern for dog index (1 = missing)                           .55                 .74




    Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 52 of 662        Document 73-1
                                                                                         Page 51
                                                              Unstandardized
                                                                Regression
  Predictor                                                     Coefficient             p-value

 Purchase of non-GMO / organic (1 = higher index score)              .41                  .08
 Missing purchase of non-GMO/organic index
                                                                     .49                  .37
 (1 = missing)
 Constant                                                            3.94                 .00

  N                                                                 5,808


36. By using the nlcom command in Stata, this regression estimates the predicted decrease in
    value resulting from seeing each additional corrective statement, coded to range from 0 to 8.
    The next table shows the impact of the number of corrective statements on the value attached
    to the product.

   Percent Decrease in the Value of the Product with Increasing Numbers of Corrective
                                        Statements


          Number of
          Corrective       Percent Decrease      Standard
          Statements           in Value            Error            z           p-value

               1                -10.7%               6.0%         -1.77           .08

               2                -20.3%             10.8%          -1.88           .06

               3                -28.8%             14.4%          -2.00           .05

               4                -36.4%             17.2%          -2.12           .03

               5                -43.3%             19.2%          -2.25           .02

               6                -49.3%             20.6%          -2.40           .02

               7                -54.8%             21.4%          -2.56           .01

               8                -59.6%             21.9%          -2.73           .01




      Case 2:18-cv-01996-JPS        Filed 09/18/19     Page 53 of 662       Document 73-1
                                                                                      Page 52
Impact of the Corrective Statements on Evaluations of the Product

37. Of the 6,728 respondents who completed the questionnaire, 8 did not answer either of the
    two questions measuring perceived quality and healthiness of the product. Therefore, a total
    of 6,720 respondents contributed data to the analyses described next.

38. These two questions were:

   ● QUALITY. How would you rate the quality of this dog food? Excellent, good, fair, poor,
     or very poor?

   ● HEALTHY. How healthy would you say this dog food is? Extremely healthy, very healthy,
     moderately healthy, slightly healthy, or not healthy at all?

39. Responses to these two questions were transformed to quantities as follows:

   •   Excellent / Extremely healthy = 100
   •   Good / Very = 75
   •   Fair / Moderately = 50
   •   Poor / Slightly = 25
   •   Very Poor / Not healthy at all = 0

40. These quantities were then averaged to yield an index. If a respondent was missing a value
    on either quantity, the other quantity was used. Then, the parameters of an ordinary least
    squares regression were estimated, predicting the index using the number of corrective
    statements seen, controlling for the “Concern for dog” index, the “Purchase of non-GMO /
    organic” index, a dummy variable for each index that indicated the respondent did not
    answer any of the questions in the index, and dummy variables representing four
    demographic control variables (gender, age, education, and income). The impact of the
    number of statements viewed was significant and negative, indicating that the more
    corrective statements respondents read, the more poorly they evaluated the product. This is
    illustrated in the regression coefficients and graph that follow.

Estimates of the Parameters of an OLS Regression Equation Predicting Evaluations of the
  Dog Food Using the Number of Corrective Statements Seen, Gender, Age, Education,
 Income, the “Concern for dog” Index, and the “Purchase of non-GMO / Organic” Index



                                                                   Unstandardized
                                                                     Regression
 Predictor                                                           Coefficient        p-value
 Number of corrective statements                                         -3.02            .00




    Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 54 of 662       Document 73-1
                                                                                      Page 53
Gender (female = 1)                                                 -6.78        .00

Gender (missing = 1)                                                -8.45        .68

Age (age 30 - 44 = 1)                                                -.47        .78

Age (age 45 - 59 = 1)                                               -6.90        .00

Age (age 60 or older = 1)                                           -10.14       .00

Education (HS graduate or equivalent = 1)                            -.57        .84

Education (Some college = 1)                                        1.84         .49

Education (Bachelor's degree or more = 1)                           6.45         .02

Income (missing = 1)                                                 -.06        .98

Income (1 = $30,000 to $59,999)                                     3.64         .03

Income (1 = $60,000 to $99,999)                                     4.07         .02

Income (1 = $100,000 or more)                                       6.93         .00

Concern for dog (1 = higher index score)                             .42         .88

Missing concern for dog index (1 = missing)                         2.41         .57

Purchase of non-GMO / organic (1 = higher index score)              1.65         .22

Missing purchase of non-GMO/organic index (1 = missing)             27.07        .13

Constant                                                            63.27        .00

N                                                                   6,720

R2                                                                   .09




     Case 2:18-cv-01996-JPS       Filed 09/18/19   Page 55 of 662     Document 73-1
                                                                                Page 54
Results: Impact of Potential Indicator of Response Inaccuracy

41. The length of time respondents took to complete the online questionnaire was examined as a
    potential indicator of response inaccuracy. The time respondents spent on each screen of the
    questionnaire was recorded. The median elapsed time between opening and submitting the
    questionnaire was approximately 16 minutes. Completing the questionnaire very quickly or
    slowly may indicate inaccuracies in a respondent’s data.

42. Answering questions quickly may indicate that a respondent did not read completely or did
    not think much about the questions. Taking a long time to complete the questionnaire may
    indicate that a respondent was temporarily interrupted, which could attenuate any effects of
    the corrective information.

43. The majority of respondents completed the questionnaire in 10 to 30 minutes. Fewer than 3%
    of respondents completed the questionnaire in less than five minutes, and fewer than 3% of
    respondents spent 55 minutes or more completing the questionnaire. As shown in the next




    Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 56 of 662       Document 73-1
                                                                                      Page 55
     table, these numbers are so small as to indicate there is no substantial risk that very quick or
     very slow completion compromised the accuracy of the results reported thus far.10

                      Distribution of Time Spent Completing the Questionnaire11


                                                      Percent of             Cumulative Percent
             Number of Minutes                       Respondents              of Respondents
             Less than 5 minutes                          2.3%                         2.3%
             5 to less than 10 minutes                   16.1%                        18.3%
             10 to less than 15 minutes                  26.5%                        44.9%
             15 to less than 20 minutes                  21.6%                        66.5%
             20 to less than 30 minutes                  21.1%                        87.6%
             30 to less than 55 minutes                   9.5%                        97.1%
             55 minutes or more                           2.9%                        100.0%

             N                                            6,728

Effects of Corrective Statements in Subgroups

44. The expected effects of number of corrective statements on value and perceived quality and
    healthiness of the foods was apparent in a variety of subgroups of the respondents, indicating
    generality of the finding observed with all respondents.

45. Throughout this section, the questions used in these analyses are described. In all cases, a
    dummy variable for each characteristic was generated to create two categories, with
    respondents who had the attribute of interest coded 1 and all other respondents (including
    respondents who were missing on the variable) coded 0.

46. First, the effect was examined among respondents with various characteristics related to dog
    ownership, including:

     ● Respondents who reported owning a relatively larger number of dogs since they were 18
       years old (i.e., more than two dogs)


10
   SurveyGizmo recorded the total time between start and finish and the time spent on each screen of the
questionnaire. Thirty-three respondents did not have a total time elapsed. Because total time elapsed and the sum of
the time spent on each screen of the survey were nearly perfectly correlated (Pearson’s r = .9974), the sum of the
time spent on each screen of the survey was used for these 33 respondents in the categorization of time spent
completing the questionnaire.
11
   The numbers in this table are unweighted.



     Case 2:18-cv-01996-JPS                Filed 09/18/19         Page 57 of 662           Document 73-1
                                                                                                     Page 56
     ● Respondents who reported owning dogs during the class period (i.e., owned one or more
       dogs since the start of the class period - July 1, 2013)

     ● Respondents who reported spending a relatively large amount of money on food per dog
       (i.e., spent more than $1.28 per month, per pound, per dog on average)

     ● Respondents who said they bought pet food at a store that sells only pet supplies

47. Dummy variables were generated to represent these subgroups. The first question analyzed
    was the number of dogs owned as an adult:

     •   DOG_NUM. What is the total number of dogs you have owned since you were 18 years
         old?

48. Next respondents indicated if they owned dogs during the class period by answering one of
    four questions, depending on prior answers to other questions in the questionnaire:

     •   DOG_CURR. Do you own that dog now, or do you not own it now?

     •   DOGS_CURR. Do you own one of those dogs now, or do you not own any of those dogs
         now?

     •   DOG_CLASS. Did you own that dog before July 1, 2013, or did you not own it then?

     •   DOGS_CLASS. Did you own any of those dogs before July 1, 2013, or did you not own
         any of them then?

49. A computation of the amount of money spent per pound of dog was created by first
    averaging across responses to three questions to determine the average weight, in pounds, of
    the dogs owned by respondents12:

     •   WEIGHT1A. In the box below, please type how many pounds your dog has weighed, on
         average, during the time you have owned it.

     •   WEIGHT1B. In the box below, please type how many pounds your dog weighed, on
         average, during the time you have owned it.




12
  Respondents provided open ended text responses, and some were non-numeric answers, which were converted to
numbers for analysis. For instance, respondents who provided a range (i.e., 10-15) were assigned the midpoint of the
range. If respondents typed a quantity in words (i.e., “twenty”), this was coded as the number (20). If respondents
entered a value plus text that indicated it was a minimum but with no upper point for a range (i.e., 6+), the
respondent was assigned the number (6). Responses that did not describe a number (e.g. “don’t know”, “not sure”,
“adjusting”) were recoded to missing. One respondent typed “55,00”; this response was recoded to 55.



     Case 2:18-cv-01996-JPS               Filed 09/18/19         Page 58 of 662           Document 73-1
                                                                                                    Page 57
     •   WEIGHTX. In the boxes below, please type how many pounds each of your dogs
         weighed, on average, during the time you have owned it.13

50. To measure the amount of money spent on dog food per month, on average, respondents
    were asked one of two questions, depending on how many dogs they had owned:

     •   DOG_FOODSPEND. During the time when you have owned a dog, how much money did
         you spend for your dog’s food per month, on average?

     •   DOGS_FOODSPEND. During the time when you have owned dogs, how much money
         did you spend for your dogs’ food per month, on average?

51. The weight and food spend variables were winsorized, which means that outlying values
    were recoded to the highest or lowest value in the distribution. This was done by identifying
    all values that were three standard deviations above or below the mean, setting those
    variables to missing, then recoding them to the highest or lowest non-outlying value.

52. Finally, the average amount of money spent on dogs per month was divided by the average
    weight of the dog(s) respondents owned to compute the average amount of money spent per
    pound per month. This average was winsorized as described previously. A new variable was
    created to indicate whether a respondent spent more or less on pet food.

53. Whether respondents ever bought dog in a pet food store was measured with this question:

     •   FOOD_PETSTORE. Did you ever buy dog food from a store that sells only pet supplies,
         or did you never do that?

54. To test the effect of the number of corrective messages on the purchase decision and product
    evaluation within different subgroups, a series of OLS regressions were estimated predicting
    the variable of interest from the demographic controls previously (for purchase decisions:
    gender, age and education; for product evaluations: these three variables plus income). When
    a subgroup indicator was perfectly collinear with one or more of the demographic control
    variables, the demographic control variable was eliminated from the model.

55. The next two tables show the effect of the corrective statements on purchasing decisions was
    statistically significant and negative in all of the subgroups of respondents examined. The
    final column in the tables indicate there were no statistically significant differences in the
    strength of the effect in the categories that are shaded similar colors in the table.




13
 This question was repeated, displaying the appropriate number of boxes for the number of dogs reported. A
maximum of 20 boxes were displayed.



     Case 2:18-cv-01996-JPS              Filed 09/18/19         Page 59 of 662         Document 73-1
                                                                                                 Page 58
         Effect of the Number of Corrective Statements on Purchasing Decisions in Population
       Subgroups (controlling for Gender, Age, Education, the “Concern for dog” index, and the
                               “Purchase of non-GMO / organic” index)


                                                                                         Significant
                                                   Effect of                             Difference
                                                  Number of                               in Effect
                                                  Corrective                              Between
Subgroup                                  N       Statements       t        p-value      Categories?
Owned more than two dogs                 3,304       -.01        -2.23         .03
                                                                                             No
Did not own more than two dogs           2,618       -.02        -2.84         .00

Owned dogs during the class period       4,243       -.02        -2.48         .01

Did not own dogs during the class                                                            No
                                         1,679       -.02        -2.73         .01
period

Spent more money on dog food             2,876       -.02        -2.54         .01
                                                                                             No
Did not spend more on dog food           3,046       -.02        -2.46         .01

Bought dog food from a pet store         4,217       -.02        -2.56         .01
                                                                                             No
Did not buy dog food from a pet store    1,705       -.02        -2.54         .01

           Effect of the Number of Corrective Statements on Evaluations of the Dog Food in
       Population Subgroups (Controlling for Gender, Age, Education, Income, the “Concern for
                      dog” index, and the “Purchase of non-GMO / organic” index)

                                                                                         Significant
                                                   Effect of                             Difference
                                                  Number of                               in Effect
                                                  Corrective                              Between
Subgroup                                  N       Statements       t        p-value      Categories?

Owned more than two dogs                 3,304       -2.79       -4.92         .00
                                                                                             No
Did not own more than two dogs           3,413       -3.25       -6.15         .00




           Case 2:18-cv-01996-JPS       Filed 09/18/19   Page 60 of 662    Document 73-1
                                                                                     Page 59
                                                                                                  Significant
                                                       Effect of                                  Difference
                                                      Number of                                    in Effect
                                                      Corrective                                   Between
Subgroup                                      N       Statements         t          p-value       Categories?

Owned dogs during the class period          4,243         -2.90        -5.81           .00

Did not own dogs during the class                         -3.23        -5.27           .00            No
                                            2,474
period

Spent more money on dog food                2,876         -2.53        -3.97           .00
                                                                                                      No
Did not spend more on dog food              3,841         -3.38        -6.97           .00

Bought dog food from a pet store            4,217         -2.93        -5.84           .00
                                                                                                      No
Did not buy dog food from a pet store       2,500         -3.17        -5.15           .00

      56. Next, the effects of corrective statements on value and perceptions of the foods were
          examined among respondents who:

           ● Completed the questionnaire earlier in the field period (i.e., before March 24th)

           ● Took longer to complete the questionnaire (i.e., 15 or more minutes or more)

      57. The date the respondent submitted the survey and the time they took to complete it were
          recorded in SurveyGizmo. These variables were recoded such that respondents who
          completed earlier were coded 1 and all other respondents were coded 0 for one variable and
          respondents who took 15 or more minutes to complete the questionnaire were coded 1 and all
          other respondents were coded 0.

      58. As the next table shows, the effect of corrective statements was again negative and
          statistically significant in all subgroups, as expected.




           Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 61 of 662      Document 73-1
                                                                                            Page 60
            Effect of the Number of Corrective Statements on Purchasing Decisions Among
       Respondents Who Completed the Questionnaire Early or Slowly (Controlling for Gender,
       Age, Education, the “Concern for dog” Index, and the “Purchase of non-GMO / organic”
                                                Index

                                                                                       Significant
                                                    Effect of                          Difference
                                                   Number of                            in Effect
                                                   Corrective                           Between
Subgroup                                   N       Statements      t        p-value    Categories?
Completed the questionnaire earlier in
                                          3,210       -.02       -2.67        .01
the field period
                                                                                           No
Did not complete the questionnaire
                                          2,712       -.02       -2.36        .02
earlier in the field period
Took longer to complete the
                                          3,531       -.01       -2.36        .02
questionnaire
                                                                                           No
Did not take longer to complete the
                                          2,390       -.02       -2.62        .01
questionnaire

        Effect of the Number of Corrective Statements on Evaluations of the Dog Food Among
       Respondents Who Completed the Questionnaire Early or Slowly (Controlling for Gender,
       Age, Education, Income, the “Concern for dog” Index, and the “Purchase of non-GMO /
                                           organic” Index

                                                                                       Significant
                                                    Effect of                          Difference
                                                   Number of                            in Effect
                                                   Corrective                           Between
Subgroup                                   N       Statements      t        p-value    Categories?
Completed the questionnaire earlier in
                                          3,616       -2.85      -5.39        .00
the field period
                                                                                           No
Did not complete the questionnaire
                                          3,101       -3.23      -5.67        .00
earlier in the field period
Took longer to complete the
                                          3,680       -3.02      -5.54        .00
questionnaire
                                                                                           No
Did not take longer to complete the
                                          3,037       -2.95      -5.44        .00
questionnaire




           Case 2:18-cv-01996-JPS        Filed 09/18/19   Page 62 of 662   Document 73-1
                                                                                     Page 61
59. Next, the effects of corrective statements on value and perceptions of the foods were
    examined among respondents in various demographic subgroups:

   ● Respondents who were female vs. all other respondents

   ● Respondents who were more educated (i.e., had a B.A. degree or higher) vs. all other
     respondents

   ● Respondents who had higher household incomes (those who reported 2018 household
     incomes of $60,000 or more) vs. all other respondents

   ● Respondents who were married vs. all other respondents

   ● Respondents who were older (aged 45 or more) vs. all other respondents

   ● Respondents who lived in HHs by themselves or with one other person vs. all other
     respondents.

   ● Respondents who lived in HHs with at least one child under age 18 vs. all other
     respondents.

   ● Respondents who lived in households that had only cellular telephone service vs. all other
     respondents.

   ● Respondents who lived in one-family detached homes vs. all other respondents.

   ● Respondents who lived in household where someone owned or was buying the house
     with a mortgage or loan.

   ● Respondents who lived in the Northeast or Midwest vs. all other respondents.

   ● Respondents who were working as a paid employee vs. all other respondents.

   ● White, non-Hispanic respondents vs. all other respondents.

60. Gender and marital status were measured with the following questions:

   •   SEX. What is your sex? (Response options: Male, Female)

   •   MARITAL. Are you now married, widowed, divorced, separated, or never married?

61. Income was also measured in this survey. First, respondents were asked:




    Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 63 of 662       Document 73-1
                                                                                      Page 62
   •   QINCOME1. The next question is about your family income. This includes income from
       jobs, pensions, social security, interest, child support, dividends, profits from businesses
       or farms, or any other sources of income.

       If you live alone, your family income is just your total income. If you live with other
       family members, your family income includes your total income plus the incomes of any
       of the family members who live with you.

       During 2018, what was your total family income, before taxes?

       Type in the number for the answer

62. If respondents entered an income, amount, it was verified:

   •   QINCOME1_CHECK. Just to be sure our computer is recording your answer correctly,
       did you mean to type that your total family income in 2018 before taxes was [INSERT
       THE AMOUNT LISTED IN QINCOME1], or was it a different number?

63. If respondents did not type in their income, a series of questions were asked to determine in
    what category their incomes fell. Skip patterns were optimized so that respondents only saw
    questions that were relevant based on their previous answers. See Appendix B for more
    detail.

   •   QINCOME2A. Was it $40,000 or more in 2018?

   •   QINCOME2B. Was it $50,000 or more?

   •   QINCOME2C. Was it $60,000 or more?

   •   QINCOME2D. Was it $75,000 or more?

   •   QINCOME2E. Was it $100,000 or more?

   •   QINCOME2F. Was it $150,000 or more?

   •   QINCOME2G. Was it $5,000 or more?

   •   QINCOME2H. Was it $10,000 or more?

   •   QINCOME2J. Was it $20,000 or more?

   •   QINCOME2K. Was it $25,000 or more?

   •   QINCOME2L. Was it $30,000 or more?




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 64 of 662        Document 73-1
                                                                                        Page 63
     64. These questions were combined to generate an income estimate for each person and recoded
         so that respondents who reported a household income of $60,000 or more were coded 1 and
         all others were coded 0.

     65. For the remaining questions in this section, NORC provided data from their routine panel
         screening instruments so the questions were not asked in this survey.

     66. As the next table shows, the effect of corrective statements was negative and statistically
         significant or nearly so in 21 of these 26 subgroups.

     The Effect of the Corrective Statements on Purchasing Decisions in Various Demographic
     Subgroups, Controlling for Gender, Age, Education, the “Concern for dog” Index, and the
                             “Purchase of non-GMO / organic” Index

                                                     Effect of                                   Significant
                                                    Number of                                    Difference
                                                    Corrective                                    Between
Subgroup                                    N       Statements         t           p-value       Categories?

Female                                     3,056        -.01         -2.01           .04
                                                                                                       No
Not Female                                 2,866        -.02         -2.95           .00

More education (Have a B.A. or more)       1,815        -.02         -2.43           .02
                                                                                                       No
Did not have a B.A. or more                4,107        -.02         -2.75           .01

Higher household income (over
                                           2,497        -.03         -3.82           .00
$60,000 in 2018)
                                                                                                       No
Household income not over $60,000 in
                                           3,425        -.01         -1.44           .15
2018

Married                                    3,203        -.02         -3.08           .00
                                                                                                       No
Not married                                2,719        -.01         -1.90           .06

Older respondents (over age 45)            3,278        -.02         -2.98           .00

Respondents who were not over 45                                                                       No
                                           2,644        -.02         -2.14           .03
years old

Household size is one or two               2,901        -.01         -1.52           .13
                                                                                                       No
Household size is not one or two           3,021        -.02         -3.41           .00

Household has at least one child           1,820        -.02         -2.24           .02




          Case 2:18-cv-01996-JPS          Filed 09/18/19       Page 65 of 662     Document 73-1
                                                                                            Page 64
                                                 Effect of                            Significant
                                                Number of                             Difference
                                                Corrective                             Between
Subgroup                                  N     Statements         t        p-value   Categories?

Household does not have at least one
                                        4,102       -.02         -2.80        .01         No
child
Household has cell phone service only   3,171       -.01         -1.94        .05
Household does not have cell phone                                                        No
                                        2,750       -.02         -3.21        .00
service only
Household is a one family detached
                                        4,121       -.02         -3.46        .00
home
                                                                                          No
Household is not a one family
                                        1,801       -.01         -1.35        .18
detached home

Someone in household owns or is
                                        4,173       -.02         -3.65        .00
buying the home with a mortgage
                                                                                          No
No one in household owns or is
                                        1,749       -.01         -1.17        .24
buying the home with a mortgage

Respondent lives in Northeast or
                                        2,204       -.02         -2.80        .01
Midwest
                                                                                          No
Respondent does not live in Northeast
                                        3,718       -.02         -2.40        .02
or Midwest

Respondent is working as a paid
                                        3,268       -.02         -3.26        .00
employee
                                                                                          No
Respondent is not working as a paid
                                        2,654       -.01         -1.49        .14
employee

Respondent is white and non-Hispanic    3,876       -.02         -3.32        .00

Respondent is not white and non-                                                          No
                                        2,046       -.02         -1.85        .06
Hispanic




         Case 2:18-cv-01996-JPS         Filed 09/18/19     Page 66 of 662   Document 73-1
                                                                                      Page 65
        The Effect of the Number of Corrective Statements on Evaluations of the Dog Food in
       Demographic Subgroup, Controlling for Gender, Age, Education, Income, the “Concern
                  for dog” Index, and the “Purchase of non-GMO / organic” Index


                                                 Effect of                            Significant
                                                Number of                             Difference
                                                Corrective                             Between
Subgroup                                  N     Statements         t        p-value   Categories?

Female                                  3,464      -3.24         -5.92        .00
                                                                                          No
Not Female                              3,253      -2.76         -5.05        .00
More education (Have a B.A. or more)    2,168      -3.56         -6.98        .00
                                                                                          No
Did not have a B.A. or more             4,549      -2.77         -5.33        .00
Higher household income (over
                                        2,856      -3.38         -6.69        .00
$60,000 in 2018)
                                                                                          No
Household income not over $60,000 in
                                        3,861      -2.76         -4.88        .00
2018
Married                                 3,529      -3.19         -5.80        .00
                                                                                          No
Not married                             3,188      -2.85         -5.18        .00
Older respondents (over age 45)         3,621      -3.00         -5.62        .00
Respondents who were not over 45                                                          No
                                        3,096      -3.05         -5.37        .00
years old

Household size is one or two            3,297      -2.69         -4.63        .00
                                                                                          No
Household size is not one or two        3,420      -3.31         -6.35        .00
Household has at least one child        2,036      -2.77         -3.80        .00
Household does not have at least one                                                      No
                                        4,681      -3.15         -6.88        .00
child
Household has cell phone service only   3,591      -3.13         -5.85        .00
Household does not have cell phone                                                        No
                                        3,126      -2.88         -5.11        .00
service only




          Case 2:18-cv-01996-JPS        Filed 09/18/19     Page 67 of 662   Document 73-1
                                                                                      Page 66
                                                 Effect of                            Significant
                                                Number of                             Difference
                                                Corrective                             Between
Subgroup                                  N     Statements         t        p-value   Categories?

Household is a one family detached
                                        4,535      -3.21         -7.03        .00
home
                                                                                          No
Household is not a one family
                                        2,182      -2.63         -3.58        .00
detached home
Someone in household owns or is
                                        4,629      -3.08         -6.74        .00
buying the home with a mortgage
                                                                                          No
No one in household owns or is
                                        2,088      -2.89         -3.93        .00
buying the home with a mortgage
Respondent lives in Northeast or
                                        2,591      -2.18         -3.65        .00
Midwest
                                                                                          No
Respondent does not live in Northeast
                                        4,126      -3.53         -7.05        .00
or Midwest
Respondent is working as a paid
                                        3,725      -2.64         -5.29        .00
employee
                                                                                          No
Respondent is not working as a paid
                                        2,992      -3.46         -5.66        .00
employee

Respondent is white and non-Hispanic    4,268      -3.40         -7.32        .00

Respondent is not white and non-                                                          No
                                        2,449      -2.43         -3.58        .00
Hispanic




         Case 2:18-cv-01996-JPS         Filed 09/18/19     Page 68 of 662   Document 73-1
                                                                                      Page 67
                                      References

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       Opinion Quarterly, 72. 5. Pp 1008 to 1032 https://doi.org/10.1093/poq/nfn065.

DeBell, M., Krosnick, J.A., Lupia, A. & Roberts, C. (2009). User’s Guide to the Advance
       Release of the 2008-2009 ANES Panel Study. Palo Alto, CA and Ann Arbor, MI:
       Stanford University and University of Michigan.

Lewbel, A. 2000. “Semiparametric qualitative response model estimation with unknown
      heteroscedasticity or instrumental variables.” Journal of Econometrics, 97, 145-177.

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      response valuation data.” American Journal of Agricultural Economics, 92, 1114-1135.




    Case 2:18-cv-01996-JPS         Filed 09/18/19     Page 69 of 662      Document 73-1
                                                                                    Page 68
                              Appendix A:

                    Curriculum Vita of Jon Krosnick




Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 70 of 662   Document 73-1
                                                                     Page 69
CONFIDENTIAL

CURRICULUM VITAE

                                              Jon A. Krosnick


Home Address     10 La Sandra Way
                 Portola Valley, California 94028
                 (650) 851-9143
Office Address   434 McClatchy Hall
                 Stanford University
                 450 Serra Mall
                 Stanford, California 94305
                 (650) 725-3031

                 E-mail: Krosnick@stanford.edu
                 Fax: (650) 725-2472

Websites         http:www.jonkrosnick.com
                 http://communication.stanford.edu/faculty/krosnick.html
                 http://www.stanford.edu/group/polisci/faculty/krosnick.html
                 http://climatepublicopinion.stanford.edu/
                 https://pprg.stanford.edu/
                 http://bps.stanford.edu/
                 http://sipp.stanford.edu/

Education        The Lawrenceville School, with academic distinction, 1976.

                 A.B., Harvard University (in Psychology, Magna Cum Laude), 1980.

                 M.A., University of Michigan (in Social Psychology, with Honors), 1983.

                 Ph.D., University of Michigan (in Social Psychology), 1986.

Employment

    2017-        Affiliated Faculty Member, Emmett Interdisciplinary Program in Environment and
                 Resources, Stanford University.

    2015-        Research Advisor, Gallup, Princeton, New Jersey.

    2015-        Affiliate, Woods Institute for the Environment, Stanford University.

 2014-2016       Affiliated Faculty Member, Meta-Research Innovation Center at Stanford (METRICS),
                 Stanford University.

 2013-2014       Visiting Research Collaborator, Princeton Institute for International and Regional Studies
                 and the Princeton Environmental Institute, Princeton University.

    2010-        Research Psychologist, Center for Survey Measurement, U.S. Census Bureau, United States
                 Department of Commerce.




                                                                                                Page 70
       Case 2:18-cv-01996-JPS           Filed 09/18/19       Page 71 of 662        Document 73-1
2009-2010   Research Psychologist, Statistical Research Division, U.S. Census Bureau, United States
            Department of Commerce.

 2006-      Research Professor, Survey Research Laboratory, University of Illinois.

2005-2011   Co-Principal Investigator, American National Election Studies.

 2004-      Frederic O. Glover Professor in Humanities and Social Sciences, Stanford University.

 2004-      Professor, Department of Communication, Stanford University.

 2004-      Professor, Department of Political Science, Stanford University.

 2004-      Professor, Department of Psychology (by courtesy), Stanford University.

2004-2008   Associate Director, Institute for Research in the Social Sciences, Stanford University.

2008-2014   Senior Fellow, Woods Institute for the Environment (by courtesy), Stanford University.

2005-2008   Senior Fellow, Woods Institute for the Environment, Stanford University.

2004-2007   Director, Methods of Analysis Program in the Social Sciences, Stanford University.

2004-2006   Visiting Professor, Department of Psychology, The Ohio State University.

2003-2004   Visiting Professor, Department of Communication, Stanford University.

1986-2004   Assistant to Associate to Full Professor, Departments of Psychology and Political Science,
            The Ohio State University.

1987-1989   Adjunct Research Investigator, Survey Research Center, Institute for Social Research,
            University of Michigan.

1987-1989   Lecturer, Survey Research Center Summer Program in Survey Research Techniques,
            University of Michigan.

1986-1987   Visiting Scholar, Survey Research Center, Institute for Social Research, University of
            Michigan.

 1985       Lecturer, Department of Psychology, The Ohio State University.

1982-1985   Research Assistant, Center for Political Studies and Survey Research Center, Institute for
            Social Research, University of Michigan.

1980-1981   Senior Research Assistant, Department of Psychology, Harvard University.

1979-1981   Senior Research Assistant, Department of Behavioral Sciences, School of Public Health,
            Harvard University.

1975-1976   General Manager, The Lawrence (newspaper), The Lawrenceville School.




    Case 2:18-cv-01996-JPS         Filed 09/18/19       Page 72 of 662         Document 73-1Page 71
Honors

  1976           Bausch and Lomb Science Award.

  1982           National Institute of Mental Health Graduate Training Fellowship.

  1984           Phillip Brickman Memorial Prize for Research in Social Psychology.

  1984           American Association for Public Opinion Research Student Paper Award.

  1984           National Institute of Mental Health Graduate Training Fellowship.

  1984           Pi Sigma Alpha Award for the Best Paper Presented at the 1983 Midwest Political Science
                 Association Annual Meeting.

  1984           Elected Departmental Associate, Department of Psychology, University of Michigan,
                 recognizing outstanding academic achievement.

  1990           Invited Guest Editor, Social Cognition (Special issue on political psychology, Vol. 8, #1,
                 May)

  1993           Brittingham Visiting Scholar, University of Wisconsin.

  1995           Erik H. Erikson Early Career Award for Excellence and Creativity in the Field of Political
                 Psychology, International Society of Political Psychology.

1996-1997        Fellow, Center for Advanced Study in the Behavioral Sciences, Stanford, California.

  1998           Elected Fellow, American Psychological Association.

  1998           Elected Fellow, Society for Personality and Social Psychology.

  1998           Elected Fellow, American Psychological Society.

  2001-          Appointed University Fellow, Resources for the Future, Washington, DC.

  2003           Prize for the Best Paper Presented at the 2002 Annual Meeting of the American Political
                 Science Association, Section on Elections, Public Opinion, and Voting Behavior.

  2009          Elected Fellow, American Academy of Arts and Sciences.

  2010           Elected Fellow, American Association for the Advancement of Science.

2013-2014        Fellow, Center for Advanced Study in the Behavioral Sciences, Stanford, California.

  2014           The AAPOR Award, the American Association for Public Opinion Research’s lifetime
                 achievement award, given for an outstanding contribution to the field of public opinion
                 research, including: advances in theory, empirical research and methods; improvements in
                 ethical standards; and promotion of understanding among the public, media and/or policy
                 makers.

2014-2015        Consulting Scholar, Center for Advanced Study in the Behavioral Sciences, Stanford,
                 California.


         Case 2:18-cv-01996-JPS         Filed 09/18/19       Page 73 of 662         Document 73-1Page 72
  2016              The Nevitt Sanford Award from the International Society of Political Psychology, for
                    professional contributions to political psychology, given to someone engaged in the practical
                    application of political psychological principles or creating knowledge that is accessible and
                    used by practitioners to make a positive difference in the way politics is carried out.


Invited Addresses

  1992              Invited Address, Midwestern Psychological Association Annual Meeting, Chicago, Illinois.

  2003              Invited Address, Midwestern Psychological Association Annual Meeting, Chicago, Illinois.

  2004              Invited Address, Distinguished Lecture Series Sponsored by the Departments of Psychology
                    and Political Science, University of California, Davis, California.

  2004              Keynote Lecture, International Symposium in Honour of Paul Lazarsfeld, Katholieke
                    Universiteit Leuven (Belgium).

  2005              Invited Address, Joint Program in Survey Methodology Distinguished Lecture Series,
                    University of Maryland, College Park, Maryland.

  2005              Invited Address, “Climate Change: Science → Action”, Conference Hosted by the Yale
                    School of Forestry and Environmental Studies, Aspen, Colorado.

  2005              Invited Commentator, “Science for Valuation of EPA’s Ecological Protection Decisions and
                    Programs,” a U.S. Environmental Protection Agency Science Advisory Board Workshop,
                    Washington, DC.

  2006              Invited Address, “The Wonderful Willem Saris and his Contributions to the Social
                    Sciences.” Farewell Symposium for Willem Saris, University of Amsterdam, Amsterdam,
                    the Netherlands.

  2006              Invited Workshop, “The State of Survey Research.” Annual Summer Meeting of the Society
                    for Political Methodology, Davis, California.

  2006              Invited Keynote Address, “Recent Lessons Learned About Maximizing Survey Measurement
                    Accuracy in America: One Surprise After Another.” 2006 Survey Research Methodology
                    Conference, Center for Survey Research, Academia Sinica, Taipei, Taiwan.

  2006              Invited Address, “Review of Nonresponse Analysis Across Multiple Surveys.” Conference
                    on “Sample Representativeness: Implications for Administering and Testing Stated
                    Preference Surveys,” Resources for the Future, Washington, D.C.

  2006              Invited Address, “Introduction to Survey Issues in Ecological Valuation.” Meeting of the
                    U.S. Environmental Protection Agency Scientific Advisory Board Committee on Valuing the
                    Protection of Ecological Systems and Services (CVPESS), Washington, D.C.

  2006              Invited Address, “Gas Pumps and Voting Booths: Energy and Environment in the Midterm
                    Elections.” First Wednesday Seminar, Resources for the Future, Washington, D.C.

  2006              Invited Address, “What Americans Believe and Don’t Believe about Global Warming:
                    Attitude Formation and Change in Response to a Raging Scientific Controversy.” National
                    Science Foundation Speaker Series, Washington, D.C.
  a

         Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 74 of 662         Document 73-1Page 73
2006           Invited Address, “Moving Survey Data Collection to the Internet? Surprising Ways that
               Mode, Sample Design and Response Rates Affect Survey Accuracy.” New York Chapter of
               the American Association for Public Opinion Research, Fordham University, New York,
               New York.

2006           Invited Address, “Climate change: What Americans Really Think.” Conference entitled “A
               Favorable Climate for Climate Action,” sponsored by the Sustainable Silicon Valley, Santa
               Clara University, Santa Clara, California.

2006           Invited Lecture, “What Americans Really Think About Climate Change: Attitude Formation
               and Change in Response to a Raging Scientific Controversy.” Brown Bag Series, National
               Oceanic and Atmospheric Administration, Silver Spring, Maryland.

2007           Invited Lecture, “What Americans Really Think About Climate Change: Attitude Formation
               and Change in Response to a Raging Scientific Controversy.” Education And Outreach
               Colloquium, Earth Sciences Division, NASA Goddard Space Flight Center, Greenbelt,
               Maryland.

2007           Inaugural Lecture, “The Brave New World of Survey Research: One Surprise After
               Another.” Survey Research Institute First Annual Speaker Series, Cornell University, Ithaca,
               New York.

2007           Inaugural Lecture, “What Americans Really Think About Climate Change: Attitude
               Formation and Change in Response to a Raging Scientific Controversy.” National Centers
               for Coastal Ocean Science/Center for Sponsored Coastal Ocean Research Ecosystem Science
               Seminar Series & NOS Science Seminar Series, National Oceanic and Atmospheric
               Administration, Silver Spring, Maryland.

2007           Plenary Speaker, “What Americans Really Think About Climate Change: Attitude
               Formation and Change in Response to a Raging Scientific Controversy.” Annual Ocean and
               Coastal Program Managers’ Meeting, Sponsored by the Office of Ocean and Coastal
               Resource Management in partnership with the National Estuarine Research Reserve
               Association, National Oceanic and Atmospheric Administration, Washington, DC.

2007           Oral Testimony on Assembly Bill 372 (to revise the order in which the names of candidates
               for an office must appear on the ballot) before the Nevada State Legislature, Carson City,
               Nevada.

2007           Invited Lecture, “What Americans Really Think About Climate Change: Attitude Formation
               and Change in Response to a Raging Scientific Controversy.” The White House Office of
               Science and Technology Policy, Washington, D.C.

2007           Invited Lecture, “What Americans Really Think About Climate Change: Attitude Formation
               and Change in Response to a Raging Scientific Controversy.” Workshop on Climate
               Science and Services: Coastal Applications for Decision Making through Sea Grant
               Extension and Outreach. NOAA Coastal Services Center, Charleston, South Carolina.

2007           Invited Lecture, “Climate Change: What Americans Think.” Capitol Hill briefing sponsored
               by the Environment and Energy Study Institute, Cannon House Office Building,
               Washington, D.C. Broadcast live on C-SPAN.

2007           Invited Lecture, “The Impact of Candidate Name Order on Election Outcomes.” The Carter
               Center, Atlanta, Georgia.


       Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 75 of 662        Document 73-1Page 74
2007           Invited Lecture, “What Americans Really Think About Climate Change: Attitude Formation
               and Change in Response to a Raging Scientific Controversy.” Google, Mountain View,
               California.

2007           Invited Lecture, “Climate Change: What Americans Really Think.” The Commonwealth
               Club, San Francisco, California.

2007           Invited Address, “Representativeness of Online Panels.” Time-Warner 2007 Research
               Conference, New York, New York.

2007           Invited Lecture, “What the Public Knows.” News Executives Roundtable: Covering Climate
               Change, Stanford, California.

2007           Invited Address, “The Top Ten Signs of an Excellent Survey Vendor.” Intuit Corporate
               Customer & Market Insight Offsite, Palo Alto, California.

2007           Invited Lecture, “What Americans Really Think About Climate Change.” Association of
               Science-Technology Centers Conference, Los Angeles, California.

2007           Invited Address, “The New American National Election Study Panel Survey Project.”
               Survey Research in the 21st Century: Challenges and Opportunities, Royal Statistical
               Society, London, UK.

2007           Invited Testimony, “Aviation Safety: Can NASA Do More to Protect the Public?” House
               Committee on Science and Technology, U.S. Congress, Washington, DC. Broadcast live on
               C-SPAN.

2007           Invited Opening Keynote Address, “New Insights Into Optimizing Survey Questionnaire
               Design and Selecting a Model of Data Collection.” Panel Research 2007, ESOMAR World
               Research Conference, Orlando, Florida.

2007           Invited Plenary Address, “New Insights into Questionnaire Design: How to Maximize the
               Validity of Your Measurements.” Federal Committee on Statistical Methodology Research
               Conference, Arlington, Virginia.

2007           Invited Lecture, “What Americans Think and Do About Climate Change; Insights from a
               Psychological Perspective.” California Institute for Energy and Environment’s Behavior,
               Energy, and Climate Change Conference, Sacramento, California.

2007           Invited Keynote Lecture, “What Americans Think About Climate Change.” 2007 American
               Public Media Conference on Sustainability, Pocantico Conference Center, Tarrytown, New
               York.

2007           Invited Address, “What the American Public Really Thinks About Climate Change: New
               Evidence on Amelioration Strategies.” 2007 American Geophysical Union Fall Meeting,
               San Francisco, California.

2008           Invited Address, “Climate Change and the 2008 U.S. Presidential Election.” Eighth National
               Conference on Science, Policy, and the Environment: Climate Change: Science and
               Solutions. Conference sponsored by the National Council for Science and the Environment,
               Washington, DC.

2008           Invited Presentation, “Explaining the Relation of Aging with Susceptibility to Attitude
               Change.” Eighth Annual SPSP Attitudes Preconference, Albuquerque, New Mexico.

       Case 2:18-cv-01996-JPS         Filed 09/18/19       Page 76 of 662        Document 73-1Page 75
2008           Invited Lecture, “Comparisons of Survey Modes in Terms of Data Quality.” Department of
               Families, Housing, Community Services, and Indigenous Affairs, Australian Government,
               Canberra, Australia.

2008           Invited Lecture, “Applying Theories of Attitudes and Attitude Change to the Mission of the
               Australian Tax Office.” Australian Tax Office, Australian Government, Canberra, Australia.

2008           Invited Lecture, “The Theory of Survey Satisficing.” Tourism Australia, Canberra,
               Australia.

2008           Invited Lecture, “Lessons from the Field: A Blueprint for Optimizing Measurement
               Accuracy and Sample Composition.” 40th Meeting of the Computer Market Analysis Group,
               Intuit, Mountain View, California.

2008           Invited Lecture, “Uses of Surveys in Court.” How to Find, Litigate, and Try Class Action
               Lawsuits, Educational Symposium sponsored by Consumer Attorneys of San Diego, San
               Diego, California.

2008           Invited Keynote Address, “What the American Public Really Thinks About Climate Change:
               New Evidence on Amelioration Strategies.” Union of Concerned Scientists Retreat,
               National Labor College, Silver Spring, Maryland.

2008           Invited Lecture, “The Challenges of Measuring Facts Accurately in Surveys: Small Changes
               in Question Wording can Make a Difference.” Survey Methodology Division, U.S. Census
               Bureau, Suitland, Maryland.

2008           Invited Lecture, “The Accuracy of Non-Probability Samples of People Who Volunteer to Do
               Surveys for Money.” Harvard Center for Survey Research 2008 Spring Conference: New
               Technologies and Survey Research, Harvard University, Cambridge, Massachusetts.

2008           Invited Presentation, “Writing an Effective Grant Proposal for NSF.” AAPOR Professional
               Development Breakfast. Annual Meeting of the American Association for Public Opinion
               Research, New Orleans, Louisiana.

2008           Invited Commentary, “Reflections on the American Voter Revisited.” Annual Meeting of
               the American Association for Public Opinion Research, New Orleans, Louisiana.

2008           Invited Presentation, “Briefing on the NAOMS Survey Creation.” Presentation to the
               Committee to Assess NASA’s National Aviation Operations Monitoring Service (NAOMS)
               Project, National Research Council, National Academy of Sciences, Washington, DC.

2008           Invited Address, “Public Attitudes, Perceptions, and Concern about Global Warming:
               Evidence from a New Survey.” Lecture at the Russell Senate Office Building in the
               Environmental Science Seminar Series Sponsored by the American Meteorological Society,
               Washington, D.C.

2008           Invited Keynote Address, “Designing Ballots to Prevent Bias: How the Order of Candidate
               Names Determines Who Was Elected President.” EVT ’08, 2008 Usenix/Accurate
               Electronic Voting Technology Workshop, San Jose, California.

2008           Invited Address, “What Americans Think about Climate Change: Insights from 10 Years of
               Psychology-Inspired National Surveys Tracking Public Attitudes.” Symposium on the


       Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 77 of 662       Document 73-1Page 76
               Psychology of Global Climate Change, American Psychological Association Annual
               Meeting, Boston, Massachusetts.

2008           Invited Presentation, “The Accuracy of On-line Surveys with Non-Probability Samples.”
               Second Annual Workshop on Measurement and Experimentation with Internet Panels,
               Sponsored by CentERdata, Institute for Data Collection and Research (University of
               Tilburg), Zeist, The Netherlands.

2008           Invited Address, “What Americans Really Think About Climate Change: Is it Happening?
               What’s Causing it? What Should Be Done About It?” Conference entitled “Social Science
               and Humanities Facing the Climate Change Challenges,” sponsored by the European Union,
               the Republic of France, the French Ministere de L’Enseignement Superieur Et De La
               Recherche, and the French Ministere De L’Ecologie, De L’Energie, Du Developpement
               Durable, Ett De L’Amenagmenet du Territoire, Paris, France.

2008           Invited Presentation, “Susceptibility to Response Effects in Surveys: Cognitive and
               Motivational Factors.” Seventh International Conference on Social Science Methodology –
               RC33 – Logic and Methodology in Sociology, Naples, Italy.

2008           Invited Presentation, “Satisficing When Answering Questions: A Theoretical Explanation for
               a Wide Range of Findings in the Questionnaire Design Literature.” Max Planck Institute for
               Human Development, Berlin, Germany.

2008           Invited Presentation, “Social Psychology Under the Microscope: Do Classic Laboratory
               Experiments Replicate When Participates Are Representative of the General Public Rather
               Than Convenience Samples of College Students?” Max Planck Institute for Human
               Development, Berlin, Germany.

2008           Fathauer Lecturer, “How Do American Voters Decide? Findings from Fifty Years of
               Scholarship on Electoral Choice.” Eller College of Management, University of Arizona,
               Tucson, Arizona.

2008           Invited Presentation, “What Are They Thinking? Information, Persuasion, and the American
               Public’s Response to Climate Change.” American Politics Research Workshop, Harvard
               University, Cambridge, Massachusetts.

2008           Invited Presentation, “The 2008 American Presidential Election: Psychological Insights from
               the AP-Yahoo News Poll.” Society of Experimental Social Psychology Annual Meeting,
               Sacramento, California.

2008           Invited Presentation, “Election Preview: Polls, Ballots, Fraud, and Misconceptions.” 46th
               Annual New Horizons in Science Conference, Council for the Advancement of Science
               Writing, Palo Alto, California.

2008           Invited Presentation, “Getting Into the Heads of American Voters: Insights from Political
               Psychology.” Menlo School, Menlo Park, California.

2008           Invited Lecture, “Do We Really Care About Climate Change? Grounding Climate Policy in
               Psychological Analysis.” The World Bank, Washington, DC.

2008           Invited Lecture, “Issue-Focused Passion in America: How and Why Issue Publics Determine
               Election Outcomes.” Seminario de Investigación en Ciencia Politica 2008, Instituto
               Tecnológico Autónomo de México (ITAM), Mexico City, Mexico.


       Case 2:18-cv-01996-JPS         Filed 09/18/19       Page 78 of 662        Document 73-1Page 77
2009           Invited Presentation, “Accounting for Biases in NAOMS.” Presentation to the Committee to
               Assess NASA’s National Aviation Operations Monitoring Service (NAOMS) Project,
               National Research Council, National Academy of Sciences, NASA Ames Conference
               Center, Moffett Field, California.

2009           Presidential Symposium Lecture, “Why the 2008 U.S. Presidential Election Turned Out As It
               Did: Psychology Peers Into National Survey Data.” Annual Meeting of the Society for
               Personality and Social Psychology, Tampa, Florida.

2009           Stauffer Colloquium Series Lecture, “What Americans Really Think About Climate Change:
               Attitude Formation and Change in Response to a Raging Scientific Controversy.” School of
               Behavioral and Organizational Sciences, Claremont Graduate School, Claremont, California.

2009           RTI Fellow Lecture, “What Americans Really Think About Climate Change: Psychological
               Insights from 10 Years of National Surveys.” RTI International, Research Triangle Park,
               North Carolina.

2009           Walter H. Stellner Distinguished Speaker in Marketing, “Social Psychology Under the
               Microscope: Do Our Classic Experiments Replicate When Participants Are Representative of
               the General Public Rather Than Convenience Samples of College Students?” College of
               Business, University of Illinois, Urbana-Champaign, Illinois.

2009           Invited Presentation, “Mediation: Why Bother?” Twelfth Sydney Symposium of Social
               Psychology entitled “Attitudes and Attitude Change.” University of New South Wales,
               Sydney, Australia.

2009           Keynote Address, “Money for Surveys: What about Data Quality?” GOR 09, 11th General
               Online Research Conference, University of Vienna, Vienna, Austria.

2009           Invited Presentation, “Comparing Various Measures of Survey Accuracy and Summarizing
               the Findings of Studies Using Each Method.” Conference on Survey Quality, Program on
               Survey Research, Harvard University, Cambridge, Massachusetts.

2009           Invited Lecture, “What Americans Really Think About Climate Change: Attitude Formation
               and Change in Response to a Raging Scientific Controversy.” Climate Policy Seminar
               Series, sponsored by the Climate Risk Management Initiative, Dickinson School of Law, the
               Environment & Natural Resources Institute, the Penn State Institute of Energy and the
               Environment, the Rock Ethics Institute, Communication Arts and Sciences, Department of
               Political Science, Department of Psychology, Schreyer Institute for Teaching Excellence,
               and the Social Science Research Institute, Pennsylvania State University.

2009           Invited Lecture, “The Accuracy of Online Surveys with Non-probability Samples of People
               who Volunteer to do Surveys for Money.” Center for Statistics and the Social Sciences
               Seminar, University of Washington, Seattle, Washington.

2009           Allen Edwards Endowed Lecture in Psychology, “Social Psychology Under the Microscope:
               Do Classic Experiments Replicate when Participates are Representative of the General
               Public Rather Than Convenience Samples of College Students?” Department of Psychology,
               University of Washington, Seattle, Washington.

2009           Invited Lecture, “Why I Challenged the NASA Administrator in Congressional Testimony:
               The Shocking Story of a Groundbreaking Aviation Safety Survey Research Project Gone
               Awry.” Google Tech Talk Series, Mountain View, California.


       Case 2:18-cv-01996-JPS        Filed 09/18/19      Page 79 of 662       Document 73-1Page 78
2009           Invited Lecture, “What Americans Really Think About Climate Change: Attitude Formation
               and Change in Response to a Raging Scientific Controversy.” Climate Central, Princeton,
               New Jersey.

2009           Invited Plenary Lecture, “What Americans Really Think About Climate Change: Attitude
               Formation and Change in Response to a Raging Scientific Controversy.” A National
               Workshop on Communicating Ocean Issues Based on Ocean on the Edge: Top Ocean Issues.
               Long Beach Convention Center, sponsored by the Aquarium of the Pacific, the National
               Oceanic and Atmospheric Administration, and the National Research Council’s Marine
               Board and Ocean Studies Board, Long Beach, California.

2009           Invited Lecture, “What Americans Really Think About Climate Change.” Air Resources
               Board Chair’s Air Pollution Seminar, California Environmental Protection Agency Building,
               Sacramento, California.

2009           Invited Presentation, “What Americans Really Think About Climate Change.” Stanford
               University Alumni Association – Sacramento Chapter. Sacramento, California.

2009           Keynote Address, “The End of Agree/Disagree Rating Scales: Acquiescence Bias and Other
               Flaws Suggest a Popular Measurement Method Should Be Abandoned.” European Survey
               Research Association 2009 Conference, Warsaw, Poland.

2009           Invited Lecture, “Methods of Survey Data Collection and Determinants of Data Quality.”
               German Research Foundation Summer Academy on Methods of Educational Research,
               University of Bamberg, Bamberg, Germany.

2009           Invited Panel Member, “Hopenhagen: Public support for a climate deal in Copenhagen.”
               The Commonwealth Club of California, San Francisco, California.

2009           Invited Primary Paper Presentation, “Conducting Experiments to Evaluate Questions.”
               Workshop on Question Evaluation Methods, National Center for Health Statistics,
               Hyattsville, Maryland.

2009           Invited Presentation, “The Use of Surveys in Court.” Second Annual Class Action
               Symposium Sponsored by Consumer Attorneys of San Diego, San Diego, California.

2009           Invited Presentation, “The Accuracy of Internet Surveys.” Attaining Accuracy, Maximum
               Coverage, and Representative in Web-Based Research. Conference at the Charles Hotel,
               Cambridge, Massachusetts.

2009           Keynote Address, “Scientific Survey Research: Sustainable in an Online World?” CASRO
               Data Collection Conference, Council of American Survey Research Organizations, Las
               Vegas, Nevada.

2009           Invited Webinar, “Best Practice Data Collection Online with a Probability Sample?”
               Australian Market & Social Research Society, Sydney, Australia.

2010           Invited Presentation, “A New Look at Racism in America: Evidence from National
               Surveys.” Political Psychology Pre-Conference 2010, Society for Personality and Social
               Psychology Annual Conference, Las Vegas, Nevada.

2010           Invited Presentation, “What Americans Really Think About Climate Change: Attitude
               Formation and Change in Response to a Raging Scientific Controversy.” Stanford Club of
               Las Vegas, Las Vegas, Nevada.

       Case 2:18-cv-01996-JPS        Filed 09/18/19      Page 80 of 662        Document 73-1Page 79
2010           Invited Address, “Tracking American Opinions About Climate Change.” Climate, Mind,
               and Behavior Symposium, The Garrison Institute, Garrison, New York.

2010           Invited Presentation, “Public Opinion and Climate Change: The Real Reason for the Recent
               Decline.” Climate Policy: Public Perception, Science, and the Political Landscape.
               Sponsored by the American Association for the Advancement of Science, the American
               Geophysical Union, the American Meteorological Society, and the American Statistical
               Association. Hart Senate Office Building, Washington, DC.

2010           Invited Lecture, “Creating and Evaluating a new Method for Collecting Survey Data via the
               Internet: The Story of the FFRISP (Face-to-Face Recruited Internet Survey Platform)”.
               Social, Behavioral, and Economic Sciences Lecture Series, National Science Foundation,
               Arlington, Virginia.

2010          Invited Lecture, “Recent Research Findings from SRS Experiments.” Science Resources
              Statistics Program Colloquium, National Science Foundation, Arlington, Virginia.

2010           Invited Lecture, “What Americans Think About Climate Change.” Speaker Series, Center
               for Decision Sciences, Columbia University, New York, New York.

2010           Invited Lecture, “Social Psychology Under the Microscope: Do Our Classic Experiments
               Replicate When Participants Are Representative of the General Public Rather Than
               Convenience Samples of College Students?” Colloquium Series, Psychology Department,
               Columbia University, New York, New York.

2010           Invited Lecture, “Public Opinion Research on Climate Change.” Rio Tinto Workshop on the
               Politics of Carbon, Meridian Institute, Washington, DC.

2010           Invited Lecture, “How to Measure Usability: Designing Your Questions Well.” Washington,
               DC, Chapter of the Usability Professionals’ Association, Arlington, Virginia.

2010           Invited Lecture, “Have Americans’ Views on Global Warming Changed? A New Look at
               Public Opinion.” Briefing sponsored by the Environmental and Energy Study Institute,
               Capital Visitor Center, Washington, DC.

2010          Invited Lecture, “What Americans Really Think About Climate Change.” Climate Change
              Communication Forum, Hosted by the U.S. Fish and Wildlife Service and the U.S.
              Department of the Interior, George Mason University, Fairfax, Virginia.

2010           Invited Lecture, “What Americans Really Think About Climate Change.” Clean Energy
               Program, Third Way, Washington, DC.

2010           Invited Lectures, “Experimental Methods in the Social Sciences.” Workshop in
               Experimental Methods, Sponsored by the ELECDEM Training Network in Electoral
               Democracy, ICHEC, Brussels, Belgium.

2010           Invited Lecture, “Optimizing Survey Questionnaire Design: New Findings.” Interagency
               Response Error Group Monthly Meeting, Government Accountability Office, Washington,
               DC.

2010           Invited Lecture, “Creating and Evaluating a New Method for Collecting Survey Data via the
               Internet,” Workshop sponsored by DC-AAPOR, Bureau of Labor Statistics, Washington,
               DC.

       Case 2:18-cv-01996-JPS        Filed 09/18/19      Page 81 of 662        Document 73-1Page 80
2010          Keynote Address, “Surveys and Statistical Evidence to Mange the Class Case”. Third
              Annual Class Action Symposium, San Diego, California.

2010          Invited Presentation, “Implicit Attitude Measurement in National Surveys.” Conference on
              Methodology in Political Psychology, Ohio State University, Columbus, Ohio.

2010          Invited Presentation, “What Americans Really Think About Climate Change,” MZES
              Colloquium, Mannheimer Zentrum Fur Europaische Sozialforschung, University of
              Mannheim, Mannheim, Germany.

2010           Invited Workshop, “Attitudes in the World of Politics: Formation, Change, and Impact.”
               Oberrhein-Program (cosponsored by the Universities of Mannheim, Heidelberg, Freiberg,
               and Basel), Social Sciences Graduate School, University of Mannheim, Mannheim,
               Germany.

2010           Lunchtime Brownbag Series, “Assessing Anti-Black Racism in Contemporary America via
               Surveys: New Measurement Approaches Yield New Insights.” National Opinion Research
               Center, University of Chicago, Chicago, Illinois.

2010          Invited Lecture, “What Americans Really Think About Climate Change.” AAAS Leadership
              Seminar in Science and Technology Policy, American Association for the Advancement of
              Science, Washington, DC.

2010          Invited Panelist, “Outlook for Climate and Energy Policy in the New Congress,” Session in
              the “Science & Society: Global Challenges Discussion Series”, Center for Science,
              Technology and Security Policy, American Association for the Advancement of Science,
              Washington, DC.

2010           Invited Guest Speaker, “What Americans Really Think About Climate Change.” World
               Resources Institute, Washington, DC.

2010           Invited Presentation to the Working Group on Immigration and Cultural Contact, “The
               Accuracy of Internet Surveys with Probability and Non-Probability Samples.” Russell Sage
               Foundation, New York, New York.

2010           Invited Lecture, “What Mainers Really Think About Global Warming: Results from an In-
               Depth Statewide Survey.” Environmental Studies Program, Bowdoin College, Brunswick,
               Maine.

2010           Invited Panelist, “Reflections on the Accomplishments and Future of Political
               Communication Research.” Conference on “Political Communication: The State of the Field
               in the 21st Century.” Annenberg Public Policy Center, University of Pennsylvania,
               Philadelphia, Pennsylvania.

2010           Invited Presentation, “The American Public’s Understandings and Misunderstandings About
               Climate Change: Is There a Crisis of Confidence in Climate Science?” Scientific
               Symposium in Honor of Stephen H. Schneider, Stanford University, Stanford, California.

2011           Invited Lecture, “What Floridians Really Think About Global Warming: Results from an In-
               Depth Statewide Survey.” Lecture hosted by the FSU Department of Earth, Ocean, and
               Atmospheric Science, the FSU Department of Urban and Regional Planning, the Florida
               Climate Institute, the Tallahassee Democrat, and the FSU Institute for Energy Systems,
               Economics, and Sustainability, Florida State University, Tallahassee, Florida.

       Case 2:18-cv-01996-JPS        Filed 09/18/19      Page 82 of 662       Document 73-1Page 81
2011           Invited Presentation, “The Mega-Splice in the 2008 American National Election Studies
               Time Series Survey.” Design Issues in Longitudinal and Repeated Cross-Sectional Surveys.
               Duke Initiative on Survey Methodology. Social Science Research Institute at Duke
               University, Durham, North Carolina.

2011           Invited Presentation, “What Americans Think About Global Warming: Attitude Formation
               and Change in Response to a Raging Scientific Controversy.” Monterey Bay Aquarium,
               Monterey, California.

2011           Invited Testimony, Comments on Assembly Bill No. 99 “Revises the Order in Which the
               Names of Candidates for an Office Must Appear on the Ballot”, Committee on Legislative
               Operations and Elections, Nevada Assembly, State of Nevada.

2011          Invited Discussant on Respondent Motivation, BLUE-Enterprise and Trade Statistics
              Conference on Business’ Burden and Motivation in Official Surveys. Conference sponsored
              by Statistics Netherlands and the European Union, Heerlen, The Netherlands.

2011          Invited Presentation, “What Massachusetts Residents and Other Americans Think About
              Climate Change: Results from an In-Depth Statewide Study and National Surveys.” Boston
              University, Boston Massachusetts.

2011          Invited Presentation, “What Massachusetts Residents and Other Americans Think About
              Climate Change: Results from an In-Depth Statewide Study and National Surveys.” The
              Heller School for Social Policy and Management, Brandeis University, Waltham,
              Massachusetts.

2011          Invited Presentation, “What Massachusetts Residents and Other Americans Think About
              Climate Change: Results from an In-Depth Statewide Study and National Surveys.” Green
              Conversation Series, Harvard University Center for the Environment, Harvard University,
              Cambridge, Massachusetts.

2011          Invited Presentation, “What Massachusetts Residents and Other Americans Think About
              Climate Change: Results from an In-Depth Statewide Study and National Surveys.” Tufts
              Institute of the Environment, Tufts University, Medford, Massachusetts.

2011           Invited Presentation, “Adventures in Survey Research: A Workshop on the Dangers of
               Trying to Make the World a Better Place through Social Science.” Essex Short Course in
               Social Research, in Association with Methodology Institute LSE and IPSOS MORI,
               University of Essex, Essex, United Kingdom.

2011           Invited Presentation, “Measuring Intent to Participate and Participation in the 2010 Census
               and Their Correlates and Trends: Comparisons of RDD Telephone and Non-probability
               Sample Internet Survey Data.” U.S. Census Bureau, Suitland, Maryland.

2011           Invited Remarks, “Studying the Impact of Electoral Impact of Candidate Statements on
               Policy Issues.” Session entitled “Studying 2012 Campaign and elections: Current Plans and
               Future Directions,” sponsored by the Omidyar Network and the National Institute for Civil
               Discourse at the University of Arizona. American Political Science Association Annual
               Meeting, Seattle, Washington.

2011           Invited Presentation, “Social Psychology Under the Microscope: Do Our Classic
               Experiments Replicate When Participants Are Representative of the General Public Rather


       Case 2:18-cv-01996-JPS         Filed 09/18/19       Page 83 of 662        Document 73-1Page 82
               Than Convenience Samples of College Students?” A Conference in Honor of Daniel
               Wegner, Harvard Business School, Harvard University.

2011           Invited Presentation, “American Public Opinion on Climate Change and Its Impact on
               Voting in Congressional and Presidential Elections.” Public lecture and webcast sponsored
               by Resources for the Future, Washington, D.C.

2011           Invited Webinar, “Advances in Questionnaire Design.” Australian Market & Social
               Research Society, Sydney, Australia.

2011          Invited Lecture, “Passion in American Politics: What Happens When Citizens Become
              Deeply Committed to Pressuring Government on a Policy Issue.” MZE-Colloquium, School
              of Social Sciences, University of Mannheim, Mannheim, Germany.

2011          Invited Lecture, “Creating the Face-to-Face Recruited Internet Survey Platform (FFRISP).”
              Collaborative Research Center, University of Mannheim, Mannheim, Germany.

2012           Invited Lecture, “Trends in American Public Attitudes about Global Warming: A
               Psychological Analysis.” Sustainability Psychology Preconference, Society for Personality
               and Social Psychology Annual Meeting, San Diego, California.

2012           Invited Lecture, “Americans’ Views on Climate Change and Their Impact on Voting
               Behavior.” 2012 Climate, Mind, and Behavior Symposium, Garrison Institute, Garrison,
               New York.

2012           Invited Presentation, “Changing Government Policy by Changing Public Attitudes.” Climate
               Central, Princeton, New Jersey.

2012           Invited Presentation, “Americans’ Views on Climate Change and Their Impact on Voting
               Behavior.” Skoll Global Threats Fund, San Francisco, California.

2012          Invited Presentation, “What Americans Think About Climate Change.” Webinar series on
              The Science of Policy Communication. Society for the Psychological Study of Social Issues.

2012           Invited Lecture, “What Americans Really Think About Climate Change.” Lecture
               sponsored by the Water Sustainability Program, the Institute of the Environment, the
               Renewable Energy Network, the School of Earth and Environmental Sciences, and the
               School of Geography and Development, University of Arizona, Tucson, Arizona.

2012           Invited Lecture, “Trust in Scientists, Controversy Among Scientists, and American Public
               Opinion on Climate Change: How Attitude Formation and Change Unfold.” Presentation
               during “The Science of Science Communication”, The Arthur M. Sackler Colloquia,
               National Academy of Sciences, Washington, DC.

2012           Invited Short Course, “Maximizing the Accuracy of Online Surveys: Comparisons of
               Methods and Recommendations of Optimal Procedures.” American Association for
               Public Opinion Research Annual Meeting, Orlando, Florida.

2012           Invited Lecture, “How Americans Form and Change Their Opinions About Climate
               Change.” Outside-In Engagement Series sponsored by the Interagency Communication and
               Education Team, United States Global Change Research Program, Washington, DC.

2012           Invited Lecture, “Pursuing Excellence in Scientific Research: Challenges and Rewards.”


       Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 84 of 662       Document 73-1Page 83
               Second Annual Stanford University Postdoctoral Association Research Symposium,
               Stanford University, Stanford, California.

2012           Invited Lecture, “U.S. Public Views on Climate Change: Insights from Polling.” Program on
               Communicating Uncertainty, Institute for International and Regional Studies, Princeton
               University, Princeton, New Jersey.

2012           Invited Keynote, “Public perceptions of Climate Change in the U.S.” Planning for Local
               Government Climate Challenges: Connecting Research and Practice Workshop, Sponsored
               by the University of Arizona Institute of the Environment, Arizona State University Campus,
               Tempe, Arizona.

2012           Invited Presentation, “Optimizing the Design of Self-Reports.” Engagement and Academic
               Tenacity: Making the Invisible Salient and Actionable, Workshop Sponsored by the Bill and
               Melinda Gates Foundation, Cambridge, Massachusetts.

2012           Invited Presentation, “Evidence of Decline in Effect Sizes: From Original Studies to
               Replications to Representative National Samples.” The Decline Effect: Evidence,
               Explanations, and Future Directions. Symposium at the University of California Santa
               Barbara, Santa Barbara, California.

2012           Invited Presentation, “Has the American Public Turned Away from Climate Change?” Salon
               Sponsored by the Woods Institute for the Environment at Stanford University, Venice,
               California.

2012           Invited Presentation, “Questionnaire Design.” Conference on the Future of Survey Research,
               National Science Foundation, Arlington, Virginia.

2012           Invited Speaker, “What’s at Stake for California?” Event sponsored by the Division of
               Social Sciences, the Office of Government Relations, and the Politics Department,
               University of California - Santa Cruz, Santa Cruz, California.

2012           Invited Presentation, “Issue Publics and Candidate Evaluations; Contrasting Different
               Analytic Methods to Identify the Psychological Process of Candidate Evaluation.”
               Directions in Political Science: Papers in Honor of George B. Rabinowitz. University of
               Michigan, Ann Arbor, Michigan.

2012           Invited Lecture, “What Americans Think About Climate Change: Explorations of Attitude
               and Belief Formation and Change in Response to a Raging Controversy”, Lecture Series on
               Persuasion, Attitude, and Behavior Change, Sponsored by the Research Center for Group
               Dynamics, Institute for Social Research, University of Michigan.

2013           Invited Keynote Address, “The Future of Survey Research,” Survey Research Methodology:
               The Changing Landscape of Survey Research in the Field and at ICF. Conference sponsored
               by ICF International, Fairfax, Virginia.

2013           Invited Lecture, “The Future of Survey Research,” 2013 National Cancer Institute Division
               of Cancer Control and Population Sciences Workshop: Global and National Issues Shaping
               the Cancer Control Surveillance Landscape. NIH Neuroscience Conference Center,
               Rockville, Maryland.

2013           Invited Lecture, “Public Perceptions about Global Warming and Government Involvement in
               the Issue.” Briefing at the Rayburn House Office Building, sponsored by the Environmental
               and Energy Study Institute, Washington, DC.

       Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 85 of 662        Document 73-1Page 84
2013           Policy Briefing, “Preparing for the Effects of Global Warming: The American Public’s
               Perspective on Sea Level Rise,” National Press Club, sponsored by the Woods Institute for
               the Environment at Stanford University and the Center for Ocean Solutions at Stanford
               University, Washington, DC.

2013           Invited Lecture, “What Americans Really Think About Climate Change - Attitude Formation
               and Change Across the U.S. in Response to a Raging Scientific Controversy.” Sponsored by
               the “Middle America” Student Organization, Graduate School of Education, Harvard
               University, Cambridge, Massachusetts.

2013           Invited Remarks, “RFF University Fellows Roundtable: RFF’s Next Decade.” Resources for
               the Future, Washington, DC.

2013           Invited Lecture, “The American Public’s Views of Climate Change: An Update.”
               Department of Global Ecology, Carnegie Institution for Science, Stanford, California.

2013           Invited Lecture, “Contingent Valuation.” Lecture sponsored by the Centre for
               Environmental Political Sciences, University of Gothenburg, Gothenburg, Sweden.

2013           Invited Lecture, “The Accuracy of Online Surveys with Non-probability Samples of People
               who Volunteer to Do Surveys for Money.” Workshop on Survey Methodology,
               Multidisciplinary Opinion and Democracy Research Group, Department of Political Science,
               University of Gothenburg, Gothenburg, Sweden.

2013           Invited Lecture, “Satisficing When Answering Questions: A Theoretical Explanation for a
               Wide Range of Findings in the Questionnaire Design Literature.” Workshop on Survey
               Methodology, Multidisciplinary Opinion and Democracy Research Group, Department of
               Political Science, University of Gothenburg, Gothenburg, Sweden.

2013           Invited Lecture, “What Americans Really Think About Climate Change: Attitude Formation
               and Change in Response to a Raging Scientific Controversy.” Sponsored by the Faculty of
               Social Sciences, University of Gothenburg, Gothenburg, Sweden.

2013           Invited Lecture, “Trust in Environmental Scientists and Public Opinion on Global Warming
               in the United States.” Presentation at the Brekfast Seminar on Climate and Opinion,
               sponsored by the Bergen Programme for Governance and Climate, Uni Rokkan Center,
               Bergen, Norway.

2013           Invited Lecture, “Survey Item Design.” Workshop on Survey Design for the Norwegian
               Citizen Panel, University of Bergen, Bergen, Norway.

2013           Invited Presentation, “American Public Opinion on Climate Change.” Conference on “What
               is the Value of Being First? Perspectives from the California and Sweden Experiences.”
               Climate Policy Forum co-sponsored by Resources for the Future, the Swedish Mistra Indigo
               program, and the ClimateWorks Foundation. Hyatt Regency Embarcadero, San Francisco,
               California.

2013           Invited Lecture, “The Psychology of American Public Opinion on Climate Change.”
               Symposium on Conservation Psychology, hosted by the University of Southern California
               Environmental Sustainability Network, University of Southern California, Los Angeles,
               California.

2013           Invited Keynote Presentation, “The History of Panel Internet Surveys.” Workshop on

       Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 86 of 662        Document 73-1Page 85
               Longitudinal Research in Internet Panels, Program on Political Economy of Reforms,
               University of Mannheim, Mannheim, Germany.

2013           Invited Presentation, “Mode Comparisons.” Workshop on Longitudinal Research in Internet
               Panels, Program on Political Economy of Reforms, University of Mannheim, Mannheim,
               Germany.

2013           Short Course (with Mario Callegaro), “How to Publish in Survey Research: Strategies,
               Venues, Opportunities, and Errors to Avoid.” American Association for Public Research
               Annual Meeting, Boston, Massachusetts.

2013           Invited Keynote Address, “The Accuracy of Survey Measurements and the Impact of Data
               Collection Methodology.” Canadian Political Science Association, Victoria, British
               Columbia, Canada.

2013           Invited Presentation, “Debiasing.” Conference on Risk Communication for Better Long-
               Term Decisions: Insights from Finance and Healthcare. CenSoC - Centre for the Study of
               Choice, University of Technology, Sydney, Sydney, Australia.

2013           Invited Webinar (with Arthur Lupia and Matthew K. Berent), “Survey Coding: Best
               Practices for Coding Open-Ended Survey Data.” Webinar sponsored by the American
               Association for Public Opinion Research.

2013           Invited Keynote Address, “The Accuracy of Survey Data Collected by Various American
               On-line Survey Firms: A 2012 Comparison.” MESS Workshop, Sponsored by the
               University of Tilburg CentERdata Institute for Data Collection and Research, Den Haag, The
               Netherlands.

2013           Invited Keynote Address, “Social Desirability Response Bias: Real or an Illusion?” Sixth
               Webdatanet MC, WGs, TFs, Seminars, Webdatametrics Workshop and Conference: “Mixed
               Mode and Multi-Mode Research.” Sponsored by the Universitatis Islandiae Sigillum,
               Reykjavik, Iceland.

2013           Invited Keynote Address, “Choosing Mode of Data Collection for Surveys to Maximuze
               Data Quality.” International Conference on Applied Statistics 2013, Ribno, Slovenia.

2013           Invited Address, “Online Surveys.” DSA2 Conference on Web Surveys, Faculty of Social
               Sciences, University of Ljubljana, Ljubljana, Slovenia.

2013           Invited Address, “The Effects of Scientists’ Expressions of Uncertainty on Public Opinion
               on Global Warming.” Australian Psychological Society Annual Meeting, Cairns Convention
               Centre, Queensland, Australia.

2013           Invited Presentation, “Inequality in Public Conversations about Politics.” Cottrell Salon,
               Stanford, California.

2013           Invited Webinar, “Communicating About Climate Adaptation with the Public.” Sponsored
               by the Center for Ocean Solutions and the Woods Institute for the Environment, Stanford
               University.

2013           Invited Testimony, “Public Opinion on Global Warming in the States.” Bicameral Task
               Force on Climate Change, Committee on Energy and Commerce, U.S. House of
               Representatives, Washington, DC.


       Case 2:18-cv-01996-JPS         Filed 09/18/19       Page 87 of 662         Document 73-1Page 86
2013           Invited Presentation, “Public Opinion on Global Warming in the States.” Climate Action
               Campaign, Washington, DC.

2013           Invited Short Course, “Maximizing the Accuracy of Online Surveys: Comparisons of
               Methods and Recommendations of Optimal Procedures.” Annual Meeting of the Pacific
               Chapter of the American Association for Public Opinion Research, San Francisco,
               California.

2013           Invited Keynote Address, “Public Perceptions of Climate Change in the U.S.” Regional
               Climate Summit for Municipal Leaders: Economic, Health, Water, and Transportation
               Impacts. Sponsored by Climate Assessment for the Southwest, University of Arizona.
               University Marriott, Tucson, Arizona.

2014           Invited Presentation, “The Quality of Data Obtained from Non-Probability Internet Panels.”
               Google, Mountain View, California.

2014           Invited Presentation, “Satisficing When Answering Questions: A Theoretical Explanation for
               a Wide Range of Findings in the Questionnaire Design Literature.” CORE Colloquium
               Series, Southern Methodist University, Dallas, Texas.

2014           Invited Presentation, “Public Opinion on Global Warming.” Connecting the Dots
               Conference, Sponsored by the Woods Institute for the Environment, Stanford University,
               Stanford, California.

2014           Invited Keynote Address, “The Future of Survey Research.” Survey Research in the 21st
               Century: Lectures Celebrating the Survey Research Laboratory’s 50th Anniversary,
               University of Illinois, Champaign, Illinois.

2014           Invited Keynote Address, “The Future of Survey Research.” Survey Research in the 21st
               Century: Lectures Celebrating the Survey Research Laboratory’s 50th Anniversary,
               University of Illinois, Chicago, Illinois.

2014           Invited Webinar, “Experiments in Surveys: Tools for Determining How Marketers Can
               Shape People’s Preferences.” Australian Market & Social Research Society, Sydney,
               Australia.

2014           Invited Keynote Presentation, “Conducting and Publishing Methodology Research.” Annual
               Meeting of the Association of Academic Survey Research Organizations, University of
               Illinois, Chicago, Illinois.

2014           Invited Lecture, “Climate Change and Clean Energy – A Survey of U.S. Public Attitudes.”
               Resources for the Future, Washington, DC.

2014           Invited Presentation, “Public Attitudes About Climate Change and Clean Energy.”
               Sponsored by the Environmental and Energy Study Institute, Rayburn House Office
               Building, Washington, DC.

2014           Invited Presentation, “Social Science as Combat: The Global Warming War.” Center for
               Advanced Study in the Behavioral Sciences, Palo Alto, California.

2014           Invited Keynote Address, “The Future of Survey Research.” World Association of Public
               Opinion Research Annual Meeting, Universidad Diego Portales, Santiago, Chile.

2014           Invited Presentation, “American Public Opinion on Global Warming.” S. D. Bechtel, Jr.

       Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 88 of 662        Document 73-1Page 87
               Foundation. San Francisco, California.

2014           Invited Presentation, “The Future of Survey Research.” IJMR Speaker Evening, Market
               Research Society, London, U.K.

2014           Invited Presentation, “Impact of the Merchants of Doubt and of Natural Scientists on
               American Public Opinion on Global Warming.” Conference entitled “Responding and
               Adapting to Climate Change: Recognizing and managing Uncertainty in the Physical, Social,
               and Public Spheres.” University of Bristol, Bristol, U.K.

2014           Invited Presentation, “Comments on Variables that Determine the Quality of Survey
               Responses.” ESS-DACE Quality Enhancement Meeting Entitled “Measurement Quality in
               the ESS”. Universitat Pompeu Fabra, Barcelona, Spain.

2014           Invited Presentation, “The Future of Survey Research.” ESS Seminar: Highlights in Survey
               Research, Campus de la Ciutadella of Universitat Pampeu Fabra, Barcenola, Spain.

2014           Invited Presentation “Inequality and Public Opinion on Global Warming.” Institute for the
               Study of Societal Issues, University of California, Berkeley, Berkeley, California.

2014           Invited Presentation, “The Role of Americans’ Attitudes on Global Warming in Political
               Campaigns.” Harris School for Public Policy, University of Chicago, Chicago, Illinois.

2014           Invited Keynote Address, “Exploring the Origins of Beliefs about Climate Change:
               Experimental Studies Embedded in National Surveys of the U.S.” The Norwegian Citizen
               Panel Conference 2014, University of Bergen, Bergen, Norway.

2015           Invited Keynote Address, “Optimizing the Design of Survey Questionnaires.” Rethink
               Research: Research Intensification Series, sponsored by the Social Science Research
               Laboratories, University of Saskatchewan, Saskatchewan, Canada.

2015           Invited Presentation, “American Public Opinion on Climate Change: Motivated Cognition?”
               Harvard University Center for the Environment, Harvard University, Cambridge,
               Massachusetts.

2015           Invited Presentation, “Sampling on the Internet for Surveys and Experiments; The Good, the
               Bad, and he Ugly.” Data Gathering Methods Study Group, University of Virginia,
               Charlottesville, Virginia.

2015           Invited Presentation, “Can Surveys Measure Informed Public Preferences Regarding
               Government Policies? An Evaluation of the Contingent Valuation Method.” Quantitative
               Collaborative, University of Virginia, Charlottesville, Virginia.

2015           Invited Presentation, “What Americans Really Think About Climate Change: Attitude
               Formation and Change in Response to a Raging Scientific Controversy.” Center for Survey
               Research, University of Virginia, Charlottesville, Virginia.

2015           Invited Presentation, “Causes of Turnout.” Conference entitled “How Voters Think: Lessons
               from Science and Practice.” A meeting of political scientists with Democratic Party
               campaign consultants. Harris School of Public Policy, University of Chicago, Chicago,
               Illinois.

2015           Invited Presentation, “Communicating about Climate Change: How Language Choices
               Affect Public Thinking.” Sunnylands Speaker Series at Rancho Mirage Library, Rancho

       Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 89 of 662        Document 73-1Page 88
               Mirage, California.

2015           Invited Presentation, “The Impact of Acknowledging Bounded and Unbounded Uncertainty
               on Persuasion: The Case of Scientific Uncertainty and Global Warming.” Conference
               entitled “Third Annual UCSB Environmental Political Conference. UCSB Center for Social
               Solutions to Environmental Problems, Bren School of Environmental Science and
               Management, University of California, Santa Barbara, California.

2015           Invited Presentation, “Fact-Checking and News Literacy.” Annual Journalism Funders
               Gathering: “Journalism, Democracy, and Political Polarization.” William and Flora Hewlett
               Foundation, Menlo Park, California.

2015           Invited Presentation, “Causes of Turnout.” Conference entitled “How Voters Think: Lessons
               from Science and Practice.” A meeting of political scientists with Republican Party
               campaign consultants. Harris School of Public Policy, University of Chicago, Chicago,
               Illinois.

2015           Invited Lecture, “Social Psychology Under the Microscope: Do Our Classic Experiments
               Replicate When Participants Are Representative of the General Public Rather Than
               Convenience Samples of College Students?” Lecture sponsored by the Quantitative
               Initiative for Policy and Social Research, University of Kentucky, Lexington, Kentucky.

2015           Invited Lecture, “Political Thinking, Passion and Action in America: The Contributions of
               Jon Krosnick to the Study of Political Psychology.” Lecture sponsored by the Quantitative
               Initiative for Policy and Social Research, University of Kentucky, Lexington, Kentucky.

2015           Invited Presentation, “What Americans Really Think About Global Warming.” Invited
               Lecture in the Distinguished Speaker Series, Department of Political Science, University of
               British Columbia, Vancouver, British Columbia.

2015           Invited Remarks, “Samuel Popkin: Celebration of a Remarkable Career.” Institute of the
               Americas, University of California, San Diego, California.

2015           Invited Lecture, “The Influence of the Media.” Academic Department of Political Science,
               Instituto Tecnológico Autónomo de México, Mexico City, Mexico.

2015           Invited Workshop, “Developments in Survey Research Methodology.” Academic
               Department of Political Science, Instituto Tecnológico Autónomo de México, Mexico City,
               Mexico.

2015           Invited Remarks, “Pre-election Polling in the United States.” Foro El Panorama
               Internacional Sobre El Papel de las Encuestas Electorales. México Instituto Nacional
               Electoral, Mexico, City, Mexico.

2015           Keynote Address, “How Accurate Are Surveys and What Can We Do to Maximize
               Accuracy.” Annual Conference of the Midwest Association for Public Opinion Research,
               Chicago, Illinois.

2015           Invited Presentation, “What Americans Really Think about Climate Change - Attitude
               Formation and Change in Response to a Raging Scientific Controversy.” UCCS Speaker
               Series, University of California Center, Sacramento, California.

2015           Invited Presentation, “Reasons to worry about social sciences and opportunities for


       Case 2:18-cv-01996-JPS         Filed 09/18/19       Page 90 of 662        Document 73-1Page 89
               improvement.” Improving Biomedical Research 2015: Challenges and Solutions. Meta-
               Research Innovation Center at Stanford, Stanford University, Stanford, California.

2015           Invited Presentation, “Giving the Public a Voice in the Process of Democratic Policy
               Making.” Society of Experiment Social Psychology Annual Meeting, Denver, Colorado.

2016           Invited Presentation, “The Future of Internet Surveys: Why Bother with Random Sampling?”
               The Inaugural Ross-Royall Symposium: From Individuals to Populations. Department of
               Biostatistics, Bloomberg School of Public Health, Johns Hopkins University, Baltimore,
               Maryland.

2016           Invited Lecture, “Collapses of Research Integrity and Opportunities to Strengthen Science.”
               Lecture sponsored by the Office of Research Integrity, University of California, Riverside,
               Riverside, California.

2016           Invited Presentation, “Public Opinion on Climate Change.” Presentation at the California
               Association of Museums Annual Meeting, Riverside, California.

2016           2016 Gierach Lectureship, “Passion in American Politics: What Happens When Citizens
               Become Deeply Committed to Pressuring Government on a Policy Issue.” Department of
               Psychology, University of Florida, Gainesville, Florida.

2016           Invited Colloquium, “Best Practices in Science: Profound Problems and Wonderful
               Opportunities for Psychologists.” Department of Psychology, University of Florida,
               Gainesville, Florida.

2016           Invited Keynote Address, “Can Surveys Measure Informed Public Preferences Regarding
               Government Policies? An Evaluation of the Contingent Valuation Method.” Conference on
               Political Communication, Conflict, Journalism, Public Opinion, Discourse, and
               Psychological Perspectives. Noah Mozes Department of Communication and Journalism
               and the Smart Family Institute of Communication, Hebrew University, Jerusalem, Israel.

2016           Invited Keynote Address, “Reflections on an Extraordinary Career; Elihu Katz and the
               Study of Mass Communication and Public Opinion.” Conference on Political
               Communication, Conflict, Journalism, Public Opinion, Discourse, and Psychological
               Perspectives. Noah Mozes Department of Communication and Journalism and the Smart
               Family Institute of Communication, Hebrew University, Jerusalem, Israel.

2016           Invited Presentation, “What Americans Really Think About Climate Change. Presentation
               sponsored by the Stanford Alumni Association. Greenberg Traurig Law Firm, Tel Aviv,
               Israel.

2016           Invited Presentation, “Best Practices in Science: Profound Problems and Wonderful
               Opportunities for Social and Behavioral Scientists.” Department of Communication, Tel
               Aviv University, Tel Aviv, Israel.

2016           Invited Lecture, “The Impact of Survey Mode and Sampling on the Accuracy of Survey
               Results.” Federal Trade Commission, Washington, DC.

2016           Invited Lecture, “Can Surveys Measure Informed Public Preferences Regarding Government
               Policies? An Evaluation of the Contingent Valuation Method.” GESIS - Leibniz Institute
               for the Social Sciences, Mannheim, Germany.

2016           Invited lecture, “Impact of Survey Modes.” Workshop on Survey Mode Effects, Sponsored

       Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 91 of 662        Document 73-1Page 90
               by the Faculty of Social Sciences, University of Ljubljana. Ljubljana, Slovenia.

2016           Invited Moderator, “Discussion on Testing for Causal Mediation.” Ninth Annual meeting of
               the West Coast Experiments Conference, Graduate School of Business, Stanford University,
               Stanford, California.

2016           Invited Comments, “Research Ethics.” Meeting of the DIGSSCORE International Advisory
               Board, the Norwegian Citizen Panel Scientific Committee, and the Citizen Lab Scientific
               Committee. University of Bergen, Bergen, Norway.

2016           Invited Keynote Address, “The Exciting Opportunities Afforded by Digitalization in the
               Social and Behavioral Science, and the Need for Academic Research to avoid Disasters.”
               Kick-off Seminar for the University of Bergen’s Digital Social Science Initiative, Bergen,
               Norway.

2016           Invited Address, “Are Democratic Citizens Capable of Offering Thoughtful Prescriptions on
               Policy Issues? An Evaluation of the Contingent Valuation Method.” Sciences Po Methods
               Workshop, CEVIPOF, Centre de Recherches Politiques, Sciences Po, Paris, France.

2016           Invited Address, “Issue-focused Passion in American Politics.” Sciences Po Methods
               Workshop, CEVIPOF, Centre de Recherches Politiques, Sciences Po, Paris, France.

2016           Invited Address, “The Polling Blues.” Presentation sponsored by the DC Chapter of the
               American Association for Public Opinion Research, Washington, DC.

2016           Invited Presentation, “Survey Mode, Sampling Methods, and Response Rates.” Deep Water
               Horizon Total Value – Lessons Learned. Workshop sponsored by the National Oceanic and
               Atmospheric Administration, Washington, DC.

2016           Invited Presentation, “Are American Elections Unfair? Exploring the Impact of Candidate
               Name Order.” Presentation at Vi at Palo Alto, Palo Alto, California.

2016           Invited Presentation, “The Future of Survey Research.” Lecture sponsored by the DC
               Chapter of the American Association for Public Opinion Research, Washington, DC.

2016           Invited Presentation, “The Future of Survey Research.” Lecture sponsored by the New York
               Chapter of the American Association for Public Opinion Research, Washington, DC.

2016           Invited Presentation, “The Future of Survey Research.” Lecture sponsored by the Survey
               Research Center, The Woodrow Wilson School, and the Center for the Study of Democratic
               Politics, Princeton University, Princeton, New Jersey.

2016           Invited Presentation, “The Future of Survey Research.” Lecture Sponsored by the Center for
               Survey Research, University of Massachusetts, Boston, Massachusetts.

2016           Invited Presentation, “Issue-Focused Passion in American Politics: What Happens When
               Citizens Become Deeply Committed to Pressuring Government on a Policy Issue..” Lecture
               Sponsored by the Departments of Psychology, Sociology, and Political Science, and the
               Center for Survey Research, University of Massachusetts, Boston, Massachusetts.

2016           Invited Commentary, “Science Gone Awry.” Tanner Lectures on Human Values, Sponsored
               by the University Center for Human Values: Trust and Distrust in Science, Princeton



       Case 2:18-cv-01996-JPS         Filed 09/18/19       Page 92 of 662        Document 73-1Page 91
               University, Princeton, New Jersey.

2016           Invited Keynote Address, “Studying Political Attitudes as Survey Methodology
               Transforms.” Conference on “Inequality and Fairness of Political Reforms.” Hosted by the
               SFB 884 “Political Economy of Reforms” Project, University of Mannheim, Mannheim,
               Germany.

2017           Invited Presentation, “The Psychology of American Elections: Getting Into the Heads of
               Voters”. Presentation sponsored by the Stanford Alumni Association. Stanford in New
               York Facility, New York, New York.

2017           Invited Presentation, “The Challenges of Accurate Survey Measurement: The Case of
               Household Rostering.” Center for Survey Methodology, U.S. Census Bureau, Suitland,
               Maryland.

2017           Invited Address, “The Accuracy of Online Surveys with Non-probability Samples of People
               Who Volunteer to Do Surveys for Money.” Conference Entitled “Towards the Future:
               Forecasting in Social Studies” VII Sociology Grushin Conference, Sponsored by the Russia
               Public Opinion Research Center, Moscow, Russia.

2017           Invited Lecture, “Are Elections in America Unfair? Exploring the Impact of Candidate
               Name Order.” Lecture co-sponsored by the GESIS Leibniz Institute for Social Sciences and
               the Mannheim Center for European Social Research (MZES), University of Mannheim,
               Mannheim, Germany.

2017           Invited Presentation, “Attitude Measurement and Methodology”. Attitudes Conference,
               Annenberg Public Policy Center of the University of Pennsylvania, Philadelphia,
               Pennsylvania.

2017           Invited Presentation, “Campaign Ads that are Good for America.” Conference on Electoral
               Reform, Harris School for Public Policy, University of Chicago, Chicago, Illinois.

2017           Invited Presentation, “Eliminating Unfairness: The Impact of Candidate Name Order.”
               Conference on Electoral Reform, Harris School for Public Policy, University of Chicago,
               Chicago, Illinois.

2017           Invited Lecture, “How the Media Influence American Public Opinion.” Presentation at
               @America, sponsored by the U.S. Department of State, Jakarta, Indonesia.

2017           Invited presentation, “Challenges Impeding Comparability of Measurement Across
               Countries: Findings from an International Project Documenting Response Effects.”
               Conference on Advances in Scale Development in the Social Sciences: Issues of
               Comparability, University of Mannheim, sponsored by GESIS, Mannheim, Germany.

2017           Invited presentation, “Challenges Impeding Comparability of Measurement Across
               Countries: Findings from an International Project Documenting Response Effects.”
               Conference on Elections, parties, and Public Opinion in a Volatile World: A Comparative
               Perspective. University of Mannheim, sponsored by GESIS, the Mannheimer Zentrum fur
               Europaische Sozialforschung, and the University of Michigan’s Institute for Social Research,
               Mannheim, Germany.

2017           Invited panel member, “Keynote: The Politics of Climate Change.” Sixth Annual LCFS &



       Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 93 of 662        Document 73-1Page 92
                 OPIS Carbon Markets Workshop, San Francisco, California.

  2017           Invited lecture, “The Elections in America: Surprising Twists and Turns.” Stanford Center
                 at Peking University Special Lecture, Beijing, China.

  2017           Invited lecture, “Are Elections in America Unfair? Exploring the Impact of Candidate Name
                 Order.” Methoden-Zentrum Sozialwissenschaften, Georg-August-Universitat Gottingen,
                 Gottingen, Germany.

  2018           Inaugural Lecturer, Natalie Kahn Lecture Series, Department of Communication, University
                 of California, Los Angeles, Los Angeles, California.

  2018           Invited Lecture, “Social and Psychology Experiments Under the Microscope: Do Our Classic
                 Experiments Replicate When Participant Are Representative of the General Public Rather
                 Than Convenience Samples of College Students?” Centre for Experimental Social Sciences
                 Seminar, Nuffield College, University of Oxford, Oxford, United Kingdom.

  2018           Invited Lecture, “Passion in American Politics: What Happens When Citizens Become
                 Deeply Committed to Pressuring Government on a Policy Issue”. Department of
                 Psychology, University of Bath, Bath, United Kingdom.

  2018           Invited Keynote Address, “An Update on the Accuracy of Probability Sample Surveys and
                 Non-probability Sample Surveys.” Workshop on Probability-Based and Nonprobability
                 Survey Research, Program on Political Economy of Reforms – SFB 884, University of
                 Mannheim, Mannheim, Germany.

  2018           Presentation, “Project Overview.” CPS Forum on Measuring Voter Turnout, Summer at
                 Census, U.S. Census Bureau, Suitland, Maryland.

  2018           Presentation, “Mode and Proxy Effects.” CPS Forum on Measuring Voter Turnout, Summer
                 at Census, U.S. Census Bureau, Suitland, Maryland.

  2018           Presentation, “Knowing More Than We Can Know.” CPS Forum on Measuring Voter
                 Turnout, Summer at Census, U.S. Census Bureau, Suitland, Maryland.

  2018           Invited Colloquium, “The Future of Survey Research: Meltdown or Opportunity?” Roper
                 Center Speaker Series, Roper Center for Public Opinion Research, Cornell University,
                 Ithaca, New York.

 2018            Invited Colloquium, “The Future of Survey Research: Meltdown or Opportunity?” GESIS -
                 Leibniz Institute for the Social Sciences, Mannheim, Germany.


Editorial Board Member

 1989-2000       Journal of Personality and Social Psychology
 2006-2008

 1990-1994       Journal of Experimental Social Psychology

 1997-2003       Basic and Applied Social Psychology




         Case 2:18-cv-01996-JPS        Filed 09/18/19        Page 94 of 662      Document 73-1Page 93
 1988-1991,       Public Opinion Quarterly
 1994-2002

 1998-2005        Media Psychology

 2006-2008        Sociological Methodology

   2008-          Pathways

 2012-2017        Journal of Survey Statistics and Methodology

 2018-2020        Measurement Instruments for the Social Sciences


Internal Grants

   1986           Ohio State University Office of Research and Graduate Studies Faculty Seed Grant, to
                  support research on attitude importance.

   1986           Ohio State University College of Social and Behavioral Sciences Research Expense Grant, to
                  support research on social information processing and judgments about the self.

   1987           Mershon Center Research Grant, to study the determinants of attitude importance.

   1987           Ohio State University Office of Research and Graduate Studies Research Grant, to study the
                  role of attitude importance in regulating political judgment.

   1988           Ohio State University Office of Research and Graduate Studies, to support a study of the
                  Arab/Israeli relations issue public in the United States (with Shibley Telhami).

   1988           The Mershon Center, Ohio State University, to support a study of the Arab/Israeli relations
                  issue public in the United States (with Shibley Telhami).

   1988           Department of Political Science, Ohio State University, to support a study of the Arab/Israeli
                  relations issue public in the United States (with Shibley Telhami).

   1988           College of Social and Behavioral Sciences, Ohio State University, to support a study of the
                  Arab/Israeli relations issue public in the United States (with Shibley Telhami).

   1991           Ohio State University Office of Research and Graduate Studies Research Grant, to study the
                  role of satisficing in shaping responses to survey questionnaire measures of attitudes.

   1993           Ohio State University Office of the Vice President for Research, to support preparation of a
                  book on questionnaire design.

   1995           College of Social and Behavioral Sciences, Ohio State University, to support a study of the
                  contingent valuation method of survey research.

   1995           College of Social and Behavioral Sciences, Ohio State University, to support a survey of
                  public attitudes toward global warming.

   1995           College of Social and Behavioral Sciences, Ohio State University, to support research on
                  questionnaire design.


          Case 2:18-cv-01996-JPS         Filed 09/18/19       Page 95 of 662         Document 73-1Page 94
1999           Mershon Center, Ohio State University. Foreign policy and election outcomes: A proposal
               to study the 2000 American Presidential election.

2003           VPUE Faculty Grant for Undergraduate Research, Stanford University.

2004           VPUE Faculty Grant for Undergraduate Research, Stanford University.

2005           VPUE Faculty Grant for Undergraduate Research, Stanford University.

2006           VPUE Faculty Grant for Undergraduate Research, Stanford University.

2007          VPUE Faculty Grant for Undergraduate Research, Stanford University.

2007           Summer Research College Support for Undergraduates, Political Science Department,
               Stanford University.

2008           VPUE Faculty Grant for Undergraduate Research, Stanford University.

2008           Summer Research College Support for Undergraduates, Political Science Department,
               Stanford University.

2009           VPUE Faculty Grant for Undergraduate Research, Stanford University.

2009           Summer Research College Support for Undergraduates, Political Science Department,
               Stanford University.

2009           Summer Research College Support for Undergraduates, Public Policy Program, Stanford
               University.

2010           VPUE Faculty Grant for Undergraduate Research, Stanford University.

2010           Summer Research College Support for Undergraduates, Political Science Department,
               Stanford University.

2010           Summer Research College Support for Undergraduates, Public Policy Program, Stanford
               University.

2011           VPUE Faculty Grant for Undergraduate Research, Stanford University.

2011           Summer Research College Support for Undergraduates, Political Science Department,
               Stanford University.

2011           Summer Research College Support for Undergraduates, Woods Institute for the
               Environment, Stanford University.

2011           Summer Research College Support for Undergraduates, Public Policy Program, Stanford
               University.

2012           Summer Research College Support for Undergraduates, Political Science Department,
               Stanford University.

2012           Summer Research College Support for Undergraduates, Woods Institute for the
               Environment, Stanford University.


       Case 2:18-cv-01996-JPS        Filed 09/18/19      Page 96 of 662       Document 73-1Page 95
2012           Summer Research College Support for Undergraduates, Public Policy Program, Stanford
               University.

2012           VPUE Faculty Grant for Undergraduate Research, Stanford University.

2013           Summer Research College Support for Undergraduates, Political Science Department,
               Stanford University.

2013           Summer Research College Support for Undergraduates, Woods Institute for the
               Environment, Stanford University.

2013           Summer Research College Support for Undergraduates, Public Policy Program, Stanford
               University.

2014           Summer Research College Support for Undergraduates, Political Science Department,
               Stanford University.

2014           Summer Research College Support for Undergraduates, Woods Institute for the
               Environment, Stanford University.

2014           Summer Research College Support for Undergraduates, Public Policy Program, Stanford
               University.

2014           Research Grant, Center for Advanced Study in the Behavioral Sciences.

2015           Summer Research College Support for Undergraduates, Political Science Department,
               Stanford University.

2015           Summer Research College Support for Undergraduates, Woods Institute for the
               Environment, Stanford University.

2015           Summer Research College Support for Undergraduates, Public Policy Program, Stanford
               University.

2015           Research Grant, Spectrum-Stanford Health Care Innovation Challenge Program, Stanford
               University. (with Julie Parsonnet)

2016           Summer Research College Support for Undergraduates, Political Science Department,
               Stanford University.

2017           Summer Research College Support for Undergraduates, Public Policy Program, Stanford
               University.

2017           Summer Research College Support for Undergraduates, Political Science Department,
               Stanford University.

2017           Summer Research College Support for Undergraduates, Psychology Department, Stanford
               University.

2017           Summer Research Program on Energy Research, Precourt Institute for Energy, Stanford
               University.



       Case 2:18-cv-01996-JPS        Filed 09/18/19      Page 97 of 662       Document 73-1Page 96
  2018            Summer Research College Support for Undergraduates, Public Policy Program, Stanford
                  University.

  2018            Summer Research College Support for Undergraduates, Political Science Department,
                  Stanford University.

  2018            Summer Research College Support for Undergraduates, Psychology Department, Stanford
                  University.

  2018            Summer Research Program on Energy Research, Precourt Institute for Energy, Stanford
                  University.


External Grants and Contracts

  1977            CBS Research Grant, to support development and evaluation of a mass media promotional
                  campaign for sound recordings.

  1984            Society for the Psychological Study of Social Issues Doctoral Dissertation Grant-in-aid.

  1984            CBS Research Grant, to support literature review/research on the causes of heavy television
                  viewing among children and adolescents.

  1985            CBS Research Grant, to support empirical research on the effect of television viewing on
                  alcohol use among children and adolescents.

  1985            CBS Research Grant, to support empirical research on the causes of heavy television viewing
                  among children and adolescents.

1987-1989         National Institute on Aging Research Grant, to study changes in political orientations over
                  the life span (with Duane F. Alwin).

  1987            National Association of Broadcasters Research Grant, to study the causes of heavy television
                  viewing among children and adolescents.

  1988            Society for the Psychological Study of Social Issues Grant-in-Aid, to support research on the
                  causes of heavy television viewing among children and adolescents.

1990-1992         National Science Foundation, The information processing consequences of attitude
                  importance.

  1991            National Science Foundation Research Experience for Undergraduates Grant Supplement,
                  The information processing consequences of attitude importance.

  1992            Society for the Psychological Study of Social Issues Grant-in-Aid, to support research on the
                  impact of the Gulf War on the constituents of presidential evaluations.

  1992            National Science Foundation Research Experience for Undergraduates Grant Supplement,
                  The information processing consequences of attitude importance.

  1994            National Science Foundation, Explaining the surprising accuracy of mail surveys.

  1995            National Science Foundation Research Experience for Undergraduates Grant Supplement,
                  Explaining the surprising accuracy of mail surveys.

         Case 2:18-cv-01996-JPS          Filed 09/18/19       Page 98 of 662        Document 73-1Page 97
  1995           U.S. Department of the Interior/Minerals Management Service/University of California
                 Coastal Marine Institute, Testing and calibrating the measurement of nonmarket values for
                 oil spills via the contingent valuation method (with Michael Hanemann).

  1995           Electric Power Research Institute/Industrial Economics, Elicitation of public perceptions
                 regarding the potential ecological effects of climate change (part I).

  1996           Electric Power Research Institute/Industrial Economics, Elicitation of public perceptions
                 regarding the potential ecological effects of climate change (part II).

  1997           National Science Foundation, Formation and change of public beliefs about global warming.

  1997           National Oceanic and Atmospheric Administration/U.S. Environmental Protection
                 Agency/Resources for the Future, Formation and change of public beliefs about global
                 warming: Wave II of survey interviewing.

1998, 1999,      Robert Dodd and Associates/The Battelle Memorial Institute/National
2000, 2001       Aeronautics and Space Administration, National aviation operational monitoring system
                 questionnaire development.

2000, 2001       Resources for the Future, American public opinion on the environment.

2001, 2002       Columbus Airport Authority, The dynamics and causes of airport customer satisfaction.

  2002           Time-sharing Experiments for the Social Sciences (TESS) grant (funded by the National
                 Science Foundation), Social desirability and reports of voter turnout (with Allyson L.
                 Holbrook).

  2003           National Science Foundation, Social and psychological mechanisms of the relation between
                 age and openness to attitude change (with Penny Visser).

  2003           New York Academy of Medicine/W. K. Kellogg Foundation, Engaging the community in
                 terrorism preparedness planning.

  2003           Decade of Behavior 2000-2010 Distinguished Lecture Program Grant to feature Richard E.
                 Petty at the 2003 annual meeting of the American Association for Public Opinion Research.

  2004           National Science Foundation, Optimizing the number of points on rating scales.

  2004           The Bureau of Labor Statistics, U.S Department of Labor, Refining the categorization of jobs
                 in the biotechnology industry.

  2005           National Science Foundation, 2005 Summer Institute in Political Psychology.

  2005           National Science Foundation, Survey Research Methodology Optimization for the Science
                 Resource Statistics Program.

  2005           National Science Foundation, American National Election Studies 2005-2010 (with Arthur
                 Lupia).

  2006           American Psychological Association, The psychology of voting and election campaigns: A
                 proposal for a stand-alone conference (with Wendy Wood, Arthur Lupia, and John Aldrich).



         Case 2:18-cv-01996-JPS         Filed 09/18/19       Page 99 of 662        Document 73-1Page 98
2006       National Science Foundation, Agenda-setting workshop in the area of e-science:
           Development of the next generation of cybertools applied to data collections in the social
           and behavioral sciences (with Arthur Lupia).

2006       National Science Foundation, Development of a computer network for experimental and
           non-experimental data collection via the Internet from a nationally representative sample of
           American households.

2006       National Science Foundation and the Department of Homeland Security, Expansion of the
           American National Election Study: Gauging the public’s Attitudes on terrorism and
           homeland security (with Arthur Lupia).

2007       National Science Foundation, 2007 Summer Institute in Political Psychology.

2007       National Science Foundation, Survey Research Methodology Optimization for the Science
           Resource Statistics Program.

2007       National Science Foundation, Survey Research Methodology Optimization for the Science
           Resource Statistics Program (Supplement).

2007       National Science Foundation, Research Experience for Undergraduates Supplement for the
           American National Election Study. (with Arthur Lupia)

2007       National Science Foundation, The Impact of Polls on Political Behavior.

2007       National Science Foundation, American National Election Studies Supplement to Support
           Additional Pretesting of Questionnaire Items. (with Arthur Lupia)

2007       National Science Foundation, American National Election Studies Supplement to Support a
           Conference on Methodology for Coding Open-ended Question Responses. (with Arthur
           Lupia)

2008       National Science Foundation, SGER: DHS and NSF Collaboration: Developing Polls to Test
           Theories of Radicalization and Potential for Radicalization. (with Arthur Lupia)

2008       National Science Foundation, American National Election Studies Supplement to Create a
           Supplemental Panel to Study the 2008 American Presidential Election. (with Arthur Lupia)

2008       National Science Foundation, 2008 Summer Institute in Political Psychology.

2009       Time-sharing Experiments for the Social Sciences (TESS) grant (funded by the National
           Science Foundation), Does Mentioning ‘Some People’ and ‘Other People’ in an Attitude
           Question Improve Measurement Quality? (with David Yeager).

2009       National Science Foundation, 2009 Summer Institute in Political Psychology.

2009       Robert Wood Johnson Foundation, Surveying Public Opinion on Healthcare.

2009       Bill and Melinda Gates Foundation, Research and Polling Studies on Key Education Topics.

2009       National Science Foundation, 2010-2012 Summer Institute in Political Psychology.

2010       National Science Foundation, American National Election Studies Supplement to Develop
           and Test New Methods for Coding Open-ended Survey Data. (with Arthur Lupia)

   Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 100 of 662         Document 73-1Page 99
   2010           National Science Foundation, Discovering the Mechanisms of Belief and Attitude Change on
                  Controversial Issues: The Case of Global Warming and Trust in Scientists.

   2011           Marketing Science Institute, Establishing the Accuracy of Online Panels Research (with Lisa
                  Brüggen, Rebecca Weiss, David Yeager, Rui Wang, and Yph Lelkes).

   2012           National Science Foundation, Conferences on the Future of Survey Research.

   2013           National Science Foundation, Supplement to Grant on the Future of Survey Research.

   2014            National Science Foundation, American National Election Studies Supplement to Develop
                   and Test New Methods for Coding Open-ended Survey Data. (with Arthur Lupia)

   2014            Fetzer Franklin Fund, Exploring the Replicability of Psychological Findings.

   2014           Center for Advanced Study in the Behavioral Sciences, Stanford University, CASBS Best
                  Practices in Science Group: Empirical Studies, Article Writing, and Grant Proposal
                  Preparation. (with Lee Jussim)

   2015           The William and Flora Hewlett Foundation, Maximizing Scientific Integrity. (with Lee
                  Jussim)

   2015           Marketing Science Institute, Beyond the Promotion of Net Promoter Score: A Research Deep
                  Dive on “The One Number You Need to Grow.” (with Ellen Konar)

   2015            Fetzer Franklin Fund, Maximizing Scientific Integrity: A Conference Proposal. (with Lee
                   Jussim)

   2017            National Science Foundation, Implicit Bias Conference

   2017            National Science Foundation, Consumer Innovation Survey Development.


Research Partnerships with News Media Organizations

The New York Times
ABC News
The Associated Press
Time Magazine
The Washington Post
USA Today
New Scientist Magazine


Books

Weisberg, H., Krosnick, J. A., & Bowen, B. (1989). Introduction to survey research and data analysis.
       Chicago: Scott, Foresman.

Krosnick, J. A. (Ed.). (1990). Thinking about politics: Comparisons of experts and novices. New York:
       Guilford Press (Book version of a special issue of Social Cognition, Volume 8, Number 1, 1990).



        Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 101 of 662         Document 73-1
                                                                                                Page 100
Petty, R. E., & Krosnick, J. A. (Eds.). (1995). Attitude strength: Antecedents and consequences. Hillsdale, NJ:
        Erlbaum.

Weisberg, H., Krosnick, J. A., & Bowen, B. (1996). Introduction to survey research, polling, and data analysis.
       Thousand Oaks, CA: Sage.

Carson, R. T., Conaway, M. B., Hanemann, W. M., Krosnick, J. A., Mitchell, R. C., Presser, S. (2004).
        Valuing oil spill prevention: A case study of California's central coast. Dordrecht, The Netherlands:
        Kluwer Academic Publishers.

Callegaro, M., Baker, R., Bethlehem, J., Göritz, A., Krosnick, J. A., & Lavrakas, P. J. (Eds.). (2014). Online
        panel research: A data quality perspective. West Sussex, UK: John Wiley and Sons.

        Review: Cornesse, C., & Blom, A. G. (2015). Review of Online Panel Research: A Data Quality
        Perspective. Journal of Official Statistics, 31, 809-812.

Krosnick, J. A., Chiang, I.-C., & Stark, T. (Eds.) (2017). Political psychology: New explorations. Psychology
       Press. New York, New York.

Vannette, D. L., & Krosnick, J. A. (Eds.) (2018). The Palgrave handbook of survey research. London, UK:
       Palgrave MacMillan.

Krosnick, J. A., & Fabrigar, L. R. (forthcoming). The handbook of questionnaire design. New York: Oxford
       University Press.


Journal Articles and Book Chapters

Krosnick, J. A. (1978). One approach to the analysis of drumset playing. Percussive Notes, Spring-Summer,
       143-149.

Judd, C. M., Krosnick, J. A., & Milburn, M. A. (1981). Political involvement and attitude structure in the
        general public. American Sociological Review, 46, 660-669.

Krosnick, J. A., & Judd, C. M. (1982). Transitions in social influence at adolescence: Who induces cigarette
       smoking? Developmental Psychology, 18, 359-368.

Judd, C. M., & Krosnick, J. A. (1982). Attitude centrality, organization, and measurement. Journal of
        Personality and Social Psychology, 42, 436-447.

Krosnick, J. A. (1982). Teaching percussion: Growing with your students. National Association of College
       Wind and Percussion Instructors Journal, Summer, 4-7.

Judd, C. M., Kenny, D. A., & Krosnick, J. A. (1983). Judging the positions of political candidates: Models of
        assimilation and contrast. Journal of Personality and Social Psychology, 44, 952-963.

McAlister, A. L., Krosnick, J. A., & Milburn, M. A. (1984). Causes of adolescent cigarette smoking: Tests of a
       structural equation model. Social Psychology Quarterly, 47, 24-36.

Iyengar, S., Kinder, D. R., Peters, M. D., & Krosnick, J. A. (1984). The evening news and presidential
        evaluations. Journal of Personality and Social Psychology, 46, 778-787.

        Reprinted in Peplau, L. A., Sears, D. O., Taylor, S. E., & Freedman, J. L. (Eds.) (1988), Readings in
        social psychology: Classic and contemporary contributions. Englewood Cliffs, NJ: Prentice Hall.

       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 102 of 662         Document 73-1
                                                                                                  Page 101
Alwin, D. F., & Krosnick, J. A. (1985). The measurement of values in surveys: A comparison of ratings and
       rankings. Public Opinion Quarterly, 49, 535-552.

        Reprinted in Singer, E., & Presser, S. (Eds.) (1989). Survey research methods: A reader. Chicago:
        University of Chicago Press.

        Reprinted in Bartholomew, D. (Ed.) (2006). Measurement. Oxford, UK: The Bardwell Press.

Schuman, H., Ludwig, J., & Krosnick, J. A. (1986). The perceived threat of nuclear war, salience, and open
      questions. Public Opinion Quarterly, 50, 519-536.

Krosnick, J. A., & Alwin, D. F. (1987). An evaluation of a cognitive theory of response order effects in survey
       measurement. Public Opinion Quarterly, 51, 201-219.

        Reprinted in Roberts, C., & Jowell, R. (Eds.) (2008). Attitude measurement. Thousand Oaks, CA:
        Sage Publications.

Krosnick, J. A. (1988). Attitude importance and attitude change. Journal of Experimental Social Psychology,
       24, 240-255.

Krosnick, J. A., & Schuman, H. (1988). Attitude intensity, importance, and certainty and susceptibility to
       response effects. Journal of Personality and Social Psychology, 54, 940-952.

        Reprinted in Roberts, C., & Jowell, R. (Eds.) (2008). Attitude measurement. Thousand Oaks, CA:
        Sage Publications.

Krosnick, J. A. (1988). The role of attitude importance in social evaluation: A study of policy preferences,
       presidential candidate evaluations, and voting behavior. Journal of Personality and Social Psychology,
       55, 196-210.

Krosnick, J. A., & Alwin, D. F. (1988). A test of the form-resistant correlation hypothesis: Ratings, rankings,
       and the measurement of values. Public Opinion Quarterly, 52, 526-538.

Judd, C. M., & Krosnick, J. A. (1989). The structural bases of consistency among political attitudes: The
        effects of political expertise and attitude importance. In A. R. Pratkanis, S. J. Breckler, & A. G.
        Greenwald (Eds.), Attitude Structure and Function. Hillsdale, NJ: Erlbaum.

Krosnick, J. A. (1989). Attitude importance and attitude accessibility. Personality and Social Psychology
       Bulletin, 15, 297-308.

Krosnick, J. A. (1989). Question wording and reports of survey results: The case of Louis Harris and Aetna
       Life and Casualty. Public Opinion Quarterly, 53, 107-113.

        Reprinted in Bulmer, M. (Ed.) (2004), Questionnaires. Thousand Oaks, CA: Sage Publications.

Krosnick, J. A., & Alwin, D. F. (1989). Aging and susceptibility to attitude change. Journal of Personality and
       Social Psychology, 57, 416-425.

Krosnick, J. A. (1990). Government policy and citizen passion: A study of issue publics in contemporary
       America. Political Behavior, 12, 59-92.

Krosnick, J. A. (1990). Expertise in political psychology. Social Cognition, 8, 1-8. (also in J. Krosnick (Ed.),
       Thinking about politics: Comparisons of experts and novices. New York: Guilford, 1990, pp. 1-8).

       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 103 of 662         Document 73-1
                                                                                                  Page 102
Krosnick, J. A. (1990). Lessons learned: A review and integration of our findings. Social Cognition, 8, 154-
       158. (also in J. Krosnick (Ed.), Thinking about politics: Comparisons of experts and novices. New
       York: Guilford, 1990, pp. 154-158).

Krosnick, J. A., Li, F., & Lehman, D. (1990). Conversational conventions, order of information acquisition,
       and the effect of base rates and individuating information on social judgments. Journal of Personality
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Krosnick, J. A., Boninger, D. S., Berent, M. K., & Carnot, C. G. (1988). The origins of attitude importance.
       Paper presented at the Midwest Psychological Association Annual Meeting, Chicago, Illinois.

Krosnick, J. A., Carnot, C. G., Berent, M. K., & Boninger, D. S. (1988). An exploration of the relations among
       dimensions of attitude strength. Paper presented at the Midwest Psychological Association Annual
       Meeting, Chicago, Illinois.




       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 119 of 662         Document 73-1
                                                                                                  Page 118
Krosnick, J. A., Li, F., & Ashenhurst, J. (1988). Order of information presentation and the effect of base-rates
       on social judgments. Paper presented at the Midwest Psychological Association Annual Meeting,
       Chicago, Illinois.

Krosnick, J. A., Berent, M. K., Carnot, C. G., & Boninger, D. S. (1988). Attitude importance and recall of
       attitude relevant information. Paper presented at the Midwest Psychological Association Annual
       Meeting, Chicago, Illinois.

Krosnick, J. A., & Carnot, C. G. (1988). A comparison of two theories of the origins of political attitude
       strength. Paper presented at the Midwest Psychological Association Annual Meeting, Chicago, Illinois.

Krosnick, J. A., & Alwin, D. F. (1988). The stability of political attitudes across the life span. Paper presented
       at the American Association for Public Opinion Research Annual Meeting, Toronto, Canada.

Krosnick, J. A., & Carnot, C. G. (1988). Identifying the foreign affairs attentive public: A comparison of
       competing theories. Paper presented to the Mershon Center Seminar on Foreign Policy Decision
       Making, The Ohio State University, Columbus, Ohio.

Alwin, D. F., & Krosnick, J. A. (1988). The reliability of attitudinal survey data. Paper presented at the
       International Conference on Social Science Methodology, Dubrovnik, Yugoslavia.

Alwin, D. F., & Krosnick, J. A. (1988). Aging, cohort stability, and change in socio-political attitudes:
       Exploring the generational-persistence model. Paper presented at the International Society of Political
       Psychology Annual Meeting, Secaucus, New Jersey.

Krosnick, J. A., & Kinder, D. R. (1988). Altering the foundations of popular support for the president through
       priming: Reagan, the Iran-Contra affair, and the American public. Paper presented at the American
       Political Science Association Annual Meeting, Washington, D.C.

Krosnick, J. A., & Weisberg, H. F. (1988). Liberal/conservative ideological structures in the mass public: A
       study of attitudes toward politicians and social groups. Paper presented at the American Political
       Science Association Annual Meeting, Washington, D.C.

Krosnick, J. A. (1988). Government policy and citizen passion: A study of issue publics in contemporary
       America. Paper presented at the Shambaugh Conference on Communication, Cognition, Political
       Judgment, and Affect, Iowa City, Iowa.

Berent, M. K., Krosnick, J. A., & Boninger, D. S. (1989). Attitude importance and the valanced recall of
        relevant information. Paper presented at the Midwest Psychological Association Annual Meeting,
        Chicago, Illinois.

Betz, A., & Krosnick, J. A. (1989). Can people detect the affective tone of subliminally presented stimuli?
        Paper presented at the Midwest Psychological Association Annual Meeting, Chicago, Illinois.

Krosnick, J. A., & Berent, M. K. (1989). Age-related changes in peer and parental influence on heavy
       television viewing among children and adolescents. Paper presented at the Midwest Psychological
       Association Annual Meeting, Chicago, Illinois.

Alwin, D. F., & Krosnick, J. A. (1989). The reliability of attitudinal survey data. Paper presented at the
       American Association for Public Opinion Research Annual Meeting, St. Petersburg, Florida.

Krosnick, J. A. (1989). The implications of social psychological findings on compliance for recruiting survey
       respondents. Paper presented at the American Association for Public Opinion Research Annual
       Meeting, St. Petersburg, Florida.

       Case 2:18-cv-01996-JPS             Filed 09/18/19        Page 120 of 662         Document 73-1
                                                                                                   Page 119
Telhami, S., & Krosnick, J. A. (1989). Public attitudes and American policy toward the Arab-Israeli conflict.
       Paper presented at the International Society of Political Psychology Annual Meeting, Israel.

Krosnick, J. A., & Alwin, D. F. (1989). Symbolic versus non-symbolic political attitudes: Is there a distinction?
       Paper presented at the American Political Science Association Annual Meeting, Atlanta, Georgia.

Krosnick, J. A. (1989). The impact of cognitive sophistication and attitude importance on response order
       effects and question order effects. Paper presented at the conference entitled Order effects in social and
       psychological research, Nags Head Conference Center, Kill Devil Hills, North Carolina.

Krosnick, J. A. (1990). The impact of satisficing on survey data quality. Paper presented at the Annual
       Research Conference of the Bureau of the Census, U.S. Department of Commerce, Washington, D.C.

Krosnick, J. A. (1990). New perspectives on survey questionnaire construction: Lessons from the cognitive
       revolution. Invited presentation at the 1990 Technical Conference of the United States General
       Accounting Office, College Park, Maryland.

Krosnick, J. A. (1990). Americans' perceptions of presidential candidates: A test of the projection hypothesis.
       Paper presented at the Midwest Political Science Association Annual Meeting, Chicago, Illinois.

Krosnick, J. A., & Berent, M. K. (1990). The impact of verbal labeling of response alternatives and branching
       on attitude measurement reliability in surveys. Paper presented at the American Association for Public
       Opinion Research Annual Meeting, Lancaster, Pennsylvania.

Krosnick, J. A., & Alwin, D. F. (1990). The stability of political preferences: Comparisons of symbolic and
       non-symbolic attitudes. Paper presented at the International Society of Political Psychology Annual
       Meeting, Washington, D. C.

Krosnick, J. A. (1990). Confounding of attitude objects with attitude measurement techniques in studies of
       political attitude stability. Paper presented at the Summer Institute in Survey Research Techniques,
       University of Michigan.

Fabrigar, L. R., & Krosnick, J. A. (1991). The effect of question order and attitude importance on the false
        consensus effect. Paper presented at the Midwestern Psychological Association Annual Meeting,
        Chicago, Illinois.

Berent, M. K., & Krosnick, J. A. (1991). Attitude measurement reliability: The impact of verbal labeling of
        response alternatives and branching. Paper presented at the Midwestern Psychological Association
        Annual Meeting, Chicago, Illinois.

Lehman, D. R., Krosnick, J. A., West, R. L., & Li, F. (1991). The focus of judgment effect: A question
      wording effect due to hypothesis confirmation bias. Paper presented at the American Association for
      Public Opinion Research Annual Meeting, Phoenix, Arizona.

Krosnick, J. A., Boninger, D. S., Chuang, Y. C., & Carnot, C. G. (1991). Attitude strength: One construct or
       many related constructs? Paper presented at the Nags Head Conference on Attitude Strength, Nags
       Head, North Carolina.

Krosnick, J. A. (1991). Research on attitude importance: A summary and integration. Paper presented at the
       Nags Head Conference on Attitude Strength, Nags Head, North Carolina.




       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 121 of 662         Document 73-1
                                                                                                  Page 120
Krosnick, J. A., & Berent, M. K. (1991). Memory for political information: The impact of attitude importance
       on selective exposure, selective elaboration, and selective recall. Paper presented at the Society for
       Experimental Social Psychology Annual Meeting, Columbus, Ohio.

Krosnick, J. A., & Brannon, L. A. (1992). The impact of war on the ingredients of presidential evaluations:
       George Bush and the Gulf conflict. Paper presented at the Conference on the Political Consequences of
       War, The Brookings Institution, Washington, D.C.

Berent, M. K., & Krosnick, J. A. (1992). The relation between attitude importance and knowledge structure.
        Paper presented at the Midwest Political Science Association Annual Meeting, Chicago, Illinois.

Smith, W. R., Culpepper, I. J., & Krosnick, J. A. (1992). The impact of question order on cognitive effort in
       survey responding. Paper presented at the Sixth National Conference on Undergraduate Research,
       University of Minnesota, Minneapolis, Minnesota.

Krosnick, J. A., & Brannon, L. A. (1992). The impact of war on the ingredients of presidential evaluations:
       George Bush and the Gulf conflict. Paper presented at the American Association for Public Opinion
       Research Annual Meeting, St. Petersburg, Florida.

Narayan, S. S., & Krosnick, J. A. (1992). Response effects in surveys as a function of cognitive sophistication.
       Paper presented at the Midwestern Psychological Association Annual Meeting, Chicago, Illinois.

Boninger, D. S., Krosnick, J. A., & Berent, M. K. (1992). Imagination, perceived likelihood, and self-interest:
       A path toward attitude importance. Paper presented at the Midwestern Psychological Association
       Annual Meeting, Chicago, Illinois.

Culpepper, I. J., Smith, W., & Krosnick, J. A. (1992). The impact of question order on satisficing in attitude
       surveys. Paper presented at the Midwestern Psychological Association Annual Meeting, Chicago,
       Illinois.

Berent, M. K., & Krosnick, J. A. (1992). Attitude importance, information accessibility, and attitude-relevant
        judgments. Paper presented at the Midwestern Psychological Association Annual Meeting, Chicago,
        Illinois.

Krosnick, J. A., & Brannon, L. A. (1992). The impact of war on the ingredients of presidential evaluations:
       George Bush and the Gulf conflict. Paper presented at the International Society of Political Psychology
       Annual Meeting, San Francisco, California.

Rahn, W. M., Krosnick, J. A., & Breuning, M. (1992). Rationalization and derivation processes in political
       candidate evaluation. Paper presented at the American Political Science Association Annual Meeting,
       Chicago, Illinois.

Krosnick, J. A., & Brannon, L. A. (1992). Effects of knowledge, interest, and exposure on news media priming
       effects: Surprising results from multivariate analysis. Paper presented at the Society for Experimental
       Social Psychology Annual Meeting, San Antonio, Texas.

Berent, M. K., & Krosnick, J. A. (1993). Attitude importance and selective exposure to attitude-relevant
        information. Paper presented at the Midwestern Psychological Association Annual Meeting, Chicago,
        Illinois.

Fabrigar, L. R., & Krosnick, J. A. (1993). The impact of personal and national importance judgments on
        political attitudes and behavior. Paper presented at the Midwestern Psychological Association Annual
        Meeting, Chicago, Illinois.


       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 122 of 662         Document 73-1
                                                                                                  Page 121
Miller, J. M., & Krosnick, J. A. (1993). The effects of candidate ballot order on election outcomes. Paper
         presented at the Midwestern Psychological Association Annual Meeting, Chicago, Illinois.

Narayan, S. S., & Krosnick, J. A. (1993). Questionnaire and respondent characteristics that cause satisficing in
       attitude surveys. Paper presented at the Midwestern Psychological Association Annual Meeting,
       Chicago, Illinois.

Narayan, S. S., & Krosnick, J. A. (1993). Response effects in surveys as a function of cognitive sophistication.
       Paper presented at the American Psychological Society Annual Meeting, Chicago, Illinois.

Smith, W. R., & Krosnick, J. A. (1993). Need for cognition, prior thought, and satisficing in attitude surveys.
       Paper presented at the Midwestern Psychological Association Annual Meeting, Chicago, Illinois.

Smith, W. R., & Krosnick, J. A. (1993). Cognitive and motivational determinants of satisficing in surveys.
       Paper presented at the American Psychological Society Annual Meeting, Chicago, Illinois.

Berent, M. K., & Krosnick, J. A. (1994). Attitude importance and selective exposure to attitude-relevant
        information. Paper presented at the Midwest Political Science Association Annual Meeting, Chicago,
        Illinois.

Fabrigar, L. R., & Krosnick, J. A. (1994). The impact of attitude importance on consistency among attitudes.
        Paper presented at the Midwestern Psychological Association Annual Meeting, Chicago, Illinois.

Krosnick, J. A. (1994). Survey methods and survey results: Overturning conventional wisdom. Paper
       presented to the American Marketing Association, Columbus Chapter.

Krosnick, J. A., & Fabrigar, L. R. (1994). Attitude recall questions: Do they work? Paper presented at the
       American Association for Public Opinion Research Annual Meeting, Danvers, Massachusetts.

Miller, J. M., & Krosnick, J. A. (1994). Does accessibility mediate agenda-setting and priming? Paper
         presented at the Midwestern Psychological Association Annual Meeting, Chicago, Illinois.

Smith, W. R., & Krosnick, J. A. (1994). Sources of non-differentiation and mental coin-flipping in surveys:
       Tests of satisficing hypotheses. Paper presented at the American Association for Public Opinion
       Research Annual Meeting, Danvers, Massachusetts.

Visser, P. S., & Krosnick, J. A. (1994). Mail surveys for election forecasting? An evaluation of the Columbus
        Dispatch Poll. Paper presented at the Midwestern Psychological Association Annual Meeting, Chicago,
        Illinois.

Visser, P. S., Krosnick, J. A., & Curtin, M. (1994). Mail surveys for election forecasting? Paper presented at
        the American Association for Public Opinion Research Annual Meeting, Danvers, Massachusetts.

Krosnick, J. A., & Brannon, L. A. (1995). News media priming and the 1992 U.S. presidential election. Paper
       presented at the American Political Science Association Annual Meeting, Chicago, Illinois.

Krosnick, J. A., & Cornet, P. J. (1995). Attitude importance and attitude change revisited: Shifts in attitude
       stability and measurement reliability across a presidential election campaign. Paper presented at the
       American Psychological Society Annual Meeting, New York, New York.

Krosnick, J. A., & Fabrigar, L. R. (1995). Designing rating scales for effective measurement in surveys.
       Invited address at the International Conference on Survey Measurement and Process Quality, Bristol,
       England.


       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 123 of 662         Document 73-1
                                                                                                  Page 122
Krosnick, J. A., Narayan, S. S., & Smith, W. R. (1995). The causes of survey satisficing: Cognitive skills and
       motivational factors. Paper presented at the Midwest Association for Public Opinion Research,
       Chicago, Illinois.

Miller, J. M., Fabrigar, L. R., & Krosnick, J. A. (1995). Contrasting attitude importance and collective issue
         importance: Attitude properties and consequences. Paper presented at the Midwestern Psychological
         Association Annual Meeting, Chicago, Illinois.

Miller, J. M., & Krosnick, J. A. (1995). Ballot order effects on election outcomes. Paper presented at the
         Midwest Political Science Association Annual Meeting, Chicago, Illinois.

Miller, J. M., & Krosnick, J. A. (1995). Mediators and moderators of news media priming: It ain't accessibility,
         folks. Paper presented at the International Society of Political Psychology Annual Meeting,
         Washington, D.C.

Narayan, S. S., & Krosnick, J. A. (1995). Education moderates response effects in surveys. Paper presented at
       the American Association for Public Opinion Research Annual Meeting, Ft. Lauderdale, Florida.

Smith, W. R., & Krosnick, J. A. (1995). Mental coin-flipping and non-differentiation in surveys: Tests of
       satisficing hypotheses. Invited address at the Midwestern Psychological Association Annual Meeting,
       Chicago, Illinois.

Visser, P. S., & Krosnick, J. A. (1995). The relation between age and susceptibility to attitude change: A new
        approach to an old question. Paper presented at the Midwestern Psychological Association Annual
        Meeting, Chicago, Illinois.

Visser, P. S., & Krosnick, J. A. (1995). Mail surveys win again: Some explanations for the superior accuracy of
        the Columbus Dispatch poll. Paper presented at the American Association for Public Opinion Research
        Annual Meeting, Ft. Lauderdale, Florida.

Ankerbrand, A. L., Krosnick, J. A., Cacioppo, J. T., & Visser, P. S. (1996). Candidate assessments and
       evaluative space. Paper presented at the Midwestern Psychological Association Annual Meeting,
       Chicago, Illinois.

Bizer, G. Y., & Krosnick, J. A. (1996). Attitude accessibility and importance revisited. Paper presented at the
        Midwestern Psychological Association Annual Meeting, Chicago, Illinois.

Krosnick, J. A. (1996). Linking survey question structure to data quality: The impact of no-opinion options.
       Paper presented at the conference on “Quality Criteria in Survey Research,” sponsored by the World
       Association for Public Opinion Research, Cadenabbia, Italy.

Krosnick, J. A., & Brannon, L. A. (1996). News media priming during the 1992 U.S. presidential election
       campaign. Paper presented at the International Society of Political Psychology Annual Meeting,
       Vancouver, British Columbia.

Miller, J. M., Fabrigar, L. R., & Krosnick, J. A. (1996). The roles of personal importance and national
         importance in motivating issue public membership. Paper presented at the Midwest Political Science
         Association Annual Meeting, Chicago, Illinois.

Miller, J. M., & Krosnick, J. A. (1996). Can issue public membership be triggered by the threat of a policy
         change? Paper presented at the International Society of Political Psychology Annual Meeting,
         Vancouver, British Columbia.



       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 124 of 662         Document 73-1
                                                                                                  Page 123
Krosnick, J. A., & Visser, P. S. (1996). Changes in political attitude strength through the life cycle. Paper
       presented at the Society for Experimental Social Psychology Annual Meeting, Sturbridge,
       Massachusetts.

Miller, J. M., & Krosnick, J. A. (1997). The impact of policy change threat on issue public membership. Paper
         presented at the Midwest Political Science Association Annual Meeting, Chicago, Illinois.

Ankerbrand, A. L., Krosnick, J. A., Cacioppo, J. T., Visser, P. S., & Gardner, W. (1997). Attitudes toward
       political candidates predict voter turnout. Paper presented at the Midwestern Psychological Association
       Annual Meeting, Chicago, Illinois.

Ankerbrand, A. L., & Krosnick, J. A. (1997). Response order effects in dichotomous questions: A social
       desirability explanation. Paper presented at the American Psychological Society Annual Meeting,
       Washington, DC.

Krosnick, J. A. (1997). Miraculous accuracy in political surveys: The keys to success. Presentation in the
       Federation of Behavioral, Psychological, and Cognitive Sciences Seminar on Science and Public Policy,
       Library of Congress, Washington, D.C.

Krosnick, J. A. (1997). Non-attitudes and no-opinion filters. Paper presented at the Conference on no opinion,
       instability, and change in public opinion research. University of Amsterdam, the Netherlands.

Krosnick, J. A. (1997). Attitude strength. Paper presented at the Conference on no opinion, instability, and
       change in public opinion research. University of Amsterdam, the Netherlands.

Bizer, G. Y., & Krosnick, J. A. (1998). The relation between attitude importance and attitude accessibility.
        Paper presented at the Midwestern Psychological Association Annual Meeting, Chicago, Illinois.

Holbrook, A., Krosnick, J. A., Carson, R. T., & Mitchell, R. C. (1998). Violating conversational conventions
       disrupts cognitive processing of survey questions. Paper presented at the American Association for
       Public Opinion Research Annual Meeting, St. Louis, Missouri.

Krosnick, J. A. (1998). Applying stated preference methods to assessing the value of public goods. Paper
       presented at the National Oceanic and Atmospheric Administration Application of Stated Preference
       Methods to Resource Compensation Workshop, Washington, DC.

Krosnick, J. A. (1998). Implications of psychological research on justice and compensation for handling of
       natural resource damage cases. Paper presented at the National Oceanic and Atmospheric
       Administration Application of Stated Preference Methods to Resource Compensation Workshop,
       Washington, DC.

Krosnick, J. A. (1998). Acquiescence: How a standard practice in many survey organizations compromises
       data quality. Paper presented at the conference on “Quality Criteria in Survey Research,” sponsored by
       the World Association for Public Opinion Research, Cadenabbia, Italy.

Krosnick, J. A., Lacy, D., & Lowe, L. (1998). When is environmental damage Americans’ most important
       problem? A test of agenda-setting vs. the issue-attention cycle. Paper presented at the International
       Society of Political Psychology Annual Meeting, Montreal, Quebec, Canada.

Visser, P. S., Krosnick, J. A., Marquette, J., & Curtin, M. (1998). Improving election forecasting: Allocation of
        undecided respondents, identification of likely voters, and response order effects. Paper presented at the
        American Association for Public Opinion Research Annual Meeting, St. Louis, Missouri.



       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 125 of 662          Document 73-1
                                                                                                   Page 124
Krosnick, J. A. (1998). The impact of science on public opinion: How people judge the national seriousness of
       global warming and form policy preferences. Paper presented at the American Political Science
       Association Annual Meeting, Boston, Massachusetts.

Krosnick, J. A. (1998). Response choice order and attitude reports: New evidence on conversational
       conventions and information processing biases in voting and in election forecasting polls. Paper
       presented at the Society of Experimental Social Psychology Annual Meeting, Lexington, Kentucky.

Krosnick, J. A. (1998). The impact of the Fall 1997 debate about global warming on American public opinion.
       Paper presented at Resources for the Future, Washington, D.C.

Krosnick, J. A. (1998). What the American public believes about global warming: Results of a national
       longitudinal survey study. Paper presented at the Amoco Public and Government Affairs and
       Government Relations Meeting, Woodruff, Wisconsin.

Krosnick, J. A. (1998). What the American public believes about global warming: Results of a national
       longitudinal survey study. Paper presented in the Second Annual Carnegie Lectures on Global
       Environmental Change, Carnegie Museum of Natural History, Pittsburgh, Pennsylvania.

Green, M. C., & Krosnick, J. A. (1999). Survey satisficing: Telephone interviewing increases non-
       differentiation and no opinion responses. Paper presented at the Midwestern Psychological Association
       Annual Meeting, Chicago, Illinois.

Green, M. C., & Krosnick, J. A. (1999). Comparing telephone and face-to-face interviewing in terms of data
       quality: The 1982 National Election Studies Method Comparison Project. Paper presented at the
       Seventh Annual Conference on Health Survey Research Methods, Williamsburg, Virginia.

Holbrook, A. L., Krosnick, J. A., Carson, R. T., & Mitchell, R. C. (1999). Violating conversational conventions
       disrupts cognitive processing of attitude questions. Paper presented at the American Association for
       Public Opinion Research Annual Meeting, St. Petersburg, Florida.

Krosnick, J. A. (1999). What happens when survey respondents don’t try very hard? The notion of survey
       satisficing. Paper presented at the National Center for Social Research, London, United Kingdom.

Krosnick, J. A. (1999). Satisficing: A single explanation for a wide range of findings in the questionnaire
       design literature. Paper presented at Linking the Path: A Conference for Analysts, Researchers, and
       Consultants, sponsored by the Gallup Organization, Lincoln, Nebraska.

Krosnick, J. A. (1999). Methodology for the NAOMS Survey. Presentation at the Workshop on the Concept of
       the National Aviation Operational Monitoring System (NAOMS), Sponsored by the National
       Aeronautics and Space Administration, Alexandria, Virginia.

Krosnick, J. A. (1999). Refining measurement of public values for policy-making: A test of contingent
       valuation procedures. Paper presented at the American Political Science Association Annual Meeting,
       Atlanta, Georgia.

Krosnick, J. A. (1999). The threat of satisficing in surveys: The shortcuts respondents take in answering
       questions. Paper presented at the National Center for Social Research Survey Methods Seminar on
       Survey Data Quality, London, England.

Krosnick, J. A. (1999). Optimizing questionnaire design: How to maximise data quality. Paper presented at the
       National Center for Social Research Survey Methods Seminar on Survey Data Quality, London,
       England.


       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 126 of 662        Document 73-1
                                                                                                Page 125
Krosnick, J. A. (1999). The causes and consequences of no-opinion responses in surveys. Paper presented at
       the International Conference on Survey Nonresponse, Portland, Oregon.

Miller, J. M., & Krosnick, J. A. (1999). The impact of threats and opportunities on political participation.
         Paper presented at the Midwest Political Science Association Annual Meeting, Chicago, Illinois.

O’Muircheartaigh, C., Krosnick, J. A., & Helic, A. (1999). Middle alternatives, acquiescence, and the quality
      of questionnaire data. Paper presented at the American Association for Public Opinion Research
      Annual Meeting, St. Petersburg, Florida.

Bizer, G. Y., & Krosnick, J. A. (2000). The importance and accessibility of attitudes: Helping explain the
        structure of strength-related attitude attributes. Paper presented at the Midwestern Psychological
        Association Annual Meeting, Chicago, Illinois.

Holbrook, A. L., Krosnick, J. A., Visser, P. S., Gardner, W. L., & Cacioppo, J. T. (2000). The formation of
       attitudes toward presidential candidates and political parties: An asymmetric nonlinear process. Paper
       presented at the American Psychological Society Annual Meeting, Miami, Florida.

Holbrook, A. L., Krosnick, J. A., Visser, P. S., Gardner, W. L., & Cacioppo, J. T. (2000). The formation of
       attitudes toward presidential candidates and political parties: An asymmetric, nonlinear, interactive
       process. Paper presented at the American Political Science Association Annual Meeting, Washington,
       D.C.

Krosnick, J. A. (2000). Peering into the future of thinking and answering: A psychological perspective on
       internet survey respondents. Paper presented at Survey Research: Past, Present, and Internet, the 2000
       Nebraska Symposium on Survey Research, University of Nebraska, Lincoln, Nebraska.

Krosnick, J. A. (2000). The present and future of research on survey non-responses: Reflections on Portland
       ’99 and beyond. Roundtable presentation at the American Association for Public Opinion Research
       Annual Meeting, Portland, Oregon.

Holbrook, A. L., Krosnick, J. A., Moore, D. W., & Tourangeau, R. (2000). Response order effects in Gallup
       surveys: Linguistic structure and the impact of respondent ability, motivation, and task difficulty. Paper
       presented at the American Association for Public Opinion Research Annual Meeting, Portland, Oregon.

Miller, J. M., Krosnick, J. A., & Lowe, L. (2000). The impact of policy change threat on financial contributions
         to interest groups. Paper presented at an invited conference, Political Participation: Building a Research
         Agenda, Center for the Study of Democratic Politics, Princeton University, Princeton, New Jersey.

Miller, J. M., & Krosnick, J. A. (2000). Attitude change outside the laboratory: News media “priming” turns
         out not to be priming after all. Paper presented at the Society of Experimental Social Psychology
         Annual Meeting, Atlanta, Georgia.

Saris, W., & Krosnick, J. A. (2000). The damaging effect of acquiescence response bias on answers to
        agree/disagree questions. Paper presented at the American Association for Public Opinion Research
        Annual Meeting, Portland, Oregon.

Visser, P. S., & Krosnick, J. A. (2000). Exploring the distinct mechanisms through which strength-related
        attitude attributes confer resistance to attitude change. Paper presented at the Society for Personality
        and Social Psychology Annual Meeting, Nashville, Tennessee.

Bizer, G. Y., & Krosnick, J. A. (2001). Need to evaluate and need for cognition predict political attitudes and
        behavior. Paper presented at the Midwestern Psychological Association, Chicago, Illinois.


       Case 2:18-cv-01996-JPS              Filed 09/18/19       Page 127 of 662          Document 73-1
                                                                                                    Page 126
Krosnick, J. A. (2001). Who shapes public policy? Presentation made at the Annual Conference of the Ohio
       Farm Bureau Federation, Columbus, Ohio.

Krosnick, J. A., & Bizer, G. Y. (2001). Exploring the structure of strength-related attitude features: The
       relation between attitude importance and attitude accessibility. Paper presented at the Society for
       Personality and Social Psychology Annual Meeting, San Antonio, Texas.

Krosnick, J. A., Visser, P. S., & Holbrook, A. L. (2001). Real-time attitude change outside the laboratory: The
       case of the 1997 national debate on global warming. Paper presented at the Society for Personality and
       Social Psychology Annual Meeting, San Antonio, Texas.

Krosnick, J. A., & Miller, J. M. (2001). An unrecognized need for ballot reform: Effects of candidate name
       order. Paper presented at the conference entitled Election Reform: 2000 and Beyond, sponsored by the
       USC-Caltech Center for the Study of Law and Politics and the Jesse M. Unruh Institute of Politics,
       University of Southern California, Los Angeles, California.

Miller, J. M., & Krosnick, J. A. (2001). What motivates political cognition and behavior? Paper presented at
         the Midwest Political Science Association Annual Meeting, Chicago, Illinois.

Green, M. C., Krosnick, J. A., & Holbrook, A. L. (2001). Experimental comparisons of the quality of data
       obtained from face-to-face and telephone surveys. Paper presented at the American Association for
       Public Opinion Research Annual Meeting, Montreal, Canada.

Silver, M. D., & Krosnick, J. A. (2001). An experimental comparison of the quality of data obtained in
        telephone and self-administered mailed surveys with a listed sample. Paper presented at the American
        Association for Public Opinion Research Annual Meeting, Montreal, Canada.

Chang, L., & Krosnick, J. A. (2001). The representativeness of national samples: Comparisons of an RDD
       telephone survey with matched Internet surveys by Harris Interactive and Knowledge Networks. Paper
       presented at the American Association for Public Opinion Research Annual Meeting, Montreal, Canada.

Chang, L., & Krosnick, J. A. (2001). The accuracy of self-reports: Comparisons of an RDD telephone survey
       with Internet Surveys by Harris Interactive and Knowledge Networks. Paper presented at the American
       Association for Public Opinion Research Annual Meeting, Montreal, Canada.

O’Muircheartaigh, C., & Krosnick, J. A. (2001). A cross-national comparison of middle alternatives,
      acquiescence, and the quality of questionnaire data. Paper presented at the American Association for
      Public Opinion Research Annual Meeting, Montreal, Canada.

Marquette, J., Green, J., & Krosnick, J. A. (2001). Experimental analysis of the accuracy of pre-election vote
       choice reports. Paper presented at the American Association for Public Opinion Research Annual
       Meeting, Montreal, Canada.

Holbrook, A. L., Krosnick, J. A., Carson, R. T., & Mitchell, R. C. (2001). Violating conversational conventions
       disrupts cognitive processing of attitude questions. Paper presented at the 2001 Fifth Tri-Annual UC
       Berkeley Invitational Choice Symposium, Pacific Grove, California.

Krosnick, J. A. (2001). Americans’ perceptions of the health risks of cigarette smoking: A new opportunity for
       public education. Paper presented at the invited conference “Survey Research on Household
       Expectations and Preferences,” Institute for Social Research, University of Michigan, Ann Arbor,
       Michigan.




       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 128 of 662         Document 73-1
                                                                                                 Page 127
McCready, W., Skitka, L., & Krosnick, J. A. (2001). Using a web-enabled national panel to conduct social
      psychological experiments. Workshop presented at the Society of Experimental Social Psychology
      Annual Meeting, Spokane, Washington.

Krosnick, J. A., Courser, M., Mulligan, K., & Chang, L. (2001). Exploring the determinants of vote choices in
       the 2000 Presidential election: Longitudinal analyses to document causality. Paper presented at the
       American Political Science Association Annual Meeting, San Francisco, California.

Silver, M. D., & Krosnick, J. A. (2001). Optimizing survey measurement accuracy by matching question
        design to respondent memory organization. Paper presented at the Federal Committee on Statistical
        Methodology Research Conference, Arlington, Virginia.

Krosnick, J. A., Courser, M., Mulligan, K., & Chang, L. (2002). Exploring the causes of vote choice in the
       2000 Presidential election: Longitudinal analyses to document the causal determinants of candidate
       preferences. Paper presented at a conference entitled “Assessing the Vitality of Electoral Democracy in
       the U.S.: The 2000 Election,” The Mershon Center, Ohio State University, Columbus, Ohio.

Miller, J. M., & Krosnick, J. A. (2002). Mediators and moderators of news media agenda-setting. Paper
         presented at the Midwest Political Science Association Annual Meeting, Chicago, Illinois.

Shaeffer, E. M., Krosnick, J. A., & Holbrook, A. L. (2002). Assessing the efficacy of object rankings following
        ratings. Paper presented at the Midwestern Psychological Association Annual Meeting, Chicago,
        Illinois.

Lampron, S., Krosnick, J. A., Petty, R. E., & See, M. (2002). Self-interest, values, involvement, and
      susceptibility to attitude change. Paper presented at the Midwestern Psychological Association Annual
      Meeting, Chicago, Illinois.

Krosnick, J. A. (2002). Comments on Baruch Fischhoff’s “Environmental Risk: What’s Worth Knowing – and
       Saying?” Paper presented at the 2nd Annual Public Policy Symposium, “Responding to Contemporary
       Environmental Risks.” Sponsored by the Ohio State University Environmental Policy Initiative, Fischer
       College of Business, Ohio State University, Columbus, Ohio.

Thomas, R. K., Uldall, B. R., & Krosnick, J. A. (2002). More is not necessarily better: Effects of response
      categories on measurement stability and validity. Paper presented at the American Association for
      Public Opinion Research Annual Meeting, St. Petersburg, Florida.

Uldall, B. R., Thomas, R. K., & Krosnick, J. A. (2002). Reliability and validity of web-based surveys: Effects
        of response modality, item format, and number of categories. Paper presented at the American
        Association for Public Opinion Research Annual Meeting, St. Petersburg, Florida.

Shook, N., Krosnick, J. A., & Thomas, R. K. (2002). Following the storm: Public opinion changes and political
       reactions in surveys. Paper presented at the American Association for Public Opinion Research Annual
       Meeting, St. Petersburg, Florida.

Chang, L., & Krosnick, J. A. (2002). Comparing self-administered computer surveys and auditory interviews:
       An experiment. Paper presented at the American Association for Public Opinion Research Annual
       Meeting, St. Petersburg, Florida.

Silver, M. D., & Krosnick, J. A. (2002). Optimizing survey measurement accuracy by matching question
        design to respondent memory organization. Paper presented at the American Association for Public
        Opinion Research Annual Meeting, St. Petersburg, Florida.



       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 129 of 662         Document 73-1
                                                                                                 Page 128
Krosnick, J. A., Visser, P. S., Holbrook, A. L., & Berent, M. K. (2002). Challenging the common-factor model
       of strength-related attitude attributes: Contrasting the antecedents and consequences of attitude
       importance and attitude-relevant knowledge. Paper presented at the General Meeting of the European
       Association of Experimental Social Psychology, San Sebastian, Spain.

Krosnick, J. A., Miller, J. M., & Tichy, M. P. (2002). An unrecognized need for ballot reform: Effects of
       candidate name order. Paper presented at the International Society for Political Psychology Annual
       Meeting, Berlin, Germany.

Chang, L., & Krosnick, J. A. (2002). RDD telephone vs. Internet survey methodology for studying American
       presidential elections: Comparing sample representativeness and response quality. Paper presented at
       the American Political Science Association Annual Meeting, Boston, Massachusetts.

Bizer, G. Y., Krosnick, J. A., Holbrook, A. L., Petty, R. E., Rucker, D. D., & Wheeler, S. C. (2002). The
        impact of personality on electoral behavior and cognition: A study of need for cognition and need to
        evaluate. Paper presented at the American Political Science Association Annual Meeting, Boston,
        Massachusetts.

Krosnick, J. A., Visser, P. S., & Holbrook, A. L. (2002). Social psychology under the microscope: Do classic
       experiments replicate when participants are representative of the general public rather than convenience
       samples of college students? Paper presented at the Society of Experimental Social Psychology Annual
       Meeting, Columbus, Ohio.

Visser, P. S., Krosnick, J. A., Simmons, J. (2002). Distinguishing the cognitive and behavioral consequences of
        attitude importance and certainty. Paper presented at the Society of Experimental Social Psychology
        Annual Meeting, Columbus, Ohio.

Chang, L., & Krosnick, J. A. (2002). RDD telephone vs. Internet survey methodology for studying American
       presidential elections: Comparing sample representativeness and response quality. Invited presentation
       at Westat, Rockville, Maryland.

Chang, L., & Krosnick, J. A. (2002). Comparing the quality of data obtained from telephone and Internet
       surveys: Field and laboratory experiments. Invited paper presented at the FCSM Statistical Policy
       Seminar “Challenges to the Federal Statistical System in Fostering Access to Statistics.’ Bethesda,
       Maryland.

Lampron, S. F., Krosnick, J. A., Shaeffer, E., Petty, R. E., & See, M. (2003). Different types of involvement
      moderate persuasion (somewhat) differently: Contrasting outcome-based and value-based involvement.
      Paper presented at the Society for Personality and Social Psychology Annual Meeting, Los Angeles,
      California.

Visser, P. S., & Krosnick, J. A. (2003). Attitude strength: New insights from a life-course development
        perspective. Paper presented at the Society for Personality and Social Psychology Annual Meeting, Los
        Angeles, California.

Krosnick, J. A. (2003). Basic methodological work for and in repeated cross-sectional and longitudinal
       surveys: A few thoughts. Paper presented at the National Science Foundation Workshop on Repeated
       Cross-sectional and Longitudinal Surveys, Arlington, Virginia.

Pfent, A. M., & Krosnick, J. A. (2003). Rationalization of presidential candidate preferences. Paper presented
        at the Midwestern Psychological Association Annual Meeting, Chicago, Illinois.




       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 130 of 662         Document 73-1
                                                                                                 Page 129
Holbrook, A. L., & Krosnick,, J. A. (2003). Meta-psychological and operative measures of psychological
       constructs: The same or different? Paper presented at the Midwestern Psychological Association
       Annual Meeting, Chicago, Illinois.

Krosnick, J. A., Visser, P. S., & Holbrook, A. L. (2003). Social psychology under the microscope: Do classic
       experiments replicate when participants are representative of the general public rather than convenience
       samples of college students? Invited presentation at the Midwestern Psychological Association Annual
       Meeting, Chicago, Illinois.

Saris, W. E., Krosnick, J. A., & Shaeffer, E. M. (2003). Comparing the quality of agree/disagree and balanced
        forced choice questions via an MTMM experiment. Paper presented at the Midwestern Psychological
        Association Annual Meeting, Chicago, Illinois.

Anand, S., & Krosnick, J. A. (2003). Satisficing in attitude surveys: The impact of cognitive skills and
       motivation on response effects. Paper presented at the Midwestern Psychological Association Annual
       Meeting, Chicago, Illinois.

Bizer, G. Y., Krosnick, J. A., Holbrook, A. L., Petty, R. E., Rucker, D. D., & Wheeler, S. C. (2003). The
        impact of personality on political beliefs, attitudes, and behavior: Need for cognition and need to
        evaluate. Paper presented at the American Psychological Society Annual Meeting, Atlanta, Georgia.

Holbrook, A. L., Pfent, A., & Krosnick J. A. (2003). Response rates in recent surveys conducted by non-profits
       and commercial survey agencies and the news media. Paper presented at the American Association for
       Public Opinion Research Annual Meeting, Nashville, Tennessee.

Shaeffer, E. M., Langer, G. E., Merkle, D. M., & Krosnick, J. A. (2003). A comparison of minimal balanced
        and fully balanced forced choice items. Paper presented at the American Association for Public
        Opinion Research Annual Meeting, Nashville, Tennessee.

Pfent, A., Krosnick, J. A., & Courser, M. (2003). Rationalization and derivation processes in presidential
        elections: New evidence about the determinants of citizens’ vote choices. Paper presented at the
        American Association for Public Opinion Research Annual Meeting, Nashville, Tennessee.

Krosnick, J. A., Visser, P. S., & Holbrook, A. L. (2003). How to conceptualize attitude strength and how to
       measure it in surveys: Psychological perspectives. Paper presented at the American Association for
       Public Opinion Research Annual Meeting, Nashville, Tennessee.

Chang, L., & Krosnick, J. A. (2003). Comparing data quality in telephone and internet surveys: Results of lab
       and field experiments. Invited paper presented at the American Statistical Association Annual
       Meetings, San Francisco, California.

Pfent, A., & Krosnick, J. A. (2003). Post-decisional dissonance reduction by a new method: Rationalization of
        political candidate choices illuminates the basic dynamics of decision-making. Paper presented at the
        Society of Experimental Social Psychology Annual Meeting, Boston, Massachusetts.

Krosnick, J. A., & Fabrigar, L. R. (2003). “Don’t know” and “no opinion” responses: What they mean, why
       they occur, and how to discourage them. Invited paper presented at the Basel Workshop on Item Non-
       response and Data Quality in Large Social Surveys, University of Basel, Basel, Switzerland.

Krosnick, J. A. (2003). Comments on theories of persuasion. Invited discussant at the conference entitled
       “Integrating Message Effects and Behavior Change Theories in Cancer Prevention, Treatment, and
       Care,” Annenberg Public Policy Center, Annenberg School for Communication, University of
       Pennsylvania, Philadelphia, Pennsylvania.


       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 131 of 662         Document 73-1
                                                                                                 Page 130
Krosnick, J. A. (2003). Survey methodology – scientific basis. Presentation at the National Aviation
       Operations Monitoring Service Working Group Meeting #1, Seattle, Washington.

Krosnick, J. A. (2003). Survey methodology – NAOMS design decisions. Presentation at the National
       Aviation Operations Monitoring Service Working Group Meeting #1, Seattle, Washington.

Krosnick, J. A. (2004). Survey methodology – scientific basis. Presentation at the National Transportation
       Safety Board, Washington, DC.

Krosnick, J. A. (2004). Survey methodology – NAOMS design decisions. Presentation at the National
       Transportation Safety Board, Washington, DC.

Krosnick, J. A. (2004). Public uses of the news media. Presentation as a part of the symposium “Politics and
       the media,” Social Sciences Resource Center, Stanford Libraries, Stanford University, Stanford, CA.

Krosnick, J. A. (2004). Peering into the minds of respondents: The cognitive and social processes underlying
       answers to survey questions. Invited keynote lecture at the International Symposium in Honour of Paul
       Lazarsfeld, Katholieke Universiteit Leuven (Belgium).

Krosnick, J. A., Shook, N., & Thomas, R. K. (2004). Public opinion change in the aftermath of 9/11. Paper
       presented at the American Association for Public Opinion Research Annual Meeting, Phoenix, Arizona.

Holbrook, A. L., & Krosnick, J. A. (2004). Vote over-reporting: A test of the social desirability hypothesis.
       Paper presented at the American Association for Public Opinion Research Annual Meeting, Phoenix,
       Arizona.

Chang, L., & Krosnick, J. A. (2004). Assessing the accuracy of event rate estimates from national surveys.
       Paper presented at the American Association for Public Opinion Research Annual Meeting, Phoenix,
       Arizona.

Shaeffer, E. M., Lampron, S. F., Krosnick, J. A., Tompson, T. N., Visser, P. S., & Hanemann, W. M. (2004). A
        comparison of open vs. closed survey questions for valuing environmental goods. Paper presented at
        the American Association for Public Opinion Research Annual Meeting, Phoenix, Arizona.

Holbrook, A. L., Berent, M. K., Krosnick, J. A., Visser, P. S., & Boninger, D. S. (2004). Attitude importance
       and the accumulation of attitude-relevant knowledge in memory. Paper presented at the American
       Political Science Association Annual Meeting, Chicago, Illinois.

Chang, L., & Krosnick, J. A. (2004). Measuring the frequency of regular behaviors: Comparing the ‘typical
       week’ to the ‘past week.’ Paper presented at the American Political Science Association Annual
       Meeting, Chicago, Illinois.

Krosnick, J. A. (2004). What do Americans want government to do about global warming? Evidence from
       national surveys. Invited presentation at the “Workshop on Global Warming: The Psychology of Long
       Term Risk,” Cooperative Institute for Climate Science, Woodrow Wilson School of Public and
       International Affairs, Princeton University, Princeton, New Jersey.

Krosnick, J. A., & Malhotra, N. (2004). The causes of vote choice in the 2004 American Presidential Election:
       Insights from the 2004 YouGov surveys. Paper presented at the conference “The 2004 American
       Presidential Election: Voter Decision-Making in a Complex World,” Stanford University, Stanford,
       California.




       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 132 of 662         Document 73-1
                                                                                                 Page 131
Krosnick, J. A., Visser, P. S., & Holbrook, A. L. (2004). The impact of social psychological manipulations
       embedded in surveys on special populations. Paper presented at the Pacific Chapter of the American
       Association for Public Opinion Research Annual Meeting, San Francisco, California.

Krosnick, J. A. (2005). The future of the American National Election Studies. Roundtable: The political
       psychology of surveys. Paper presented at the Midwestern Political Science Association Annual
       Meeting, Chicago, Illinois.

Malhotra, N., & Krosnick, J. A. (2005). What motivated Americans' views of the candidates and vote
       preferences across the 2004 presidential campaign? Paper presented at the American Association for
       Public Opinion Research Annual Meeting, Miami, Florida.

Garland, P., Krosnick, J. A., & Clark, H. H. (2005). Does question wording sometimes send unintended signals
       about expected answers? Paper presented at the American Association for Public Opinion Research
       Annual Meeting, Miami, Florida.

Callegaro, M., De Keulenaer, F., Krosnick, J. A., & Daves, R. (2005). Interviewer effects in an RDD telephone
        pre-election poll in Minneapolis 2001: An analysis of the effects of interviewer race and gender. Paper
        presented at the American Association for Public Opinion Research Annual Meeting, Miami, Florida.

Krosnick, J. A., & Rivers, D. (2005). Web survey methodologies: A comparison of survey accuracy. Paper
       presented at the American Association for Public Opinion Research Annual Meeting, Miami, Florida.

Krosnick, J. A., & Rivers, D. (2005). Comparing major survey firms in terms of survey satisficing: Telephone
       and internet data collection. Paper presented at the American Association for Public Opinion Research
       Annual Meeting, Miami, Florida.

Holbrook, A. L., & Krosnick, J. A. (2005). Vote over-reporting: Testing the social desirability hypothesis in
       telephone and internet surveys. Paper presented at the American Association for Public Opinion
       Research Annual Meeting, Miami, Florida.

Anand, S., Krosnick, J. A., Mulligan, K., Smith, W., Green, M., & Bizer, G. (2005). Effects of respondent
       motivation and task difficulty on nondifferentiation in ratings: A test of satisficing theory predictions.
       Paper presented at the American Association for Public Opinion Research Annual Meeting, Miami,
       Florida.

Krosnick, J. A. (2005). Thought piece on survey participation. Paper presented at the conference entitled
       “New Approaches to Understanding Participation in Surveys,” Belmont Conference Center, Elkridge,
       Maryland.

Malhotra, N., & Krosnick, J. A. (2005). Pilot test of new procedures for identifying new and emerging
       occupations and their places in the SOC: A study of biotechnology. Paper presented at the U.S. Bureau
       of Labor Statistics, Washington, DC.

Holbrook, A. L., & Krosnick, J. A. (2005). Do survey respondents intentionally lie and claim that they voted
       when they did not? New evidence using the list and randomized response techniques. Paper presented
       at the American Political Science Association Annual Meeting, Washington, DC.

Malhotra, N., & Krosnick, J. A. (2005). The determinants of vote choice in the 2004 U.S. Presidential Election.
       Paper presented at the American Political Science Association Annual Meeting, Washington, DC.

Krosnick, J. A. (2005). Effects of survey data collection mode on response quality: Implications for mixing
       modes in cross-national studies. Paper presented at the conference “Mixed Mode Data Collection in
       Comparative Social Surveys,” City University, London, United Kingdom.

       Case 2:18-cv-01996-JPS              Filed 09/18/19       Page 133 of 662          Document 73-1
                                                                                                    Page 132
Krosnick, J. A., & Malhotra, N. (2006). The impact of presidential job performance assessments on vote
       choices in 2004. Paper presented at the conference “The Wartime Election of 2004,” Ohio State
       University, Columbus, Ohio.

Rabinowitz, J. L. & Krosnick, J. A. (2006). Investigating the discriminant validity of symbolic racism. Paper
       presented at the annual meeting of the Society for Personality and Social Psychology, Palm Springs,
       California.

Krosnick, J. A. (2006). An evaluation framework: Total survey error in research practice. Paper presented at
       the Survey Methods Symposium sponsored by Central Market Research and Insights, Microsoft,
       Redmond, Washington.

Krosnick, J. A. (2006). Data quality from phone vs. internet surveys. Paper presented at the Survey Methods
       Symposium sponsored by Central Market Research and Insights, Microsoft, Redmond, Washington.

Krosnick, J. A. (2006). The distinguishing characteristics of frequent survey participants. Paper presented at
       the annual meeting of the Midwest Political Science Association, Chicago, Illinois.

Krosnick, J. A. (2006). An overview of the mission of the American National Election Studies. Presentation at
       the annual meeting of the Midwest Political Science Association, Chicago, Illinois.

Krosnick. J. A. (2006). The use of the internet in valuation surveys. Presentation at the workshop “Morbidity
       and Mortality: How Do We Value the Risk of Illness and Death?”, sponsored by the U.S.
       Environmental Protection Agency, the National Center for Environmental Research, and the National
       Council on Economic Education, Washington, DC.

Krosnick, J. A. (2006). What the American public thinks about climate change: Findings from a new
       Stanford/ABC/Time Magazine Survey. Presentation at the “California Climate Change Policy
       Workshop,” sponsored by the Woods Institute for the Environment, California State Capital Building,
       Sacramento, California.

Holbrook, A. L., & Krosnick, J. A. (2006). Vote over-reporting: A test of the social desirability hypothesis.
       Paper presented at the American Psychological Association Annual Meeting, New Orleans, Louisiana.

Bannon, B., Krosnick, J. A., & Brannon, L. (2006). News media priming: Derivation or rationalization? Paper
       presented at the American Political Science Annual Meeting, Philadelphia, Pennsylvania.

Malhotra, N., Krosnick, J. S., & Thomas, R. (2006). The effect of polls on political behavior. Paper presented
       at the American Political Science Annual Meeting, Philadelphia, Pennsylvania.

Krosnick J. A. (2006). Doing social psychology that’s relevant and valued and valuable. Paper presented at the
       Society of Experimental Social Psychology Annual Meeting, Philadelphia, Pennsylvania.

Krosnick, J. A. (2006). Overview of the American National Election Studies: Lessons learned about the causes
       of voter turnout and candidate choice. Paper presented at the conference “The Psychology of Voting
       and Election Campaigns,” Social Science Research Institute, Duke University, Durham, North Carolina.




       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 134 of 662         Document 73-1
                                                                                                 Page 133
Krosnick, J. A. (2006). What Americans really think about climate change. Presentation to the Stanford
       Women's Club of the East Bay, Contra Costa County Library, Orinda, California.

Krosnick, J. A. (2006). The impact of survey mode and the merging of face-to-face recruitment with Internet
       data collection. Paper presented at the 2006 Federal Committee on Statistical Methodology Statistical
       Policy Seminar, “Keeping Current: What We Know – What We Need to Learn.” Washington, DC.

Krosnick, J. A. (2006). Comparisons of the accuracy of information obtained by face-to-face, telephone,
       internet, and paper and pencil data collection. Paper presented at the Pacific Chapter of the American
       Association for Public Opinion Research Annual Meeting, San Francisco, California.

Bizer, G. Y., Krosnick, J. A., Holbrook, A. L., Wheeler, S. C., Rucker, D. D., & Petty, R. E. (2007). The
        impact of personality on political beliefs, attitudes, and behavior: Need for cognition and need to
        evaluate. Paper presented at the Society for Personality and Social Psychology Annual Meeting,
        Memphis, Tennessee.

Sargent, M. J., Rabinowitz, J., Shull, A., & Krosnick, J. A. (2007). Support for government efforts to promote
        racial equality: Effects of antigroup affect and perceptions of value violation. Paper presented at the
        Society for Personality and Social Psychology Annual Meeting, Memphis, Tennessee.

Krosnick, J. A. (2007). Americans’ beliefs about global climate change: New national survey findings. Paper
       presented at the American Association for the Advancement of Science Annual Meeting, San Francisco,
       California.

Krosnick, J. A. (2007). Comparisons of survey modes and a new hybrid. Paper presented at the American
       Association for the Advancement of Science Annual Meeting, San Francisco, California.

Garland, P., & Krosnick, J. A. (2007). The impact of race on evaluations of artistic products: Evidence of
       ‘ownership’ bias among prejudiced whites. Paper presented at the National Conference of Black
       Political Scientists, Burlingame, California.

Lupia, A., & Krosnick, J. A. (2007). Remaking the American National Election Studies. Paper presented at the
        National Conference of Black Political Scientists, Burlingame, California.

Krosnick, J. A. (2007). What Americans really think about climate change: Attitude formation and change in
       response to a raging scientific controversy. Presentation sponsored by the California Research Bureau
       at the California State House, Sacramento, California.

Harbridge, L., & Krosnick, J. A. (2007). Presidential approval and gas prices: The Bush presidency in
       historical context. Paper presented at the American Association for Public Opinion Research annual
       meeting, Garden Grove, California.

Krosnick, J. A., & Smith, T. (2007). Proposing questionnaire design experiments for the General Social
       Survey. Paper presented at the American Association for Public Opinion Research annual meeting,
       Garden Grove, California.

Cote, F., Tahk, A., & Krosnick, J. A. (2007). Comparing the validity of public predictions of changes in the
        economy: RDD telephone data vs. volunteer samples completing paper and pencil questionnaires.
        Paper presented at the American Association for Public Opinion Research annual meeting, Garden
        Grove, California.




       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 135 of 662         Document 73-1
                                                                                                  Page 134
Schneider, D., Krosnick, J. A., & Ophir, E. (2007). Ballot order effects in California from 1976 to 2006. Paper
       presented at the American Association for Public Opinion Research annual meeting, Garden Grove,
       California.

O’Muircheartaigh, C., Krosnick, J. A., & Dennis, J. M. (2007). Face-to-face recruitment of an Internet survey
      panel: Lessons from an NSF-sponsored demonstration project. Paper presented at the American
      Association for Public Opinion Research annual meeting, Garden Grove, California.

Malhotra, N., & Krosnick, J. A. (2007). The effect of survey mode and sampling on inferences about political
       attitudes and behavior: Comparing the 2000 and 2004 ANES to Internet surveys with non-probability
       samples. Paper presented at the American Association for Public Opinion Research annual meeting,
       Garden Grove, California.

Krosnick, J. A., Malhotra, N., & Miller, L. (2007). Survey mode in the 21st Century: Probability vs. non-
       probability samples of a nation’s population. Paper presented at the conference entitled
       “Cyberinfrastructure and National Election Studies: The Wivenhoe House Conference.” University of
       Essex, Colchester, UK.

Pasek, J., & Krosnick, J. A. (2007). Trends over time in America: Probability/telephone vs. non-
        probability/internet. Paper presented at the conference entitled “Cyberinfrastructure and National
        Election Studies: The Wivenhoe House Conference.” University of Essex, Colchester, UK.

Krosnick, J. A. (2007). Methods and results from the New Scientist Survey on Climate Change Policy.
       Presentation at the National Press Club, Washington, DC.

Krosnick, J. A. (2007). The ANES Recompetition and its Implications for the GSS recompetition. Presentation
       at the American Sociological Association annual meeting, New York, New York.

Harder, J., & Krosnick, J. A., (2007). Causes of voter turnout: A social psychological perspective. Paper
        presented at the American Psychological Association annual meeting, San Francisco, California.

Schneider, D., Berent, M. K., Thomas, R., & Krosnick, J. A. (2007). Measuring customer satisfaction and
       loyalty: Improving the ‘net promoter’ score. Paper presented at the World Association for Public
       Opinion Research annual meeting, Berlin, Germany.

Cobb, C., & Krosnick, J. A. (2007). The impact of postdoc appointments on science and engineering career
       outcomes and job satisfaction. Paper presented at the conference “Using Human Resource Data”,
       Science Resources Statistics Workshop, Washington, DC.

Krosnick, J. A. (2007). Some of the lessons learned from analyses of data from the American National Election
       Studies. Presentation at a conference facilitating learning about the American National Election Studies
       by leading news media pollsters. Gallup World Headquarters, Washington, DC.

Berent, M. K., & Krosnick, J. A. (2007). For example … How different cue types in survey questions
        influence frequency. Pacific Association for Public Opinion Research, San Francisco, California.

Schneider, D., Krosnick, J. A., Ofir, E., Milligan, C., Tahk, A. (2008). The psychology of voting: How and
       why the order of candidate names on the ballot and election laws influence election outcomes. Society
       for Personality and Social Psychology annual meeting, Albuquerque, New Mexico.

Saller, R., & Krosnick, J. A. (2008). Modern democracy and the Roman Empire: Ancient perspectives on the
         2008 elections. The Claremont Hotel, Berkeley, California.



       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 136 of 662         Document 73-1
                                                                                                 Page 135
Pasek, J., & Krosnick, J. A. (2008). Marketing of political candidates and voter choice. Paper presented at the
        Association for Consumer Research Annual Meeting, San Francisco, California.

Breent, M. K., & Krosnick, J. A. (2008). For example … How different example types in online surveys
        influence frequency estimates. Paper presented at the General Online Research 2008 Conference,
        Hamburg, Germany.

Bowen, K., Visser, P., Krosnick, J. A., & Anand, S. (2008). Embedded attitudes: How social network features
       regulate individual-level attitude strength. Paper presented at the Association for Psychological Science
       Annual Meeting, Chicago, Illinois.

Pasek, J., DeBell, M., & Krosnick, J. A. (2008). Measuring voters’ values in the American National Election
        Studies. Paper presented at the American Association for Public Opinion Research Annual Meeting,
        New Orleans, Louisiana.

Malhotra, N., Yee, N., Krosnick, J. A., Scott, A., Thomas, R. K., Anand, S., & Chang, L. (2008). Response
       order effects in rating scales. Paper presented at the American Association for Public Opinion Research
       Annual Meeting, New Orleans, Louisiana.

Berent, M., & Krosnick, J. A. (2008). “For example”: How different example types in online surveys influence
        frequency estimates. Paper presented at the American Association for Public Opinion Research Annual
        Meeting, New Orleans, Louisiana.

Blocksom, D. T., Schneider, D., & Krosnick, J. A. (2008). Moderators of the name-order effect: The 2004
       Presidential Election in Ohio. Paper presented at the American Association for Public Opinion
       Research Annual Meeting, New Orleans, Louisiana.

Holbrook, A. L., & Krosnick, J. A. (2008). Results of the 2008 ANES voter turnout experiment. Paper
       presented at the American Association for Public Opinion Research Annual Meeting, New Orleans,
       Louisiana.

Schneider, D., Berent, M. K., Thomas, R. K., & Krosnick, J. A. (2008). Measuring customer satisfaction and
       loyalty: improving the ‘net-promoter’ score. Paper presented at the American Association for Public
       Opinion Research Annual Meeting, New Orleans, Louisiana.

Wang, R., & Krosnick, J. A. (2008). Comparing the results of probability and non-probability telephone and
       internet survey data. Paper presented at the American Association for Public Opinion Research Annual
       Meeting, New Orleans, Louisiana.

Malhotra, N., & Krosnick, J. A. Perceptions of mass opinion and voting in presidential primaries. Paper
       presented at the American Political Science Association Annual Meeting, Boston, Massachusetts.

Krosnick, J. A., Yeager, D., & Wang, R. (2008). The validity of political surveys with non-probability samples
       of respondents who volunteer to answer questions for money. Paper presented at the American Political
       Science Association Annual Meeting, Boston, Massachusetts.

Pasek, J. M., & Krosnick, J. A. (2008). Studying trends in public opinion over time with probability sample
        surveys and surveys of people who volunteer to do surveys for money. Paper presented at the American
        Political Science Association Annual Meeting, Boston, Massachusetts.

Thomas, R. K., & Krosnick, J. A. (2008). Number of response categories and scale compression: Effects on
      validity and reliability. Paper presented at the Seventh International Conference on Social Science
      Methodology – RC33 – Logic and Methodology in Sociology, Naples, Italy.


       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 137 of 662         Document 73-1
                                                                                                 Page 136
Malka, A., & Krosnick, J. A. (2009). Conservative-liberal self-label and responsiveness to ideological cues.
       Paper presented at the Society for Personal and Social Psychology Annual Meeting, Tampa, Florida.

Cobb, C., & Krosnick, J. A. (2009). Experimental test of the accuracy of proxy reports compared to target
       report with third-party validity. Paper presented at the American Association for Public Opinion
       Research Annual Meeting, Hollywood, Florida.

Yeager, D., & Krosnick, J. A. (2009). Does weighting improve the accuracy of data from non-probability
        internet survey panels of people who volunteer to do surveys for money? Paper presented at the
        American Association for Public Opinion Research Annual Meeting, Hollywood, Florida.

Payne, K., Lelkes, Y., Krosnick, J. A., Akhtar, O., Pasek, J., & Tompson, T. (2009). The effect of implicit
       prejudice on vote choice during the 2008 Presidential election: Insights from the Associated Press-
       Yahoo! News-Stanford University study. Paper presented at the American Association for Public
       Opinion Research Annual Meeting, Hollywood, Florida.

Pasek, J., Krosnick, J. A. Akhtar, O., Lelkes, Y., Payne, K., & Tompson, T. (2009). A new approach to
        simultaneous modeling of the causes of turnout and candidate choice with data collected before
        elections: Insights from the Associated Press-Yahoo! News-Stanford University study. Paper presented
        at the American Association for Public Opinion Research Annual Meeting, Hollywood, Florida.

Yeager, D., & Krosnick, J. A. (2009). Comparison study of probability and non-probability sample surveys
        conducted by Internet and face to face. Paper presented at the American Association for Public Opinion
        Research Annual Meeting, Hollywood, Florida.

DeBell, M., Krosnick, J. A., Malka, A., Ackermann, A., & Turakhia, C. (2009). Assessing the FFISP’s
        representative of the American adult population. Paper presented at the American Association for
        Public Opinion Research Annual Meeting, Hollywood, Florida.

Krosnick, J. A., Ackermann, A., DeBell, M., Malka, A., & Turakhia, C. (2009). A comparison of behavioral
       and attitudinal findings from the FFISP with those of major national surveys. Paper presented at the
       American Association for Public Opinion Research Annual Meeting, Hollywood, Florida.

Ackermann, A., Krosnick, J. A., Turakhia, C., DeBell, M., Malka, A., & Jarmon, R. (2009). Lessons learned
      about how to accomplish effective in-person recruitment of a web-equipped survey panel. Paper
      presented at the American Association for Public Opinion Research Annual Meeting, Hollywood,
      Florida.

Sakshaug, J., Tourangeau, R., Krosnick, J. A., Ackerman, A., Malka, A., DeBell, M., & Turakhia, C. (2009).
       Dispositions and outcome rates in the Face-to-face Internet Survey Platform (the FFISP). Paper
       presented at the American Association for Public Opinion Research Annual Meeting, Hollywood,
       Florida.

Lelkes, Y., Krosnick, J. A., Akhtar, O., Pasek, J., & Tompson, T., & Payne, K. (2009). An exploration of the
        forces driving vote choices in the 2008 American Presidential Election: Insights from the Associated
        Press-Yahoo! News-Stanford University study. Paper presented at the American Association for Public
        Opinion Research Annual Meeting, Hollywood, Florida.

Light, A. E., Visser, P. S., Krosnick, J. A., & Anand, S. (2009). Variability without and within: Self-concept
        clarity and varied social networks. Paper presented at the Midwestern Psychological Association
        Annual Meeting, Chicago, Illinois.



       Case 2:18-cv-01996-JPS            Filed 09/18/19        Page 138 of 662        Document 73-1
                                                                                                 Page 137
Krosnick, J. A., Ackermann, A., Malka, A., Yeager, D., Sakshaug, J., Tourangeau, R., DeBell, M., & Turakhia,
       C. (2009). Creating the face-to-face recruited internet survey platform (FFRISP). Paper presented at
       the Third Annual Workshop on Measurement and Experimentation with Internet Panels: Innovative
       Features of Internet Interviewing, Santpoort Noord, the Netherlands.

Krosnick, J. A., Achermann, A., Malka, A., Yeager, D., Sakshaug, J., Tourangeau, R., DeBell, M., & Turakhia,
       C. (2009). Creation of a new representative sample Internet survey panel via face-to-face recruitment
       and providing free computers to all respondents: Evaluation of the FFISP. Paper presented at the
       American Political Science Association Annual Meeting, Toronto, Canada.

Krosnick, J. A., Pasek, J., Tahk, A., Lelkes, Y., Payne, K., Tompson, T., & Akhtar, O. (2009). The 2008
       American Presidential election: An exploration of the forces driving vote choices. Paper presented at
       the American Political Science Association Annual Meeting, Toronto, Canada.

Krosnick, J. A., Lupia, A., & DeBell, M. (2009). The activities of the American National Election Studies.
       Paper presented at the American Political Science Association Annual Meeting, Toronto, Canada.

Yeager, D., Krosnick, J. A., Holbrook, A. L., & Visser, P. S. (2010). Pulling social psychology out of the
        laboratory, kicking and screaming. Paper presented at the Society for Personality and Social
        Psychology Annual Meeting, Las Vegas, Nevada.

Gross, W., & Krosnick, J. A. (2010). Issue publics and candidate evaluations: Explaining inconsistent results in
       the moderation of issue agreement by individual issue importance. Paper presented at the Midwest
       Political Science Association Annual Meetings, Chicago, Illinois.

Gross, W., Kropko, J., Krosnick, J. A., Macdonald, S. E., & Rabinowitz, G. (2010). The influence of personal
       importance in issue voting models. Paper presented at the Midwest Political Science Association
       Annual Meetings, Chicago, Illinois.

Kim, N., & Krosnick, J. A. (2010). Moderators of candidate name order effects. Paper presented at the
       American Association for Public Opinion Research Annual Conference, Chicago, Illinois.

DeBell, M., Villar, A., & Krosnick, J. A. (2010). Measuring the number of land line and cellular telephones
        used for voice calls in households to properly weight RDD surveys for unequal probability of selection.
        Paper presented at the American Association for Public Opinion Research Annual Conference, Chicago,
        Illinois.

Pasek, J., DeBell, M., & Krosnick, J. A. (2010). Toward a standardization of survey weights: The American
        National Election Studies weighting system. Paper presented at the American Association for Public
        Opinion Research Annual Conference, Chicago, Illinois.

Lelkes, Y., Krosnick, J. A., Marx, D. M., Judd, C. M., & Park, B. (2010). Unmotivated anonymity: Social
        desirability, accuracy, and satisficing under conditions of anonymity. Paper presented at the American
        Association for Public Opinion Research Annual Conference, Chicago, Illinois.

Sood, G., Krosnick, J. A., & DeBell, M. (2010). Differences between confidentially and orally administered
       overt racism measures: Evidence from the 2008 ANES. Paper presented at the American Association
       for Public Opinion Research Annual Conference, Chicago, Illinois.

Tompson, T., Krosnick, J. A., Junius, D., & Pasek, J. (2010). Support for health care reform: It all depends on
      how you ask the question. Paper presented at the American Association for Public Opinion Research
      Annual Conference, Chicago, Illinois.



       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 139 of 662         Document 73-1
                                                                                                 Page 138
Pasek, J., Tompson, T., & Krosnick, J. A. (2010). Who supports health care reform? Explaining the
        determinants of support for various health care reforms. Paper presented at the American Association
        for Public Opinion Research Annual Conference, Chicago, Illinois.

Yeager, D. S., Carter, A., Tewoldemedhin, H., & Krosnick, J. A. (2010). Study of non-probability sample
        internet surveys’ estimates of consumer product usage and demographic characteristics of consumer
        product users. Paper presented at the American Association for Public Opinion Research Annual
        Conference, Chicago, Illinois.

Berent, M. K., Krosnick, J. A., & DeBell, M. (2010). Confirming the validity of survey respondent reports of
        voter registration and turnout: Checking the records turns up surprisingly bad news. Paper presented at
        the American Association for Public Opinion Research Annual Conference, Chicago, Illinois.

Villar, A., Malka, A., & Krosnick, J. A. (2010). Assessing the accuracy of the Face-to-Face Recruited Internet
         Survey Platform: A comparison of behavioral and health-related findings from the FFRISP with those of
         major national surveys. Paper presented at the American Association for Public Opinion Research
         Annual Conference, Chicago, Illinois.

Krosnick, J. A., Malka, A., & Villar, A. (2010). Manipulation of public opinion on global warming: The
       impact of news media coverage and the weather. Paper presented at the International Society of
       Political Psychology Annual Meeting, San Francisco, California.

Shockley, E., Krosnick, J. A., & Visser, P. S. (2010). The impact of aging on political ideology. Paper
       presented at the International Society of Political Psychology Annual Meeting, San Francisco,
       California.

Yeager, D., Krosnick, J. A., Tewoldemedhin, H., & Carter, A. (2010). Evaluating non-probability sample
        internet surveys’ estimates of consumer product usage and demographic characteristics of consumer
        product users: Do different panels produce the same results? Paper presented at the Fourth Annual
        Workshop on Measurement and Experimentation with Internet Panels: Innovative Features of Internet
        Interviewing, Noordwijk, the Netherlands.

Krosnick, J. A., Tompson, T., & Villar, A. (2010). Change in public opinion about climate change 2006-2010:
       How trusted sources and personal experience combine. Paper presented at the American Political
       Science Association Annual Meeting, Washington, DC.

Gera, K. Yeager, D., Krosnick, J. A., DeBell, M., & McDonald, M. (2010). Comparing estimates of voter
       turnout from the American National Election Studies, the General Social Survey, and the Current
       Population Survey. Paper presented at the American Political Science Association Annual Meeting,
       Washington, DC.

Pasek, J., Krosnick, J. A., & Tompson, T. (2010). Taking a position on health care: Selfish, group interest, and
        sociotropic determinants of citizens’ attitudes on proposals for health care reform. Paper presented at
        the American Political Science Association Annual Meeting, Washington, DC.

Sood, G., & Krosnick, J. A. (2010). The impact of satire in television news: Differential impact on the usual
       audience and on other viewers. Paper presented at the American Political Science Association Annual
       Meeting, Washington, DC.

Tahk, A., & Krosnick, J. A. (2010). Do the news media shape how Americans think about politics? New
       statistical procedures cast new light on an old hypothesis. Paper presented at the American Political
       Science Association Annual Meeting, Washington, DC.


       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 140 of 662         Document 73-1
                                                                                                 Page 139
Kim, N., & Krosnick, J. A. (2010). Moderators of candidate name order effects. Paper presented at the
       American Political Science Association Annual Meeting, Washington, DC.

Krosnick, J. A. (2010). We just want to help: How social science can sometimes be successful and sometimes
       crash and burn when in the public spotlight. Paper presented at the Society of Experimental Social
       Psychology Annual Meeting, Minneapolis, Minnesota.

Berent, M. K., Krosnick, J. A., & Lupia, A. (2011). Lying survey respondents or flawed government records?
        An examination of turnout over-reporting and vote validation in the 2008 ANES Panel Study. Paper
        presented at the Midwest Political Science Association Annual Meeting, Chicago, Illinois.

Cobb, C., Krosnick, J. A., & Bannon, B. (2011). Optimizing the design of a question intended to measure
       expected starting salary. Paper presented at the American Association for Public Opinion Research
       Annual Meeting, Phoenix, Arizona.

MacInnis, B., & Krosnick, J. A. (2011). The persistence of American public opinion on climate policy. Paper
       presented at the American Association for Public Opinion Research Annual Meeting, Phoenix, Arizona.

Yeager, D. S., Larson, S., & Krosnick, J. A. (2011). Measuring Americans’ issue priorities: A new version of
        the most important problem question reveals more concern about global warming and the environment.
        Paper presented at the American Association for Public Opinion Research Annual Meeting, Phoenix,
        Arizona.

Krosnick, J. A. (2011). The stability of American public opinion on global warming: Towards explaining the
       existence beliefs trends. Paper presented at the American Association for Public Opinion Research
       Annual Meeting, Phoenix, Arizona.

Romano Bergstrom, J. C., Olmsted-Hawala, E. L., Rogers, W. A., & Krosnick, J. A. (2011). Age-related
      differences in reported computer and internet usage based on question type: ‘A great deal’ of variability.
      Paper presented at the American Association for Public Opinion Research Annual Meeting, Phoenix,
      Arizona.

Jans, M., Bergstrom, J. C., Ashenfelter, K. T., & Krosnick, J. A. (2011). Measuring user satisfaction in the lab:
        Questionnaire mode, physical location, and social presence concerns. Paper presented at the American
        Association for Public Opinion Research Annual Meeting, Phoenix, Arizona.

MacInnis, B., & Krosnick, J. A. (2011). Complete satisficing in surveys: An exploratory investigation. Paper
       presented at the American Association for Public Opinion Research Annual Meeting, Phoenix, Arizona.

Yeager, D. S., & Krosnick, J. A. (2011). Does mentioning ‘some people’ and ‘other people’ in an attitude
        question improve measurement quality? Paper presented at the American Association for Public
        Opinion Research Annual Meeting, Phoenix, Arizona.

Chang, L., Krosnick, J. A., & Tompson, T. (2011). The impact of healthcare utilization on satisfaction with
       health insurance plans. Paper presented at the American Association for Public Opinion Research
       Annual Meeting, Phoenix, Arizona.

Chang, L. & Krosnick, J. A. (2011). Assessing survey accuracy across multiple domains. Paper presented at
       the American Association for Public Opinion Research Annual Meeting, Phoenix, Arizona.

Pasek, J., & Krosnick, J. A. (2011). Measuring intent to participate and participation in the 2010 census and
        their correlates and trends: Comparisons of RDD telephone and non-probability sample internet survey
        data. Paper presented at the American Association for Public Opinion Research Annual Meeting,
        Phoenix, Arizona.

       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 141 of 662         Document 73-1
                                                                                                  Page 140
Weiss, R., Krosnick, J. A., & Yeager, D. S. (2011). More comparisons of probability and non-probability
       sample internet surveys: The Dutch NOPVO study. Paper presented at the American Association for
       Public Opinion Research Annual Meeting, Phoenix, Arizona.

Gilbert, E., Allum, N., Villar, A., & Krosnick, J. A. (2011). Do reluctant respondents provide poor data?
         Evidence from the Face-to-Face Recruited Internet Survey Platform (FFRISP). Paper presented at the
         American Association for Public Opinion Research Annual Meeting, Phoenix, Arizona.

Lelkes, Y., & Krosnick, J. A. (2011). Measuring perceptions and probabilities: Verbal or numerical response
        options? Paper presented at the American Association for Public Opinion Research Annual Meeting,
        Phoenix, Arizona.

Krosnick, J. A., MacInnis, B., & Villar, A. (2011). The impact of candidates’ statements about climate change
       on electoral success in 2008 and 2010: Evidence using three methodologies. Paper presented at the
       American Political Science Association Annual Meeting, Seattle, Washington.

Berent, M. K., Krosnick, J. A., & Lupia, A. (2011). Measuring voter registration and turnout in surveys: Do
        official government records yield more accurate assessments? Paper presented at the American Political
        Science Association Annual Meeting, Seattle, Washington.

Krosnick, J. A., MacInnis, B., & Villar, A. (2012). Polarization of opinions about global warming between
       1997 and 2011: Appearances are sometimes misleading. Paper presented at the Society for Personality
       and Social Psychology Annual Meeting, San Diego, California.

MacInnis, B., Krosnick, J. A., & Villar, A. (2012). Motivated social cognition in the realm of politics: The case
       of news media dissemination of information about climate change. Paper presented at the Society for
       Personality and Social Psychology Annual Meeting, San Diego, California.

Villar, A., & Krosnick, J. A. (2012). An investigation of nonresponse error due to breakoffs in telephone
         surveys. Paper presented at the American Association for Public Opinion Research Annual Meeting,
         Orlando, Florida.

Anand, S., Krosnick, J. A., & Yeager, D. S. (2012). What number of scale points in an attitude question
       optimizes response validity and administrative practicality? Paper presented at the American
       Association for Public Opinion Research Annual Meeting, Orlando, Florida.

Kim, N., Lelkes, Y., & Krosnick, J. A. (2012). Race of interviewer effects in the 2008 Presidential election.
       Paper presented at the American Association for Public Opinion Research Annual Meeting, Orlando,
       Florida.

Berent, M. K., Krosnick, J. A., & Lupia, A. (2012). Lying vs. fail-to-match: Self-reported turnout and validated
        turnout in the 2008-2009 ANES Panel Study. Paper presented at the American Association for Public
        Opinion Research Annual Meeting, Orlando, Florida.

Young, C., Jackson, C., & Krosnick, J. A. (2012). Comparison of dual frame telephone and non-probability
       online panels regarding accuracy of political opinion polling. Paper presented at the American
       Association for Public Opinion Research Annual Meeting, Orlando, Florida.

Callegaro, M., Villar, A., Krosnick, J. A., & Yeager, D. S. (2012). A systematic review of studies investigating
        the quality of data obtained with online panels. Paper presented at the American Association for Public
        Opinion Research Annual Meeting, Orlando, Florida.



       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 142 of 662         Document 73-1
                                                                                                  Page 141
Weiss, R. J., Berent, M. K., Krosnick, J. A., & Lupia, A. (2012). Investigating automated coding of open-ended
       survey questions. Paper presented at the American Association for Public Opinion Research Annual
       Meeting, Orlando, Florida.

Pasek, J., Sood, G., & Krosnick, J. A. (2012). A certain truth? How Americans received and perceived
        information about the Obama health care plan. Paper presented at the Midwest Political Science
        Association Annual Meeting, Chicago, Illinois.

Kropko, J., Gross, W., & Krosnick, J. A. (2012). Issue publics and candidate evaluations: Selecting the best
       fitting models of the moderation of issue agreement by individual issue importance. Paper presented at
       the Midwest Political Science Association Annual Meeting, Chicago, Illinois.

Pasek, J., Krosnick, J. A., & Tahk, A. M. (2012). Prevalence and moderators of the candidate name order
        effect: Evidence from all statewide general elections in California. Paper presented at the Midwest
        Political Science Association Annual Meeting, Chicago, Illinois.

MacInnis, B., Krosnick., J. A., Suh, A., & Cho, Mu-Jung. (2013). Assessments of survey accuracy: A
       multimode national field experiment. Paper presented at the American Association for Public Opinion
       Research Annual Meeting, Boston, Massachusetts.

Santa Cruz, H., & Krosnick, J. A. (2013). Shocking misbehavior by face-to-face interviewers: The 2008 ANES
       office recognition questions. Paper presented at the American Association for Public Opinion Research
       Annual Meeting, Boston, Massachusetts.

Vannette, D., Krosnick., J. A. (2013). Mindful responding to questions: The dangers of survey satisficing.
       Paper presented at the American Association for Public Opinion Research Annual Meeting, Boston,
       Massachusetts.

Stark, T. H., Pasek, J., Tompson, T., & Krosnick., J. A. (2013). Measuring anti-Black racism in the U.S. Paper
        presented at the American Association for Public Opinion Research Annual Meeting, Boston,
        Massachusetts.

Kiley, J., Keeter, S., Frei, M., Motel, S., Christian, L.M., Dimock, M., McDonald, M. P., Berent, M., &
         Krosnick., J. A. (2013). Validating likely voter measures in 2012 pre-election polling. Paper presented
         at the American Association for Public Opinion Research Annual Meeting, Boston, Massachusetts.

MacInnis, B., Howe, L., Krosnick, J. A., Markowitz, E., & Socolow, R. (2013). Confidently uncertain: When
       expressing uncertainty enhances trust and persuasion. Paper presented at the Society of Experimental
       Social Psychology Annual Meeting, Berkeley, California.

Silber, H., Krosnick, J. A., & Yeager, D. (2013). Replication of experimental results across telephone and
         internet survey panels. Paper presented at the Pacific Chapter of the American Association for Public
         Opinion Research Annual Meeting, San Francisco, California. (Winner of Second Place in the PAPOR
         Student Paper Competition)

Holbrook, A. L., & Krosnick, J. A. (2013). A new question sequence to measure voter turnout in telephone
       surveys: Results of an experiment in the 2006 ANES pilot study. Public Opinion Quarterly Special
       Issue Conference: Topics in Survey Measurement and Public Opinion. Barbara Jordan Conference
       Center, Washington, DC.

Yeager, D., & Krosnick, J. A. (2014). Generalizability as a scientific integrity issue. Paper presented at the
        Association for Psychological Science Annual Meeting, San Francisco, California.



       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 143 of 662         Document 73-1
                                                                                                  Page 142
Stark, T. H., & Krosnick, J. A. (2014). A new tool for ego-centered networks in online surveys. Paper
        presented at the European Congress of Methodology, Utrecht, The Netherlands.

Stark, T. H., Krosnick, J. A., Pasek, J., & Tompson, T. (2014). Comparing measures of anti-Black racial
        prejudice. Paper presented at the Society for Personality and Social Psychology Annual Meeting,
        Austin, Texas.

Stark, T. H., & Krosnick, J. A. (2014). A new tool for ego-centered networks. Paper presented at the American
        Association for Public Opinion Research Annual Meeting, Anaheim, California.

Krosnick, J. A., & MacInnis, B. (2014). Public opinion on global warming: Contradictory results among
       surveys. Paper presented at the American Association for Public Opinion Research Annual Meeting,
       Anaheim, California.

Silber, H., Krosnick, J. A., Stark, T. H., & Blom, A. G. (2014). Exact replication of question design
         experiments from Schuman and Presser. Paper presented at the American Association for Public
         Opinion Research Annual Meeting, Anaheim, California.

Krosnick, J. A., Kim, S., & Berman, R. (2014). Testing the principles of optimal questionnaire design: Does a
       questionnaire supposedly designed better actually work better? Paper presented at the American
       Association for Public Opinion Research Annual Meeting, Anaheim, California.

Callegaro, M., Lavrakas, P. J., & Krosnick, J. A. The status of online panel research from a data quality
        perspective. Paper presented at the American Association for Public Opinion Research Annual
        Meeting, Anaheim, California.

Pasek, J., Sood, G., & Krosnick, J. A. (2014). Certain gains in measurement of political knowledge (and
        misinformation). Paper presented at the International Communication Association Annual Meeting,
        Seattle, Washington.

Krosnick, J. A., & MacInnis, B. (2014). How should Congressional representatives decide how to vote? A
       study of the American public’s prescriptions. Paper presented at the American Political Science
       Association’s Annual Meeting, Washington, D.C.

Krosnick, J. A., & MacInnis, B. (2014). A new method for measuring public opinion in the States and causes
       of differences: The case of global warming. Paper presented at the American Political Science
       Association’s Annual Meeting, Washington, D.C.

Krosnick, J. A. (2014). An overview of scientific integrity issues: Worse than you thought. Paper presented at
       the Society for Experimental Social Psychology Annual Meeting, Columbus, Ohio.

Yeager, D., & Krosnick, J. A. (2014). An example of (partial) failure to replicate: How important (but not so
        new) lessons can be (re)learned from relentless pursuit of the ease of retrieval effect. Paper presented at
        the Society for Experimental Social Psychology Annual Meeting, Columbus, Ohio.

Krosnick, J. A. (2015). Scientific integrity: The problem is much bigger than we think. Paper presented at the
       Society for Personality and Social Psychology Annual Meeting, Long Beach, California.

Stark, T. H., & Krosnick, J. A. (2015). Measuring social networks in large-scale surveys: Challenges and
        practice of ego-centered and complete network approaches. Paper presented at the European Survey
        Research Association Annual Meeting, Reykjavik, Iceland.




       Case 2:18-cv-01996-JPS             Filed 09/18/19        Page 144 of 662         Document 73-1
                                                                                                   Page 143
Srinivasan, R., Suh, A., & Krosnick, J. A. (2015). Comparing direct and filtered frequency questions: Which
        produces more accurate measurements? Paper presented at the American Association for Public
        Opinion Research Annual Meeting, Hollywood, Florida.

Clement, S., & Krosnick, J. A. (2015). Does candidate order matter? Impact of matching ballot order on pre-
       election poll accuracy. Paper presented at the American Association for Public Opinion Research
       Annual Meeting, Hollywood, Florida.

Stark, T. H., & Krosnick, J. A. (2015). A new tool to collect ego-centered network data in online surveys.
        Paper presented at the American Association for Public Opinion Research Annual Meeting, Hollywood,
        Florida.

Vannette, D. L., & Krosnick, J. A. (2015). The effects and effectiveness of likely voter models in pre-election
       surveys. Paper presented at the American Association for Public Opinion Research Annual Meeting,
       Hollywood, Florida.

Krosnick, J. A., MacInnis, B., & Villar, A. (2015). Does an introductory sentence in an opinion question cause
       acquiescence response bias? Paper presented at the American Association for Public Opinion Research
       Annual Meeting, Hollywood, Florida.

Krosnick, J. A. (2015). Ballot design: The impact of candidate name order. Paper presented at the Electoral
       Integrity Project Pre-APSA Workshop: What works? Strengthening Electoral Integrity. San Francisco,
       California.

Silber, H., Stark, T. H., Blom, A. G. & Krosnick, J. A. (2016). Multi-national replication of experiments on
         acquiescence from Schuman and Presser. Paper presented at the American Association for Public
         Opinion Research Annual Meeting, Austin, Texas.

Yang, S., Yeager, D. S., Krosnick, J. A., & Anand, S. (2016). Directly testing accepted wisdom regarding the
       validity of different scale lengths. Paper presented at the American Association for Public Opinion
       Research Annual Meeting, Austin, Texas.

Kim, S., & Krosnick, J. A. (2016). Perceptions about scientific agreement, trust in scientists, and the American
        public’s beliefs about global warming. Paper presented at the American Association for Public Opinion
        Research Annual Meeting, Austin, Texas.

Yang, Y., Callegaro, M., Chin, K., Villar, A., & Krosnick, J. A. (2016). Assessing the accuracy of 51
       nonprobability online panels and river samples: A study of the Advertising Research Foundation 2013
       online panel comparison experiment. Paper presented at the American Association for Public Opinion
       Research Annual Meeting, Austin, Texas.

Silber, H., Stark, T., Blom, A., & Krosnick, J. A. (2016). Do response effects generalize across countries?
         Paper presented at the Second International Conference on Survey Methods in Multinational,
         Multiregional, and Multicultural Contexts (3MC 2016), sponsored by the International Workshop on
         Comparative Survey Design and Implementation, Chicago, Illinois.

Silber, H., Stark, T., Blom, A., & Krosnick, J. A. (2016). Multi-national study of questionnaire design. Paper
         presented at the Second International Conference on Survey Methods in Multinational, Multiregional,
         and Multicultural Contexts (3MC 2016), sponsored by the International Workshop on Comparative
         Survey Design and Implementation, Chicago, Illinois.

MacInnis, B., Anderson, A., & Krosnick, J. A. (2016). How do Americans want their elected representatives to
       make laws? Paper presented at the American Political Science Association Annual Meeting,
       Philadelphia, Pennsylvania.

       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 145 of 662         Document 73-1
                                                                                                 Page 144
Kim, S., & Krosnick, J. A. (2016). An exploration of the effect of advertising: The mediating role of
        perceptions of social proof. Paper presented at the National Communication Association Annual
        Meeting, Philadelphia, Pennsylvania.

Abeles, A., & Krosnick, J. A. (2017). Communicating about climate change: Labels unwittingly signal opinion.
        Paper presented at the International Communication Association Annual Meeting, San Diego,
        California.

Pasek, J., Stark, T., Krosnick, J. A., & Tompson, T. (2017). How would better knowledge influence support for
        the Affordable Care Act? A simulation and experiment. Paper presented at the American Association
        for Public Opinion Research Annual Meeting, New Orleans, Louisiana.

Wu, J., Krosnick, J. A., & DeBell, M. (2017). Raking and weighting ANES Time Series. Poster presented at
        the American Association for Public Opinion Research Annual Meeting, New Orleans, Louisiana.

Stark, T., Krosnick, J. A., Silber, H., & Blom, A. (2017). A text of generalization of classic question order
        effects in different cultures. Paper presented at the American Association for Public Opinion Research
        Annual Meeting, New Orleans, Louisiana.

Lundmark, S., Azevedo, F., Krosnick, J. A., & Marcus, G. E. (2017). Evaluation of the impact of the response
      slide scales: Validity, cognitive effort, and moderation of experimental treatment effects. Paper
      presented at the American Association for Public Opinion Research Annual Meeting, New Orleans,
      Louisiana.

McLean, A., & Krosnick, J. A. (2017). Accuracy of national and state polls in the 2016 election. Paper
      presented at the American Association for Public Opinion Research Annual Meeting, New Orleans,
      Louisiana.

Krosnick, J. A., Cho, A., McLean, A., Middleton, C., Kay, D., Abruzzo, J., Munroe, J., & Carrington, M.
       (2017). Assessing the accuracy of pre-election polls: 2008-2012. Paper presented at the American
       Association for Public Opinion Research Annual Meeting, New Orleans, Louisiana.

Abeles, A., Howe, L., Krosnick, J. A., & MacInnis, B. (2017). Misperceptions of public opinion: Americans
        underestimate belief in global warming. Paper presented at the American Association for Public
        Opinion Research Annual Meeting, New Orleans, Louisiana.

McLean, A., & Krosnick, J. A. (2017). Discrepancies between 2016 pre-election polls and election outcomes:
      Electoral integrity failure? Paper presented at the pre-APSA workshop entitled “Protecting Electoral
      Security and Voting Rights: The 2016 U.S. Elections in Comparative Perspective.” Sponsored by the
      Electoral Integrity Project, San Francisco, California.

McLean, A., & Krosnick, J. A. (2017). Fake news preceding the 2016 U.S. Presidential election: Non-
     scientific “surveys” masquerading as science. Paper presented at the pre-APSA Political
     Communication Preconference, sponsored by the Political Communication Section of the American
     Political Science Association, San Francisco, California.

Krosnick, J. A. (2017). Conference goals. Workshop on Implicit Bias, National Science Foundation,
       Alexandria, Virginia.

Krosnick, J. A. (2017). Critiques of implicit bias. Workshop on Implicit Bias, National Science Foundation,
       Alexandria, Virginia.



       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 146 of 662        Document 73-1
                                                                                                Page 145
Sekar, S., Krosnick, J. A., & MacInnis, B. (2018). Can we just skip doing surveys altogether? Comparing the
        accuracy of MRP and LAP to real survey data. Paper presented at the American Association for Public
        Opinion Research Annual Meeting, Denver, Colorado.

Kephart, K., Henderson, A., & Krosnick, J. A. (2018). To list or not to list, that is the question: An examination
       of existing research on the challenges and best practices of household rostering. Paper presented at the
       American Association for Public Opinion Research Annual Meeting, Denver, Colorado.

Krosnick, J. A., Silber, H., Stark, T., & Blom, A. (2018). Generalization of classic response order effects across
       cultures. Paper presented at the American Association for Public Opinion Research Annual Meeting,
       Denver, Colorado.


Off-Campus Academic Colloquia

   1985            State University of New York at Stony Brook, Department of Political Science.
                   Princeton University, Department of Sociology.
                   Princeton University, Department of Politics.
                   University of California at Berkeley, Department of Sociology.
                   Yale University, Department of Sociology.
                   Yale University, Department of Political Science.
                   Ohio State University, Department of Psychology.
                   University of Southern California, Annenberg School for Communication.

   1986            University of Michigan, Department of Sociology.

   1987            Yale University, Department of Psychology.
                   Yale University, Department of Political Science.
                   University of Michigan, Department of Sociology.

   1988            University of Minnesota, Department of Political Science.

   1990            University of Florida, Department of Psychology.
                   University of Florida, Bureau of Economic and Business Research.
                   Denison University, Department of Psychology.

   1991            University of Michigan, Summer Institute in Survey Research Techniques.

   1992            University of Michigan, Summer Institute in Survey Research Techniques.
                   University of Michigan, Department of Communication.

   1993            University of Wisconsin, Departments of Psychology, Sociology, and Political Science.
                   University of Michigan, Summer Institute in Survey Research Techniques.

   1994            Yale University, Department of Psychology.
                   University of Michigan, Research Center for Group Dynamics.
                   Cornell University, Peace Studies Center.

   1995            University of Michigan, Summer Institute in Survey Research Techniques.
                   University of Minnesota, Department of Political Science.

   1996            University of Pennsylvania, Annenberg School for Communication.
                   University of Chicago, Center for Decision Research.
                   Purdue University, Department of Psychology.

       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 147 of 662         Document 73-1
                                                                                                  Page 146
1997       Stanford University, Department of Psychology.
           University of California – Berkeley, Institute of Governmental Studies.
           University of California – Berkeley, Institute of Personality and Social Research.
           University of California – Irvine, Department of Social Sciences.
           University of California – Los Angeles, Institute for Social Science Research.
           University of California – Santa Barbara, Department of Psychology.
           University of California – Santa Cruz, Board of Psychology.
           Center for Advanced Study in the Behavioral Sciences.
           London School of Economics and Political Science, Methodology Institute.

1998       Arizona State University, Department of Psychology.
           London School of Economics and Political Science, Methodology Institute.
           University of Amsterdam, Department of Psychology.
           Carnegie Mellon University, Center for the Integrated Study of the Human Dimensions of
                Global Change, Department of Engineering and Public Policy.

1999       University of Chicago, American Politics Workshop, Department of Political Science.
           Indiana University, Departments of Political Science and Psychology.
           University of Minnesota, Departments of Political Science and Psychology.

2000       University of California, Los Angeles, Department of Political Science.
           University of Southern California, Jesse M. Unruh Institute of Politics.
           University of Michigan, Institute for Social Research, Survey Research Center.

2001       The William and Flora Hewlett Foundation, Menlo Park, California.
           London School of Economics and Political Science, Methodology Institute.
           Resources for the Future, Washington, DC.

2002       University of Colorado - Boulder, Department of Psychology.
           University of Florida - Gainesville, Department of Psychology.
           Stanford University, Department of Communication.
           University of Chicago, Harris School of Public Policy.
           Uppsala University (Sweden), Department of Government.
           University of North Carolina, Department of Political Science.
           University of Chicago, Political Psychology Workshop, Departments of Psychology and
                Political Science.
           Pitzer College, Department of Political Science.

2003       University of Illinois at Chicago, College of Urban Planning and Public Affairs.
           University of Illinois at Chicago, Survey Research Laboratory.
           Stanford University, Social Psychology Research Seminar (April).
           Stanford University, Social Psychology Research Seminar (October).
           Stanford University, Department of Psychology Colloquium Series.

2004       Harvard University, Research Workshop in American Politics, Department of Government.
           Stanford University, Organizational Behavior Seminar, Graduate School of Business.
           Stanford University, Marketing Seminar, Graduate School of Business.
           Stanford University, American Empirical Seminar, Stanford Institute for the Quantitative
                Study of Society.
           University of California, Davis, Distinguished Lecture Series, Departments of Psychology
                and Political Science.

2005       The Rand Organization, Santa Monica, California.

   Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 148 of 662         Document 73-1
                                                                                         Page 147
  2006          Harvard University, Department of Psychology.
                Duke University, Social Science Research Institute.
                University of North Carolina, Chapel Hill, Department of Political Science.
                University of Florida, Department of Psychology.
                University of Florida, Department of Political Science.
                University of California, Santa Barbara, Department of Psychology.

  2007          The Rand Organization, Santa Monica, California.
                The University of Essex (UK), Department of Government.
                The University of Essex (UK), Institute for Social and Economic Research.

  2008          University of Minnesota, Department of Political Science.
                University of California - Berkeley, Department of Political Science – Institute of
                    Governmental Studies.
                Northwestern University, School of Communication.
                University of California - Berkeley, Institute for Personality and Social Research.

  2009          Center for Population Research, University of California - Los Angeles, Los Angeles,
                      California.
                Institute for Science, Technology, and Public Policy, Texas A&M University, College
                      Station, Texas.
                Annette Strauss Institute for Civic Participation, Department of Communication Studies,
                      University of Texas – Austin, Austin, Texas.
                Department of Political and Social Sciences, Universitat Pompeu Fabra, Barcelona, Spain.
                Department of Psychology, University of Washington, Seattle, Washington.
                Department of Psychology, University of California, San Diego.

  2010          Behavioral Science Workshop, Booth School of Business, University of Chicago, Chicago,
                     Illinois.
                Social Psychology Colloquium, Department of Psychology, New York University, New
                     York, New York.

  2011          Colloquium Series, Department of Psychology, Arizona State University, Tempe, Arizona.
                Colloquium Series, School of Politics and Global Studies, Arizona State University, Tempe,
                Arizona.

  2012          Political Psychology Colloquium Series, Institute of Governmental Studies, University of
                      California, Berkeley, Berkeley, California.
                Department of Geosciences and Woodrow Wilson School of Public and International
                      Affairs, Princeton, University.
                Department of Psychology, University of Mannheim, Mannheim, Germany.


On-campus Colloquia

  1986          Department of Political Science, Ohio State University.
                Department of Psychology, Ohio State University.

  1987          Department of Psychology, Ohio State University.

  1988          Department of Psychology, Ohio State University.

  1990          Department of Psychology, Ohio State University.

      Case 2:18-cv-01996-JPS          Filed 09/18/19        Page 149 of 662         Document 73-1
                                                                                               Page 148
1991       Mershon Center World Affairs Seminar, Mershon Center, Ohio State University.

1996       Behavioral Decision Theory Colloquium Series, Department of Psychology, Ohio State
               University.
           CIC Interactive Video Methods Seminar, Department of Political Science, Ohio State
               University.

1997       Interdisciplinary Seminar on Survey Research Methods, Center for Human Resource
                Research, Ohio State University.

1999       Department of Agricultural, Environmental, and Development Economics, Ohio State
               University.

2000       Center for Survey Research, Ohio State University.

2002       Social Psychology Colloquium Series, Department of Psychology, Ohio State University.
           Department of Agricultural, Environmental, and Development Economics, Ohio State
                University.

2003       Mershon Center Lunch Lecture, The Mershon Center, Ohio State University.

2004       Global Climate and Energy Project Fall Seminar Series, Stanford University.
           John S. Knight Fellowship Program Seminar, Stanford University.

2005       Workshop in Statistical Modeling, Department of Political Science, Stanford University.
           Environmental Policy Forum, Center for Environmental Science and Policy, Stanford
               University.
           Humanities and Sciences Forum, Stanford University.
           Seminar Series, Summer Research College in Public Policy and Economics, Stanford
               University.

2006       Seminar Series, Summer Research College in Public Policy and Economics, Stanford
               University.
           Woods Energy Series, Woods Institute for the Environment, Stanford University.

2007       Ethics @ Noon, Barbara and Bowen McCoy Program in Ethics in Society Lecture Series,
                Stanford University.
           Seminar Series, Summer Research College in Public Policy and Economics, Stanford
                University.
           Opening Plenary, Society of Environmental Journalists Annual Conference, Stanford
                University.

2008       How America Votes: Stanford Professors Answer the Fundamental Questions Raised When
                U.S Citizens Vote. Workshop sponsored by Stanford in Government.
           Transformational Insights: Participation, Collaboration, and Virtual Worlds for
                Sustainability, Medicine, and Education. Sixth Media X Annual Meeting, Stanford
                University.
           Social Psychology Research Seminar, Stanford University.
           Lunch Colloquium Series, Public Policy Program, Stanford University.
           Seminar Series, Summer Research College in Public Policy and Economics, Stanford
                University.
           Stanford Parents’ Advisory Board Meeting, Stanford University.


   Case 2:18-cv-01996-JPS       Filed 09/18/19       Page 150 of 662        Document 73-1
                                                                                       Page 149
2009           Environmental Forum, Woods Institute for the Environment, Stanford University.
               Woods Institute and School of Earth Sciences Summer Seminar Series, Stanford University.

2010           Research Seminar Series, Center for International Security and Cooperation, Stanford
                    University (discussant).
               Faculty Speaker Series, Stanford High School Summer College, Stanford University.
               Seminar Series, Summer Research College in Public Policy and Economics, Stanford
                    University.
               The Prison Lunch Series, Stanford Law and Policy Review, Stanford Law School.
               Social Psychology Research Seminar, Stanford University.

2011           Address to the Advisory Council of the Woods Institute for the Environment, Stanford
                    University.
               Address to the Advisory Council of the Precourt Institute for Energy, Stanford University.
               Seminar Series, Summer Research College in Public Policy and Economics, Stanford
                    University.
               Summer Short Course on Marine Policy, Center for Ocean Solutions, Stanford University.
               Energy @ Stanford & SLAC, Stanford Graduate Summer Institute, Stanford University.
               Engaging with Faculty: Stories from Undergraduate Research and Learning Beyond the
                    Classroom, New Student Orientation, Stanford University.
               Energy Seminar sponsored by the Woods Institute for the Environment and the Precourt
                    Institute for Energy, Stanford University.
               Invited Presentation, Summer Research College Speaker Series, Public Policy Program,
                    Stanford University, Stanford, California.

2012           Member of a Faculty Discussion Panel during the Joint Young Environmental Scholars
                    Conference sponsored by the Woods Institute for the Environment and the
                    Environmental Norms Workshop sponsored by the Stanford Humanities Center,
                    Stanford University.
               Invited Lecture, “Peering Inside the Mind of the American Voter: The Psychology of
                    Democracy in Action.” Back to School Class, 2012 Parents’ Weekend, Stanford
                    University. http://parentsweekend.stanford.edu/overview/biography - mackey
               Invited Presentation, “A Program of Research on Americans’ Thinking about Climate
                    Change.” Woods Institute for the Environment Community Retreat, Aptos, California.
               Invited Presentation, “American Public Opinion on Climate Change.” School of Earth
                    Sciences Undergraduate Research Program Seminar Series (cosponsored by SURGE
                    and the Woods Institute for the Environment). Stanford University.
               Invited Presentation, Engaging with Faculty: Stories from Undergraduate Research and
                    Learning Beyond the Classroom, New Student Orientation, Stanford University.
               Invited Presentation, “Are Elections in America Unfair? Exploring the Impact of Candidate
                    Name Order.” Stanford Parents Association, Stanford University.
               Panel Member, “Election 2012: Reality Check. A Bloomberg News Post-Presidential-
                    Debate Debate.” Sponsored by the Stanford Graduate Program in Journalism and the
                    Stanford Graduate School of Business Politics and Government Club.
               Invited Presentation, Summer Research College Speaker Series, Public Policy Program,
                    Stanford University, Stanford, California.

2013           Invited Presentation, “The Psychology of American Elections: Getting Into the Heads of
                    Voters”, Yost House After-Dinner Presentation.




       Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 151 of 662        Document 73-1
                                                                                            Page 150
               Invited Presentation, Engaging with Faculty: Stories from Undergraduate Research and
                    Learning Beyond the Classroom, New Student Orientation, Stanford University.
               Invited Presentation, Summer Research College Speaker Series, Public Policy Program,
                    Stanford University, Stanford, California.

2014           Invited Presentation, “Is it Americans’ Fault that the U.S. Government Has Yet to Seriously
                    Limit Greenhouse Gas Emissions?” School of Earth Sciences Undergraduate Research
                    Program Seminar Series (cosponsored by SURGE and SESUR and the Woods Institute
                    for the Environment). Stanford University.
               Invited Presentation, “Why Elections Go Wrong: The Impact of the Order of Candidates’
                    Names on the Ballot.” Fred Hillier Lecture Series, English for Foreign Students
                    Program, Stanford University.
               Invited Presentation, Engaging with Faculty: Stories from Undergraduate Research and
                    Learning Beyond the Classroom, New Student Orientation, Stanford University.
               Invited Panel Member, Sustainable World Coalition’s Planet Earth New Play Festival,
                    Stanford University.
               Invited Panel Member, “The Climate Debate Demystified: The Psychology, Media, and
                    Communication Behavior Climate Change.” Sponsored by Students for a Sustainable
                    Stanford, Stanford University.
               Invited Presentation, Summer Research College Speaker Series, Public Policy Program,
                    Stanford University.
               Invited Panelist, “Climate Change: From Science to Action.” Classes without Quizzes,
                    Stanford University.

2015           Invited Presentation, Engaging with Faculty: Stories from Undergraduate Research and
                    Learning Beyond the Classroom, New Student Orientation, Stanford University.
               Invited Presentation, Summer Research College Speaker Series, Political Science
                    Department, Stanford University.

2016           Energy Seminar sponsored by the Woods Institute for the Environment and the Precourt
                    Institute for Energy, Stanford University.
               Invited Presentation, Summer Research College Speaker Series, Political Science
                    Department, Stanford University.
               Invited Presentation, Engaging with Faculty: Stories from Undergraduate Research and
                    Learning Beyond the Classroom, New Student Orientation, Stanford University.
               Invited Presentation, Psychology of the 2016 Election. Stanford in Government Policy
                    Lunch.
               Invited Presentation, “The 2016 Election.” Epidemiology Supper Club, Stanford University
                    Medical School, Stanford, CA.

2017           Invited Presentation, “Public Opinion on Climate Change”, SUPER Faculty Seminar
                    Lunches, Precourt Institute for Energy, Stanford University, Stanford, CA.
               Invited Presentation, Summer Research College Speaker Series, Public Policy Program,
                    Stanford University, Stanford, California.
               Invited Presentation, Summer Research College Methodology Speaker Series, Political
                    Science Department, Stanford University, Stanford, California.
               Invited Presentation, “Why Elections Go Wrong: The Impact of the Order of Candidates’
                    Names on the Ballot.” Fred Hillier Lecture Series, English for Foreign Students
                    Program, Stanford University.
               Invited Presentation, Engaging with Faculty: Stories from Undergraduate Research and
                    Learning Beyond the Classroom, New Student Orientation, Stanford University.
               Presentation, Communication Department Faculty Retreat, Stanford University.



       Case 2:18-cv-01996-JPS        Filed 09/18/19      Page 152 of 662         Document 73-1
                                                                                            Page 151
   2018           Invited Presentation, “The Accuracy of the 2016 Pre-Election Polls.” Seminar Series of the
                       John S. Knight Journalism Fellowship Program, Stanford University, Stanford, CA.
                  Invited Presentation, “The Impact of Candidate Name Order on Election Outcomes.”
                       Neurosciences Journal Club and Professional Development Court, Stanford University,
                       Stanford, CA.


Other Presentations

   2012           Coauthor of presentation by Elisabeth Brüggen (Maastricht University). “Establishing the
                  Accuracy of Online Panel Research”, Waikato Management School, University Of Waikato,
                  Hamilton, New Zealand.

   2012           Coauthor of presentation by Elisabeth Brüggen (Maastricht University). “Establishing the
                  Accuracy of Online Panel Research”, Department of Marketing, Faculty of Business and
                  Economics, Monash University, Melbourne, Australia.

   2013           Coauthor of presentation by Elisabeth Brüggen (Maastricht University). “Establishing the
                  Accuracy of Online Panel Research”, Department of Management and Marketing, Faculty of
                  Business and Economics, University of Melbourne, Melbourne, Australia.

   2014           Coauthor of presentation by Elisabeth Brüggen (Maastricht University). “Establishing the
                  Accuracy of Online Panel Research”, Center for the Study of Choice (CenSoC), University
                  of Technology, Sydney, Australia.

  2012            Coauthor of presentation by Elisabeth Brüggen (Maastricht University). “Establishing the
                  Accuracy of Online Panel Research”, School of Marketing, Australian School of Business,
                  University of New South Wales, Sydney, Australia

Conferences Coordinated

  1991            Conference Coordinator, Annual Meeting, Society of Experimental Social Psychology,
                      Columbus, Ohio.

  1991            Conference Coordinator, “Nags Head Conference on Attitude Strength,” Nags Head, North
                      Carolina.

  1998            Program Coordinator, Annual Meeting, International Society for Political Psychology,
                      Montreal, Canada.

2002-2003         Conference Chair, Annual Meeting, American Association for Public Opinion Research,
                      Nashville, Tennessee.

  2005            Conference Co-Coordinator, “New Approaches to Understanding Participation in Surveys”,
                      Belmont Conference Center, Elkridge, Maryland.

  2007                Conference Co-Coordinator, “Cyberinfrastructure and National Election Studies: The
                         Wivenhoe House Conference”. University of Essex, Colchester, UK.

  2007            Conference Co-Coordinator, “News Media Pollster Input to the American National Election
                      Studies”. Gallup World Headquarters, Washington, DC.




         Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 153 of 662        Document 73-1
                                                                                                Page 152
  2008           Conference Co-Coordinator, “Optimal Coding of Open-Ended Survey Data, Institute for
                     Social Research, University of Michigan, Ann Arbor, Michigan.

  2013           Conference Co-Coordinator, “The Future of Survey Research 1”, National Science
                     Foundation, Arlington, Virginia.

  2013           Conference Co-Coordinator, “The Future of Survey Research 2”, National Science
                     Foundation, Arlington, Virginia.

  2014           Conference Co-Coordinator, “Robust Research in the Social, Behavioral, and Economic
                     Sciences”, National Science Foundation, Arlington, Virginia.

  2015           Conference Co-Coordinator, “Best Practices in Science”, Center for Advanced Study in the
                     Behavioral Sciences, Stanford University, Stanford, California.

 2015            Conference Co-Coordinator, “How Voters Think: Lessons from Science and Practice.” A
                     meeting of political scientists with Democratic Party campaign consultants. Harris
                     School of Public Policy, University of Chicago, Chicago, Illinois.

 2015            Conference Co-Coordinator, “How Voters Think: Lessons from Science and Practice.” A
                     meeting of political scientists with Republican Party campaign consultants. Harris
                     School of Public Policy, University of Chicago, Chicago, Illinois.

 2017            Conference Coordinator, “Workshop on Implicit Bias.” National Science Foundation,
                     Alexandria, Virginia.


                                          Professional Service

1989-1990        Chair, Student Paper Competition Committee, American Association for Public Opinion
                     Research.

  1990           Member, Planning Committee for the 1990 National Election Study.

  1990           Member, Conference Committee for the 1991 Annual Meeting, American Association for
                    Public Opinion Research.

  1991           Participant in an Expert Questionnaire Evaluation Panel as a part of a Project Comparing
                      Pre-Testing Methods, National Center for Health Statistics.

  1994           Member, Student Paper Competition Committee, American Association for Public Opinion
                    Research.

  1995           Member, National Science Foundation Special Grant Proposal Evaluation Panel on
                    Valuation for Environmental Policy.

  1996           Member, Student Paper Competition Committee, American Association for Public Opinion
                    Research.

  1996           Member, Planning Committee for the 1996 National Election Study.

1997-2001        Member, Conference Committee, American Association for Public Opinion Research
2003, 2004          Annual Meeting.


         Case 2:18-cv-01996-JPS        Filed 09/18/19      Page 154 of 662         Document 73-1
                                                                                              Page 153
  1998        Member, Planning Committee for the 1998 National Election Pilot Study.

  1999        Senior Research Advisor, The Gallup Organization.

1997-2006     Member, Board of Overseers, National Election Studies, Institute for Social Research,
                 University of Michigan.

2000-2003     Member, Governing Council, International Society of Political Psychology.

2000-2003     Member, Conference Committee, International Society of Political Psychology.

2000-2002     Member, Survey Methodology Group of the National Longitudinal Survey of Youth.

2000-2008     Member, Board of Overseers, General Social Survey, National Opinion Research Center,
                 University of Chicago.

  2001        Member, Advisory Board of the Canadian Election Study, McGill University, University of
                 Montreal, and University of Toronto.

2001-2002     Associate Conference Chair, American Association for Public Opinion Research.

2001-2002     Chair, Committee to Award the Erik H. Erikson Early Career Award for Excellence and
                  Creativity in the Field of Political Psychology, International Society of Political
                  Psychology.

  2001        Member, Visiting Committee to Evaluate a Proposed Ph.D. Program in Survey Research and
                 Methodology, University of Nebraska, Lincoln, Nebraska.

  2002        Member, Advisory Panel, Special Competition to Fund Research on Survey and Statistical
                 Methodology; Methodology, Measurement, and Statistics Program, National Science
                 Foundation.

  2003        Member, Advisory Board of the Canadian Election Study, McGill University, University of
                 Montreal, and University of Toronto.

2004-2006     Member, Advisory Committee for the Division of Social, Behavioral, and Economic
                 Sciences, National Science Foundation.

2004-2006     Member, Scientific Advisory Board, Polimetrix, Palo Alto, California.

  2004        Member, Workshop on Cyberinfrastructure and the Social Sciences, National Science
                 Foundation.

  2005        Organizing committee, Conference entitled “New Approaches to Understanding
                  Participation in Surveys,” Belmont Conference Center, Elkridge, Maryland, sponsored
                  by the National Science Foundation.

  2005        Member, Philip E. Converse Book Award Committee, American Political Science
                 Association.

  2005        Member, Nominating committee, International Society for Political Psychology.



      Case 2:18-cv-01996-JPS        Filed 09/18/19      Page 155 of 662         Document 73-1
                                                                                           Page 154
  2005           Member, Working Group on Public Attitudes and Ethical Issues, Global Roundtable on
                    Climate Change, Earth Institute, Columbia University.

  2006           Dissertation committee member, William M. van der Veld, Faculty of Social and Behavioral
                      Sciences, University of Amsterdam.

  2007           Participant, “Public Understanding of Mathematics/Mathematicians Understanding the
                      Public” Conference, Mathematical Sciences Education Board, The National Academies,
                      Washington, D.C.

  2007           Associated Scientist, Statistics and Methodology Department, National Opinion Research
                     Center, University of Chicago, Chicago, Illinois.

  2007           Participant, “Workshop on Planning for the Future of the General Social Survey,” National
                      Science Foundation, Washington, D.C.

  2007-          Member, Advisory Board, Book Series on Political Psychology, Oxford University Press.

  2007-          Member, International Advisory Board, Measurement and Experiments in the Social
                    Sciences, Institute for Data Collection and Research, University of Tilburg, The
                    Netherlands.

  2008           Participant, “Meeting to Assess Public Attitudes about Climate Change,” sponsored by the
                      National Oceanic and Atmospheric Administration, NASA, and the Center for
                      Excellence in Climate Change Communication Research, Silver Spring, Maryland.

  2008           Participant, The Harvard Globalization Survey Workshop, Harvard University, Cambridge,
                      Massachusetts.

2008-2012        Member, Board of Directors, Climate Central, Princeton, New Jersey, and Palo Alto,
                    California.

  2008           Panel Participant, Career Day, Menlo School, Menlo Park, California.

2009-2010        Member, AAPOR Opt-in Panel Online Panel Task Force.

  2012           Chair, Committee to Conduct a Site Visit Review of the General Social Survey for the
                      National Science Foundation.

2011-2016        Member, Advisory Committee for the Division of Social, Behavioral, and Economic
                    Sciences, National Science Foundation.

 2012            Member, Policy Impact Award Committee, American Association for Public Opinion
                    Research.

 2012            Member, Advisory Committee on Study to Evaluate the Impact of Survey Response Rates,
                    Pew Researcher Center, Washington, DC.

 2012-           Member, Advisory Board, Voice of the People.

 2012            Chair, Subcommittee on the Future of Survey Research, Advisory Committee for the
                     Division of Social, Behavioral, and Economic Sciences, National Science Foundation.

2013-2016        Member, Governing Council, International Society of Political Psychology.

         Case 2:18-cv-01996-JPS       Filed 09/18/19       Page 156 of 662        Document 73-1
                                                                                             Page 155
2012-2015         Member, Subcommittee on Replication in Social, Behavioral, and Economic Science
                     Research, Advisory Committee for the Division of Social, Behavioral, and Economic
                     Sciences, National Science Foundation.

 2014-            Member, International Advisory Board, Norwegian Citizen Panel, Digital Social Science
                     Core Faculty, University of Bergen, Bergen, Norway.

2015-2016         Member, Standing Committee on the Future of NSF-Supported Social Science Surveys,
                     Committee on National Statistics, Division of Behavioral and Social Science and
                     Education, The National Academies of Sciences, Engineering, and Medicine.

 2016             Chair, Committee to Award the Noel Markwell Media Award, International Society of
                      Political Psychology.

2016-2017         Member, Committee to Award the AAPOR Mitofsky Innovators Award, American
                     Association for Public Opinion Research.

2016-2017         Member, Subcommittee on Workplace Climate and Harassment, Working Group on
                     Diversity, National Institutes of Health.

 2017             Member, Committee on AAPOR Standard and Litigation Surveys. American Association
                     for Public Opinion Research.

 2018             Co-convener, CPS Forum on Measuring Voter Turnout, Summer at Census, U.S. Census
                  Bureau, Suitland, Maryland.


Department and University Service

1985-1996         Faculty Advisor, Social Psychology Colloquium Series, Ohio State University.
2001-2003

1985-1990         Chair, Social Psychology Area Admissions Committee, Ohio State University.

1985-1990         Member, Psychology Department Admissions Committee, Ohio State University.

1986-1987         Member, Psychology Department Stipends Committee, Ohio State University.

1986-1988         Member, Lazenby Equipment Committee, Ohio State University.

1986-1987         Member, Social Psychology Area Search Committee for Two Permanent Senior Faculty
                     Members, Ohio State University.

1988-1989         Member, Social Psychology Area Search Committee for Junior Faculty Member, Ohio State
                     University.

1990-1991         Member, Search Committee for Junior Faculty Member in Industrial/Organizational
                     Psychology, Ohio State University.

1989-1994         Co-Coordinator, Political Psychology Minor Program Steering Committee, Political Science
                      Department, Ohio State University.



        Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 157 of 662        Document 73-1
                                                                                             Page 156
1989-1996,    Member, Psychology Department Speakers Committee, Ohio State University.
1999-2003

1990-1996     Member, Psychology Department Subject Pool Supervisory Committee, Ohio State
                 University.

1995-1996     Chair, College of Social and Behavioral Sciences Survey Research Advisory Committee,
                  Ohio State University.

1995-1996     Member, Political Science Department Search Committee, Ohio State University.

1997-2003     Member, College of Social and Behavioral Sciences Center for Survey Research Advisory
                 Committee, Ohio State University.

  2000        Chair, Social Psychology Senior Faculty Search Committee, Ohio State University.

  2000        Member, College of Social and Behavioral Sciences Oversight Committee for the Center for
                 Human Resource Research, Ohio State University.

2001-2003     Member, Psychology Department Promotion and Tenure Committee, Ohio State University.

2001-2002     Chair, Social Psychology Junior Faculty Search Committee, Ohio State University.

  2002        Faculty advisor, Summer Research Opportunity Program, Committee on Instructional
                  Cooperation (CIC), Ohio State University.

2003-2004     Member, Planning Committee for the Social Science Research Institute, Stanford University.

2003-2004     Member, Steering Committee for the Methods of Analysis Program in the Social Sciences,
                 Stanford University.

  2004-       Faculty Affiliate, Center for Comparative Studies in Race and Ethnicity, Stanford University.

  2004        Grant proposal review committee, Environmental Interdisciplinary Initiatives Program,
                  Stanford Institute for the Environment, Stanford University.

2004-2005     Planning Committee for the Stanford Center on Longevity, Stanford University.

2005-2008     Member, Faculty Leadership Committee, Stanford Institute for the Environment, Stanford
                 University.

  2006        Grant proposal review committee, Environmental Venture Grants Program, Woods Institute
                  for the Environment, Stanford University.

  2007        Co-chair, Grant proposal review committee, Environmental Venture Grants Program, Woods
                  Institute for the Environment, Stanford University.

  2012-       Member, Grant proposal review committee, Environmental Venture Grants Program, Woods
                 Institute for the Environment, Stanford University.

2012-2016     Member, Course Evaluation Committee, Stanford University.

2012-2013     Member, Provost’s Advisory Committee on Postdoctoral Affairs, Stanford University.


      Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 158 of 662        Document 73-1
                                                                                           Page 157
  2012             Member, Evaluation committee for applicants to the Emmett Interdisciplinary Program in
                      Environment & Resources, Stanford University.

  2013             Member, Evaluation committee for applicants to the Emmett Interdisciplinary Program in
                      Environment & Resources, Stanford University.

  2014             Member, Evaluation committee for applicants to the Emmett Interdisciplinary Program in
                      Environment & Resources, Stanford University.


Ad Hoc Reviewer

Journal of Personality and Social Psychology
Journal of Experimental Social Psychology
Personality and Social Psychology Bulletin
Social Psychology Quarterly
European Journal of Social Psychology
Social Cognition
Basic and Applied Social Psychology
Journal of Personality
Psychological Review
Psychological Bulletin
Psychological Science
Psychological Assessment
Personality and Social Psychology Review
Psychology and Aging
Risk Analysis
Psychology, Public Policy, and Law
American Political Science Review
American Journal of Political Science
American Politics Quarterly
Western Political Quarterly
Political Research Quarterly
Political Behavior
Research and Politics
Journal of Politics
Political Analysis
Harvard International Journal of Press/Politics
Southeastern Political Review
Public Opinion Quarterly
International Journal of Public Opinion Research
Journal of Survey Statistics and Methodology
Political Psychology
Political Communication
International Studies Quarterly
American Sociological Review
Sociological Methods and Research
Sociological Methodology
Social Science Quarterly
Social Problems
Journal of Official Statistics
Journal of the American Statistical Association
Journal of Economic Psychology
Journal of Law, Economics, and Organization

         Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 159 of 662        Document 73-1
                                                                                              Page 158
Communication Research
Journal of Consumer Research
Journal of Science Communication
Journal of Research in Personality
Developmental Psychology
Motivation and Emotion
Psychophysiology
Climatic Change
Climate Change Letters
Review of Policy Research
Annals of Epidemiology
Communication Methods and Measures
Preventive Medicine
New Jersey Medicine
Journal of Medical Internet Research
Academic Press
Praeger Publishers
Alfred A. Knopf Publishers
Brooks/Cole Publishing Company
Harper and Row Publishers
MacMillan Publishing Company
Cambridge University Press
Oxford University Press
W. W. Norton
W. H. Freeman
National Academy of Sciences
National Science Foundation - Social Psychology Program
National Science Foundation - Sociology Program
National Science Foundation - Political Science Program
National Science Foundation - Program in Methodology, Measurement, and Statistics in the Social Sciences
Society for Consumer Psychology
American Psychological Association
Time-sharing Experiments for the Social Sciences (TESS)
University of Michigan, Department of Political Science (P&T)
University of Minnesota, Department of Political Science (P&T)
University of Minnesota, Department of Psychology (P&T)
University of Southern California, Department of Psychology (P&T)
University of Texas – Austin, Department of Communication Studies (P&T)
London School of Economics and Political Science, Methodology Institute (P&T)
University of Nebraska, Department of Political Science (P&T)
University of Nebraska, Department of Psychology (P&T)
Massachusetts Institute of Technology, Department of Political Science (P&T)
University of Chicago, Harris School of Public Policy (P&T)
University of Chicago, Department of Political Science (P&T)
Iowa State University, Department of Psychology (P&T)
Ohio State University, University Libraries (P&T)
University of Florida, Department of Psychology (P&T)
University of Pennsylvania, Department of Political Science (P&T)
Institute for Social Research, University of Michigan (P&T)
Columbia University, Department of Political Science (P&T)
American University, School of Public Affairs (P&T)
Center for Advanced Study in the Social and Behavioral Sciences
University of Mannheim, School of Social Sciences, Department of Political Science (P&T)
Netherlands Institute for Advanced Study in the Humanities and Social Sciences

       Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 160 of 662        Document 73-1
                                                                                              Page 159
Netherlands Organisation for Scientific Research, Division of Social Sciences
Workers’ Compensation Board of British Columbia
Fund for Scientific Research – Flanders, Brussels, Belgium


Consulting and Court Testimony

Office of Science and Technology Policy, The White House, Washington D.C.
Socio-Environmental Studies Laboratory, National Institutes of Health, Washington, D.C.
National Oceanic and Atmospheric Administration, Washington, D.C.
Environmental Protection Agency, Washington, D.C.
National Aeronautics and Space Administration (Robert Dodd and Associates/The Battelle Memorial Institute),
         Mountain View, California.
Center for Survey Methods Research, U.S. Bureau of the Census, Washington, D.C.
Office of Survey Methods Research, U.S. Bureau of Labor Statistics, Washington, D.C.
Leadership Analysis Group, U.S. Central Intelligence Agency, McLean, Virginia.
United States Government Accountability Office, Washington, DC.
Centers for Disease Control and Prevention, Atlanta, Georgia.
National Cancer Institute, Rockville, Maryland.
Centre for Comparative Social Surveys, City University, London, United Kingdom.
Rand Corporation, Santa Monica, California.
SRI International, Arlington, Virginia.
YouGov, London, United Kingdom.
Momentum Market Intelligence, Portland, Oregon.
Central Market Research and Insights, Microsoft, Redmond, Washington.
The Urban Institute, Washington, D.C.
Industrial Economics, Cambridge, Massachusetts.
Healthcare Research Systems, Columbus, Ohio.
Survey Research Center, University of Maryland, College Park, Maryland.
Center for Human Resource Research, Columbus, Ohio.
Washington State University, Pullman, Washington.
Stanford University Alumni Association, Stanford, California.
Turner Research, Jacksonville, Florida.
NuStats, Austin, Texas.
Kaiser Family Foundation, Menlo Park, California.
University of Pittsburgh Medical Center, Pittsburgh, Pennsylvania.
Achievement Associates, Darnestown, Maryland.
The Saguaro Seminar: Civic Engagement in America, Harvard University, Cambridge, Massachusetts.
Office of Social Research, CBS Inc., New York, New York.
ABC News, New York, New York.
Home Box Office, New York, New York.
Google, Mountain View, California.
Pfizer, Inc., New York, New York.
Amgen, Thousand Oaks, California.
Beau Townsend Ford Dealership, Dayton, Ohio.
United States Trotting Association, Columbus, Ohio.
Berlex Laboratories, Inc., Wayne, New Jersey.
MJ Research, Waltham, Massachusetts.
Empire Blue Cross/Blue Shield, New York, New York.
Nike, Inc., Portland, Oregon.
U.S. Senator Brian Schatz (Hawaii)
The Attorney General of Oklahoma.
Office of Lake County Prosecuting Attorney, Painesville, Ohio.
The Attorney General of the State of Ohio, Columbus, Ohio.

       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 161 of 662      Document 73-1
                                                                                              Page 160
Donald McTigue, Esq., Columbus, Ohio.
Thompson Coburn LLP, St. Louis, Missouri.
Shook, Hardy, & Bacon LLP, Kansas City, Missouri.
Arnold and Porter LLP, New York, New York.
Bradley W. Hertz, Esq., Los Angeles, California.
Larson King LLP, Minneapolis, Minnesota.
Paul, Hastings, Janofsky, and Walker, LLP, San Francisco, California.
Carr, Korein, Tillery, LLP, Chicago, Illinois.
Milberg, Weiss, Bershad, Hynes, and Lerach, LLP, New York, New York.
Bourgault & Harding, Las Vegas, Nevada.
Aikin Gump Strauss Hauer & Feld, LLP, Washington, DC.
McManemin and Smith, PC, Dallas, Texas.
Zimmerman Reed, PLLP, Minneapolis, Minnesota.
Spolin Silverman, Cohen, and Bertlett LLP, Santa Monica, California.
Righetti Wynne P.C., San Francisco, California.
Blackwell Sanders Peper Martin LLP, Kansas City, Missouri.
Davis Wright Tremaine LLP, Seattle, Washington.
Storch Amini & Munves, P.C., New York, New York.
Marc O. Stern, APC, La Jolla, California.
Morris, Sullivan, & Lemkul, LLP, San Diego, California.
Twomey Law Office, Epsom, New Hampshire.
KamberLaw LLC, New York, New York.
Righetti Law Firm, P.C., San Francisco, California.
Dostart Clapp Gordon & Coveney LLP, San Diego, California.
Wynne Law Firm, Greenbrae, California.
Lorens and Associates, San Diego, California.
Arias, Ozzello & Gignac, LLP, Los Angeles, California.
Righetti Glugoski, P.C., San Francisco, California.
Kaplan Fox, & Kilsheimer LLP, San Francisco, California.
Perkins Coie, LLP, Washington, DC.
Levi & Korsinsky LLP, Stamford, Connecticut.
King, Blackwell, Zehnder, & Wermuth, P. A., Orlando, Flor
Keller Grover, LLP, San Francisco, California.
Law Offices of Kevin T. Barnes, Los Angeles, California.
Cohelan & Khoury, San Diego, California.
Rastegar & Matern, Torrance, California.
Law Offices of Joseph Antonelli, West Covina, California.
Minter Ellison Lawyers, Sydney, Australia.
Silverman Thompson Slutkin White LLC, Baltimore, Maryland.
Namanny Byrne, & Owens, P.C. Lake Forest, California
Robbins, Geller, Rudman, & Dowd, LLP, Boca Raton, Florida.
Callahan and Blaine, Santa Ana, California.
Richardson, Patrick, Westbrook, and Brickman, Mount Pleasant, South Carolina.
Hurst and Hurst, San Diego, California.
Leonard Carder, San Francisco, California.
Initiative Legal Group, Los Angeles, California.
Khorramu Pollard & Abir, Los Angeles, California.
Rukin, Hyland, Doria, and Tindall, San Francisco, California.
Carlson, Calladine, & Peterson, San Francisco, California.
Munger, Tolles, & Olson, Los Angeles, California.
American Civil Liberties Union of Northern California/Brad Seligman/Howard, Rice, Nemerovski, Canady,
         Falk, & Rabkin, San Francisco/Berkeley, California.
Foley & Lardner LLP, San Francisco, California.
Law Offices of Sima Fard, Irvine, California.

       Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 162 of 662       Document 73-1
                                                                                           Page 161
Rifkin, Livingston, Levitan, & Silver, Annapolis, Maryland.
Altshuler Berzon LLP, San Francisco, California.
Law Offices of Hathaway, Perrett, Webster, Powers, Chrisman, & Gutierrez, Ventura, California.
R. Rex Parris Law Firm, Lancaster, California.
McCune Wright, LLP, Redlands, California.
Gustafson Gluek PLLC, Minneapolis, Minnesota.
Saltz, Mongeluzzi, Barrett, & Bendesky, P.C. Philadelphia, Pennsylvania.
Reinhardt, Wendorf, & Blanchfield, St. Paul, Minnesota.
Wexler Wallace LLP, Chicago, Illinois.
Cotchett, Pitre, & McCarthy, Burlingame, California.
Berman De Valerio, San Francisco, California.
Marlin & Saltzman, Agoura Hills, California
Lawyers for Justics, Glendale, California.
Klafter, Olsen, & Lesser LLP, Rye Brook, New York.
Shavitz Law Group, P.A., Boca Raton, Florida.
Capstone Law APC, Los Angeles, California.
Law Offices of Ronald A. Marron, San Diego, California.
Del Mar Law Group, San Diego, California.
Stonebarger Law, Folsom, California.
Cahill Gordon & Reindel, New York, New York.
Hogue & Belong, San Diego, California.
Morris Sullivan Lemkul, San Diego, California.
Traber & Voorhees, Pasadena, California.
Workman Law Firm, San Francisco, California.
Kingsley & Kingsley, Encino, California.
Shenoi Koes, Pasadena, California.
KamberLaw, Denver, Colorado.



Short Courses on Questionnaire Design

Internal Revenue Service, Washington, DC.
United States General Accounting Office, Washington, DC.
Office of Management and Budget, The White House, Washington, DC.
United States Government Accountability Office, Washington, DC.
United States Federal Trade Commission, Washington, DC.
United State Census Bureau, Suitland, Maryland.
Science Resources Statistics Program, National Science Foundation, Washington, DC.
National Opinion Research Center, Chicago, Illinois.
Survey Research Laboratory, University of Illinois at Chicago, Chicago, Illinois.
Center for AIDS Prevention Studies, Department of Epidemiology and Biostatistics, University of California,
         San Francisco, California.
Monitor Company, Cambridge, Massachusetts.
American Association for Public Opinion Research Annual Meeting, St. Louis, Missouri.
American Association for Public Opinion Research Annual Meeting, Portland, Oregon
American Association for Public Opinion Research Annual Meeting, Miami, Florida
New York Chapter of the American Association for Public Opinion Research, New York, New York.
Office for National Statistics, London, United Kingdom.
Market Strategies, Southfield, Michigan.
Total Research Corporation, Princeton, New Jersey.
Pfizer, Inc., New York, New York.
Worldwide Market Intelligence Conference, IBM, Rye, New York.
American Society of Trial Consultants Annual Meeting, Williamsburg, Virginia.

       Case 2:18-cv-01996-JPS           Filed 09/18/19       Page 163 of 662        Document 73-1
                                                                                               Page 162
American Society of Trial Consultants Annual Meeting, Westminster, Colorado.
American Society of Trial Consultants Annual Meeting, Memphis, Tennessee.
American Marketing Association Advanced Research Techniques Forum, Vail, Colorado.
Satisfaction Research Division, IBM, White Plains, New York.
American Marketing Association Marketing Effectiveness Online Seminar Series.
Faculty of Education, University of Johannesburg, Johannesburg, South Africa.
Odom Institute, University of North Carolina, Chapel Hill, North Carolina (2005 and 2009)
Google, Mountain View, California.
Eric M. Mindich Encounters with Authors, Harvard University, Cambridge, Massachusetts.
RTI International, Research Triangle Park, North Carolina.
BC Stats, Province of British Columbia Ministry of Labour and Citizens’ Services, Victoria, British Columbia,
        Canada.
Alphadetail, San Mateo, California.
Amgen, Thousand Oaks, California.
Center for Political Studies, Institute for Social Research, University of Michigan, Ann Arbor, Michigan.
San Jose State University, San Jose, California.
Summer School 2008, Australian Market and Social Research Society, Coffs Harbour, New South Wales,
        Australia.
Professional Development Program, Australian Market and Social Research Society, Sydney, Australia (2008
        and 2009).
Professional Development Program, Australian Market and Social Research Society, Melbourne, Australia.
Professional Development Program Webinar, Australian Market and Social Research Society (2012).
Zentrum für Umfragen, Methoden und Analysen (ZUMA), Mannheim, Germany.
Department of Marketing, University of Illinois, Urbana-Champaign, Illinois.
Comparative Survey Research and Methodology Workshop, sponsored by TNS Opinion and the Centre for the
        Study of Political Change at the University of Siena, Brussels, Belgium (2010 and 2011).
Department of Survey Design and Methodology, GESIS - Leibniz Institute for the Social Sciences, Mannheim,
        Germany.
Methodology Institute, London School of Economics and Political Science, London, United Kingdom.
Summer School 2013, Australian Market and Social Research Society, Gold Coast, Australia.
Social Science Research Laboratories, University of Saskatchewan, Saskatchewan, Canada (2015).


University Teaching

Summer Institute in Political Psychology (Instructor and Co-Director), Political Science and Psychology 892A,
      892B, Ohio State University.

Research Methods in Social Psychology, Psychology 872, Ohio State University.

Systematic Theory in Social Psychology, Psychology 873C, Ohio State University.

Psychological Perspectives on Political Behavior, Psychology 873D, Ohio State University.

The Psychology of Mass Politics, Political Science 894, Ohio State University.

Questionnaire Design for Attitude Measurement, Psychology 788, Ohio State University.

Supervisor of graduate student TAs teaching Introduction to Social Psychology, Psychology 320, Ohio State
       University.

Introduction to Social Psychology, Psychology H320 & H367.01, Ohio State University.



       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 164 of 662       Document 73-1
                                                                                               Page 163
The Psychology of Public Attitudes, Psychology 630, Ohio State University.

Survey Design, Clinical Research Curriculum Program, College of Medicine, College of Optometry, and School
       of Public Health, Ohio State University.

Questionnaire Design for Attitude Measurement, Psychology 711, Summer Institute in Survey Research
       Techniques, University of Michigan.

Cognitive Psychology and Survey Methods, Psychology 988, Summer Institute in Survey Research Techniques,
        University of Michigan.

Response Scales for Satisfaction Measurement, Joint Program in Survey Methodology, University of Maryland-
       University of Michigan.

Designing Effective Questionnaires, Methodology Institute, London School of Economics and Political Science,
       London, United Kingdom.

Techniques for Assessing Questionnaire Quality, Department of Methodology and Statistics, University of
       Amsterdam, The Netherlands.

Assessment of Questionnaire Quality, Interuniversity Graduate School of Psychometrics and Sociometrics,
       University of Amsterdam, The Netherlands.

Advanced Issues in Questionnaire Design, Psychology 688, Summer Institute in Survey Research Techniques,
      University of Michigan.

The Study of Political Change at the Individual Level: The Panel Study, 2001 TMR Winter School in
       Comparative Electoral Research, University of Amsterdam, The Netherlands.

Aviation Marketing (guest lecture), Aviation and Aeronautical Engineering 654, Ohio State University.

Advanced Questionnaire Design: Maximizing Reliability and Validity, Essex Summer School in Social Science
      Data Analysis and Collection, Department of Government, University of Essex, UK.

Introduction to Communication Theory (guest lecturer), Communication 311, Stanford University.

Media Technologies, People, and Society (guest lecturer), Communication 1, Stanford University.

Graduate Research Methods (guest lecturer), Psychology 290, Stanford University.

Questionnaire Design for Surveys and Laboratory Experiments: Social and Cognitive Perspectives,
       Communication 239, Stanford University.

Survey Research Methods: Describing Large Populations with Small Samples and Precise Measures,
       Communication 135, Stanford University.

Advanced Research Design, Communication 318, Stanford University.

Subjective Measurement in Surveys, Joint Program in Survey Methodology, University of Maryland-University
        of Michigan.

Summer Institute in Political Psychology (instructor, co-director, and director), Stanford University.

Communication Research Methods, Communication 106/206, Stanford University.

       Case 2:18-cv-01996-JPS             Filed 09/18/19        Page 165 of 662         Document 73-1
                                                                                                   Page 164
New Models and Methods in the Social Sciences (lecturer), Sociology 384, Stanford University, 2000, 2011,
     2012, 2013, 2014, 2017.

Coping with Climate Change: Life after Copenhagen (guest lecturer), Continuing Studies Sci 31, Stanford
       University.

What the American Public Believes about Climate Change (guest lecture), Introduction to Earth Systems, Earth
       Systems 10, Stanford University.

Language and Attitudes (guest lecture), Topics in Sociolinguistics, Linguistics 259, Stanford University.
The Psychology of Communication about Politics in America, Communication 164, 264; Political Science
       224L, 324, Psychology 170, Stanford University.

Introduction to Communication (guest lecture), Communication 1A, Stanford University.

Research Methods Lecture Series (guest lecture on Questionnaire Design), Summer Research College Program,
       Political Science Department, Stanford University.


Selected News Media Coverage of Research, Interviews, and Quotes

The New York Times                                         The Chronicle Telegram (Elyria, OH)
The Washington Post                                        Chronicle of Higher Education
The Wall Street Journal                                    The Cleveland Plain Dealer
The Christian Science Monitor                              The Clovis News Journal (Clovis, NM)
USA Today                                                  The Columbus Dispatch
US News and World Report                                   The Contra Costa Times (Walnut Creek, CA)
The Economist                                              The Courier Times (Levittown, PA)
New Scientist Magazine                                     The Daily Review (Hayward, CA)
Science                                                    The Dallas Morning News
Scientific American                                        The Dayton Daily News
Nature                                                     The Denver Post
Popular Science                                            The Desert Sun
Glamour                                                    The Detroit Free Press
Time                                                       The Durango Herald
Newsweek                                                   The Fort Wayne Journal Gazette
Business Week                                              The Fort Worth Star-Telegram
The Akron Beacon Journal                                   The Grand Rapids Press
The Alameda Times-Star                                     The Herald Sun (Durham, NC)
The Appeal-Democrat (Marysville, CA)                       The Houston Chronicle
The Athens Banner-Herald                                   Idaho Press
The Anchorage Daily News                                   The Indianapolis Star
The Austin American-Statesman                              The Kansas City Star
The Bellingham Herald (Bellingham, WA)                     The Kentucky Post
The Boston Globe                                           The Ledger (Lakeland, Florida)
The Bryan-College Station Eagle                            The Lansing State Journal
The Bucks County Courier Times                             The Lexington Herald Leader
The Buffalo News                                           The Lincoln Journal Star (Lincoln, NE)
The Centre Daily Times (State College, PA)                 The Los Angeles Sentinel
The Charlotte Observer                                     The Los Angeles Times
The Chattanooga Times Free Press                           The Louisville Courier-Journal
The Chicago Tribune                                        The Manitowoc Herald Times Reporter
The Chicago Sun-Times

       Case 2:18-cv-01996-JPS            Filed 09/18/19      Page 166 of 662         Document 73-1
                                                                                                Page 165
The Metropolitan News-Enterprise (Los Angeles,            The Birmingham Post
CA)                                                       The International Herald Tribune
The Miami Herald                                          The Scotsman
The Minneapolis Star Tribune                              The Sunday Mail
The Mobile Register                                       The Express
The Monterey County Herald                                The Stanford Daily
The Morning Call (Allentown, PA)                          The Ohio State University Lantern
The Nashua Telegraph                                      The Telegraph-Journal, Saint John, New
The New Haven Register                                    Brunswick, Canada
Niagara Gazette, Niagara Falls, New York                  Campaigns and Elections
The Oakland Post                                          Newhouse News Service
The Oakland Tribune                                       The Associated Press
The Ohio County Monitor                                   United Press International
The Orlando Sentinel                                      Gannett News Service
The Philadelphia Inquirer                                 Bloomberg
The Portland Press Herald                                 The Atlantic
The Reading Eagle (Reading, PA)                           Forbes
The Rocky Mountain News                                   Fortune
The Sacramento Bee                                        The Nation
The St. Petersburg Times, St. Petersburg, Florida         This Magazine
The San Francisco Chronicle                               The Daily Beast
The San Francisco Examiner                                Grist
The Sarasota Herald Tribune                               Politifact
Savannah Morning News                                     Law 360
The Seattle Times                                         Psychology Today
The Seattle Post Intelligencer                            California
The Southern Ledger                                       Air Safety Weekly
The Spokane Spokesman-Review                              Mother Jones
The Springfield News Leader                               National Journal
The Springville Journal                                   New York Magazine
The Staten Island Advance                                 Columbia Journalism Review
The Statesman Journal (Salem, Oregon)                     American Psychological Association Monitor
The Scranton Times-Tribune (Scranton,                     The Voice of America
Pennsylvania)                                             ABC World News Sunday
The Star Democrat (Easton, MD)                            ABC World News This Morning
The Syracuse Post-Standard                                ABC World News Now
The Tampa Tribune                                         BBC News
The Titusville Herald                                     BBC World Service
The Union-News and Sunday Republican                      MSNBC
The Washington Examiner                                   CBC Television News
The Washington Times                                      CNN, Lou Dobbs Tonight
The Wenatchee World                                       Fox News
The Wichita Eagle                                         WCMH TV, Columbus, Ohio
The Wisconsin State Journal                               WBNS TV, Columbus, Ohio
The Worcester Telegram (Massachusetts)                    Ohio News Network TV, Columbus, Ohio
The York Daily Record                                     WSYX TV, Columbus, Ohio
The York Dispatch (York, PA)                              WOSU AM, Columbus, Ohio
Ottawa Citizen                                            WOSU FM, Columbus, Ohio
The Jerusalem Post                                        KGO-TV, San Francisco, California
Black Star News                                           KGO AM, San Francisco, California
The Economist                                             KPCC, Pasadena, California
The Financial Times (London)                              KTVU, Oakland, California
The Guardian                                              Bloomberg Radio
The International Herald Tribune                          Pentagon Channel, Sirius Radio

       Case 2:18-cv-01996-JPS            Filed 09/18/19     Page 167 of 662      Document 73-1

                                                                                                Page 166
Air America                                                Climatesciencewatch.org
Rush Limbaugh                                              DailyKos.com
Jerry Doyle                                                Sciencecentric.com
Morning in American (syndicated radio program)             Miller-McCune.com
CSPAN-1                                                    Scienceblogs.com
Washington Week with Gwen Ifill                            Energysavingsweekly.com
New Hampshire Public Radio.                                Scientificblogging.com
Weekend Edition Saturday, National Public Radio            Careerscientist.com
         (1992, 2006;                                      Scienceblogs.com
         http://www.npr.org/templates/story/story.ph       Sierraclub.com
         p?storyId=6471912)                                Hillheat.com
Science Friday, National Public Radio (2012,               Projectgroundswell.com
         http://sciencefriday.com/segment/10/26/201        Climatewatch (KQED.org)
         2/in-twitter-we-trust-can-social-media-           Pollster.com
         sway-voters.html)                                 Kuratkull.com
Living on Earth, National Public Radio                     Nature.com
         (http://www.loe.org/shows/shows.htm?prog          National Review Online
         ramID=06-P13-00015#feature5)                      CNYcentral.com
The Savage Nation (nationally syndicated radio             WTOP.com
         program)                                          WBUR
Andrew Wilkow, Sirius Patriot 144, Sirius Radio            Treehugger
The Climate Code, The Weather Channel.                     Inside EPA
OnPoint, E&E TV                                            Grist
(http://www.eande.tv/video_guide/612?search_term           Channel4000.com
s=krosnick&page=1&sort_type=date)                          AARP.org
Conde Naste Portfolio                                      Pentagraph.com
The Hill                                                   Environmentalhealthnews.com
Discovery News                                             Wattsupwiththat.com
International Business Times                               Daily.sightline.org
ABCNews.com                                                Alternet.org
CBSNews.com                                                Greenreport.it
Slate.com                                                  Word.Emerson.edu
Aero-news.net                                              DailyFreePress.com
Naturalnews.com                                            Thnkprogress.org
Huffingtonpost.com                                         Podcast: Stanford School of Medicine 1:2:1:
Realclearpolitics.com                                          http://med.stanford.edu/121/2010/krosnick.html
PhysOrg.com                                                “Gibson on Fox”, Fox News Radio
Climateprogress.org                                        “To the Point”, KCRW Radio


   Theses and Dissertations Supervised

   Boninger, D. S. (1988). The determinants of attitude importance. Master's Thesis. Ohio State
          University.

   Chuang, Y. C. (1988). The structure of attitude strength. Master's Thesis. Ohio State University.

   Roman, R. J. (1988). A cognitive dissonance interpretation of the timing of punishment. Honors Thesis.
          Ohio State University.

   Chuang, Y. C. (1989). Policy voting and persuasion in American presidential elections: The role of
          attitude importance. Ph.D. Dissertation. Ohio State University.

   Kost, K. A. (1989). Complexity as a situationally modifiable property of cognitive structure. Master's

       Case 2:18-cv-01996-JPS            Filed 09/18/19      Page 168 of 662         Document 73-1

                                                                                                       Page 167
        Thesis. Ohio State University.

Li, F. (1989). Order of information acquisition and the effect of base-rates on social judgments. Master's
        Thesis. Ohio State University.

Berent, M. K. (1990). Attitude importance and the recall of attitude-relevant information. Master's
        Thesis. Ohio State University.

Betz, A. L. (1990). Backward conditioning of attitudes using subliminal photographic stimuli. Master's
        Thesis. Ohio State University.

Fabrigar, L. R. (1991). The effect of question order and attitude importance on the false consensus
        effect. Master's Thesis. Ohio State University.

Reed, D. R. (1991). Associative memory structure and the evaluation of political leaders. Ph.D.
       Dissertation. Ohio State University.

Berent, M. K. (1994). Attitude importance and information processing. Ph.D. Dissertation. Ohio State
        University.

Narayan, S. S. (1994). Response effects in attitude surveys: An examination of the satisficing
       explanation. Master's Thesis. Ohio State University.

Miller, J. M. (1994). Mediators and moderators of agenda-setting and priming. Master's Thesis. Ohio
         State University.

Smith, W. A. (1995). Mental coin-flipping and non-differentiation in surveys: Tests of satisficing
       hypotheses. Honors Thesis. Ohio State University.

Visser, P. S. (1995). The relation between age and susceptibility to attitude change: A new approach to
        an old question. Master's Thesis. Ohio State University.

Narayan, S. S. (1995). Satisficing in attitude surveys: The impact of cognitive skills, motivation, and
       task difficulty on response effects. Ph.D. Dissertation. Ohio State University.

Ankerbrand, A. L. (1997). Attitude formation and the bivariate model: A study of the relationship
       between beliefs and attitudes. Master’s Thesis. Ohio State University.

Bizer, G. Y. (1997). The relation between attitude importance and attitude accessibility. Master’s
        Thesis. Ohio State University.

Visser, P. S. (1998). Testing the common-factors model of attitude strength. Ph.D. Dissertation. Ohio
        State University.

Miller, J. M. (2000). Threats and opportunities as motivators of political activism. Ph.D. Dissertation.
         Ohio State University.

Chang, L. (2001). A comparison of Samples and response quality obtained from RDD telephone survey
       methodology and Internet survey methodology. Ph.D. Dissertation. Ohio State University.

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    Case 2:18-cv-01996-JPS            Filed 09/18/19        Page 169 of 662         Document Page
                                                                                             73-1 168
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    Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 170 of 662         Document Page
                                                                                             73-1 169
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Professional Association Memberships

American Psychological Association
Society of Experiment Social Psychology
Society for Personal and Social Psychology
American Political Science Association
American Association for Public Opinion Research


Revised: December, 2018.




    Case 2:18-cv-01996-JPS           Filed 09/18/19       Page 171 of 662         Document Page
                                                                                           73-1 170
                               Appendix B

                          Survey Questionnaire




Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 172 of 662   Document Page
                                                                     73-1 171
PROGRAMMING NOTES:
   ● Throughout, horizontal lines indicate page breaks
   ● Respondents will be randomly assigned to see one kind of dog food using the variable
     “fc”:
          o IF = 1, RESPONDENT WILL SEE ORIJEN SIX FISH
          o IF = 2, RESPONDENT WILL SEE ACANA DUCK AND PEAR SINGLES
   ● Respondents will be randomly assigned to see or not see one of eight sets of
     corrective information using the variable set “cc_”:
          o IF ccm = 1, MERCURY
          o IF ccc = 1, CADMIUM
          o IF ccl = 1, LEAD
          o IF cca = 1, ARSENIC
          o IF ccb = 1, BPA
          o IF ccf = 1, FRESH
          o IF ccr = 1, REGIONAL
          o IF cct = 1, THIRD PARTY
   ● Respondents will be randomly assigned to see one of five price points using the
     variable “pc”:
          o IF = 1, DISPLAY PRICE DECREASE 2
          o IF = 2, DISPLAY PRICE DECREASE 1
          o IF = 3, DISPLAY BASE PRICE
          o IF = 4, DISPLAY PRICE INCREASE 1
          o IF = 5, DISPLAY PRICE INCREASE 2
   ● A unique respondent identifier “p” will be passed through by NORC, captured as a URL
     variable and passed back at the end of the survey.
   ● IF ONE OR MORE URL VARIABLES ARE MISSING, DISPLAY THE FOLLOWING: “There has
     been an error in the survey. In order to continue, you must go back to the email
     invitation you received and click on the link you see there. The survey will begin again
     once you click on the link in your invitation.”
   ● RECORD THE NUMBER OF SECONDS THAT EACH RESPONDENT SAW EACH SCREEN.
   ● IF A RESPONDENT SKIPS A QUESTION WITHOUT ANSWERING IT, REDISPLAY THE
     SCREEN AND PUT THE FOLLOWING TEXT IN YELLOW AT THE TOP OF THE SCREEN: “We
     noticed that you didn’t answer the question below. We would be really grateful if
     you’d be willing to answer it as accurately as you can, even if you’re not completely
     sure of your answer. But if you prefer not to answer the question, just click on the
     blue button below.”
   ● If a respondent removes the passthrough variables that indicate condition, the
     following message will be displayed “There has been an error in the survey. In order to
     continue, you must go back to the email invitation you received and click on the link
     you see there.




   Case 2:18-cv-01996-JPS        Filed 09/18/19     Page 173 of 662     Document Page
                                                                                 73-1 172
       The survey will begin again once you click on the link in your invitation.



INTRO1. Thank you for participating in this research.

Please complete this questionnaire all at one time without taking a break - it should take you
about 25 minutes.

After you answer each question, you can move on to the next question by clicking the blue
button at the bottom of the screen.


INTRO2. Please do not click your browser’s forward or back button. If you do, you will have to
start the questionnaire again from the beginning.


DOG_EVER. To begin, have you ever owned a dog, or have you never owned a dog?

   ● Have owned a dog
   ● Have never owned a dog



PRODUCT_INSTRUCTION.
On the next screens, you will see pictures of a dog food sold in the U.S.

Please look at each picture carefully. After you have finished looking at each picture, please
click the blue button to move to the next screen.


DISPLAY IF fc = 1

                                   This is the front of the bag




    Case 2:18-cv-01996-JPS         Filed 09/18/19       Page 174 of 662      Document Page
                                                                                      73-1 173
DISPLAY IF fc = 1
                     This is a close-up of the top part of the front of the bag




DISPLAY IF fc = 1
                    This is a close-up of the middle part of the front of the bag




   Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 175 of 662       Document Page
                                                                                       73-1 174
DISPLAY IF fc = 1

                    This is a close-up of the bottom part of the front of the bag




DISPLAY IF fc = 1

On the next few screens, you will see the words that are printed on the front of the bag you just
saw. Please read the words on each screen and then go on to the next screen.


DISPLAY IF fc = 1
EASY OPEN LIFT AND PULL TAB TO YOUR RIGHT

DO NOT CUT

Orijen NOURISH AS NATURE INTENDED

NEW ENGLAND’S VAST ATLANTIC WATERS-OUR SOURCE OF INSPIRATION AND FRESH
REGIONAL FISH

WHOLEPREY™ DIET

FISH | ORGANS | CARTILAGE




   Case 2:18-cv-01996-JPS            Filed 09/18/19     Page 176 of 662       Document Page
                                                                                       73-1 175
85% WILD-CAUGHT FISH INGREDIENTS

15% VEGETABLES | FRUITS | BOTANICALS + ZINC OUR ONLY SUPPLEMENT

0% GRAIN | POTATO | TAPIOCA | PLANT PROTEIN CONCENTRATES

FRESH, RAW OR DEHYDRATED FISH INGREDIENTS | NO RENDERED FISH, POULTRY OR MEAT
MEALS

Six Fish

BIOLOGICALLY APPROPRIATE™ DOG FOOD

MADE WITH SIX WILD AND SUSTAINABLY CAUGHT FISH DELIVERED DAILY

NEW ENGLAND HERRING, FLOUNDER, MACKEREL, REDFISH, MONKFISH AND ALASKAN COD

BA

BIOLOGICALLY APPROPRIATE™

PROTEIN-RICH | CARBOHYDRATE-LIMITED*

RF

NO RENDERED MEALS

NO RENDERED FISH MEAL


DISPLAY IF fc = 1
6 FRESH OR RAW

TOP 6 FRESH OR RAW

WILD AND SUSTAINABLY CAUGHT

WHOLEPREY™ DIET

FISH | ORGANS | CARTILAGE

FD




     Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 177 of 662    Document Page
                                                                           73-1 176
FREEZE-DRIED LIVER

INFUSED FOR NATURAL FLAVOR

MADE IN OUR USA KENTUCKY KITCHENS | PREPARED WITH PRIDE FROM TRUSTED REGIONAL
INGREDIENTS

*MAXIMUM 20% CARBOHYDRATE (AS ESTIMATED BY NFE)

Orijen

NOURISH AS NATURE INTENDED

Six Fish

BIOLOGICALLY APPROPRIATE™ DOG FOOD

NET WEIGHT 13 LB | 5.9 KG

WHOLEPREY™ DIET | 85 15 0

DOG FOOD

FOR ALL BREEDS AND LIFE STAGES


DISPLAY IF fc = 1

                                 This is the back of the bag




    Case 2:18-cv-01996-JPS       Filed 09/18/19     Page 178 of 662   Document Page
                                                                               73-1 177
DISPLAY IF fc = 1

                      This is a close-up of the top part of the back of the bag




DISPLAY IF fc = 1

                    This is a close-up of the middle part of the back of the bag




DISPLAY IF fc = 1

                    This is a close-up of the bottom part of the back of the bag




DISPLAY IF fc = 1

On the next few screens, you will see the words that are printed on the back of the bag you saw
earlier. Please read the words on each screen and then go on to the next screen.




   Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 179 of 662           Document Page
                                                                                           73-1 178
DISPLAY IF fc = 1
Orijen

NOURISH AS NATURE INTENDED

AWARD-WINNING BIOLOGICALLY APPROPRIATE™ DOG FOOD 2014

LEADERSHIP AWARDS “FOOD INNOVATION” 2015

ALBERTA AWARD OF DISTINCTION 2015

ALBERTA EXPORT AWARD FOR CONSUMER PRODUCTS 2015

TOP 10 BEST DOG FOOD BRANDS REVIEWS.COM 2015

INNOVATION AWARD PETFOOD & ANIMAL NUTRITION 2.0 2015-2016

EXCELLENCE IN CANINE PET FOOD

GLYCEMIC RESEARCH INSTITUTE WASHINGTON DC

TRUSTED EVERYWHERE.

TRUSTED BY PET LOVERS EVERYWHERE, ORIJEN IS THE FULLEST EXPRESSION OF OUR
BIOLOGICALLY APPROPRIATE™ AND FRESH REGIONAL INGREDIENTS COMMITMENT.

ORIJEN SIX FISH is brimming with unmatched inclusions of wild-caught New England fish,
sustainably harvested by people we know and trust, and delivered daily-WHOLE, FRESH or
RAW, and preservative-free, so they’re bursting with goodness and taste.

Prepared exclusively in our Kentucky DogStar® kitchens, award-winning ORIJEN is guaranteed to
keep your cherished dog healthy, happy and strong.

Reinhard Muhlenfeld

Founder


DISPLAY IF fc = 1
BIOLOGICALLY APPROPRIATE™




   Case 2:18-cv-01996-JPS        Filed 09/18/19     Page 180 of 662     Document Page
                                                                                 73-1 179
NOURISH AS NATURE INTENDED-ORIJEN mirrors the richness, freshness and variety of
WholePrey™ meats that dogs are evolved to eat.

FRESH REGIONAL INGREDIENTS

GROWN CLOSE TO HOME-We focus on local ingredients that are ethically raised by people we
know and trust, and delivered to our kitchens fresh or raw each day.

NEVER OUTSOURCED

PREPARED EXCLUSIVELY IN OUR DOGSTAR® KITCHENS-We don’t make foods for other
companies and we don’t allow our foods to be made by anyone else.

PEOPLE WE TRUST

INGREDIENTS WE LOVE FROM PEOPLE WE KNOW AND TRUST

EOIN OF NORPEL FISHERIES IN NEW ENGLAND. TRUSTED SUPPLIER OF FRESH REGIONAL FISH.

OUR DOGSTAR® KITCHENS

AWARD-WINNING FOODS

AWARD-WINNING KITCHENS

ANNA, JEFF AND OUR 25,000 SQUARE FOOT COOLER. OUR KENTUCKY DOGSTAR® KITCHENS.

FRESH AND REGIONAL

DELIVERED DAILY FRESH OR RAW

WILD-CAUGHT NEW ENGLAND FISH. DELIVERED FRESH OR RAW DAILY.


DISPLAY IF fc = 1
THIS 13 LB PACKAGE OF ORIJEN IS MADE WITH OVER 11 LB* OF FRESH, RAW OR DEHYDRATED
FISH INGREDIENTS *APPROXIMATE INCLUSIONS.

2/3 FRESH OR RAW. 1/3 DRIED OR OILS.

5 LB* FRESH, RAW OR DRIED WILD ATLANTIC HERRING

1 2/3 LB* FRESH, RAW OR DRIED WILD YELLOW TAIL FLOUNDER




   Case 2:18-cv-01996-JPS       Filed 09/18/19    Page 181 of 662     Document Page
                                                                               73-1 180
1 1/3 LB* FRESH, RAW OR DRIED WILD ATLANTIC MACKEREL

2/3 LB* FRESH OR RAW WILD ACADIAN RED FISH

2/3 LB* FRESH OR RAW WILD MONKFISH

2/3 LB* FRESH OR RAW WILD ALASKAN COD

• PLUS 1 1/4 LB* DEHYDRATED ANCHOVY, SARDINE AND SALMON •

WHOLEPREY™ DIET

FISH | ORGANS | CARTILAGE

IN HER INFINITE WISDOM, MOTHER NATURE MATCHED THE NUTRIENTS IN WHOLE PREY
ANIMALS TO PERFECTLY MEET YOUR DOG’S DIETARY NEEDS.

That’s why ORIJEN features richly nourishing whole fish that provide a concentrated source of
virtually every nutrient your dog needs to thrive, naturally, without long lists of synthetic
supplements-only zinc is added.


DISPLAY IF fc = 1
RF

NO RENDERED FISH MEALS

MADE WITH FRESH, RAW OR DEHYDRATED FISH INGREDIENTS

RENDERED FISH MEALS ARE PROCESSED AT HIGH TEMPERATURES, TYPICALLY FROM
INGREDIENTS UNFIT FOR HUMAN CONSUMPTION.

ORIJEN features FRESH, RAW OR DEHYDRATED fish ingredients, minimally processed at lower
temperatures from wild-caught fish that are deemed fit for human consumption prior to
inclusion in our foods.

MADE IN OUR USA KENTUCKY KITCHENS

AWARD-WINNING BIOLOGICALLY APPROPRIATE™ DOG FOOD

ORIJEN SIX FISH

MODERN DOGS ARE BUILT JUST LIKE THEIR ANCESTORS, POSSESSING A BIOLOGICAL NEED FOR
A DIET THAT’S RICH AND VARIED IN NOURISHING ANIMAL PROTEIN.



   Case 2:18-cv-01996-JPS         Filed 09/18/19     Page 182 of 662      Document Page
                                                                                   73-1 181
That’s why we loaded ORIJEN SIX FISH with unmatched inclusions of wild-caught fish – whisked
to our kitchens from cold New England waters FRESH or RAW, in richly nourishing WholePrey™
ratios.

Biologically Appropriate™ ORIJEN keeps your dog happy and strong. Read our ingredients and
you’ll be happy too!


DISPLAY IF fc = 1
INGREDIENTS

Whole atlantic herring, yellowtail flounder, whole atlantic mackerel, whole acadian redfish,
atlantic monkfish, alaskan cod, dehydrated yellowtail flounder, dehydrated anchovy,
dehydrated atlantic herring, dehydrated atlantic mackerel, dehydrated sardine, dehydrated
atlantic salmon, sunflower oil, whole green peas, whole navy beans, red lentils, herring oil,
pinto beans, chickpeas, green lentils, alfalfa, natural fish flavor, safflower oil, dried kelp, freeze-
dried cod liver, whole pumpkin, whole butternut squash, kale, spinach, mustard greens, collard
greens, turnip greens, whole carrots, apples, pears, pumpkin seeds, sunflower seeds, zinc
proteinate, mixed tocopherols (preservative), chicory root, turmeric, sarsaparilla root, althea
root, rosehips, juniper berries, dried lactobacillus acidophilus fermentation product, dried
bifidobacterium animalis fermentation product, dried lactobacillus casei fermentation product.

GUARANTEED ANALYSIS

Crude protein (min.)                                                                                      38%
Crude fat (min.)                                                                                          18%
Crude fiber (max.)                                                                                         4%
Moisture (max.)                                                                                           12%
Calcium (min.)                                                                                             1%
Phosphorus (min.)                                                                                         0.9%
Omega-6 fatty acids* (min.)                                                                               2.3%
Omega-3 fatty acids* (min.)                                                                                2%
DHA* (docosahexaenoic acid) (min.)                                                                        0.6%
EPA* (eicosapentaenoic acid) (min.)                                                                       0.6%
Glucosamine* (min.)                                                                               800 mg/kg
Chondroitin sulfate* (min.)                                                                       600 mg/kg
*not recognized as an essential nutrient by the AAFCO Dog Food Nutrient Profiles




    Case 2:18-cv-01996-JPS           Filed 09/18/19       Page 183 of 662        Document Page
                                                                                          73-1 182
DISPLAY IF fc = 1
CALORIE CONTENT

Calorie content (calculated): ME 3940 kcal/kg. 449 kcal per 8 oz. cup.

Calories distributed to support peak conditioning with 39% from protein, 20% from vegetables
and fruits, and 41% from fat.

ORIJEN SIX FISH DOG FOOD IS FORMULATED TO MEET THE NUTRITIONAL LEVELS ESTABLISHED
BY THE AAFCO DOG FOOD NUTRIENT PROFILES FOR ALL LIFE STAGES.

Champion Petfoods® World’s Best Petfood

MADE BY CHAMPION PETFOODS USA INC.

12871 BOWLING GREEN ROAD

AUBURN, KENTUCKY 42206

DOGSTAR® KITCHENS

CHAMPIONPETFOODS.COM

EU REG.

CUSTOMER CARE [USA]

TOLL FREE 1.877.939.0006

FOLLOW US ONLINE

@ORIJENPETFOOD

@CHAMPIONPETFOOD

ORIJEN SIX FISH FOR DOGS

13LB | 5.9KG

ORIJEN.CA


DISPLAY IF fc = 1




   Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 184 of 662    Document Page
                                                                                  73-1 183
                                    This is one side of the bag




DISPLAY IF fc = 1

On the next screen, you will see the words that are printed on one side of the bag you saw
earlier. Please read the words on each screen and then go on to the next screen.


DISPLAY IF fc = 1
MADE IN OUR USA KENTUCKY KITCHENS

DAILY RATION AND FEEDING GUIDE

8 OZ CUP IS 114G OF FOOD




EVERY DOG IS DIFFERENT.

Just like you, your dog is a unique individual with feeding requirements that will vary with
environment, age and activity.




    Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 185 of 662       Document Page
                                                                                      73-1 184
This chart provides an initial guide, and we suggest monitoring your dog’s weight and adjusting
amounts as needed. Feed twice daily, and always keep fresh, clean water available.

PUPPIES: at 1 1/2-3 months old feed twice the adult amount. At 3- – 6 months feed 1 1/2 times
the adult amount. At 6-11 months feed 1 1/4 times the adult amount.

GESTATION: increase from 25% to 50% of the adult amount. LACTATION: feed ‘free choice’.

ORIJEN SIX FISH DOG FOOD is formulated to meet the nutritional levels established by the
AAFCO Dog Food Nutrient Profiles for all life stages.


DISPLAY IF fc = 1

                                This is the other side of the bag




DISPLAY IF fc = 1

On the next screen, you will see the words that are printed on the other side of the bag you saw
earlier. Please read the words on each screen and then go on to the next screen.


DISPLAY IF fc = 1
Six Fish

WHOLEPREY™ DIET | 85 15 0

MADE IN OUR USA KENTUCKY KITCHENS



DISPLAY IF fc = 2

                                  This is the front of the bag




   Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 186 of 662      Document Page
                                                                                    73-1 185
DISPLAY IF fc = 2

                     This is a close-up of the top part of the front of the bag




DISPLAY IF fc = 2

                    This is a close-up of the middle part of the front of the bag




   Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 187 of 662        Document Page
                                                                                        73-1 186
DISPLAY IF fc = 2

                    This is a close-up of the bottom part of the front of the bag




DISPLAY IF fc = 2

On the next few screens, you will see the words that are printed on the front of the bag you just
saw. Please read the words on each screen and then go on to the next screen.


DISPLAY IF fc = 2
EASY OPEN

LIFT AND PULL TAB TO YOUR RIGHT

DO NOT CUT

UNMATCHED REGIONAL INGREDIENTS

FRESH OR RAW

SINGLE ANIMAL PROTEIN from FREE-RUN MUSCOVY DUCK

MUSCOVY DUCK Christian County, Kentucky

BARTLETT PEAR Louisville, Kentucky



   Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 188 of 662       Document Page
                                                                                       73-1 187
SARSAPARILLA Hart County, Kentucky

BIOLOGICALLY APPROPRIATE™ RATIOS

50% FREE-RUN DUCK INGREDIENTS

INCLUDING DUCK, LIVER, GIBLETS AND CARTILAGE

50% VEGETABLES, FRUITS & BOTANICALS

PLUS ZINC PROTEINATE-OUR ONE AND ONLY SUPPLEMENT

0% NO GRAIN, POTATO, TAPIOCA

GLUTENS OR ANY OTHER PLANT PROTEIN CONCENTRATES

1


DISPLAY IF fc = 2
WHOLEPREY™ SINGLE

DUCK | ORGANS | CARTILAGE

ACANA®

SINGLES

BIOLOGICALLY APPROPRIATE™ | SINGLE ANIMAL PROTEIN

DUCK & PEAR SINGLES FORMULA

with FREE-RUN MUSCOVY DUCK & FRESH BARTLETT PEARS

BIOLOGICALLY APPROPRIATE™ | SINGLE ANIMAL PROTEIN

BA

BIOLOGICALLY APPROPRIATE™

PROTEIN RICH, CARBOHYDRATE LIMITED*

1



     Case 2:18-cv-01996-JPS    Filed 09/18/19   Page 189 of 662   Document Page
                                                                           73-1 188
WHOLEPREY™ SINGLE

FLESH, LIVER & CARTILAGE FROM DUCK

1



DISPLAY IF fc = 2
FIRST INGREDIENT

FROM FRESH OR RAW MUSCOVY DUCK

FD

HIGH PALATABILITY

INFUSED WITH FREEZE-DRIED DUCK LIVER

FRESH AND LOCAL

KENTUCKY GROWN VEGETABLES, FRUITS AND BOTANICALS

*MAXIMUM 30% CARBOHYDRATE (AS ESTIMATED BY NFE)

COMPLETE FOOD FOR DOGS

ALL BREEDS | ALL LIFE STAGES

NET WEIGHT

13 LB | 5.9 KG

KENTUCKY’S FERTILE FARMS AND ORCHARDS

OUR SOURCE OF INSPIRATION AND FRESH REGIONAL INGREDIENTS

MADE IN OUR USA KENTUCKY KITCHENS

PREPARED WITH PRIDE FROM TRUSTED REGIONAL INGREDIENTS

ACANA®




     Case 2:18-cv-01996-JPS    Filed 09/18/19   Page 190 of 662   Document Page
                                                                           73-1 189
SINGLES

DUCK & PEAR SINGLES FORMULA

with FREE-RUN MUSCOVY DUCK & FRESH BARTLETT PEARS

COMPLETE FOOD FOR DOGS

ALL BREEDS | ALL LIFE STAGES


DISPLAY IF fc = 2

                                  This is the back of the bag




DISPLAY IF fc = 2

                    This is a close-up of the top part of the back of the bag




   Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 191 of 662           Document Page
                                                                                         73-1 190
DISPLAY IF fc = 2

                    This is a close-up of the middle part of the back of the bag




DISPLAY IF fc = 2

                    This is a close-up of the bottom part of the back of the bag




DISPLAY IF fc = 2

On the next few screens, you will see the words that are printed on the back of the bag you saw
earlier. Please read the words on each screen and then go on to the next screen.


DISPLAY IF fc = 2
ACANA®

OUR MISSION IS CLEAR AND STRONG.

At Champion, we've been making BIOLOGICALLY APPROPRIATE™ dog foods from FRESH
REGIONAL INGREDIENTS since 1985.




   Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 192 of 662       Document Page
                                                                                       73-1 191
Our ACANA SINGLES are Biologically Appropriate™ and Limited Ingredient foods, featuring a
single source of animal protein from ranch-raised lamb, free-run duck, yorkshire pork or wild-
caught mackerel-all farmed, fished or ranched by people we trust and delivered to our kitchens
FRESH or RAW, so they're bursting with goodness and taste.

Reinhard Muhlenfeld

Founder

BIOLOGICALLY APPROPRIATE™

Our foods mirror the richness, freshness and variety of meats for which DOGS ARE EVOLVED TO
EAT.

FRESH REGIONAL INGREDIENTS

We focus on fresh ingredients from our region that are ranched, raised or fished by people we
know and trust.

NEVER OUTSOURCED

We prepare our OWN FOODS in our OWN KITCHENS and we DON'T make foods for anyone else.

SINGLES

BIOLOGICALLY APPROPRIATE™ | SINGLE ANIMAL PROTEIN

INGREDIENTS WE LOVE

PEOPLE WE TRUST

FOOD CHOICES ARE SOME OF OUR MOST IMPORTANT DECISIONS AND THESE DAYS, KNOWING
WHERE YOUR FOOD IS FROM HAS TAKEN ON NEW IMPORTANCE.

That's why we make ACANA in our own kitchens, from fresh, regional ingredients raised by
people we know and trust, like Brandon and Amie of Hoover Farms in Pembroke, Kentucky-
trusted suppliers of fresh free-run Muscovy duck.



DISPLAY IF fc = 2
BRANDON AND AMIE OF HOOVER FARMS IN PEMBROKE, KENTUCKY. TRUSTED SUPPLIERS OF
FRESH FREE-RUN MUSCOVY DUCK.




   Case 2:18-cv-01996-JPS         Filed 09/18/19     Page 193 of 662      Document Page
                                                                                   73-1 192
Made with UNMATCHED REGIONAL INGREDIENTS DELIVERED FRESH

DUCK & PEAR SINGLES FORMULA WITH FREE-RUN KENTUCKY DUCK & FRESH BARTLETT PEARS

COMPLETE FOOD FOR DOGS

ALL BREEDS | ALL LIFE STAGES

ALL DOGS EVOLVED AS CARNIVORES, BIOLOGICALLY ADAPTED TO A DIET RICH IN MEAT AND
PROTEINS. THAT'S WHY ACANA DUCK & PEAR FORMULA IS LOADED WITH 50% DUCK
INGREDIENTS TO NOURISH YOUR DOG ACCORDING TO HIS EVOLUTIONARY NEEDS WHILE
LIMITING HIS EXPOSURE TO A SINGLE ANIMAL PROTEIN.

Raised free-run on local Kentucky farms, our fresh Muscovy duck arrives in WholePrey™ ratios-
a richly nourishing ratio of duck, liver, giblets and cartilage that deliver nutrients naturally,
virtually eliminating the need for additives. Generous infusions of freeze-dried duck liver make
this delicious food a perfect choice for fussy dogs.

Prepared in our Kentucky kitchens from fresh regional ingredients, this unique Biologically
Appropriate™ and Limited Ingredient food is guaranteed to keep your cherished dog happy and
strong. Read our ingredients and we think you'll agree!



DISPLAY IF fc = 2
INGREDIENTS

Deboned duck, duck meal, whole green peas, red lentils, duck liver, duck fat, pinto beans,
chickpeas, herring oil, green lentils, whole yellow peas, duck giblets (liver, heart, kidney), pears,
sun-cured alfalfa, natural duck flavor, duck cartilage, dried kelp, freeze-dried duck liver, whole
pumpkin, whole butternut squash, kale, spinach, mustard greens, collard greens, turnip greens,
carrots, apples, pumpkin seeds, sunflower seeds, zinc proteinate, mixed tocopherols
(preservative), chicory root, turmeric, sarsaparilla root, althea root, rosehips, juniper berries,
dried lactobacillus acidophilus fermentation product, dried bifidobacterium animalis
fermentation product, dried lactobacillus casei fermentation product.

CALORIE CONTENT (calculated): Metabolizable Energy is 3475 kcal/kg (396 kcal per standard 8
oz cup).

Calories are distributed to support peak conditioning with 27% from protein, 31% from fruits
and vegetables, and 42% from fat.

GUARANTEED ANALYSIS




    Case 2:18-cv-01996-JPS          Filed 09/18/19       Page 194 of 662       Document Page
                                                                                        73-1 193
 Crude protein (min.)                                      27%
 Crude fat (min.)                                          17%
 Crude fiber (max.)                                         6%
 Moisture (max.)                                           12%
 Calcium (min.)                                           1.1%
 Phosphorus (min.)                                        0.8%
 Omega-6* (min.)                                          2.2%
 Omega-3* (min.)                                          0.8%
 DHA* (docosahexaenoic acid) (min.)                      0.15%
 EPA* (eicosapentaenoic acid) (min.)                      0.1%
 Glucosamine* (min.)                                1200 mg/kg
 Chondroitin sulfate* (min.)                        1000 mg/kg

*not recognized as an essential nutrient by the AAFCO Dog Food Nutrient Profiles



DISPLAY IF fc = 2
DAILY RATION AND FEEDING GUIDE

8 OZ CUP IS 114 G OF FOOD




EVERY DOG IS DIFFERENT. FEEDING AMOUNT WILL VARY WITH AGE AND ACTIVITY.

Use this chart as an initial guide and adjust amounts accordingly.

Feed twice daily and always provide fresh clean water.



   Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 195 of 662    Document Page
                                                                                  73-1 194
PUPPIES: at 1 1/2-3 months old feed twice the adult amount, at 3-6 months feed 1 1/2 times
the adult amount. At 6-11 months feed 1 1/4 times the adult amount.

GESTATION: increase from 25% to 50% of the adult amount.

LACTATION: feed ‘free choice’.

ACANA DUCK & PEAR SINGLES FORMULA is formulated to meet the nutritional levels
established by the AAFCO Dog Food Nutrient Profiles for All Life Stages.

THIS 13 LB PACKAGE OF ACANA IS MADE WITH 6 1/2 LBS FREE-RUN DUCK INGREDIENTS

3 1/4 LBS FRESH OR RAW

HALF IS FRESH or RAW and bursting with goodness and taste, and HALF IS DRIED or OILS to
provide a strong and natural source of duck protein and fat.



DISPLAY IF fc = 2
LIMITED INGREDIENTS SHOULDN'T MEAN LESS DUCK

1

WHOLEPREY™ SINGLES

DUCK | ORGAN | CARTILAGE

IN HER ETERNAL WISDOM, NATURE MATCHED THE NUTRIENTS FOUND IN WHOLE PREY
ANIMALS TO PERFECTLY MEET THE NEEDS OF YOUR DOG.

Mirroring Mother Nature, ACANA WholePrey™ foods feature a richly nourishing balance of
duck, organs and cartilage that reflect the whole prey animal, DELIVERING NUTRIENTS
NATURALLY.

That's why you won't find long lists of additives in ACANA foods.

OUR INGREDIENTS.

OUR KITCHENS.

OUR FOOD.




    Case 2:18-cv-01996-JPS         Filed 09/18/19     Page 196 of 662    Document Page
                                                                                  73-1 195
TRUSTED EVERYWHERE.

SCOTTY AND ROBIN OF CEDAR VALLEY FARMS IN HODGENVILLE, KENTUCKY.

TRUSTED SUPPLIER OF FRESH WHOLE BUTTERNUT SQUASH.

Kentucky Proud

Champion PetFoods®

World's Best Petfood

MADE IN KENTUCKY BY CHAMPION PETFOODS USA INC.

12871 BOWLING GREEN ROAD, AUBURN, KENTUCKY 42206

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CONSUMER CARE

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@ACANAPETFOOD @CHAMPIONPETFOOD

DUCK & PEAR SINGLES FORMULA

13LB | 5.9KG

CHAMPIONPETFOODS.COM



DISPLAY IF fc = 2

                              This is one side of the bag




DISPLAY IF fc = 2



   Case 2:18-cv-01996-JPS     Filed 09/18/19     Page 197 of 662   Document Page
                                                                            73-1 196
On the next screen, you will see the words that are printed on one side of the bag you saw
earlier. Please read the words on each screen and then go on to the next screen.


DISPLAY IF fc = 2
UNMATCHED REGIONAL INGREDIENTS

FRESH OR RAW

SINGLE ANIMAL PROTEIN from FREE-RUN MUSCOVY DUCK

SINGLES

DUCK & PEAR SINGLES FORMULA

with FREE-RUN MUSCOVY DUCK & FRESH BARTLETT PEARS

COMPLETE FOOD FOR DOGS

ALL BREEDS | ALL LIFE STAGES


DISPLAY IF fc = 2

                                This is the other side of the bag




DISPLAY IF fc = 2

On the next screen, you will see the words that are printed on the other side of the bag you saw
earlier. Please read the words on each screen and then go on to the next screen.


DISPLAY IF fc = 2
MADE IN USA

Made with unmatched REGIONAL INGREDIENTS

KENTUCKY KITCHENS




   Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 198 of 662      Document Page
                                                                                    73-1 197
SINGLES

DUCK & PEAR SINGLES FORMULA

with FREE-RUN MUSCOVY DUCK & FRESH BARTLETT PEARS

COMPLETE FOOD FOR DOGS

ALL BREEDS | ALL LIFE STAGES


NEXT, YOU WILL READ SOME INFORMATION ABOUT THE DOG FOOD THAT IS NOT ON THE
PACKAGE.


BEGIN CC BLOCK. RANDOMIZE ORDER OF PAGES IN THIS BLOCK.

DISPLAY PAGE IF ccm = 1

Laboratory testing has shown there is a risk that this food may contain mercury. The
World Health Organization has said that in humans, “Mercury may have toxic effects on
the nervous, digestive and immune systems, and on lungs, kidneys, skin and eyes.”


DISPLAY PAGE IF ccc = 1

Laboratory testing has shown there is a risk that this food may contain cadmium. A
federal public health agency of the U.S. Department of Health and Human Services, has
found, “Kidney and bone effects have also been observed in laboratory animals
ingesting cadmium. Anemia, liver disease, and nerve or brain damage have been
observed in animals eating or drinking cadmium.”


DISPLAY PAGE IF ccl = 1

Laboratory testing has shown there is a risk that this food may contain lead. The Food &
Drug Administration has said, “Lead is poisonous to humans and can affect people of
any age or health status.”


DISPLAY PAGE IF cca = 1




   Case 2:18-cv-01996-JPS       Filed 09/18/19   Page 199 of 662     Document Page
                                                                              73-1 198
Laboratory testing has shown there is a risk that this food may contain arsenic. The
Environmental Protection Agency has said, “Arsenic has been linked to a number of cancers.
These include cancer of the bladder, lungs, skin, kidney, nasal passages, liver, and prostate.”


DISPLAY PAGE IF ccb = 1
Laboratory testing has shown there is a risk that this food may contain BPA. The Food & Drug
Administration has said, “BPA is an industrial chemical used to make polycarbonate, a hard,
clear plastic, which is used in many consumer products.”


DISPLAY PAGE IF ccf = 1

The manufacturer of this food has stated that it may include ingredients that are not are
delivered to them fresh but have been frozen before they are used to make the dog
food.



DISPLAY PAGE IF ccr = 1

The manufacturer of this food has stated that it may include ingredients that are
sourced outside the region where it is manufactured. This may include not only other
regions within the United States but also other regions internationally.


DISPLAY PAGE IF cct = 1

The manufacturer of this food has stated that it uses third parties to process and
manufacture protein meals and tallows used in its dog foods.


END CC BLOCK

DISPLAY IF DOG_EVER = 1 & fc = 1 & pc = 1

fc1_pc1. If you were buying dog food today, and the 13 pound bag of dog food you just saw is
available at a price of $47.99, would you buy it, or would you not buy it?

DISPLAY IF DOG_EVER = 1 & fc = 2 & pc = 1
fc2_pc1. If you were buying dog food today, and the 13 pound bag of dog food you just saw is
available at a price of $37.99, would you buy it, or would you not buy it?




    Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 200 of 662       Document Page
                                                                                      73-1 199
   ● Would buy it
   ● Would not buy it



DISPLAY IF DOG_EVER = 1 & fc = 1 & PC = 2

fc1_pc2. If you were buying dog food today, and the 13 pound bag of dog food you just saw is
available at a price of $50.99, would you buy it, or would you not buy it?

DISPLAY IF DOG_EVER = 1 & fc = 2 & PC = 2

fc2_pc2. If you were buying dog food today, and the 13 pound bag of dog food you just saw is
available at a price of $39.99, would you buy it, or would you not buy it?

   ● Would buy it
   ● Would not buy it



DISPLAY IF DOG_EVER = 1 & fc = 1 & PC = 3

fc1_pc3. If you were buying dog food today, and the 13 pound bag of dog food you just saw is
available at a price of $53.49, would you buy it, or would you not buy it?

DISPLAY IF DOG_EVER = 1 & fc = 2 & PC = 3

fc2_pc3. If you were buying dog food today, and the 13 pound bag of dog food you just saw is
available at a price of $41.99, would you buy it, or would you not buy it?

   ● Would buy it
   ● Would not buy it



DISPLAY IF DOG_EVER = 1 & fc = 1 & PC = 4

fc1_pc4. If you were buying dog food today, and the 13 pound bag of dog food you just saw is
available at a price of $55.99, would you buy it, or would you not buy it?

DISPLAY IF DOG_EVER = 1 & fc = 2 & PC = 4




   Case 2:18-cv-01996-JPS         Filed 09/18/19    Page 201 of 662      Document Page
                                                                                  73-1 200
       fc2_pc4. If you were buying dog food today, and the 13 pound bag of dog food you just saw is
       available at a price of $43.99, would you buy it, or would you not buy it?

           ● Would buy it
           ● Would not buy it



       DISPLAY IF DOG_EVER = 1 & fc = 1 & PC = 5

       fc1_pc5. If you were buying dog food today, and the 13 pound bag of dog food you just saw is
       available at a price of $58.99, would you buy it, or would you not buy it?

       DISPLAY IF DOG_EVER = 1 & fc = 2 & PC = 5

fc2_pc5. If you were buying dog food, and the 13lb bag of dog food you just saw was available for sale
       at a price of $45.99 would you buy it, or would you not buy it?

           ● Would buy it
           ● Would not buy it



QUALITY. How would you rate the quality of this dog food? Excellent, good, fair, poor, or very poor?

           ●   Excellent
           ●   Good
           ●   Fair
           ●   Poor
           ●   Very poor


HEALTHY. How healthy would you say this dog food is? Extremely healthy, very healthy, moderately
      healthy, slightly healthy, or not healthy at all?

           ●   Extremely healthy
           ●   Very healthy
           ●   Moderately healthy
           ●   Slightly healthy
           ●   Not healthy at all




           Case 2:18-cv-01996-JPS         Filed 09/18/19     Page 202 of 662      Document Page
                                                                                           73-1 201
FOOD_EVER. Did you ever buy dog food, or did you never do that?

   ● Bought dog food
   ● Never bought dog food



DISPLAY IF FOOD_EVER = 1

FOOD_CLASS. Did you buy dog food after July 1, 2013, or did you not buy dog food then?

   ● Bought dog food after July 1, 2013
   ● Did not buy dog food after July 1, 2013



DISPLAY IF fc = 1 AND FOOD_EVER = 1

The dog food you looked at is called Orijen Six Fish.

DISPLAY IF fc = 2 AND FOOD_EVER = 1

The dog food you looked at is called Acana Duck and Pear Singles.

SPEC_BUY. Did you ever buy that type of dog food, or did you never buy it?

                   ● Did buy it
                   ● Did not buy it



DISPLAY IF SPEC_BUY = 1 & FOOD_CLASS = 1

SPEC_CLASS. Did you buy this dog food after July 1, 2013, or did you NOT buy this dog food
after that date?

                   ● Did buy it after July 1, 2013
                   ● Did not do that



DISPLAY IF FOOD_COND = 2 & FOOD_EVER = 1 OR FOOD_COND = 1 & SPEC_BUY = 2

ORIJEN_BUY. Did you ever buy dog food that had the word “Orijen” written on the package, or
did you never do that?



    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 203 of 662      Document Page
                                                                                      73-1 202
                 ● Did buy it
                 ● Did not buy it
DISPLAY IF ORIJEN_BUY = 1

ORIJEN_CLASS. Did you buy dog food that had the word “Orijen” written on the package after
July 1, 2013, or did you not do that?

                 ● Did buy it
                 ● Did not buy it



DISPLAY IF FOOD_COND = 1 & FOOD_EVER = 1 OR FOOD_COND = 2 & SPEC_PURCH = 2

ACANA_BUY. Did you ever buy dog food that had the word “Acana” written on the package, or
did you never do that?

                 ● Did buy it
                 ● Did not buy it
DISPLAY IF ACANA_BUY = 1

ACANA_CLASS. Did you buy dog food that had the word “Acana” written on the package after
July 1, 2013, or did you not do that?

                 ● Did buy it
                 ● Did not buy it



DISPLAY IF DOG_EVER = 1

DOG_NUM. What is the total number of dogs you have owned since you were 18 years old?

       RECORD NUMBER


DISPLAY IF DOG_NUM = 1

DOG_CURR. Do you own that dog now, or do you not own it now?

   ● Own it now
   ● Do not own it now



   Case 2:18-cv-01996-JPS        Filed 09/18/19    Page 204 of 662      Document Page
                                                                                 73-1 203
DISPLAY IF DOG_NUM >1

DOGS_CURR. Do you own one of those dogs now, or do you not own any of those dogs now?

   ● Own one or more dogs now
   ● Do not own any dogs now



DISPLAY IF DOG_CURR = 2

DOG_CLASS. Did you own that dog before July 1, 2013, or did you not own it then?

   ● Owned dog before July 1, 2013
   ● Did not own dog before July 1, 2013


DISPLAY IF DOGS_CURR = 2

DOGS_CLASS. Did you own any of those dogs before July 1, 2013, or did you not own any of
  them then?

   ● Owned one or more dogs before July 1, 2013
   ● Did not own any dogs before July 1, 2013



DISPLAY IF DOG_NUM = 1 & DOG_CURR = 1

WEIGHT1A. In the box below, please type how many pounds your dog has weighed, on
average, during the time you have owned it.

DISPLAY ONE BOX

DISPLAY IF DOG_NUM = 1 & DOG_CURR = 2

WEIGHT1B. In the box below, please type how many pounds your dog weighed, on average,
during the time you have owned it.

DISPLAY ONE BOX


DISPLAY IF DOG_NUM > 1 AND DOG_NUM < 21




   Case 2:18-cv-01996-JPS        Filed 09/18/19     Page 205 of 662     Document Page
                                                                                 73-1 204
PROGRAMMING NOTE: IN THE QUESTION BELOW, X WILL BE REPLACED WITH THE NUMBER
OF DOGS OWNED

WEIGHTX. In the boxes below, please type how many pounds each of your dogs weighed, on
average, during the time you have owned it.

DISPLAY ONE BOX FOR EACH DOG OWNED, UP TO 20


DISPLAY IF DOG_NUM = 1 & DOG_CURR = 2

DOG_FRIEND_PAST. Would you say your dog was your friend, or would you not say that?

DISPLAY IF DOG_NUM = 1 & DOG_CURR = 1

DOG_FRIEND_PRES. Would you say your dog is your friend, or would you not say that?

DISPLAY IF DOG_NUM >1

DOGS_FRIEND_PAST. Would you say any of your dogs were your friend, or would you not say
that?

                 ● Would say that
                 ● Would not say that



DISPLAY IF DOG_NUM = 1 & DOG_CURR = 2

DOG_FAMILY_PAST. Would you say your dog was a member of your family, or would you not
say that?

DISPLAY IF DOG_NUM = 1 & DOG_CURR = 1

DOG_FAMILY_PRES. Would you say your dog is a member of your family, or would you not say
that?

DISPLAY IF DOG_NUM >1

DOGS_FAMILY. Would you say any of your dogs were a member of your family, or would you
not say that?

                 ● Would say that
                 ● Would not say that



   Case 2:18-cv-01996-JPS       Filed 09/18/19   Page 206 of 662      Document Page
                                                                               73-1 205
DISPLAY IF DOG_NUM = 1

DOG_BED. Did you ever allow your dog to be on the bed where you slept, or did you never do
that?

DISPLAY IF DOG_NUM >1

DOGS_BED. Did you ever allow any of your dogs to be on the bed where you slept, or did you
never do that?

                 ● Did that
                 ● Never did that



DISPLAY IF DOG_NUM = 1

DOG_PHOTO. Did you ever pay a professional photographer to take pictures of your dog, or did
you never do that?

DISPLAY IF DOG_NUM >1

DOGS_PHOTO. Did you ever pay a professional photographer to take pictures of any of your
dogs, or did you never do that?

                 ● Did that
                 ● Never did that



DISPLAY IF DOG_NUM = 1

DOG_PARK. Did you ever take your dog to a fenced-in area of a public park where dogs can run
without being on leashes, or did you never do that?

DISPLAY IF DOG_NUM >1

DOGS_PARK. Did you ever take any of your dogs to a fenced-in area of a public park where
dogs can run without being on leashes, or did you never do that?

                 ● Did that
                 ● Never did that



   Case 2:18-cv-01996-JPS        Filed 09/18/19     Page 207 of 662     Document Page
                                                                                 73-1 206
DISPLAY IF DOG_NUM = 1 & DOG_CURR = 1

DOG_HEALTHY_PRES. How important to you is it that your dog is as healthy as possible?
Extremely important, very important, moderately important, slightly important, or not
important at all?

DISPLAY IF DOG_NUM = 1 & DOG_CURR = 2

DOG_HEALTHY_PAST. How important to you was it that your dog was as healthy as possible?
Extremely important, very important, moderately important, slightly important, or not
important at all?

DISPLAY IF DOG_NUM >1 & DOG_CURR = 1

DOGS_HEALTHY_PRES. How important to you is that your dogs are as healthy as possible?
Extremely important, very important, moderately important, slightly important, or not
important at all?

DISPLAY IF DOG_NUM >1 & DOG_CURR = 2

DOGS_HEALTHY_PAST. How important to you was it that your dogs were as healthy as
possible? Extremely important, very important, moderately important, slightly important, or
not important at all?

                 ●   Extremely important
                 ●   Very important
                 ●   Moderately important
                 ●   Slightly important
                 ●   Not important at all



DISPLAY IF DOG_NUM = 1

DISPLAY IF DOG_NUM = 1 & DOG_CURR = 1

DOG_SAFE_PRES. How important to you is it that your dog is as safe as possible? Extremely
important, very important, moderately important, slightly important, or not important at all?

DISPLAY IF DOG_NUM = 1 & DOG_CURR = 2




   Case 2:18-cv-01996-JPS        Filed 09/18/19     Page 208 of 662       Document Page
                                                                                   73-1 207
DOG_SAFE_PAST. How important to you was it that your dog was as safe as possible?
Extremely important, very important, moderately important, slightly important, or not
important at all?

DISPLAY IF DOG_NUM >1 & DOG_CURR = 1

DOGS_SAFE_PRES. How important to you is that your dogs are as safe as possible? Extremely
important, very important, moderately important, slightly important, or not important at all?

DISPLAY IF DOG_NUM >1 & DOG_CURR = 2

DOGS_SAFE_PAST. How important to you was it that your dogs were as safe as possible?
Extremely important, very important, moderately important, slightly important, or not
important at all?

                  ●   Extremely important
                  ●   Very important
                  ●   Moderately important
                  ●   Slightly important
                  ●   Not important at all



DISPLAY IF DOG_NUM = 1

DOG_VET. Did you ever take your dog to a veterinarian when it was not sick or injured, to find
out if it was generally healthy, or did you never do that?

DISPLAY IF DOG_NUM > 1

DOGS_VET. Did you ever take any of your dogs to a veterinarian when they were not sick or
injured, to find out if they were generally healthy, or did you never do that?

                  ● Did that
                  ● Never did that



DISPLAY IF DOG_NUM = 1

DOG_TEETH. Did you ever have your dog’s teeth cleaned at a veterinarian’s office, or did you
never do that?

DISPLAY IF DOG_NUM >1



   Case 2:18-cv-01996-JPS         Filed 09/18/19     Page 209 of 662      Document Page
                                                                                   73-1 208
DOGS_TEETH. Did you ever have any of your dogs’ teeth cleaned at a veterinarian’s office, or
did you never do that?

                  ● Did that
                  ● Never did that



DISPLAY IF DOG_NUM = 1

DOG_MED. Did you ever give your dog a medicine prescribed by a veterinarian, or did you
never do that?

DISPLAY IF DOG_NUM > 1

DOGS_MED. Did you ever give any of your dogs a medication prescribed by a veterinarian, or
did you never do that?

                  ● Did that
                  ● Never did that



DISPLAY IF FOOD_EVER = 1 & DOG_EVER = 1

FOOD_VETREC. Did you ever buy a dog food that was recommended to you by a veterinarian,
or did you never do that?
                  ● Did that
                  ● Never did that



DISPLAY IF DOG_NUM =1

DOG_CHIPPED. Did you ever have someone put a microchip in your dog so you could find it, or
did you never do that?

DISPLAY IF DOG_NUM > 1

DOGS_CHIPPED. Did you ever have someone put a microchip in any of your dogs so you could
find it, or did you never do that?

                  ● Did that



   Case 2:18-cv-01996-JPS         Filed 09/18/19     Page 210 of 662      Document Page
                                                                                   73-1 209
                  ● Never did that



DISPLAY IF DOG_NUM >0

BOOKS_HEALTH. Did you ever read books, magazines, or information online to learn about how
to keep dogs healthy, or did you never do that?

                  ● Did that
                  ● Never did that



DISPLAY IF FOOD_EVER = 1 & DOG_EVER = 1

FOOD_PETSTORE. Did you ever buy dog food from a store that sells only pet supplies, or did
you never do that?

                  ● Did that
                  ● Never did that



DISPLAY IF DOG_NUM > 0

BOOKS_INGRED. Did you ever read books, magazines, or information online to learn about
what ingredients are in dog foods to decide which ones to buy, or did you never do that?

                  ● Did that
                  ● Never did that



DISPLAY IF DOG_EVER = 1

FOOD_ALLNATURAL. If you were to buy dog food, when deciding which food to buy, how much
attention would you pay to whether the food is all-natural? A great deal of attention, a lot of
attention, a moderate amount of attention, a little attention, or none at all?

                  ●   A great deal
                  ●   A lot
                  ●   A moderate amount
                  ●   A little




   Case 2:18-cv-01996-JPS         Filed 09/18/19     Page 211 of 662      Document Page
                                                                                   73-1 210
                  ● None at all



DISPLAY IF DOG_EVER = 1

FOOD_GRAINFREE. If you were to buy dog food, when deciding which food to buy, how much
attention would you pay to whether the food is grain free? A great deal of attention, a lot of
attention, a moderate amount of attention, a little attention, or none at all?

                  ●   A great deal
                  ●   A lot
                  ●   A moderate amount
                  ●   A little
                  ●   None at all



DISPLAY IF DOG_EVER = 1

FOOD_ORGANIC. If you were to buy dog food, when deciding which food to buy, how much
attention would you pay to whether the food is organic? A great deal of attention, a lot of
attention, a moderate amount of attention, a little attention, or none at all?

                  ●   A great deal
                  ●   A lot
                  ●   A moderate amount
                  ●   A little
                  ●   None at all



DISPLAY IF DOG_EVER = 1

FOOD_TASTE. If you were to buy dog food, when deciding which food to buy, how much
attention would you pay to whether the food tastes good to dogs? A great deal of attention, a
lot of attention, a moderate amount of attention, a little attention, or none at all?

                  ●   A great deal
                  ●   A lot
                  ●   A moderate amount
                  ●   A little
                  ●   None at all




   Case 2:18-cv-01996-JPS         Filed 09/18/19     Page 212 of 662       Document Page
                                                                                    73-1 211
DISPLAY IF DOG_EVER = 1

FOOD_HEALTH. If you were to buy dog food, when deciding which food to buy, how much
attention would you pay to whether the food will improve the health of dogs? A great deal of
attention, a lot of attention, a moderate amount of attention, a little attention, or none at all?

                   ●   A great deal
                   ●   A lot
                   ●   A moderate amount
                   ●   A little
                   ●   None at all



DISPLAY IF DOG_EVER = 1

FOOD_APPEARANCE. If you were to buy dog food, when deciding which food to buy, how much
attention would you pay to whether the food will improve the appearance of dogs? A great
deal of attention, a lot of attention, a moderate amount of attention, a little attention, or none
at all?

                   ●   A great deal
                   ●   A lot
                   ●   A moderate amount
                   ●   A little
                   ●   None at all



DISPLAY IF DOG_NUM = 1

DOG_FOOD_COOK. Did you ever cook food that your dog ate, or did you never do that?

DISPLAY IF DOG_NUM > 1

DOGS_FOOD_COOK. Did you ever cook food that any of your dogs ate, or did you never do
that?

                   ● Did that
                   ● Never did that




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 213 of 662       Document Page
                                                                                       73-1 212
DISPLAY IF DOG_NUM = 1

DOG_FOODSPEND. During the time when you have owned a dog, how much money did you
spend for your dog’s food per month, on average?

DISPLAY IF DOG_NUM > 1

DOGS_FOODSPEND. During the time when you have owned dogs, how much money did you
spend for your dogs’ food per month, on average?

Please round to the nearest dollar and type the amount in the box below.

   ENTER NUMBER BETWEEN 0 AND 10000


DISPLAY IF DOG_NUM>0

HARNESS. Did you ever put a dog in a harness, car seat, or crate when transporting it in a motor
vehicle, or did you never do that?

                  ● Did that
                  ● Never did that



DISPLAY IF DOG_NUM>0

DONATE. Did you ever donate money to an animal shelter or animal rescue group, or did you
never do that?

                  ● Did that
                  ● Never did that



DISPLAY IF DOG_NUM = 1

DOG_UNDERSTAND. How well has your dog understood what you said to it? Extremely well,
very well, moderately well, slightly well, or not well at all?

DISPLAY IF DOG_NUM > 1




   Case 2:18-cv-01996-JPS         Filed 09/18/19     Page 214 of 662       Document Page
                                                                                    73-1 213
DOGS_UNDERSTAND. How well have your dogs understood what you said to them? Extremely
well, very well, moderately well, slightly well, or not well at all?

                  ●   Extremely well
                  ●   Very well
                  ●   Moderately well
                  ●   Slightly well
                  ●   Not well at all


DISPLAY IF DOG_NUM = 1

DOG_BIRTHDAY. Did you ever celebrate the birthday of your dog, or did you never do that?

DISPLAY IF DOG_NUM > 1

DOGS_BIRTHDAY. Did you ever celebrate the birthday of any of your dogs, or did you never do
that?

                  ● Did that
                  ● Never did that


DISPLAY IF DOG_NUM = 1

DOG_HOLIDAY. Did you ever give your dog a gift for a holiday other than a birthday, or did you
never do that?

DISPLAY IF DOG_NUM > 1

DOGS_HOLIDAY. Did you ever give any of your dogs a gift for a holiday other than a birthday, or
did you never do that?

                  ● Did that
                  ● Never did that


DISPLAY IF DOG_NUM = 1

DOG_TRAINER. Did you ever pay for obedience training for your dog, or did you never do that?

DISPLAY IF DOG_NUM >1




   Case 2:18-cv-01996-JPS         Filed 09/18/19     Page 215 of 662      Document Page
                                                                                   73-1 214
DOGS_TRAINER. Did you ever pay for obedience training for any of your dogs, or did you never
do that?

                  ● Did that
                  ● Never did that


DISPLAY IF DOG_NUM > 0

INSURANCE. Did you ever buy health insurance for a dog, or did you never do that?

                  ● Did that
                  ● Never did that


DISPLAY IF DOG_NUM = 1

DOG_ANNOY. How often has your dog done things that annoyed you? Extremely often, very
often, moderately often, slightly often, or not often at all?

DISPLAY IF DOG_NUM > 1

DOGS_ANNOY. How often have your dogs done things that annoyed you? Extremely often,
very often, moderately often, slightly often, or not often at all?


                  ●   Extremely often
                  ●   Very often
                  ●   Moderately often
                  ●   Slightly often
                  ●   Not often at all


DISPLAY IF DOG_NUM > 0

VIDEO. Did you ever watch a television program or video featuring a dog expert or animal
trainer, or did you never do that?

                  ● Did that
                  ● Never did that


DISPLAY IF DOG_NUM > 0



   Case 2:18-cv-01996-JPS         Filed 09/18/19    Page 216 of 662      Document Page
                                                                                  73-1 215
BOOKS_TRAINER. Did you ever read a book or article by a dog expert or animal trainer, or did
you never do that?

                   ● Did that
                   ● Never did that



Now we’d like to ask some questions about you.




P_30EXERCISE. How many times per week, on average, do you get 30 or more minutes of
exercise?

                       RECORD NUMBER FROM 0 – 40



P_DIET. During the last month, how healthy was the food you ate? Extremely healthy, very
healthy, moderately healthy, slightly healthy, or not healthy at all?

                   ●   Extremely healthy
                   ●   Very healthy
                   ●   Moderately healthy
                   ●   Slightly healthy
                   ●   Not healthy at all



P_SHOP_ORGANIC. When you shopped for groceries during the last month, did you ever buy
organic products, or did you not do that?

                   ● Did that
                   ● Did not do that



P_SHOP_NONGMO. When you shopped for groceries during the last month, do you ever buy
non-GMO products, or do you not do that?

                   ● Did that
                   ● Did not do that



    Case 2:18-cv-01996-JPS          Filed 09/18/19   Page 217 of 662     Document Page
                                                                                  73-1 216
P_SHOP_LOCAL. When you shopped for groceries during the last month, did you ever
buy products that were grown locally or did you not do that?

                   ● Did that
                   ● Did not do that



DEMO_INST: The last few questions are for statistical purposes. You may have answered similar
questions like this in the past. We appreciate your patience in answering them now.


SEX. What is your sex?

   1. Male
   2. Female


MARITAL. Are you now married, widowed, divorced, separated, or never married?

   1. Married
   2. Widowed
   3. Divorced
   4. Separated
   5. Never married
_______________________________________________________________________

QINCOME1. The next question is about your family income. This includes income from jobs,
pensions, social security, interest, child support, dividends, profits from businesses or farms, or
any other sources of income.

If you live alone, your family income is just your total income. If you live with other family
members, your family income includes your total income plus the incomes of any of the family
members who live with you.

During 2018, what was your total family income, before taxes?

Type in the number for the answer

       $_______



    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 218 of 662       Document Page
                                                                                       73-1 217
DISPLAY IF QINCOME1 is answered

QINCOME1_CHECK. Just to be sure our computer is recording your answer correctly, did you
mean to type that your total family income in 2018 before taxes was [INSERT THE AMOUNT
LISTED IN QINCOME1], or was it a different number?

Select one answer only
    1. Yes, I meant to type that number.
    2. No, I meant to type a different number. [RETURN TO QINCOME1]


DISPLAY IF QINCOME1 is NOT answered, or QINCOME2 is asked, but NOT answered

QINCOME2A. Was it $40,000 or more in 2018?

       Select one answer only

       1. $40,000 or more
       2. Less than $40,000 [SKIP TO INCOME2G]


DISPLAY IF QINCOME2A = 1

QINCOME2B. Was it $50,000 or more?

     Select one answer only

       1. $50,000 or more
       2. Less than $50,000 [SKIP TO THANK]


DISPLAY IF QINCOME2B = 1

QINCOME2C. Was it $60,000 or more?

       Select one answer only

       1. $60,000 or more
       2. Less than $60,000 [SKIP TO THANK]




   Case 2:18-cv-01996-JPS        Filed 09/18/19    Page 219 of 662     Document Page
                                                                                73-1 218
   DISPLAY IF QINCOME2C = 1

   QINCOME2D. Was it $75,000 or more?

          Select one answer only

          1. $75,000 or more
          2. Less than $75,000 [SKIP TO THANK]


   DISPLAY IF QINCOME2D = 1

QINCOME2E. Was it $100,000 or more?


   Select one answer only


          1. $100,000 or more
          2. Less than $100,000 [SKIP TO THANK]


   DISPLAY IF QINCOME2E = 1

   QINCOME2F. Was it $150,000 or more?

          Select one answer only

          1. $150,000 or more [SKIP TO THANK]
          2. Less than $150,000 [SKIP TO THANK]


   DISPLAY IF QINCOME2A = 2

   QINCOME2G. Was it $5,000 or more?

          Select one answer only

          1. $5,000 or more
          2. Less than $5,000 [SKIP TO THANK]




      Case 2:18-cv-01996-JPS       Filed 09/18/19   Page 220 of 662   Document Page
                                                                               73-1 219
DISPLAY IF QINCOME2G = 1

QINCOME2H. Was it $10,000 or more?

      Select one answer only

      1. $10,000 or more
      2. Less than $10,000 [SKIP TO THANK]


DISPLAY IF QINCOME2H = 1

QINCOME2I. Was it $15,000 or more?

      Select one answer only

      1. $15,000 or more
      2. Less than $15,000 [SKIP TO THANK]


DISPLAY IF QINCOME2I = 1

QINCOME2J. Was it $20,000 or more?

      Select one answer only

      1. $20,000 or more
      2. Less than $20,000 [SKIP TO THANK]


DISPLAY IF QINCOME2J = 1

QINCOME2K. Was it $25,000 or more?

      Select one answer only

      1. $25,000 or more
      2. Less than $25,000 [SKIP TO THANK]


QINCOME2L. Was it $30,000 or more?




   Case 2:18-cv-01996-JPS      Filed 09/18/19   Page 221 of 662   Document Page
                                                                           73-1 220
       Select one answer only

       1. $30,000 or more
       2. Less than $30,000


THANK. Thank you for answering these questions today. Please click the blue button to return
to the AmeriSpeak website to submit your answers.

Please do not close your browser until you return to the AmeriSpeak website.

CHANGE "SUBMIT" BUTTON TEXT TO SAY "NEXT"


REDIRECT. Please wait while we connect you to the AmeriSpeak website. Do NOT close your
browser until you have read the information on the next screen.

AUTO-REDIRECT TO NORC LIVE URL

ABOVE MESSAGE WILL ONLY BE VIEWABLE WHILE THE REDIRECT OCCURS. IF THERE IS NO
LAG, THE RESPONDENT WILL JUST SEE THE AMERISPEAK WEBSITE SCREEN.




   Case 2:18-cv-01996-JPS         Filed 09/18/19    Page 222 of 662      Document Page
                                                                                  73-1 221
INTRO1.




INTRO2.




DOG_EVER.




PRODUCT_INSTRUCTION.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 223 of 662   Document Page
                                                                       73-1 222
DISPLAY IF fc = 1




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 224 of 662   Document Page
                                                                        73-1 223
DISPLAY IF fc = 1




DISPLAY IF fc = 1




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 225 of 662   Document Page
                                                                        73-1 224
DISPLAY IF fc = 1




DISPLAY IF fc = 1




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 226 of 662   Document Page
                                                                        73-1 225
DISPLAY IF fc = 1




DISPLAY IF fc = 1




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 227 of 662   Document Page
                                                                        73-1 226
DISPLAY IF fc = 1




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 228 of 662   Document Page
                                                                        73-1 227
DISPLAY IF fc = 1




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 229 of 662   Document Page
                                                                        73-1 228
DISPLAY IF fc = 1




DISPLAY IF fc = 1




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 230 of 662   Document Page
                                                                        73-1 229
DISPLAY IF fc = 1




DISPLAY IF fc = 1




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 231 of 662   Document Page
                                                                        73-1 230
DISPLAY IF fc = 1




DISPLAY IF fc = 1




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 232 of 662   Document Page
                                                                        73-1 231
DISPLAY IF fc = 1




DISPLAY IF fc = 1




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 233 of 662   Document Page
                                                                        73-1 232
DISPLAY IF fc = 1




DISPLAY IF fc = 1




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 234 of 662   Document Page
                                                                        73-1 233
DISPLAY IF fc = 1




DISPLAY IF fc = 1




DISPLAY IF fc = 1




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 235 of 662   Document Page
                                                                        73-1 234
DISPLAY IF fc = 1




DISPLAY IF fc = 1




DISPLAY IF fc = 2




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 236 of 662   Document Page
                                                                        73-1 235
DISPLAY IF fc = 2




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 237 of 662   Document Page
                                                                        73-1 236
DISPLAY IF fc = 2




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 238 of 662   Document Page
                                                                        73-1 237
DISPLAY IF fc = 2




DISPLAY IF fc = 2




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 239 of 662   Document Page
                                                                        73-1 238
DISPLAY IF FC = 2




DISPLAY IF fc = 2




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 240 of 662   Document Page
                                                                        73-1 239
DISPLAY IF fc = 2




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 241 of 662   Document Page
                                                                        73-1 240
DISPLAY IF fc = 2




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 242 of 662   Document Page
                                                                        73-1 241
Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 243 of 662   Document Page
                                                                     73-1 242
DISPLAY IF fc = 2




DISPLAY IF fc = 2




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 244 of 662   Document Page
                                                                        73-1 243
DISPLAY IF fc = 2




DISPLAY IF fc = 2




DISPLAY IF fc = 2




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 245 of 662   Document Page
                                                                        73-1 244
DISPLAY IF fc = 2




DISPLAY IF fc = 2




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 246 of 662   Document Page
                                                                        73-1 245
DISPLAY IF fc = 2




DISPLAY IF fc = 2




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 247 of 662   Document Page
                                                                        73-1 246
DISPLAY IF fc = 2




DISPLAY IF fc = 2




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 248 of 662   Document Page
                                                                        73-1 247
DISPLAY IF fc = 2




DISPLAY IF fc = 2




DISPLAY IF fc = 2




DISPLAY IF fc = 2



   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 249 of 662   Document Page
                                                                        73-1 248
BEGIN CC BLOCK. RANDOMIZE ORDER OF PAGES IN THIS BLOCK.

DISPLAY PAGE IF ccm = 1




DISPLAY PAGE IF ccc = 1




DISPLAY PAGE IF ccl = 1




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 250 of 662   Document Page
                                                                        73-1 249
DISPLAY PAGE IF cca = 1




DISPLAY PAGE IF ccb = 1




DISPLAY PAGE IF ccf = 1




DISPLAY PAGE IF ccr = 1




DISPLAY PAGE IF cct = 1




END CC BLOCK

DISPLAY IF DOG_EVER = 1 & fc = 1 & PRICE = 1

fc1_pc1.




   Case 2:18-cv-01996-JPS   Filed 09/18/19     Page 251 of 662   Document Page
                                                                          73-1 250
DISPLAY IF DOG_EVER = 1 & fc = 2 & PRICE = 1

fc2_pc1.




DISPLAY IF DOG_EVER = 1 & fc = 1 & PRICE = 2

fc1_pc2.




DISPLAY IF DOG_EVER = 1 & fc = 2 & PRICE = 2

fc2_pc2.




DISPLAY IF DOG_EVER = 1 & fc = 1 & PRICE = 3




   Case 2:18-cv-01996-JPS   Filed 09/18/19     Page 252 of 662   Document Page
                                                                          73-1 251
fc1_pc3.




DISPLAY IF DOG_EVER = 1 & fc = 2 & PRICE = 3

fc2_pc3.




DISPLAY IF DOG_EVER = 1 & fc = 1 & PRICE = 4

fc1_pc4.




DISPLAY IF DOG_EVER = 1 & fc = 2 & PRICE = 4

fc2_pc4.




DISPLAY IF DOG_EVER = 1 & fc = 1 & PRICE = 5

fc1_pc5.



   Case 2:18-cv-01996-JPS   Filed 09/18/19     Page 253 of 662   Document Page
                                                                          73-1 252
DISPLAY IF DOG_EVER = 1 & fc = 2 & PRICE = 5

fc2_pc5.




QUALITY.




HEALTHY.




   Case 2:18-cv-01996-JPS   Filed 09/18/19     Page 254 of 662   Document Page
                                                                          73-1 253
FOOD_EVER.




DISPLAY IF FOOD_EVER = 1

FOOD_CLASS.




DISPLAY IF fc = 1 AND FOOD_EVER = 1

SPEC_BUY.




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 255 of 662   Document Page
                                                                        73-1 254
DISPLAY IF fc = 2 AND FOOD_EVER = 1

SPEC_BUY.




DISPLAY IF SPEC_BUY = 1 & FOOD_CLASS = 1

SPEC_CLASS.




DISPLAY IF FOOD_COND = 2 & FOOD_EVER = 1 OR FOOD_COND = 1 & SPEC_BUY =
2

ORIJEN_BUY.



   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 256 of 662   Document Page
                                                                        73-1 255
DISPLAY IF ORIJEN_BUY = 1

ORIJEN_CLASS.




DISPLAY IF FOOD_COND = 1 & FOOD_EVER = 1 OR FOOD_COND = 2 & SPEC_PURCH
=2

ACANA_BUY.




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 257 of 662   Document Page
                                                                        73-1 256
DISPLAY IF ACANDA_PURCH = 1

ACANA_CLASS.




DISPLAY IF DOG_EVER = 1

DOG_NUM.




DISPLAY IF DOG_NUM = 1

DOG_CURR.




DISPLAY IF DOG_NUM > 1

DOGS_CURR.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 258 of 662   Document Page
                                                                       73-1 257
DISPLAY IF DOG_CURR = 2

DOG_CLASS.




DISPLAY IF DOGS_CURR = 2

DOGS_CLASS.




DISPLAY IF DOG_NUM = 1 & DOG_CURR = 1

WEIGHT 1A.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 259 of 662   Document Page
                                                                       73-1 258
DISPLAY IF DOG_NUM = 1 & DOG_CURR = 2

WEIGHT 1B.




DISPLAY IF DOG_NUM > 1 AND DOG_NUM < 21

DOGyWEIGHTx. [SHOW NUMBER OF BOXES EQUAL TO DOG_NUM. x = TOTAL
NUMBER OF DOGS; y = “INDEX” OF DOG, 1 THROUGH x]




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 260 of 662   Document Page
                                                                       73-1 259
DISPLAY IF DOG_NUM = 1 & DOG_CURR = 2

DOG_FRIEND_PAST.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 261 of 662   Document Page
                                                                       73-1 260
DISPLAY IF DOG_NUM = 1 & DOG_CURR = 1

DOG_FRIEND_PRES.




DISPLAY IF DOG_NUM > 1

DOGS_FRIEND_PAST.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 262 of 662   Document Page
                                                                       73-1 261
DISPLAY IF DOG_NUM = 1 & DOG_CURR = 2

DOG_FAMILY_PAST.




DISPLAY IF DOG_NUM = 1 & DOG_CURR = 1

DOG_FAMILY_PRES.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 263 of 662   Document Page
                                                                       73-1 262
DISPLAY IF DOG_NUM > 1

DOGS_FAMILY.




DISPLAY IF DOG_NUM = 1

DOG_BED.




DISPLAY IF DOG_NUM > 1

DOGS_BED.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 264 of 662   Document Page
                                                                       73-1 263
DISPLAY IF DOG_NUM = 1

DOG_PHOTO.




DISPLAY IF DOG_NUM > 1

DOGS_PHOTO.




DISPLAY IF DOG_NUM = 1

DOG_PARK.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 265 of 662   Document Page
                                                                       73-1 264
DISPLAY IF DOG_NUM > 1

DOGS_PARK.




DISPLAY IF DOG_NUM = 1 & DOG_CURR = 1

DOG_HEALTHY_PRES.




DISPLAY IF DOG_NUM = 1 & DOG_CURR = 2

DOG_HEALTHY_PAST.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 266 of 662   Document Page
                                                                       73-1 265
DISPLAY IF DOG_NUM > 1 & DOG_CURR = 1

DOGS_HEALTHY_PRES.




DISPLAY IF DOG_NUM > 1 & DOG_CURR = 2

DOGS_HEALTHY_PAST.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 267 of 662   Document Page
                                                                       73-1 266
DISPLAY IF DOG_NUM = 1 & DOG_CURR = 1

DOG_SAFE_PRES.




DISPLAY IF DOG_NUM = 1 & DOG_CURR = 2

DOG_SAFE_PAST.




DISPLAY IF DOG_NUM > 1 & DOG_CURR = 1

DOGS_SAFE_PRES.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 268 of 662   Document Page
                                                                       73-1 267
DISPLAY IF DOG_NUM > 1 & DOG_CURR = 2

DOGS_SAFE_PAST.




DISPLAY IF DOG_NUM = 1

DOG_VET.




DISPLAY IF DOG_NUM > 1

DOGS_VET.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 269 of 662   Document Page
                                                                       73-1 268
DISPLAY IF DOG_NUM = 1

DOG_TEETH.




DISPLAY IF DOG_NUM > 1

DOGS_TEETH.




DISPLAY IF DOG_NUM = 1

DOG_MED.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 270 of 662   Document Page
                                                                       73-1 269
DISPLAY IF DOG_NUM > 1

DOGS_MED.




DISPLAY IF FOOD_EVER = 1 & DOG_EVER = 1

FOOD_VETREC.




DISPLAY IF DOG_NUM = 1

DOG_CHIPPED.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 271 of 662   Document Page
                                                                       73-1 270
DISPLAY IF DOG_NUM > 1

DOGS_CHIPPED.




DISPLAY IF DOG_NUM > 0

BOOKS_HEALTH.




DISPLAY IF FOOD_EVER = 1 & DOG_EVER = 1

FOOD_PETSTORE.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 272 of 662   Document Page
                                                                       73-1 271
DISPLAY IF DOG_NUM > 0

BOOKS_INGRED.




DISPLAY IF DOG_EVER = 1

FOOD_ALLNATURAL.




DISPLAY IF DOG_EVER = 1

FOOD_GRAINFREE.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 273 of 662   Document Page
                                                                       73-1 272
DISPLAY IF DOG_EVER = 1

FOOD_ORGANIC.




DISPLAY IF DOG_EVER = 1

FOOD_TASTE.




DISPLAY IF DOG_EVER = 1

FOOD_HEALTH.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 274 of 662   Document Page
                                                                       73-1 273
DISPLAY IF DOG_EVER = 1

FOOD_APPEARANCE.




DISPLAY IF DOG_NUM = 1

DOG_FOOD_COOK.




DISPLAY IF DOG_NUM > 1

DOGS_FOOD_COOK.



  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 275 of 662   Document Page
                                                                       73-1 274
DISPLAY IF DOG_NUM = 1

DOG_FOODSPEND.




DISPLAY IF DOG_NUM > 1

DOGS_FOODSPEND.




DISPLAY IF DOG_NUM > 0

HARNESS.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 276 of 662   Document Page
                                                                       73-1 275
DISPLAY IF DOG_NUM > 0

DONATE.




DISPLAY IF DOG_NUM = 1

DOG_UNDERSTAND.




DISPLAY IF DOG_NUM > 1

DOGS_UNDERSTAND.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 277 of 662   Document Page
                                                                       73-1 276
DISPLAY IF DOG_NUM = 1

DOG_BIRTHDAY.




DISPLAY IF DOG_NUM > 1

DOGS_BIRTHDAY.




DISPLAY IF DOG_NUM = 1




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 278 of 662   Document Page
                                                                       73-1 277
DOG_HOLIDAY.




DISPLAY IF DOG_NUM > 1
DOGS_HOLIDAY.




DISPLAY IF DOG_NUM = 1

DOG_TRAINER.




DISPLAY IF DOG_NUM > 1

DOGS_TRAINER.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 279 of 662   Document Page
                                                                       73-1 278
DISPLAY IF DOG_NUM > 0

INSURANCE.




DISPLAY IF DOG_NUM = 1

DOG_ANNOY.




DISPLAY IF DOG_NUM > 1



  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 280 of 662   Document Page
                                                                       73-1 279
DOGS_ANNOY.




DISPLAY IF DOG_NUM > 0

VIDEO.




DISPLAY IF DOG_NUM > 0

BOOKS_TRAINER.




Now we’d like to ask some questions about you.




   Case 2:18-cv-01996-JPS        Filed 09/18/19   Page 281 of 662   Document Page
                                                                             73-1 280
P_30EXERCISE.




P_DIET.




P_SHOP_ORGANIC.




P_SHOP_NONGMO.




   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 282 of 662   Document Page
                                                                        73-1 281
P_SHOP_LOCAL.




DEMO_INST.




SEX.




MARITAL.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 283 of 662   Document Page
                                                                       73-1 282
QINCOME1.




DISPLAY IF QINCOME1 is answered

QINCOME1_CHECK. [NOTE THE VALUE BELOW ($10000) WILL CHANGE
ACCORDING TO RESPONDENT ANSWER TO QINCOME1]




DISPLAY IF QINCOME1 is NOT answered, or QINCOME2 is asked, but NOT answered

QINCOME2A.



   Case 2:18-cv-01996-JPS    Filed 09/18/19   Page 284 of 662   Document Page
                                                                         73-1 283
DISPLAY IF QINCOME2A = 1

QINCOME2B.




DISPLAY IF QINCOME2B = 1

QINCOME2C.




DISPLAY IF QINCOME2C = 1

QINCOME2D.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 285 of 662   Document Page
                                                                       73-1 284
DISPLAY IF QINCOME2D = 1

QINCOME2E.




DISPLAY IF QINCOME2E = 1

QINCOME2F.




DISPLAY IF QINCOME2A = 2

QINCOME2G.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 286 of 662   Document Page
                                                                       73-1 285
DISPLAY IF QINCOME2G = 1

QINCOME2H.




DISPLAY IF QINCOME2H = 1

QINCOME2I.




DISPLAY IF QINCOME2I = 1

QINCOME2J.



   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 287 of 662   Document Page
                                                                        73-1 286
DISPLAY IF QINCOME2J = 1

QINCOME2K.




DISPLAY IF QINCOME2K = 1

QINCOME2L.




THANK.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 288 of 662   Document Page
                                                                       73-1 287
ERROR_MESSAGE.




  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 289 of 662   Document Page
                                                                       73-1 288
                               Appendix C

                           NORC Field Report
                  (including information about the panel)




Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 290 of 662   Document Page
                                                                     73-1 289
                        PET FOODS 2019
                   GUSTAFSON GLUEK PLLC




                  AMERISPEAK FIELD REPORT
                                   April 2, 2019




NORC Account Manager:    Dan Costanzo | Costanzo-Dan@norc.org
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   Case 2:18-cv-01996-JPS     Filed 09/18/19      Page 291 of 662      Document Page
                                                                                73-1 290
                                         Study Introduction
NORC conducted the Pet Foods Study 2019 on behalf of Gustafson Gluek PLLC (“the client”)
using NORC’s AmeriSpeak® Panel for the sample source.

This survey was available in English and self-administered via the web mode of data collection.
AmeriSpeak web- and phone-preference panelists were all offered the chance to complete the survey
on the web. Detailed information below.

For more detailed information on the AmeriSpeak panel recruitment and management
methodology, please see the NORC Appendix 1 (“Technical Notes on AmeriSpeak Methodology”)
attached to this AmeriSpeak Field Report.

                                        Study-specific details
Sampling
A general population sample of U.S. adults age 18 and older was selected from NORC’s AmeriSpeak
Panel for this study. Both web-preference AmeriSpeak panelists and phone-preference AmeriSpeak
panelists were eligible for selection to this study. In total, NORC sampled 24,881 Panelists for this
study.

The sample for a specific study is selected from the AmeriSpeak Panel using sampling strata based
on age, race/Hispanic ethnicity, education, and gender (48 sampling strata in total). The size of the
selected sample per sampling stratum is determined by the population distribution for each stratum.
In addition, sample selection takes into account expected differential survey completion rates by
demographic groups so that the set of panel members with a completed interview for a study is a
representative sample of the target population. If panel household has one more than one active
adult panel member, only one adult in the household is eligible for selection (random within-
household sampling). Panelists selected for an AmeriSpeak study earlier in the business week are not
eligible for sample selection until the following business week.

For technical information about the AmeriSpeak Panel, including recruitment process and panel
management policies, please see the Appendix.

Third Party Hosting of the Survey Questionnaire
NORC utilized a survey questionnaire programmed and tested by The Strategy Team, and hosted on
Survey Gizmo to meet the needs of the study.

NORC programmed a “shell survey” in the standard AmeriSpeak look and feel for AmeriSpeak
respondents to enter. The NORC-hosted shell survey redirected the AmeriSpeak respondents to the
Survey Gizmo-hosted survey which collected the survey responses from the NORC AmeriSpeak
respondents.

Upon reaching the end of the Survey Gizmo-hosted survey, AmeriSpeak respondents were
redirected to the NORC-hosted shell, at which point they were counted as a completed survey
interview and awarded an incentive for their participation in the survey.




    Case 2:18-cv-01996-JPS          Filed 09/18/19       Page 292 of 662       Document Page
                                                                                        73-1 291
Field
A sub-sample of 1,059 AmeriSpeak web-mode panelists were invited to the survey on March 20,
2019 in a soft-launch. The initial data from the soft-launch was reviewed by The Strategy Team and
the remainder of sampled AmeriSpeak panelists (23,822) were invited to the survey on March 21,
2019.

Through the morning of April 2, 2019 6,728 interviews were completed.

                                 Survey response rate information
                            Panel Recruitment Rate           34.2%
                             Panel Retention Rate            85.1%
                            Survey Completion Rate           27.0%
                           Cumulative Response Rate           8.4%

Gaining Cooperation of AmeriSpeak Panelists for the Study
NORC dialed the sampled phone-preference panelists to invite the panelists to the survey. When
successful contact was made, NORC telephone interviewers invited the respondent to complete the
online survey, collected an email address (or confirmed one already in our records) and provided a
link to the survey via email to those who consented to being invited. The phone-preference panelists
received the same email invitation sent to web-preference panelists.

NORC made an average of 3.4 dial attempts per phone-preference respondent. Below is a summary
table of phone cases by final outcome achieved.

                  Last Outcome                                     Cases
                  Answering Machine                                1513
                  Busy Signal                                       106
                  Ring No Answer                                    178
                  Answered but unavailable to talk                  92
                  Completed                                         483
                  Language Barrier                                  10
                  Withdrawn from Panel or Phone
                                                                     64
                  Mode
                  Refusal                                            54
                  Web Breakoff                                       17
                  Respondent could or would not                      588
                  provide an email address
                  No valid phone number for                          623
                  respondent
                  Technical Issue                                     1
                  Grand Total                                       3729




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 293 of 662       Document Page
                                                                                       73-1 292
Additionally, NORC sent pre-notification postcards to phone-preference Panelists on March 27,
2019. The postcards encouraged these phone-preference Panelists to complete the survey on the
web (postcard screenshots are available in NORC Appendix 2).

To encourage study cooperation, NORC sent email reminders to sampled panelists on the following
dates:

    •   March 20/21 – Invitation
    •   March 26 – Reminder 1
    •   March 27 – Postcard mailed to phone-preference Panelists
    •   March 29 – Reminder 2
    •   April 1 - Reminder 3
    •   April 2 - Reminder 4

Please see NORC Appendix 2 for screenshots of the emails sent to the AmeriSpeak panelists.

Panelists were offered the cash equivalent of $5 for completing this survey. Per instruction from The
Strategy Team, the incentive was increased to the cash equivalent of $10 toward the end of the field
period to encourage cooperation.

Data processing
NORC prepared a fully labeled data file of the demographic data for the entire invited sample.

Statistical Weighting
NORC provided the study-specific base sampling weights with the demographic data to allow The Strategy
Team to derive post-stratification weights for the study respondents.

Study-specific base sampling weights are derived using a combination of the final panel base sampling weights
and the probability of selection associated with the sampled panel member

Panel base sampling weights for all sampled housing units are computed as the inverse of probability of
selection from the NORC National Frame (the sampling frame that is used to sample housing units
for AmeriSpeak) or address-based sample. The sample design and recruitment protocol for the
AmeriSpeak Panel involves subsampling of initial non-respondent housing units. These subsampled
non-respondent housing units are selected for an in-person follow-up. The subsample of housing
units that are selected for the nonresponse follow-up (NRFU) have their panel base sampling
weights inflated by the inverse of the subsampling rate. The base sampling weights are further
adjusted to account for unknown eligibility and nonresponse among eligible housing units. The
household-level nonresponse adjusted weights are then post-stratified to external counts for number
of households obtained from the Current Population Survey. Then, these household-level post-
stratified weights are assigned to each eligible adult in every recruited household. Furthermore, a
person-level nonresponse adjustment accounts for nonresponding adults within a recruited
household.




    Case 2:18-cv-01996-JPS              Filed 09/18/19        Page 294 of 662         Document Page
                                                                                               73-1 293
Finally, panel base sampling weights are raked to external population totals associated with age, sex,
education, race/ethnicity, housing tenure, telephone status, and Census Division. The external
population totals are obtained from the Current Population Survey.

Deliverables
The following files were created as part of the study deliverables:

    •   Sampled respondent demographic data file in SPSS and Stata format
    •   Codebook in Excel format
    •   Final programming questionnaire in Word document
    •   Field report documenting study procedures




    Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 295 of 662         Document Page
                                                                                             73-1 294
                                               NORC Appendix 1
          TECHNICAL OVERVIEW OF THE AMERISPEAK® PANEL
            NORC’S PROBABILITY-BASED HOUSEHOLD PANEL
Updated February 18, 2019
Prepared by J. Michael Dennis, Ph.D.

Funded and operated by NORC at the University of Chicago, AmeriSpeak® is a probability-based
panel designed to be representative of the US household population. Randomly selected US
households are sampled with a known, non-zero probability of selection from the NORC National
Frame and address-based sample, and then contacted by US mail, telephone interviewers, overnight
express mailers, and field interviewers (face to face). AmeriSpeak panelists participate in NORC
studies or studies conducted by NORC on behalf of NORC’s clients.

In 2018, the AmeriSpeak Panel expanded to approximately 30,000 households and will expand to
35,000 households in 2019. The AmeriSpeak Panel includes sample support for surveys of various
segments through AmeriSpeak Latino, AmeriSpeak Teen, and AmeriSpeak Young Adult (which
includes an oversample of African Americans, Hispanics, and Asians age 18-34). AmeriSpeak is also
the probability-sample source for TrueNorthTM, which combines probability-based AmeriSpeak and
non-probability online samples using calibrating statistical weights derived from AmeriSpeak, the
American Community Survey, and other data sources.14

Sample Frame
In order to provide a nationally representative sample, AmeriSpeak leverages the NORC National
Frame, which provides sample coverage for over 97 percent of the U.S. households. The 2010
National Frame used a two-stage probability sample design to select a representative sample of
households in the United States. The first stage—the sampling unit—is a National Frame Area
(NFA), which is either an entire metropolitan area (made up of one or more counties) or a county
(some counties were combined so that each NFA contains a population of at least 10,000). The
largest NFAs with a population of at least 1,543,728 (0.5 percent of the 2010 Census U.S.
population) were selected with certainty; these areas have a high-population density, and are
dominated by tracts with street-style addresses. These areas contain 56 percent of the population
within 8 percent of the geographic area of the United States. The remaining areas were stratified into
areas where street-style addresses predominate, and the remaining areas, which are less likely to have
street -style addresses. The latter stratum (“rural” areas) comprises 81 percent of the geographic area,
but only 14 percent of the population.

Within the selected NFAs, the second stage sampling unit is a segment, defined in terms of either
Census tracts or block groups, containing at least 300 housing units according to the 2010 Census. A
stratified probability sample of 1,514 segments was selected with probability proportional to size.
For most of the 1,514 segments, the U.S. Postal Service Delivery Sequence File (DSF) provided over
90 percent coverage of the segments in terms of city-style addresses that are geo-codeable. For the
14 For more information, see “Estimation Methods for Nonprobability Samples with a Companion Probability Sample”

authored by Michael Yang, N. Ganesh, Edward Mulrow, and Vicki Pineau. Published in the 2018 JSM Proceedings,
Survey Research Methods Section. Alexandria, VA: American Statistical Association. 1715-1723. The paper is available at
https://amerispeak.norc.org/research/. Please note that the TrueNorthTM trademarking was in progress when this paper
was published. Hence, the authors do not reference the TrueNorthTM name on this paper.



    Case 2:18-cv-01996-JPS                 Filed 09/18/19         Page 296 of 662            Document Page
                                                                                                      73-1 295
123 segments where the DSF provided insufficient coverage, we enhanced the DSF address list with
in-person listing. The National Frame contains almost 3 million households, including over 80,000
rural households added through the in-person listing.

The National Frame involves addresses in almost every state. For the states that are not included in
the National Frame, AmeriSpeak selected an address-based sample (ABS) in 2016 through 2018
from the USPS DSF to assure AmeriSpeak sample representation for all US States and Washington,
DC.

In 2017, a targeted address-based sample was added to AmeriSpeak recruitment in order to develop
a new Latino Panel with adequate representation of Spanish-language-dominant Hispanics. Census
tracts with high incidence (at least 30%) of Spanish-dominant Hispanics were targeted for this
recruitment. Furthermore, within these Census tracts, households that were flagged as Hispanic
based on consumer vendor data (that are typically used for direct-mail marketing) were oversampled.
This new AmeriSpeak Latino Panel contains approximately 5,400 Hispanic panelists with 24% of
those panelists being Spanish-language dominant. As of February 2019, 11% of AmeriSpeak Panel
(including the Latino Panel) recruited adults were sourced from the targeted address-based sample
and 89% from the National Frame. Proper weights allow the full use of the combined sample.

Sample Selection for Panel Recruitment
The 2014-2018 AmeriSpeak Panel sample consists of nationally representative housing units drawn
primarily from the 2010 NORC National Sample Frame. To create AmeriSpeak Latino and provide
sample coverage for states where the National Frame is not operative, a secondary source is address-
based sampling, which accounts for 12% of the 2014-2018 sample. The 2010 NORC National
Sample Frame is stratified based on segment (Census tract or Census block group) characteristics
such as age and race/ethnicity composition of the segment, and then, a stratified simple random
sample of housing units is selected. Specifically, based on Census tract-level data, segments were
classified as having a higher concentration of 18-24 year old adults or not, and a higher
concentration of Hispanics, non-Hispanic African Americans, and other. Based on these strata
definitions, 6 strata (2 based on age times 3 based on race/ethnicity) were used to oversample
housing units in segments higher in young adults and/or Hispanics and non-Hispanic African-
Americans. This is referred to as the initial sample or first stage of panel recruitment.

In the second stage of panel recruitment, initially sampled but nonresponding housing units are
subsampled for a nonresponse follow-up (NRFU). At this stage, consumer vendor data are matched
to housing units, and housing units that are flagged (based on consumer vendor data) as having a
young adult (18-34 years of age) or minority (Hispanic and non-Hispanic African American) are
oversampled for the NRFU. Overall, approximately one in five initially nonresponding housing units
are subsampled for NRFU. Due to NRFU, these initially nonresponding housing units have a much
higher selection probability compared to the housing units that were recruited during the first stage
of panel recruitment. Note that a small fraction of initially nonresponding housing units are not
eligible for NRFU due to these housing units being classified as “hard refusals” or having an
appointment for a call back from NORC.

In summary, there are mainly two reasons why the sampling design for AmeriSpeak Panel
recruitment deviates from Equal Probability of Selection Method (EPSEM) sampling: (a)
oversampling of housing units in segments with a higher concentration of young adults and
minorities results in the sample selection probabilities being higher for housing units in these



    Case 2:18-cv-01996-JPS           Filed 09/18/19       Page 297 of 662        Document Page
                                                                                          73-1 296
segments; and (b) the nonresponse follow-up effort results in initially nonresponding housing units
having a much higher selection probability. Furthermore, oversampling associated with NRFU
results in higher selection probabilities for initially nonresponding housing units that are flagged
(based on consumer vendor data) using demographics that are correlated with sample member’s
propensity to respond. The initial and NRFU sampling procedures are examined and modified each
year to more efficiently recruit types of panelists who are less likely to respond based on their certain
demographic characteristics.

AmeriSpeak Panel Recruitment Procedures
Recruitment is a two-stage process: initial recruitment using less expensive methods and then non-
response follow-up using personal interviewers. For the initial recruitment, sample units are invited
to join AmeriSpeak online by visiting the panel website AmeriSpeak.org or by telephone (in-
bound/outbound supported). English and Spanish language are supported for both online and
telephone recruitment. Study invitations are communicated via an over-sized pre-notification
postcard, a USPS recruitment package in a 9”x12” envelope (containing a cover letter, a summary of
the privacy policy, FAQs, and a study brochure), two follow-up post cards, and also contact by
NORC’s telephone research center for sample units matched to a telephone number.

The second-stage non-response follow-up targets a stratified random sub-sample of the non-
responders from the initial recruitment. Units sampled for the non-response follow-up are sent by
Federal Express a new recruitment package with an enhanced incentive offer. NORC field
interviewers then make personal, face-to-face visits to the respondents’ homes to encourage
participation. NORC field interviewers administer the recruitment survey in-person using CAPI or
else encourage the respondents to register at AmeriSpeak.org or call the toll-free AmeriSpeak
telephone number to register.

Recruiting Non-Internet and “Net Averse” Households
Under certain conditions, AmeriSpeak gives panelists a choice regarding their preferred mode for
future participation in AmeriSpeak surveys. As of February 2019, 83% of the active panelists were
enrolled in AmeriSpeak to receive online surveys, while 17% of the active panelists agreed to
participate in AmeriSpeak telephone mode surveys. For the 2016 through 2018 recruitment,
respondents provided an option of online or telephone modes include: persons without internet
access, persons whose only internet access is via a smartphone, and persons with internet access but
unwilling to share an email address. A recruited household can consist of both web-mode and
phone-mode panelists residing in the same household.

Impact of Non-Response Follow-up
The non-response follow-up (NRFU) is instrumental for producing a credible AAPOR response
rate for the panel, boosting the panel recruitment response rate by a factor of 6.1 (AAPOR RR3,
weighted to take into account selection probabilities). Additionally, NRFU reduces non-response
bias significantly by improving the representativeness of the AmeriSpeak panel sample with respect
to certain hard-to-reach segments of the population underrepresented by recruitment relying only
mail and phone. NRFU improves representation for demographic segments (typically more reluctant
to respond to surveys), including lower income households, cell-phone only households, renters,
persons age 18 to 34, African Americans, Hispanics, and persons without a high school degree or
have only a high school degree (no college). Even though NRFU panelists are more reluctant to
complete surveys, the addition of NRFU panelists reduced total absolute bias on average 5-21%




    Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 298 of 662        Document Page
                                                                                           73-1 297
when compared to the initial stage recruits (among examined surveys).15 Compared to panelists
recruited in the initial stage, panelists recruited via the non-response follow-up campaign overall
report more moderate opinions towards policy issues and are somewhat more conservative. Based
on study specific findings, NRFU panelists report being less knowledgeable about science, report
less interest in current events and topics in the news (such as climate change and energy resources),
and are less likely to read a print newspaper (more likely to read the news online and use social
media). 16 They are also more likely to attend church, less likely to be in favor of gun control policies,
and more likely to eat at a fast food restaurant than the initial stage recruits. Accordingly, our
extensive research on this topic illustrates that NRFU panelists make the substantive estimates in
any AmeriSpeak study more inclusive and accurate.

AmeriSpeak Panel Recruitment Response Rate and Other Sample Metrics
The AAPOR RR3 (response rate) for the 2014-2018 panel recruitment 34.2% (weighted to take into
account selection probabilities).17 The estimated cumulative AAPOR RR3 for client surveys is 10%
to 20% (varying according to study parameters and taking into account all sources of non-response
including panel recruitment, panel household attrition, and survey participation).18 NORC
documented the AAPOR response rate calculation methodology for 2014-2015 recruitment.19

Key statistics with respect to the 2014-2018 recruited households are as follows: 52% recruited via
the non-response follow-up recruitment using overnight Federal Express mailers and face-to-face
methodology (with NORC field staff visiting households); 22% indicated a preference for the
telephone mode of data collection for participating in AmeriSpeak studies; 25% of the recruited
households are non-Internet20; 79% are cell-phone only or cell-phone mostly; 17% are African-
American and 23% Hispanic; and 35% have household income below $30,000 (compared to CPS
benchmark of 26%).21

Mixed-Mode Data Collection
Panelists may participate in two to three AmeriSpeak Panel studies per month via online (computer,
15 See “Nonresponse Follow-up Impact on AmeriSpeak Panel Sample Composition and Representativeness” authored by

Ipek Bilgen, J. Michael Dennis, N. Ganesh. The paper is available at https://amerispeak.norc.org/research/;
Total Absolute Error = [Sum(|ACS 2016 Benchmark - Unweighted Variable Percentage Point|)]; see pages 8-13.
16 See “The Undercounted: Measuring the Impact of ‘Nonresponse Follow-up’ on Research Data and Outcome

Measures” authored by Ipek Bilgen, J. Michael Dennis, N. Ganesh. The paper will be soon available at
https://amerispeak.norc.org/research/.
17 The response rate calculation incorporates the selection probabilities of the samples for the initial recruitment and

non-response follow-up stages, as calculated by the US Bureau of the Census for the American Community Survey.
18 A properly calculated cumulative AAPOR response rate for panel-based research takes into account all sources of

non-response at each stage of the panel recruitment, management, and survey administration process. A common
misapplication of the term “response rate” in online panel surveys is to represent the survey-specific cooperation rate as
the “cumulative survey response rate.”
19 See “Response Rate Calculation Methodology for Recruitment of a Two-Phase Probability-Based Panel: The Case of

AmeriSpeak” authored by Robert Montgomery, J. Michael Dennis, N. Ganesh. The paper is available at
https://amerispeak.norc.org/research/.
20
   The non-internet households (HHs) are those that do not select “High-speed, broadband internet at home (such as
cable or DSL)” or “Dial-up internet at home” response options when they are asked “What kind of internet access do
you have? Please select all that apply” item in the recruitment survey. The non-internet HHs include those that only use
internet on a cell connection or mobile phone.
21
   For transparency purposes, unweighted percentages are presented in this section. Hence, these results do not take into
account oversampling and selection probabilities. The base weighted distributions that take take into account selection
probabilities can be provided upon request.



    Case 2:18-cv-01996-JPS                  Filed 09/18/19          Page 299 of 662             Document Page
                                                                                                         73-1 298
tablet, or smartphones) or by CATI phone. CATI phone mode respondents represent a population
currently under-represented in web panels that exclude non-internet households or “net averse”
persons. NORC’s telephone interviewers administer the phone mode of survey questionnaires using
a data collection system supporting both the phone and web modes of data collection, providing an
integrated sample management and data collection platform. For panelists using smartphones for
web-mode AmeriSpeak surveys, the NORC survey system renders an optimized presentation of the
survey questions for these mobile users. For general population client studies, approximately 17% of
the completed interviews by the active panelists are completed via the telephone mode.

Panel Management Policies
NORC maintains strict rules to limit respondent burden and reduce the risk of panel fatigue. On
average, AmeriSpeak panel members typically participate in AmeriSpeak web-based or phone-based
studies two to three times a month.

Because the risk of panel attrition increases with the fielding of poorly constructed survey
questionnaires, the AmeriSpeak team works with NORC clients to create surveys that provide an
appropriate user experience for AmeriSpeak panelists. AmeriSpeak will not field surveys that in our
professional opinion will result in a poor user experience for our panelists and in panel attrition.
                            About NORC at the University of Chicago
As one of the world’s foremost independent research institutions, NORC at the University of Chicago
delivers objective data and meaningful analysis to help decision-makers and leading organizations make
informed choices and identify new opportunities. Since 1941, NORC has applied sophisticated methods and
tools, innovative and cost-effective solutions, and the highest standards of scientific integrity and quality to
conduct and advance research on critical issues. Today, NORC expands on this tradition by partnering with
government, business, and nonprofit clients to create deep insight across a broad range of topics and to
disseminate useful knowledge throughout society.

Headquartered in downtown Chicago, NORC works in over 40 countries around the world, with
additional offices on the University of Chicago campus, the DC metro area, Atlanta, Boston, and
San Francisco.
                                   ADDITIONAL RESOURCES
To learn more about AmeriSpeak or to share an RFP, please contact AmeriSpeak at AmeriSpeak-
BD@norc.org. Information about AmeriSpeak capabilities and research papers are available online
at AmeriSpeak.NORC.org.




    Case 2:18-cv-01996-JPS               Filed 09/18/19        Page 300 of 662           Document Page
                                                                                                  73-1 299
                           NORC APPENDIX 2
                             Invitation Email
Email Subject: SID 811 - An Invitation To Complete Your AmeriSpeak Survey




 Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 301 of 662   Document Page
                                                                      73-1 300
                              Reminder 1
Email Subject: SID 811 - An Invitation To Complete Your AmeriSpeak Survey




Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 302 of 662   Document Page
                                                                     73-1 301
                              Reminder 2
Email Subject: SID 811 –EARN DOUBLE POINTS for this survey: worth 10,000
                               AmeriPoints!




 Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 303 of 662   Document Page
                                                                      73-1 302
                                  Reminder 3
Email Subject: Last Chance for Your Latest AmeriSpeak Survey worth 10,000 points!




  Case 2:18-cv-01996-JPS     Filed 09/18/19   Page 304 of 662   Document Page
                                                                         73-1 303
                          Introduction Screen




Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 305 of 662   Document Page
                                                                     73-1 304
                            Closing Screen




Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 306 of 662   Document Page
                                                                     73-1 305
               Postcard for Phone-Preference Panelists
                               (Front)




Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 307 of 662   Document Page
                                                                     73-1 306
               Postcard for Phone-Preference Panelists
                               (Back)




Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 308 of 662   Document Page
                                                                     73-1 307
                               Appendix D

                   Sample Characteristics and Weighting




Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 309 of 662   Document Page
                                                                     73-1 308
Benchmarking

        Benchmarks for this study were drawn from three large federal surveys of the American

adult population: the Current Population Survey (CPS), the American Community Survey

(ACS), and the National Health Interview Survey (NHIS). The goal when drawing benchmarks

from these samples, as for any benchmarking exercise, was to simultaneously maximize the

accuracy of the method used to generate the benchmarking sample and to draw data from the

most recent possible study so that the numbers used are timely. These datasets have been the

most commonly used in benchmarking studies because they have involved large samples of

Americans, used gold standard survey methods, were conducted on a regular basis, and have had

high response rates.


                               Current Population Survey (CPS)

OVERVIEW

        The CPS is a monthly survey of households that provides data on employment and

demographic characteristics of household members. The CPS uses rotating samples of

households. Randomly selected housing units are surveyed every month for four months, are not

surveyed for the next eight months, and then are surveyed again every month for four months.

Housing units are weighted to account for probability of selection and unit non-response. Each

household member is weighted to account for: (1) probability of household selection; (2) unit

non-response; (3) deviations from known population distributions of demographic

characteristics.

        Demographic and labor force data are collected during the monthly CPS interviews. One

knowledgeable adult in a household (called the household informant) provides information about

the age, sex, marital status, educational attainment, race, ethnicity, veteran and current armed




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 310 of 662       Document Page
                                                                                       73-1 309
forces statuses, citizenship status, and relationship to the person who owns or rents the home for

all people who usually live in the housing unit. Although CPS interviewers attempt to obtain

labor force data from each household member, data for approximately half of these members are

provided by proxies.

       Some CPS interviews are conducted face-to-face, and others are conducted via telephone.

Unless the household informant specifically requests a telephone interview, every informant for

a household that has not previously completed a CPS interview participates in a face-to-face

interview.

CPS MARCH 2018 SURVEY

       The March 2018 CPS survey included a demographics questionnaire, a labor force

questionnaire, and an Annual Social and Economic Supplement (ASEC). Informants in

households participating in a CPS interview for the first time answered questions in the

demographics questionnaire about the age, sex, marital status, educational attainment, race,

ethnicity, veteran and current armed forces statuses, citizenship status, and relationship to the

person who owns or rents the home for all people who usually live in the housing unit.

Informants in households that previously participated in a CPS interview answered questions

about any changes to the people living in the household. Household members or household

informants completing the labor force questionnaire answered questions about work-related

activities during a target week. Household members or household informants completing the

ASEC questionnaire answered questions about work experience, income, noncash benefits, and

migration.




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 311 of 662        Document Page
                                                                                        73-1 310
MARCH 2017 DATA USED FOR ADDITIONAL BENCHMARKS

        Data used to generate some of the additional benchmarks are derived from the addresses

of eligible and participating randomly sampled households. The addresses of randomly sampled

households are used to determine the census regions and metropolitan statuses for participating

households. The metropolitan status of the county in which a household is located is determined

by standards developed by the United States Office of Management and Budget. Those standards

define a metropolitan statistical area as:

        A Core Based Statistical Area associated with at least one urbanized area that has a

population of at least 50,000. The Metropolitan Statistical Area comprises the central county or

counties containing the core, plus adjacent outlying counties having a high degree of social and

economic integration with the central county or counties as measured through commuting.22

Household size benchmarks are derived from information provided by household informants

when developing the household roster. Household informants answer questions about the people

residing in, and relations among the people residing in the household. Answers to these questions

are used to identify the number of individuals living in the participating household, which the

CPS defines as:

        A household consists of all the persons who occupy a house, an apartment, or other group

        of rooms, or a room, which constitutes a housing unit. A group of rooms or a single room

        is regarded as a housing unit when it is occupied as separate living quarters; that is, when

        the occupants do not live with any other person in the structure, and when there is direct

        access from the outside or through a common hall. The count of households excludes



22
  United States Office of Management and Budget (2010). 2010 Standards for Delineating Metropolitan and
Micropolitan Statistical Areas; Notice. Available at https://www.census.gov/programs-surveys/metro-
micro/about/omb-standards.html.



     Case 2:18-cv-01996-JPS            Filed 09/18/19        Page 312 of 662          Document Page
                                                                                               73-1 311
        persons living in group quarters, such as military barracks and institutions. Inmates of

        institutions (mental hospitals, rest homes, correctional institutions, etc.) are not included

        in the survey.23

        The following questions are used to build the roster:

(What are the names of all persons living or staying here? / What is the name of the next
person)?

Is this (name of person talking about)’s usual place of residence?

        1. Yes
        2. No
        3. Proxy

Does (name of person talking about) have a usual place of residence elsewhere?

        1. Yes
        2. No

Are there any other persons 15 years old or older now living or staying there? (Who have not
been listed.)

        1. Yes
        2. No

How many other?

I have listed . . . READ NAMES. Have I missed any babies or small children?

        1. Yes
        2. No

Have I missed anyone who usually lives here but is away now -traveling, at school, or in a
hospital?

        1.Yes
        2. No

Have I missed any lodgers, boarders, or persons you employ who live here?

        1. Yes

23
   Current Population Survey (2017). 2017 Annual Social and Economic (ASEC) Supplement. Available at:
https://www2.census.gov/programs-surveys/cps/techdocs/.



     Case 2:18-cv-01996-JPS            Filed 09/18/19        Page 313 of 662         Document Page
                                                                                              73-1 312
       2. No

Have I missed anyone else staying here?

       1. Yes
       2. No

What is the name of the person or one of the persons who owns or rents that home?

How (are / is) (name/you) related to (reference person's name/you)?

       42. Opposite-sex Spouse (Husband/Wife)
       43. Opposite-sex Unmarried Partner
       44. Same-sex Spouse (Husband/Wife)
       45. Same-sex Unmarried Partner
       46. Child
       47. Grandchild
       48. Parent (Mother/Father)
       49. Brother/Sister
       50. Other relative (Aunt, Cousin, Nephew, Mother-in-law, etc.)
       51. Foster_Child
       52. Housemate/Roommate
       53. Roomer/Boarder
       54. Other nonrelative

Earlier you said that (name of person talking about) (was/were) not related to (reference person's
name/you). (Are / Is) (name of person talking about) related to anyone else in this household?

       1. Yes
       2. No

Who (are / is) (name of person talking about) related to?
PROBE: Anyone else?

Ask if necessary: Is (name's/your) parent a member of this household?

(Are / Is) (name of person talking about) (your / mother's name) biological, step, or adopted
child?

       1. Biological
       2. Step
       3. Adopted

Ask if necessary: Is (name's/your) other parent a member of this household?

(Are / Is) (name of person talking about) (your / father's name) biological, step, or adopted child?




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 314 of 662       Document Page
                                                                                       73-1 313
         1. Biological
         2. Step
         3. Adopted

(REF_FNAME ^REF_LNAME’s) parent is also (name of person talking about)’s parent, is that
correct?

         1. Yes
         2. No

         The Current Population Survey uses three different, nested units of observation. Data

from the study are generated at the household level, the family level, and the person level for all

individuals in each household. Because weighting is designed to yield a collection of persons

who are nationally representative, it is necessary to translate household- and family-level

variables to the person level. Also, because the data for most surveys is designed to represent the

adult (18 and older) population, it is important to exclude children from all estimates. To

accomplish this, metrics at the household and family level are appended to the person-level file

for all individuals in each household and family respectively. Individuals under age 18 are also

dropped from the dataset.

         To produce the benchmarks used in this study, the following variables were extracted

from the March 2018 CPS Public Use Microdata file (coding is noted in brackets if recodes were

done):

Household-Level Variables

Region (4-level)
GEREG (REGION)

         1        Northeast
         2        Midwest (Formerly North Central)
         3        South
         4        West




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 315 of 662       Document Page
                                                                                       73-1 314
Metropolitan Status
GTMETSTA (METROPOLITAN STATUS)

        1      Metropolitan
        2      Non-metropolitan
        3      Not identified

Total household income

        HTOTVAL

        Range: -$389,961 to $23,399,766

        [This variable was recoded into 18 categories.]


Household size including children

H_NUMPER (TOTAL NUMBER OF PERSONS LIVING IN THE HOUSEHOLD
(HOUSEHOLD MEMBERS)

        1-39   Persons in household

        [This variable was recoded so that all values of 6 or more persons were collapsed into a
        single category.]


Person-Level Variables

Sex

A_SEX

        1 Male
        2 Female

Age

A_AGE

        00-79 0-79 Years of age
        80     80-84 Years of age
        81     85+ Years of age

[This variable was recoded into 4 categories: 18-29, 30-44, 45-59, and 60+.]




      Case 2:18-cv-01996-JPS        Filed 09/18/19    Page 316 of 662       Document Page
                                                                                     73-1 315
Educational attainment

A_HGA

       00     Children [NA]
       31     Less than 1st grade [No HS diploma]
       32     1st,2nd,3rd,or 4th grade [No HS diploma]
       33     5th or 6th grade [No HS diploma]
       34     7th and 8th grade [No HS diploma]
       35     9th grade [No HS diploma]
       36     10th grade [No HS diploma]
       37     11th grade [No HS diploma]
       38     12th grade no diploma [No HS diploma]
       39     High school graduate – high school diploma or equivalent [HS graduate or
              equivalent]
       40     Some college but no degree [Some college]
       41     Associate degree in college - occupation/vocation program [Some college]
       42     Associate degree in college - academic program [Some college]
       43     Bachelor's degree (for example: BA,AB,BS) [BA or above]
       44     Master's degree (for example: MA,MS,MENG,MED,MSW, MBA) [BA or above]
       45     Professional school degree (for example: MD,DDS,DVM,LLB,JD) [BA or above]
       46     Doctorate degree (for example: PHD,EDD) [BA or above]

Race

PRDTRACE

       01     White only [White]
       02     Black only [Black]
       03     American Indian, Alaskan Native only (AI) [Other]
       04     Asian only [Asian/Pacific Islander]
       05     Hawaiian/Pacific Islander only (HP) [Asian/Pacific Islander]
       06     White-Black [Multiple]
       07     White-AI [Multiple]
       08     White-Asian [Multiple]
       09     White-HP [Multiple]
       10     Black-AI [Multiple]
       11     Black-Asian [Multiple]
       12     Black-HP [Multiple]
       13     AI-Asian [Multiple]
       14     AI-HP [Multiple]
       15     Asian-HP [Asian/Pacific Islander]
       16     White-Black-AI [Multiple]
       17     White-Black-Asian [Multiple]
       18     White-Black-HP [Multiple]
       19     White-AI-Asian [Multiple]




   Case 2:18-cv-01996-JPS        Filed 09/18/19     Page 317 of 662          Document Page
                                                                                      73-1 316
       20      White-AI-HP [Multiple]
       21      White-Asian-HP [Multiple]
       22      Black-AI-Asian [Multiple]
       23      White-Black-AI-Asian [Multiple]
       24      White-AI-Asian-HP [Multiple]
       25      Other 3 race comb. [Multiple]
       26      Other 4 or 5 race comb. [Multiple]


Hispanic

PEHSPNON

       1 Yes
       2 No


Race/Ethnicity Recoding

       Responses to the Race and Hispanic Ethnicity questions were combined such that

respondents who reported that they were Hispanic were coded as Hispanic instead of their

answer to the Race question. Those that were not identified as Hispanic were then coded as their

racial category and Non-Hispanic.

Employment Status

PEMLR

       1 Employed – at work [Employed]
       2 Employed – absent [Employed]
       3 Unemployed – on layoff [Unemployed – on layoff]
       4 Unemployed – looking [Unemployed – looking]
       5 Not in labor force – retired [Retired]
       6 Not in labor force – disabled [Disabled]
       7 Not in labor force – other [Other]


Class of Worker

PRCOW1

       1 Federal government
       2 State government




   Case 2:18-cv-01996-JPS           Filed 09/18/19    Page 318 of 662       Document Page
                                                                                     73-1 317
          3 Local government
          4 Private, for profit
          5 Private, non-profit
          6 Self-employed, incorporated
          7 Self-employed, unincorporated
          8 Without pay


Employment

          Responses to the Employment Status and Class of Worker questions were combined such

that respondents who were classified as Employed for Employment Status were divided into

those who were self-employed (6 or 7 for Class of Worker) or paid employees (every other

class).

Marital Status

A_MARITL

          1 Married – civilian spouse [Married]
          2 Married – AF spouse present [Married]
          3 Married – spouse absent (exc. Separated) [Married]
          4 Widowed
          5 Divorced
          6 Separated
          7 Never married


                               American Community Survey (ACS)

          The ACS is an ongoing survey that collects data on social, economic, housing, and

demographic characteristics of household in the United States population. The United States

Census Bureau randomly samples over 3.5 million addresses each year for the ACS. The Census

Bureau sends household questionnaires to each randomly sampled address, along with

instructions for completing an online version of the household questionnaire. Households that do

not return the completed questionnaire by mail or complete the online version of the

questionnaire within a few weeks are mailed an additional household questionnaire. Census




    Case 2:18-cv-01996-JPS           Filed 09/18/19     Page 319 of 662      Document Page
                                                                                      73-1 318
Bureau field representatives visit randomly selected addresses for which all mail contact attempts

have not produced a completed household questionnaire, and addresses with post office box

delivery addresses, who conduct in-person household interviews. The ACS also includes samples

of people living in group quarters (e.g., dormitories and nursing homes). Finally, the Census

Bureau contacts households by telephone to fill in incomplete questionnaires or clarify

responses.

          Each household member in the 2017 ACS is weighted to account for household and

person factors. The household factors include: (1) probability of household selection; (2)

interview mode subsampling; (3) variation in monthly response by interview mode; (4) unit non-

response; (5) non-interview factor mode; (6) mode bias; and (7) geographic location. Person

factors include: (1) regional population estimates; (2) householder and marital status; and (3)

known population distributions of demographic characteristics.

          The ACS publishes annual housing unit response rates at the national level. This response

rate is based on all sampled addresses that have not been identified as non-existent or

commercial, addresses not selected in the subsample for in-person follow-up interviews, and

addresses not interviewed due to refusals or other reasons. The published housing unit response

rate for the 2017 ACS is 93.7.24

          Data collected through the 2017 ACS were used to estimate housing tenure and housing

type benchmarks. The questions in the 2017 ACS questionnaire used to estimate the benchmarks

were:

Please answer the following questions about the house, apartment, or mobile home at the address
on the mailing label.




24
     Available at: https://www.census.gov/acs/www/methodology/sample-size-and-data-quality/response-rates/



      Case 2:18-cv-01996-JPS              Filed 09/18/19        Page 320 of 662          Document Page
                                                                                                  73-1 319
1. Which best describes this building? Include all apartments, flats, etc., even if vacant.
(variable: BLD)

           1. A mobile home
           2. A one-family house detached from any other house
           3. A one-family house attached to one or more houses
           4. A building with 2 apartments
           5. A building with 3 or 4 apartments
           6. A building with 5 to 9 apartments
           7. A building with 10 to 19 apartments
           8. A building with 20 to 49 apartments
           9. A building with 50 or more apartments
           10. Boat, RV, van, etc.

9. At this house, apartment, or mobile home – do you or any member of this household have
access to the Internet? (variable: ACCESS)

           1. Yes, by paying a cell phone company or Internet service provider
           2. Yes, without paying a cell phone company or Internet service provider
           3. No access to the Internet at this house, apartment, or mobile home

16. Is this house, apartment, or mobile home – Mark (X) ONE box. (variable: TEN)

           1. Owned by you or someone in this household with a mortgage or loan? Include
              home equity loans.
           2. Owned by you or someone in this household free and clear (without a mortgage or
              loan)?
           3. Rented?
           4. Occupied without payment of rent?

       A housing tenure variable was created by combining all household members for whom

answers to question #16 in the ACS was 1 or 2 into an “Owned or being bought” category. The

housing tenure variable also included the original categories 3 and 4 in the ACS question #16.

For the housing type variable, all household members for whom answers to ACS question #1

were 4, 5, 6, 7, 8, or 9 were collapsed into a single “Building with 2 or more apartments”

category. No additional changes were made to the original categories in #1. For the Internet

access variable, individuals who reported that they had Internet access at home (1 or 2) were

coded as having access and those who did not (3) were coded as not having access. All persons




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 321 of 662        Document Page
                                                                                        73-1 320
identified as 18 years of age or older were weighted using the person weights to produce the

estimated housing tenure, Internet access and housing type benchmarks.


                           National Health Interview Survey (NHIS)

       The NHIS is an annual cross-sectional household interview survey of the civilian

noninstitutionalized United States population. Persons in long-term care institutions, correctional

facilities, and U.S. nationals living in foreign countries are excluded from the survey.

Households and non-institutional group quarters (e.g., college dormitories) are randomly

sampled following a multi-stage area probability design that results in samples of units from

every state and the District of Columbia. The NHIS is the principal source of information on the

health of the civilian non-institutionalized population of the United States and is one of the major

data collection programs of the National Center for Health Statistics.

       The NHIS conducts interviews throughout the year. Randomly sampled households

receive a mailed letter explaining the purpose of the NHIS and providing general information

about NHIS interviews. The NHIS uses field interviewers to conduct in-person interviews of

members of randomly sampled households. One household member who is at least the age of

legal majority for the state of residence is identified as the “household respondent”, and the

household respondent completes the Household Composition section of the questionnaire. One

resident family member who is at least the age of legal majority is identified as the “family

respondent”, and the family respondent completes a Family Core questionnaire on behalf of all

family members living in the household. While NHIS field interviewers conduct other interviews

with randomly selected household members, the benchmarks estimated from 2016 NHIS data

came only from the family core questionnaire.




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 322 of 662       Document Page
                                                                                       73-1 321
        The 2017 NHIS public use microdata file contained information for 32,617 households

containing 78,132 persons in 33,157 families. The NHIS reports the family level response rate

for the 2017 NHIS, which reflects the number of families providing sufficient family level data

in randomly selected and eligible households, at 65.7%. Of the randomly selected and eligible

households, 23.7% refused to participate or failed to sufficiently complete an interview. Most of

the remaining non-interviews were the result of failures to locate a household respondent after

repeated contact attempts.25

        Each person in the 2017 NHIS is weighted to account for: (1) probability of household

selection; (2) known population distributions of demographic characteristics.

Answers to three questions in the 2017 NHIS Family Core questionnaire were used to estimate

the PHONESERVICE benchmarks. One question identified families with landline telephones in

their households, another identified families with cell phones, and the third measured phone

usage in families with landline and cell phones. The question wordings and response options to

these questions are:

Landline service (CURWRK)
Is there at least one telephone INSIDE your home that is currently working and is not a cell
phone?

        1 Yes
        2 No
        7 Refused
        9 Don't know

Cell phone service (TELCEL)
Do you or anyone in your family have a working cell phone?

        1 Yes
        2 No
        7 Refused
        9 Don't know

25
  Center for Disease Control and Prevention (2017). National Health Interview Survey: Survey Description.
Available at: https://www.cdc.gov/nchs/nhis/data-questionnaires-documentation.htm.



     Case 2:18-cv-01996-JPS             Filed 09/18/19         Page 323 of 662          Document Page
                                                                                                 73-1 322
Phone usage (PHONEUSE)
Of all the telephone calls that you or your family receives, are…

           1 All or almost all calls received on cell phones
           2 Some received on cell phones and some on regular phones
           3 Very few or none on cell phones
           7 Refused
           9 Don't know

           The PHONESERVICE benchmarks were estimated by categorizing all family members

for whom CURWRK=1 and TELCEL=2 as “Landline telephone only”, all family members for

whom CURWRK=2 and TELCEL=1 as “Cellphone only”, and all family members for whom

CURWRK=2 and TELCEL=2 as “No telephone”. For family members with landline and cell

phone service, PHONESERVICE categories were based on answers to the PHONEUSE question

(“Have a landline, but mostly use cellphone”; “Some received on cell phones and some on

regular phones”; and, “Have cellphone, but mostly use landline”).

                                           Weighting Procedure

           To develop weights for the Amerispeak data, we followed the basic procedure outlined

by a Blue-Ribbon panel convened by the American National Election Studies to generate their

weighting procedure.26 On a basic level, the weighting process involves (1) identifying a series

of benchmarks for weighting, (2) correcting for known deviations from simple random sampling

in the design by using a base weight, (3) running a raking (a.k.a. rim weighting or iterative

proportional fitting) model to produce weights that lead the overall dataset to match the

benchmarks that are most discrepant from those in the sample, (4) trimming any very large

weights that emerge in the process, and (5) rerunning this procedure as necessary to ensure that

no new sample values differ in problematic ways from the benchmarks. The approach proposed



26
     https://www.electionstudies.org/wp-content/uploads/2018/04/nes012427.pdf



       Case 2:18-cv-01996-JPS           Filed 09/18/19       Page 324 of 662    Document Page
                                                                                         73-1 323
by panel members is implemented in the anesrake software package for R, which conducts many

the steps recommended by the Blue-Ribbon Panel in an automated manner, ensuring that

arbitrary researcher decisions are not influencing the eventual results.

       To produce the weights used for this study, twelve benchmark categories were

considered: sex, Census region, metropolitan status, marital status, persons in household, age

categories, educational attainment, home ownership, race/ethnicity, working status, housing type,

and home internet access. The NHIS benchmarks for combining mobile phones and landlines

were not used for this study for two reasons. First, the sampling procedure used for Amerispeak

did not rely heavily on telephone interviewing, meaning that there was not a strong theoretical

reason to expect that telephone status would matter for response propensities. Second, the

categories for this variable did not match those in the Amerispeak data, meaning that the datasets

would not be directly comparable (Amerispeak did not provide an option that people could use

landlines and cellular phones at similar rates).

       Whenever benchmarking categories included fewer that 5% of the U.S. population or

when there were more than 6 categories for a benchmarking variable, we attempted to combine

that variable with the most closely related categories until this was no longer an issue. When

there were multiple equally acceptable combinations of response categories that could be used,

we opted to combine smaller categories first to maximize the proportion of respondents across

each of the benchmarking groups used. Hence, when we found that individuals who reported

their marital status was “separated” constituted only 2.0% of the U.S. population, these

individuals were combined with divorced respondents (who constituted 10.4% of the population)

rather than married respondents (52.7%). The same decision rule led us to combine the racial

categories “Asian/Pacific Islander” (6.3%), “Other race” (0.8%), and “Multiple races” (1.3%).




    Case 2:18-cv-01996-JPS           Filed 09/18/19     Page 325 of 662      Document Page
                                                                                      73-1 324
Respondents who reported their employment status as “on layoff” (0.4%) or “looking” (2.1%)

were similarly combined with the “other not working” category (11.5%).

       For most other variables, selections of six or fewer categories to use were made based on

the fewest category classifications that were typically available. Hence, benchmarks were created

for the four-category age and education sets that were provided as standard demographics by

Amerispeak.

       Finally, for variables where a single category was especially frequent related to the

others, we created dichotomous benchmarks placing respondents either in the modal category or

not. These included metropolitan status (86.5% of the population), home ownership (67.3% of

the population owns their homes), and housing type (67.5% live in detached single-family

homes).




   Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 326 of 662       Document Page
                                                                                      73-1 325
                                Appendix E



                         Value Estimation Procedure




Case 2:18-cv-01996-JPS    Filed 09/18/19   Page 327 of 662   Document Page
                                                                      73-1 326
                      METHODOLOGY FOR ESTIMATING VALUE

Background

       The framework for estimating mean value assumes that value has a distribution in the

population, which we can represent with a random variable, W . We assume that value is

nonnegative and allow for the possibility that some members of the population have zero value.

       Because prices were randomly assigned to respondents, we can represent the prices

assigned to an individual as a random variable, B , which is independent of W . In the current

study, all prices are positive, so we take B to be a random variable with B  0 . Generally, B can

be drawn from a continuous or discrete distribution.

       We do not observe value directly. Rather, once a respondent was presented with a price,

we observe whether he or she purchases the dog food. We describe this decision by a binary

indicator, Y , where Y = 1 for means buy and Y = 0 means do not buy. We assume an individual

chooses to buy if his or her underlying value exceeds the price. In other words,

                                      Y = 1 if W  B
                                                                                               (1)
                                        = 0 if W  B

We can write this using the indicator function 1[] as

                                      Y = 1[W  B].                                            (2)

       The survival function of W plays a critical role in nonparametric estimation of (lower

bound) mean value. The survivor function is defined as the probability that value exceeds any

specified value, w:

                                       S ( w) = P(W  w) = 1 − F ( w),                         (3)

where F (w) is the cumulative distribution function of W . Another way to interpret the survivor

function is that S (w) is the fraction of individuals in the population with value above the




    Case 2:18-cv-01996-JPS          Filed 09/18/19       Page 328 of 662      Document Page
                                                                                       73-1 327
specified value w .

       When value is nonnegative, an important result from probability theory is that the mean

value is the area under the survival function, written mathematically as

                                                      
                                        E (W ) =  S ( w)dw                                  (4)
                                                      0



This expression is the basis for nonparametric estimation of mean value.

Nonparametric Estimation of the Survival Function

       It is possible to estimate the survivor function without specifying a parametric family for

the value distribution. In most applications, the number of offered prices is small, and we can

only estimate the value survivor function at these prices. Suppose there are M prices, ordered

from smallest to largest as {b1 ,...,bM } . Then we can obtain an unbiased and consistent estimator

of the survivor function at these M values by obtaining the fraction of purchases made at each

price. For price br this estimator can be written as

                                               N
                                Sˆ (bm ) = N m−1 1[ Bi = bm ]Yi = Ym ,                      (5)
                                               i =1



where N m is the number of units given price value bm and Ym is the fraction of purchases at price

bm . These estimates can be obtained all at once using multiple regression. For each i, define a set

of price indicator variables:

               𝐵1𝑖 = 1 if 𝐵𝑖𝑖 = 𝑏1 , 0 otherwise

               𝐵2𝑖 = 1 if 𝐵𝑖 = 𝑏2 , 0 otherwise

               ⋮

               𝐵𝑀𝑖 = 1 if 𝐵𝑖 = 𝑏𝑀 , 0 otherwise

These M dummy variables are mutually exclusive and exhaustive: one and only one of the

dummy variables equals unity for each i, and the rest equal zero. Then the unbiased estimators of



    Case 2:18-cv-01996-JPS           Filed 09/18/19         Page 329 of 662    Document Page
                                                                                        73-1 328
the survivor function at the different prices are obtained as the coefficients from the multiple

regression

                               𝑌𝑖 on 𝐵1𝑖 , 𝐵2𝑖 , ..., 𝐵𝑀𝑖 , 𝑖 = 1, . . . , 𝑁                     (6)

This regression makes it convenient to obtain standard errors both for random samples and for

samples obtained by various survey designs.

Estimating Mean Value Using the Lewbel-Watanabe Approach

       Work by Lewbel (2000) and Watanabe (2010) on estimating mean value is based on the

following simple expression:

                                                      
                                         E (W ) =  E (Y | B = b)db                              (7)
                                                     0



From here, we can derive the equation at the heart of the L-W estimation approach. Let g(b)

denote the price (bid) density and assume that g (b)  0 for all b  0 . Then

                                                  E (Y | B = b)              E (Y | B ) 
                        E (Y | B = b)db = 
                        0                      0        g ( b)
                                                                  g (b)db = E 
                                                                               g ( B) 
                                                                                           
                                                                                                 (8)
                                         Y                Y 
                                   = E  E       B  = E         ,
                                         g ( B )        g ( B) 

where the last equality holds by the law of iterated expectations. We can summarize the equation

that is the basis for the Lewbel-Watanabe approach:

                                                     Y 
                                         E (W ) = E                                            (9)
                                                     g ( B) 

This is the key equation. We would like to estimate E(W) but we do not observe W. Instead, we

can obtain data on price and purchase decisions, (B,Y). If we know, or can estimate, the price

density g(b), then we can use a sample average of the weighted purchase decisions, Yi / g ( Bi ) .

This is the focus of Watanabe (2010) and a special case of Lewbel (2000) (although Lewbel was

not focusing on mean value).



    Case 2:18-cv-01996-JPS           Filed 09/18/19           Page 330 of 662          Document Page
                                                                                                73-1 329
       Issues Concerning the Support of the Value and Price Distributions

       The equality in Equation (9) assumes that the offered price distribution is unbounded,

which is rarely if ever true. Usually, an upper bound is placed on the prices. Let B be the upper

bound of the price distribution and let W be the largest value (if there is a maximum value). If

W  B then equation (9) continues to hold because S ( w) = 0 for w  W :

                                 W             B                B
                        E (W ) =  S (b)db =  S (b)db =  E (Y | B = b)db                   (10)
                                 0            0                 0



and then the argument is the same as before. The assumption W  B is used in the theoretical

work of Lewbel (2000) and Watanabe (2010).

       In practice, it is more likely that the upper bound of the price distribution is below the

maximum value in the population, that is, B  W . In such cases the L-W expected value is

below the actual mean value:

                          W            B           B                    Y 
                E (W ) =  S (b)db   S (b)db =  E (Y | B = b)db = E         .           (11)
                          0           0           0
                                                                        g ( B) 

Therefore, we have the following important conclusion: Provided the price density satisfies

g (b)  0 for all 0  b  B ,

                                                   Y 
                                       E (W )  E         .                                (12)
                                                   g ( B) 

We can estimate the expected value of Y / g ( B ) , so if we were to use a continuous price design,

the quantity that can be estimated is a lower bound for E (W ) .

       Lewbel-Watanabe for Discrete Price Distributions

       In the vast majority of studies of this sort, prices are drawn from a discrete set of values;

often a small set. What can we say about the L-W estimator if the distribution of B is discrete and




    Case 2:18-cv-01996-JPS           Filed 09/18/19        Page 331 of 662      Document Page
                                                                                         73-1 330
takes on the values {b1 , b2 ,..., bM } ? The answer is that we can apply the L-W approach using a

piecewise-uniform price distribution and obtain conservative estimates.

        The argument requires a simple thought experiment. Let B  be the price if it were drawn

from a piecewise uniform price distribution with jumps at the set prices. Define the

(counterfactual) outcome:

                                          Y  = 1[W  B ],                                  (13)

so Y* is the result of the vote if the price distribution were represented by B*. We can think of B

as being the maximum price over the interval that B* falls into.

        Here is what we know:

1. B  B  by construction. It follows that

                                          Y = 1[W  B]  1[W  B ] = Y  ,                  (14)

which simply says that if the respondent purchases the product at B, he or she would also

purchase it at a smaller price, B  .

2. Let h() denote the piecewise uniform density of B  . Then h( B) = h( B ) by construction.

Using this fact and Y  Y  :

                                           Y       Y      Y
                                                =                                           (15)
                                          h( B ) h( B ) h( B )

Taken together, the above two points establish the following key result:

                                            Y            Y 
                                          E          E  h( B )   E (W ) ,             (16)
                                            h( B )               

where the second inequality follows from our previous analysis. This equation means that we can

act as if we have a piecewise-uniform price distribution in order to satisfy the requirement h(b) >

0 on (0, B ) where B = bM in this case. Now we can apply Lewbel-Watanabe directly.



    Case 2:18-cv-01996-JPS              Filed 09/18/19        Page 332 of 662      Document Page
                                                                                            73-1 331
       Lewbel-Watanabe with Covariates

       One of the attractive features of the Lewbel-Watanabe approach is that it can be applied

to the case where value is modeled as a function of covariates – in particular, the number of

corrective statements, attitude variables, and demographic variables.

       Mathematically, we would like to estimate the conditional expectation, E (W | X ) , where

X is the vector of covariates. The key extension is that if price B is independent of (W , X ) then

                                          Y       
                                        E       X  = E (W | X ),                             (17)
                                          g ( B) 

where g ()  0 is the price density. As in the case of the unconditional mean, equality here

requires the support of the value distribution to be contained in that of the price distribution. If

not, E (W | X ) is at least as large as the expression on the left-hand side.

       Lewbel (2000) and Watanabe (2010) used linear models for 𝐸(𝑊|𝑋), but this is not

necessarily the best choice because we are imposing W  0 . An exponential model is attractive

because it ensures nonnegativity and applies even if W has a spike at zero. Specifically,

                                       𝐸(𝑊|𝑋) = 𝑒𝑥𝑝(𝛼 + 𝑋𝛽).                                   (18)

The exponential model gives a natural way to estimate a constant elasticity by including the

logarithm of explanatory variables in X.

       Just as importantly, coefficients on other variables have percentage change

interpretations. For example, if 𝑋1 is the number of corrective statements, its coefficient, 𝛽1

when multiplied by 100, gives the approximate percentage change in mean value for each

additional corrective statement. Therefore, the exponential function provides a particularly

simple way to allow imposing the restriction that the number of corrective statements has the

same percentage effect on mean value, as opposed to the same dollar effect (as would occur in a




    Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 333 of 662         Document Page
                                                                                          73-1 332
linear model).

       For large changes in a variable – for example, increasing the number of messages or

corrective statements from its lowest value, zero, to its largest value, eight, one can compute the

exact percentage change as 100 times the quantity 𝑒𝑥𝑝( 8𝛽1 ) − 1, using the fact that 𝑒𝑥𝑝( 0) =

1.

       A convenient estimator for exponential regression models is the Poisson quasi-MLE. As

discussed by Wooldridge (2010, Chapter 18), the Poisson QMLE is fully robust in the sense that

only the mean function needs to be correctly specified. The Poission distribution can be

otherwise arbitrarily misspecified. Robust standard errors are computed routinely by commonly

used statistical packages, such as Stata. After the Poisson estimation, one can estimate the

proportionate change in value, 𝑒𝑥𝑝( 8𝛽1 ) − 1, as 𝑒𝑥𝑝( 8𝛽̂1 ) − 1, and compute an asymptotic

standard error. In Stata, this is easily done using the “nlcom” command.

       Another nice feature of the Poisson QMLE is that using covariates to estimate a

conditional mean gives the same estimate of the lower-bound unconditional mean value as the L-

W estimator without covariates More precisely, if we define the weighted vote as

                                                          Yi
                                                Ri =                                           (19)
                                                       gˆ ( Bi )

then

                                               𝑅̄ = 𝑁 −1 ∑𝑁        ̂ + 𝑋𝑖 𝛽̂ ).
                                                          𝑖=1 𝑒𝑥𝑝( 𝛼                           (20)

Calculating Standard Errors with Covariates

       When covariates are included in the predictive equation, the LW estimator that uses the

realized price distribution is a two-step estimator. The price distribution is estimated in the first

step, and then regression parameters are estimated in a second step. As described by Wooldridge

(2007), the use of the estimated price distribution rather than the population price distribution



     Case 2:18-cv-01996-JPS          Filed 09/18/19           Page 334 of 662     Document Page
                                                                                           73-1 333
enhances the efficiency of the L-W procedure. See also Section 13.10.2 in Wooldridge (2010),

which also describes how to obtain the standard errors that account for estimation of the price

density g(b).




    Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 335 of 662       Document Page
                                                                                      73-1 334
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                                                                                   Page 335
   Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 336 of 662     Document 73-1
                          FIRST REPORT – FIRST REPORT – Part 2

                                               of

                                      Dr. Jon A. Krosnick
                                      Stanford University
                                      432 McClatchy Hall
                                        450 Serra Street
                                   Stanford, California 94305

                                               on


                                        August 13, 2019




 Scott Weaver, individually and on behalf of all others similarly situated, Plaintiff, v. Champion
Petfoods USA, Inc. and Champion Petfoods LP, Defendants. United States District Court for the
                  Eastern District of Wisconsin, Case No. 2:18-cv-01996-JPS.




   Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 337 of 662       Document Page
                                                                                     73-1 336
I.      Introduction and Background of Opinion

     1. I am the Frederic O. Glover Professor of Humanities and Social Sciences and a Professor

of Communication, Political Science, and (by courtesy) Psychology at Stanford University in

Stanford, California, a Research Psychologist at the U.S. Census Bureau, and a Research Advisor

of the Gallup Organization.

     2. I have written this report to offer an opinion about how providing information about one

particular alleged contaminant of Champion dog foods to supplement information on packages

affects consumers’ perceptions of the quality of the product.

     3. A recent full curriculum vitae is attached to this declaration as Appendix A. In

paragraphs 4-9 below, I summarize some important aspects of my qualifications and background.

     4. I received an A.B. degree in psychology from Harvard University and M.A. and Ph.D.

degrees in social psychology from the University of Michigan. As a part of my undergraduate

and graduate studies, I received extensive training in social psychology, survey and experimental

research techniques, statistical data analysis, and political science.

     5. From 1986 to 2004, I was a member of the faculties in Psychology and Political Science

at The Ohio State University. My position there involved teaching classroom courses for

undergraduates and graduate students, as well as one-on-one training of graduate students in

research methods. Since 2004, I have done similar work at Stanford University.

     6. My research has been recognized by the Erik H. Erikson Early Career Award, by election

as a Fellow of the American Academy of Arts and Sciences, by election as a Fellow of the

American Association for the Advancement of Science, by two fellowships at the Center for

Advanced Study in the Behavioral Sciences, and by election as a Fellow by the American

Psychological Association, the American Psychological Society, and the Society for Personality




     Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 338 of 662      Document Page
                                                                                       73-1 337
and Social Psychology. I was awarded the Nevitt Sanford Award from the International Society

of Political Psychology. And I was awarded the lifetime career achievement award from the

American Association for Public Opinion Research, the world’s leading professional

organization of survey researchers.

   7. I have authored or co-authored seven published books and two forthcoming, more than

160 articles published or in press in journals or edited books, over 250 research presentations at

professional conferences, and more than 250 invited addresses at universities and to government

agencies, businesses, and in other settings. My journal articles have been selected by editors for

reprinting in edited books more than 15 times. My journal articles have appeared in top-ranked

journals in social psychology (Journal of Personality and Social Psychology, Journal of

Experimental Social Psychology), political science (American Political Science Review,

American Journal of Political Science), survey research methods (Public Opinion Quarterly), and

sociology (American Sociological Review, American Journal of Sociology).

   8. Much of my research has focused on survey research methods, including how best to

measure behavior and opinions through surveys, and almost all of my research has involved

collection and analysis of survey data.

   9. There are several other indicators of my competence as an expert on social science

research methods. First, I have served on the editorial board of the most prestigious journals in

social psychology (Journal of Personality and Social Psychology) and in survey research

methods (Public Opinion Quarterly). Second, I regularly serve as a reviewer for other journals,

publishers, and professional organizations. Third, I have received more than 100 grants to

support my research. Fourth, I have served on the Board of Overseers of the General Social

Survey and was co-Principal Investigator of the American National Election Studies, which are




    Case 2:18-cv-01996-JPS            Filed 09/18/19    Page 339 of 662       Document Page
                                                                                       73-1 338
the nation's leading academic survey research projects studying the public’s opinions and

behaviors. Fifth, I have been teaching research methodology since the early 1980s and have been

invited to give lectures and teach courses on research methodology to the research staffs of

federal agencies in Washington, D.C., and at many professional organizations and universities

around the U.S., as well as in the United Kingdom, the Netherlands, South Africa, Canada, and

elsewhere.

   10. To complete my assignment in this case, I reviewed case-specific documents supplied to

me by Plaintiffs’ counsel, including:

             ●   The Third Amended Class Action Complaint
             ●   The Second Amended Class Action Complaint
             ●   Champion Declaration re Class Cert- WI case.pdf
             ●   Champion Milam Declaration re Class Cert- Wi Case.pdf
             ●   Champion Rebuttal Expert Report- WI case.pdf
             ●   Code of Federal Regs.pdf
             ●   CPF0001136.pdf
             ●   CPF0057656.pdf
             ●   CPF1973651.pdf
             ●   CPF2070652.pdf
             ●   CPF2117026.pdf
             ●   CPF2117031-CPF2117039.pdf
             ●   CPF2117040-CPF2117048.pdf
             ●   D Colo – Jerding and Renfro v. Champion.pdf
             ●   D Iowa – Blackburn v. Champion.pdf
             ●   D Mass – Slawsby v. Champion.pdf
             ●   D Minn – Song and Wertkin v. Champion.pdf
             ●   Damages Expert Rpt.- WI case.pdf
             ●   DM-#534873-v8-Second_Amended-Complain_-
                 _Illinois_Champion_Dog_Food.pdf
             ●   Label Expert Rpt.- WI case.pdf;
             ●   Dog Food Testing.pdf
             ●   ED Mich – Shaker v. Champion.pdf
             ●   ED Wis – Weaver v Champion (redacted).pdf
             ●   ND Ill – Zarinebaf and Chernik v. Champion.pdf
             ●   NDNY – Colangelo v. Champion.pdf
             ●   WD Wash – Rydman v. Champion.pdf
             ●   Numerous Champion marketing materials and internal reports




    Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 340 of 662       Document Page
                                                                                      73-1 339
   11. I also drew upon my pre-existing knowledge of the literatures on survey research

methods and related fields. I oversaw the design and conduct of an experiment embedded in a

survey conducted with a nationally representative sample of American adults.

   12. Based upon my prior experience and my work done on this matter, I have reached the

conclusion, based on a survey that I conducted, that providing information to consumers about an

alleged contaminant in Champion dog foods (pentobarbital) decreased the apparent quality and

healthiness of Champion dog foods. I outline the details of all this below.

   13. My comments below are organized in the following manner. I begin by explaining the

logic and theory underlying survey research methods and the principles that justify generalizing

from a systematically selected sample of people to the full population from which they are

drawn. Then I review the uses of surveys in court and the valuable roles that surveys can play in

litigation generally and in this case in particular. Next, I review the procedures that I

implemented to conduct a survey in this case, and I describe the results of that survey. Details of

the methodology and results of the survey that I conducted are provided in the Technical Report

in this document.

Survey Research Methods

   14. Survey research is a well-established and solidly respected scientific approach to

measuring the behavior, attitudes, and beliefs of populations of individuals (Babbie, E.R. 1990.

Survey Research Methods. Belmont, CA: Wadsworth; Weisberg, H, Krosnick, J. A., & Bowen,

B. 1996. An Introduction to Survey Research, Polling, and Data Analysis. Thousand Oaks, CA:

Sage). Conducting a survey research study involves three principal phases: (1) drawing a sample

of respondents to represent a population, (2) collecting data from those respondents, and

(3) analyzing the data generated to answer the questions of interest. Surveys are usually done for




    Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 341 of 662        Document Page
                                                                                         73-1 340
one or both of two reasons: (1) to document the prevalence of some characteristic in a

population, and/or (2) to document causal processes that produce behaviors, beliefs, or attitudes.

   15. Survey research dates back at least to the 19th century, but the most significant

developments and improvements in the method took place during the first half of the 20th

century. During that time, researchers came to recognize that the method by which respondents

are selected from a population can introduce substantial error to measurements if done

improperly. Therefore, research on survey sampling has burgeoned during the last fifty years,

and the result of this work is an excellent understanding of effective methods for drawing

representative samples of populations. And the centerpiece of high quality, scientific survey

research is random selection.

   16. Although the word “random” has taken on the meaning “non-systematic” or “arbitrary”

in contemporary informal, everyday conversations, the technical, scientific meaning of this term

is anything but arbitrary. “Random” has a very specific, technical, and non-arbitrary definition in

science, and randomization is one of the most valuable scientific tools, because it allows

researchers to reach two sorts of conclusions. In one of its forms, random selection from a

population is accomplished by using a method to select a subset of the population such that each

member of the population has a known, non-zero probability of being chosen. For example, this

can be done by flipping an unbiased coin over and over again, with each observation of heads or

tails determining whether the next person on a list of population members should be chosen for

study or omitted.

   17. Randomization has also been employed in thousands of scientific experiments. Consider,

for example, randomized clinical trials in which a researcher wishes to determine whether a drug

helps people suffering from an affliction. In particular, consider a researcher who wishes to learn




    Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 342 of 662        Document Page
                                                                                       73-1 341
whether an analgesic reduces pain from headaches. The researcher could give the drug to a group

of people who report often suffering from headaches and, a month later, could ask those people

whether their headache pain has been less than it was before they were given the drug. But if the

month began at the beginning of April, and many of the headaches people experienced during

that time were due to allergic reactions to pollen released by newly-blooming plants and flowers

at the beginning of April, then people may report less pain not as the result of taking the drug but

instead because of the disappearance of the stimulating pollen mid-month.

   18. To avoid this artifact, the researcher can compare reports of headache pain from a group

of people given the drug with reports of headache pain from a group of people not given the

drug. But imagine that the researcher collected data from the first group of people by giving

them the drug at the beginning of April and measuring headache pain at the end of April, and the

researcher collected data from people not given the drug by asking about their headache pain

during the month of May. Again, the difference between these two groups could be because less

pollen in May caused headaches then to be less painful.

   19. This ambiguity can be eliminated by random assignment. This randomization would

again be done using a truly random device. Let us assume that flipping a coin is a truly random

process, meaning that each time the coin is flipped, there is a 50% chance that it will fall with the

heads side up, and a 50% chance that it will fall with the tails side up, and that the result of any

given coin flip cannot be predicted in any way. If we begin with a group of people who agree to

participate in an experiment on analgesics and flip a coin for each of those people, we can

separate them into two groups (one whose coins land heads up, and the other whose coins land

tails up) that are essentially identical to one another in every regard: the percent of men, the

percent of women, the percent of old people, the percent of young people, the percent who have




    Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 343 of 662        Document Page
                                                                                         73-1 342
graduated from college, the percent with red hair, and on and on. Every attribute will be present

in almost exactly the same amount in the two groups.

    20. If one of those groups is then given the analgesic to use when experiencing headaches in

April, and the other group is not given the analgesic to use during the same time period, the

difference between the two groups in their reports of headache pain will be attributable to the

impact of the drug (if a statistical test indicates that that difference had a small probability of

occurring by chance alone). This reasoning is only possible because participants were randomly

assigned to the two groups. Randomization in this sense eliminates all artifacts.

    21. But imagine that the people who participated in the experiment on headache pain were all

18-year-old men. Do the results of the study apply to 18-year-old women as well? Or to older

men and women? There is no way to know, so a researcher who studies only 18-year-old men

has no legitimate scientific basis to claim that the obtained study results show that the drug helps

adults generally. Fortunately, randomization can be used in a second way to eliminate this

ambiguity. The participants in a study can be randomly selected from the population of interest,

and the results can then legitimately be viewed as descriptive of the population.

    22. This can again be accomplished using a randomizing device. In the Netherlands, for

example, the government maintains a “register” listing every person living in that country, and

the register can be used by researchers to select a random sample of the population. You can

imagine this process being done using a randomizing device such as the coin I described earlier.

Imagine that for each person in the register, a researcher flips a coin, removes individuals from

the list whose coin lands with heads facing up, and retains individuals whose coin lands with

tails facing up. After this has been done once, about half of the people in the register will remain.

If the same coin flipping procedure is implemented again among the retained individuals, about




    Case 2:18-cv-01996-JPS           Filed 09/18/19       Page 344 of 662        Document Page
                                                                                          73-1 343
one quarter of the original register will remain. And this can be done over and over in order to

obtain a random sample of a relatively small size (say 1,000 people out of a population of

millions). This is called “simple random sampling.”

    23. If random sampling from the population is not implemented, there is no scientific basis to

justify generalizing the results of a study from a group of participants to any larger population of

people. According to William Barber (Barber, W. G., 2011. The universe. In Diamond S. S., &

Swann, J. B. 2011. Trademark and deceptive advertising surveys: Law, science, and design.

Chicago, IL: American Bar Association), random sampling “produces the most statistically

reliable results” (p. 47).

    24. If simple random sampling is done, statistical principles permit precise documentation of

the uncertainty associated with the sample in generalizing to the population due to what is called

“sampling error.” For example, if a researcher is interested in gauging the percentage of a

company's employees who smoked five or more cigarettes each day during January, 2000, he or

she could draw a simple random sample of size N from the population of all employees and

interview each interviewed sample member, asking whether he or she smoked five or more

cigarettes each day during January, 2000.

    25. Imagine that a proportion p (somewhere between 0% and 100%) of the respondents

report having done so. If the only error in this measurement is due to simple random sampling

error, and if the study were to be repeated exactly the same way 100 times, in 95 percent of those

times, the observed proportion of smokers would be within the “confidence interval” around the

observed proportion p, that is between (p-SE) and (p+SE), where:

                                  𝑆𝐸 = ±1.96√𝑝(1 − 𝑝)⁄(𝑁 − 1)




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 345 of 662        Document Page
                                                                                        73-1 344
As the size of the sample approaches the size of the total population, SE gets a bit smaller than

the formula above suggests. But most survey samples are much smaller than their relevant

populations, so the formula offered above accurately describes the sampling error involved.

   26. For example, if 38% of 1,000 survey respondents said that their favorite color was blue,

the sampling error of that proportion is:

                              𝑆𝐸 = ±1.96√. 38(1 − .38)⁄(1,000 − 1)

   27. This means that if the study were repeated 100 times, in 95 of them, the observed

proportion of people saying blue was their favorite color would fall between 35% (38% - 3%)

and 41% (38% + 3%). This is based on the fact that the sample of 1,000 respondents was

selected by simple random sampling. It is also possible to compute confidence intervals

differently if more complex approaches to random sampling are implemented.

   28. The response rate for a survey is the proportion of members of the selected sample from

whom data are in fact collected. In almost all surveys, the response rate is less than 100%. A low

response rate does not guarantee the presence of non-response bias. It is possible to conduct a

survey with a response rate of 20% and end up with data from the participating sample that

closely mirrors the population.

   29. An accumulating number of publications show that as long as a representative sample is

scientifically drawn from the population and thorough, professional efforts are made to collect

data from all selected potential respondents, variation in response rates is generally not

associated with notable changes in the accuracy of the survey’s results (Curtin, R., Presser, S., &

Singer, E. 2000. The effects of response rate changes on the index of consumer sentiment. Public

Opinion Quarterly, 64, 413-428; Holbrook, A. L., Krosnick, J. A., & Pfent, A. M., 2008. The

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    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 346 of 662        Document Page
                                                                                        73-1 345
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Methodology. New York: Wiley; Keeter, S., Miller, C., Kohut, A., Groves, R. M., & Presser, S.

2000. Consequences of reducing nonresponse in a national telephone survey. Public Opinion

Quarterly, 64, 125-148; Merkle, D., & Edelman, M. 2002. Nonresponse in exit polls: A

comprehensive analysis. In R. M. Groves, D. A. Dillman, J. L. Eltinge, & R. J. A. Little (Eds.),

Survey Nonresponse, pp. 243–58. New York: Wiley).

   30. A key factor that determines the accuracy of a survey is its questionnaire. Survey

research is premised upon the notion that all respondents should be asked the same questions in

the same way. The wordings of questions are typically specified through an extensive design

process. Questions are drafted based upon a set of principles that seek to achieve

comprehensibility, uniform understanding across respondents, and the absence of forces biasing

respondents toward any given answer. A huge literature of thousands of scientific studies now

exists identifying these principles and guiding researchers in how best to word questions to

achieve these goals.

   31. Survey research findings are used widely by government agencies, businesses, and in

academic research. For example, whereas survey data appeared in articles in top journals in

political science, economics, social psychology, and sociology in 1949 at a rate of 3%, 6%, 22%,

and 24%, respectively, these figures increased by 1994 to 42%, 42%, 50%, and 70%,

respectively (Presser, S. 1984. The use of survey data in basic research in the social sciences. In

C. F. Turner and E. Martin (Eds.), Surveying Subjective Phenomena. New York: Russell Sage

Foundation; Saris, W. E., Gallhofer, I., van der Veld, W., & Corten, I. 2003. A Scientific Method

for Questionnaire Design: SQP. Amsterdam: University of Amsterdam).




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 347 of 662        Document Page
                                                                                        73-1 346
     32. Decades of research have shown that the reliability and validity of survey data collected

optimally are generally quite high, and that respondents can be relied upon to provide quite

accurate descriptions of their past experiences, behaviors, and opinions. Most visibly, scientific

surveys conducted according to best practices just before U.S. presidential elections predict post-

election government reports of the actual election voting results very closely (see, e.g., Visser, P.

S., Krosnick, J. A., Marquette, J., & Curtin, M. 1996. Mail surveys for election forecasting? An

evaluation of the Columbus Dispatch poll. Public Opinion Quarterly, 60, 181-227; Visser, P. S.,

Krosnick, J. A., Marquette, J., & Curtin, M. 2000. Improving election forecasting: Allocation of

undecided respondents, identification of likely voters, and response order effects. In P. Lavrakas

& M. Traugott (Eds.), Election Polls, the News Media, and Democracy. New York, NY:

Chatham House). For example, for decades beginning in 1936, the percent of votes won by the

winner has correlated with the Gallup Poll’s pre-election prediction of that percentage .85, a

nearly perfect association.27 Likewise, for decades beginning in 1948, the American National

Election Study surveys’ post-election measurements of the proportions of votes won by the

winning presidential candidate have correlated with official government vote counts .92, again

nearly perfect.

     33. A high level of accuracy can be achieved if a survey is conducted using optimal

procedures, including drawing a representative sample of the population, taking extensive steps

to collect data from as many sampled people as possible, optimizing the choice of survey mode

to achieve accurate measurements, asking questions that are easily comprehensible and do not




27
   Correlations can range from 1 (meaning a perfect match between the variables) to 0 (meaning
a relation between the variables no better than chance) to -1 (meaning a perfect inverse relation
between the variables).


     Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 348 of 662        Document Page
                                                                                        73-1 347
entail biased wording or format, weighting results to correct for unequal sampling probabilities

and unequal non-response, and much more.

Uses of Surveys in Court

   34. Surveys have been admitted routinely in court as evidence suitable for use by an expert to

form an opinion. Diamond (2000) provided a history of the uses of surveys in court in her

chapter, Reference Guide on Survey Research (2nd edition). In Reference Manual on Scientific

Evidence. Washington, D.C.: Federal Judicial Center, 229-276), she wrote:

               “Forty years ago, the question whether surveys constituted acceptable evidence

       still was unsettled. Early doubts about the admissibility of surveys centered on their use

       of sampling techniques and their status as hearsay evidence. Federal Rule of Evidence

       703 settled both matters for survey by redirecting attention to the “validity of the

       techniques employed.” The inquiry under Rule 703 focuses on whether facts or data are

       “of a type reasonably relied upon by experts in the particular field in forming opinions or

       inferences upon the subject.” For a survey, the question becomes, “Was the poll or survey

       conducted in accordance with generally accepted survey principles, and were the results

       used in a statistically correct way?”

               “Because the survey method provides an economical and systematic way to

       gather information about a large number of individuals or social units, surveys are used

       widely in business, government, and, increasingly, administrative settings and judicial

       proceedings. Both federal and state courts have accepted survey evidence on a variety of

       issues. … Surveys of employees or prospective employees are used to support or refute

       claims of employment discrimination. …Requests for a change of venue on grounds of

       jury pool bias often are backed by evidence from a survey of jury-eligible respondents in




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 349 of 662       Document Page
                                                                                       73-1 348
       the area of the original venue. … A routine use of surveys in federal courts occurs in

       Lanham Act cases, where the plaintiff alleges trademark infringement or claims that false

       advertising has confused or deceived consumers. The pivotal legal question in such cases

       virtually demands survey research because it centers on consumer perception (i.e., is the

       consumer likely to be confused about the source of a product, or does the advertisement

       imply an inaccurate message?). In addition, survey methodology has been used creatively

       to assist federal courts in managing mass torts litigation. Faced with the prospect of

       conducting discovery concerning 10,000 plaintiffs, the plaintiffs and defendants in

       Wilhoite v. Olin Corp. jointly drafted a discovery survey that was administered in person

       by neutral third parties, thus replacing interrogatories and depositions. It resulted in

       substantial savings in both time and cost. (Diamond, 2000, p. 233-235).”

   35. The value of surveys in court was affirmed by Jay and Levine (2005; Litigation surveys.

In S. J. Best and B. Radcliff (Eds.), Polling America: An encyclopedia of public opinion.

Westport, CT: Greenwood Press):

              “Litigation surveys benefit the legal process by providing information on disputed

       issues that could not feasibly be presented in court through conventional means. In class

       action lawsuits, mass torts litigation, or other court cases involving numerous plaintiffs

       who are potential witnesses, survey evidence presented by a single witness effectively

       can substitute for the testimony of hundreds, even thousands. This can shorten the

       litigation process, reduce litigation costs, and ease court congestion. Moreover, survey

       evidence derived from a representative sample of a large class of potential witnesses may

       in fact prove more reliable than the testimony of a few individuals selected from that

       class, since a few handpicked witnesses may not be truly representative of the whole. A




   Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 350 of 662        Document Page
                                                                                        73-1 349
        clear preference for survey evidence in appropriate cases has been expressed by the

        federal judiciary through litigation reference materials published by the Federal Judicial

        Center (Jay & Levine 2003, p. 433).”

    36. These characterizations of the value of surveys in court are directly applicable to the

present case. Rather than spending the time and money necessary to collect information about

experiences from an entire group of people through direct testimony, a survey can be conducted

to efficiently collect scientifically projectable results that will describe a population of interest

within a specifiable margin of error.

    37. Survey research methodology is now a solid science, with widely agreed-upon principles

of optimal design for sampling, questionnaire construction, data collection, and data analysis.

Experts in this field, including myself, routinely belong to and attend annual conferences

sponsored by professional associations such as the American Association for Public Opinion

Research and subscribe to journals such as Public Opinion Quarterly, the Journal of Official

Statistics, the International Journal of Public Opinion Research, and other such periodicals to

track the latest advances in survey methodology.

Design of the Second Champion Survey

    38. Thus far, I have offered reasons to believe that a survey can be done efficiently and can

accurately inform the Court about people’s perceptions of consumer products. To conduct a

survey for this case, a series of methodological choices had to be made, and I outline these

choices below, along with considerations that influenced how such choices were made in this

investigation.

    39. One choice involves the mode of data collection. Many survey researchers believe that

the highest response rates and most accurate measurements can be achieved if respondents are




    Case 2:18-cv-01996-JPS           Filed 09/18/19       Page 351 of 662         Document Page
                                                                                           73-1 350
contacted face-to-face at their homes and are interviewed in person, and empirical evidence

supports this belief (see, e.g., Holbrook, A. L., Green, M. C., & Krosnick, J. A. 2003. Telephone

vs. face-to-face interviewing of national probability samples with long questionnaires:

Comparisons of respondent satisficing and social desirability response bias. Public Opinion

Quarterly, 67, 79-125). This method is extremely time-consuming and expensive and is used

only in the highest visibility surveys done by the federal government and academic researchers.

Much more common and cost-effective are surveys conducted by telephone, paper-and-pencil

questionnaires, or questionnaires administered via the Internet.

   40. When choosing among these three survey modes, it is important to consider the accuracy

of the measurements obtained. First, consider the choice between telephone interviewing and a

paper questionnaire. Dozens of published studies have compared information collected via

telephone interviews with comparable information collected via paper questionnaires.

Unfortunately, most of these studies involved design flaws (e.g., non-random assignment of

individuals to survey modes, cross-over designs wherein the same respondent provides data in

multiple modes, the use of different questionnaires in the different modes) that preclude reaching

clear conclusions about differences between the modes in terms of results. And almost none of

these studies reported any analyses comparing the validity of the measurements obtained via the

two modes.

   41. One study that made such a comparison and is especially relevant to the present case was

conducted by Silver and myself (Silver, M. D., & Krosnick, J. A. 2001. An experimental

comparison of the quality of data obtained in telephone and self-administered mailed surveys

with a listed sample. Paper presented at the American Association for Public Opinion Research

Annual Meeting, Montreal, Canada). In this study, each member of a representative sample of




    Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 352 of 662       Document Page
                                                                                      73-1 351
commercial airline pilots was randomly assigned to be interviewed either by telephone or to

complete paper questionnaires. Respondents were asked to report the number of times they had

witnessed various types of safety-related events while working in the cockpit of a commercial

airliner during a specific period of time. Respondents were randomly assigned to one of various

lengths of recall periods, ranging from one week to six months. If respondents reported event

frequencies accurately, then there should be a linear relation between the number of days in the

recall period and the number of safety-related events reported, mediated by the number of hours

flown in the recall period by each pilot. That is, the longer a pilot’s assigned recall period, the

more hours he should have flown, and the more hours a pilot flew, the more safety-related events

he or she should have witnessed. The more measurement error was contained in answers to the

event frequency questions, the weaker the relation between these variables would have been.

Therefore, the strength of this statistical relation can be viewed as a measure of the validity of the

reports provided.

   42. Silver and Krosnick (2001) found the relation between hours flown and number of events

reported to be 20% stronger among respondents interviewed by telephone than among

respondents who completed paper and pencil questionnaires, a statistically significant difference.

Furthermore, the telephone respondents expressed significantly greater confidence in the

accuracy of their event reports. The higher accuracy and confidence seem to be attributable to the

fact that the paper questionnaire respondents rushed through the process of answering, spending

only 13 minutes on average completing the questionnaire, as compared to the 19 minutes on

average spent by respondents interviewed by telephone, a statistically significant difference. This

set of results suggests caution about employing paper questionnaires to collect data for the

current case.




    Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 353 of 662        Document Page
                                                                                         73-1 352
     43. The third standard mode that could be employed is questionnaire administration via

computers and the Internet. It is possible to conduct Internet surveys of scientific, representative,

samples of members of a population if these individuals have been selected truly randomly from

the population of interest and recruited to join a long-term panel and to complete questionnaires

regularly (e.g., every week or two). This method has proven to yield results that are generally as

accurate as, or more accurate than, the results yielded by comparable telephone surveys of the

same population (see, e.g., Chang, L., & Krosnick, J. A. 2009. National surveys via RDD

telephone interviewing vs. the Internet: Comparing sample representativeness and response

quality. Public Opinion Quarterly, 73, 641-678; Chang, L., & Krosnick, J. A. 2010. Comparing

oral interviewing with self-administered computerized questionnaires: An experiment. Public

Opinion Quarterly, 74, 154-167; MacInnis, B., Krosnick, J. A., Ho, A. S., & Cho, M-J. 2018.

The accuracy of measurements with probability survey samples: Replication and extension.

Public Opinion Quarterly, 82, 707-744; Pasek, J. 2015. When will nonprobability surveys mirror

probability surveys? Considering types of inference and weighting strategies as criteria for

correspondence. International Journal of Public Opinion Research, 28, 269-291; Yeager, D. S.,

Krosnick, J. A., Chang, L., Javitz, H. S., Levendusky, M. S., Simpser, A., & Wang, R. 2011.

Comparing the accuracy of RDD telephone surveys and Internet surveys conducted with

probability and non-probability samples. Public Opinion Quarterly, 75, 709-747). Because of this

track record, I chose Internet data collection for this survey.28



28
   The vast majority of Internet surveys done these days are not done with random, representative
samples who are systematically selected from a well-defined population, all of whom have a
known, non-zero probability of selection. Instead, these surveys are done with people who were
not systematically sampled and instead volunteered to complete questionnaires to make money in
response to banner ads on websites, email invitations sent to non-representative groups of people
(e.g., members of the United Airlines frequent flier club), and other such recruitment methods
that do not involve random sampling from any population. There is no scientific justification for


     Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 354 of 662       Document Page
                                                                                        73-1 353
Procedure for Implementing the Second Champion Survey

   44. In order to implement a survey in this case, the following sequence of events was

executed (for details, see the Technical Report in this document). First, I designed a

questionnaire that displayed packaging of one Acana product or one Orijen product and asked

questions that assessed perceptions of the quality and healthiness of the products, in addition to a

variety of questions about people’s experiences owning dogs. Each respondent saw one package

and answered questions about that product.

   45. The questionnaire was then administered to a large, nationally representative sample of

American adults ages 18 years old and older by the USC Dornsife Center for Economic and

Social Research (USC CESR), a well-established and highly respected survey research

organization with extensive experience in collecting survey data via the internet.

Evaluation of the Survey in Light of Criteria Articulated by Dr. Shari Diamond

   46. Dr. Shari Diamond, Professor at Northwestern University, has written an authoritative

text on the uses of surveys in court, and she provided guidelines for evaluating survey evidence

and principles to guide survey design in order to yield reliable data. In the most recent edition of

that chapter, Dr. Diamond listed a series of questions that should be asked about any survey

evidence that is submitted for a court’s consideration (Diamond, S.S. 2011. Reference Guide on

Survey Research. In The Federal Judicial Center and National Research Council of the National

Academies Reference Manual on Scientific Evidence, Third Edition). Next, I address each of

these questions (listed as headers in italics) with regard to the survey conducted in this case.




the claim that such samples describe populations of interest, and such samples routinely produce
results that are considerably less accurate than those yielded by truly random samples.


    Case 2:18-cv-01996-JPS          Filed 09/18/19       Page 355 of 662       Document Page
                                                                                        73-1 354
      Was the Survey Designed to Address Relevant Questions?

   47. The survey was designed to address this question of interest:

   ● How did learning about the risk of the possible presence of a non-natural substance

       (pentobarbital) impact consumers’ perceptions of the quality and healthiness of the dog

       foods?

       Was Participation in the Design, Administration, and Interpretation of the Survey

       Appropriately Controlled to Ensure the Objectivity of the Survey?

   48. I designed the survey and interpreted the obtained data. In doing so, I worked with

employees of The Strategy Team. These individuals took all necessary steps to ensure objectivity

in all of their activities. The survey was designed according to principles of best practices in

survey research and questionnaire design, and the analysis of the data and interpretation of the

analysis results were done according to widely-accepted principles in social science, all intended

to assure objectivity and accuracy.

   49. USC CESR selected and invited potential survey respondents to complete a questionnaire

via the Internet. None of the staff at USC CESR had any direct contact with the respondents other

than the email messages contained in Appendix C.

      Are the Experts Who Designed, Conducted, or Analyzed the Survey Appropriately Skilled

      and Experienced?

   50. The experts involved in the design, conduct, and analysis of this survey are appropriately

skilled and experienced. They include:

           ● Jon Krosnick: I earned an A.B. from Harvard University in psychology and an
             M.A. and a PhD. from the University of Michigan in social psychology. As a part
             of my undergraduate and graduate studies, I received extensive training in social
             psychology, survey and experimental research techniques, and statistical data
             analysis. I have decades of experience conducting hundreds of surveys and am a
             nationally recognized expert in survey research. I have held faculty positions at



    Case 2:18-cv-01996-JPS            Filed 09/18/19     Page 356 of 662       Document Page
                                                                                        73-1 355
           The Ohio State University and Stanford University and have worked as a
           consultant for numerous organizations. I am a staff researcher at the U.S. Census
           Bureau advising and participating in survey research. I have served as the Co-
           Principal Investigator of the American National Election Studies, the nation’s pre-
           eminent survey study of voters and elections. I have served as editor or reviewer
           for the top peer-reviewed journals in the social sciences. My research has been
           recognized by the Erik H. Erikson Early Career Award, by election as a Fellow by
           the American Academy of Arts and Sciences and the American Association for
           the Advancement of Science, two fellowships at the Center for Advanced Study
           in the Behavioral Sciences, and election as a fellow by the American
           Psychological Association, the American Psychological Society, and the Society
           for Personality and Social Psychology. In addition, I was awarded the lifetime
           career achievement award from the American Association for Public Opinion
           Research, the world’s leading professional organization of survey researchers.

       ● Amanda Scott: Dr. Scott earned a B.A. from Ohio Wesleyan University and an
         M.A. and PhD. from the Ohio State University. Dr. Amanda Scott is a social
         psychologist whose academic training focused primarily on stereotyping, group
         behavior, and legal decision-making and involved extensive training in
         methodology. As a graduate student, she began collaborating with me by
         conducting a large-scale survey of passengers at the Port Columbus International
         Airport. As field director for that project, she was responsible for all data
         collection activities and for statistical analysis of the data. She has over 14 years
         of professional and consulting experience in applied research, including project
         management and statistical support work with me in my conduct of survey
         research in the context of litigation.

       ● Michael Welsh: Dr. Welsh earned a B.S. from Colorado State University and an
         M.S. and PhD. from the University of Wisconsin – Madison. Dr. Welsh is a
         natural resource economist. He has over 30 years of practical experience in the
         design and implementation of survey research to support public policy analysis
         and litigation. Dr. Welsh collaborated with me for more than 5 years on the
         design, implementation, and analysis of a national level personal interview project
         sponsored by the National Oceanic and Atmospheric Administration.

   Are the Experts Who Will Testify About Surveys Conducted by Others Appropriately

   Skilled and Experienced?

51. I am qualified to discuss the survey that I conducted.

  Was an Appropriate Universe or Population Identified?

52. For this survey, the population is all adults living in the United States, age 18 and older.




Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 357 of 662        Document Page
                                                                                     73-1 356
      Did the Sampling Frame Approximate the Population?

   53. The sampling frame was a comprehensive set of residential addresses in the U.S.

      Does the Sample Approximate the Relevant Characteristics of the Population?

      What Is the Evidence That Nonresponse Did Not Bias the Results of the Survey?

   54. A sample of U.S. adults age 18 and older was selected from the USC CESR Understanding

America panel. The panel encompasses adults nationwide aged 18 and over, living in randomly

selected households, by zip-code, from a postal delivery sequence file provided by a commercial

vendor. The majority of panel members have their own online access prior to joining the panel;

others were provided, by USC CESR, a tablet and/or an Internet subscription.

      What Procedures Were Used to Reduce the Likelihood of a Biased Sample?

   55. The respondents were members of a panel of individuals whose households were selected

randomly, by zip-code from a postal delivery sequence file provided by a commercial vendor.

Selected individuals received by Priority Mail a 10-minute paper and pencil survey

(English/Spanish) with a $5 prepaid incentive and a promise of $15 upon the return of a

completed questionnaire via the enclosed postage paid envelope. At the end of the questionnaire,

the questionnaire asked about interest in participating in other research projects. People who

expressed an interest in study participation were asked for contact information (name, telephone,

email address). Multiple attempts/contacts were made to obtain a completed questionnaire from

the selected individuals.

      What Precautions Were Taken to Ensure That Only Qualified Respondents Were Included

      in the Survey?

   56. All respondents were qualified to participate – none were screened out.




    Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 358 of 662       Document Page
                                                                                      73-1 357
      Were Questions on the Survey Framed to Be Clear, Precise, and Unbiased?

   57. The questions were drafted according to the principles of optimal questionnaire

measurement identified in the published peer reviewed academic literatures on survey

methodology and related fields, drawing on my expertise and years of experience in the field. I

have published numerous papers on this topic and am confident that I crafted questions that were

clear, precise, and unbiased. These best practices principles are designed to maximize question

clarity and precision and to avoid bias.

       Were Some Respondents Likely to Have No Opinion? If So, What Steps Were Taken to

       Reduce Guessing?

   58. Respondents saw photographs of one of three dog food packages, answered questions

about their perceptions of the quality and healthiness of the food, and about their experiences

owning dogs.

   59. A large volume of literature suggests that sometimes when answering questions,

respondents hesitate before answering because they are not completely sure of the meaning of a

question or the meanings of answer choices or are uncertain about whether they are sufficiently

confident in their answers to justify expressing an opinion (e.g., Krosnick, J. A. 2002. The causes

of no-opinion responses to attitude measures in surveys: They rarely are what they appear to be.

In R. M. Groves, D. A. Dillman, J. L. Eltinge, and R. J. A. Little (Eds.), Survey Nonresponse.

New York: Wiley, 88-100). Research has indicated that in such situations, it is best to encourage

respondents to answer substantively, even if they are not completely sure, because their answers

are highly likely to reveal reliable judgments. But if a respondent prefers not to answer, he or she

should be permitted to do so. (e.g., Krosnick, J. A., & Presser, S. 2010. Questionnaire design. In




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 359 of 662       Document Page
                                                                                       73-1 358
J. D. Wright & P. V. Marsden (Eds.), Handbook of Survey Research (Second Edition). West

Yorkshire, England: Emerald Group).

   60. In this survey, if a respondent volunteered that he or she did not know the answer to a

question (by skipping the question), the following message was displayed: “We noticed that you

didn’t answer the question below. We would be really grateful if you’d be willing to answer it as

accurately as you can, even if you’re not completely sure of your answer. But if you prefer not to

answer the question, just click on the NEXT button below.” If the respondent skipped the

question again, he or she was not probed further, and the next question was displayed.

       Did the Survey Use Open-Ended or Closed-Ended Questions? How Was the Choice in

       Each Instance Justified?

   61. The large volume of literature on questionnaire design indicates that an open-ended

format is optimal when the construct being measured is (1) a number, or (2) non-numeric and

categorical, with a universe of possible answers that cannot be known in advance of

administering the survey. Otherwise, closed-ended questions function well (e.g., Krosnick, J. A.,

& Presser, S. 2010. Questionnaire design. In J. D. Wright & P. V. Marsden (Eds.), Handbook of

Survey Research (Second Edition). West Yorkshire, England: Emerald Group).

   62. In this survey, all measurements of numbers were made using open-ended questions. For

example, respondents were asked how many dogs they had owned: "What is the total number of

dogs you have owned since you were 18 years old?” No questions involved answer choices that

were non-numeric and categorical with an unknown universe of possible responses.




    Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 360 of 662       Document Page
                                                                                      73-1 359
        If Probes Were Used to Clarify Ambiguous or Incomplete Answers, What Steps Were

       Taken to Ensure That the Probes Were Not Leading and Were Administered in a

       Consistent Fashion?

   63. No probes were used in this survey.

      What Approach Was Used to Avoid or Measure Potential Order or Context Effects?

   64. Question order effects (also called context effects) occur when asking one question

changes a person’s answers to a subsequent question, which would have been answered

differently had the prior question not been asked. Although the scholarly literature has

documented question order effects for particular types of questions (e.g., asking a general

question before asking specific versions of the same question, such as whether you like your life

overall and whether you like specific aspects of your life), in general, question order effects have

been found to occur rarely. For example, Smith (Smith, T. W. 1991. Context effects in the

General Social Survey. In P. P. Biemer, R. M. Groves, L. E. Lyberg, N. A. Mathiowetz, & S.

Sudman (Eds.), Measurement Error in Surveys. New York: John Wiley) conducted a large-scale

analysis of many experiments and found that “Overall the number of context effects created by

the rotation design employed by the GSS prior to 1988 are minuscule; 11-12 probable order

effects out of over 500 variables” (p. 69). Similarly, Schuman and Presser (Schuman, H., &

Presser, S. 1981. Questions and Answers in Attitude Surveys: Experiments on Question Form,

Wording, and Context. New York: Academic Press) conducted a similar analysis with data from

113 different experiments and found 8 statistically significant effects, just two more than would

be expected by chance alone. Therefore, the threat of question order effects is quite minimal.

   65. Diamond (2011) suggested using a particular type of order when asking general and

specific questions on the same topic, but this study’s questionnaire included no such sequences.




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 361 of 662       Document Page
                                                                                       73-1 360
She also suggested randomizing the order of questions to minimize the potential for question

order effects. We did not do this because no question sequences in the questionnaire match ones

that past research indicates were at risk for question order effects. And randomizing question

order would transform an orderly sequence of questions into an incomprehensible shuffling from

question topic to question topic and thereby compromise measurement quality.

      If the Survey Was Designed to Test a Causal Proposition, Did the Survey Include an

      Appropriate Control Group or Question?

   66. Causal propositions were tested by randomly assigning respondents to read no corrective

statement or one of two corrective statements about a dog food. About one-third of the

respondents were the control group, meaning that they did not see a corrective statement. About

one-third of the respondents were in the first treatment group, meaning they saw the first

corrective statement. And the remaining about one-third of respondents were in the second

treatment group, meaning they saw the second corrective statement.

      What Limitations Are Associated with the Mode of Data Collection Used in the Survey?

   67. Self-administration via computers has been shown to yield especially accurate

measurements when a probability sample is recruited, as was done for this study.

      Were the Interviewers Appropriately Selected and Trained?

   68. No interviewers were involved in conducting this survey.

      What Did the Interviewers Know About the Survey and Its Sponsorship?

   69. None of the interviewers who called potential respondents knew about the sponsorship of

the survey or its purpose.




    Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 362 of 662       Document Page
                                                                                      73-1 361
       What Procedures Were Used to Ensure and Determine That the Survey Was

       Administered to Minimize Error and Bias?

   70. Diamond (2011) listed three methods for ensuring that a survey is administered to

minimize error and bias: monitoring interviews, validation of interviews, and reviewing the work

done by individual interviewers. None of these apply in the present case, because interviewers

were not involved in data collection.

       What Was Done to Ensure That the Data Were Recorded Accurately?

   71. No interviewers collected or recorded data in this study, so data entry from interviewers

is not a concern. Extensive testing of the online questionnaire was conducted to ensure that

answers were recorded accurately.

       What Was Done to Ensure That the Grouped Data Were Classified Consistently and

       Accurately?

   72. No data were coded in this study.

      When Was Information About the Survey Methodology and Results Disclosed?

   73. Information about the survey methodology and results is disclosed fully in this report.

      Does the Survey Report Include Complete and Detailed Information on All Relevant

      Characteristics?

   74. Diamond (2011) listed several specific areas that should be discussed in any survey

report, and all are discussed here. These include:

           ● “The purpose of the survey” (p. 415): This is described in this report.

           ● “A definition of the target population and a description of the sampling frame” (p.
             415): This is described in this report.

           ● “A description of the sample design, including the method of selecting
             respondents, the method of interview, the number of callbacks, respondent
             eligibility or screening criteria and method, and other pertinent information” (p.



    Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 363 of 662       Document Page
                                                                                      73-1 362
                415): This is described in this report.

           ● “A description of the results of sample implementation, including the number of
             potential respondents contacted, potential respondents not reached, noneligibles,
             refusals, incomplete interviews or terminations, and completed interviews” (p.
             415): The equivalent of these for online surveys are included in this report.

           ● “The exact wording of the questions used, including a copy of each version of the
             actual questionnaire, interviewer instructions, and visual exhibits” (p. 415): This
             is described in this report.

           ● “A description of any special scoring (e.g., grouping of verbatim responses into
             broader categories” (p. 416): This did not occur in this study.

           ● “A description of any weighting or estimating procedures used” (p. 416): This is
             described in this report.

           ● “Estimates of the sampling error, where appropriate (i.e., in probability samples)”
             (p. 416): This is described in this report.

           ● “Statistical tables clearly labeled and identified regarding the source of the data,
             including the number of raw cases forming the base for each table, row, or
             column” (p. 416): This is done in this report.

           ● “Copies of interviewer instructions, validation results, and code books.” (p. 416):
             Since interviewers did not collect data in this study, this report does not address
             issues involving interviewers. No codebooks were created.


      In Surveys of Individuals, What Measures Were Taken to Protect the Identities of

      Individual Respondents?

   75. None of the primary researchers (me and employees at The Strategy Team) were

provided information about who was selected to be invited to participate in the survey or who

participated.

   76. All identifying information was stored on password-protected computers. In the data files

possessed by the primary researchers, respondents were identified only by numbers that could

not be connected to their names. Only USC CESR had access to that link for sample

management and incentive fulfillment purposes, and USC CESR employees are professionally



    Case 2:18-cv-01996-JPS           Filed 09/18/19       Page 364 of 662    Document Page
                                                                                      73-1 363
committed to protecting these identities and never revealing them, according to the code of ethics

of the professional association of their industry, the American Association for Public Opinion

Research.

   77. Diamond (2011) said that “Copies of all questionnaires should be made available upon

request so that the opposing party has an opportunity to evaluate the raw data. All identifying

information, such as the respondent’s name, address, and telephone number, should be removed

to ensure respondent confidentiality” (p. 418). In keeping with this advice, the identities of

respondents are not provided as part of the survey documentation in this report, and the primary

investigators do not possess such information.

Results

   78. The results of this survey support the central conclusion of interest (details are provided

in the Technical Report in this document): providing information about the risk of the presence

of pentobarbital in the dog foods statistically significantly decreased the perceived quality and

healthiness of the dog foods. Two different statements were tested, and both produced

equivalent effects on perceptions of quality and healthiness.

   79. I also found that the impact of this information on how the products were evaluated was

observed among various subgroups of respondents, including: people who spent more money on

dog food and people who did not do this, people who owned more dogs and people who did not,

people who owned dogs during the class period and people who did not, people who bought dog

food from a pet store and did not, completed the questionnaire earlier in the field period and

people who completed it later, people who took longer to complete the questionnaire and people

who did not, people were female, were not female, were more educated, were not more educated,

had higher household incomes, were married, were older, and were not older, who did not live in




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 365 of 662        Document Page
                                                                                        73-1 364
households by themselves or with only one other person, people who lived in a household with at

least one child under 18 years old, and people who did not live in those households, people who

live in the Northeast or Midwest and people who do not live in these areas, people who are

working as a paid employee, people who are white and non-Hispanic, and people who are not

white and non-Hispanic.

   80. In sum, the results are consistent with the conclusion that disclosing additional

information about the alleged risk of the presence of pentobarbital in an ingredient of the dog

foods decreased perceived quality and healthiness by statistically significant amounts. Both

versions of a statement providing this information had equivalent effects.

Conclusion

   81. This case constitutes a sensible context in which to take advantage of the science of

survey research methodology for informing the Court. By designing and implementing a survey

implementing best practices, data were gathered on the central issues at stake in this case

efficiently and cost-effectively.

       I make this declaration under penalty of perjury under the laws of the United States and

the State of California this 13h day of August, 2019, at Portola Valley, California.



___________________________

Jon A. Krosnick




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 366 of 662       Document Page
                                                                                       73-1 365
                              Technical Report

                         Survey Methods and Results




Case 2:18-cv-01996-JPS    Filed 09/18/19   Page 367 of 662   Document Page
                                                                      73-1 366
                                       INTRODUCTION

67. A study was conducted to gather information about people’s perceptions of dog foods made
    by Champion. To do this, the following steps were taken.

68. First, case documents were reviewed. Then a questionnaire was designed to measure
    perceptions of the quality and healthiness of Champion dog foods, in addition to additional
    assessments of respondents’ experiences owning dogs.

69. Plaintiffs’ attorneys provided images of 13-pound packages of three Champion products:
    Orijen Regional Red dog food, Acana Appalachian Ranch dog food and Acana Hertitage Red
    Meat dog food. These were the focus of the experiment embedded in the survey to assess
    perceptions of quality and healthiness.

70. An analysis was conducted to assess the similarity of these 16 packages to one another. To
    conduct this analysis, elements that were present on the packages were identified, and the
    packages were analyzed to determine what percentage of the packages contained each element.
    Two researchers reviewed each set of packages to judge whether the packages contained the
    element in question, and a third researcher resolved any differences. Three products were shown
    to respondents: Orijen Regional Red, Acana Appalachian Ranch, and Acana Heritage Red Meat
    Formula, all 13 pound packages from 2018. As the next table suggests, the packages in this set
    uniformly or nearly uniformly share many common elements with the packages shown to
    respondents, which justifies generalizing the findings of this experiment across packages of
    different sizes and years.

                Images of the Fronts of All of the Packages Included in this Analysis




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 368 of 662       Document Page
                                                                                       73-1 367
                                    Page Break
       Images of the Backs of All of the Packages Included in this Analysis




Case 2:18-cv-01996-JPS      Filed 09/18/19       Page 369 of 662    Document Page
                                                                             73-1 368
.




Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 370 of 662   Document Page
                                                                     73-1 369
71. As the next table suggests, the packages in this set uniformly or nearly uniformly share many
    common elements with the packages shown to respondents, which justifies generalizing the
    findings of this experiment across packages of different sizes and years.

                  Percent of Packages with Each Package Element Present

                                                                               Percent of Packages
                                                                                with the Element
Element (Text, Image, or Idea that Appears on the Package)
                                                                                    Present
                                                                                    (N = 16)
"Acana" or "Orijen"                                                                   100%
Type of food (E.g., Six Fish, Duck & Pear, Tundra, Regional Red,
                                                                                      100%
Meadowland)
Description of key ingredients in food                                                100%
“Biologically appropriate”                                                            100%
“Never outsourced”                                                                    100%
"Wholeprey" or "Whole Prey"                                                           100%
List of percentages of animal ingredients vs. vegetables, fruits, and/or
botanicals vs. grain, potato, gluten(s)/tapioca, plant protein concentrates,          100%
oats and/or GMO
0(%) (any of following) grain, potato, gluten(s)/tapioca, plant protein
                                                                                      100%
concentrates, GMO
"Botanicals"                                                                          100%
"Vegetables"                                                                          100%
"Fruits"                                                                              100%
Photo of plant(s) or animal(s) (ingredients)                                          100%
"Fresh" ingredients                                                                   100%
"Regional" ingredients                                                                100%
Photo of vista / outdoors / agricultural landscape                                    100%
Statement about vista / outdoors / landscape shown (e.g. "AMERICA'S
                                                                                      100%
VAST AND FERTILE LANDS")
Caption to photo of vista / outdoors / agricultural landscape contains "Our
                                                                                      100%
source of inspiration"
Statement about the food being rich in protein                                        100%
Statement suggesting that the food is low in carbohydrates                            100%
Statement about keeping dogs happy and strong                                         100%
Icons for biologically appropriate, fresh regional ingredients, and never
                                                                                      100%
outsourced
"All breeds"                                                                          100%
"All...life stages"                                                                   100%
Total weight of food in package                                                       100%
Photo of a supplier (farmer, fisher, etc), with person and business name              100%
"People we (know and) trust"                                                          100%
"Organs"                                                                              100%
"Cartilage"                                                                           100%
Ingredients                                                                           100%



    Case 2:18-cv-01996-JPS          Filed 09/18/19       Page 371 of 662       Document Page
                                                                                        73-1 370
"Guaranteed analysis" table                                                        100%
Daily ration and feeding guide / feeding instructions based on size                100%
Daily ration based on activity level                                               100%
Rations / instructions for puppies, gestation, and lactation                       100%
Champion Petfoods / Champion Freeze-dried / Dogstar Kitchens
                                                                                   100%
/ Northstar Kitchens Logo
Address of company / location where product produced                               100%
Customer care information                                                          100%
Facebook, Twitter, and/or Instagram icons                                          100%
"Formulated to meet the nutritional levels established by the AAFCO Dog
                                                                                   100%
Food Nutrient Profiles for all life stages."
Graphic of plant(s) and/or animal(s) (ingredients)                                 100%
"championpetfoods.com"                                                             100%
Reference to "trusted" supplier / producer                                         100%
Statement suggesting that reading the ingredients will please the reader           100%
Reference to wolf ancestry / evolution / evolutionary diet                         100%
Ingredients delivered fresh, raw, and/or daily                                     100%
Statement that food is made / prepared in company's own kitchens                   100%
Refers to (Mother) Nature's wisdom, designs, or intentions (besides / in
                                                                                   100%
addition to "Nourish as nature intended")
"Award-winning" (or shows awards won)                                              94%
"Ingredients we love"                                                              94%
Provides weight of the key ingredients in the package (e.g., 1lb whole
                                                                                   94%
Atlantic mackerel)
Statement about pride (e.g. "Prepared with pride" or "Kentucky Proud")             94%
Freeze-dried ingredients (mentioned on package besides in ingredient list)         94%
Proportion fresh (or raw) and proportion dried (or oils) (e.g. "Half are
FRESH or RAW and loaded with goodness and taste, and half are DRIED
                                                                                   94%
or OILS that provide a strong and natural source of animal proteins and
fats.")
Statement about how each dog is unique                                             88%
"Trusted everywhere"                                                               88%
Calorie Content: metabolizable energy (ME) listed                                  88%
Social media handle(s)                                                             88%
Statement suggesting the food is low in additives or preservatives or is
                                                                                   88%
preserved naturally
"Calories distributed to support peak conditioning with" [XX% from
                                                                                   81%
protein], [XX% from carbohydrates], [XX% from fat], [etc.]
Signature of Reinhard Muhlenfeld, Founder                                          81%
Made in the USA / Made in Canada                                                   75%

72. A questionnaire was designed according to best practices in survey research. The final
    version of the questionnaire appears in Appendix B.




   Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 372 of 662        Document Page
                                                                                      73-1 371
Survey Design

73. Each respondent was randomly assigned to see one of three dog food packages:

   ● Approximately one-third of respondents saw Orijen Regional Red.

   ● Approximately one-third of respondents saw Acana Appalachian Ranch.

   ● Approximately one-third of respondents saw Acana Heritage Red.

74. After seeing photos of one side of the package, respondents read a transcript of all of the
    words on the side they had just viewed. This process was repeated for all sides of the
    package.

75. Next, respondents read either zero or one of two pieces of additional information. Each of the
    two pieces of additional information was a statement provided by Plaintiffs’ attorneys about
    the possibility that the product might contain pentobarbital. The display of each piece of
    information was independently randomly assigned to sample members before they started
    answering the questionnaire, using random numbers obtained from random.org. The two
    corrective statements were:

       ● The dog food you saw may contain a drug called pentobarbital. According to the U.S.
         government, pentobarbital is used to calm animals, to put them to sleep, to reduce
         their feelings of pain, and to end their lives.

       ● According to the U.S. government, the dog food you saw was made with meat
         products provided by a company that did not make sure to keep out meat from
         animals whose lives had been ended by giving them a drug called pentobarbital.

76. After looking at images of packaging, reading the words on the package, and possibly
    reading a statement about the possibility of pentobarbital being in the product they just
    reviewed, respondents were asked about their perceptions of the quality and healthiness of
    the product.

Respondents

77. USC CESR provided the respondents for the survey. The respondents were members of their
    Understanding America Study panel. The panel members were recruited by a process that
    began with random selection of residential addresses in the U.S. People living at those
    addresses received invitations to join the panel and complete questionnaires regularly. A
    description of the methodology used to build the Understanding America Study Panel
    appears in the field report provided by USC CESR in Appendix C.




    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 373 of 662       Document Page
                                                                                       73-1 372
78. On July 25, 2019, USC CESR emailed and mailed invitations to participate.29 The
    invitations provided a link to the online questionnaire. Respondents could access the
    questionnaire by clicking the link and providing a specified login number and password.

79. The questionnaire was programmed in software hosted by USC CESR. Respondents
    received $17 for completing the questionnaire.

80. USC CESR sent email reminders to potential respondents, inviting them to complete the
    questionnaire for this study. These email reminders were sent on July 27, 2019, August 2,
    2019, and August 5, 2019. The email messages are shown in Appendix C.

81. Data were downloaded and final weights were computed for the analyses in this report on
    the morning of August 10, 2019.

82. 1,200 panel members were invited to complete the questionnaire, and 859 did so, so the
    completion rate is 76.1 percent. The survey had a cumulative response rate of 8.3% (ORR2 -
    see Callegaro, M., & DiSogra, C. 2008). The cumulative response rate was calculated using
    the panel recruitment rate and panel retention rate (provided by USC CESR) and the
    completion rate.




29
  Although formal invitations were not sent until July 25, a soft rollout began on July 23 rd during which respondents
could see this survey was available for them to complete, either because they visited the UAS website of their own
volition, or because they had completed another UAS survey became aware that this survey was available for them
to complete.



     Case 2:18-cv-01996-JPS               Filed 09/18/19          Page 374 of 662           Document Page
                                                                                                     73-1 373
                            Cumulative Response Rate of Survey

               Panel
            Recruitment      Panel Retention         Survey
           Response Rate          Rate            Completion Rate          ORR2
                54.6%             72.5%              71.526%               8.3%



Weighting

83. Using standard scientific procedures, data were weighted so that the respondents in the
    participating sample resembled the population from which the respondents were drawn. More
    information on the weighting procedure appears in Appendix D. In the next table, three sets
    of percentages are displayed: the percent of people in different demographic groups in the
    U.S. population according to CPS, ACS, or NHIS benchmarks, the percent of respondents in
    different demographic groups in the dog food survey before weighting the data, and the
    percent of respondents in different demographic groups in the dog food study after weighting
    the data.

                                                                            Percent from
                                     CPS, ACS, or       Percent from          Dog Food
                                     NHIS Percent        Dog Food           Survey with
                                       Used as          Survey with          Final Post-
                                      Weighting         Base Weight         Stratification
    Demographic Group                  Target               Only               Weight
    Male                               48.27%              46.53%              48.20%
    Female                               51.73%             53.47%             51.80%
                                                           (n = 859)          (n = 859)
    Married                              52.72%             62.08%             52.59%
    Widowed/Divorced
                                         18.54%             22.85%             18.48%
    Separated
    Never married                        28.74%             15.08%             28.93%
                                                           (n = 859)          (n = 859)
    Northeast                            17.55%             13.79%             17.53%
    Midwest                              20.78%             27.28%             20.78%
    South                                37.90%             37.42%             37.95%
    West                                 23.77%             21.51%             23.74%
                                                           (n = 859)          (n = 859)
    One household member                 14.81%             18.56%             14.79%




   Case 2:18-cv-01996-JPS         Filed 09/18/19     Page 375 of 662       Document Page
                                                                                    73-1 374
                                                               Percent from
                              CPS, ACS, or     Percent from      Dog Food
                              NHIS Percent      Dog Food       Survey with
                                Used as        Survey with      Final Post-
                               Weighting       Base Weight     Stratification
Demographic Group               Target             Only           Weight
Two household members           34.91%            40.12%          34.79%
Three or four household
                                 35.46%           32.26%          35.52%
members
Five or more household
                                 14.82%           9.06%           14.90%
members
                                                 (n = 841)       (n = 841)
18-29 years old                  20.80%           6.08%           20.72%
30-39 years old                  17.27%           15.32%          17.29%
40-49 years old                  15.92%           16.82%          15.91%
50-64 years old                  25.06%           35.35%          25.09%
65 years old or older            20.95%           26.42%          20.99%
                                                 (n = 857)       (n = 857)
No HS diploma                    10.66%           2.80%           10.66%
HS graduate or equivalent        28.28%           15.36%          28.26%
Some college                     27.74%           36.87%          27.78%
College Grad                     21.32%           25.72%          21.31%
Post-grad                        12.00%           19.25%          11.99%
                                                 (n = 859)       (n = 859)
White only                       77.72%           82.24%          77.74%
Black only                       12.65%           9.19%           12.63%
Other/multi-race                  9.63%           8.57%           9.63%
                                                 (n = 858)       (n = 858)
Hispanic                         16.49%           5.58%           16.46%
Not Hispanic                     83.51%           94.42%          83.54%
                                                 (n = 859)       (n = 859)
Employed                         62.14%           55.69%          62.14%
Not employed                     19.02%           22.13%          19.02%
Retired                          18.84%           22.17%          18.84%
                                                 (n = 857)       (n = 857)



Case 2:18-cv-01996-JPS      Filed 09/18/19   Page 376 of 662   Document Page
                                                                        73-1 375
84. Throughout this report, weighted frequencies and percentages are displayed in the tables. The
    weighted total number of respondents may not equal the sum of the numbers of respondents
    in subgroups.

                                                 RESULTS

85. The questionnaire included items tapping respondents’ experiences owning dogs that
    indicated an inclination toward devoting effort to promoting the health of their dogs and
    toward promoting their own health.

86. Nine items were used to create factor1, referred to as “concern for dog”:

     ● DOG_HEALTHY_PRES. How important to you is it that your dog is as healthy as
       possible? Extremely important, very important, moderately important, slightly important,
       or not important at all?30

     ● DOG_SAFE_PRES. How important to you is it that your dog is as safe as possible?
       Extremely important, very important, moderately important, slightly important, or not
       important at all?31

     ● BOOKS_INGRED. Did you ever read books, magazines, or information online to learn
       about what ingredients are in dog foods to decide which ones to buy, or did you never do
       that?

     ● FOOD_TASTE. If you were to buy dog food, when deciding which food to buy, how much
       attention would you pay to whether the food tastes good to dogs? A great deal of
       attention, a lot of attention, a moderate amount of attention, a little attention, or none at
       all?

     ● FOOD_HEALTH. If you were to buy dog food, when deciding which food to buy, how
       much attention would you pay to whether the food will improve the health of dogs? A
       great deal of attention, a lot of attention, a moderate amount of attention, a little
       attention, or none at all?

     ● FOOD_APPEARANCE. If you were to buy dog food, when deciding which food to buy,
       how much attention would you pay to whether the food will improve the appearance of
       dogs? A great deal of attention, a lot of attention, a moderate amount of attention, a little


30
   Three other versions (DOG_HEALTHY_PAST, DOGS_HEALTHY_PRES, DOGS_HEALTHY_PAST) of this
question were asked depending on whether the respondent currently or only formerly owned dogs and whether the
respondent owned one dog or more than one dog. A summary variable collapsing across the four items was included
in this analysis. See Appendix B for details.
31
   Three other versions of this question (DOG_SAFE_PAST, DOGS_SAFE_PRES, DOGS_SAFE_PAST) were
asked depending on whether the respondent currently or only formerly owned dogs and whether the respondent
owned one dog or more than one dog. A summary variable collapsing across the four items was included in this
analysis. See Appendix B for details.



     Case 2:18-cv-01996-JPS             Filed 09/18/19        Page 377 of 662          Document Page
                                                                                                73-1 376
       attention, or none at all?

   ● FOOD_ALLNATURAL. If you were to buy dog food, when deciding which food to buy,
     how much attention would you pay to whether the food is all-natural? A great deal of
     attention, a lot of attention, a moderate amount of attention, a little attention, or none at
     all?

   ● FOOD_GRAINFREE. If you were to buy dog food, when deciding which food to buy,
     how much attention would you pay to whether the food is grain free? A great deal of
     attention, a lot of attention, a moderate amount of attention, a little attention, or none at
     all?

   ● FOOD_ORGANIC. If you were to buy dog food, when deciding which food to buy, how
     much attention would you pay to whether the food is organic? A great deal of attention, a
     lot of attention, a moderate amount of attention, a little attention, or none at all?

87. Responses to these nine questions were coded to range from 0 to 1, averaged to create an
    index and then squared to reflect an accelerating relation of the variables with purchasing
    decisions. The squared average is referred to as the “Concern for dog index.” For respondents
    who answered fewer than nine of the questions, their index score was the average of their
    non-missing values. One respondent chose not answer any of the nine questions. A total of
    126 respondents were never asked these questions because those people said earlier in the
    questionnaire that they never owned a dog. The value of the index for these respondents was
    set to -1 to allow their evaluations of the products to be included in the analysis.
    Additionally, a dummy variable coded to indicate whether they were missing on this index
    was also included.

88. Two items were used to create a second factor (called “Purchase of non-GMO / Organic”):

   ● P_SHOP_ORGANIC. When you shopped for groceries during the last month, did you
     ever buy organic products, or did you not do that?

   ● P_SHOP_NONGMO. When you shopped for groceries during the last month, do you ever
     buy non-GMO products, or do you not do that?

89. Responses to these questions were coded to range from 0 to 1, then averaged to create an
    index and squared to create a “Purchase of non-GMO/Organic” index. For respondents who
    answered only one of the two questions, their index value was their non-missing answer. One
    respondent chose not to answer either of these two questions. The value of the index for this
    respondent was set to -1 to allow his/her evaluations of the product to be included in the
    analysis. Additionally, a dummy variable coded to indicate whether they were missing on
    this index was also included.




   Case 2:18-cv-01996-JPS           Filed 09/18/19     Page 378 of 662        Document Page
                                                                                       73-1 377
Impact of the Corrective Statements on Evaluations of the Product

90. Of the 859 respondents who completed the questionnaire, all answered at least one of the two
    questions measuring perceived quality and healthiness of the product. Therefore, all 859
    respondents contributed data to the analyses described next.

91. These two questions were:

   ● QUALITY. How would you rate the quality of this dog food? Excellent, good, fair, poor,
     or very poor?

   ● HEALTHY. How healthy would you say this dog food is? Extremely healthy, very healthy,
     moderately healthy, slightly healthy, or not healthy at all?

92. Responses to these two questions were transformed to quantities as follows:

   •   Excellent / Extremely healthy = 100
   •   Good / Very = 75
   •   Fair / Moderately = 50
   •   Poor / Slightly = 25
   •   Very Poor / Not healthy at all = 0

93. These quantities were then averaged to yield an index. If a respondent was missing a value
    on either quantity, the other quantity was used. Then, the parameters of an ordinary least
    squares regression were estimated, predicting the index using dummy variables to indicate
    the presence or absence of each corrective statement controlling for the “Concern for dog”
    index, the “Purchase of non-GMO / organic” index, a dummy variable for each index that
    indicated the respondent did not answer any of the questions in the index, and dummy
    variables representing four demographic control variables (gender, age, education, and
    income).

94. As shown by the two first lines in the table below, the impact of the two corrective
    statements was statistically significant and negative, indicating that reading either corrective
    statement reduced their evaluations of the quality and healthiness of the dog food as
    compared to people who read no corrective statement.

Estimates of the Parameters of an OLS Regression Equation Predicting Evaluations of the
Dog Food Using the Presence or Absence of a Message about Pentobarbital, Gender, Age,
   Education, Income, the “Concern for dog” Index, and the “Purchase of non-GMO /
                                    Organic” Index



                                                                      Unstandardized
                                                                        Regression
 Predictor                                                              Coefficient        p-value



    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 379 of 662        Document Page
                                                                                        73-1 378
 Corrective Statement 1                                                -24.23           0.00

 Corrective Statement 2                                                -20.15           0.00

 Gender (female = 1)                                                   -5.95            0.04

 Age (missing = 1)                                                     22.42            0.00

 Age (age 30 - 44 = 1)                                                  1.47            0.75

 Age (age 45 - 59 = 1)                                                  2.45            0.55

 Age (age 60 or older = 1)                                             -1.47            0.71

 Education (HS graduate or equivalent = 1)                             -4.89            0.34

 Education (Some college = 1)                                          -5.10            0.32

 Education (Bachelor's degree or more = 1)                             -3.00            0.58

 Income (missing = 1)                                                   1.52            0.77

 Income (1 = $30,000 to $59,999)                                        3.12            0.37

 Income (1 = $60,000 to $99,999)                                       -4.50            0.29

 Income (1 = $100,000 or more)                                          1.36            0.77

 Concern for dog (1 = higher index score)                               6.74            0.29

 Missing concern for dog index (1 = missing)                           17.83            0.06

 Purchase of non-GMO / organic (1 = higher index score)                 2.44            0.50

 Missing purchase of non-GMO/organic index (1 = missing)               36.44            0.00

 Constant                                                              81.46            0.00

 N                                                                      859

 R2                                                                     .17

95. The two tables below show how the two corrective statements reduced ratings of the quality
    and healthiness of the products.




      Case 2:18-cv-01996-JPS       Filed 09/18/19    Page 380 of 662       Document Page
                                                                                    73-1 379
                           Responses to Quality Question by Condition


Perceived Quality                Message 1               Message 2              No Message

Excellent                          24.48%                  20.78%                 53.80%
Good                               29.03%                  39.46%                 36.46%
Fair                               22.19%                  23.59%                  8.51%
Poor                               14.31%                  6.65%                   0.79%
Very poor                          9.99%                   9.51%                   0.44%

Total                               100%                   100%                    100%

N                                    277                    289                     293


                         Responses to Healthiness Question by Condition


Perceived Quality                Message 1               Message 2              No Message

Extremely healthy                  11.67%                  15.78%                 26.78%
Very healthy                       34.43%                  28.84%                 48.06%
Moderately healthy                 25.19%                  35.40%                 22.81%
Slightly healthy                   13.42%                  9.55%                   1.64%
Not healthy at all                 15.29%                  10.43%                  0.71%

Total                               100%                   100%                    100%

N                                    276                    289                     293


 Results: Impact of Potential Indicator of Response Inaccuracy

 96. The length of time respondents took to complete the online questionnaire was examined as a
     potential indicator of response inaccuracy. The time respondents opened the questionnaire
     and the time the respondent completed the questionnaire was recorded. The median elapsed
     time between opening and completing the questionnaire was approximately 14 minutes.



       Case 2:18-cv-01996-JPS      Filed 09/18/19     Page 381 of 662      Document Page
                                                                                    73-1 380
       Completing the questionnaire very quickly or slowly may indicate inaccuracies in a
       respondent’s data.

97. Answering questions quickly may indicate that a respondent did not read completely or did
    not think much about the questions. Taking a long time to complete the questionnaire may
    indicate that a respondent was temporarily interrupted, which could attenuate any effects of
    the corrective information.

98. The majority of respondents completed the questionnaire in 5 to 20 minutes. Fewer than 5%
    of respondents completed the questionnaire in less than five minutes, and fewer than 3% of
    respondents spent 30 minutes or more completing the questionnaire. As shown in the next
    table, these numbers are so small as to indicate there is no substantial risk that very quick or
    very slow completion compromised the accuracy of the results reported thus far.

                         Distribution of Time Spent Completing the Questionnaire32

                                                    Percent of         Cumulative Percent
               Number of Minutes                   Respondents          of Respondents
               Less than 5 minutes                     2.10%                 2.10%
               5 to less than 10 minutes              23.17%                25.26%
               10 to less than 15 minutes             29.34%                54.60%
               15 to less than 20 minutes             18.04%                72.64%
               20 to less than 30 minutes             14.20%                86.85%
               30 to less than 55 minutes              5.24%                92.08%
               55 minutes or more                      7.92%                100.00%

               N                                        859




32
     The numbers in this table are unweighted.



       Case 2:18-cv-01996-JPS               Filed 09/18/19     Page 382 of 662   Document Page
                                                                                          73-1 381
Effects of Corrective Statements in Subgroups

99. The expected effects of a corrective statement on perceived quality and healthiness of the
    foods was apparent in a variety of subgroups of the respondents, indicating generality of the
    finding observed with all respondents.

100. Throughout this section, the questions used in these analyses are described. In all cases, a
   dummy variable for each characteristic was generated to create two categories, with
   respondents who had the attribute of interest coded 1 and all other respondents (including
   respondents who were missing on the variable) coded 0.

101. First, the effect was examined among respondents with various characteristics related to
   dog ownership, including:

   ● Respondents who reported owning a relatively larger number of dogs since they were 18
     years old (i.e., more than two dogs)

   ● Respondents who reported owning dogs during the class period (i.e., owned one or more
     dogs since the start of the class period - July 1, 2013)

   ● Respondents who reported spending a relatively large amount of money on food per dog
     (i.e., spent more than $1.28 per month, per pound, per dog on average)

   ● Respondents who said they bought pet food at a store that sells only pet supplies

102. Dummy variables were generated to represent these subgroups. The first question
   analyzed was the number of dogs owned as an adult:

   •   DOG_NUM. What is the total number of dogs you have owned since you were 18 years
       old?

103. Next respondents indicated if they owned dogs during the class period by answering one
   of four questions, depending on prior answers to other questions in the questionnaire:

   •   DOG_CURR. Do you own that dog now, or do you not own it now?

   •   DOGS_CURR. Do you own one of those dogs now, or do you not own any of those dogs
       now?

   •   DOG_CLASS. Did you own that dog before July 1, 2013, or did you not own it then?

   •   DOGS_CLASS. Did you own any of those dogs before July 1, 2013, or did you not own
       any of them then?




    Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 383 of 662       Document Page
                                                                                      73-1 382
104. A computation of the amount of money spent per pound of dog was created by first
   averaging across responses to three questions to determine the average weight, in pounds, of
   the dogs owned by respondents:

     •   WEIGHT1A. In the box below, please type how many pounds your dog has weighed, on
         average, during the time you have owned it.

     •   WEIGHT1B. In the box below, please type how many pounds your dog weighed, on
         average, during the time you have owned it.

     •   WEIGHTX. In the boxes below, please type how many pounds each of your dogs
         weighed, on average, during the time you have owned it.33

105. To measure the amount of money spent on dog food per month, on average, respondents
   were asked one of two questions, depending on how many dogs they had owned:

     •   DOG_FOODSPEND. During the time when you have owned a dog, how much money did
         you spend for your dog’s food per month, on average?

     •   DOGS_FOODSPEND. During the time when you have owned dogs, how much money
         did you spend for your dogs’ food per month, on average?

106. The weight and food spend variables were winsorized, which means that outlying values
   were recoded to the highest or lowest value in the distribution. This was done by identifying
   all values that were three standard deviations above or below the mean, setting those
   variables to missing, then recoding them to the highest or lowest non-outlying value.

107. Finally, the average amount of money spent on dogs per month was divided by the
   average weight of the dog(s) respondents owned to compute the average amount of money
   spent per pound per month. This average was winsorized as described previously. A new
   variable was created to indicate whether a respondent spent more or less on pet food.

108. Whether respondents ever bought dog in a pet food store was measured with this
   question:

     •   FOOD_PETSTORE. Did you ever buy dog food from a store that sells only pet supplies,
         or did you never do that?

109. To test the effect of a corrective message on the product evaluation within different
   subgroups, a series of OLS regressions were estimated predicting the variable of interest with
   the demographic controls previously mentioned. When a subgroup indicator was perfectly
   collinear with one or more of the demographic control variables, the demographic control
   variable was eliminated from the model.

33
 This question was repeated, displaying the appropriate number of boxes for the number of dogs reported. A
maximum of 20 boxes were displayed.



     Case 2:18-cv-01996-JPS             Filed 09/18/19         Page 384 of 662          Document Page
                                                                                                 73-1 383
      110. The next tables show the effect of each corrective statement on product evaluation was
         statistically significant and negative in all of the subgroups of respondents examined. The
         final column in the tables indicate there was only one statistically significant difference in the
         strength of the effect in the categories that are shaded similar colors in the table

           Effect of Message 1 on Evaluations of the Dog Food in Population Subgroups
           (Controlling for Gender, Age, Education, Income, the “Concern for dog” index, and the
           “Purchase of non-GMO / organic” index)

                                                                                                    Significant
                                                                                                    Difference
                                                                                                     in Effect
                                                        Effect of                                    Between
Subgroup                                      N         Message 1          t          p-value       Categories?

Owned more than two dogs                     384          -25.09         -4.72          0.00
                                                                                                         No
Did not own more than two dogs               475          -23.48         -5.77          0.00

Owned dogs during the class period           640          -25.71         -6.69          0.00

Did not own dogs during the class                                                                        No
                                             219          -20.30         -3.56          0.00
period

Spent more money on dog food                 308          -22.01         -3.71          0.00
                                                                                                         No
Did not spend more on dog food               551          -25.14         -6.41          0.00

Bought dog food from a pet store             483          -30.60         -7.07          0.00
                                                                                                         Yes
Did not buy dog food from a pet store        376          -14.77         -3.30          0.00




           Effect of Message 2 on Evaluations of the Dog Food in Population Subgroups
           (Controlling for Gender, Age, Education, Income, the “Concern for dog” index, and the
           “Purchase of non-GMO / organic” index)




           Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 385 of 662        Document Page
                                                                                              73-1 384
                                                                                                     Significant
                                                                                                     Difference
                                                                                                      in Effect
                                                        Effect of                                     Between
Subgroup                                       N        Message 2           t          p-value       Categories?

Owned more than two dogs                      384          -21.15        -4.82           0.00
                                                                                                             No
Did not own more than two dogs                475          -19.05        -5.00           0.00

Owned dogs during the class period            640          -21.28        -6.45           0.00

Did not own dogs during the class                                                                            No
                                              219          -17.05        -2.76           0.01
period

Spent more money on dog food                  308          -18.02        -4.35           0.00
                                                                                                             No
Did not spend more on dog food                551          -21.54        -5.55           0.00

Bought dog food from a pet store              483          -23.41        -5.86           0.00
                                                                                                             No
Did not buy dog food from a pet store         376          -16.06        -3.74           0.00

      111. Next, the effects of corrective statements on perceptions of the foods were examined
         among respondents who:

           ● Completed the questionnaire earlier in the field period (i.e., first four days of the survey)

           ● Took longer to complete the questionnaire (i.e., 15 or more minutes)

      112. The date and time the respondent began the questionnaire and the date and time the
         respondent submitted the questionnaire was recorded by the on-line survey software. These
         variables were recoded such that respondents who completed earlier were coded 1, and all
         other respondents were coded 0 for one variable, and respondents who took 15 or more
         minutes to complete the questionnaire were coded 1, and all other respondents were coded 0.

      113. As the next table shows, the effect of the corrective statements was again negative and
         statistically significant in all subgroups, as expected.




           Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 386 of 662       Document Page
                                                                                              73-1 385
       Effect of Message 1 on Evaluations of the Dog Food Among Respondents Who Completed
       the Questionnaire Early or Slowly (Controlling for Gender, Age, Education, Income, the
               “Concern for dog” Index, and the “Purchase of non-GMO / organic” Index

                                                                                              Significant
                                                                                              Difference
                                                                                               in Effect
                                                    Effect of                                  Between
Subgroup                                    N       Message 1         t          p-value      Categories?
Completed the questionnaire earlier in
                                           452        -27.66        -5.92         0.00
the field period
                                                                                                  No
Did not complete the questionnaire
                                           407        -20.24        -5.01         0.00
earlier in the field period
Took longer to complete the
                                           390        -24.41        -4.85         0.00
questionnaire
                                                                                                  No
Did not take longer to complete the
                                           469        -24.03        -5.94         0.00
questionnaire


       Effect of Message 2 on Evaluations of the Dog Food Among Respondents Who Completed
       the Questionnaire Early or Slowly (Controlling for Gender, Age, Education, Income, the
               “Concern for dog” Index, and the “Purchase of non-GMO / organic” Index

                                                                                              Significant
                                                                                              Difference
                                                                                               in Effect
                                                    Effect of                                  Between
Subgroup                                    N       Message 2         t          p-value      Categories?
Completed the questionnaire earlier in
                                           452        -20.18        -5.92         0.00
the field period
                                                                                                  No
Did not complete the questionnaire
                                           407        -20.18        -4.16         0.00
earlier in the field period
Took longer to complete the
                                           390        -23.18        -5.34         0.00
questionnaire
                                                                                                  No
Did not take longer to complete the
                                           469        -16.89        -4.42         0.00
questionnaire

      114. Next, the effects of corrective statements on perceptions of the foods were examined
         among respondents in various demographic subgroups:


           Case 2:18-cv-01996-JPS        Filed 09/18/19   Page 387 of 662      Document Page
                                                                                        73-1 386
    ● Respondents who were female vs. all other respondents

    ● Respondents who were more educated (i.e., had a B.A. degree or higher) vs. all other
      respondents

    ● Respondents who had higher household incomes (those who reported 2018 household
      incomes of $60,000 or more) vs. all other respondents

    ● Respondents who were married vs. all other respondents

    ● Respondents who were older (aged 45 or more) vs. all other respondents

    ● Respondents who lived in households by themselves or with one other person vs. all
      other respondents.

    ● Respondents who lived in households with at least one child under age 18 vs. all other
      respondents.

    ● Respondents who lived in households that had only cellular telephone service vs. all other
      respondents.

    ● Respondents who lived in one-family detached homes vs. all other respondents.

    ● Respondents who lived in household where someone owned or was buying the house
      with a mortgage or loan.

    ● Respondents who lived in the Northeast or Midwest vs. all other respondents.

    ● Respondents who were working as a paid employee vs. all other respondents.

    ● White, non-Hispanic respondents vs. all other respondents.

115. USC CESR collected these demographic data via their routine panel screening
   questionnaires, so the questions were not asked in the present survey.

116. As the next tables show, the effect of the corrective statements was negative and
   statistically significant in all subgroups, and the effect differed statistically significantly only
   with regard to the effect of message 1 for the age subgroups.




    Case 2:18-cv-01996-JPS           Filed 09/18/19       Page 388 of 662        Document Page
                                                                                          73-1 387
         The Effect of Message 1 on Evaluations of the Dog Food in Various Demographic
     Subgroups, Controlling for Gender, Age, Education, the “Concern for dog” Index, and the
                             “Purchase of non-GMO / organic” Index

                                                                                     Significant
                                                  Effect of                          Difference
                                                 Number of                            Between
Subgroup                                   N     Message 1       t         p-value   Categories?

Female                                    445      -29.23      -5.83        0.00
                                                                                         No
Not Female                                414      -18.00      -4.14        0.00

More education (Have a B.A. or more)      286      -18.75      -3.39        0.00
                                                                                         No
Did not have a B.A. or more               573      -27.33      -6.84        0.00

Higher household income (over
                                          402      -23.07      -4.61        0.00
$60,000 in 2018)
                                                                                         No
Household income not over $60,000 in
                                          457      -25.27      -5.89        0.00
2018

Married                                   452      -18.67      -4.87        0.00
                                                                                         No
Not married                               407      -30.38      -5.72        0.00

Older respondents (over age 45)           456      -16.78      -4.56        0.00

Respondents who were not over 45                                                         Yes
                                          403      -32.22      -6.11        0.00
years old

Household size is one or two              415      -20.78      -4.56        0.00
                                                                                         No
Household size is not one or two          444      -27.16      -5.90        0.00

Household has at least one child          281      -24.37      -4.33        0.00

Household does not have at least one
                                          578      -23.96      -6.17        0.00         No
child

Respondent lives in Northeast or
                                          329      -25.57      -5.94        0.00
Midwest
                                                                                         No
Respondent does not live in Northeast
                                          530      -23.41      -5.17        0.00
or Midwest

Respondent is working as a paid
                                          518      -26.64      -6.33        0.00         No
employee




          Case 2:18-cv-01996-JPS        Filed 09/18/19   Page 389 of 662   Document Page
                                                                                    73-1 388
                                                                                     Significant
                                                 Effect of                           Difference
                                                Number of                             Between
Subgroup                                  N     Message 1       t         p-value    Categories?

Respondent is not working as a paid
                                         341      -20.60      -3.98        0.00
employee

Respondent is white and non-Hispanic     547      -22.74      -6.02        0.00

Respondent is not white and non-                                                         No
                                         307      -25.52      -4.51        0.00
Hispanic




         The Effect of Message 2 on Evaluations of the Dog Food in Various Demographic
     Subgroups, Controlling for Gender, Age, Education, the “Concern for dog” Index, and the
                             “Purchase of non-GMO / organic” Index

                                                                                     Significant
                                                 Effect of                           Difference
                                                Number of                             Between
Subgroup                                  N     Message 2       t         p-value    Categories?

Female                                   445      -24.21      -5.74        0.00
                                                                                         No
Not Female                               414      -14.63      -3.72        0.00

More education (Have a B.A. or more)     286      -19.44      -3.50        0.00
                                                                                         No
Did not have a B.A. or more              573      -20.66      -6.04        0.00

Higher household income (over
                                         402      -21.30      -4.80        0.00
$60,000 in 2018)
                                                                                         No
Household income not over $60,000 in
                                         457      -19.17      -4.92        0.00
2018

Married                                  452      -17.75      -4.71        0.00
                                                                                         No
Not married                              407      -22.91      -5.12        0.00

Older respondents (over age 45)          456      -22.05      -5.90        0.00

Respondents who were not over 45                                                         No
                                         403      -18.95      -4.21        0.00
years old




          Case 2:18-cv-01996-JPS       Filed 09/18/19   Page 390 of 662   Document Page
                                                                                   73-1 389
                                                                                     Significant
                                                  Effect of                          Difference
                                                 Number of                            Between
Subgroup                                   N     Message 2       t         p-value   Categories?

Household size is one or two              415      -18.46      -4.64        0.00
                                                                                         No
Household size is not one or two          444      -21.35      -5.13        0.00

Household has at least one child          281      -15.08      -3.15        0.00

Household does not have at least one                                                     No
                                          578      -22.06      -6.26        0.00
child

Respondent lives in Northeast or
                                          329      -16.12      -3.81        0.00
Midwest
                                                                                         No
Respondent does not live in Northeast
                                          530      -22.61      -5.92        0.00
or Midwest

Respondent is working as a paid
                                          518      -19.63      -5.24        0.00
employee
                                                                                         No
Respondent is not working as a paid
                                          341      -21.65      -4.63        0.00
employee

Respondent is white and non-Hispanic      547      -22.59      -6.87        0.00

Respondent is not white and non-                                                         No
                                          307      -14.23      -2.46        0.01
Hispanic




         Case 2:18-cv-01996-JPS         Filed 09/18/19   Page 391 of 662   Document Page
                                                                                    73-1 390
                                      References

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DeBell, M., Krosnick, J.A., Lupia, A. & Roberts, C. (2009). User’s Guide to the Advance
       Release of the 2008-2009 ANES Panel Study. Palo Alto, CA and Ann Arbor, MI:
       Stanford University and University of Michigan.




   Case 2:18-cv-01996-JPS         Filed 09/18/19    Page 392 of 662       Document Page
                                                                                   73-1 391
                              Appendix A:

                     Curriculum Vita of Jon Krosnick




Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 393 of 662   Document Page
                                                                     73-1 392
CURRICULUM VITAE

                                             Jon A. Krosnick


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                 Portola Valley, California 94028
                 (650) 851-9143
Office Address   434 McClatchy Hall
                 Stanford University
                 450 Serra Mall
                 Stanford, California 94305
                 (650) 725-3031

                 E-mail: Krosnick@stanford.edu
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Websites         http:www.jonkrosnick.com
                 http://communication.stanford.edu/faculty/krosnick.html
                 http://www.stanford.edu/group/polisci/faculty/krosnick.html
                 http://climatepublicopinion.stanford.edu/
                 https://pprg.stanford.edu/
                 http://bps.stanford.edu/
                 http://sipp.stanford.edu/

Education        The Lawrenceville School, with academic distinction, 1976.

                 A.B., Harvard University (in Psychology, Magna Cum Laude), 1980.

                 M.A., University of Michigan (in Social Psychology, with Honors), 1983.

                 Ph.D., University of Michigan (in Social Psychology), 1986.

Employment

    2017-        Affiliated Faculty Member, Emmett Interdisciplinary Program in Environment and
                 Resources, Stanford University.

    2015-        Research Advisor, Gallup, Princeton, New Jersey.

    2015-        Affiliate, Woods Institute for the Environment, Stanford University.

 2014-2016       Affiliated Faculty Member, Meta-Research Innovation Center at Stanford (METRICS),
                 Stanford University.

 2013-2014       Visiting Research Collaborator, Princeton Institute for International and Regional Studies
                 and the Princeton Environmental Institute, Princeton University.

    2010-        Research Psychologist, Center for Survey Measurement, U.S. Census Bureau, United States
                 Department of Commerce.




                                                                                               Page 393
       Case 2:18-cv-01996-JPS          Filed 09/18/19       Page 394 of 662         Document 73-1
2009-2010   Research Psychologist, Statistical Research Division, U.S. Census Bureau, United States
            Department of Commerce.

 2007-      Research Professor, Survey Research Laboratory, University of Illinois.

2005-2011   Co-Principal Investigator, American National Election Studies.

 2004-      Frederic O. Glover Professor in Humanities and Social Sciences, Stanford University.

 2004-      Professor, Department of Communication, Stanford University.

 2004-      Professor, Department of Political Science, Stanford University.

 2004-      Professor, Department of Psychology (by courtesy), Stanford University.

2004-2009   Associate Director, Institute for Research in the Social Sciences, Stanford University.

2008-2014   Senior Fellow, Woods Institute for the Environment (by courtesy), Stanford University.

2005-2008   Senior Fellow, Woods Institute for the Environment, Stanford University.

2004-2007   Director, Methods of Analysis Program in the Social Sciences, Stanford University.

2004-2006   Visiting Professor, Department of Psychology, The Ohio State University.

2003-2004   Visiting Professor, Department of Communication, Stanford University.

1986-2004   Assistant to Associate to Full Professor, Departments of Psychology and Political Science,
            The Ohio State University.

1987-1989   Adjunct Research Investigator, Survey Research Center, Institute for Social Research,
            University of Michigan.

1987-1989   Lecturer, Survey Research Center Summer Program in Survey Research Techniques,
            University of Michigan.

1986-1987   Visiting Scholar, Survey Research Center, Institute for Social Research, University of
            Michigan.

 1985       Lecturer, Department of Psychology, The Ohio State University.

1982-1985   Research Assistant, Center for Political Studies and Survey Research Center, Institute for
            Social Research, University of Michigan.

1980-1981   Senior Research Assistant, Department of Psychology, Harvard University.

1979-1981   Senior Research Assistant, Department of Behavioral Sciences, School of Public Health,
            Harvard University.

1975-1976   General Manager, The Lawrence (newspaper), The Lawrenceville School.




   Case 2:18-cv-01996-JPS         Filed 09/18/19        Page 395 of 662         Document 73-1
                                                                                           Page 394
Honors

  1976           Bausch and Lomb Science Award.

  1982           National Institute of Mental Health Graduate Training Fellowship.

  1984           Phillip Brickman Memorial Prize for Research in Social Psychology.

  1984           American Association for Public Opinion Research Student Paper Award.

  1984           National Institute of Mental Health Graduate Training Fellowship.

  1984           Pi Sigma Alpha Award for the Best Paper Presented at the 1983 Midwest Political Science
                 Association Annual Meeting.

  1984           Elected Departmental Associate, Department of Psychology, University of Michigan,
                 recognizing outstanding academic achievement.

  1990           Invited Guest Editor, Social Cognition (Special issue on political psychology, Vol. 8, #1,
                 May)

  1993           Brittingham Visiting Scholar, University of Wisconsin.

  1995           Erik H. Erikson Early Career Award for Excellence and Creativity in the Field of Political
                 Psychology, International Society of Political Psychology.

1996-1997        Fellow, Center for Advanced Study in the Behavioral Sciences, Stanford, California.

  1998           Elected Fellow, American Psychological Association.

  1998           Elected Fellow, Society for Personality and Social Psychology.

  1998           Elected Fellow, American Psychological Society.

  2001-          Appointed University Fellow, Resources for the Future, Washington, DC.

  2003           Prize for the Best Paper Presented at the 2002 Annual Meeting of the American Political
                 Science Association, Section on Elections, Public Opinion, and Voting Behavior.

  2013           Elected Fellow, American Academy of Arts and Sciences.

  2010           Elected Fellow, American Association for the Advancement of Science.

2013-2014        Fellow, Center for Advanced Study in the Behavioral Sciences, Stanford, California.

  2014           The AAPOR Award, the American Association for Public Opinion Research’s lifetime
                 achievement award, given for an outstanding contribution to the field of public opinion
                 research, including: advances in theory, empirical research and methods; improvements in
                 ethical standards; and promotion of understanding among the public, media and/or policy
                 makers.

2014-2015        Consulting Scholar, Center for Advanced Study in the Behavioral Sciences, Stanford,
                 California.


         Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 396 of 662          Document 73-1
                                                                                                Page 395
  2016              The Nevitt Sanford Award from the International Society of Political Psychology, for
                    professional contributions to political psychology, given to someone engaged in the practical
                    application of political psychological principles or creating knowledge that is accessible and
                    used by practitioners to make a positive difference in the way politics is carried out.


Invited Addresses

  1992              Invited Address, Midwestern Psychological Association Annual Meeting, Chicago, Illinois.

  2003              Invited Address, Midwestern Psychological Association Annual Meeting, Chicago, Illinois.

  2004              Invited Address, Distinguished Lecture Series Sponsored by the Departments of Psychology
                    and Political Science, University of California, Davis, California.

  2004              Keynote Lecture, International Symposium in Honour of Paul Lazarsfeld, Katholieke
                    Universiteit Leuven (Belgium).

  2005              Invited Address, Joint Program in Survey Methodology Distinguished Lecture Series,
                    University of Maryland, College Park, Maryland.

  2005              Invited Address, “Climate Change: Science → Action”, Conference Hosted by the Yale
                    School of Forestry and Environmental Studies, Aspen, Colorado.

  2005              Invited Commentator, “Science for Valuation of EPA’s Ecological Protection Decisions and
                    Programs,” a U.S. Environmental Protection Agency Science Advisory Board Workshop,
                    Washington, DC.

  2006              Invited Address, “The Wonderful Willem Saris and his Contributions to the Social
                    Sciences.” Farewell Symposium for Willem Saris, University of Amsterdam, Amsterdam,
                    the Netherlands.

  2006              Invited Workshop, “The State of Survey Research.” Annual Summer Meeting of the Society
                    for Political Methodology, Davis, California.

  2006              Invited Keynote Address, “Recent Lessons Learned About Maximizing Survey Measurement
                    Accuracy in America: One Surprise After Another.” 2006 Survey Research Methodology
                    Conference, Center for Survey Research, Academia Sinica, Taipei, Taiwan.

  2006              Invited Address, “Review of Nonresponse Analysis Across Multiple Surveys.” Conference
                    on “Sample Representativeness: Implications for Administering and Testing Stated
                    Preference Surveys,” Resources for the Future, Washington, D.C.

  2006              Invited Address, “Introduction to Survey Issues in Ecological Valuation.” Meeting of the
                    U.S. Environmental Protection Agency Scientific Advisory Board Committee on Valuing the
                    Protection of Ecological Systems and Services (CVPESS), Washington, D.C.

  2006              Invited Address, “Gas Pumps and Voting Booths: Energy and Environment in the Midterm
                    Elections.” First Wednesday Seminar, Resources for the Future, Washington, D.C.

  2006              Invited Address, “What Americans Believe and Don’t Believe about Global Warming:
                    Attitude Formation and Change in Response to a Raging Scientific Controversy.” National
                    Science Foundation Speaker Series, Washington, D.C.


         Case 2:18-cv-01996-JPS           Filed 09/18/19       Page 397 of 662          Document 73-1
                                                                                                   Page 396
2006       Invited Address, “Moving Survey Data Collection to the Internet? Surprising Ways that
           Mode, Sample Design and Response Rates Affect Survey Accuracy.” New York Chapter of
           the American Association for Public Opinion Research, Fordham University, New York,
           New York.

2006       Invited Address, “Climate change: What Americans Really Think.” Conference entitled “A
           Favorable Climate for Climate Action,” sponsored by the Sustainable Silicon Valley, Santa
           Clara University, Santa Clara, California.

2006       Invited Lecture, “What Americans Really Think About Climate Change: Attitude Formation
           and Change in Response to a Raging Scientific Controversy.” Brown Bag Series, National
           Oceanic and Atmospheric Administration, Silver Spring, Maryland.

2007       Invited Lecture, “What Americans Really Think About Climate Change: Attitude Formation
           and Change in Response to a Raging Scientific Controversy.” Education And Outreach
           Colloquium, Earth Sciences Division, NASA Goddard Space Flight Center, Greenbelt,
           Maryland.

2007       Inaugural Lecture, “The Brave New World of Survey Research: One Surprise After
           Another.” Survey Research Institute First Annual Speaker Series, Cornell University, Ithaca,
           New York.

2007       Inaugural Lecture, “What Americans Really Think About Climate Change: Attitude
           Formation and Change in Response to a Raging Scientific Controversy.” National Centers
           for Coastal Ocean Science/Center for Sponsored Coastal Ocean Research Ecosystem Science
           Seminar Series & NOS Science Seminar Series, National Oceanic and Atmospheric
           Administration, Silver Spring, Maryland.

2007       Plenary Speaker, “What Americans Really Think About Climate Change: Attitude
           Formation and Change in Response to a Raging Scientific Controversy.” Annual Ocean and
           Coastal Program Managers’ Meeting, Sponsored by the Office of Ocean and Coastal
           Resource Management in partnership with the National Estuarine Research Reserve
           Association, National Oceanic and Atmospheric Administration, Washington, DC.

2007       Oral Testimony on Assembly Bill 372 (to revise the order in which the names of candidates
           for an office must appear on the ballot) before the Nevada State Legislature, Carson City,
           Nevada.

2007       Invited Lecture, “What Americans Really Think About Climate Change: Attitude Formation
           and Change in Response to a Raging Scientific Controversy.” The White House Office of
           Science and Technology Policy, Washington, D.C.

2007       Invited Lecture, “What Americans Really Think About Climate Change: Attitude Formation
           and Change in Response to a Raging Scientific Controversy.” Workshop on Climate
           Science and Services: Coastal Applications for Decision Making through Sea Grant
           Extension and Outreach. NOAA Coastal Services Center, Charleston, South Carolina.

2007       Invited Lecture, “Climate Change: What Americans Think.” Capitol Hill briefing sponsored
           by the Environment and Energy Study Institute, Cannon House Office Building,
           Washington, D.C. Broadcast live on C-SPAN.

2007       Invited Lecture, “The Impact of Candidate Name Order on Election Outcomes.” The Carter
           Center, Atlanta, Georgia.


   Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 398 of 662        Document 73-1
                                                                                        Page 397
2007       Invited Lecture, “What Americans Really Think About Climate Change: Attitude Formation
           and Change in Response to a Raging Scientific Controversy.” Google, Mountain View,
           California.

2007       Invited Lecture, “Climate Change: What Americans Really Think.” The Commonwealth
           Club, San Francisco, California.

2007       Invited Address, “Representativeness of Online Panels.” Time-Warner 2007 Research
           Conference, New York, New York.

2007       Invited Lecture, “What the Public Knows.” News Executives Roundtable: Covering Climate
           Change, Stanford, California.

2007       Invited Address, “The Top Ten Signs of an Excellent Survey Vendor.” Intuit Corporate
           Customer & Market Insight Offsite, Palo Alto, California.

2007       Invited Lecture, “What Americans Really Think About Climate Change.” Association of
           Science-Technology Centers Conference, Los Angeles, California.

2007       Invited Address, “The New American National Election Study Panel Survey Project.”
           Survey Research in the 21st Century: Challenges and Opportunities, Royal Statistical
           Society, London, UK.

2007       Invited Testimony, “Aviation Safety: Can NASA Do More to Protect the Public?” House
           Committee on Science and Technology, U.S. Congress, Washington, DC. Broadcast live on
           C-SPAN.

2007       Invited Opening Keynote Address, “New Insights Into Optimizing Survey Questionnaire
           Design and Selecting a Model of Data Collection.” Panel Research 2007, ESOMAR World
           Research Conference, Orlando, Florida.

2007       Invited Plenary Address, “New Insights into Questionnaire Design: How to Maximize the
           Validity of Your Measurements.” Federal Committee on Statistical Methodology Research
           Conference, Arlington, Virginia.

2007       Invited Lecture, “What Americans Think and Do About Climate Change; Insights from a
           Psychological Perspective.” California Institute for Energy and Environment’s Behavior,
           Energy, and Climate Change Conference, Sacramento, California.

2007       Invited Keynote Lecture, “What Americans Think About Climate Change.” 2007 American
           Public Media Conference on Sustainability, Pocantico Conference Center, Tarrytown, New
           York.

2007       Invited Address, “What the American Public Really Thinks About Climate Change: New
           Evidence on Amelioration Strategies.” 2007 American Geophysical Union Fall Meeting,
           San Francisco, California.

2008       Invited Address, “Climate Change and the 2008 U.S. Presidential Election.” Eighth National
           Conference on Science, Policy, and the Environment: Climate Change: Science and
           Solutions. Conference sponsored by the National Council for Science and the Environment,
           Washington, DC.

2008       Invited Presentation, “Explaining the Relation of Aging with Susceptibility to Attitude
           Change.” Eighth Annual SPSP Attitudes Preconference, Albuquerque, New Mexico.

   Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 399 of 662         Document 73-1
                                                                                         Page 398
2008       Invited Lecture, “Comparisons of Survey Modes in Terms of Data Quality.” Department of
           Families, Housing, Community Services, and Indigenous Affairs, Australian Government,
           Canberra, Australia.

2008       Invited Lecture, “Applying Theories of Attitudes and Attitude Change to the Mission of the
           Australian Tax Office.” Australian Tax Office, Australian Government, Canberra, Australia.

2008       Invited Lecture, “The Theory of Survey Satisficing.” Tourism Australia, Canberra,
           Australia.

2008       Invited Lecture, “Lessons from the Field: A Blueprint for Optimizing Measurement
           Accuracy and Sample Composition.” 40th Meeting of the Computer Market Analysis Group,
           Intuit, Mountain View, California.

2008       Invited Lecture, “Uses of Surveys in Court.” How to Find, Litigate, and Try Class Action
           Lawsuits, Educational Symposium sponsored by Consumer Attorneys of San Diego, San
           Diego, California.

2008       Invited Keynote Address, “What the American Public Really Thinks About Climate Change:
           New Evidence on Amelioration Strategies.” Union of Concerned Scientists Retreat,
           National Labor College, Silver Spring, Maryland.

2008       Invited Lecture, “The Challenges of Measuring Facts Accurately in Surveys: Small Changes
           in Question Wording can Make a Difference.” Survey Methodology Division, U.S. Census
           Bureau, Suitland, Maryland.

2008       Invited Lecture, “The Accuracy of Non-Probability Samples of People Who Volunteer to Do
           Surveys for Money.” Harvard Center for Survey Research 2008 Spring Conference: New
           Technologies and Survey Research, Harvard University, Cambridge, Massachusetts.

2008       Invited Presentation, “Writing an Effective Grant Proposal for NSF.” AAPOR Professional
           Development Breakfast. Annual Meeting of the American Association for Public Opinion
           Research, New Orleans, Louisiana.

2008       Invited Commentary, “Reflections on the American Voter Revisited.” Annual Meeting of
           the American Association for Public Opinion Research, New Orleans, Louisiana.

2008       Invited Presentation, “Briefing on the NAOMS Survey Creation.” Presentation to the
           Committee to Assess NASA’s National Aviation Operations Monitoring Service (NAOMS)
           Project, National Research Council, National Academy of Sciences, Washington, DC.

2008       Invited Address, “Public Attitudes, Perceptions, and Concern about Global Warming:
           Evidence from a New Survey.” Lecture at the Russell Senate Office Building in the
           Environmental Science Seminar Series Sponsored by the American Meteorological Society,
           Washington, D.C.

2008       Invited Keynote Address, “Designing Ballots to Prevent Bias: How the Order of Candidate
           Names Determines Who Was Elected President.” EVT ’08, 2008 Usenix/Accurate
           Electronic Voting Technology Workshop, San Jose, California.

2008       Invited Address, “What Americans Think about Climate Change: Insights from 10 Years of
           Psychology-Inspired National Surveys Tracking Public Attitudes.” Symposium on the


   Case 2:18-cv-01996-JPS       Filed 09/18/19       Page 400 of 662        Document 73-1
                                                                                       Page 399
           Psychology of Global Climate Change, American Psychological Association Annual
           Meeting, Boston, Massachusetts.

2008       Invited Presentation, “The Accuracy of On-line Surveys with Non-Probability Samples.”
           Second Annual Workshop on Measurement and Experimentation with Internet Panels,
           Sponsored by CentERdata, Institute for Data Collection and Research (University of
           Tilburg), Zeist, The Netherlands.

2008       Invited Address, “What Americans Really Think About Climate Change: Is it Happening?
           What’s Causing it? What Should Be Done About It?” Conference entitled “Social Science
           and Humanities Facing the Climate Change Challenges,” sponsored by the European Union,
           the Republic of France, the French Ministere de L’Enseignement Superieur Et De La
           Recherche, and the French Ministere De L’Ecologie, De L’Energie, Du Developpement
           Durable, Ett De L’Amenagmenet du Territoire, Paris, France.

2008       Invited Presentation, “Susceptibility to Response Effects in Surveys: Cognitive and
           Motivational Factors.” Seventh International Conference on Social Science Methodology –
           RC33 – Logic and Methodology in Sociology, Naples, Italy.

2008       Invited Presentation, “Satisficing When Answering Questions: A Theoretical Explanation for
           a Wide Range of Findings in the Questionnaire Design Literature.” Max Planck Institute for
           Human Development, Berlin, Germany.

2008       Invited Presentation, “Social Psychology Under the Microscope: Do Classic Laboratory
           Experiments Replicate When Participates Are Representative of the General Public Rather
           Than Convenience Samples of College Students?” Max Planck Institute for Human
           Development, Berlin, Germany.

2008       Fathauer Lecturer, “How Do American Voters Decide? Findings from Fifty Years of
           Scholarship on Electoral Choice.” Eller College of Management, University of Arizona,
           Tucson, Arizona.

2008       Invited Presentation, “What Are They Thinking? Information, Persuasion, and the American
           Public’s Response to Climate Change.” American Politics Research Workshop, Harvard
           University, Cambridge, Massachusetts.

2008       Invited Presentation, “The 2008 American Presidential Election: Psychological Insights from
           the AP-Yahoo News Poll.” Society of Experimental Social Psychology Annual Meeting,
           Sacramento, California.

2008       Invited Presentation, “Election Preview: Polls, Ballots, Fraud, and Misconceptions.” 46th
           Annual New Horizons in Science Conference, Council for the Advancement of Science
           Writing, Palo Alto, California.

2008       Invited Presentation, “Getting Into the Heads of American Voters: Insights from Political
           Psychology.” Menlo School, Menlo Park, California.

2008       Invited Lecture, “Do We Really Care About Climate Change? Grounding Climate Policy in
           Psychological Analysis.” The World Bank, Washington, DC.

2008       Invited Lecture, “Issue-Focused Passion in America: How and Why Issue Publics Determine
           Election Outcomes.” Seminario de Investigación en Ciencia Politica 2008, Instituto
           Tecnológico Autónomo de México (ITAM), Mexico City, Mexico.


   Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 401 of 662        Document 73-1
                                                                                        Page 400
2009       Invited Presentation, “Accounting for Biases in NAOMS.” Presentation to the Committee to
           Assess NASA’s National Aviation Operations Monitoring Service (NAOMS) Project,
           National Research Council, National Academy of Sciences, NASA Ames Conference
           Center, Moffett Field, California.

2009       Presidential Symposium Lecture, “Why the 2008 U.S. Presidential Election Turned Out As It
           Did: Psychology Peers Into National Survey Data.” Annual Meeting of the Society for
           Personality and Social Psychology, Tampa, Florida.

2009       Stauffer Colloquium Series Lecture, “What Americans Really Think About Climate Change:
           Attitude Formation and Change in Response to a Raging Scientific Controversy.” School of
           Behavioral and Organizational Sciences, Claremont Graduate School, Claremont, California.

2009       RTI Fellow Lecture, “What Americans Really Think About Climate Change: Psychological
           Insights from 10 Years of National Surveys.” RTI International, Research Triangle Park,
           North Carolina.

2009       Walter H. Stellner Distinguished Speaker in Marketing, “Social Psychology Under the
           Microscope: Do Our Classic Experiments Replicate When Participants Are Representative of
           the General Public Rather Than Convenience Samples of College Students?” College of
           Business, University of Illinois, Urbana-Champaign, Illinois.

2009       Invited Presentation, “Mediation: Why Bother?” Twelfth Sydney Symposium of Social
           Psychology entitled “Attitudes and Attitude Change.” University of New South Wales,
           Sydney, Australia.

2009       Keynote Address, “Money for Surveys: What about Data Quality?” GOR 09, 11th General
           Online Research Conference, University of Vienna, Vienna, Austria.

2009       Invited Presentation, “Comparing Various Measures of Survey Accuracy and Summarizing
           the Findings of Studies Using Each Method.” Conference on Survey Quality, Program on
           Survey Research, Harvard University, Cambridge, Massachusetts.

2009       Invited Lecture, “What Americans Really Think About Climate Change: Attitude Formation
           and Change in Response to a Raging Scientific Controversy.” Climate Policy Seminar
           Series, sponsored by the Climate Risk Management Initiative, Dickinson School of Law, the
           Environment & Natural Resources Institute, the Penn State Institute of Energy and the
           Environment, the Rock Ethics Institute, Communication Arts and Sciences, Department of
           Political Science, Department of Psychology, Schreyer Institute for Teaching Excellence,
           and the Social Science Research Institute, Pennsylvania State University.

2009       Invited Lecture, “The Accuracy of Online Surveys with Non-probability Samples of People
           who Volunteer to do Surveys for Money.” Center for Statistics and the Social Sciences
           Seminar, University of Washington, Seattle, Washington.

2009       Allen Edwards Endowed Lecture in Psychology, “Social Psychology Under the Microscope:
           Do Classic Experiments Replicate when Participates are Representative of the General
           Public Rather Than Convenience Samples of College Students?” Department of Psychology,
           University of Washington, Seattle, Washington.

2009       Invited Lecture, “Why I Challenged the NASA Administrator in Congressional Testimony:
           The Shocking Story of a Groundbreaking Aviation Safety Survey Research Project Gone
           Awry.” Google Tech Talk Series, Mountain View, California.


   Case 2:18-cv-01996-JPS       Filed 09/18/19      Page 402 of 662        Document 73-1
                                                                                      Page 401
2009       Invited Lecture, “What Americans Really Think About Climate Change: Attitude Formation
           and Change in Response to a Raging Scientific Controversy.” Climate Central, Princeton,
           New Jersey.

2009       Invited Plenary Lecture, “What Americans Really Think About Climate Change: Attitude
           Formation and Change in Response to a Raging Scientific Controversy.” A National
           Workshop on Communicating Ocean Issues Based on Ocean on the Edge: Top Ocean Issues.
           Long Beach Convention Center, sponsored by the Aquarium of the Pacific, the National
           Oceanic and Atmospheric Administration, and the National Research Council’s Marine
           Board and Ocean Studies Board, Long Beach, California.

2009       Invited Lecture, “What Americans Really Think About Climate Change.” Air Resources
           Board Chair’s Air Pollution Seminar, California Environmental Protection Agency Building,
           Sacramento, California.

2009       Invited Presentation, “What Americans Really Think About Climate Change.” Stanford
           University Alumni Association – Sacramento Chapter. Sacramento, California.

2009       Keynote Address, “The End of Agree/Disagree Rating Scales: Acquiescence Bias and Other
           Flaws Suggest a Popular Measurement Method Should Be Abandoned.” European Survey
           Research Association 2009 Conference, Warsaw, Poland.

2009       Invited Lecture, “Methods of Survey Data Collection and Determinants of Data Quality.”
           German Research Foundation Summer Academy on Methods of Educational Research,
           University of Bamberg, Bamberg, Germany.

2009       Invited Panel Member, “Hopenhagen: Public support for a climate deal in Copenhagen.”
           The Commonwealth Club of California, San Francisco, California.

2009       Invited Primary Paper Presentation, “Conducting Experiments to Evaluate Questions.”
           Workshop on Question Evaluation Methods, National Center for Health Statistics,
           Hyattsville, Maryland.

2009       Invited Presentation, “The Use of Surveys in Court.” Second Annual Class Action
           Symposium Sponsored by Consumer Attorneys of San Diego, San Diego, California.

2009       Invited Presentation, “The Accuracy of Internet Surveys.” Attaining Accuracy, Maximum
           Coverage, and Representative in Web-Based Research. Conference at the Charles Hotel,
           Cambridge, Massachusetts.

2009       Keynote Address, “Scientific Survey Research: Sustainable in an Online World?” CASRO
           Data Collection Conference, Council of American Survey Research Organizations, Las
           Vegas, Nevada.

2009       Invited Webinar, “Best Practice Data Collection Online with a Probability Sample?”
           Australian Market & Social Research Society, Sydney, Australia.

2010       Invited Presentation, “A New Look at Racism in America: Evidence from National
           Surveys.” Political Psychology Pre-Conference 2010, Society for Personality and Social
           Psychology Annual Conference, Las Vegas, Nevada.

2010       Invited Presentation, “What Americans Really Think About Climate Change: Attitude
           Formation and Change in Response to a Raging Scientific Controversy.” Stanford Club of
           Las Vegas, Las Vegas, Nevada.

   Case 2:18-cv-01996-JPS       Filed 09/18/19       Page 403 of 662        Document 73-1
                                                                                       Page 402
2010       Invited Address, “Tracking American Opinions About Climate Change.” Climate, Mind,
           and Behavior Symposium, The Garrison Institute, Garrison, New York.

2010       Invited Presentation, “Public Opinion and Climate Change: The Real Reason for the Recent
           Decline.” Climate Policy: Public Perception, Science, and the Political Landscape.
           Sponsored by the American Association for the Advancement of Science, the American
           Geophysical Union, the American Meteorological Society, and the American Statistical
           Association. Hart Senate Office Building, Washington, DC.

2010       Invited Lecture, “Creating and Evaluating a new Method for Collecting Survey Data via the
           Internet: The Story of the FFRISP (Face-to-Face Recruited Internet Survey Platform)”.
           Social, Behavioral, and Economic Sciences Lecture Series, National Science Foundation,
           Arlington, Virginia.

2014       Invited Lecture, “Recent Research Findings from SRS Experiments.” Science Resources
           Statistics Program Colloquium, National Science Foundation, Arlington, Virginia.

2010       Invited Lecture, “What Americans Think About Climate Change.” Speaker Series, Center
           for Decision Sciences, Columbia University, New York, New York.

2010       Invited Lecture, “Social Psychology Under the Microscope: Do Our Classic Experiments
           Replicate When Participants Are Representative of the General Public Rather Than
           Convenience Samples of College Students?” Colloquium Series, Psychology Department,
           Columbia University, New York, New York.

2010       Invited Lecture, “Public Opinion Research on Climate Change.” Rio Tinto Workshop on the
           Politics of Carbon, Meridian Institute, Washington, DC.

2010       Invited Lecture, “How to Measure Usability: Designing Your Questions Well.” Washington,
           DC, Chapter of the Usability Professionals’ Association, Arlington, Virginia.

2010       Invited Lecture, “Have Americans’ Views on Global Warming Changed? A New Look at
           Public Opinion.” Briefing sponsored by the Environmental and Energy Study Institute,
           Capital Visitor Center, Washington, DC.

2010       Invited Lecture, “What Americans Really Think About Climate Change.” Climate Change
           Communication Forum, Hosted by the U.S. Fish and Wildlife Service and the U.S.
           Department of the Interior, George Mason University, Fairfax, Virginia.

2010       Invited Lecture, “What Americans Really Think About Climate Change.” Clean Energy
           Program, Third Way, Washington, DC.

2010       Invited Lectures, “Experimental Methods in the Social Sciences.” Workshop in
           Experimental Methods, Sponsored by the ELECDEM Training Network in Electoral
           Democracy, ICHEC, Brussels, Belgium.

2010       Invited Lecture, “Optimizing Survey Questionnaire Design: New Findings.” Interagency
           Response Error Group Monthly Meeting, Government Accountability Office, Washington,
           DC.

2010       Invited Lecture, “Creating and Evaluating a New Method for Collecting Survey Data via the
           Internet,” Workshop sponsored by DC-AAPOR, Bureau of Labor Statistics, Washington,
           DC.

   Case 2:18-cv-01996-JPS       Filed 09/18/19       Page 404 of 662        Document 73-1
                                                                                       Page 403
2010       Keynote Address, “Surveys and Statistical Evidence to Mange the Class Case”. Third
           Annual Class Action Symposium, San Diego, California.

2010       Invited Presentation, “Implicit Attitude Measurement in National Surveys.” Conference on
           Methodology in Political Psychology, Ohio State University, Columbus, Ohio.

2010       Invited Presentation, “What Americans Really Think About Climate Change,” MZES
           Colloquium, Mannheimer Zentrum Fur Europaische Sozialforschung, University of
           Mannheim, Mannheim, Germany.

2010       Invited Workshop, “Attitudes in the World of Politics: Formation, Change, and Impact.”
           Oberrhein-Program (cosponsored by the Universities of Mannheim, Heidelberg, Freiberg,
           and Basel), Social Sciences Graduate School, University of Mannheim, Mannheim,
           Germany.

2010       Lunchtime Brownbag Series, “Assessing Anti-Black Racism in Contemporary America via
           Surveys: New Measurement Approaches Yield New Insights.” National Opinion Research
           Center, University of Chicago, Chicago, Illinois.

2010       Invited Lecture, “What Americans Really Think About Climate Change.” AAAS Leadership
           Seminar in Science and Technology Policy, American Association for the Advancement of
           Science, Washington, DC.

2010       Invited Panelist, “Outlook for Climate and Energy Policy in the New Congress,” Session in
           the “Science & Society: Global Challenges Discussion Series”, Center for Science,
           Technology and Security Policy, American Association for the Advancement of Science,
           Washington, DC.

2010       Invited Guest Speaker, “What Americans Really Think About Climate Change.” World
           Resources Institute, Washington, DC.

2010       Invited Presentation to the Working Group on Immigration and Cultural Contact, “The
           Accuracy of Internet Surveys with Probability and Non-Probability Samples.” Russell Sage
           Foundation, New York, New York.

2010       Invited Lecture, “What Mainers Really Think About Global Warming: Results from an In-
           Depth Statewide Survey.” Environmental Studies Program, Bowdoin College, Brunswick,
           Maine.

2010       Invited Panelist, “Reflections on the Accomplishments and Future of Political
           Communication Research.” Conference on “Political Communication: The State of the Field
           in the 21st Century.” Annenberg Public Policy Center, University of Pennsylvania,
           Philadelphia, Pennsylvania.

2010       Invited Presentation, “The American Public’s Understandings and Misunderstandings About
           Climate Change: Is There a Crisis of Confidence in Climate Science?” Scientific
           Symposium in Honor of Stephen H. Schneider, Stanford University, Stanford, California.

2011       Invited Lecture, “What Floridians Really Think About Global Warming: Results from an In-
           Depth Statewide Survey.” Lecture hosted by the FSU Department of Earth, Ocean, and
           Atmospheric Science, the FSU Department of Urban and Regional Planning, the Florida
           Climate Institute, the Tallahassee Democrat, and the FSU Institute for Energy Systems,
           Economics, and Sustainability, Florida State University, Tallahassee, Florida.

   Case 2:18-cv-01996-JPS       Filed 09/18/19       Page 405 of 662        Document 73-1
                                                                                       Page 404
2011       Invited Presentation, “The Mega-Splice in the 2008 American National Election Studies
           Time Series Survey.” Design Issues in Longitudinal and Repeated Cross-Sectional Surveys.
           Duke Initiative on Survey Methodology. Social Science Research Institute at Duke
           University, Durham, North Carolina.

2011       Invited Presentation, “What Americans Think About Global Warming: Attitude Formation
           and Change in Response to a Raging Scientific Controversy.” Monterey Bay Aquarium,
           Monterey, California.

2011       Invited Testimony, Comments on Assembly Bill No. 99 “Revises the Order in Which the
           Names of Candidates for an Office Must Appear on the Ballot”, Committee on Legislative
           Operations and Elections, Nevada Assembly, State of Nevada.

2015       Invited Discussant on Respondent Motivation, BLUE-Enterprise and Trade Statistics
           Conference on Business’ Burden and Motivation in Official Surveys. Conference sponsored
           by Statistics Netherlands and the European Union, Heerlen, The Netherlands.

2011       Invited Presentation, “What Massachusetts Residents and Other Americans Think About
           Climate Change: Results from an In-Depth Statewide Study and National Surveys.” Boston
           University, Boston Massachusetts.

2011       Invited Presentation, “What Massachusetts Residents and Other Americans Think About
           Climate Change: Results from an In-Depth Statewide Study and National Surveys.” The
           Heller School for Social Policy and Management, Brandeis University, Waltham,
           Massachusetts.

2011       Invited Presentation, “What Massachusetts Residents and Other Americans Think About
           Climate Change: Results from an In-Depth Statewide Study and National Surveys.” Green
           Conversation Series, Harvard University Center for the Environment, Harvard University,
           Cambridge, Massachusetts.

2011       Invited Presentation, “What Massachusetts Residents and Other Americans Think About
           Climate Change: Results from an In-Depth Statewide Study and National Surveys.” Tufts
           Institute of the Environment, Tufts University, Medford, Massachusetts.

2011       Invited Presentation, “Adventures in Survey Research: A Workshop on the Dangers of
           Trying to Make the World a Better Place through Social Science.” Essex Short Course in
           Social Research, in Association with Methodology Institute LSE and IPSOS MORI,
           University of Essex, Essex, United Kingdom.

2013       Invited Presentation, “Measuring Intent to Participate and Participation in the 2010 Census
           and Their Correlates and Trends: Comparisons of RDD Telephone and Non-probability
           Sample Internet Survey Data.” U.S. Census Bureau, Suitland, Maryland.

2011       Invited Remarks, “Studying the Impact of Electoral Impact of Candidate Statements on
           Policy Issues.” Session entitled “Studying 2012 Campaign and elections: Current Plans and
           Future Directions,” sponsored by the Omidyar Network and the National Institute for Civil
           Discourse at the University of Arizona. American Political Science Association Annual
           Meeting, Seattle, Washington.

2011       Invited Presentation, “Social Psychology Under the Microscope: Do Our Classic
           Experiments Replicate When Participants Are Representative of the General Public Rather


   Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 406 of 662         Document 73-1
                                                                                         Page 405
           Than Convenience Samples of College Students?” A Conference in Honor of Daniel
           Wegner, Harvard Business School, Harvard University.

2011       Invited Presentation, “American Public Opinion on Climate Change and Its Impact on
           Voting in Congressional and Presidential Elections.” Public lecture and webcast sponsored
           by Resources for the Future, Washington, D.C.

2011       Invited Webinar, “Advances in Questionnaire Design.” Australian Market & Social
           Research Society, Sydney, Australia.

2011       Invited Lecture, “Passion in American Politics: What Happens When Citizens Become
           Deeply Committed to Pressuring Government on a Policy Issue.” MZE-Colloquium, School
           of Social Sciences, University of Mannheim, Mannheim, Germany.

2011       Invited Lecture, “Creating the Face-to-Face Recruited Internet Survey Platform (FFRISP).”
           Collaborative Research Center, University of Mannheim, Mannheim, Germany.

2012       Invited Lecture, “Trends in American Public Attitudes about Global Warming: A
           Psychological Analysis.” Sustainability Psychology Preconference, Society for Personality
           and Social Psychology Annual Meeting, San Diego, California.

2012       Invited Lecture, “Americans’ Views on Climate Change and Their Impact on Voting
           Behavior.” 2012 Climate, Mind, and Behavior Symposium, Garrison Institute, Garrison,
           New York.

2014       Invited Presentation, “Changing Government Policy by Changing Public Attitudes.” Climate
           Central, Princeton, New Jersey.

2012       Invited Presentation, “Americans’ Views on Climate Change and Their Impact on Voting
           Behavior.” Skoll Global Threats Fund, San Francisco, California.

2012       Invited Presentation, “What Americans Think About Climate Change.” Webinar series on
           The Science of Policy Communication. Society for the Psychological Study of Social Issues.

2012       Invited Lecture, “What Americans Really Think About Climate Change.” Lecture
           sponsored by the Water Sustainability Program, the Institute of the Environment, the
           Renewable Energy Network, the School of Earth and Environmental Sciences, and the
           School of Geography and Development, University of Arizona, Tucson, Arizona.

2012       Invited Lecture, “Trust in Scientists, Controversy Among Scientists, and American Public
           Opinion on Climate Change: How Attitude Formation and Change Unfold.” Presentation
           during “The Science of Science Communication”, The Arthur M. Sackler Colloquia,
           National Academy of Sciences, Washington, DC.

2012       Invited Short Course, “Maximizing the Accuracy of Online Surveys: Comparisons of
           Methods and Recommendations of Optimal Procedures.” American Association for
           Public Opinion Research Annual Meeting, Orlando, Florida.

2012       Invited Lecture, “How Americans Form and Change Their Opinions About Climate
           Change.” Outside-In Engagement Series sponsored by the Interagency Communication and
           Education Team, United States Global Change Research Program, Washington, DC.

2012       Invited Lecture, “Pursuing Excellence in Scientific Research: Challenges and Rewards.”


   Case 2:18-cv-01996-JPS       Filed 09/18/19       Page 407 of 662        Document 73-1
                                                                                       Page 406
               Second Annual Stanford University Postdoctoral Association Research Symposium,
               Stanford University, Stanford, California.

2012           Invited Lecture, “U.S. Public Views on Climate Change: Insights from Polling.” Program on
               Communicating Uncertainty, Institute for International and Regional Studies, Princeton
               University, Princeton, New Jersey.

2012           Invited Keynote, “Public perceptions of Climate Change in the U.S.” Planning for Local
               Government Climate Challenges: Connecting Research and Practice Workshop, Sponsored
               by the University of Arizona Institute of the Environment, Arizona State University Campus,
               Tempe, Arizona.

2012           Invited Presentation, “Optimizing the Design of Self-Reports.” Engagement and Academic
               Tenacity: Making the Invisible Salient and Actionable, Workshop Sponsored by the Bill and
               Melinda Gates Foundation, Cambridge, Massachusetts.

2012           Invited Presentation, “Evidence of Decline in Effect Sizes: From Original Studies to
               Replications to Representative National Samples.” The Decline Effect: Evidence,
               Explanations, and Future Directions. Symposium at the University of California Santa
               Barbara, Santa Barbara, California.

2012           Invited Presentation, “Has the American Public Turned Away from Climate Change?” Salon
               Sponsored by the Woods Institute for the Environment at Stanford University, Venice,
               California.

2012           Invited Presentation, “Questionnaire Design.” Conference on the Future of Survey Research,
               National Science Foundation, Arlington, Virginia.

2012           Invited Speaker, “What’s at Stake for California?” Event sponsored by the Division of
               Social Sciences, the Office of Government Relations, and the Politics Department,
               University of California - Santa Cruz, Santa Cruz, California.

2012           Invited Presentation, “Issue Publics and Candidate Evaluations; Contrasting Different
               Analytic Methods to Identify the Psychological Process of Candidate Evaluation.”
               Directions in Political Science: Papers in Honor of George B. Rabinowitz. University of
               Michigan, Ann Arbor, Michigan.

2012           Invited Lecture, “What Americans Think About Climate Change: Explorations of Attitude
               and Belief Formation and Change in Response to a Raging Controversy”, Lecture Series on
               Persuasion, Attitude, and Behavior Change, Sponsored by the Research Center for Group
               Dynamics, Institute for Social Research, University of Michigan.

2013           Invited Keynote Address, “The Future of Survey Research,” Survey Research Methodology:
               The Changing Landscape of Survey Research in the Field and at ICF. Conference sponsored
               by ICF International, Fairfax, Virginia.

2013           Invited Lecture, “The Future of Survey Research,” 2013 National Cancer Institute Division
               of Cancer Control and Population Sciences Workshop: Global and National Issues Shaping
               the Cancer Control Surveillance Landscape. NIH Neuroscience Conference Center,
               Rockville, Maryland.

2013           Invited Lecture, “Public Perceptions about Global Warming and Government Involvement in
               the Issue.” Briefing at the Rayburn House Office Building, sponsored by the Environmental
               and Energy Study Institute, Washington, DC.

       Case 2:18-cv-01996-JPS       Filed 09/18/19       Page 408 of 662        Document 73-1
                                                                                           Page 407
2013           Policy Briefing, “Preparing for the Effects of Global Warming: The American Public’s
               Perspective on Sea Level Rise,” National Press Club, sponsored by the Woods Institute for
               the Environment at Stanford University and the Center for Ocean Solutions at Stanford
               University, Washington, DC.

2013           Invited Lecture, “What Americans Really Think About Climate Change - Attitude Formation
               and Change Across the U.S. in Response to a Raging Scientific Controversy.” Sponsored by
               the “Middle America” Student Organization, Graduate School of Education, Harvard
               University, Cambridge, Massachusetts.

2013           Invited Remarks, “RFF University Fellows Roundtable: RFF’s Next Decade.” Resources for
               the Future, Washington, DC.

2013           Invited Lecture, “The American Public’s Views of Climate Change: An Update.”
               Department of Global Ecology, Carnegie Institution for Science, Stanford, California.

2013           Invited Lecture, “Contingent Valuation.” Lecture sponsored by the Centre for
               Environmental Political Sciences, University of Gothenburg, Gothenburg, Sweden.

2013           Invited Lecture, “The Accuracy of Online Surveys with Non-probability Samples of People
               who Volunteer to Do Surveys for Money.” Workshop on Survey Methodology,
               Multidisciplinary Opinion and Democracy Research Group, Department of Political Science,
               University of Gothenburg, Gothenburg, Sweden.

2013           Invited Lecture, “Satisficing When Answering Questions: A Theoretical Explanation for a
               Wide Range of Findings in the Questionnaire Design Literature.” Workshop on Survey
               Methodology, Multidisciplinary Opinion and Democracy Research Group, Department of
               Political Science, University of Gothenburg, Gothenburg, Sweden.

2013           Invited Lecture, “What Americans Really Think About Climate Change: Attitude Formation
               and Change in Response to a Raging Scientific Controversy.” Sponsored by the Faculty of
               Social Sciences, University of Gothenburg, Gothenburg, Sweden.

2013           Invited Lecture, “Trust in Environmental Scientists and Public Opinion on Global Warming
               in the United States.” Presentation at the Brekfast Seminar on Climate and Opinion,
               sponsored by the Bergen Programme for Governance and Climate, Uni Rokkan Center,
               Bergen, Norway.

2013           Invited Lecture, “Survey Item Design.” Workshop on Survey Design for the Norwegian
               Citizen Panel, University of Bergen, Bergen, Norway.

2013           Invited Presentation, “American Public Opinion on Climate Change.” Conference on “What
               is the Value of Being First? Perspectives from the California and Sweden Experiences.”
               Climate Policy Forum co-sponsored by Resources for the Future, the Swedish Mistra Indigo
               program, and the ClimateWorks Foundation. Hyatt Regency Embarcadero, San Francisco,
               California.

2013           Invited Lecture, “The Psychology of American Public Opinion on Climate Change.”
               Symposium on Conservation Psychology, hosted by the University of Southern California
               Environmental Sustainability Network, University of Southern California, Los Angeles,
               California.

2013           Invited Keynote Presentation, “The History of Panel Internet Surveys.” Workshop on

       Case 2:18-cv-01996-JPS        Filed 09/18/19      Page 409 of 662         Document 73-1
                                                                                            Page 408
               Longitudinal Research in Internet Panels, Program on Political Economy of Reforms,
               University of Mannheim, Mannheim, Germany.

2013           Invited Presentation, “Mode Comparisons.” Workshop on Longitudinal Research in Internet
               Panels, Program on Political Economy of Reforms, University of Mannheim, Mannheim,
               Germany.

2013           Short Course (with Mario Callegaro), “How to Publish in Survey Research: Strategies,
               Venues, Opportunities, and Errors to Avoid.” American Association for Public Research
               Annual Meeting, Boston, Massachusetts.

2013           Invited Keynote Address, “The Accuracy of Survey Measurements and the Impact of Data
               Collection Methodology.” Canadian Political Science Association, Victoria, British
               Columbia, Canada.

2013           Invited Presentation, “Debiasing.” Conference on Risk Communication for Better Long-
               Term Decisions: Insights from Finance and Healthcare. CenSoC - Centre for the Study of
               Choice, University of Technology, Sydney, Sydney, Australia.

2013           Invited Webinar (with Arthur Lupia and Matthew K. Berent), “Survey Coding: Best
               Practices for Coding Open-Ended Survey Data.” Webinar sponsored by the American
               Association for Public Opinion Research.

2013           Invited Keynote Address, “The Accuracy of Survey Data Collected by Various American
               On-line Survey Firms: A 2012 Comparison.” MESS Workshop, Sponsored by the
               University of Tilburg CentERdata Institute for Data Collection and Research, Den Haag, The
               Netherlands.

2013           Invited Keynote Address, “Social Desirability Response Bias: Real or an Illusion?” Sixth
               Webdatanet MC, WGs, TFs, Seminars, Webdatametrics Workshop and Conference: “Mixed
               Mode and Multi-Mode Research.” Sponsored by the Universitatis Islandiae Sigillum,
               Reykjavik, Iceland.

2013           Invited Keynote Address, “Choosing Mode of Data Collection for Surveys to Maximuze
               Data Quality.” International Conference on Applied Statistics 2013, Ribno, Slovenia.

2013           Invited Address, “Online Surveys.” DSA2 Conference on Web Surveys, Faculty of Social
               Sciences, University of Ljubljana, Ljubljana, Slovenia.

2013           Invited Address, “The Effects of Scientists’ Expressions of Uncertainty on Public Opinion
               on Global Warming.” Australian Psychological Society Annual Meeting, Cairns Convention
               Centre, Queensland, Australia.

2013           Invited Presentation, “Inequality in Public Conversations about Politics.” Cottrell Salon,
               Stanford, California.

2013           Invited Webinar, “Communicating About Climate Adaptation with the Public.” Sponsored
               by the Center for Ocean Solutions and the Woods Institute for the Environment, Stanford
               University.

2013           Invited Testimony, “Public Opinion on Global Warming in the States.” Bicameral Task
               Force on Climate Change, Committee on Energy and Commerce, U.S. House of
               Representatives, Washington, DC.


       Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 410 of 662          Document 73-1
                                                                                              Page 409
2013           Invited Presentation, “Public Opinion on Global Warming in the States.” Climate Action
               Campaign, Washington, DC.

2013           Invited Short Course, “Maximizing the Accuracy of Online Surveys: Comparisons of
               Methods and Recommendations of Optimal Procedures.” Annual Meeting of the Pacific
               Chapter of the American Association for Public Opinion Research, San Francisco,
               California.

2013           Invited Keynote Address, “Public Perceptions of Climate Change in the U.S.” Regional
               Climate Summit for Municipal Leaders: Economic, Health, Water, and Transportation
               Impacts. Sponsored by Climate Assessment for the Southwest, University of Arizona.
               University Marriott, Tucson, Arizona.

2014           Invited Presentation, “The Quality of Data Obtained from Non-Probability Internet Panels.”
               Google, Mountain View, California.

2014           Invited Presentation, “Satisficing When Answering Questions: A Theoretical Explanation for
               a Wide Range of Findings in the Questionnaire Design Literature.” CORE Colloquium
               Series, Southern Methodist University, Dallas, Texas.

2014           Invited Presentation, “Public Opinion on Global Warming.” Connecting the Dots
               Conference, Sponsored by the Woods Institute for the Environment, Stanford University,
               Stanford, California.

2014           Invited Keynote Address, “The Future of Survey Research.” Survey Research in the 21st
               Century: Lectures Celebrating the Survey Research Laboratory’s 50th Anniversary,
               University of Illinois, Champaign, Illinois.

2014           Invited Keynote Address, “The Future of Survey Research.” Survey Research in the 21st
               Century: Lectures Celebrating the Survey Research Laboratory’s 50th Anniversary,
               University of Illinois, Chicago, Illinois.

2014           Invited Webinar, “Experiments in Surveys: Tools for Determining How Marketers Can
               Shape People’s Preferences.” Australian Market & Social Research Society, Sydney,
               Australia.

2014           Invited Keynote Presentation, “Conducting and Publishing Methodology Research.” Annual
               Meeting of the Association of Academic Survey Research Organizations, University of
               Illinois, Chicago, Illinois.

2014           Invited Lecture, “Climate Change and Clean Energy – A Survey of U.S. Public Attitudes.”
               Resources for the Future, Washington, DC.

2014           Invited Presentation, “Public Attitudes About Climate Change and Clean Energy.”
               Sponsored by the Environmental and Energy Study Institute, Rayburn House Office
               Building, Washington, DC.

2014           Invited Presentation, “Social Science as Combat: The Global Warming War.” Center for
               Advanced Study in the Behavioral Sciences, Palo Alto, California.

2014           Invited Keynote Address, “The Future of Survey Research.” World Association of Public
               Opinion Research Annual Meeting, Universidad Diego Portales, Santiago, Chile.

2014           Invited Presentation, “American Public Opinion on Global Warming.” S. D. Bechtel, Jr.

       Case 2:18-cv-01996-JPS       Filed 09/18/19       Page 411 of 662        Document 73-1
                                                                                           Page 410
               Foundation. San Francisco, California.

2014           Invited Presentation, “The Future of Survey Research.” IJMR Speaker Evening, Market
               Research Society, London, U.K.

2014           Invited Presentation, “Impact of the Merchants of Doubt and of Natural Scientists on
               American Public Opinion on Global Warming.” Conference entitled “Responding and
               Adapting to Climate Change: Recognizing and managing Uncertainty in the Physical, Social,
               and Public Spheres.” University of Bristol, Bristol, U.K.

2014           Invited Presentation, “Comments on Variables that Determine the Quality of Survey
               Responses.” ESS-DACE Quality Enhancement Meeting Entitled “Measurement Quality in
               the ESS”. Universitat Pompeu Fabra, Barcelona, Spain.

2014           Invited Presentation, “The Future of Survey Research.” ESS Seminar: Highlights in Survey
               Research, Campus de la Ciutadella of Universitat Pampeu Fabra, Barcenola, Spain.

2014           Invited Presentation “Inequality and Public Opinion on Global Warming.” Institute for the
               Study of Societal Issues, University of California, Berkeley, Berkeley, California.

2014           Invited Presentation, “The Role of Americans’ Attitudes on Global Warming in Political
               Campaigns.” Harris School for Public Policy, University of Chicago, Chicago, Illinois.

2014           Invited Keynote Address, “Exploring the Origins of Beliefs about Climate Change:
               Experimental Studies Embedded in National Surveys of the U.S.” The Norwegian Citizen
               Panel Conference 2014, University of Bergen, Bergen, Norway.

2015           Invited Keynote Address, “Optimizing the Design of Survey Questionnaires.” Rethink
               Research: Research Intensification Series, sponsored by the Social Science Research
               Laboratories, University of Saskatchewan, Saskatchewan, Canada.

2015           Invited Presentation, “American Public Opinion on Climate Change: Motivated Cognition?”
               Harvard University Center for the Environment, Harvard University, Cambridge,
               Massachusetts.

2015           Invited Presentation, “Sampling on the Internet for Surveys and Experiments; The Good, the
               Bad, and he Ugly.” Data Gathering Methods Study Group, University of Virginia,
               Charlottesville, Virginia.

2015           Invited Presentation, “Can Surveys Measure Informed Public Preferences Regarding
               Government Policies? An Evaluation of the Contingent Valuation Method.” Quantitative
               Collaborative, University of Virginia, Charlottesville, Virginia.

2015           Invited Presentation, “What Americans Really Think About Climate Change: Attitude
               Formation and Change in Response to a Raging Scientific Controversy.” Center for Survey
               Research, University of Virginia, Charlottesville, Virginia.

2015           Invited Presentation, “Causes of Turnout.” Conference entitled “How Voters Think: Lessons
               from Science and Practice.” A meeting of political scientists with Democratic Party
               campaign consultants. Harris School of Public Policy, University of Chicago, Chicago,
               Illinois.

2015           Invited Presentation, “Communicating about Climate Change: How Language Choices
               Affect Public Thinking.” Sunnylands Speaker Series at Rancho Mirage Library, Rancho

       Case 2:18-cv-01996-JPS       Filed 09/18/19       Page 412 of 662        Document 73-1
                                                                                           Page 411
               Mirage, California.

2015           Invited Presentation, “The Impact of Acknowledging Bounded and Unbounded Uncertainty
               on Persuasion: The Case of Scientific Uncertainty and Global Warming.” Conference
               entitled “Third Annual UCSB Environmental Political Conference. UCSB Center for Social
               Solutions to Environmental Problems, Bren School of Environmental Science and
               Management, University of California, Santa Barbara, California.

2015           Invited Presentation, “Fact-Checking and News Literacy.” Annual Journalism Funders
               Gathering: “Journalism, Democracy, and Political Polarization.” William and Flora Hewlett
               Foundation, Menlo Park, California.

2015           Invited Presentation, “Causes of Turnout.” Conference entitled “How Voters Think: Lessons
               from Science and Practice.” A meeting of political scientists with Republican Party
               campaign consultants. Harris School of Public Policy, University of Chicago, Chicago,
               Illinois.

2015           Invited Lecture, “Social Psychology Under the Microscope: Do Our Classic Experiments
               Replicate When Participants Are Representative of the General Public Rather Than
               Convenience Samples of College Students?” Lecture sponsored by the Quantitative
               Initiative for Policy and Social Research, University of Kentucky, Lexington, Kentucky.

2015           Invited Lecture, “Political Thinking, Passion and Action in America: The Contributions of
               Jon Krosnick to the Study of Political Psychology.” Lecture sponsored by the Quantitative
               Initiative for Policy and Social Research, University of Kentucky, Lexington, Kentucky.

2015           Invited Presentation, “What Americans Really Think About Global Warming.” Invited
               Lecture in the Distinguished Speaker Series, Department of Political Science, University of
               British Columbia, Vancouver, British Columbia.

2015           Invited Remarks, “Samuel Popkin: Celebration of a Remarkable Career.” Institute of the
               Americas, University of California, San Diego, California.

2015           Invited Lecture, “The Influence of the Media.” Academic Department of Political Science,
               Instituto Tecnológico Autónomo de México, Mexico City, Mexico.

2015           Invited Workshop, “Developments in Survey Research Methodology.” Academic
               Department of Political Science, Instituto Tecnológico Autónomo de México, Mexico City,
               Mexico.

2015           Invited Remarks, “Pre-election Polling in the United States.” Foro El Panorama
               Internacional Sobre El Papel de las Encuestas Electorales. México Instituto Nacional
               Electoral, Mexico, City, Mexico.

2015           Keynote Address, “How Accurate Are Surveys and What Can We Do to Maximize
               Accuracy.” Annual Conference of the Midwest Association for Public Opinion Research,
               Chicago, Illinois.

2015           Invited Presentation, “What Americans Really Think about Climate Change - Attitude
               Formation and Change in Response to a Raging Scientific Controversy.” UCCS Speaker
               Series, University of California Center, Sacramento, California.

2015           Invited Presentation, “Reasons to worry about social sciences and opportunities for
               improvement.” Improving Biomedical Research 2015: Challenges and Solutions. Meta-

       Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 413 of 662        Document 73-1
                                                                                            Page 412
               Research Innovation Center at Stanford, Stanford University, Stanford, California.

2015           Invited Presentation, “Giving the Public a Voice in the Process of Democratic Policy
               Making.” Society of Experiment Social Psychology Annual Meeting, Denver, Colorado.

2016           Invited Presentation, “The Future of Internet Surveys: Why Bother with Random Sampling?”
               The Inaugural Ross-Royall Symposium: From Individuals to Populations. Department of
               Biostatistics, Bloomberg School of Public Health, Johns Hopkins University, Baltimore,
               Maryland.

2016           Invited Lecture, “Collapses of Research Integrity and Opportunities to Strengthen Science.”
               Lecture sponsored by the Office of Research Integrity, University of California, Riverside,
               Riverside, California.

2016           Invited Presentation, “Public Opinion on Climate Change.” Presentation at the California
               Association of Museums Annual Meeting, Riverside, California.

2016           2016 Gierach Lectureship, “Passion in American Politics: What Happens When Citizens
               Become Deeply Committed to Pressuring Government on a Policy Issue.” Department of
               Psychology, University of Florida, Gainesville, Florida.

2016           Invited Colloquium, “Best Practices in Science: Profound Problems and Wonderful
               Opportunities for Psychologists.” Department of Psychology, University of Florida,
               Gainesville, Florida.

2016           Invited Keynote Address, “Can Surveys Measure Informed Public Preferences Regarding
               Government Policies? An Evaluation of the Contingent Valuation Method.” Conference on
               Political Communication, Conflict, Journalism, Public Opinion, Discourse, and
               Psychological Perspectives. Noah Mozes Department of Communication and Journalism
               and the Smart Family Institute of Communication, Hebrew University, Jerusalem, Israel.

2016           Invited Keynote Address, “Reflections on an Extraordinary Career; Elihu Katz and the
               Study of Mass Communication and Public Opinion.” Conference on Political
               Communication, Conflict, Journalism, Public Opinion, Discourse, and Psychological
               Perspectives. Noah Mozes Department of Communication and Journalism and the Smart
               Family Institute of Communication, Hebrew University, Jerusalem, Israel.

2016           Invited Presentation, “What Americans Really Think About Climate Change. Presentation
               sponsored by the Stanford Alumni Association. Greenberg Traurig Law Firm, Tel Aviv,
               Israel.

2016           Invited Presentation, “Best Practices in Science: Profound Problems and Wonderful
               Opportunities for Social and Behavioral Scientists.” Department of Communication, Tel
               Aviv University, Tel Aviv, Israel.

2016           Invited Lecture, “The Impact of Survey Mode and Sampling on the Accuracy of Survey
               Results.” Federal Trade Commission, Washington, DC.

2016           Invited Lecture, “Can Surveys Measure Informed Public Preferences Regarding Government
               Policies? An Evaluation of the Contingent Valuation Method.” GESIS - Leibniz Institute
               for the Social Sciences, Mannheim, Germany.

2016           Invited lecture, “Impact of Survey Modes.” Workshop on Survey Mode Effects, Sponsored


       Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 414 of 662        Document 73-1
                                                                                            Page 413
               by the Faculty of Social Sciences, University of Ljubljana. Ljubljana, Slovenia.

2016           Invited Moderator, “Discussion on Testing for Causal Mediation.” Ninth Annual meeting of
               the West Coast Experiments Conference, Graduate School of Business, Stanford University,
               Stanford, California.

2016           Invited Comments, “Research Ethics.” Meeting of the DIGSSCORE International Advisory
               Board, the Norwegian Citizen Panel Scientific Committee, and the Citizen Lab Scientific
               Committee. University of Bergen, Bergen, Norway.

2016           Invited Keynote Address, “The Exciting Opportunities Afforded by Digitalization in the
               Social and Behavioral Science, and the Need for Academic Research to avoid Disasters.”
               Kick-off Seminar for the University of Bergen’s Digital Social Science Initiative, Bergen,
               Norway.

2016           Invited Address, “Are Democratic Citizens Capable of Offering Thoughtful Prescriptions on
               Policy Issues? An Evaluation of the Contingent Valuation Method.” Sciences Po Methods
               Workshop, CEVIPOF, Centre de Recherches Politiques, Sciences Po, Paris, France.

2016           Invited Address, “Issue-focused Passion in American Politics.” Sciences Po Methods
               Workshop, CEVIPOF, Centre de Recherches Politiques, Sciences Po, Paris, France.

2016           Invited Address, “The Polling Blues.” Presentation sponsored by the DC Chapter of the
               American Association for Public Opinion Research, Washington, DC.

2016           Invited Presentation, “Survey Mode, Sampling Methods, and Response Rates.” Deep Water
               Horizon Total Value – Lessons Learned. Workshop sponsored by the National Oceanic and
               Atmospheric Administration, Washington, DC.

2016           Invited Presentation, “Are American Elections Unfair? Exploring the Impact of Candidate
               Name Order.” Presentation at Vi at Palo Alto, Palo Alto, California.

2016           Invited Presentation, “The Future of Survey Research.” Lecture sponsored by the DC
               Chapter of the American Association for Public Opinion Research, Washington, DC.

2016           Invited Presentation, “The Future of Survey Research.” Lecture sponsored by the New York
               Chapter of the American Association for Public Opinion Research, Washington, DC.

2016           Invited Presentation, “The Future of Survey Research.” Lecture sponsored by the Survey
               Research Center, The Woodrow Wilson School, and the Center for the Study of Democratic
               Politics, Princeton University, Princeton, New Jersey.

2016           Invited Presentation, “The Future of Survey Research.” Lecture Sponsored by the Center for
               Survey Research, University of Massachusetts, Boston, Massachusetts.

2016           Invited Presentation, “Issue-Focused Passion in American Politics: What Happens When
               Citizens Become Deeply Committed to Pressuring Government on a Policy Issue..” Lecture
               Sponsored by the Departments of Psychology, Sociology, and Political Science, and the
               Center for Survey Research, University of Massachusetts, Boston, Massachusetts.

2016           Invited Commentary, “Science Gone Awry.” Tanner Lectures on Human Values, Sponsored
               by the University Center for Human Values: Trust and Distrust in Science, Princeton



       Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 415 of 662         Document 73-1
                                                                                             Page 414
               University, Princeton, New Jersey.

2016           Invited Keynote Address, “Studying Political Attitudes as Survey Methodology
               Transforms.” Conference on “Inequality and Fairness of Political Reforms.” Hosted by the
               SFB 884 “Political Economy of Reforms” Project, University of Mannheim, Mannheim,
               Germany.

2017           Invited Presentation, “The Psychology of American Elections: Getting Into the Heads of
               Voters”. Presentation sponsored by the Stanford Alumni Association. Stanford in New
               York Facility, New York, New York.

2017           Invited Presentation, “The Challenges of Accurate Survey Measurement: The Case of
               Household Rostering.” Center for Survey Methodology, U.S. Census Bureau, Suitland,
               Maryland.

2017           Invited Address, “The Accuracy of Online Surveys with Non-probability Samples of People
               Who Volunteer to Do Surveys for Money.” Conference Entitled “Towards the Future:
               Forecasting in Social Studies” VII Sociology Grushin Conference, Sponsored by the Russia
               Public Opinion Research Center, Moscow, Russia.

2017           Invited Lecture, “Are Elections in America Unfair? Exploring the Impact of Candidate
               Name Order.” Lecture co-sponsored by the GESIS Leibniz Institute for Social Sciences and
               the Mannheim Center for European Social Research (MZES), University of Mannheim,
               Mannheim, Germany.

2017           Invited Presentation, “Attitude Measurement and Methodology”. Attitudes Conference,
               Annenberg Public Policy Center of the University of Pennsylvania, Philadelphia,
               Pennsylvania.

2017           Invited Presentation, “Campaign Ads that are Good for America.” Conference on Electoral
               Reform, Harris School for Public Policy, University of Chicago, Chicago, Illinois.

2017           Invited Presentation, “Eliminating Unfairness: The Impact of Candidate Name Order.”
               Conference on Electoral Reform, Harris School for Public Policy, University of Chicago,
               Chicago, Illinois.

2017           Invited Lecture, “How the Media Influence American Public Opinion.” Presentation at
               @America, sponsored by the U.S. Department of State, Jakarta, Indonesia.

2017           Invited presentation, “Challenges Impeding Comparability of Measurement Across
               Countries: Findings from an International Project Documenting Response Effects.”
               Conference on Advances in Scale Development in the Social Sciences: Issues of
               Comparability, University of Mannheim, sponsored by GESIS, Mannheim, Germany.

2017           Invited presentation, “Challenges Impeding Comparability of Measurement Across
               Countries: Findings from an International Project Documenting Response Effects.”
               Conference on Elections, parties, and Public Opinion in a Volatile World: A Comparative
               Perspective. University of Mannheim, sponsored by GESIS, the Mannheimer Zentrum fur
               Europaische Sozialforschung, and the University of Michigan’s Institute for Social Research,
               Mannheim, Germany.

2017           Invited panel member, “Keynote: The Politics of Climate Change.” Sixth Annual LCFS &



       Case 2:18-cv-01996-JPS        Filed 09/18/19      Page 416 of 662         Document 73-1
                                                                                            Page 415
                 OPIS Carbon Markets Workshop, San Francisco, California.

  2017           Invited lecture, “The Elections in America: Surprising Twists and Turns.” Stanford Center
                 at Peking University Special Lecture, Beijing, China.

  2017           Invited lecture, “Are Elections in America Unfair? Exploring the Impact of Candidate Name
                 Order.” Methoden-Zentrum Sozialwissenschaften, Georg-August-Universitat Gottingen,
                 Gottingen, Germany.

  2018           Inaugural Lecturer, Natalie Kahn Lecture Series, Department of Communication, University
                 of California, Los Angeles, Los Angeles, California.

  2018           Invited Lecture, “Social and Psychology Experiments Under the Microscope: Do Our Classic
                 Experiments Replicate When Participant Are Representative of the General Public Rather
                 Than Convenience Samples of College Students?” Centre for Experimental Social Sciences
                 Seminar, Nuffield College, University of Oxford, Oxford, United Kingdom.

  2018           Invited Lecture, “Passion in American Politics: What Happens When Citizens Become
                 Deeply Committed to Pressuring Government on a Policy Issue”. Department of
                 Psychology, University of Bath, Bath, United Kingdom.

  2018           Invited Keynote Address, “An Update on the Accuracy of Probability Sample Surveys and
                 Non-probability Sample Surveys.” Workshop on Probability-Based and Nonprobability
                 Survey Research, Program on Political Economy of Reforms – SFB 884, University of
                 Mannheim, Mannheim, Germany.

  2018           Presentation, “Project Overview.” CPS Forum on Measuring Voter Turnout, Summer at
                 Census, U.S. Census Bureau, Suitland, Maryland.

  2018           Presentation, “Mode and Proxy Effects.” CPS Forum on Measuring Voter Turnout, Summer
                 at Census, U.S. Census Bureau, Suitland, Maryland.

  2018           Presentation, “Knowing More Than We Can Know.” CPS Forum on Measuring Voter
                 Turnout, Summer at Census, U.S. Census Bureau, Suitland, Maryland.

  2018           Invited Colloquium, “The Future of Survey Research: Meltdown or Opportunity?” Roper
                 Center Speaker Series, Roper Center for Public Opinion Research, Cornell University,
                 Ithaca, New York.

 2018            Invited Colloquium, “The Future of Survey Research: Meltdown or Opportunity?” GESIS -
                 Leibniz Institute for the Social Sciences, Mannheim, Germany.


Editorial Board Member

 1989-2000       Journal of Personality and Social Psychology
 2006-2008

 1990-1994       Journal of Experimental Social Psychology

 1997-2003       Basic and Applied Social Psychology




         Case 2:18-cv-01996-JPS       Filed 09/18/19         Page 417 of 662      Document 73-1
                                                                                             Page 416
 1988-1991,       Public Opinion Quarterly
 1994-2002

 1998-2006        Media Psychology

 2006-2008        Sociological Methodology

   2008-          Pathways

 2012-2017        Journal of Survey Statistics and Methodology

 2018-2020        Measurement Instruments for the Social Sciences


Internal Grants

   1986           Ohio State University Office of Research and Graduate Studies Faculty Seed Grant, to
                  support research on attitude importance.

   1986           Ohio State University College of Social and Behavioral Sciences Research Expense Grant, to
                  support research on social information processing and judgments about the self.

   1987           Mershon Center Research Grant, to study the determinants of attitude importance.

   1987           Ohio State University Office of Research and Graduate Studies Research Grant, to study the
                  role of attitude importance in regulating political judgment.

   1988           Ohio State University Office of Research and Graduate Studies, to support a study of the
                  Arab/Israeli relations issue public in the United States (with Shibley Telhami).

   1988           The Mershon Center, Ohio State University, to support a study of the Arab/Israeli relations
                  issue public in the United States (with Shibley Telhami).

   1988           Department of Political Science, Ohio State University, to support a study of the Arab/Israeli
                  relations issue public in the United States (with Shibley Telhami).

   1988           College of Social and Behavioral Sciences, Ohio State University, to support a study of the
                  Arab/Israeli relations issue public in the United States (with Shibley Telhami).

   1991           Ohio State University Office of Research and Graduate Studies Research Grant, to study the
                  role of satisficing in shaping responses to survey questionnaire measures of attitudes.

   1993           Ohio State University Office of the Vice President for Research, to support preparation of a
                  book on questionnaire design.

   1995           College of Social and Behavioral Sciences, Ohio State University, to support a study of the
                  contingent valuation method of survey research.

   1995           College of Social and Behavioral Sciences, Ohio State University, to support a survey of
                  public attitudes toward global warming.

   1995           College of Social and Behavioral Sciences, Ohio State University, to support research on
                  questionnaire design.


       Case 2:18-cv-01996-JPS           Filed 09/18/19       Page 418 of 662         Document 73-1
                                                                                                Page 417
1999       Mershon Center, Ohio State University. Foreign policy and election outcomes: A proposal
           to study the 2000 American Presidential election.

2003       VPUE Faculty Grant for Undergraduate Research, Stanford University.

2004       VPUE Faculty Grant for Undergraduate Research, Stanford University.

2005       VPUE Faculty Grant for Undergraduate Research, Stanford University.

2006       VPUE Faculty Grant for Undergraduate Research, Stanford University.

2009       VPUE Faculty Grant for Undergraduate Research, Stanford University.

2007       Summer Research College Support for Undergraduates, Political Science Department,
           Stanford University.

2008       VPUE Faculty Grant for Undergraduate Research, Stanford University.

2008       Summer Research College Support for Undergraduates, Political Science Department,
           Stanford University.

2009       VPUE Faculty Grant for Undergraduate Research, Stanford University.

2009       Summer Research College Support for Undergraduates, Political Science Department,
           Stanford University.

2009       Summer Research College Support for Undergraduates, Public Policy Program, Stanford
           University.

2010       VPUE Faculty Grant for Undergraduate Research, Stanford University.

2010       Summer Research College Support for Undergraduates, Political Science Department,
           Stanford University.

2010       Summer Research College Support for Undergraduates, Public Policy Program, Stanford
           University.

2011       VPUE Faculty Grant for Undergraduate Research, Stanford University.

2011       Summer Research College Support for Undergraduates, Political Science Department,
           Stanford University.

2011       Summer Research College Support for Undergraduates, Woods Institute for the
           Environment, Stanford University.

2011       Summer Research College Support for Undergraduates, Public Policy Program, Stanford
           University.

2012       Summer Research College Support for Undergraduates, Political Science Department,
           Stanford University.

2012       Summer Research College Support for Undergraduates, Woods Institute for the
           Environment, Stanford University.


   Case 2:18-cv-01996-JPS       Filed 09/18/19      Page 419 of 662        Document 73-1
                                                                                      Page 418
2012       Summer Research College Support for Undergraduates, Public Policy Program, Stanford
           University.

2012       VPUE Faculty Grant for Undergraduate Research, Stanford University.

2013       Summer Research College Support for Undergraduates, Political Science Department,
           Stanford University.

2013       Summer Research College Support for Undergraduates, Woods Institute for the
           Environment, Stanford University.

2013       Summer Research College Support for Undergraduates, Public Policy Program, Stanford
           University.

2014       Summer Research College Support for Undergraduates, Political Science Department,
           Stanford University.

2014       Summer Research College Support for Undergraduates, Woods Institute for the
           Environment, Stanford University.

2014       Summer Research College Support for Undergraduates, Public Policy Program, Stanford
           University.

2014       Research Grant, Center for Advanced Study in the Behavioral Sciences.

2015       Summer Research College Support for Undergraduates, Political Science Department,
           Stanford University.

2015       Summer Research College Support for Undergraduates, Woods Institute for the
           Environment, Stanford University.

2015       Summer Research College Support for Undergraduates, Public Policy Program, Stanford
           University.

2015       Research Grant, Spectrum-Stanford Health Care Innovation Challenge Program, Stanford
           University. (with Julie Parsonnet)

2016       Summer Research College Support for Undergraduates, Political Science Department,
           Stanford University.

2017       Summer Research College Support for Undergraduates, Public Policy Program, Stanford
           University.

2017       Summer Research College Support for Undergraduates, Political Science Department,
           Stanford University.

2017       Summer Research College Support for Undergraduates, Psychology Department, Stanford
           University.

2017       Summer Research Program on Energy Research, Precourt Institute for Energy, Stanford
           University.



   Case 2:18-cv-01996-JPS       Filed 09/18/19      Page 420 of 662        Document 73-1
                                                                                      Page 419
  2018            Summer Research College Support for Undergraduates, Public Policy Program, Stanford
                  University.

  2018            Summer Research College Support for Undergraduates, Political Science Department,
                  Stanford University.

  2018            Summer Research College Support for Undergraduates, Psychology Department, Stanford
                  University.

  2018            Summer Research Program on Energy Research, Precourt Institute for Energy, Stanford
                  University.


External Grants and Contracts

  1977            CBS Research Grant, to support development and evaluation of a mass media promotional
                  campaign for sound recordings.

  1984            Society for the Psychological Study of Social Issues Doctoral Dissertation Grant-in-aid.

  1984            CBS Research Grant, to support literature review/research on the causes of heavy television
                  viewing among children and adolescents.

  1985            CBS Research Grant, to support empirical research on the effect of television viewing on
                  alcohol use among children and adolescents.

  1985            CBS Research Grant, to support empirical research on the causes of heavy television viewing
                  among children and adolescents.

1987-1989         National Institute on Aging Research Grant, to study changes in political orientations over
                  the life span (with Duane F. Alwin).

  1987            National Association of Broadcasters Research Grant, to study the causes of heavy television
                  viewing among children and adolescents.

  1988            Society for the Psychological Study of Social Issues Grant-in-Aid, to support research on the
                  causes of heavy television viewing among children and adolescents.

1990-1992         National Science Foundation, The information processing consequences of attitude
                  importance.

  1991            National Science Foundation Research Experience for Undergraduates Grant Supplement,
                  The information processing consequences of attitude importance.

  1992            Society for the Psychological Study of Social Issues Grant-in-Aid, to support research on the
                  impact of the Gulf War on the constituents of presidential evaluations.

  1992            National Science Foundation Research Experience for Undergraduates Grant Supplement,
                  The information processing consequences of attitude importance.

  1994            National Science Foundation, Explaining the surprising accuracy of mail surveys.

  1995            National Science Foundation Research Experience for Undergraduates Grant Supplement,
                  Explaining the surprising accuracy of mail surveys.

       Case 2:18-cv-01996-JPS           Filed 09/18/19       Page 421 of 662         Document 73-1
                                                                                                Page 420
  1995         U.S. Department of the Interior/Minerals Management Service/University of California
               Coastal Marine Institute, Testing and calibrating the measurement of nonmarket values for
               oil spills via the contingent valuation method (with Michael Hanemann).

  1995         Electric Power Research Institute/Industrial Economics, Elicitation of public perceptions
               regarding the potential ecological effects of climate change (part I).

  1996         Electric Power Research Institute/Industrial Economics, Elicitation of public perceptions
               regarding the potential ecological effects of climate change (part II).

  1997         National Science Foundation, Formation and change of public beliefs about global warming.

  1997         National Oceanic and Atmospheric Administration/U.S. Environmental Protection
               Agency/Resources for the Future, Formation and change of public beliefs about global
               warming: Wave II of survey interviewing.

1998, 1999,    Robert Dodd and Associates/The Battelle Memorial Institute/National
2000, 2001     Aeronautics and Space Administration, National aviation operational monitoring system
               questionnaire development.

2000, 2001     Resources for the Future, American public opinion on the environment.

2001, 2002     Columbus Airport Authority, The dynamics and causes of airport customer satisfaction.

  2002         Time-sharing Experiments for the Social Sciences (TESS) grant (funded by the National
               Science Foundation), Social desirability and reports of voter turnout (with Allyson L.
               Holbrook).

  2003         National Science Foundation, Social and psychological mechanisms of the relation between
               age and openness to attitude change (with Penny Visser).

  2003         New York Academy of Medicine/W. K. Kellogg Foundation, Engaging the community in
               terrorism preparedness planning.

  2003         Decade of Behavior 2000-2010 Distinguished Lecture Program Grant to feature Richard E.
               Petty at the 2003 annual meeting of the American Association for Public Opinion Research.

  2004         National Science Foundation, Optimizing the number of points on rating scales.

  2004         The Bureau of Labor Statistics, U.S Department of Labor, Refining the categorization of jobs
               in the biotechnology industry.

  2005         National Science Foundation, 2005 Summer Institute in Political Psychology.

  2005         National Science Foundation, Survey Research Methodology Optimization for the Science
               Resource Statistics Program.

  2005         National Science Foundation, American National Election Studies 2005-2010 (with Arthur
               Lupia).

  2006         American Psychological Association, The psychology of voting and election campaigns: A
               proposal for a stand-alone conference (with Wendy Wood, Arthur Lupia, and John Aldrich).



       Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 422 of 662         Document 73-1
                                                                                             Page 421
2006       National Science Foundation, Agenda-setting workshop in the area of e-science:
           Development of the next generation of cybertools applied to data collections in the social
           and behavioral sciences (with Arthur Lupia).

2006       National Science Foundation, Development of a computer network for experimental and
           non-experimental data collection via the Internet from a nationally representative sample of
           American households.

2006       National Science Foundation and the Department of Homeland Security, Expansion of the
           American National Election Study: Gauging the public’s Attitudes on terrorism and
           homeland security (with Arthur Lupia).

2007       National Science Foundation, 2007 Summer Institute in Political Psychology.

2007       National Science Foundation, Survey Research Methodology Optimization for the Science
           Resource Statistics Program.

2007       National Science Foundation, Survey Research Methodology Optimization for the Science
           Resource Statistics Program (Supplement).

2007       National Science Foundation, Research Experience for Undergraduates Supplement for the
           American National Election Study. (with Arthur Lupia)

2007       National Science Foundation, The Impact of Polls on Political Behavior.

2007       National Science Foundation, American National Election Studies Supplement to Support
           Additional Pretesting of Questionnaire Items. (with Arthur Lupia)

2007       National Science Foundation, American National Election Studies Supplement to Support a
           Conference on Methodology for Coding Open-ended Question Responses. (with Arthur
           Lupia)

2008       National Science Foundation, SGER: DHS and NSF Collaboration: Developing Polls to Test
           Theories of Radicalization and Potential for Radicalization. (with Arthur Lupia)

2008       National Science Foundation, American National Election Studies Supplement to Create a
           Supplemental Panel to Study the 2008 American Presidential Election. (with Arthur Lupia)

2016       National Science Foundation, 2008 Summer Institute in Political Psychology.

2017       Time-sharing Experiments for the Social Sciences (TESS) grant (funded by the National
           Science Foundation), Does Mentioning ‘Some People’ and ‘Other People’ in an Attitude
           Question Improve Measurement Quality? (with David Yeager).

2009       National Science Foundation, 2009 Summer Institute in Political Psychology.

2009       Robert Wood Johnson Foundation, Surveying Public Opinion on Healthcare.

2009       Bill and Melinda Gates Foundation, Research and Polling Studies on Key Education Topics.

2009       National Science Foundation, 2010-2012 Summer Institute in Political Psychology.

2010       National Science Foundation, American National Election Studies Supplement to Develop
           and Test New Methods for Coding Open-ended Survey Data. (with Arthur Lupia)

   Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 423 of 662         Document 73-1
                                                                                         Page 422
   2018           National Science Foundation, Discovering the Mechanisms of Belief and Attitude Change on
                  Controversial Issues: The Case of Global Warming and Trust in Scientists.

   2019           Marketing Science Institute, Establishing the Accuracy of Online Panels Research (with Lisa
                  Brüggen, Rebecca Weiss, David Yeager, Rui Wang, and Yph Lelkes).

   2020           National Science Foundation, Conferences on the Future of Survey Research.

   2021           National Science Foundation, Supplement to Grant on the Future of Survey Research.

   2014            National Science Foundation, American National Election Studies Supplement to Develop
                   and Test New Methods for Coding Open-ended Survey Data. (with Arthur Lupia)

   2014            Fetzer Franklin Fund, Exploring the Replicability of Psychological Findings.

   2022           Center for Advanced Study in the Behavioral Sciences, Stanford University, CASBS Best
                  Practices in Science Group: Empirical Studies, Article Writing, and Grant Proposal
                  Preparation. (with Lee Jussim)

   2023           The William and Flora Hewlett Foundation, Maximizing Scientific Integrity. (with Lee
                  Jussim)

   2015           Marketing Science Institute, Beyond the Promotion of Net Promoter Score: A Research Deep
                  Dive on “The One Number You Need to Grow.” (with Ellen Konar)

   2015            Fetzer Franklin Fund, Maximizing Scientific Integrity: A Conference Proposal. (with Lee
                   Jussim)

   2017            National Science Foundation, Implicit Bias Conference

   2018            National Science Foundation, Consumer Innovation Survey Development.


Research Partnerships with News Media Organizations

The New York Times
ABC News
The Associated Press
Time Magazine
The Washington Post
USA Today
New Scientist Magazine


Books

Weisberg, H., Krosnick, J. A., & Bowen, B. (1989). Introduction to survey research and data analysis.
       Chicago: Scott, Foresman.

Krosnick, J. A. (Ed.). (1990). Thinking about politics: Comparisons of experts and novices. New York:
       Guilford Press (Book version of a special issue of Social Cognition, Volume 8, Number 1, 1990).



        Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 424 of 662         Document 73-1
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Petty, R. E., & Krosnick, J. A. (Eds.). (1995). Attitude strength: Antecedents and consequences. Hillsdale, NJ:
        Erlbaum.

Weisberg, H., Krosnick, J. A., & Bowen, B. (1996). Introduction to survey research, polling, and data analysis.
       Thousand Oaks, CA: Sage.

Carson, R. T., Conaway, M. B., Hanemann, W. M., Krosnick, J. A., Mitchell, R. C., Presser, S. (2004).
        Valuing oil spill prevention: A case study of California's central coast. Dordrecht, The Netherlands:
        Kluwer Academic Publishers.

Callegaro, M., Baker, R., Bethlehem, J., Göritz, A., Krosnick, J. A., & Lavrakas, P. J. (Eds.). (2014). Online
        panel research: A data quality perspective. West Sussex, UK: John Wiley and Sons.

        Review: Cornesse, C., & Blom, A. G. (2015). Review of Online Panel Research: A Data Quality
        Perspective. Journal of Official Statistics, 31, 809-812.

Krosnick, J. A., Chiang, I.-C., & Stark, T. (Eds.) (2017). Political psychology: New explorations. Psychology
       Press. New York, New York.

Vannette, D. L., & Krosnick, J. A. (Eds.) (2018). The Palgrave handbook of survey research. London, UK:
       Palgrave MacMillan.

Krosnick, J. A., & Fabrigar, L. R. (forthcoming). The handbook of questionnaire design. New York: Oxford
       University Press.


Journal Articles and Book Chapters

Krosnick, J. A. (1978). One approach to the analysis of drumset playing. Percussive Notes, Spring-Summer,
       143-149.

Judd, C. M., Krosnick, J. A., & Milburn, M. A. (1981). Political involvement and attitude structure in the
        general public. American Sociological Review, 46, 660-669.

Krosnick, J. A., & Judd, C. M. (1982). Transitions in social influence at adolescence: Who induces cigarette
       smoking? Developmental Psychology, 18, 359-368.

Judd, C. M., & Krosnick, J. A. (1982). Attitude centrality, organization, and measurement. Journal of
        Personality and Social Psychology, 42, 436-447.

Krosnick, J. A. (1982). Teaching percussion: Growing with your students. National Association of College
       Wind and Percussion Instructors Journal, Summer, 4-7.

Judd, C. M., Kenny, D. A., & Krosnick, J. A. (1983). Judging the positions of political candidates: Models of
        assimilation and contrast. Journal of Personality and Social Psychology, 44, 952-963.

McAlister, A. L., Krosnick, J. A., & Milburn, M. A. (1984). Causes of adolescent cigarette smoking: Tests of a
       structural equation model. Social Psychology Quarterly, 47, 24-36.

Iyengar, S., Kinder, D. R., Peters, M. D., & Krosnick, J. A. (1984). The evening news and presidential
        evaluations. Journal of Personality and Social Psychology, 46, 778-787.

        Reprinted in Peplau, L. A., Sears, D. O., Taylor, S. E., & Freedman, J. L. (Eds.) (1988), Readings in
        social psychology: Classic and contemporary contributions. Englewood Cliffs, NJ: Prentice Hall.

       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 425 of 662         Document 73-1
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Alwin, D. F., & Krosnick, J. A. (1985). The measurement of values in surveys: A comparison of ratings and
       rankings. Public Opinion Quarterly, 49, 535-552.

        Reprinted in Singer, E., & Presser, S. (Eds.) (1989). Survey research methods: A reader. Chicago:
        University of Chicago Press.

        Reprinted in Bartholomew, D. (Ed.) (2006). Measurement. Oxford, UK: The Bardwell Press.

Schuman, H., Ludwig, J., & Krosnick, J. A. (1986). The perceived threat of nuclear war, salience, and open
      questions. Public Opinion Quarterly, 50, 519-536.

Krosnick, J. A., & Alwin, D. F. (1987). An evaluation of a cognitive theory of response order effects in survey
       measurement. Public Opinion Quarterly, 51, 201-219.

        Reprinted in Roberts, C., & Jowell, R. (Eds.) (2008). Attitude measurement. Thousand Oaks, CA:
        Sage Publications.

Krosnick, J. A. (1988). Attitude importance and attitude change. Journal of Experimental Social Psychology,
       24, 240-255.

Krosnick, J. A., & Schuman, H. (1988). Attitude intensity, importance, and certainty and susceptibility to
       response effects. Journal of Personality and Social Psychology, 54, 940-952.

        Reprinted in Roberts, C., & Jowell, R. (Eds.) (2008). Attitude measurement. Thousand Oaks, CA:
        Sage Publications.

Krosnick, J. A. (1988). The role of attitude importance in social evaluation: A study of policy preferences,
       presidential candidate evaluations, and voting behavior. Journal of Personality and Social Psychology,
       55, 196-210.

Krosnick, J. A., & Alwin, D. F. (1988). A test of the form-resistant correlation hypothesis: Ratings, rankings,
       and the measurement of values. Public Opinion Quarterly, 52, 526-538.

Judd, C. M., & Krosnick, J. A. (1989). The structural bases of consistency among political attitudes: The
        effects of political expertise and attitude importance. In A. R. Pratkanis, S. J. Breckler, & A. G.
        Greenwald (Eds.), Attitude Structure and Function. Hillsdale, NJ: Erlbaum.

Krosnick, J. A. (1989). Attitude importance and attitude accessibility. Personality and Social Psychology
       Bulletin, 15, 297-308.

Krosnick, J. A. (1989). Question wording and reports of survey results: The case of Louis Harris and Aetna
       Life and Casualty. Public Opinion Quarterly, 53, 107-113.

        Reprinted in Bulmer, M. (Ed.) (2004), Questionnaires. Thousand Oaks, CA: Sage Publications.

Krosnick, J. A., & Alwin, D. F. (1989). Aging and susceptibility to attitude change. Journal of Personality and
       Social Psychology, 57, 416-425.

Krosnick, J. A. (1990). Government policy and citizen passion: A study of issue publics in contemporary
       America. Political Behavior, 12, 59-92.

Krosnick, J. A. (1990). Expertise in political psychology. Social Cognition, 8, 1-8. (also in J. Krosnick (Ed.),
       Thinking about politics: Comparisons of experts and novices. New York: Guilford, 1990, pp. 1-8).

       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 426 of 662         Document 73-1
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Krosnick, J. A. (1990). Lessons learned: A review and integration of our findings. Social Cognition, 8, 154-
       158. (also in J. Krosnick (Ed.), Thinking about politics: Comparisons of experts and novices. New
       York: Guilford, 1990, pp. 154-158).

Krosnick, J. A., Li, F., & Lehman, D. (1990). Conversational conventions, order of information acquisition,
       and the effect of base rates and individuating information on social judgments. Journal of Personality
       and Social Psychology, 59, 1140-1152.

Krosnick, J. A., & Milburn, M. A. (1990). Psychological determinants of political opinionation. Social
       Cognition, 8, 49-72. (also in J. Krosnick (Ed.), Thinking about politics: Comparisons of experts and
       novices. New York: Guilford, 1990, pp. 49-72).

Krosnick, J. A., & Sedikides, C. (1990). Self-monitoring and self-protective biases in the use of consensus
       information to predict one's own behavior. Journal of Personality and Social Psychology, 58, 718-728.

Krosnick, J. A., & Kinder, D. R. (1990). Altering the foundations of support for the president through priming.
       American Political Science Review, 84, 497-512.

        Reprinted in J T. Jost and J. Sidanius (Eds.) (2004). Political psychology: Key readings. New York,
        NY: Psychology Press.

        Reprinted in K. Arzheimer & J. Evans (Eds.) (2008). Electoral behaviour. London: Sage Publications.

        Reprinted in T. Høgenhagen and S. Winther Nielsen (Eds.) (2009). Politisk psykologi-antologi. Århus,
        Denmark: Aarhus University Press.

Alwin, D. F., & Krosnick, J. A. (1991). Aging, cohorts, and the stability of sociopolitical orientations over the
       life span. American Journal of Sociology, 97, 169-195.

Alwin, D. F., & Krosnick, J. A. (1991). The reliability of survey attitude measurement: The influence of
       question and respondent attributes. Sociological Methods and Research, 20, 139-181.

Judd, C. M., Drake, R. A., Downing, J. W., & Krosnick, J. A. (1991). Some dynamic properties of attitude
        structures: Context induced response facilitation and polarization. Journal of Personality and Social
        Psychology, 60, 193-202.

Krosnick, J. A. (1990). Americans' perceptions of presidential candidates: A test of the projection hypothesis.
       Journal of Social Issues, 46, 159-182.

Krosnick, J. A. (1991). Response strategies for coping with the cognitive demands of attitude measures in
       surveys. Applied Cognitive Psychology, 5, 213-236.

Krosnick, J. A. (1991). The stability of political preferences: Comparisons of symbolic and non-symbolic
       attitudes. American Journal of Political Science, 35, 547-576.

Krosnick, J. A. (1992). The impact of cognitive sophistication and attitude importance on response order
       effects and question order effects. In N. Schwarz and S. Sudman (Eds.), Order effects in social and
       psychological research (pp. 203-218). New York: Springer-Verlag.

Krosnick, J. A., & Abelson, R. P. (1992). The case for measuring attitude strength in surveys. Pp. 177-203 in
       J. Tanur (Ed.), Questions about questions: Inquiries into the cognitive bases of surveys. New York:
       Russell Sage.


       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 427 of 662         Document 73-1
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Krosnick, J. A., Betz, A. L., Jussim, L. J., & Lynn, A. R. (1992). Subliminal conditioning of attitudes.
       Personality and Social Psychology Bulletin, 18, 152-162.

Lehman, D. R., Krosnick, J. A., West, R. L., & Li, F. (1992). The focus of judgment effect: A question
      wording effect due to hypothesis confirmation bias. Personality and Social Psychology Bulletin, 18,
      690-699.

Krosnick, J. A., & Berent, M. K. (1993). Comparisons of party identification and policy preferences: The
       impact of survey question format. American Journal of Political Science, 37, 941-964.

Krosnick, J. A., & Brannon, L. A. (1993). The impact of the Gulf War on the ingredients of presidential
       evaluations: Multidimensional effects of political involvement. American Political Science Review, 87,
       963-975.

        Reprinted in H. T. Reis (Ed.). (2014). Methodological Innovations in Social Psychology. Thousand
        Oaks, CA: Sage Publications.

Krosnick, J. A., & Brannon, L. A. (1993). The media and the foundations of Presidential support: George Bush
       and the Persian Gulf conflict. Journal of Social Issues, 49, 167-182.

Krosnick, J. A., Boninger, D. S., Chuang, Y. C., Berent, M. K., & Carnot, C. G. (1993). Attitude strength: One
       construct or many related constructs? Journal of Personality and Social Psychology, 65, 1132-1149.

        Reprinted in S. T. Fiske (Ed.) (2013). Social Cognition. Thousand Oaks, CA: Sage Publications.

Krosnick, J. A., Berent, M. K., & Boninger, D. S. (1994). Pockets of responsibility in the American electorate:
       Findings of a research program on attitude importance. Political Communication, 11, 391-411.

Krosnick, J. A., & Smith, W. A. (1994). Attitude strength. In V. S. Ramachandran (Ed.), Encyclopedia of
       human behavior. San Diego, CA: Academic Press.

Ostrom, T. M., Bond, C., Krosnick, J. A., & Sedikides, C. (1994). Attitude scales: How we measure the
       unmeasurable. In S. Shavitt & T. C. Brock (Eds.), Persuasion: Psychological insights and perspectives.
       Boston, MA: Allyn and Bacon.

Rahn, W. M., Krosnick, J. A., & Breuning, M. (1994). Rationalization and derivation processes in survey
       studies of political candidate evaluation. American Journal of Political Science, 38, 582-600.

Berent, M. K., & Krosnick, J. A. (1995). The relation between political attitude importance and knowledge
        structure. In M. Lodge & K. McGraw (Eds.), Political judgment: Structure and process. Ann Arbor,
        MI: University of Michigan Press.

Boninger, D. S., Krosnick, J. A., & Berent, M. K. (1995). The origins of attitude importance: Self-interest,
       social identification, and value-relevance. Journal of Personality and Social Psychology, 68, 61-80.

Boninger, D. S., Krosnick, J. A., Berent, M. K., & Fabrigar, L. R. (1995). The causes and consequences of
       attitude importance. In R. E. Petty and J. A. Krosnick (Eds.), Attitude strength: Antecedents and
       consequences. Hillsdale, NJ: Erlbaum.

Fabrigar, L. R., & Krosnick, J. A. (1995). Attitude importance and the false consensus effect. Personality and
        Social Psychology Bulletin, 21, 468-479.




       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 428 of 662         Document 73-1
                                                                                                  Page 427
Fabrigar, L. R., & Krosnick, J. A. (1995). Attitude measurement and questionnaire design. In A. S. R.
        Manstead & M. Hewstone (Eds.), Blackwell encyclopedia of social psychology. Oxford: Blackwell
        Publishers.

Fabrigar, L. R., & Krosnick, J. A. (1995). Voting behavior. In A. S. R. Manstead & M. Hewstone (Eds.),
        Blackwell encyclopedia of social psychology. Oxford: Blackwell Publishers.

Krosnick, J. A., & Petty, R. E. (1995). Attitude strength: An overview. In R. E. Petty and J. A. Krosnick
       (Eds.), Attitude strength: Antecedents and consequences. Hillsdale, NJ: Erlbaum.

Krosnick, J. A., & Telhami, S. (1995). Public attitudes toward Israel: A study of the attentive and issue publics.
       International Studies Quarterly, 39, 535-554.

        Reprinted in Israel Affairs, vol. 2 (1995/1996).

        Reprinted in G. Sheffer (Ed.) (1997). U.S.-Israeli relations at the crossroads (Israeli history, politics,
        and society). London: Frank Cass & Co., Ltd.

Wegener, D. T., Downing, J., Krosnick, J. A., & Petty, R. E. (1995). Measures and manipulations of strength-
      related properties of attitudes: Current practice and future directions. In R. E. Petty and J. A. Krosnick
      (Eds.), Attitude strength: Antecedents and consequences. Hillsdale, NJ: Erlbaum.

Weisberg, H. F., Haynes, A. A., & Krosnick, J. A. (1995). Social group polarization in 1992. In H. F.
       Weisberg (Ed.), Democracy's feast: Elections in America. Chatham, NJ: Chatham House.

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Boninger, D. S., Krosnick, J. A., & Berent, M. K. (1992). Imagination, perceived likelihood, and self-interest:
       A path toward attitude importance. Paper presented at the Midwestern Psychological Association
       Annual Meeting, Chicago, Illinois.

Culpepper, I. J., Smith, W., & Krosnick, J. A. (1992). The impact of question order on satisficing in attitude
       surveys. Paper presented at the Midwestern Psychological Association Annual Meeting, Chicago,
       Illinois.

Berent, M. K., & Krosnick, J. A. (1992). Attitude importance, information accessibility, and attitude-relevant
        judgments. Paper presented at the Midwestern Psychological Association Annual Meeting, Chicago,
        Illinois.

Krosnick, J. A., & Brannon, L. A. (1992). The impact of war on the ingredients of presidential evaluations:
       George Bush and the Gulf conflict. Paper presented at the International Society of Political Psychology
       Annual Meeting, San Francisco, California.

Rahn, W. M., Krosnick, J. A., & Breuning, M. (1992). Rationalization and derivation processes in political
       candidate evaluation. Paper presented at the American Political Science Association Annual Meeting,
       Chicago, Illinois.

Krosnick, J. A., & Brannon, L. A. (1992). Effects of knowledge, interest, and exposure on news media priming
       effects: Surprising results from multivariate analysis. Paper presented at the Society for Experimental
       Social Psychology Annual Meeting, San Antonio, Texas.

Berent, M. K., & Krosnick, J. A. (1993). Attitude importance and selective exposure to attitude-relevant
        information. Paper presented at the Midwestern Psychological Association Annual Meeting, Chicago,
        Illinois.

Fabrigar, L. R., & Krosnick, J. A. (1993). The impact of personal and national importance judgments on
        political attitudes and behavior. Paper presented at the Midwestern Psychological Association Annual
        Meeting, Chicago, Illinois.


       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 445 of 662         Document 73-1
                                                                                                  Page 444
Miller, J. M., & Krosnick, J. A. (1993). The effects of candidate ballot order on election outcomes. Paper
         presented at the Midwestern Psychological Association Annual Meeting, Chicago, Illinois.

Narayan, S. S., & Krosnick, J. A. (1993). Questionnaire and respondent characteristics that cause satisficing in
       attitude surveys. Paper presented at the Midwestern Psychological Association Annual Meeting,
       Chicago, Illinois.

Narayan, S. S., & Krosnick, J. A. (1993). Response effects in surveys as a function of cognitive sophistication.
       Paper presented at the American Psychological Society Annual Meeting, Chicago, Illinois.

Smith, W. R., & Krosnick, J. A. (1993). Need for cognition, prior thought, and satisficing in attitude surveys.
       Paper presented at the Midwestern Psychological Association Annual Meeting, Chicago, Illinois.

Smith, W. R., & Krosnick, J. A. (1993). Cognitive and motivational determinants of satisficing in surveys.
       Paper presented at the American Psychological Society Annual Meeting, Chicago, Illinois.

Berent, M. K., & Krosnick, J. A. (1994). Attitude importance and selective exposure to attitude-relevant
        information. Paper presented at the Midwest Political Science Association Annual Meeting, Chicago,
        Illinois.

Fabrigar, L. R., & Krosnick, J. A. (1994). The impact of attitude importance on consistency among attitudes.
        Paper presented at the Midwestern Psychological Association Annual Meeting, Chicago, Illinois.

Krosnick, J. A. (1994). Survey methods and survey results: Overturning conventional wisdom. Paper
       presented to the American Marketing Association, Columbus Chapter.

Krosnick, J. A., & Fabrigar, L. R. (1994). Attitude recall questions: Do they work? Paper presented at the
       American Association for Public Opinion Research Annual Meeting, Danvers, Massachusetts.

Miller, J. M., & Krosnick, J. A. (1994). Does accessibility mediate agenda-setting and priming? Paper
         presented at the Midwestern Psychological Association Annual Meeting, Chicago, Illinois.

Smith, W. R., & Krosnick, J. A. (1994). Sources of non-differentiation and mental coin-flipping in surveys:
       Tests of satisficing hypotheses. Paper presented at the American Association for Public Opinion
       Research Annual Meeting, Danvers, Massachusetts.

Visser, P. S., & Krosnick, J. A. (1994). Mail surveys for election forecasting? An evaluation of the Columbus
        Dispatch Poll. Paper presented at the Midwestern Psychological Association Annual Meeting, Chicago,
        Illinois.

Visser, P. S., Krosnick, J. A., & Curtin, M. (1994). Mail surveys for election forecasting? Paper presented at
        the American Association for Public Opinion Research Annual Meeting, Danvers, Massachusetts.

Krosnick, J. A., & Brannon, L. A. (1995). News media priming and the 1992 U.S. presidential election. Paper
       presented at the American Political Science Association Annual Meeting, Chicago, Illinois.

Krosnick, J. A., & Cornet, P. J. (1995). Attitude importance and attitude change revisited: Shifts in attitude
       stability and measurement reliability across a presidential election campaign. Paper presented at the
       American Psychological Society Annual Meeting, New York, New York.

Krosnick, J. A., & Fabrigar, L. R. (1995). Designing rating scales for effective measurement in surveys.
       Invited address at the International Conference on Survey Measurement and Process Quality, Bristol,
       England.


       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 446 of 662         Document 73-1
                                                                                                  Page 445
Krosnick, J. A., Narayan, S. S., & Smith, W. R. (1995). The causes of survey satisficing: Cognitive skills and
       motivational factors. Paper presented at the Midwest Association for Public Opinion Research,
       Chicago, Illinois.

Miller, J. M., Fabrigar, L. R., & Krosnick, J. A. (1995). Contrasting attitude importance and collective issue
         importance: Attitude properties and consequences. Paper presented at the Midwestern Psychological
         Association Annual Meeting, Chicago, Illinois.

Miller, J. M., & Krosnick, J. A. (1995). Ballot order effects on election outcomes. Paper presented at the
         Midwest Political Science Association Annual Meeting, Chicago, Illinois.

Miller, J. M., & Krosnick, J. A. (1995). Mediators and moderators of news media priming: It ain't accessibility,
         folks. Paper presented at the International Society of Political Psychology Annual Meeting,
         Washington, D.C.

Narayan, S. S., & Krosnick, J. A. (1995). Education moderates response effects in surveys. Paper presented at
       the American Association for Public Opinion Research Annual Meeting, Ft. Lauderdale, Florida.

Smith, W. R., & Krosnick, J. A. (1995). Mental coin-flipping and non-differentiation in surveys: Tests of
       satisficing hypotheses. Invited address at the Midwestern Psychological Association Annual Meeting,
       Chicago, Illinois.

Visser, P. S., & Krosnick, J. A. (1995). The relation between age and susceptibility to attitude change: A new
        approach to an old question. Paper presented at the Midwestern Psychological Association Annual
        Meeting, Chicago, Illinois.

Visser, P. S., & Krosnick, J. A. (1995). Mail surveys win again: Some explanations for the superior accuracy of
        the Columbus Dispatch poll. Paper presented at the American Association for Public Opinion Research
        Annual Meeting, Ft. Lauderdale, Florida.

Ankerbrand, A. L., Krosnick, J. A., Cacioppo, J. T., & Visser, P. S. (1996). Candidate assessments and
       evaluative space. Paper presented at the Midwestern Psychological Association Annual Meeting,
       Chicago, Illinois.

Bizer, G. Y., & Krosnick, J. A. (1996). Attitude accessibility and importance revisited. Paper presented at the
        Midwestern Psychological Association Annual Meeting, Chicago, Illinois.

Krosnick, J. A. (1996). Linking survey question structure to data quality: The impact of no-opinion options.
       Paper presented at the conference on “Quality Criteria in Survey Research,” sponsored by the World
       Association for Public Opinion Research, Cadenabbia, Italy.

Krosnick, J. A., & Brannon, L. A. (1996). News media priming during the 1992 U.S. presidential election
       campaign. Paper presented at the International Society of Political Psychology Annual Meeting,
       Vancouver, British Columbia.

Miller, J. M., Fabrigar, L. R., & Krosnick, J. A. (1996). The roles of personal importance and national
         importance in motivating issue public membership. Paper presented at the Midwest Political Science
         Association Annual Meeting, Chicago, Illinois.

Miller, J. M., & Krosnick, J. A. (1996). Can issue public membership be triggered by the threat of a policy
         change? Paper presented at the International Society of Political Psychology Annual Meeting,
         Vancouver, British Columbia.



       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 447 of 662         Document 73-1
                                                                                                  Page 446
Krosnick, J. A., & Visser, P. S. (1996). Changes in political attitude strength through the life cycle. Paper
       presented at the Society for Experimental Social Psychology Annual Meeting, Sturbridge,
       Massachusetts.

Miller, J. M., & Krosnick, J. A. (1997). The impact of policy change threat on issue public membership. Paper
         presented at the Midwest Political Science Association Annual Meeting, Chicago, Illinois.

Ankerbrand, A. L., Krosnick, J. A., Cacioppo, J. T., Visser, P. S., & Gardner, W. (1997). Attitudes toward
       political candidates predict voter turnout. Paper presented at the Midwestern Psychological Association
       Annual Meeting, Chicago, Illinois.

Ankerbrand, A. L., & Krosnick, J. A. (1997). Response order effects in dichotomous questions: A social
       desirability explanation. Paper presented at the American Psychological Society Annual Meeting,
       Washington, DC.

Krosnick, J. A. (1997). Miraculous accuracy in political surveys: The keys to success. Presentation in the
       Federation of Behavioral, Psychological, and Cognitive Sciences Seminar on Science and Public Policy,
       Library of Congress, Washington, D.C.

Krosnick, J. A. (1997). Non-attitudes and no-opinion filters. Paper presented at the Conference on no opinion,
       instability, and change in public opinion research. University of Amsterdam, the Netherlands.

Krosnick, J. A. (1997). Attitude strength. Paper presented at the Conference on no opinion, instability, and
       change in public opinion research. University of Amsterdam, the Netherlands.

Bizer, G. Y., & Krosnick, J. A. (1998). The relation between attitude importance and attitude accessibility.
        Paper presented at the Midwestern Psychological Association Annual Meeting, Chicago, Illinois.

Holbrook, A., Krosnick, J. A., Carson, R. T., & Mitchell, R. C. (1998). Violating conversational conventions
       disrupts cognitive processing of survey questions. Paper presented at the American Association for
       Public Opinion Research Annual Meeting, St. Louis, Missouri.

Krosnick, J. A. (1998). Applying stated preference methods to assessing the value of public goods. Paper
       presented at the National Oceanic and Atmospheric Administration Application of Stated Preference
       Methods to Resource Compensation Workshop, Washington, DC.

Krosnick, J. A. (1998). Implications of psychological research on justice and compensation for handling of
       natural resource damage cases. Paper presented at the National Oceanic and Atmospheric
       Administration Application of Stated Preference Methods to Resource Compensation Workshop,
       Washington, DC.

Krosnick, J. A. (1998). Acquiescence: How a standard practice in many survey organizations compromises
       data quality. Paper presented at the conference on “Quality Criteria in Survey Research,” sponsored by
       the World Association for Public Opinion Research, Cadenabbia, Italy.

Krosnick, J. A., Lacy, D., & Lowe, L. (1998). When is environmental damage Americans’ most important
       problem? A test of agenda-setting vs. the issue-attention cycle. Paper presented at the International
       Society of Political Psychology Annual Meeting, Montreal, Quebec, Canada.

Visser, P. S., Krosnick, J. A., Marquette, J., & Curtin, M. (1998). Improving election forecasting: Allocation of
        undecided respondents, identification of likely voters, and response order effects. Paper presented at the
        American Association for Public Opinion Research Annual Meeting, St. Louis, Missouri.



       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 448 of 662          Document 73-1
                                                                                                   Page 447
Krosnick, J. A. (1998). The impact of science on public opinion: How people judge the national seriousness of
       global warming and form policy preferences. Paper presented at the American Political Science
       Association Annual Meeting, Boston, Massachusetts.

Krosnick, J. A. (1998). Response choice order and attitude reports: New evidence on conversational
       conventions and information processing biases in voting and in election forecasting polls. Paper
       presented at the Society of Experimental Social Psychology Annual Meeting, Lexington, Kentucky.

Krosnick, J. A. (1998). The impact of the Fall 1997 debate about global warming on American public opinion.
       Paper presented at Resources for the Future, Washington, D.C.

Krosnick, J. A. (1998). What the American public believes about global warming: Results of a national
       longitudinal survey study. Paper presented at the Amoco Public and Government Affairs and
       Government Relations Meeting, Woodruff, Wisconsin.

Krosnick, J. A. (1998). What the American public believes about global warming: Results of a national
       longitudinal survey study. Paper presented in the Second Annual Carnegie Lectures on Global
       Environmental Change, Carnegie Museum of Natural History, Pittsburgh, Pennsylvania.

Green, M. C., & Krosnick, J. A. (1999). Survey satisficing: Telephone interviewing increases non-
       differentiation and no opinion responses. Paper presented at the Midwestern Psychological Association
       Annual Meeting, Chicago, Illinois.

Green, M. C., & Krosnick, J. A. (1999). Comparing telephone and face-to-face interviewing in terms of data
       quality: The 1982 National Election Studies Method Comparison Project. Paper presented at the
       Seventh Annual Conference on Health Survey Research Methods, Williamsburg, Virginia.

Holbrook, A. L., Krosnick, J. A., Carson, R. T., & Mitchell, R. C. (1999). Violating conversational conventions
       disrupts cognitive processing of attitude questions. Paper presented at the American Association for
       Public Opinion Research Annual Meeting, St. Petersburg, Florida.

Krosnick, J. A. (1999). What happens when survey respondents don’t try very hard? The notion of survey
       satisficing. Paper presented at the National Center for Social Research, London, United Kingdom.

Krosnick, J. A. (1999). Satisficing: A single explanation for a wide range of findings in the questionnaire
       design literature. Paper presented at Linking the Path: A Conference for Analysts, Researchers, and
       Consultants, sponsored by the Gallup Organization, Lincoln, Nebraska.

Krosnick, J. A. (1999). Methodology for the NAOMS Survey. Presentation at the Workshop on the Concept of
       the National Aviation Operational Monitoring System (NAOMS), Sponsored by the National
       Aeronautics and Space Administration, Alexandria, Virginia.

Krosnick, J. A. (1999). Refining measurement of public values for policy-making: A test of contingent
       valuation procedures. Paper presented at the American Political Science Association Annual Meeting,
       Atlanta, Georgia.

Krosnick, J. A. (1999). The threat of satisficing in surveys: The shortcuts respondents take in answering
       questions. Paper presented at the National Center for Social Research Survey Methods Seminar on
       Survey Data Quality, London, England.

Krosnick, J. A. (1999). Optimizing questionnaire design: How to maximise data quality. Paper presented at the
       National Center for Social Research Survey Methods Seminar on Survey Data Quality, London,
       England.


       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 449 of 662        Document 73-1
                                                                                                Page 448
Krosnick, J. A. (1999). The causes and consequences of no-opinion responses in surveys. Paper presented at
       the International Conference on Survey Nonresponse, Portland, Oregon.

Miller, J. M., & Krosnick, J. A. (1999). The impact of threats and opportunities on political participation.
         Paper presented at the Midwest Political Science Association Annual Meeting, Chicago, Illinois.

O’Muircheartaigh, C., Krosnick, J. A., & Helic, A. (1999). Middle alternatives, acquiescence, and the quality
      of questionnaire data. Paper presented at the American Association for Public Opinion Research
      Annual Meeting, St. Petersburg, Florida.

Bizer, G. Y., & Krosnick, J. A. (2000). The importance and accessibility of attitudes: Helping explain the
        structure of strength-related attitude attributes. Paper presented at the Midwestern Psychological
        Association Annual Meeting, Chicago, Illinois.

Holbrook, A. L., Krosnick, J. A., Visser, P. S., Gardner, W. L., & Cacioppo, J. T. (2000). The formation of
       attitudes toward presidential candidates and political parties: An asymmetric nonlinear process. Paper
       presented at the American Psychological Society Annual Meeting, Miami, Florida.

Holbrook, A. L., Krosnick, J. A., Visser, P. S., Gardner, W. L., & Cacioppo, J. T. (2000). The formation of
       attitudes toward presidential candidates and political parties: An asymmetric, nonlinear, interactive
       process. Paper presented at the American Political Science Association Annual Meeting, Washington,
       D.C.

Krosnick, J. A. (2000). Peering into the future of thinking and answering: A psychological perspective on
       internet survey respondents. Paper presented at Survey Research: Past, Present, and Internet, the 2000
       Nebraska Symposium on Survey Research, University of Nebraska, Lincoln, Nebraska.

Krosnick, J. A. (2000). The present and future of research on survey non-responses: Reflections on Portland
       ’99 and beyond. Roundtable presentation at the American Association for Public Opinion Research
       Annual Meeting, Portland, Oregon.

Holbrook, A. L., Krosnick, J. A., Moore, D. W., & Tourangeau, R. (2000). Response order effects in Gallup
       surveys: Linguistic structure and the impact of respondent ability, motivation, and task difficulty. Paper
       presented at the American Association for Public Opinion Research Annual Meeting, Portland, Oregon.

Miller, J. M., Krosnick, J. A., & Lowe, L. (2000). The impact of policy change threat on financial contributions
         to interest groups. Paper presented at an invited conference, Political Participation: Building a Research
         Agenda, Center for the Study of Democratic Politics, Princeton University, Princeton, New Jersey.

Miller, J. M., & Krosnick, J. A. (2000). Attitude change outside the laboratory: News media “priming” turns
         out not to be priming after all. Paper presented at the Society of Experimental Social Psychology
         Annual Meeting, Atlanta, Georgia.

Saris, W., & Krosnick, J. A. (2000). The damaging effect of acquiescence response bias on answers to
        agree/disagree questions. Paper presented at the American Association for Public Opinion Research
        Annual Meeting, Portland, Oregon.

Visser, P. S., & Krosnick, J. A. (2000). Exploring the distinct mechanisms through which strength-related
        attitude attributes confer resistance to attitude change. Paper presented at the Society for Personality
        and Social Psychology Annual Meeting, Nashville, Tennessee.

Bizer, G. Y., & Krosnick, J. A. (2001). Need to evaluate and need for cognition predict political attitudes and
        behavior. Paper presented at the Midwestern Psychological Association, Chicago, Illinois.


       Case 2:18-cv-01996-JPS              Filed 09/18/19       Page 450 of 662          Document 73-1
                                                                                                    Page 449
Krosnick, J. A. (2001). Who shapes public policy? Presentation made at the Annual Conference of the Ohio
       Farm Bureau Federation, Columbus, Ohio.

Krosnick, J. A., & Bizer, G. Y. (2001). Exploring the structure of strength-related attitude features: The
       relation between attitude importance and attitude accessibility. Paper presented at the Society for
       Personality and Social Psychology Annual Meeting, San Antonio, Texas.

Krosnick, J. A., Visser, P. S., & Holbrook, A. L. (2001). Real-time attitude change outside the laboratory: The
       case of the 1997 national debate on global warming. Paper presented at the Society for Personality and
       Social Psychology Annual Meeting, San Antonio, Texas.

Krosnick, J. A., & Miller, J. M. (2001). An unrecognized need for ballot reform: Effects of candidate name
       order. Paper presented at the conference entitled Election Reform: 2000 and Beyond, sponsored by the
       USC-Caltech Center for the Study of Law and Politics and the Jesse M. Unruh Institute of Politics,
       University of Southern California, Los Angeles, California.

Miller, J. M., & Krosnick, J. A. (2001). What motivates political cognition and behavior? Paper presented at
         the Midwest Political Science Association Annual Meeting, Chicago, Illinois.

Green, M. C., Krosnick, J. A., & Holbrook, A. L. (2001). Experimental comparisons of the quality of data
       obtained from face-to-face and telephone surveys. Paper presented at the American Association for
       Public Opinion Research Annual Meeting, Montreal, Canada.

Silver, M. D., & Krosnick, J. A. (2001). An experimental comparison of the quality of data obtained in
        telephone and self-administered mailed surveys with a listed sample. Paper presented at the American
        Association for Public Opinion Research Annual Meeting, Montreal, Canada.

Chang, L., & Krosnick, J. A. (2001). The representativeness of national samples: Comparisons of an RDD
       telephone survey with matched Internet surveys by Harris Interactive and Knowledge Networks. Paper
       presented at the American Association for Public Opinion Research Annual Meeting, Montreal, Canada.

Chang, L., & Krosnick, J. A. (2001). The accuracy of self-reports: Comparisons of an RDD telephone survey
       with Internet Surveys by Harris Interactive and Knowledge Networks. Paper presented at the American
       Association for Public Opinion Research Annual Meeting, Montreal, Canada.

O’Muircheartaigh, C., & Krosnick, J. A. (2001). A cross-national comparison of middle alternatives,
      acquiescence, and the quality of questionnaire data. Paper presented at the American Association for
      Public Opinion Research Annual Meeting, Montreal, Canada.

Marquette, J., Green, J., & Krosnick, J. A. (2001). Experimental analysis of the accuracy of pre-election vote
       choice reports. Paper presented at the American Association for Public Opinion Research Annual
       Meeting, Montreal, Canada.

Holbrook, A. L., Krosnick, J. A., Carson, R. T., & Mitchell, R. C. (2001). Violating conversational conventions
       disrupts cognitive processing of attitude questions. Paper presented at the 2001 Fifth Tri-Annual UC
       Berkeley Invitational Choice Symposium, Pacific Grove, California.

Krosnick, J. A. (2001). Americans’ perceptions of the health risks of cigarette smoking: A new opportunity for
       public education. Paper presented at the invited conference “Survey Research on Household
       Expectations and Preferences,” Institute for Social Research, University of Michigan, Ann Arbor,
       Michigan.




       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 451 of 662         Document 73-1
                                                                                                 Page 450
McCready, W., Skitka, L., & Krosnick, J. A. (2001). Using a web-enabled national panel to conduct social
      psychological experiments. Workshop presented at the Society of Experimental Social Psychology
      Annual Meeting, Spokane, Washington.

Krosnick, J. A., Courser, M., Mulligan, K., & Chang, L. (2001). Exploring the determinants of vote choices in
       the 2000 Presidential election: Longitudinal analyses to document causality. Paper presented at the
       American Political Science Association Annual Meeting, San Francisco, California.

Silver, M. D., & Krosnick, J. A. (2001). Optimizing survey measurement accuracy by matching question
        design to respondent memory organization. Paper presented at the Federal Committee on Statistical
        Methodology Research Conference, Arlington, Virginia.

Krosnick, J. A., Courser, M., Mulligan, K., & Chang, L. (2002). Exploring the causes of vote choice in the
       2000 Presidential election: Longitudinal analyses to document the causal determinants of candidate
       preferences. Paper presented at a conference entitled “Assessing the Vitality of Electoral Democracy in
       the U.S.: The 2000 Election,” The Mershon Center, Ohio State University, Columbus, Ohio.

Miller, J. M., & Krosnick, J. A. (2002). Mediators and moderators of news media agenda-setting. Paper
         presented at the Midwest Political Science Association Annual Meeting, Chicago, Illinois.

Shaeffer, E. M., Krosnick, J. A., & Holbrook, A. L. (2002). Assessing the efficacy of object rankings following
        ratings. Paper presented at the Midwestern Psychological Association Annual Meeting, Chicago,
        Illinois.

Lampron, S., Krosnick, J. A., Petty, R. E., & See, M. (2002). Self-interest, values, involvement, and
      susceptibility to attitude change. Paper presented at the Midwestern Psychological Association Annual
      Meeting, Chicago, Illinois.

Krosnick, J. A. (2002). Comments on Baruch Fischhoff’s “Environmental Risk: What’s Worth Knowing – and
       Saying?” Paper presented at the 2nd Annual Public Policy Symposium, “Responding to Contemporary
       Environmental Risks.” Sponsored by the Ohio State University Environmental Policy Initiative, Fischer
       College of Business, Ohio State University, Columbus, Ohio.

Thomas, R. K., Uldall, B. R., & Krosnick, J. A. (2002). More is not necessarily better: Effects of response
      categories on measurement stability and validity. Paper presented at the American Association for
      Public Opinion Research Annual Meeting, St. Petersburg, Florida.

Uldall, B. R., Thomas, R. K., & Krosnick, J. A. (2002). Reliability and validity of web-based surveys: Effects
        of response modality, item format, and number of categories. Paper presented at the American
        Association for Public Opinion Research Annual Meeting, St. Petersburg, Florida.

Shook, N., Krosnick, J. A., & Thomas, R. K. (2002). Following the storm: Public opinion changes and political
       reactions in surveys. Paper presented at the American Association for Public Opinion Research Annual
       Meeting, St. Petersburg, Florida.

Chang, L., & Krosnick, J. A. (2002). Comparing self-administered computer surveys and auditory interviews:
       An experiment. Paper presented at the American Association for Public Opinion Research Annual
       Meeting, St. Petersburg, Florida.

Silver, M. D., & Krosnick, J. A. (2002). Optimizing survey measurement accuracy by matching question
        design to respondent memory organization. Paper presented at the American Association for Public
        Opinion Research Annual Meeting, St. Petersburg, Florida.



       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 452 of 662         Document 73-1
                                                                                                 Page 451
Krosnick, J. A., Visser, P. S., Holbrook, A. L., & Berent, M. K. (2002). Challenging the common-factor model
       of strength-related attitude attributes: Contrasting the antecedents and consequences of attitude
       importance and attitude-relevant knowledge. Paper presented at the General Meeting of the European
       Association of Experimental Social Psychology, San Sebastian, Spain.

Krosnick, J. A., Miller, J. M., & Tichy, M. P. (2002). An unrecognized need for ballot reform: Effects of
       candidate name order. Paper presented at the International Society for Political Psychology Annual
       Meeting, Berlin, Germany.

Chang, L., & Krosnick, J. A. (2002). RDD telephone vs. Internet survey methodology for studying American
       presidential elections: Comparing sample representativeness and response quality. Paper presented at
       the American Political Science Association Annual Meeting, Boston, Massachusetts.

Bizer, G. Y., Krosnick, J. A., Holbrook, A. L., Petty, R. E., Rucker, D. D., & Wheeler, S. C. (2002). The
        impact of personality on electoral behavior and cognition: A study of need for cognition and need to
        evaluate. Paper presented at the American Political Science Association Annual Meeting, Boston,
        Massachusetts.

Krosnick, J. A., Visser, P. S., & Holbrook, A. L. (2002). Social psychology under the microscope: Do classic
       experiments replicate when participants are representative of the general public rather than convenience
       samples of college students? Paper presented at the Society of Experimental Social Psychology Annual
       Meeting, Columbus, Ohio.

Visser, P. S., Krosnick, J. A., Simmons, J. (2002). Distinguishing the cognitive and behavioral consequences of
        attitude importance and certainty. Paper presented at the Society of Experimental Social Psychology
        Annual Meeting, Columbus, Ohio.

Chang, L., & Krosnick, J. A. (2002). RDD telephone vs. Internet survey methodology for studying American
       presidential elections: Comparing sample representativeness and response quality. Invited presentation
       at Westat, Rockville, Maryland.

Chang, L., & Krosnick, J. A. (2002). Comparing the quality of data obtained from telephone and Internet
       surveys: Field and laboratory experiments. Invited paper presented at the FCSM Statistical Policy
       Seminar “Challenges to the Federal Statistical System in Fostering Access to Statistics.’ Bethesda,
       Maryland.

Lampron, S. F., Krosnick, J. A., Shaeffer, E., Petty, R. E., & See, M. (2003). Different types of involvement
      moderate persuasion (somewhat) differently: Contrasting outcome-based and value-based involvement.
      Paper presented at the Society for Personality and Social Psychology Annual Meeting, Los Angeles,
      California.

Visser, P. S., & Krosnick, J. A. (2003). Attitude strength: New insights from a life-course development
        perspective. Paper presented at the Society for Personality and Social Psychology Annual Meeting, Los
        Angeles, California.

Krosnick, J. A. (2003). Basic methodological work for and in repeated cross-sectional and longitudinal
       surveys: A few thoughts. Paper presented at the National Science Foundation Workshop on Repeated
       Cross-sectional and Longitudinal Surveys, Arlington, Virginia.

Pfent, A. M., & Krosnick, J. A. (2003). Rationalization of presidential candidate preferences. Paper presented
        at the Midwestern Psychological Association Annual Meeting, Chicago, Illinois.




       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 453 of 662         Document 73-1
                                                                                                 Page 452
Holbrook, A. L., & Krosnick,, J. A. (2003). Meta-psychological and operative measures of psychological
       constructs: The same or different? Paper presented at the Midwestern Psychological Association
       Annual Meeting, Chicago, Illinois.

Krosnick, J. A., Visser, P. S., & Holbrook, A. L. (2003). Social psychology under the microscope: Do classic
       experiments replicate when participants are representative of the general public rather than convenience
       samples of college students? Invited presentation at the Midwestern Psychological Association Annual
       Meeting, Chicago, Illinois.

Saris, W. E., Krosnick, J. A., & Shaeffer, E. M. (2003). Comparing the quality of agree/disagree and balanced
        forced choice questions via an MTMM experiment. Paper presented at the Midwestern Psychological
        Association Annual Meeting, Chicago, Illinois.

Anand, S., & Krosnick, J. A. (2003). Satisficing in attitude surveys: The impact of cognitive skills and
       motivation on response effects. Paper presented at the Midwestern Psychological Association Annual
       Meeting, Chicago, Illinois.

Bizer, G. Y., Krosnick, J. A., Holbrook, A. L., Petty, R. E., Rucker, D. D., & Wheeler, S. C. (2003). The
        impact of personality on political beliefs, attitudes, and behavior: Need for cognition and need to
        evaluate. Paper presented at the American Psychological Society Annual Meeting, Atlanta, Georgia.

Holbrook, A. L., Pfent, A., & Krosnick J. A. (2003). Response rates in recent surveys conducted by non-profits
       and commercial survey agencies and the news media. Paper presented at the American Association for
       Public Opinion Research Annual Meeting, Nashville, Tennessee.

Shaeffer, E. M., Langer, G. E., Merkle, D. M., & Krosnick, J. A. (2003). A comparison of minimal balanced
        and fully balanced forced choice items. Paper presented at the American Association for Public
        Opinion Research Annual Meeting, Nashville, Tennessee.

Pfent, A., Krosnick, J. A., & Courser, M. (2003). Rationalization and derivation processes in presidential
        elections: New evidence about the determinants of citizens’ vote choices. Paper presented at the
        American Association for Public Opinion Research Annual Meeting, Nashville, Tennessee.

Krosnick, J. A., Visser, P. S., & Holbrook, A. L. (2003). How to conceptualize attitude strength and how to
       measure it in surveys: Psychological perspectives. Paper presented at the American Association for
       Public Opinion Research Annual Meeting, Nashville, Tennessee.

Chang, L., & Krosnick, J. A. (2003). Comparing data quality in telephone and internet surveys: Results of lab
       and field experiments. Invited paper presented at the American Statistical Association Annual
       Meetings, San Francisco, California.

Pfent, A., & Krosnick, J. A. (2003). Post-decisional dissonance reduction by a new method: Rationalization of
        political candidate choices illuminates the basic dynamics of decision-making. Paper presented at the
        Society of Experimental Social Psychology Annual Meeting, Boston, Massachusetts.

Krosnick, J. A., & Fabrigar, L. R. (2003). “Don’t know” and “no opinion” responses: What they mean, why
       they occur, and how to discourage them. Invited paper presented at the Basel Workshop on Item Non-
       response and Data Quality in Large Social Surveys, University of Basel, Basel, Switzerland.

Krosnick, J. A. (2003). Comments on theories of persuasion. Invited discussant at the conference entitled
       “Integrating Message Effects and Behavior Change Theories in Cancer Prevention, Treatment, and
       Care,” Annenberg Public Policy Center, Annenberg School for Communication, University of
       Pennsylvania, Philadelphia, Pennsylvania.


       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 454 of 662         Document 73-1
                                                                                                 Page 453
Krosnick, J. A. (2003). Survey methodology – scientific basis. Presentation at the National Aviation
       Operations Monitoring Service Working Group Meeting #1, Seattle, Washington.

Krosnick, J. A. (2003). Survey methodology – NAOMS design decisions. Presentation at the National
       Aviation Operations Monitoring Service Working Group Meeting #1, Seattle, Washington.

Krosnick, J. A. (2004). Survey methodology – scientific basis. Presentation at the National Transportation
       Safety Board, Washington, DC.

Krosnick, J. A. (2004). Survey methodology – NAOMS design decisions. Presentation at the National
       Transportation Safety Board, Washington, DC.

Krosnick, J. A. (2004). Public uses of the news media. Presentation as a part of the symposium “Politics and
       the media,” Social Sciences Resource Center, Stanford Libraries, Stanford University, Stanford, CA.

Krosnick, J. A. (2004). Peering into the minds of respondents: The cognitive and social processes underlying
       answers to survey questions. Invited keynote lecture at the International Symposium in Honour of Paul
       Lazarsfeld, Katholieke Universiteit Leuven (Belgium).

Krosnick, J. A., Shook, N., & Thomas, R. K. (2004). Public opinion change in the aftermath of 9/11. Paper
       presented at the American Association for Public Opinion Research Annual Meeting, Phoenix, Arizona.

Holbrook, A. L., & Krosnick, J. A. (2004). Vote over-reporting: A test of the social desirability hypothesis.
       Paper presented at the American Association for Public Opinion Research Annual Meeting, Phoenix,
       Arizona.

Chang, L., & Krosnick, J. A. (2004). Assessing the accuracy of event rate estimates from national surveys.
       Paper presented at the American Association for Public Opinion Research Annual Meeting, Phoenix,
       Arizona.

Shaeffer, E. M., Lampron, S. F., Krosnick, J. A., Tompson, T. N., Visser, P. S., & Hanemann, W. M. (2004). A
        comparison of open vs. closed survey questions for valuing environmental goods. Paper presented at
        the American Association for Public Opinion Research Annual Meeting, Phoenix, Arizona.

Holbrook, A. L., Berent, M. K., Krosnick, J. A., Visser, P. S., & Boninger, D. S. (2004). Attitude importance
       and the accumulation of attitude-relevant knowledge in memory. Paper presented at the American
       Political Science Association Annual Meeting, Chicago, Illinois.

Chang, L., & Krosnick, J. A. (2004). Measuring the frequency of regular behaviors: Comparing the ‘typical
       week’ to the ‘past week.’ Paper presented at the American Political Science Association Annual
       Meeting, Chicago, Illinois.

Krosnick, J. A. (2004). What do Americans want government to do about global warming? Evidence from
       national surveys. Invited presentation at the “Workshop on Global Warming: The Psychology of Long
       Term Risk,” Cooperative Institute for Climate Science, Woodrow Wilson School of Public and
       International Affairs, Princeton University, Princeton, New Jersey.

Krosnick, J. A., & Malhotra, N. (2004). The causes of vote choice in the 2004 American Presidential Election:
       Insights from the 2004 YouGov surveys. Paper presented at the conference “The 2004 American
       Presidential Election: Voter Decision-Making in a Complex World,” Stanford University, Stanford,
       California.




       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 455 of 662         Document 73-1
                                                                                                 Page 454
Krosnick, J. A., Visser, P. S., & Holbrook, A. L. (2004). The impact of social psychological manipulations
       embedded in surveys on special populations. Paper presented at the Pacific Chapter of the American
       Association for Public Opinion Research Annual Meeting, San Francisco, California.

Krosnick, J. A. (2005). The future of the American National Election Studies. Roundtable: The political
       psychology of surveys. Paper presented at the Midwestern Political Science Association Annual
       Meeting, Chicago, Illinois.

Malhotra, N., & Krosnick, J. A. (2005). What motivated Americans' views of the candidates and vote
       preferences across the 2004 presidential campaign? Paper presented at the American Association for
       Public Opinion Research Annual Meeting, Miami, Florida.

Garland, P., Krosnick, J. A., & Clark, H. H. (2005). Does question wording sometimes send unintended signals
       about expected answers? Paper presented at the American Association for Public Opinion Research
       Annual Meeting, Miami, Florida.

Callegaro, M., De Keulenaer, F., Krosnick, J. A., & Daves, R. (2005). Interviewer effects in an RDD telephone
        pre-election poll in Minneapolis 2001: An analysis of the effects of interviewer race and gender. Paper
        presented at the American Association for Public Opinion Research Annual Meeting, Miami, Florida.

Krosnick, J. A., & Rivers, D. (2005). Web survey methodologies: A comparison of survey accuracy. Paper
       presented at the American Association for Public Opinion Research Annual Meeting, Miami, Florida.

Krosnick, J. A., & Rivers, D. (2005). Comparing major survey firms in terms of survey satisficing: Telephone
       and internet data collection. Paper presented at the American Association for Public Opinion Research
       Annual Meeting, Miami, Florida.

Holbrook, A. L., & Krosnick, J. A. (2005). Vote over-reporting: Testing the social desirability hypothesis in
       telephone and internet surveys. Paper presented at the American Association for Public Opinion
       Research Annual Meeting, Miami, Florida.

Anand, S., Krosnick, J. A., Mulligan, K., Smith, W., Green, M., & Bizer, G. (2005). Effects of respondent
       motivation and task difficulty on nondifferentiation in ratings: A test of satisficing theory predictions.
       Paper presented at the American Association for Public Opinion Research Annual Meeting, Miami,
       Florida.

Krosnick, J. A. (2005). Thought piece on survey participation. Paper presented at the conference entitled
       “New Approaches to Understanding Participation in Surveys,” Belmont Conference Center, Elkridge,
       Maryland.

Malhotra, N., & Krosnick, J. A. (2005). Pilot test of new procedures for identifying new and emerging
       occupations and their places in the SOC: A study of biotechnology. Paper presented at the U.S. Bureau
       of Labor Statistics, Washington, DC.

Holbrook, A. L., & Krosnick, J. A. (2005). Do survey respondents intentionally lie and claim that they voted
       when they did not? New evidence using the list and randomized response techniques. Paper presented
       at the American Political Science Association Annual Meeting, Washington, DC.

Malhotra, N., & Krosnick, J. A. (2005). The determinants of vote choice in the 2004 U.S. Presidential Election.
       Paper presented at the American Political Science Association Annual Meeting, Washington, DC.

Krosnick, J. A. (2005). Effects of survey data collection mode on response quality: Implications for mixing
       modes in cross-national studies. Paper presented at the conference “Mixed Mode Data Collection in
       Comparative Social Surveys,” City University, London, United Kingdom.

       Case 2:18-cv-01996-JPS              Filed 09/18/19       Page 456 of 662          Document 73-1
                                                                                                    Page 455
Krosnick, J. A., & Malhotra, N. (2006). The impact of presidential job performance assessments on vote
       choices in 2004. Paper presented at the conference “The Wartime Election of 2004,” Ohio State
       University, Columbus, Ohio.

Rabinowitz, J. L. & Krosnick, J. A. (2006). Investigating the discriminant validity of symbolic racism. Paper
       presented at the annual meeting of the Society for Personality and Social Psychology, Palm Springs,
       California.

Krosnick, J. A. (2006). An evaluation framework: Total survey error in research practice. Paper presented at
       the Survey Methods Symposium sponsored by Central Market Research and Insights, Microsoft,
       Redmond, Washington.

Krosnick, J. A. (2006). Data quality from phone vs. internet surveys. Paper presented at the Survey Methods
       Symposium sponsored by Central Market Research and Insights, Microsoft, Redmond, Washington.

Krosnick, J. A. (2006). The distinguishing characteristics of frequent survey participants. Paper presented at
       the annual meeting of the Midwest Political Science Association, Chicago, Illinois.

Krosnick, J. A. (2006). An overview of the mission of the American National Election Studies. Presentation at
       the annual meeting of the Midwest Political Science Association, Chicago, Illinois.

Krosnick. J. A. (2006). The use of the internet in valuation surveys. Presentation at the workshop “Morbidity
       and Mortality: How Do We Value the Risk of Illness and Death?”, sponsored by the U.S.
       Environmental Protection Agency, the National Center for Environmental Research, and the National
       Council on Economic Education, Washington, DC.

Krosnick, J. A. (2006). What the American public thinks about climate change: Findings from a new
       Stanford/ABC/Time Magazine Survey. Presentation at the “California Climate Change Policy
       Workshop,” sponsored by the Woods Institute for the Environment, California State Capital Building,
       Sacramento, California.

Holbrook, A. L., & Krosnick, J. A. (2006). Vote over-reporting: A test of the social desirability hypothesis.
       Paper presented at the American Psychological Association Annual Meeting, New Orleans, Louisiana.

Bannon, B., Krosnick, J. A., & Brannon, L. (2006). News media priming: Derivation or rationalization? Paper
       presented at the American Political Science Annual Meeting, Philadelphia, Pennsylvania.

Malhotra, N., Krosnick, J. S., & Thomas, R. (2006). The effect of polls on political behavior. Paper presented
       at the American Political Science Annual Meeting, Philadelphia, Pennsylvania.

Krosnick J. A. (2006). Doing social psychology that’s relevant and valued and valuable. Paper presented at the
       Society of Experimental Social Psychology Annual Meeting, Philadelphia, Pennsylvania.

Krosnick, J. A. (2006). Overview of the American National Election Studies: Lessons learned about the causes
       of voter turnout and candidate choice. Paper presented at the conference “The Psychology of Voting
       and Election Campaigns,” Social Science Research Institute, Duke University, Durham, North Carolina.




       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 457 of 662         Document 73-1
                                                                                                 Page 456
Krosnick, J. A. (2006). What Americans really think about climate change. Presentation to the Stanford
       Women's Club of the East Bay, Contra Costa County Library, Orinda, California.

Krosnick, J. A. (2006). The impact of survey mode and the merging of face-to-face recruitment with Internet
       data collection. Paper presented at the 2006 Federal Committee on Statistical Methodology Statistical
       Policy Seminar, “Keeping Current: What We Know – What We Need to Learn.” Washington, DC.

Krosnick, J. A. (2006). Comparisons of the accuracy of information obtained by face-to-face, telephone,
       internet, and paper and pencil data collection. Paper presented at the Pacific Chapter of the American
       Association for Public Opinion Research Annual Meeting, San Francisco, California.

Bizer, G. Y., Krosnick, J. A., Holbrook, A. L., Wheeler, S. C., Rucker, D. D., & Petty, R. E. (2007). The
        impact of personality on political beliefs, attitudes, and behavior: Need for cognition and need to
        evaluate. Paper presented at the Society for Personality and Social Psychology Annual Meeting,
        Memphis, Tennessee.

Sargent, M. J., Rabinowitz, J., Shull, A., & Krosnick, J. A. (2007). Support for government efforts to promote
        racial equality: Effects of antigroup affect and perceptions of value violation. Paper presented at the
        Society for Personality and Social Psychology Annual Meeting, Memphis, Tennessee.

Krosnick, J. A. (2007). Americans’ beliefs about global climate change: New national survey findings. Paper
       presented at the American Association for the Advancement of Science Annual Meeting, San Francisco,
       California.

Krosnick, J. A. (2007). Comparisons of survey modes and a new hybrid. Paper presented at the American
       Association for the Advancement of Science Annual Meeting, San Francisco, California.

Garland, P., & Krosnick, J. A. (2007). The impact of race on evaluations of artistic products: Evidence of
       ‘ownership’ bias among prejudiced whites. Paper presented at the National Conference of Black
       Political Scientists, Burlingame, California.

Lupia, A., & Krosnick, J. A. (2007). Remaking the American National Election Studies. Paper presented at the
        National Conference of Black Political Scientists, Burlingame, California.

Krosnick, J. A. (2007). What Americans really think about climate change: Attitude formation and change in
       response to a raging scientific controversy. Presentation sponsored by the California Research Bureau
       at the California State House, Sacramento, California.

Harbridge, L., & Krosnick, J. A. (2007). Presidential approval and gas prices: The Bush presidency in
       historical context. Paper presented at the American Association for Public Opinion Research annual
       meeting, Garden Grove, California.

Krosnick, J. A., & Smith, T. (2007). Proposing questionnaire design experiments for the General Social
       Survey. Paper presented at the American Association for Public Opinion Research annual meeting,
       Garden Grove, California.

Cote, F., Tahk, A., & Krosnick, J. A. (2007). Comparing the validity of public predictions of changes in the
        economy: RDD telephone data vs. volunteer samples completing paper and pencil questionnaires.
        Paper presented at the American Association for Public Opinion Research annual meeting, Garden
        Grove, California.




       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 458 of 662         Document 73-1
                                                                                                  Page 457
Schneider, D., Krosnick, J. A., & Ophir, E. (2007). Ballot order effects in California from 1976 to 2006. Paper
       presented at the American Association for Public Opinion Research annual meeting, Garden Grove,
       California.

O’Muircheartaigh, C., Krosnick, J. A., & Dennis, J. M. (2007). Face-to-face recruitment of an Internet survey
      panel: Lessons from an NSF-sponsored demonstration project. Paper presented at the American
      Association for Public Opinion Research annual meeting, Garden Grove, California.

Malhotra, N., & Krosnick, J. A. (2007). The effect of survey mode and sampling on inferences about political
       attitudes and behavior: Comparing the 2000 and 2004 ANES to Internet surveys with non-probability
       samples. Paper presented at the American Association for Public Opinion Research annual meeting,
       Garden Grove, California.

Krosnick, J. A., Malhotra, N., & Miller, L. (2007). Survey mode in the 21st Century: Probability vs. non-
       probability samples of a nation’s population. Paper presented at the conference entitled
       “Cyberinfrastructure and National Election Studies: The Wivenhoe House Conference.” University of
       Essex, Colchester, UK.

Pasek, J., & Krosnick, J. A. (2007). Trends over time in America: Probability/telephone vs. non-
        probability/internet. Paper presented at the conference entitled “Cyberinfrastructure and National
        Election Studies: The Wivenhoe House Conference.” University of Essex, Colchester, UK.

Krosnick, J. A. (2007). Methods and results from the New Scientist Survey on Climate Change Policy.
       Presentation at the National Press Club, Washington, DC.

Krosnick, J. A. (2007). The ANES Recompetition and its Implications for the GSS recompetition. Presentation
       at the American Sociological Association annual meeting, New York, New York.

Harder, J., & Krosnick, J. A., (2007). Causes of voter turnout: A social psychological perspective. Paper
        presented at the American Psychological Association annual meeting, San Francisco, California.

Schneider, D., Berent, M. K., Thomas, R., & Krosnick, J. A. (2007). Measuring customer satisfaction and
       loyalty: Improving the ‘net promoter’ score. Paper presented at the World Association for Public
       Opinion Research annual meeting, Berlin, Germany.

Cobb, C., & Krosnick, J. A. (2007). The impact of postdoc appointments on science and engineering career
       outcomes and job satisfaction. Paper presented at the conference “Using Human Resource Data”,
       Science Resources Statistics Workshop, Washington, DC.

Krosnick, J. A. (2007). Some of the lessons learned from analyses of data from the American National Election
       Studies. Presentation at a conference facilitating learning about the American National Election Studies
       by leading news media pollsters. Gallup World Headquarters, Washington, DC.

Berent, M. K., & Krosnick, J. A. (2007). For example … How different cue types in survey questions
        influence frequency. Pacific Association for Public Opinion Research, San Francisco, California.

Schneider, D., Krosnick, J. A., Ofir, E., Milligan, C., Tahk, A. (2008). The psychology of voting: How and
       why the order of candidate names on the ballot and election laws influence election outcomes. Society
       for Personality and Social Psychology annual meeting, Albuquerque, New Mexico.

Saller, R., & Krosnick, J. A. (2008). Modern democracy and the Roman Empire: Ancient perspectives on the
         2008 elections. The Claremont Hotel, Berkeley, California.



       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 459 of 662         Document 73-1
                                                                                                 Page 458
Pasek, J., & Krosnick, J. A. (2008). Marketing of political candidates and voter choice. Paper presented at the
        Association for Consumer Research Annual Meeting, San Francisco, California.

Breent, M. K., & Krosnick, J. A. (2008). For example … How different example types in online surveys
        influence frequency estimates. Paper presented at the General Online Research 2008 Conference,
        Hamburg, Germany.

Bowen, K., Visser, P., Krosnick, J. A., & Anand, S. (2008). Embedded attitudes: How social network features
       regulate individual-level attitude strength. Paper presented at the Association for Psychological Science
       Annual Meeting, Chicago, Illinois.

Pasek, J., DeBell, M., & Krosnick, J. A. (2008). Measuring voters’ values in the American National Election
        Studies. Paper presented at the American Association for Public Opinion Research Annual Meeting,
        New Orleans, Louisiana.

Malhotra, N., Yee, N., Krosnick, J. A., Scott, A., Thomas, R. K., Anand, S., & Chang, L. (2008). Response
       order effects in rating scales. Paper presented at the American Association for Public Opinion Research
       Annual Meeting, New Orleans, Louisiana.

Berent, M., & Krosnick, J. A. (2008). “For example”: How different example types in online surveys influence
        frequency estimates. Paper presented at the American Association for Public Opinion Research Annual
        Meeting, New Orleans, Louisiana.

Blocksom, D. T., Schneider, D., & Krosnick, J. A. (2008). Moderators of the name-order effect: The 2004
       Presidential Election in Ohio. Paper presented at the American Association for Public Opinion
       Research Annual Meeting, New Orleans, Louisiana.

Holbrook, A. L., & Krosnick, J. A. (2008). Results of the 2008 ANES voter turnout experiment. Paper
       presented at the American Association for Public Opinion Research Annual Meeting, New Orleans,
       Louisiana.

Schneider, D., Berent, M. K., Thomas, R. K., & Krosnick, J. A. (2008). Measuring customer satisfaction and
       loyalty: improving the ‘net-promoter’ score. Paper presented at the American Association for Public
       Opinion Research Annual Meeting, New Orleans, Louisiana.

Wang, R., & Krosnick, J. A. (2008). Comparing the results of probability and non-probability telephone and
       internet survey data. Paper presented at the American Association for Public Opinion Research Annual
       Meeting, New Orleans, Louisiana.

Malhotra, N., & Krosnick, J. A. Perceptions of mass opinion and voting in presidential primaries. Paper
       presented at the American Political Science Association Annual Meeting, Boston, Massachusetts.

Krosnick, J. A., Yeager, D., & Wang, R. (2008). The validity of political surveys with non-probability samples
       of respondents who volunteer to answer questions for money. Paper presented at the American Political
       Science Association Annual Meeting, Boston, Massachusetts.

Pasek, J. M., & Krosnick, J. A. (2008). Studying trends in public opinion over time with probability sample
        surveys and surveys of people who volunteer to do surveys for money. Paper presented at the American
        Political Science Association Annual Meeting, Boston, Massachusetts.

Thomas, R. K., & Krosnick, J. A. (2008). Number of response categories and scale compression: Effects on
      validity and reliability. Paper presented at the Seventh International Conference on Social Science
      Methodology – RC33 – Logic and Methodology in Sociology, Naples, Italy.


       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 460 of 662         Document 73-1
                                                                                                 Page 459
Malka, A., & Krosnick, J. A. (2009). Conservative-liberal self-label and responsiveness to ideological cues.
       Paper presented at the Society for Personal and Social Psychology Annual Meeting, Tampa, Florida.

Cobb, C., & Krosnick, J. A. (2009). Experimental test of the accuracy of proxy reports compared to target
       report with third-party validity. Paper presented at the American Association for Public Opinion
       Research Annual Meeting, Hollywood, Florida.

Yeager, D., & Krosnick, J. A. (2009). Does weighting improve the accuracy of data from non-probability
        internet survey panels of people who volunteer to do surveys for money? Paper presented at the
        American Association for Public Opinion Research Annual Meeting, Hollywood, Florida.

Payne, K., Lelkes, Y., Krosnick, J. A., Akhtar, O., Pasek, J., & Tompson, T. (2009). The effect of implicit
       prejudice on vote choice during the 2008 Presidential election: Insights from the Associated Press-
       Yahoo! News-Stanford University study. Paper presented at the American Association for Public
       Opinion Research Annual Meeting, Hollywood, Florida.

Pasek, J., Krosnick, J. A. Akhtar, O., Lelkes, Y., Payne, K., & Tompson, T. (2009). A new approach to
        simultaneous modeling of the causes of turnout and candidate choice with data collected before
        elections: Insights from the Associated Press-Yahoo! News-Stanford University study. Paper presented
        at the American Association for Public Opinion Research Annual Meeting, Hollywood, Florida.

Yeager, D., & Krosnick, J. A. (2009). Comparison study of probability and non-probability sample surveys
        conducted by Internet and face to face. Paper presented at the American Association for Public Opinion
        Research Annual Meeting, Hollywood, Florida.

DeBell, M., Krosnick, J. A., Malka, A., Ackermann, A., & Turakhia, C. (2009). Assessing the FFISP’s
        representative of the American adult population. Paper presented at the American Association for
        Public Opinion Research Annual Meeting, Hollywood, Florida.

Krosnick, J. A., Ackermann, A., DeBell, M., Malka, A., & Turakhia, C. (2009). A comparison of behavioral
       and attitudinal findings from the FFISP with those of major national surveys. Paper presented at the
       American Association for Public Opinion Research Annual Meeting, Hollywood, Florida.

Ackermann, A., Krosnick, J. A., Turakhia, C., DeBell, M., Malka, A., & Jarmon, R. (2009). Lessons learned
      about how to accomplish effective in-person recruitment of a web-equipped survey panel. Paper
      presented at the American Association for Public Opinion Research Annual Meeting, Hollywood,
      Florida.

Sakshaug, J., Tourangeau, R., Krosnick, J. A., Ackerman, A., Malka, A., DeBell, M., & Turakhia, C. (2009).
       Dispositions and outcome rates in the Face-to-face Internet Survey Platform (the FFISP). Paper
       presented at the American Association for Public Opinion Research Annual Meeting, Hollywood,
       Florida.

Lelkes, Y., Krosnick, J. A., Akhtar, O., Pasek, J., & Tompson, T., & Payne, K. (2009). An exploration of the
        forces driving vote choices in the 2008 American Presidential Election: Insights from the Associated
        Press-Yahoo! News-Stanford University study. Paper presented at the American Association for Public
        Opinion Research Annual Meeting, Hollywood, Florida.

Light, A. E., Visser, P. S., Krosnick, J. A., & Anand, S. (2009). Variability without and within: Self-concept
        clarity and varied social networks. Paper presented at the Midwestern Psychological Association
        Annual Meeting, Chicago, Illinois.



       Case 2:18-cv-01996-JPS            Filed 09/18/19        Page 461 of 662        Document 73-1
                                                                                                 Page 460
Krosnick, J. A., Ackermann, A., Malka, A., Yeager, D., Sakshaug, J., Tourangeau, R., DeBell, M., & Turakhia,
       C. (2009). Creating the face-to-face recruited internet survey platform (FFRISP). Paper presented at
       the Third Annual Workshop on Measurement and Experimentation with Internet Panels: Innovative
       Features of Internet Interviewing, Santpoort Noord, the Netherlands.

Krosnick, J. A., Achermann, A., Malka, A., Yeager, D., Sakshaug, J., Tourangeau, R., DeBell, M., & Turakhia,
       C. (2009). Creation of a new representative sample Internet survey panel via face-to-face recruitment
       and providing free computers to all respondents: Evaluation of the FFISP. Paper presented at the
       American Political Science Association Annual Meeting, Toronto, Canada.

Krosnick, J. A., Pasek, J., Tahk, A., Lelkes, Y., Payne, K., Tompson, T., & Akhtar, O. (2009). The 2008
       American Presidential election: An exploration of the forces driving vote choices. Paper presented at
       the American Political Science Association Annual Meeting, Toronto, Canada.

Krosnick, J. A., Lupia, A., & DeBell, M. (2009). The activities of the American National Election Studies.
       Paper presented at the American Political Science Association Annual Meeting, Toronto, Canada.

Yeager, D., Krosnick, J. A., Holbrook, A. L., & Visser, P. S. (2010). Pulling social psychology out of the
        laboratory, kicking and screaming. Paper presented at the Society for Personality and Social
        Psychology Annual Meeting, Las Vegas, Nevada.

Gross, W., & Krosnick, J. A. (2010). Issue publics and candidate evaluations: Explaining inconsistent results in
       the moderation of issue agreement by individual issue importance. Paper presented at the Midwest
       Political Science Association Annual Meetings, Chicago, Illinois.

Gross, W., Kropko, J., Krosnick, J. A., Macdonald, S. E., & Rabinowitz, G. (2010). The influence of personal
       importance in issue voting models. Paper presented at the Midwest Political Science Association
       Annual Meetings, Chicago, Illinois.

Kim, N., & Krosnick, J. A. (2010). Moderators of candidate name order effects. Paper presented at the
       American Association for Public Opinion Research Annual Conference, Chicago, Illinois.

DeBell, M., Villar, A., & Krosnick, J. A. (2010). Measuring the number of land line and cellular telephones
        used for voice calls in households to properly weight RDD surveys for unequal probability of selection.
        Paper presented at the American Association for Public Opinion Research Annual Conference, Chicago,
        Illinois.

Pasek, J., DeBell, M., & Krosnick, J. A. (2010). Toward a standardization of survey weights: The American
        National Election Studies weighting system. Paper presented at the American Association for Public
        Opinion Research Annual Conference, Chicago, Illinois.

Lelkes, Y., Krosnick, J. A., Marx, D. M., Judd, C. M., & Park, B. (2010). Unmotivated anonymity: Social
        desirability, accuracy, and satisficing under conditions of anonymity. Paper presented at the American
        Association for Public Opinion Research Annual Conference, Chicago, Illinois.

Sood, G., Krosnick, J. A., & DeBell, M. (2010). Differences between confidentially and orally administered
       overt racism measures: Evidence from the 2008 ANES. Paper presented at the American Association
       for Public Opinion Research Annual Conference, Chicago, Illinois.

Tompson, T., Krosnick, J. A., Junius, D., & Pasek, J. (2010). Support for health care reform: It all depends on
      how you ask the question. Paper presented at the American Association for Public Opinion Research
      Annual Conference, Chicago, Illinois.



       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 462 of 662         Document 73-1
                                                                                                 Page 461
Pasek, J., Tompson, T., & Krosnick, J. A. (2010). Who supports health care reform? Explaining the
        determinants of support for various health care reforms. Paper presented at the American Association
        for Public Opinion Research Annual Conference, Chicago, Illinois.

Yeager, D. S., Carter, A., Tewoldemedhin, H., & Krosnick, J. A. (2010). Study of non-probability sample
        internet surveys’ estimates of consumer product usage and demographic characteristics of consumer
        product users. Paper presented at the American Association for Public Opinion Research Annual
        Conference, Chicago, Illinois.

Berent, M. K., Krosnick, J. A., & DeBell, M. (2010). Confirming the validity of survey respondent reports of
        voter registration and turnout: Checking the records turns up surprisingly bad news. Paper presented at
        the American Association for Public Opinion Research Annual Conference, Chicago, Illinois.

Villar, A., Malka, A., & Krosnick, J. A. (2010). Assessing the accuracy of the Face-to-Face Recruited Internet
         Survey Platform: A comparison of behavioral and health-related findings from the FFRISP with those of
         major national surveys. Paper presented at the American Association for Public Opinion Research
         Annual Conference, Chicago, Illinois.

Krosnick, J. A., Malka, A., & Villar, A. (2010). Manipulation of public opinion on global warming: The
       impact of news media coverage and the weather. Paper presented at the International Society of
       Political Psychology Annual Meeting, San Francisco, California.

Shockley, E., Krosnick, J. A., & Visser, P. S. (2010). The impact of aging on political ideology. Paper
       presented at the International Society of Political Psychology Annual Meeting, San Francisco,
       California.

Yeager, D., Krosnick, J. A., Tewoldemedhin, H., & Carter, A. (2010). Evaluating non-probability sample
        internet surveys’ estimates of consumer product usage and demographic characteristics of consumer
        product users: Do different panels produce the same results? Paper presented at the Fourth Annual
        Workshop on Measurement and Experimentation with Internet Panels: Innovative Features of Internet
        Interviewing, Noordwijk, the Netherlands.

Krosnick, J. A., Tompson, T., & Villar, A. (2010). Change in public opinion about climate change 2006-2010:
       How trusted sources and personal experience combine. Paper presented at the American Political
       Science Association Annual Meeting, Washington, DC.

Gera, K. Yeager, D., Krosnick, J. A., DeBell, M., & McDonald, M. (2010). Comparing estimates of voter
       turnout from the American National Election Studies, the General Social Survey, and the Current
       Population Survey. Paper presented at the American Political Science Association Annual Meeting,
       Washington, DC.

Pasek, J., Krosnick, J. A., & Tompson, T. (2010). Taking a position on health care: Selfish, group interest, and
        sociotropic determinants of citizens’ attitudes on proposals for health care reform. Paper presented at
        the American Political Science Association Annual Meeting, Washington, DC.

Sood, G., & Krosnick, J. A. (2010). The impact of satire in television news: Differential impact on the usual
       audience and on other viewers. Paper presented at the American Political Science Association Annual
       Meeting, Washington, DC.

Tahk, A., & Krosnick, J. A. (2010). Do the news media shape how Americans think about politics? New
       statistical procedures cast new light on an old hypothesis. Paper presented at the American Political
       Science Association Annual Meeting, Washington, DC.


       Case 2:18-cv-01996-JPS            Filed 09/18/19        Page 463 of 662        Document 73-1
                                                                                                 Page 462
Kim, N., & Krosnick, J. A. (2010). Moderators of candidate name order effects. Paper presented at the
       American Political Science Association Annual Meeting, Washington, DC.

Krosnick, J. A. (2010). We just want to help: How social science can sometimes be successful and sometimes
       crash and burn when in the public spotlight. Paper presented at the Society of Experimental Social
       Psychology Annual Meeting, Minneapolis, Minnesota.

Berent, M. K., Krosnick, J. A., & Lupia, A. (2011). Lying survey respondents or flawed government records?
        An examination of turnout over-reporting and vote validation in the 2008 ANES Panel Study. Paper
        presented at the Midwest Political Science Association Annual Meeting, Chicago, Illinois.

Cobb, C., Krosnick, J. A., & Bannon, B. (2011). Optimizing the design of a question intended to measure
       expected starting salary. Paper presented at the American Association for Public Opinion Research
       Annual Meeting, Phoenix, Arizona.

MacInnis, B., & Krosnick, J. A. (2011). The persistence of American public opinion on climate policy. Paper
       presented at the American Association for Public Opinion Research Annual Meeting, Phoenix, Arizona.

Yeager, D. S., Larson, S., & Krosnick, J. A. (2011). Measuring Americans’ issue priorities: A new version of
        the most important problem question reveals more concern about global warming and the environment.
        Paper presented at the American Association for Public Opinion Research Annual Meeting, Phoenix,
        Arizona.

Krosnick, J. A. (2011). The stability of American public opinion on global warming: Towards explaining the
       existence beliefs trends. Paper presented at the American Association for Public Opinion Research
       Annual Meeting, Phoenix, Arizona.

Romano Bergstrom, J. C., Olmsted-Hawala, E. L., Rogers, W. A., & Krosnick, J. A. (2011). Age-related
      differences in reported computer and internet usage based on question type: ‘A great deal’ of variability.
      Paper presented at the American Association for Public Opinion Research Annual Meeting, Phoenix,
      Arizona.

Jans, M., Bergstrom, J. C., Ashenfelter, K. T., & Krosnick, J. A. (2011). Measuring user satisfaction in the lab:
        Questionnaire mode, physical location, and social presence concerns. Paper presented at the American
        Association for Public Opinion Research Annual Meeting, Phoenix, Arizona.

MacInnis, B., & Krosnick, J. A. (2011). Complete satisficing in surveys: An exploratory investigation. Paper
       presented at the American Association for Public Opinion Research Annual Meeting, Phoenix, Arizona.

Yeager, D. S., & Krosnick, J. A. (2011). Does mentioning ‘some people’ and ‘other people’ in an attitude
        question improve measurement quality? Paper presented at the American Association for Public
        Opinion Research Annual Meeting, Phoenix, Arizona.

Chang, L., Krosnick, J. A., & Tompson, T. (2011). The impact of healthcare utilization on satisfaction with
       health insurance plans. Paper presented at the American Association for Public Opinion Research
       Annual Meeting, Phoenix, Arizona.

Chang, L. & Krosnick, J. A. (2011). Assessing survey accuracy across multiple domains. Paper presented at
       the American Association for Public Opinion Research Annual Meeting, Phoenix, Arizona.

Pasek, J., & Krosnick, J. A. (2011). Measuring intent to participate and participation in the 2010 census and
        their correlates and trends: Comparisons of RDD telephone and non-probability sample internet survey
        data. Paper presented at the American Association for Public Opinion Research Annual Meeting,
        Phoenix, Arizona.

       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 464 of 662         Document 73-1
                                                                                                  Page 463
Weiss, R., Krosnick, J. A., & Yeager, D. S. (2011). More comparisons of probability and non-probability
       sample internet surveys: The Dutch NOPVO study. Paper presented at the American Association for
       Public Opinion Research Annual Meeting, Phoenix, Arizona.

Gilbert, E., Allum, N., Villar, A., & Krosnick, J. A. (2011). Do reluctant respondents provide poor data?
         Evidence from the Face-to-Face Recruited Internet Survey Platform (FFRISP). Paper presented at the
         American Association for Public Opinion Research Annual Meeting, Phoenix, Arizona.

Lelkes, Y., & Krosnick, J. A. (2011). Measuring perceptions and probabilities: Verbal or numerical response
        options? Paper presented at the American Association for Public Opinion Research Annual Meeting,
        Phoenix, Arizona.

Krosnick, J. A., MacInnis, B., & Villar, A. (2011). The impact of candidates’ statements about climate change
       on electoral success in 2008 and 2010: Evidence using three methodologies. Paper presented at the
       American Political Science Association Annual Meeting, Seattle, Washington.

Berent, M. K., Krosnick, J. A., & Lupia, A. (2011). Measuring voter registration and turnout in surveys: Do
        official government records yield more accurate assessments? Paper presented at the American Political
        Science Association Annual Meeting, Seattle, Washington.

Krosnick, J. A., MacInnis, B., & Villar, A. (2012). Polarization of opinions about global warming between
       1997 and 2011: Appearances are sometimes misleading. Paper presented at the Society for Personality
       and Social Psychology Annual Meeting, San Diego, California.

MacInnis, B., Krosnick, J. A., & Villar, A. (2012). Motivated social cognition in the realm of politics: The case
       of news media dissemination of information about climate change. Paper presented at the Society for
       Personality and Social Psychology Annual Meeting, San Diego, California.

Villar, A., & Krosnick, J. A. (2012). An investigation of nonresponse error due to breakoffs in telephone
         surveys. Paper presented at the American Association for Public Opinion Research Annual Meeting,
         Orlando, Florida.

Anand, S., Krosnick, J. A., & Yeager, D. S. (2012). What number of scale points in an attitude question
       optimizes response validity and administrative practicality? Paper presented at the American
       Association for Public Opinion Research Annual Meeting, Orlando, Florida.

Kim, N., Lelkes, Y., & Krosnick, J. A. (2012). Race of interviewer effects in the 2008 Presidential election.
       Paper presented at the American Association for Public Opinion Research Annual Meeting, Orlando,
       Florida.

Berent, M. K., Krosnick, J. A., & Lupia, A. (2012). Lying vs. fail-to-match: Self-reported turnout and validated
        turnout in the 2008-2009 ANES Panel Study. Paper presented at the American Association for Public
        Opinion Research Annual Meeting, Orlando, Florida.

Young, C., Jackson, C., & Krosnick, J. A. (2012). Comparison of dual frame telephone and non-probability
       online panels regarding accuracy of political opinion polling. Paper presented at the American
       Association for Public Opinion Research Annual Meeting, Orlando, Florida.

Callegaro, M., Villar, A., Krosnick, J. A., & Yeager, D. S. (2012). A systematic review of studies investigating
        the quality of data obtained with online panels. Paper presented at the American Association for Public
        Opinion Research Annual Meeting, Orlando, Florida.



       Case 2:18-cv-01996-JPS            Filed 09/18/19        Page 465 of 662        Document 73-1
                                                                                                 Page 464
Weiss, R. J., Berent, M. K., Krosnick, J. A., & Lupia, A. (2012). Investigating automated coding of open-ended
       survey questions. Paper presented at the American Association for Public Opinion Research Annual
       Meeting, Orlando, Florida.

Pasek, J., Sood, G., & Krosnick, J. A. (2012). A certain truth? How Americans received and perceived
        information about the Obama health care plan. Paper presented at the Midwest Political Science
        Association Annual Meeting, Chicago, Illinois.

Kropko, J., Gross, W., & Krosnick, J. A. (2012). Issue publics and candidate evaluations: Selecting the best
       fitting models of the moderation of issue agreement by individual issue importance. Paper presented at
       the Midwest Political Science Association Annual Meeting, Chicago, Illinois.

Pasek, J., Krosnick, J. A., & Tahk, A. M. (2012). Prevalence and moderators of the candidate name order
        effect: Evidence from all statewide general elections in California. Paper presented at the Midwest
        Political Science Association Annual Meeting, Chicago, Illinois.

MacInnis, B., Krosnick., J. A., Suh, A., & Cho, Mu-Jung. (2013). Assessments of survey accuracy: A
       multimode national field experiment. Paper presented at the American Association for Public Opinion
       Research Annual Meeting, Boston, Massachusetts.

Santa Cruz, H., & Krosnick, J. A. (2013). Shocking misbehavior by face-to-face interviewers: The 2008 ANES
       office recognition questions. Paper presented at the American Association for Public Opinion Research
       Annual Meeting, Boston, Massachusetts.

Vannette, D., Krosnick., J. A. (2013). Mindful responding to questions: The dangers of survey satisficing.
       Paper presented at the American Association for Public Opinion Research Annual Meeting, Boston,
       Massachusetts.

Stark, T. H., Pasek, J., Tompson, T., & Krosnick., J. A. (2013). Measuring anti-Black racism in the U.S. Paper
        presented at the American Association for Public Opinion Research Annual Meeting, Boston,
        Massachusetts.

Kiley, J., Keeter, S., Frei, M., Motel, S., Christian, L.M., Dimock, M., McDonald, M. P., Berent, M., &
         Krosnick., J. A. (2013). Validating likely voter measures in 2012 pre-election polling. Paper presented
         at the American Association for Public Opinion Research Annual Meeting, Boston, Massachusetts.

MacInnis, B., Howe, L., Krosnick, J. A., Markowitz, E., & Socolow, R. (2013). Confidently uncertain: When
       expressing uncertainty enhances trust and persuasion. Paper presented at the Society of Experimental
       Social Psychology Annual Meeting, Berkeley, California.

Silber, H., Krosnick, J. A., & Yeager, D. (2013). Replication of experimental results across telephone and
         internet survey panels. Paper presented at the Pacific Chapter of the American Association for Public
         Opinion Research Annual Meeting, San Francisco, California. (Winner of Second Place in the PAPOR
         Student Paper Competition)

Holbrook, A. L., & Krosnick, J. A. (2013). A new question sequence to measure voter turnout in telephone
       surveys: Results of an experiment in the 2006 ANES pilot study. Public Opinion Quarterly Special
       Issue Conference: Topics in Survey Measurement and Public Opinion. Barbara Jordan Conference
       Center, Washington, DC.

Yeager, D., & Krosnick, J. A. (2014). Generalizability as a scientific integrity issue. Paper presented at the
        Association for Psychological Science Annual Meeting, San Francisco, California.



       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 466 of 662         Document 73-1
                                                                                                  Page 465
Stark, T. H., & Krosnick, J. A. (2014). A new tool for ego-centered networks in online surveys. Paper
        presented at the European Congress of Methodology, Utrecht, The Netherlands.

Stark, T. H., Krosnick, J. A., Pasek, J., & Tompson, T. (2014). Comparing measures of anti-Black racial
        prejudice. Paper presented at the Society for Personality and Social Psychology Annual Meeting,
        Austin, Texas.

Stark, T. H., & Krosnick, J. A. (2014). A new tool for ego-centered networks. Paper presented at the American
        Association for Public Opinion Research Annual Meeting, Anaheim, California.

Krosnick, J. A., & MacInnis, B. (2014). Public opinion on global warming: Contradictory results among
       surveys. Paper presented at the American Association for Public Opinion Research Annual Meeting,
       Anaheim, California.

Silber, H., Krosnick, J. A., Stark, T. H., & Blom, A. G. (2014). Exact replication of question design
         experiments from Schuman and Presser. Paper presented at the American Association for Public
         Opinion Research Annual Meeting, Anaheim, California.

Krosnick, J. A., Kim, S., & Berman, R. (2014). Testing the principles of optimal questionnaire design: Does a
       questionnaire supposedly designed better actually work better? Paper presented at the American
       Association for Public Opinion Research Annual Meeting, Anaheim, California.

Callegaro, M., Lavrakas, P. J., & Krosnick, J. A. The status of online panel research from a data quality
        perspective. Paper presented at the American Association for Public Opinion Research Annual
        Meeting, Anaheim, California.

Pasek, J., Sood, G., & Krosnick, J. A. (2014). Certain gains in measurement of political knowledge (and
        misinformation). Paper presented at the International Communication Association Annual Meeting,
        Seattle, Washington.

Krosnick, J. A., & MacInnis, B. (2014). How should Congressional representatives decide how to vote? A
       study of the American public’s prescriptions. Paper presented at the American Political Science
       Association’s Annual Meeting, Washington, D.C.

Krosnick, J. A., & MacInnis, B. (2014). A new method for measuring public opinion in the States and causes
       of differences: The case of global warming. Paper presented at the American Political Science
       Association’s Annual Meeting, Washington, D.C.

Krosnick, J. A. (2014). An overview of scientific integrity issues: Worse than you thought. Paper presented at
       the Society for Experimental Social Psychology Annual Meeting, Columbus, Ohio.

Yeager, D., & Krosnick, J. A. (2014). An example of (partial) failure to replicate: How important (but not so
        new) lessons can be (re)learned from relentless pursuit of the ease of retrieval effect. Paper presented at
        the Society for Experimental Social Psychology Annual Meeting, Columbus, Ohio.

Krosnick, J. A. (2015). Scientific integrity: The problem is much bigger than we think. Paper presented at the
       Society for Personality and Social Psychology Annual Meeting, Long Beach, California.

Stark, T. H., & Krosnick, J. A. (2015). Measuring social networks in large-scale surveys: Challenges and
        practice of ego-centered and complete network approaches. Paper presented at the European Survey
        Research Association Annual Meeting, Reykjavik, Iceland.




       Case 2:18-cv-01996-JPS             Filed 09/18/19        Page 467 of 662         Document 73-1
                                                                                                   Page 466
Srinivasan, R., Suh, A., & Krosnick, J. A. (2015). Comparing direct and filtered frequency questions: Which
        produces more accurate measurements? Paper presented at the American Association for Public
        Opinion Research Annual Meeting, Hollywood, Florida.

Clement, S., & Krosnick, J. A. (2015). Does candidate order matter? Impact of matching ballot order on pre-
       election poll accuracy. Paper presented at the American Association for Public Opinion Research
       Annual Meeting, Hollywood, Florida.

Stark, T. H., & Krosnick, J. A. (2015). A new tool to collect ego-centered network data in online surveys.
        Paper presented at the American Association for Public Opinion Research Annual Meeting, Hollywood,
        Florida.

Vannette, D. L., & Krosnick, J. A. (2015). The effects and effectiveness of likely voter models in pre-election
       surveys. Paper presented at the American Association for Public Opinion Research Annual Meeting,
       Hollywood, Florida.

Krosnick, J. A., MacInnis, B., & Villar, A. (2015). Does an introductory sentence in an opinion question cause
       acquiescence response bias? Paper presented at the American Association for Public Opinion Research
       Annual Meeting, Hollywood, Florida.

Krosnick, J. A. (2015). Ballot design: The impact of candidate name order. Paper presented at the Electoral
       Integrity Project Pre-APSA Workshop: What works? Strengthening Electoral Integrity. San Francisco,
       California.

Silber, H., Stark, T. H., Blom, A. G. & Krosnick, J. A. (2016). Multi-national replication of experiments on
         acquiescence from Schuman and Presser. Paper presented at the American Association for Public
         Opinion Research Annual Meeting, Austin, Texas.

Yang, S., Yeager, D. S., Krosnick, J. A., & Anand, S. (2016). Directly testing accepted wisdom regarding the
       validity of different scale lengths. Paper presented at the American Association for Public Opinion
       Research Annual Meeting, Austin, Texas.

Kim, S., & Krosnick, J. A. (2016). Perceptions about scientific agreement, trust in scientists, and the American
        public’s beliefs about global warming. Paper presented at the American Association for Public Opinion
        Research Annual Meeting, Austin, Texas.

Yang, Y., Callegaro, M., Chin, K., Villar, A., & Krosnick, J. A. (2016). Assessing the accuracy of 51
       nonprobability online panels and river samples: A study of the Advertising Research Foundation 2013
       online panel comparison experiment. Paper presented at the American Association for Public Opinion
       Research Annual Meeting, Austin, Texas.

Silber, H., Stark, T., Blom, A., & Krosnick, J. A. (2016). Do response effects generalize across countries?
         Paper presented at the Second International Conference on Survey Methods in Multinational,
         Multiregional, and Multicultural Contexts (3MC 2016), sponsored by the International Workshop on
         Comparative Survey Design and Implementation, Chicago, Illinois.

Silber, H., Stark, T., Blom, A., & Krosnick, J. A. (2016). Multi-national study of questionnaire design. Paper
         presented at the Second International Conference on Survey Methods in Multinational, Multiregional,
         and Multicultural Contexts (3MC 2016), sponsored by the International Workshop on Comparative
         Survey Design and Implementation, Chicago, Illinois.

MacInnis, B., Anderson, A., & Krosnick, J. A. (2016). How do Americans want their elected representatives to
       make laws? Paper presented at the American Political Science Association Annual Meeting,
       Philadelphia, Pennsylvania.

       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 468 of 662         Document 73-1
                                                                                                 Page 467
Kim, S., & Krosnick, J. A. (2016). An exploration of the effect of advertising: The mediating role of
        perceptions of social proof. Paper presented at the National Communication Association Annual
        Meeting, Philadelphia, Pennsylvania.

Abeles, A., & Krosnick, J. A. (2017). Communicating about climate change: Labels unwittingly signal opinion.
        Paper presented at the International Communication Association Annual Meeting, San Diego,
        California.

Pasek, J., Stark, T., Krosnick, J. A., & Tompson, T. (2017). How would better knowledge influence support for
        the Affordable Care Act? A simulation and experiment. Paper presented at the American Association
        for Public Opinion Research Annual Meeting, New Orleans, Louisiana.

Wu, J., Krosnick, J. A., & DeBell, M. (2017). Raking and weighting ANES Time Series. Poster presented at
        the American Association for Public Opinion Research Annual Meeting, New Orleans, Louisiana.

Stark, T., Krosnick, J. A., Silber, H., & Blom, A. (2017). A text of generalization of classic question order
        effects in different cultures. Paper presented at the American Association for Public Opinion Research
        Annual Meeting, New Orleans, Louisiana.

Lundmark, S., Azevedo, F., Krosnick, J. A., & Marcus, G. E. (2017). Evaluation of the impact of the response
      slide scales: Validity, cognitive effort, and moderation of experimental treatment effects. Paper
      presented at the American Association for Public Opinion Research Annual Meeting, New Orleans,
      Louisiana.

McLean, A., & Krosnick, J. A. (2017). Accuracy of national and state polls in the 2016 election. Paper
      presented at the American Association for Public Opinion Research Annual Meeting, New Orleans,
      Louisiana.

Krosnick, J. A., Cho, A., McLean, A., Middleton, C., Kay, D., Abruzzo, J., Munroe, J., & Carrington, M.
       (2017). Assessing the accuracy of pre-election polls: 2008-2012. Paper presented at the American
       Association for Public Opinion Research Annual Meeting, New Orleans, Louisiana.

Abeles, A., Howe, L., Krosnick, J. A., & MacInnis, B. (2017). Misperceptions of public opinion: Americans
        underestimate belief in global warming. Paper presented at the American Association for Public
        Opinion Research Annual Meeting, New Orleans, Louisiana.

McLean, A., & Krosnick, J. A. (2017). Discrepancies between 2016 pre-election polls and election outcomes:
      Electoral integrity failure? Paper presented at the pre-APSA workshop entitled “Protecting Electoral
      Security and Voting Rights: The 2016 U.S. Elections in Comparative Perspective.” Sponsored by the
      Electoral Integrity Project, San Francisco, California.

McLean, A., & Krosnick, J. A. (2017). Fake news preceding the 2016 U.S. Presidential election: Non-
     scientific “surveys” masquerading as science. Paper presented at the pre-APSA Political
     Communication Preconference, sponsored by the Political Communication Section of the American
     Political Science Association, San Francisco, California.

Krosnick, J. A. (2017). Conference goals. Workshop on Implicit Bias, National Science Foundation,
       Alexandria, Virginia.

Krosnick, J. A. (2017). Critiques of implicit bias. Workshop on Implicit Bias, National Science Foundation,
       Alexandria, Virginia.



       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 469 of 662        Document 73-1
                                                                                                Page 468
Sekar, S., Krosnick, J. A., & MacInnis, B. (2018). Can we just skip doing surveys altogether? Comparing the
        accuracy of MRP and LAP to real survey data. Paper presented at the American Association for Public
        Opinion Research Annual Meeting, Denver, Colorado.

Kephart, K., Henderson, A., & Krosnick, J. A. (2018). To list or not to list, that is the question: An examination
       of existing research on the challenges and best practices of household rostering. Paper presented at the
       American Association for Public Opinion Research Annual Meeting, Denver, Colorado.

Krosnick, J. A., Silber, H., Stark, T., & Blom, A. (2018). Generalization of classic response order effects across
       cultures. Paper presented at the American Association for Public Opinion Research Annual Meeting,
       Denver, Colorado.


Off-Campus Academic Colloquia

   1985            State University of New York at Stony Brook, Department of Political Science.
                   Princeton University, Department of Sociology.
                   Princeton University, Department of Politics.
                   University of California at Berkeley, Department of Sociology.
                   Yale University, Department of Sociology.
                   Yale University, Department of Political Science.
                   Ohio State University, Department of Psychology.
                   University of Southern California, Annenberg School for Communication.

   1986            University of Michigan, Department of Sociology.

   1987            Yale University, Department of Psychology.
                   Yale University, Department of Political Science.
                   University of Michigan, Department of Sociology.

   1988            University of Minnesota, Department of Political Science.

   1990            University of Florida, Department of Psychology.
                   University of Florida, Bureau of Economic and Business Research.
                   Denison University, Department of Psychology.

   1991            University of Michigan, Summer Institute in Survey Research Techniques.

   1992            University of Michigan, Summer Institute in Survey Research Techniques.
                   University of Michigan, Department of Communication.

   1993            University of Wisconsin, Departments of Psychology, Sociology, and Political Science.
                   University of Michigan, Summer Institute in Survey Research Techniques.

   1994            Yale University, Department of Psychology.
                   University of Michigan, Research Center for Group Dynamics.
                   Cornell University, Peace Studies Center.

   1995            University of Michigan, Summer Institute in Survey Research Techniques.
                   University of Minnesota, Department of Political Science.

   1996            University of Pennsylvania, Annenberg School for Communication.
                   University of Chicago, Center for Decision Research.
                   Purdue University, Department of Psychology.

       Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 470 of 662         Document 73-1
                                                                                                  Page 469
1997       Stanford University, Department of Psychology.
           University of California – Berkeley, Institute of Governmental Studies.
           University of California – Berkeley, Institute of Personality and Social Research.
           University of California – Irvine, Department of Social Sciences.
           University of California – Los Angeles, Institute for Social Science Research.
           University of California – Santa Barbara, Department of Psychology.
           University of California – Santa Cruz, Board of Psychology.
           Center for Advanced Study in the Behavioral Sciences.
           London School of Economics and Political Science, Methodology Institute.

1998       Arizona State University, Department of Psychology.
           London School of Economics and Political Science, Methodology Institute.
           University of Amsterdam, Department of Psychology.
           Carnegie Mellon University, Center for the Integrated Study of the Human Dimensions of
                Global Change, Department of Engineering and Public Policy.

1999       University of Chicago, American Politics Workshop, Department of Political Science.
           Indiana University, Departments of Political Science and Psychology.
           University of Minnesota, Departments of Political Science and Psychology.

2000       University of California, Los Angeles, Department of Political Science.
           University of Southern California, Jesse M. Unruh Institute of Politics.
           University of Michigan, Institute for Social Research, Survey Research Center.

2001       The William and Flora Hewlett Foundation, Menlo Park, California.
           London School of Economics and Political Science, Methodology Institute.
           Resources for the Future, Washington, DC.

2002       University of Colorado - Boulder, Department of Psychology.
           University of Florida - Gainesville, Department of Psychology.
           Stanford University, Department of Communication.
           University of Chicago, Harris School of Public Policy.
           Uppsala University (Sweden), Department of Government.
           University of North Carolina, Department of Political Science.
           University of Chicago, Political Psychology Workshop, Departments of Psychology and
                Political Science.
           Pitzer College, Department of Political Science.

2003       University of Illinois at Chicago, College of Urban Planning and Public Affairs.
           University of Illinois at Chicago, Survey Research Laboratory.
           Stanford University, Social Psychology Research Seminar (April).
           Stanford University, Social Psychology Research Seminar (October).
           Stanford University, Department of Psychology Colloquium Series.

2004       Harvard University, Research Workshop in American Politics, Department of Government.
           Stanford University, Organizational Behavior Seminar, Graduate School of Business.
           Stanford University, Marketing Seminar, Graduate School of Business.
           Stanford University, American Empirical Seminar, Stanford Institute for the Quantitative
                Study of Society.
           University of California, Davis, Distinguished Lecture Series, Departments of Psychology
                and Political Science.

2005       The Rand Organization, Santa Monica, California.

   Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 471 of 662         Document 73-1
                                                                                         Page 470
  2006          Harvard University, Department of Psychology.
                Duke University, Social Science Research Institute.
                University of North Carolina, Chapel Hill, Department of Political Science.
                University of Florida, Department of Psychology.
                University of Florida, Department of Political Science.
                University of California, Santa Barbara, Department of Psychology.

  2007          The Rand Organization, Santa Monica, California.
                The University of Essex (UK), Department of Government.
                The University of Essex (UK), Institute for Social and Economic Research.

  2008          University of Minnesota, Department of Political Science.
                University of California - Berkeley, Department of Political Science – Institute of
                    Governmental Studies.
                Northwestern University, School of Communication.
                University of California - Berkeley, Institute for Personality and Social Research.

  2015          Center for Population Research, University of California - Los Angeles, Los Angeles,
                      California.
                Institute for Science, Technology, and Public Policy, Texas A&M University, College
                      Station, Texas.
                Annette Strauss Institute for Civic Participation, Department of Communication Studies,
                      University of Texas – Austin, Austin, Texas.
                Department of Political and Social Sciences, Universitat Pompeu Fabra, Barcelona, Spain.
                Department of Psychology, University of Washington, Seattle, Washington.
                Department of Psychology, University of California, San Diego.

  2016          Behavioral Science Workshop, Booth School of Business, University of Chicago, Chicago,
                     Illinois.
                Social Psychology Colloquium, Department of Psychology, New York University, New
                     York, New York.

  2017          Colloquium Series, Department of Psychology, Arizona State University, Tempe, Arizona.
                Colloquium Series, School of Politics and Global Studies, Arizona State University, Tempe,
                Arizona.

  2012          Political Psychology Colloquium Series, Institute of Governmental Studies, University of
                      California, Berkeley, Berkeley, California.
                Department of Geosciences and Woodrow Wilson School of Public and International
                      Affairs, Princeton, University.
                Department of Psychology, University of Mannheim, Mannheim, Germany.


On-campus Colloquia

  1986          Department of Political Science, Ohio State University.
                Department of Psychology, Ohio State University.

  1987          Department of Psychology, Ohio State University.

  1988          Department of Psychology, Ohio State University.

  1990          Department of Psychology, Ohio State University.

      Case 2:18-cv-01996-JPS          Filed 09/18/19        Page 472 of 662         Document 73-1
                                                                                               Page 471
1991       Mershon Center World Affairs Seminar, Mershon Center, Ohio State University.

1996       Behavioral Decision Theory Colloquium Series, Department of Psychology, Ohio State
               University.
           CIC Interactive Video Methods Seminar, Department of Political Science, Ohio State
               University.

1997       Interdisciplinary Seminar on Survey Research Methods, Center for Human Resource
                Research, Ohio State University.

1999       Department of Agricultural, Environmental, and Development Economics, Ohio State
               University.

2000       Center for Survey Research, Ohio State University.

2002       Social Psychology Colloquium Series, Department of Psychology, Ohio State University.
           Department of Agricultural, Environmental, and Development Economics, Ohio State
                University.

2003       Mershon Center Lunch Lecture, The Mershon Center, Ohio State University.

2004       Global Climate and Energy Project Fall Seminar Series, Stanford University.
           John S. Knight Fellowship Program Seminar, Stanford University.

2005       Workshop in Statistical Modeling, Department of Political Science, Stanford University.
           Environmental Policy Forum, Center for Environmental Science and Policy, Stanford
               University.
           Humanities and Sciences Forum, Stanford University.
           Seminar Series, Summer Research College in Public Policy and Economics, Stanford
               University.

2006       Seminar Series, Summer Research College in Public Policy and Economics, Stanford
               University.
           Woods Energy Series, Woods Institute for the Environment, Stanford University.

2007       Ethics @ Noon, Barbara and Bowen McCoy Program in Ethics in Society Lecture Series,
                Stanford University.
           Seminar Series, Summer Research College in Public Policy and Economics, Stanford
                University.
           Opening Plenary, Society of Environmental Journalists Annual Conference, Stanford
                University.

2008       How America Votes: Stanford Professors Answer the Fundamental Questions Raised When
                U.S Citizens Vote. Workshop sponsored by Stanford in Government.
           Transformational Insights: Participation, Collaboration, and Virtual Worlds for
                Sustainability, Medicine, and Education. Sixth Media X Annual Meeting, Stanford
                University.
           Social Psychology Research Seminar, Stanford University.
           Lunch Colloquium Series, Public Policy Program, Stanford University.
           Seminar Series, Summer Research College in Public Policy and Economics, Stanford
                University.
           Stanford Parents’ Advisory Board Meeting, Stanford University.


   Case 2:18-cv-01996-JPS       Filed 09/18/19       Page 473 of 662        Document 73-1
                                                                                       Page 472
2009           Environmental Forum, Woods Institute for the Environment, Stanford University.
               Woods Institute and School of Earth Sciences Summer Seminar Series, Stanford University.

2010           Research Seminar Series, Center for International Security and Cooperation, Stanford
                    University (discussant).
               Faculty Speaker Series, Stanford High School Summer College, Stanford University.
               Seminar Series, Summer Research College in Public Policy and Economics, Stanford
                    University.
               The Prison Lunch Series, Stanford Law and Policy Review, Stanford Law School.
               Social Psychology Research Seminar, Stanford University.

2011           Address to the Advisory Council of the Woods Institute for the Environment, Stanford
                    University.
               Address to the Advisory Council of the Precourt Institute for Energy, Stanford University.
               Seminar Series, Summer Research College in Public Policy and Economics, Stanford
                    University.
               Summer Short Course on Marine Policy, Center for Ocean Solutions, Stanford University.
               Energy @ Stanford & SLAC, Stanford Graduate Summer Institute, Stanford University.
               Engaging with Faculty: Stories from Undergraduate Research and Learning Beyond the
                    Classroom, New Student Orientation, Stanford University.
               Energy Seminar sponsored by the Woods Institute for the Environment and the Precourt
                    Institute for Energy, Stanford University.
               Invited Presentation, Summer Research College Speaker Series, Public Policy Program,
                    Stanford University, Stanford, California.

2012           Member of a Faculty Discussion Panel during the Joint Young Environmental Scholars
                    Conference sponsored by the Woods Institute for the Environment and the
                    Environmental Norms Workshop sponsored by the Stanford Humanities Center,
                    Stanford University.
               Invited Lecture, “Peering Inside the Mind of the American Voter: The Psychology of
                    Democracy in Action.” Back to School Class, 2012 Parents’ Weekend, Stanford
                    University. http://parentsweekend.stanford.edu/overview/biography - mackey
               Invited Presentation, “A Program of Research on Americans’ Thinking about Climate
                    Change.” Woods Institute for the Environment Community Retreat, Aptos, California.
               Invited Presentation, “American Public Opinion on Climate Change.” School of Earth
                    Sciences Undergraduate Research Program Seminar Series (cosponsored by SURGE
                    and the Woods Institute for the Environment). Stanford University.
               Invited Presentation, Engaging with Faculty: Stories from Undergraduate Research and
                    Learning Beyond the Classroom, New Student Orientation, Stanford University.
               Invited Presentation, “Are Elections in America Unfair? Exploring the Impact of Candidate
                    Name Order.” Stanford Parents Association, Stanford University.
               Panel Member, “Election 2012: Reality Check. A Bloomberg News Post-Presidential-
                    Debate Debate.” Sponsored by the Stanford Graduate Program in Journalism and the
                    Stanford Graduate School of Business Politics and Government Club.
               Invited Presentation, Summer Research College Speaker Series, Public Policy Program,
                    Stanford University, Stanford, California.

2013           Invited Presentation, “The Psychology of American Elections: Getting Into the Heads of
                    Voters”, Yost House After-Dinner Presentation.




       Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 474 of 662        Document 73-1
                                                                                            Page 473
               Invited Presentation, Engaging with Faculty: Stories from Undergraduate Research and
                    Learning Beyond the Classroom, New Student Orientation, Stanford University.
               Invited Presentation, Summer Research College Speaker Series, Public Policy Program,
                    Stanford University, Stanford, California.

2014           Invited Presentation, “Is it Americans’ Fault that the U.S. Government Has Yet to Seriously
                    Limit Greenhouse Gas Emissions?” School of Earth Sciences Undergraduate Research
                    Program Seminar Series (cosponsored by SURGE and SESUR and the Woods Institute
                    for the Environment). Stanford University.
               Invited Presentation, “Why Elections Go Wrong: The Impact of the Order of Candidates’
                    Names on the Ballot.” Fred Hillier Lecture Series, English for Foreign Students
                    Program, Stanford University.
               Invited Presentation, Engaging with Faculty: Stories from Undergraduate Research and
                    Learning Beyond the Classroom, New Student Orientation, Stanford University.
               Invited Panel Member, Sustainable World Coalition’s Planet Earth New Play Festival,
                    Stanford University.
               Invited Panel Member, “The Climate Debate Demystified: The Psychology, Media, and
                    Communication Behavior Climate Change.” Sponsored by Students for a Sustainable
                    Stanford, Stanford University.
               Invited Presentation, Summer Research College Speaker Series, Public Policy Program,
                    Stanford University.
               Invited Panelist, “Climate Change: From Science to Action.” Classes without Quizzes,
                    Stanford University.

2015           Invited Presentation, Engaging with Faculty: Stories from Undergraduate Research and
                    Learning Beyond the Classroom, New Student Orientation, Stanford University.
               Invited Presentation, Summer Research College Speaker Series, Political Science
                    Department, Stanford University.

2016           Energy Seminar sponsored by the Woods Institute for the Environment and the Precourt
                    Institute for Energy, Stanford University.
               Invited Presentation, Summer Research College Speaker Series, Political Science
                    Department, Stanford University.
               Invited Presentation, Engaging with Faculty: Stories from Undergraduate Research and
                    Learning Beyond the Classroom, New Student Orientation, Stanford University.
               Invited Presentation, Psychology of the 2016 Election. Stanford in Government Policy
                    Lunch.
               Invited Presentation, “The 2016 Election.” Epidemiology Supper Club, Stanford University
                    Medical School, Stanford, CA.

2017           Invited Presentation, “Public Opinion on Climate Change”, SUPER Faculty Seminar
                    Lunches, Precourt Institute for Energy, Stanford University, Stanford, CA.
               Invited Presentation, Summer Research College Speaker Series, Public Policy Program,
                    Stanford University, Stanford, California.
               Invited Presentation, Summer Research College Methodology Speaker Series, Political
                    Science Department, Stanford University, Stanford, California.
               Invited Presentation, “Why Elections Go Wrong: The Impact of the Order of Candidates’
                    Names on the Ballot.” Fred Hillier Lecture Series, English for Foreign Students
                    Program, Stanford University.
               Invited Presentation, Engaging with Faculty: Stories from Undergraduate Research and
                    Learning Beyond the Classroom, New Student Orientation, Stanford University.
               Presentation, Communication Department Faculty Retreat, Stanford University.



       Case 2:18-cv-01996-JPS        Filed 09/18/19      Page 475 of 662         Document 73-1
                                                                                            Page 474
   2018           Invited Presentation, “The Accuracy of the 2016 Pre-Election Polls.” Seminar Series of the
                       John S. Knight Journalism Fellowship Program, Stanford University, Stanford, CA.
                  Invited Presentation, “The Impact of Candidate Name Order on Election Outcomes.”
                       Neurosciences Journal Club and Professional Development Court, Stanford University,
                       Stanford, CA.


Other Presentations

   2012           Coauthor of presentation by Elisabeth Brüggen (Maastricht University). “Establishing the
                  Accuracy of Online Panel Research”, Waikato Management School, University Of Waikato,
                  Hamilton, New Zealand.

   2018           Coauthor of presentation by Elisabeth Brüggen (Maastricht University). “Establishing the
                  Accuracy of Online Panel Research”, Department of Marketing, Faculty of Business and
                  Economics, Monash University, Melbourne, Australia.

   2019           Coauthor of presentation by Elisabeth Brüggen (Maastricht University). “Establishing the
                  Accuracy of Online Panel Research”, Department of Management and Marketing, Faculty of
                  Business and Economics, University of Melbourne, Melbourne, Australia.

   2020           Coauthor of presentation by Elisabeth Brüggen (Maastricht University). “Establishing the
                  Accuracy of Online Panel Research”, Center for the Study of Choice (CenSoC), University
                  of Technology, Sydney, Australia.

  2012            Coauthor of presentation by Elisabeth Brüggen (Maastricht University). “Establishing the
                  Accuracy of Online Panel Research”, School of Marketing, Australian School of Business,
                  University of New South Wales, Sydney, Australia

Conferences Coordinated

  1991            Conference Coordinator, Annual Meeting, Society of Experimental Social Psychology,
                      Columbus, Ohio.

  1991            Conference Coordinator, “Nags Head Conference on Attitude Strength,” Nags Head, North
                      Carolina.

  1998            Program Coordinator, Annual Meeting, International Society for Political Psychology,
                      Montreal, Canada.

2002-2004         Conference Chair, Annual Meeting, American Association for Public Opinion Research,
                      Nashville, Tennessee.

  2005            Conference Co-Coordinator, “New Approaches to Understanding Participation in Surveys”,
                      Belmont Conference Center, Elkridge, Maryland.

  2007                Conference Co-Coordinator, “Cyberinfrastructure and National Election Studies: The
                         Wivenhoe House Conference”. University of Essex, Colchester, UK.

  2007            Conference Co-Coordinator, “News Media Pollster Input to the American National Election
                      Studies”. Gallup World Headquarters, Washington, DC.




         Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 476 of 662        Document 73-1
                                                                                                Page 475
  2008           Conference Co-Coordinator, “Optimal Coding of Open-Ended Survey Data, Institute for
                     Social Research, University of Michigan, Ann Arbor, Michigan.

  2013           Conference Co-Coordinator, “The Future of Survey Research 1”, National Science
                     Foundation, Arlington, Virginia.

  2013           Conference Co-Coordinator, “The Future of Survey Research 2”, National Science
                     Foundation, Arlington, Virginia.

  2014           Conference Co-Coordinator, “Robust Research in the Social, Behavioral, and Economic
                     Sciences”, National Science Foundation, Arlington, Virginia.

  2015           Conference Co-Coordinator, “Best Practices in Science”, Center for Advanced Study in the
                     Behavioral Sciences, Stanford University, Stanford, California.

 2015            Conference Co-Coordinator, “How Voters Think: Lessons from Science and Practice.” A
                     meeting of political scientists with Democratic Party campaign consultants. Harris
                     School of Public Policy, University of Chicago, Chicago, Illinois.

 2015            Conference Co-Coordinator, “How Voters Think: Lessons from Science and Practice.” A
                     meeting of political scientists with Republican Party campaign consultants. Harris
                     School of Public Policy, University of Chicago, Chicago, Illinois.

 2017            Conference Coordinator, “Workshop on Implicit Bias.” National Science Foundation,
                     Alexandria, Virginia.


                                           Professional Service

1989-1990        Chair, Student Paper Competition Committee, American Association for Public Opinion
                     Research.

  1990           Member, Planning Committee for the 1990 National Election Study.

  1990           Member, Conference Committee for the 1991 Annual Meeting, American Association for
                    Public Opinion Research.

  1991           Participant in an Expert Questionnaire Evaluation Panel as a part of a Project Comparing
                      Pre-Testing Methods, National Center for Health Statistics.

  1994           Member, Student Paper Competition Committee, American Association for Public Opinion
                    Research.

  1995           Member, National Science Foundation Special Grant Proposal Evaluation Panel on
                    Valuation for Environmental Policy.

  1996           Member, Student Paper Competition Committee, American Association for Public Opinion
                    Research.

  1996           Member, Planning Committee for the 1996 National Election Study.

1997-2001        Member, Conference Committee, American Association for Public Opinion Research
2003, 2004          Annual Meeting.


         Case 2:18-cv-01996-JPS        Filed 09/18/19      Page 477 of 662         Document 73-1
                                                                                              Page 476
  1998        Member, Planning Committee for the 1998 National Election Pilot Study.

  1999        Senior Research Advisor, The Gallup Organization.

1997-2006     Member, Board of Overseers, National Election Studies, Institute for Social Research,
                 University of Michigan.

2000-2003     Member, Governing Council, International Society of Political Psychology.

2000-2003     Member, Conference Committee, International Society of Political Psychology.

2000-2002     Member, Survey Methodology Group of the National Longitudinal Survey of Youth.

2000-2008     Member, Board of Overseers, General Social Survey, National Opinion Research Center,
                 University of Chicago.

  2001        Member, Advisory Board of the Canadian Election Study, McGill University, University of
                 Montreal, and University of Toronto.

2001-2003     Associate Conference Chair, American Association for Public Opinion Research.

2001-2003     Chair, Committee to Award the Erik H. Erikson Early Career Award for Excellence and
                  Creativity in the Field of Political Psychology, International Society of Political
                  Psychology.

  2001        Member, Visiting Committee to Evaluate a Proposed Ph.D. Program in Survey Research and
                 Methodology, University of Nebraska, Lincoln, Nebraska.

  2002        Member, Advisory Panel, Special Competition to Fund Research on Survey and Statistical
                 Methodology; Methodology, Measurement, and Statistics Program, National Science
                 Foundation.

  2003        Member, Advisory Board of the Canadian Election Study, McGill University, University of
                 Montreal, and University of Toronto.

2004-2006     Member, Advisory Committee for the Division of Social, Behavioral, and Economic
                 Sciences, National Science Foundation.

2004-2006     Member, Scientific Advisory Board, Polimetrix, Palo Alto, California.

  2004        Member, Workshop on Cyberinfrastructure and the Social Sciences, National Science
                 Foundation.

  2005        Organizing committee, Conference entitled “New Approaches to Understanding
                  Participation in Surveys,” Belmont Conference Center, Elkridge, Maryland, sponsored
                  by the National Science Foundation.

  2005        Member, Philip E. Converse Book Award Committee, American Political Science
                 Association.

  2005        Member, Nominating committee, International Society for Political Psychology.



      Case 2:18-cv-01996-JPS        Filed 09/18/19      Page 478 of 662         Document 73-1
                                                                                           Page 477
  2005           Member, Working Group on Public Attitudes and Ethical Issues, Global Roundtable on
                    Climate Change, Earth Institute, Columbia University.

  2006           Dissertation committee member, William M. van der Veld, Faculty of Social and Behavioral
                      Sciences, University of Amsterdam.

  2007           Participant, “Public Understanding of Mathematics/Mathematicians Understanding the
                      Public” Conference, Mathematical Sciences Education Board, The National Academies,
                      Washington, D.C.

  2007           Associated Scientist, Statistics and Methodology Department, National Opinion Research
                     Center, University of Chicago, Chicago, Illinois.

  2007           Participant, “Workshop on Planning for the Future of the General Social Survey,” National
                      Science Foundation, Washington, D.C.

  2007-          Member, Advisory Board, Book Series on Political Psychology, Oxford University Press.

  2007-          Member, International Advisory Board, Measurement and Experiments in the Social
                    Sciences, Institute for Data Collection and Research, University of Tilburg, The
                    Netherlands.

  2008           Participant, “Meeting to Assess Public Attitudes about Climate Change,” sponsored by the
                      National Oceanic and Atmospheric Administration, NASA, and the Center for
                      Excellence in Climate Change Communication Research, Silver Spring, Maryland.

  2008           Participant, The Harvard Globalization Survey Workshop, Harvard University, Cambridge,
                      Massachusetts.

2008-2012        Member, Board of Directors, Climate Central, Princeton, New Jersey, and Palo Alto,
                    California.

  2010           Panel Participant, Career Day, Menlo School, Menlo Park, California.

2009-2010        Member, AAPOR Opt-in Panel Online Panel Task Force.

  2016           Chair, Committee to Conduct a Site Visit Review of the General Social Survey for the
                      National Science Foundation.

2011-2016        Member, Advisory Committee for the Division of Social, Behavioral, and Economic
                    Sciences, National Science Foundation.

 2012            Member, Policy Impact Award Committee, American Association for Public Opinion
                    Research.

 2012            Member, Advisory Committee on Study to Evaluate the Impact of Survey Response Rates,
                    Pew Researcher Center, Washington, DC.

 2012-           Member, Advisory Board, Voice of the People.

 2012            Chair, Subcommittee on the Future of Survey Research, Advisory Committee for the
                     Division of Social, Behavioral, and Economic Sciences, National Science Foundation.

2013-2016        Member, Governing Council, International Society of Political Psychology.

         Case 2:18-cv-01996-JPS       Filed 09/18/19       Page 479 of 662        Document 73-1
                                                                                             Page 478
2012-2015         Member, Subcommittee on Replication in Social, Behavioral, and Economic Science
                     Research, Advisory Committee for the Division of Social, Behavioral, and Economic
                     Sciences, National Science Foundation.

 2014-            Member, International Advisory Board, Norwegian Citizen Panel, Digital Social Science
                     Core Faculty, University of Bergen, Bergen, Norway.

2015-2016         Member, Standing Committee on the Future of NSF-Supported Social Science Surveys,
                     Committee on National Statistics, Division of Behavioral and Social Science and
                     Education, The National Academies of Sciences, Engineering, and Medicine.

 2016             Chair, Committee to Award the Noel Markwell Media Award, International Society of
                      Political Psychology.

2016-2017         Member, Committee to Award the AAPOR Mitofsky Innovators Award, American
                     Association for Public Opinion Research.

2016-2017         Member, Subcommittee on Workplace Climate and Harassment, Working Group on
                     Diversity, National Institutes of Health.

 2017             Member, Committee on AAPOR Standard and Litigation Surveys. American Association
                     for Public Opinion Research.

 2018             Co-convener, CPS Forum on Measuring Voter Turnout, Summer at Census, U.S. Census
                  Bureau, Suitland, Maryland.


Department and University Service

1985-1996         Faculty Advisor, Social Psychology Colloquium Series, Ohio State University.
2001-2003

1985-1990         Chair, Social Psychology Area Admissions Committee, Ohio State University.

1985-1990         Member, Psychology Department Admissions Committee, Ohio State University.

1986-1987         Member, Psychology Department Stipends Committee, Ohio State University.

1986-1988         Member, Lazenby Equipment Committee, Ohio State University.

1986-1987         Member, Social Psychology Area Search Committee for Two Permanent Senior Faculty
                     Members, Ohio State University.

1988-1989         Member, Social Psychology Area Search Committee for Junior Faculty Member, Ohio State
                     University.

1990-1991         Member, Search Committee for Junior Faculty Member in Industrial/Organizational
                     Psychology, Ohio State University.

1989-1994         Co-Coordinator, Political Psychology Minor Program Steering Committee, Political Science
                      Department, Ohio State University.



        Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 480 of 662        Document 73-1
                                                                                             Page 479
1989-1996,    Member, Psychology Department Speakers Committee, Ohio State University.
1999-2003

1990-1996     Member, Psychology Department Subject Pool Supervisory Committee, Ohio State
                 University.

1995-1997     Chair, College of Social and Behavioral Sciences Survey Research Advisory Committee,
                  Ohio State University.

1995-1997     Member, Political Science Department Search Committee, Ohio State University.

1997-2003     Member, College of Social and Behavioral Sciences Center for Survey Research Advisory
                 Committee, Ohio State University.

  2000        Chair, Social Psychology Senior Faculty Search Committee, Ohio State University.

  2000        Member, College of Social and Behavioral Sciences Oversight Committee for the Center for
                 Human Resource Research, Ohio State University.

2001-2003     Member, Psychology Department Promotion and Tenure Committee, Ohio State University.

2001-2003     Chair, Social Psychology Junior Faculty Search Committee, Ohio State University.

  2002        Faculty advisor, Summer Research Opportunity Program, Committee on Instructional
                  Cooperation (CIC), Ohio State University.

2003-2005     Member, Planning Committee for the Social Science Research Institute, Stanford University.

2003-2004     Member, Steering Committee for the Methods of Analysis Program in the Social Sciences,
                 Stanford University.

  2004-       Faculty Affiliate, Center for Comparative Studies in Race and Ethnicity, Stanford University.

  2004        Grant proposal review committee, Environmental Interdisciplinary Initiatives Program,
                  Stanford Institute for the Environment, Stanford University.

2004-2005     Planning Committee for the Stanford Center on Longevity, Stanford University.

2005-2008     Member, Faculty Leadership Committee, Stanford Institute for the Environment, Stanford
                 University.

  2006        Grant proposal review committee, Environmental Venture Grants Program, Woods Institute
                  for the Environment, Stanford University.

  2007        Co-chair, Grant proposal review committee, Environmental Venture Grants Program, Woods
                  Institute for the Environment, Stanford University.

  2012-       Member, Grant proposal review committee, Environmental Venture Grants Program, Woods
                 Institute for the Environment, Stanford University.

2012-2016     Member, Course Evaluation Committee, Stanford University.

2012-2013     Member, Provost’s Advisory Committee on Postdoctoral Affairs, Stanford University.


      Case 2:18-cv-01996-JPS        Filed 09/18/19       Page 481 of 662        Document 73-1
                                                                                           Page 480
  2012             Member, Evaluation committee for applicants to the Emmett Interdisciplinary Program in
                      Environment & Resources, Stanford University.

  2013             Member, Evaluation committee for applicants to the Emmett Interdisciplinary Program in
                      Environment & Resources, Stanford University.

  2014             Member, Evaluation committee for applicants to the Emmett Interdisciplinary Program in
                      Environment & Resources, Stanford University.


Ad Hoc Reviewer

Journal of Personality and Social Psychology
Journal of Experimental Social Psychology
Personality and Social Psychology Bulletin
Social Psychology Quarterly
European Journal of Social Psychology
Social Cognition
Basic and Applied Social Psychology
Journal of Personality
Psychological Review
Psychological Bulletin
Psychological Science
Psychological Assessment
Personality and Social Psychology Review
Psychology and Aging
Risk Analysis
Psychology, Public Policy, and Law
American Political Science Review
American Journal of Political Science
American Politics Quarterly
Western Political Quarterly
Political Research Quarterly
Political Behavior
Research and Politics
Journal of Politics
Political Analysis
Harvard International Journal of Press/Politics
Southeastern Political Review
Public Opinion Quarterly
International Journal of Public Opinion Research
Journal of Survey Statistics and Methodology
Political Psychology
Political Communication
International Studies Quarterly
American Sociological Review
Sociological Methods and Research
Sociological Methodology
Social Science Quarterly
Social Problems
Journal of Official Statistics
Journal of the American Statistical Association
Journal of Economic Psychology
Journal of Law, Economics, and Organization

         Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 482 of 662        Document 73-1
                                                                                              Page 481
Communication Research
Journal of Consumer Research
Journal of Science Communication
Journal of Research in Personality
Developmental Psychology
Motivation and Emotion
Psychophysiology
Climatic Change
Climate Change Letters
Review of Policy Research
Annals of Epidemiology
Communication Methods and Measures
Preventive Medicine
New Jersey Medicine
Journal of Medical Internet Research
Academic Press
Praeger Publishers
Alfred A. Knopf Publishers
Brooks/Cole Publishing Company
Harper and Row Publishers
MacMillan Publishing Company
Cambridge University Press
Oxford University Press
W. W. Norton
W. H. Freeman
National Academy of Sciences
National Science Foundation - Social Psychology Program
National Science Foundation - Sociology Program
National Science Foundation - Political Science Program
National Science Foundation - Program in Methodology, Measurement, and Statistics in the Social Sciences
Society for Consumer Psychology
American Psychological Association
Time-sharing Experiments for the Social Sciences (TESS)
University of Michigan, Department of Political Science (P&T)
University of Minnesota, Department of Political Science (P&T)
University of Minnesota, Department of Psychology (P&T)
University of Southern California, Department of Psychology (P&T)
University of Texas – Austin, Department of Communication Studies (P&T)
London School of Economics and Political Science, Methodology Institute (P&T)
University of Nebraska, Department of Political Science (P&T)
University of Nebraska, Department of Psychology (P&T)
Massachusetts Institute of Technology, Department of Political Science (P&T)
University of Chicago, Harris School of Public Policy (P&T)
University of Chicago, Department of Political Science (P&T)
Iowa State University, Department of Psychology (P&T)
Ohio State University, University Libraries (P&T)
University of Florida, Department of Psychology (P&T)
University of Pennsylvania, Department of Political Science (P&T)
Institute for Social Research, University of Michigan (P&T)
Columbia University, Department of Political Science (P&T)
American University, School of Public Affairs (P&T)
Center for Advanced Study in the Social and Behavioral Sciences
University of Mannheim, School of Social Sciences, Department of Political Science (P&T)
Netherlands Institute for Advanced Study in the Humanities and Social Sciences

       Case 2:18-cv-01996-JPS           Filed 09/18/19      Page 483 of 662        Document 73-1
                                                                                              Page 482
Netherlands Organisation for Scientific Research, Division of Social Sciences
Workers’ Compensation Board of British Columbia
Fund for Scientific Research – Flanders, Brussels, Belgium


Consulting and Court Testimony

Office of Science and Technology Policy, The White House, Washington D.C.
Socio-Environmental Studies Laboratory, National Institutes of Health, Washington, D.C.
National Oceanic and Atmospheric Administration, Washington, D.C.
Environmental Protection Agency, Washington, D.C.
National Aeronautics and Space Administration (Robert Dodd and Associates/The Battelle Memorial Institute),
         Mountain View, California.
Center for Survey Methods Research, U.S. Bureau of the Census, Washington, D.C.
Office of Survey Methods Research, U.S. Bureau of Labor Statistics, Washington, D.C.
Leadership Analysis Group, U.S. Central Intelligence Agency, McLean, Virginia.
United States Government Accountability Office, Washington, DC.
Centers for Disease Control and Prevention, Atlanta, Georgia.
National Cancer Institute, Rockville, Maryland.
Centre for Comparative Social Surveys, City University, London, United Kingdom.
Rand Corporation, Santa Monica, California.
SRI International, Arlington, Virginia.
YouGov, London, United Kingdom.
Momentum Market Intelligence, Portland, Oregon.
Central Market Research and Insights, Microsoft, Redmond, Washington.
The Urban Institute, Washington, D.C.
Industrial Economics, Cambridge, Massachusetts.
Healthcare Research Systems, Columbus, Ohio.
Survey Research Center, University of Maryland, College Park, Maryland.
Center for Human Resource Research, Columbus, Ohio.
Washington State University, Pullman, Washington.
Stanford University Alumni Association, Stanford, California.
Turner Research, Jacksonville, Florida.
NuStats, Austin, Texas.
Kaiser Family Foundation, Menlo Park, California.
University of Pittsburgh Medical Center, Pittsburgh, Pennsylvania.
Achievement Associates, Darnestown, Maryland.
The Saguaro Seminar: Civic Engagement in America, Harvard University, Cambridge, Massachusetts.
Office of Social Research, CBS Inc., New York, New York.
ABC News, New York, New York.
Home Box Office, New York, New York.
Google, Mountain View, California.
Pfizer, Inc., New York, New York.
Amgen, Thousand Oaks, California.
Beau Townsend Ford Dealership, Dayton, Ohio.
United States Trotting Association, Columbus, Ohio.
Berlex Laboratories, Inc., Wayne, New Jersey.
MJ Research, Waltham, Massachusetts.
Empire Blue Cross/Blue Shield, New York, New York.
Nike, Inc., Portland, Oregon.
U.S. Senator Brian Schatz (Hawaii)
The Attorney General of Oklahoma.
Office of Lake County Prosecuting Attorney, Painesville, Ohio.
The Attorney General of the State of Ohio, Columbus, Ohio.

       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 484 of 662      Document 73-1
                                                                                              Page 483
Donald McTigue, Esq., Columbus, Ohio.
Thompson Coburn LLP, St. Louis, Missouri.
Shook, Hardy, & Bacon LLP, Kansas City, Missouri.
Arnold and Porter LLP, New York, New York.
Bradley W. Hertz, Esq., Los Angeles, California.
Larson King LLP, Minneapolis, Minnesota.
Paul, Hastings, Janofsky, and Walker, LLP, San Francisco, California.
Carr, Korein, Tillery, LLP, Chicago, Illinois.
Milberg, Weiss, Bershad, Hynes, and Lerach, LLP, New York, New York.
Bourgault & Harding, Las Vegas, Nevada.
Aikin Gump Strauss Hauer & Feld, LLP, Washington, DC.
McManemin and Smith, PC, Dallas, Texas.
Zimmerman Reed, PLLP, Minneapolis, Minnesota.
Spolin Silverman, Cohen, and Bertlett LLP, Santa Monica, California.
Righetti Wynne P.C., San Francisco, California.
Blackwell Sanders Peper Martin LLP, Kansas City, Missouri.
Davis Wright Tremaine LLP, Seattle, Washington.
Storch Amini & Munves, P.C., New York, New York.
Marc O. Stern, APC, La Jolla, California.
Morris, Sullivan, & Lemkul, LLP, San Diego, California.
Twomey Law Office, Epsom, New Hampshire.
KamberLaw LLC, New York, New York.
Righetti Law Firm, P.C., San Francisco, California.
Dostart Clapp Gordon & Coveney LLP, San Diego, California.
Wynne Law Firm, Greenbrae, California.
Lorens and Associates, San Diego, California.
Arias, Ozzello & Gignac, LLP, Los Angeles, California.
Righetti Glugoski, P.C., San Francisco, California.
Kaplan Fox, & Kilsheimer LLP, San Francisco, California.
Perkins Coie, LLP, Washington, DC.
Levi & Korsinsky LLP, Stamford, Connecticut.
King, Blackwell, Zehnder, & Wermuth, P. A., Orlando, Flor
Keller Grover, LLP, San Francisco, California.
Law Offices of Kevin T. Barnes, Los Angeles, California.
Cohelan & Khoury, San Diego, California.
Rastegar & Matern, Torrance, California.
Law Offices of Joseph Antonelli, West Covina, California.
Minter Ellison Lawyers, Sydney, Australia.
Silverman Thompson Slutkin White LLC, Baltimore, Maryland.
Namanny Byrne, & Owens, P.C. Lake Forest, California
Robbins, Geller, Rudman, & Dowd, LLP, Boca Raton, Florida.
Callahan and Blaine, Santa Ana, California.
Richardson, Patrick, Westbrook, and Brickman, Mount Pleasant, South Carolina.
Hurst and Hurst, San Diego, California.
Leonard Carder, San Francisco, California.
Initiative Legal Group, Los Angeles, California.
Khorramu Pollard & Abir, Los Angeles, California.
Rukin, Hyland, Doria, and Tindall, San Francisco, California.
Carlson, Calladine, & Peterson, San Francisco, California.
Munger, Tolles, & Olson, Los Angeles, California.
American Civil Liberties Union of Northern California/Brad Seligman/Howard, Rice, Nemerovski, Canady,
         Falk, & Rabkin, San Francisco/Berkeley, California.
Foley & Lardner LLP, San Francisco, California.
Law Offices of Sima Fard, Irvine, California.

       Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 485 of 662       Document 73-1
                                                                                           Page 484
Rifkin, Livingston, Levitan, & Silver, Annapolis, Maryland.
Altshuler Berzon LLP, San Francisco, California.
Law Offices of Hathaway, Perrett, Webster, Powers, Chrisman, & Gutierrez, Ventura, California.
R. Rex Parris Law Firm, Lancaster, California.
McCune Wright, LLP, Redlands, California.
Gustafson Gluek PLLC, Minneapolis, Minnesota.
Saltz, Mongeluzzi, Barrett, & Bendesky, P.C. Philadelphia, Pennsylvania.
Reinhardt, Wendorf, & Blanchfield, St. Paul, Minnesota.
Wexler Wallace LLP, Chicago, Illinois.
Cotchett, Pitre, & McCarthy, Burlingame, California.
Berman De Valerio, San Francisco, California.
Marlin & Saltzman, Agoura Hills, California
Lawyers for Justics, Glendale, California.
Klafter, Olsen, & Lesser LLP, Rye Brook, New York.
Shavitz Law Group, P.A., Boca Raton, Florida.
Capstone Law APC, Los Angeles, California.
Law Offices of Ronald A. Marron, San Diego, California.
Del Mar Law Group, San Diego, California.
Stonebarger Law, Folsom, California.
Cahill Gordon & Reindel, New York, New York.
Hogue & Belong, San Diego, California.
Morris Sullivan Lemkul, San Diego, California.
Traber & Voorhees, Pasadena, California.
Workman Law Firm, San Francisco, California.
Kingsley & Kingsley, Encino, California.
Shenoi Koes, Pasadena, California.
KamberLaw, Denver, Colorado.



Short Courses on Questionnaire Design

Internal Revenue Service, Washington, DC.
United States General Accounting Office, Washington, DC.
Office of Management and Budget, The White House, Washington, DC.
United States Government Accountability Office, Washington, DC.
United States Federal Trade Commission, Washington, DC.
United State Census Bureau, Suitland, Maryland.
Science Resources Statistics Program, National Science Foundation, Washington, DC.
National Opinion Research Center, Chicago, Illinois.
Survey Research Laboratory, University of Illinois at Chicago, Chicago, Illinois.
Center for AIDS Prevention Studies, Department of Epidemiology and Biostatistics, University of California,
         San Francisco, California.
Monitor Company, Cambridge, Massachusetts.
American Association for Public Opinion Research Annual Meeting, St. Louis, Missouri.
American Association for Public Opinion Research Annual Meeting, Portland, Oregon
American Association for Public Opinion Research Annual Meeting, Miami, Florida
New York Chapter of the American Association for Public Opinion Research, New York, New York.
Office for National Statistics, London, United Kingdom.
Market Strategies, Southfield, Michigan.
Total Research Corporation, Princeton, New Jersey.
Pfizer, Inc., New York, New York.
Worldwide Market Intelligence Conference, IBM, Rye, New York.
American Society of Trial Consultants Annual Meeting, Williamsburg, Virginia.

       Case 2:18-cv-01996-JPS           Filed 09/18/19       Page 486 of 662        Document 73-1
                                                                                               Page 485
American Society of Trial Consultants Annual Meeting, Westminster, Colorado.
American Society of Trial Consultants Annual Meeting, Memphis, Tennessee.
American Marketing Association Advanced Research Techniques Forum, Vail, Colorado.
Satisfaction Research Division, IBM, White Plains, New York.
American Marketing Association Marketing Effectiveness Online Seminar Series.
Faculty of Education, University of Johannesburg, Johannesburg, South Africa.
Odom Institute, University of North Carolina, Chapel Hill, North Carolina (2005 and 2009)
Google, Mountain View, California.
Eric M. Mindich Encounters with Authors, Harvard University, Cambridge, Massachusetts.
RTI International, Research Triangle Park, North Carolina.
BC Stats, Province of British Columbia Ministry of Labour and Citizens’ Services, Victoria, British Columbia,
        Canada.
Alphadetail, San Mateo, California.
Amgen, Thousand Oaks, California.
Center for Political Studies, Institute for Social Research, University of Michigan, Ann Arbor, Michigan.
San Jose State University, San Jose, California.
Summer School 2008, Australian Market and Social Research Society, Coffs Harbour, New South Wales,
        Australia.
Professional Development Program, Australian Market and Social Research Society, Sydney, Australia (2008
        and 2009).
Professional Development Program, Australian Market and Social Research Society, Melbourne, Australia.
Professional Development Program Webinar, Australian Market and Social Research Society (2012).
Zentrum für Umfragen, Methoden und Analysen (ZUMA), Mannheim, Germany.
Department of Marketing, University of Illinois, Urbana-Champaign, Illinois.
Comparative Survey Research and Methodology Workshop, sponsored by TNS Opinion and the Centre for the
        Study of Political Change at the University of Siena, Brussels, Belgium (2010 and 2011).
Department of Survey Design and Methodology, GESIS - Leibniz Institute for the Social Sciences, Mannheim,
        Germany.
Methodology Institute, London School of Economics and Political Science, London, United Kingdom.
Summer School 2013, Australian Market and Social Research Society, Gold Coast, Australia.
Social Science Research Laboratories, University of Saskatchewan, Saskatchewan, Canada (2015).


University Teaching

Summer Institute in Political Psychology (Instructor and Co-Director), Political Science and Psychology 892A,
      892B, Ohio State University.

Research Methods in Social Psychology, Psychology 872, Ohio State University.

Systematic Theory in Social Psychology, Psychology 873C, Ohio State University.

Psychological Perspectives on Political Behavior, Psychology 873D, Ohio State University.

The Psychology of Mass Politics, Political Science 894, Ohio State University.

Questionnaire Design for Attitude Measurement, Psychology 788, Ohio State University.

Supervisor of graduate student TAs teaching Introduction to Social Psychology, Psychology 320, Ohio State
       University.

Introduction to Social Psychology, Psychology H320 & H367.01, Ohio State University.



       Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 487 of 662       Document 73-1
                                                                                               Page 486
The Psychology of Public Attitudes, Psychology 630, Ohio State University.

Survey Design, Clinical Research Curriculum Program, College of Medicine, College of Optometry, and School
       of Public Health, Ohio State University.

Questionnaire Design for Attitude Measurement, Psychology 711, Summer Institute in Survey Research
       Techniques, University of Michigan.

Cognitive Psychology and Survey Methods, Psychology 988, Summer Institute in Survey Research Techniques,
        University of Michigan.

Response Scales for Satisfaction Measurement, Joint Program in Survey Methodology, University of Maryland-
       University of Michigan.

Designing Effective Questionnaires, Methodology Institute, London School of Economics and Political Science,
       London, United Kingdom.

Techniques for Assessing Questionnaire Quality, Department of Methodology and Statistics, University of
       Amsterdam, The Netherlands.

Assessment of Questionnaire Quality, Interuniversity Graduate School of Psychometrics and Sociometrics,
       University of Amsterdam, The Netherlands.

Advanced Issues in Questionnaire Design, Psychology 688, Summer Institute in Survey Research Techniques,
      University of Michigan.

The Study of Political Change at the Individual Level: The Panel Study, 2001 TMR Winter School in
       Comparative Electoral Research, University of Amsterdam, The Netherlands.

Aviation Marketing (guest lecture), Aviation and Aeronautical Engineering 654, Ohio State University.

Advanced Questionnaire Design: Maximizing Reliability and Validity, Essex Summer School in Social Science
      Data Analysis and Collection, Department of Government, University of Essex, UK.

Introduction to Communication Theory (guest lecturer), Communication 311, Stanford University.

Media Technologies, People, and Society (guest lecturer), Communication 1, Stanford University.

Graduate Research Methods (guest lecturer), Psychology 290, Stanford University.

Questionnaire Design for Surveys and Laboratory Experiments: Social and Cognitive Perspectives,
       Communication 239, Stanford University.

Survey Research Methods: Describing Large Populations with Small Samples and Precise Measures,
       Communication 135, Stanford University.

Advanced Research Design, Communication 318, Stanford University.

Subjective Measurement in Surveys, Joint Program in Survey Methodology, University of Maryland-University
        of Michigan.

Summer Institute in Political Psychology (instructor, co-director, and director), Stanford University.

Communication Research Methods, Communication 106/206, Stanford University.

       Case 2:18-cv-01996-JPS             Filed 09/18/19        Page 488 of 662         Document 73-1
                                                                                                   Page 487
New Models and Methods in the Social Sciences (lecturer), Sociology 384, Stanford University, 2000, 2011,
     2012, 2013, 2014, 2017.

Coping with Climate Change: Life after Copenhagen (guest lecturer), Continuing Studies Sci 31, Stanford
       University.

What the American Public Believes about Climate Change (guest lecture), Introduction to Earth Systems, Earth
       Systems 10, Stanford University.

Language and Attitudes (guest lecture), Topics in Sociolinguistics, Linguistics 259, Stanford University.
The Psychology of Communication about Politics in America, Communication 164, 264; Political Science
       224L, 324, Psychology 170, Stanford University.

Introduction to Communication (guest lecture), Communication 1A, Stanford University.

Research Methods Lecture Series (guest lecture on Questionnaire Design), Summer Research College Program,
       Political Science Department, Stanford University.


Selected News Media Coverage of Research, Interviews, and Quotes

The New York Times                                         The Chronicle Telegram (Elyria, OH)
The Washington Post                                        Chronicle of Higher Education
The Wall Street Journal                                    The Cleveland Plain Dealer
The Christian Science Monitor                              The Clovis News Journal (Clovis, NM)
USA Today                                                  The Columbus Dispatch
US News and World Report                                   The Contra Costa Times (Walnut Creek, CA)
The Economist                                              The Courier Times (Levittown, PA)
New Scientist Magazine                                     The Daily Review (Hayward, CA)
Science                                                    The Dallas Morning News
Scientific American                                        The Dayton Daily News
Nature                                                     The Denver Post
Popular Science                                            The Desert Sun
Glamour                                                    The Detroit Free Press
Time                                                       The Durango Herald
Newsweek                                                   The Fort Wayne Journal Gazette
Business Week                                              The Fort Worth Star-Telegram
The Akron Beacon Journal                                   The Grand Rapids Press
The Alameda Times-Star                                     The Herald Sun (Durham, NC)
The Appeal-Democrat (Marysville, CA)                       The Houston Chronicle
The Athens Banner-Herald                                   Idaho Press
The Anchorage Daily News                                   The Indianapolis Star
The Austin American-Statesman                              The Kansas City Star
The Bellingham Herald (Bellingham, WA)                     The Kentucky Post
The Boston Globe                                           The Ledger (Lakeland, Florida)
The Bryan-College Station Eagle                            The Lansing State Journal
The Bucks County Courier Times                             The Lexington Herald Leader
The Buffalo News                                           The Lincoln Journal Star (Lincoln, NE)
The Centre Daily Times (State College, PA)                 The Los Angeles Sentinel
The Charlotte Observer                                     The Los Angeles Times
The Chattanooga Times Free Press                           The Louisville Courier-Journal
The Chicago Tribune                                        The Manitowoc Herald Times Reporter
The Chicago Sun-Times

       Case 2:18-cv-01996-JPS            Filed 09/18/19      Page 489 of 662         Document 73-1
                                                                                                Page 488
The Metropolitan News-Enterprise (Los Angeles,            The Birmingham Post
CA)                                                       The International Herald Tribune
The Miami Herald                                          The Scotsman
The Minneapolis Star Tribune                              The Sunday Mail
The Mobile Register                                       The Express
The Monterey County Herald                                The Stanford Daily
The Morning Call (Allentown, PA)                          The Ohio State University Lantern
The Nashua Telegraph                                      The Telegraph-Journal, Saint John, New
The New Haven Register                                    Brunswick, Canada
Niagara Gazette, Niagara Falls, New York                  Campaigns and Elections
The Oakland Post                                          Newhouse News Service
The Oakland Tribune                                       The Associated Press
The Ohio County Monitor                                   United Press International
The Orlando Sentinel                                      Gannett News Service
The Philadelphia Inquirer                                 Bloomberg
The Portland Press Herald                                 The Atlantic
The Reading Eagle (Reading, PA)                           Forbes
The Rocky Mountain News                                   Fortune
The Sacramento Bee                                        The Nation
The St. Petersburg Times, St. Petersburg, Florida         This Magazine
The San Francisco Chronicle                               The Daily Beast
The San Francisco Examiner                                Grist
The Sarasota Herald Tribune                               Politifact
Savannah Morning News                                     Law 360
The Seattle Times                                         Psychology Today
The Seattle Post Intelligencer                            California
The Southern Ledger                                       Air Safety Weekly
The Spokane Spokesman-Review                              Mother Jones
The Springfield News Leader                               National Journal
The Springville Journal                                   New York Magazine
The Staten Island Advance                                 Columbia Journalism Review
The Statesman Journal (Salem, Oregon)                     American Psychological Association Monitor
The Scranton Times-Tribune (Scranton,                     The Voice of America
Pennsylvania)                                             ABC World News Sunday
The Star Democrat (Easton, MD)                            ABC World News This Morning
The Syracuse Post-Standard                                ABC World News Now
The Tampa Tribune                                         BBC News
The Titusville Herald                                     BBC World Service
The Union-News and Sunday Republican                      MSNBC
The Washington Examiner                                   CBC Television News
The Washington Times                                      CNN, Lou Dobbs Tonight
The Wenatchee World                                       Fox News
The Wichita Eagle                                         WCMH TV, Columbus, Ohio
The Wisconsin State Journal                               WBNS TV, Columbus, Ohio
The Worcester Telegram (Massachusetts)                    Ohio News Network TV, Columbus, Ohio
The York Daily Record                                     WSYX TV, Columbus, Ohio
The York Dispatch (York, PA)                              WOSU AM, Columbus, Ohio
Ottawa Citizen                                            WOSU FM, Columbus, Ohio
The Jerusalem Post                                        KGO-TV, San Francisco, California
Black Star News                                           KGO AM, San Francisco, California
The Economist                                             KPCC, Pasadena, California
The Financial Times (London)                              KTVU, Oakland, California
The Guardian                                              Bloomberg Radio
The International Herald Tribune                          Pentagon Channel, Sirius Radio

       Case 2:18-cv-01996-JPS            Filed 09/18/19     Page 490 of 662      Document 73-1

                                                                                                Page 489
Air America                                               National Review Online
Rush Limbaugh                                             CNYcentral.com
Jerry Doyle                                               WTOP.com
Morning in American (syndicated radio program)            WBUR
CSPAN-1                                                   Treehugger
Washington Week with Gwen Ifill                           Inside EPA
New Hampshire Public Radio.                               Grist
Weekend Edition Saturday, National Public Radio           Channel4000.com
         (1992, 2006;                                     AARP.org
         http://www.npr.org/templates/story/story.ph      Pentagraph.com
         p?storyId=6471912)                               Environmentalhealthnews.com
Science Friday, National Public Radio (2012,              Wattsupwiththat.com
         http://sciencefriday.com/segment/10/26/201       Daily.sightline.org
         2/in-twitter-we-trust-can-social-media-          Alternet.org
         sway-voters.html)                                Greenreport.it
Living on Earth, National Public Radio                    Word.Emerson.edu
         (http://www.loe.org/shows/shows.htm?prog         DailyFreePress.com
         ramID=06-P13-00015#feature5)                     Thnkprogress.org
The Savage Nation (nationally syndicated radio            Podcast: Stanford School of Medicine 1:2:1:
         program)                                             http://med.stanford.edu/121/2010/krosnick.html
Andrew Wilkow, Sirius Patriot 144, Sirius Radio           “Gibson on Fox”, Fox News Radio
The Climate Code, The Weather Channel.                    “To the Point”, KCRW Radio
OnPoint, E&E TV
(http://www.eande.tv/video_guide/612?search_term
s=krosnick&page=1&sort_type=date)
Conde Naste Portfolio
The Hill
Discovery News
International Business Times
ABCNews.com
CBSNews.com
Slate.com
Aero-news.net
Naturalnews.com
Huffingtonpost.com
Realclearpolitics.com
PhysOrg.com
Climateprogress.org
Climatesciencewatch.org
DailyKos.com
Sciencecentric.com
Miller-McCune.com
Scienceblogs.com
Energysavingsweekly.com
Scientificblogging.com
Careerscientist.com
Scienceblogs.com
Sierraclub.com
Hillheat.com
Projectgroundswell.com
Climatewatch (KQED.org)
Pollster.com
Kuratkull.com
Nature.com

       Case 2:18-cv-01996-JPS            Filed 09/18/19     Page 491 of 662        Document 73-1

                                                                                                  Page 490
Theses and Dissertations Supervised

Boninger, D. S. (1988). The determinants of attitude importance. Master's Thesis. Ohio State
       University.

Chuang, Y. C. (1988). The structure of attitude strength. Master's Thesis. Ohio State University.

Roman, R. J. (1988). A cognitive dissonance interpretation of the timing of punishment. Honors Thesis.
       Ohio State University.

Chuang, Y. C. (1989). Policy voting and persuasion in American presidential elections: The role of
       attitude importance. Ph.D. Dissertation. Ohio State University.

Kost, K. A. (1989). Complexity as a situationally modifiable property of cognitive structure. Master's
        Thesis. Ohio State University.

Li, F. (1989). Order of information acquisition and the effect of base-rates on social judgments. Master's
        Thesis. Ohio State University.

Berent, M. K. (1990). Attitude importance and the recall of attitude-relevant information. Master's
        Thesis. Ohio State University.

Betz, A. L. (1990). Backward conditioning of attitudes using subliminal photographic stimuli. Master's
        Thesis. Ohio State University.

Fabrigar, L. R. (1991). The effect of question order and attitude importance on the false consensus
        effect. Master's Thesis. Ohio State University.

Reed, D. R. (1991). Associative memory structure and the evaluation of political leaders. Ph.D.
       Dissertation. Ohio State University.

Berent, M. K. (1994). Attitude importance and information processing. Ph.D. Dissertation. Ohio State
        University.

Narayan, S. S. (1994). Response effects in attitude surveys: An examination of the satisficing
       explanation. Master's Thesis. Ohio State University.

Miller, J. M. (1994). Mediators and moderators of agenda-setting and priming. Master's Thesis. Ohio
         State University.

Smith, W. A. (1995). Mental coin-flipping and non-differentiation in surveys: Tests of satisficing
       hypotheses. Honors Thesis. Ohio State University.

Visser, P. S. (1995). The relation between age and susceptibility to attitude change: A new approach to
        an old question. Master's Thesis. Ohio State University.

Narayan, S. S. (1995). Satisficing in attitude surveys: The impact of cognitive skills, motivation, and
       task difficulty on response effects. Ph.D. Dissertation. Ohio State University.


                                                                                                          491

    Case 2:18-cv-01996-JPS            Filed 09/18/19        Page 492 of 662         Document 73-1
Ankerbrand, A. L. (1997). Attitude formation and the bivariate model: A study of the relationship
       between beliefs and attitudes. Master’s Thesis. Ohio State University.

Bizer, G. Y. (1997). The relation between attitude importance and attitude accessibility. Master’s
        Thesis. Ohio State University.

Visser, P. S. (1998). Testing the common-factors model of attitude strength. Ph.D. Dissertation. Ohio
        State University.

Miller, J. M. (2000). Threats and opportunities as motivators of political activism. Ph.D. Dissertation.
         Ohio State University.

Chang, L. (2001). A comparison of Samples and response quality obtained from RDD telephone survey
       methodology and Internet survey methodology. Ph.D. Dissertation. Ohio State University.

Holbrook, A. L. (2002). Operative and meta-psychological strength-related attitude features: A study of
       knowledge volume, ambivalence, and accessibility. Ph.D. Dissertation. Ohio State University.

Lampron, S. F. (2002). Self-interest, values, involvement, and susceptibility to attitude change. Master’s
      Thesis. Ohio State University.

Shaeffer, E. M. (2003). Response effects in questionnaires: A comparison of minimally balanced and
        fully balanced forced choice questions and rating and ranking procedures. Master’s Thesis. Ohio
        State University.

Pfent, A. (2004). Rationalization of candidate preferences: New evidence of determinants of attitude
        change. Master’s Thesis. Ohio State University.

Lein, J. (2006). Issue saliency in proximity and directional voting models: A 1996 case study. Honors
         thesis. Stanford University.

Miller, L. E. (2007). Voting in ballot initiative elections. Ph.D. Dissertation. Stanford University.

Bannon, B. (2008). Tell it like it is: News media priming – Extensions and applications. Ph.D.
       Dissertation. Stanford University.

Blocksom, D. (2008). The ballot order effect: The 2004 Presidential election in Ohio. Honors Thesis.
       Stanford University.

Chen, E. (2008). Me first! Assessing the significance of ballot order effects on elections in North
       Dakota. Honors Thesis. Stanford University.

Chiang, I. A. (2008). The principle of congruence in asking questions. Ph.D. Dissertation. Stanford
        University.

Garland, P. (2008). Still hoping for separate and unequal: New perspective son racial attitudes and media
       in America. Ph.D. Dissertation. Stanford University.

Harder, J. (2008). Why do people vote? The relationship between political efficacy and voter turnout.
        Honors Thesis. Stanford University.


                                                                                                        492

    Case 2:18-cv-01996-JPS             Filed 09/18/19       Page 493 of 662         Document 73-1
Malhotra, N. (2008). Essays on survey methodology and bandwagon effects. Ph.D. Dissertation.
       Stanford University.

Schneider, D. (2008). Measurement in surveys and elections: Interviewer effects in election surveys,
       name order on election ballots, and customer satisfaction surveys. Ph.D. Dissertation. Stanford
       University.

Gauthier, L. D. (2010). The false consensus effect: Projection or conformity? Ph.D. Dissertation.
       Stanford University.

Abbasi, D. R. (2011). Americans and climate change: Elite understanding of the gap between science
        and action. Ph.D. Dissertation. Stanford University.

Pasek, J. M. H. (2011). Communication through elections: Three studies exploring the determinants of
        citizen behavior. Ph.D. Dissertation. Stanford University.

Larson, S. (2011). American concern for the environment: Survey question wording and why it matters
        for environmental policy. Honors Thesis. Stanford University.

Lelkes, Y. (2012). Essays on the measurement of public opinion. Ph.D. Dissertation. Stanford
        University.

Gross, W. (2012). Opinions about Hispanics: Causes and consequences. Ph.D. Dissertation. Stanford
       University.

PonTell, E. (2012). Do sweets make you sweeter? Sweet food consumption and acquiescence response
       bias. Honors Thesis. Stanford University.

Kim, N. (2013). Difference and Democracy: Encountering difference in Democratic dialogues. Ph.D.
       Dissertation. Stanford University.

Eddy, G. M. (2013). Remedying a data deficit: A regression analysis of public opinion on healthcare
       reform. Honors Thesis. Stanford University.

Cho, A. (2016). The psychology of economic voting: How voters use economic information to inform
       their political choices. Honors Thesis. Stanford University.

Slavec, A. (2016). Improving survey question wording using language resources. Ph.D. Dissertation.
        University of Ljubljana, Slovenia.

Vannette, D. L. (2017). Predicting and influencing behavior with surveys. Ph.D. Dissertation. Stanford
       University.

Kim, S. (2017). The influence of others: The impact of perceptions of others’ opinions on individual
       attitudes and behavioral intentions. Ph.D. Dissertation. Stanford University.

Höhne, J. K. (2017). Question format, response effort, and response quality – A methodological
       comparison of agree/disagree and item-specific questions. Ph.D. Dissertation. Georg-August-
       Universität Göttingen.



                                                                                                       493

    Case 2:18-cv-01996-JPS           Filed 09/18/19       Page 494 of 662         Document 73-1
Professional Association Memberships

American Psychological Association
Society of Experiment Social Psychology
Society for Personal and Social Psychology
American Political Science Association
American Association for Public Opinion Research


Revised: December, 2018.




                                                                                      494

    Case 2:18-cv-01996-JPS         Filed 09/18/19   Page 495 of 662   Document 73-1
                               Appendix B

                          Survey Questionnaire




                                                                            495

Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 496 of 662   Document 73-1
PROGRAMMING NOTES:
  • Throughout, horizontal lines indicate page breaks
  • Respondents will be randomly assigned to see one kind of dog food using the
    variable “fc”:
       o IF = 1, RESPONDENT WILL SEE ORIJEN REGIONAL RED
       o IF = 2, RESPONDENT WILL SEE ACANA REGIONALS APPALACHIAN
           RANCH
       o IF = 3, RESPONDENT WILL SEE ACANA HERITAGE RED MEAT
  • Respondents will be randomly assigned to see or not see a set of information about
    pentobarbital
       o IF pento = 1, respondents will see the information set 1: “The dog food you
           saw may contain a drug called pentobarbital. According to the U.S.
           government, pentobarbital is used to calm animals, to put them to sleep, to
           reduce their feelings of pain, and to end their lives.”
       o IF pento = 2, respondents will see the information set 2: “According to the
           U.S. government, the dog food you saw was made with meat products
           provided by a company that did not make sure to keep out meat from
           animals whose lives had been ended by giving them a drug called
           pentobarbital.”
       o IF pento=3, respondents will see no information
  • TST will provide randomizations for USC’s use.
  • RECORD THE NUMBER OF SECONDS THAT EACH RESPONDENT SAW
    EACH SCREEN.
  • IF A RESPONDENT SKIPS A QUESTION WITHOUT ANSWERING IT,
    REDISPLAY THE SCREEN AND PUT THE FOLLOWING TEXT IN YELLOW
    AT THE TOP OF THE SCREEN: “We noticed that you didn’t answer the question
    below. We would be really grateful if you’d be willing to answer it as accurately as
    you can, even if you’re not completely sure of your answer. But if you prefer not to
    answer the question, just click on the “Next” button below.”



INTRO1. Thank you for participating in this research.

Please complete this questionnaire all at one time without taking a break - it should take you
about 25 minutes.

After you answer each question, you can move on to the next question by clicking the “Next”
button at the bottom of the screen.


INTRO2. Please do not click your browser’s forward or back button. If you do, you will have to
start the questionnaire again from the beginning.


                                                                                                 496

    Case 2:18-cv-01996-JPS         Filed 09/18/19       Page 497 of 662      Document 73-1
DOG_EVER. To begin, have you ever owned a dog, or have you never owned a dog?

   •   Have owned a dog
   •   Have never owned a dog



PRODUCT_INSTRUCTION.
On the next screens, you will see pictures of a dog food sold in the U.S.

Please look at each picture carefully. After you have finished looking at each picture, please
click the “Next” button to move to the next screen.


DISPLAY IF fc = 1

                                  This is the front of the bag




                                                                                                 497

    Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 498 of 662        Document 73-1
DISPLAY IF fc = 1

                    This is a close-up of the top part of the front of the bag




DISPLAY IF fc = 1

                This is a close-up of the middle part of the front of the bag




                                                                                            498

   Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 499 of 662       Document 73-1
DISPLAY IF fc = 1

              This is a close-up of the bottom part of the front of the bag




DISPLAY IF fc = 1

On the next few screens, you will see the words that are printed on the front of the bag you
just saw. Please read the words on each screen and then go on to the next screen.


DISPLAY IF fc = 1

EASY OPEN LIFT AND PULL TAB TO YOUR RIGHT

DO NOT CUT

Orijen®

NOURISH AS NATURE INTENDED

AMERICA’S VAST AND FERTILE LANDS-OUR SOURCE OF INSPIRATION AND
FRESH REGIONAL INGREDIENTS

WHOLEPREY™ DIET

MEAT | ORGANS | CARTILAGE

85% MEAT AND FISH INGREDIENTS +

15% VEGETABLES | FRUITS | BOTANICALS + ESSENTIAL VITAMINS & MINERALS +

0% GRAIN | POTATO | TAPIOCA | PLANT PROTEIN CONCENTRATES

                                                                                         499

   Case 2:18-cv-01996-JPS        Filed 09/18/19     Page 500 of 662     Document 73-1
PREMIUM MEAT AND FISH INGREDIENTS 2/3 FRESH OR RAW AND 1/3 DRIED

*Plus natural preservatives. Contains a source of live (viable) naturally occurring
microorganisms.

Regional Red

BIOLOGICALLY APPROPRIATE™ DOG FOOD

MADE WITH REGIONAL RED MEATS DELIVERED FRESH OR RAW DAILY

ANGUS BEEF, WILD BOAR, BOER GOAT, ROMNEY LAMB, YORKSHIRE PORK &
WILD-CAUGHT MACKEREL

BA

BIOLOGICALLY APPROPRIATE™

PROTEIN-RICH | CARBOHYDRATE-LIMITED


DISPLAY IF fc = 1

10 FRESH OR RAW

TOP 10 FRESH OR RAW

PREMIUM ANIMAL INGREDIENTS

WHOLEPREY™ DIET

MEAT | ORGANS | CARTILAGE

LOW TEMP 200°F

LOW TEMPERATURE

PREMIUM MEAT INGREDIENTS

FD

                                                                                             500

     Case 2:18-cv-01996-JPS        Filed 09/18/19      Page 501 of 662       Document 73-1
FREEZE-DRIED LIVER

INFUSED FOR NATURAL FLAVOR

MADE IN OUR USA KENTUCKY KITCHENS | PREPARED WITH PRIDE FROM
TRUSTED REGIONAL INGREDIENTS

*MAXIMUM 20% CARBOHYDRATE (AS ESTIMATED BY NFE)

Orijen®

NOURISH AS NATURE INTENDED

Regional Red

BIOLOGICALLY APPROPRIATE™ DOG FOOD

NET WEIGHT 13 LB | 5.9 KG

WHOLEPREY™ DIET | 85 15 0

DOG FOOD FOR ALL BREEDS AND LIFE STAGES


DISPLAY IF fc = 1

                            This is the back of the bag




                                                                                 501

   Case 2:18-cv-01996-JPS   Filed 09/18/19     Page 502 of 662   Document 73-1
DISPLAY IF fc = 1

                    This is a close-up of the top part of the back of the bag




DISPLAY IF fc = 1

                This is a close-up of the middle part of the back of the bag




                                                                                            502

   Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 503 of 662       Document 73-1
DISPLAY IF fc = 1

                 This is a close-up of the bottom part of the back of the bag




DISPLAY IF fc = 1

On the next few screens, you will see the words that are printed on the back of the bag you
saw earlier. Please read the words on each screen and then go on to the next screen.


DISPLAY IF fc = 1

Orijen®

NOURISH AS NATURE INTENDED

AWARD-WINNING BIOLOGICALLY APPROPRIATE™ DOG FOOD

2014

LEADERSHIP AWARDS “FOOD INNOVATION”

2015

ALBERTA EXPORT AWARD FOR CONSUMER PRODUCTS

2015

TOP 10 BEST DOG FOOD BRANDS


                                                                                          503

   Case 2:18-cv-01996-JPS        Filed 09/18/19     Page 504 of 662       Document 73-1
REVIEWS.COM

2015

INNOVATION AWARD

PETFOOD & ANIMAL NUTRITION 2.0

2015 | 2016

ALBERTA AWARD OF DISTINCTION

2015-2016

EXCELLENCE IN CANINE PET FOOD

GLYCEMIC RESEARCH INSTITUTE WASHINGTON DC

TRUSTED EVERYWHERE.

TRUSTED BY PET LOVERS EVERYWHERE, ORIJEN IS THE FULLEST EXPRESSION
OF OUR BIOLOGICALLY APPROPRIATE™ AND FRESH REGIONAL INGREDIENTS
COMMITMENT.

Brimming with Angus beef, wild boar, Boer goat, Romney lamb, whole wild-caught Atlantic
mackerel and Yorkshire pork delivered from our region FRESH or RAW each day, ORIJEN
Regional Red is loaded with goodness and taste.

Prepared exclusively in our state-of-the-art DogStar® Kitchens, award-winning ORIJEN is
guaranteed to keep your cherished dog happy, healthy and strong.

Reinhard Muhlenfeld

Founder


DISPLAY IF fc = 1

BIOLOGICALLY APPROPRIATE™

NOURISH AS NATURE INTENDED-ORIJEN mirrors the richness, freshness and variety of
WholePrey™ meats that dogs are evolved to eat.

                                                                                          504

   Case 2:18-cv-01996-JPS        Filed 09/18/19     Page 505 of 662     Document 73-1
FRESH REGIONAL INGREDIENTS

GROWN CLOSE TO HOME-We focus on local ingredients that are ethically raised by people
we know and trust, and delivered to our kitchens fresh or raw each day.

NEVER OUTSOURCED

PREPARED EXCLUSIVELY IN OUR DOGSTAR® KITCHENS-We don’t make foods for
other companies and we don’t allow our foods to be made by anyone else.

PEOPLE WE TRUST

INGREDIENTS WE LOVE FROM PEOPLE WE KNOW AND TRUST

Kentucky Proud™

JONATHAN OF JSW FARMS IN LIBERTY, KENTUCKY. TRUSTED SUPPLIER OF
FRESH LOCAL BEEF.

OUR DOGSTAR® KITCHENS

AWARD-WINNING FOODS

AWARD-WINNING KITCHENS

MATTHEW, COMMITTED TO FOOD SAFETY AND TRUSTED QUALITY.

FRESH AND REGIONAL

DELIVERED DAILY FROM LOCAL FARMS AND RANCHES

GRASS-FED KENTUCKY LAMB. DELIVERED FRESH OR RAW DAILY.


DISPLAY IF fc = 1

THIS 13 LB PACKAGE OF ORIJEN REGIONAL RED IS MADE WITH OVER 11 LB* OF
FRESH, RAW OR DRIED ANIMAL INGREDIENTS | 2/3 FRESH OR RAW + 1/3 DRIED*




                                                                                    505

   Case 2:18-cv-01996-JPS      Filed 09/18/19   Page 506 of 662     Document 73-1
3 LB* FRESH BEEF, ORGANS, CARTILAGE +

1 1/4 LB* FRESH OR RAW WILD BOAR, ORGANS +

1/2 LB* FRESH BOER GOAT +

1 3/5 LB* FRESH OR RAW LAMB, MUTTON, ORGANS +

1/2 LB* FRESH OR RAW WHOLE ATLANTIC MACKEREL +

1 LB* FRESH PORK, ORGANS, CARTILAGE

*PLUS 3 1/4 LB* OF GENTLY DEHYDRATED BEEF, GOAT, LAMB, MACKEREL AND
HERRING

*APPROXIMATE INCLUSIONS.

WHOLEPREY™ DIET

MEAT | ORGANS | CARTILAGE

IN HER INFINITE WISDOM, MOTHER NATURE MATCHED THE NUTRIENTS IN
WHOLE PREY ANIMALS TO PERFECTLY MEET YOUR DOG’S DIETARY NEEDS.

That’s why ORIJEN REGIONAL RED features richly nourishing ratios of fresh meats, organs,
cartilage and fresh whole fish, providing a concentrated source of virtually every nutrient your
dog needs, without long lists of synthetic supplements.


DISPLAY IF fc = 1

LOW TEMP 200°F

LOW TEMPERATURE

PREMIUM DRIED RED MEAT AND FISH INGREDIENTS

MOST PET FOODS ARE MADE WITH MEAT AND FISH MEALS, INGREDIENTS THAT
ARE RENDERED AT A HIGH TEMPERATURE FROM ANIMAL BY-PRODUCTS.




                                                                                              506

   Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 507 of 662      Document 73-1
ORIJEN REGIONAL RED features premium dried meat and fish, prepared at a low temperature
(200°F) from fresh ingredients that meet European Union Certification Standards-gently
concentrating their goodness into a richly nourishing source of protein.

MADE IN OUR USA KENTUCKY KITCHENS

ORIJEN REGIONAL RED

MODERN DOGS ARE BUILT LIKE THEIR ANCESTORS, WE BELIEVE THEY SHOULD
EAT LIKE THEM TOO.

That’s why ORIJEN REGIONAL RED is loaded with Angus beef, wild boar, Boer goat,
Romney lamb and Yorkshire pork, delivered FRESH or RAW in nourishing WholePrey™ ratios
and brimming with goodness and taste.

Prepared in our DogStar® Kitchens, award-winning ORIJEN is guaranteed to keep your dog
healthy, happy and strong.

Read our ingredients and we think you’ll agree.


DISPLAY IF fc = 1

INGREDIENTS

Deboned beef, deboned wild boar, deboned goat, deboned lamb, lamb liver, beef liver, beef tripe,
wild boar liver, deboned mutton, beef heart, whole atlantic mackerel, deboned pork, goat meal,
beef meal, lamb meal, mackerel meal, whole red lentils, whole pinto beans, beef kidney, pork
liver, herring meal, mutton meal, whole green peas, whole green lentils, whole navy beans,
whole chickpeas, natural pork flavor, beef fat, lentil fiber, pork kidney, alaskan pollock oil,
whole yellow peas, lamb tripe, wild boar heart, wild boar cartilage, beef cartilage, whole
pumpkin, whole butternut squash, mixed tocopherols (preservative), dried kelp, zinc proteinate,
kale, spinach, mustard greens, collard greens, turnip greens, whole carrots, whole apples, whole
pears, freeze-dried beef liver, freeze-dried beef tripe, freeze-dried lamb liver, freeze-dried lamb
tripe, pumpkin seeds, sunflower seeds, chicory root, turmeric, sarsaparilla root, althea root,
rosehips, juniper berries, dried lactobacillus acidophilus fermentation product, dried
bifidobacterium animalis fermentation product, dried lactobacillus casei fermentation product.

GUARANTEED ANALYSIS
 Crude protein (min.)                                      38%
 Crude fat (min.)                                          18%

                                                                                               507

    Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 508 of 662       Document 73-1
 Crude fiber (max.)                                        4%
 Moisture (max.)                                          12%
 DHA (docosahexaenoic acid) (min.)                       0.4%
 EPA (eicosapentaenoic acid) (min.)                      0.2%
 Calcium (min.)                                          1.9%
 Phosphorus (min.)                                       1.4%
 Omega-6 fatty acids* (min.)                               2%
 Omega-3 fatty acids* (min.)                               1%
 Glucosamine* (min.)                               400 mg/kg
 Chondroitin sulfate* (min.)                       400 mg/kg
 Total Microorganisms* (min.)                   100M CFU/lb
(Lactobacillus acidophilus, Bifidobacterium animalis, Lactobacillus casei)

*Not recognized as an essential nutrient by the AAFCO Dog Food Nutrient Profiles


DISPLAY IF fc = 1

CALORIE CONTENT

Calorie content (calculated): ME 3860 kcal/kg, 440 kcal per 8 oz cup.

Calories distributed to support peak conditioning with 39% from protein, 19% from vegetables
and fruits, and 42% from fat.

MADE BY CHAMPION PETFOODS USA INC.

12871 BOWLING GREEN ROAD

AUBURN, KENTUCKY 42206

US REG. 15415996410 | EU REG.

CHAMPIONPETFOODS.COM

DOGSTAR® KITCHENS

CUSTOMER CARE (USA)

TOLL FREE 1.877.939.0006




                                                                                             508
   Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 509 of 662        Document 73-1
FOLLOW US ONLINE

ORIJEN.CA

@ORIJENPETFOOD @CHAMPIONPETFOOD

REGIONAL RED FOR DOGS

13 LB | 5.9 KG


DISPLAY IF fc = 1

                                  This is one side of the bag




DISPLAY IF fc = 1

On the next screen, you will see the words that are printed on one side of the bag you saw
earlier. Please read the words on each screen and then go on to the next screen.


DISPLAY IF fc = 1

MADE IN OUR USA KENTUCKY KITCHENS

DAILY RATION AND FEEDING GUIDE

8 OZ CUP IS 114 G OF FOOD

 DOG WEIGHT         LESS ACTIVE                       ACTIVE
                    (1 hour or LESS daily exercise)   (1 hour or MORE daily exercise)

 LB         KG      CUPS/DAY        GR/DAY            CUPS/DAY          GR/DAY
 4 1/2 lb   2 kg    1/4 c           28 g              1/3 c             38 g
 11 lb      5 kg    1/2 c           57 g              3/4 c             86 g
 22 lb      10 kg   3/4 c           86 g              1 1/3 c           152 g
 44 lb      20 kg   1 1/2 c         171 g             2 1/4 c           257 g
 66 lb      30 kg   2c              228 g             3c                342 g



                                                                                          509
   Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 510 of 662     Document 73-1
 88 lb     40 kg    2 1/2 c          285 g             3 3/4 c             428 g
 110 lb    50 kg    3c               342 g             4 1/2 c             513 g
 132 lb    60 kg    3 1/3 c          380 g             5c                  570 g

EVERY DOG IS DIFFERENT.

Just like you, your dog is a unique individual with feeding requirements that will vary with
environment, age and activity.

This chart provides an initial guide, and we suggest monitoring your dog’s weight and adjusting
amounts as needed. Feed twice daily, and always keep fresh, clean water available.

PUPPIES: at 1 1/2-3months old feed twice the adult amount. At 3-6 months feed 1 1/2 times the
adult amount. At 6-11 months feed 1 1/4 times the adult amount.

GESTATION: increase from 25% to 50% of the adult amount. LACTATION: feed “free
choice.”

ORIJEN Regional Red Dog is formulated to meet the nutritional levels established by the
AAFCO Dog Food Nutrient Profiles for All Life Stages, except for growth of large size dogs (70
lb. or more as an adult).


DISPLAY IF fc = 1

                                This is the other side of the bag




DISPLAY IF fc = 1

On the next screen, you will see the words that are printed on the other side of the bag you
saw earlier. Please read the words on each screen and then go on to the next screen.


DISPLAY IF fc = 1

Regional Red




                                                                                               510
    Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 511 of 662       Document 73-1
WHOLEPREY™ DIET | 85 15 0

MADE IN OUR USA KENTUCKY KITCHENS




                                                                               511
  Case 2:18-cv-01996-JPS    Filed 09/18/19   Page 512 of 662   Document 73-1
DISPLAY IF fc = 2

                            This is the front of the bag




                                                                                 512
   Case 2:18-cv-01996-JPS   Filed 09/18/19     Page 513 of 662   Document 73-1
DISPLAY IF fc = 2

                    This is a close-up of the top part of the front of the bag




DISPLAY IF fc = 2

                This is a close-up of the middle part of the front of the bag




DISPLAY IF fc = 2

                This is a close-up of the bottom part of the front of the bag




                                                                                            513
   Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 514 of 662       Document 73-1
DISPLAY IF fc = 2

On the next few screens, you will see the words that are printed on the front of the bag you
just saw. Please read the words on each screen and then go on to the next screen.


DISPLAY IF fc = 2

EASY OPEN | LIFT AND PULL TAB TO YOUR RIGHT

DO NOT CUT

AMERICAN CHOICE AWARDS 2017

VOTED Best Brand

National Winner ★★★★★

REGIONALS

BIOLOGICALLY APPROPRIATE™ | REGIONALLY INSPIRED

UNMATCHED REGIONAL INGREDIENTS

FRESH OR RAW

ETHICALLY RAISED on AMERICAN FARMS & RANCHES

ANGUS BEEF Wolfe County, KY

YORKSHIRE PORK Rockfield, KY

GRASS-FED LAMB Garrard County, KY

FRESHWATER CATFISH Livingston County, KY

AMERICAN BISON Shelbyville, KY

BIOLOGICALLY APPROPRIATE™ RATIOS

70% RED MEAT & FISH INGREDIENTS

INCLUDING MEAT, LIVER, TRIPE AND CARTILAGE

30% VEGETABLES, FRUITS & BOTANICALS




                                                                                         514
   Case 2:18-cv-01996-JPS        Filed 09/18/19     Page 515 of 662     Document 73-1
ESSENTIAL VITAMINS AND MINERALS*

0% NO GRAIN, POTATO, TAPIOCA

GLUTENS OR ANY OTHER PLANT PROTEIN CONCENTRATES

* Plus natural preservatives. Contains a source of live (viable) naturally occurring
microorganisms.


DISPLAY IF fc = 2

WHOLEPREY™ DIET

MEAT | ORGANS | CARTILAGE

ACANA®

AMERICA’S FERTILE FARMS AND RANCHES

OUR SOURCE OF INSPIRATION AND FRESH REGIONAL INGREDIENTS

Appalachian Ranch

with RANCH-RAISED RED MEATS & FRESHWATER CATFISH

BIOLOGICALLY APPROPRIATE™ | REGIONALLY INSPIRED

BA

BIOLOGICALLY APPROPRIATE™

PROTEIN-RICH, CARBOHYDRATE-LIMITED*

WHOLEPREY DIET™

MEAT, LIVER, TRIPE AND CARTILAGE




DISPLAY IF fc = 2

TOP SIX INGREDIENTS

FROM RANCH-RAISED BEEF, PORK AND LAMB



                                                                                              515
     Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 516 of 662       Document 73-1
FD

HIGH PALATABILITY

INFUSED WITH FREEZE-DRIED BEEF AND LAMB LIVER

FRESH AND LOCAL

KENTUCKY VEGETABLES, FRUITS AND BOTANICALS

*MAXIMUM 25% CARBOHYDRATE (AS ESTIMATED BY NFE)

COMPLETE FOOD

FOR DOGS

ALL BREEDS | ALL LIFE STAGES

NET WEIGHT

13 LB | 5.9 KG

MADE IN OUR USA KENTUCKY KITCHENS

PREPARED WITH PRIDE FROM TRUSTED REGIONAL INGREDIENTS

ACANA®

REGIONALS

Appalachian Ranch

with RANCH-RAISED RED MEATS & FRESHWATER CATFISH

COMPLETE FOOD

FOR DOGS

ALL BREEDS | ALL LIFE STAGES




                                                                                 516
     Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 517 of 662   Document 73-1
DISPLAY IF fc = 2

                                  This is the back of the bag




DISPLAY IF fc = 2

                    This is a close-up of the top part of the back of the bag




                                                                                            517
   Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 518 of 662       Document 73-1
DISPLAY IF fc = 2

                  This is a close-up of the middle part of the back of the bag




DISPLAY IF fc = 2

                  This is a close-up of the bottom part of the back of the bag




DISPLAY IF fc = 2

On the next few screens, you will see the words that are printed on the back of the bag you
saw earlier. Please read the words on each screen and then go on to the next screen.


DISPLAY IF fc = 2

ACANA

OUR MISSION IS CLEAR AND STRONG.

We’ve been making BIOLOGICALLY APPROPRIATE™ ACANA dog foods from FRESH
REGIONAL INGREDIENTS in our AWARD-WINNING KITCHENS since 1985.

Regionally inspired, ACANA REGIONALS are Biologically Appropriate™ foods, brimming
with ranch-raised meats, free-run poultry, nest-laid eggs and wild-caught fish, plus sun-ripened




                                                                                              518
    Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 519 of 662       Document 73-1
vegetables, fruits and botanicals-grown close to home by people we trust and delivered to our
kitchens FRESH or RAW, so they’re bursting with goodness and taste.

BIOLOGICALLY APPROPRIATE™

Our foods mirror the richness, freshness and variety of meats for which DOGS ARE EVOLVED
TO EAT.

FRESH REGIONAL INGREDIENTS

We focus on fresh ingredients from our region that are ranched, farmed or fished by people we
know and trust.

NEVER OUTSOURCED

We prepare our OWN FOODS in our OWN KITCHENS and we DON’T make foods for anyone
else.

REGIONALS

BIOLOGICALLY APPROPRIATE™ | REGIONALLY INSPIRED

INGREDIENTS WE LOVE

PEOPLE WE TRUST

FOOD CHOICES ARE SOME OF OUR MOST IMPORTANT DECISIONS AND KNOWING
WHERE YOUR FOOD IS FROM HAS TAKEN ON NEW IMPORTANCE.

That’s why we make ACANA in our own kitchens, from Fresh Regional Ingredients raised by
people we trust, like Rob of Bluegrass Bison in Shelbyville, Kentucky-trusted supplier of fresh
ranch-raised bison.


DISPLAY IF fc = 2

ROB OF BLUEGRASS BISON IN SHELBYVILLE, KENTUCKY. TRUSTED SUPPLIERS
OF FRESH RANCH-RAISED BISON.
Appalachian Ranch

REGIONALS FORMULA

COMPLETE FOOD

FOR DOGS




                                                                                                519
   Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 520 of 662       Document 73-1
ALL BREEDS | ALL LIFE STAGES

HONORING THE APPALACHIAN RANCHING HERITAGE, THIS REGION-INSPIRED
DOG FOOD IS LOADED WITH ANGUS BEEF, AMERICAN YORKSHIRE PORK,
KENTUCKY LAMB AND AMERICAN BISON, PLUS LOCAL VEGETABLES, FRUITS
AND BOTANICALS.

Delivered FRESH or RAW, in WholePrey™ ratios, and brimming with goodness and taste,
ACANA’s high inclusions and rich diversity of meats, organs and cartilage mirror your dog’s
evolutionary diet and nourish peak health naturally, without the need for long lists of synthetic
ingredients and supplements.

Prepared in our Kentucky DogStar® Kitchens with Fresh Regional Ingredients, this unique and
Biologically Appropriate™ food is guaranteed to keep your dog healthy, happy and strong. Read
our ingredients and we think you’ll agree!



DISPLAY IF fc = 2

INGREDIENTS

Deboned beef, deboned pork, deboned lamb, lamb meal, beef meal, pork meal, whole red lentils,
whole pinto beans, beef liver, beef fat, whole green lentils, whole green peas, whole chickpeas,
catfish meal, deboned bison, whole blue catfish, pollock oil, lentil fiber, natural pork flavor,
whole yellow peas, beef tripe, mutton tripe, lamb liver, pork liver, beef kidney, pork kidney, beef
cartilage, whole pumpkin, whole butternut squash, mixed tocopherols (preservative), sea salt,
zinc proteinate, dried kelp, kale, spinach, mustard greens, collard greens, turnip greens, whole
carrots, whole apples, whole pears, vitamin A acetate, vitamin D3 supplement, freeze-dried beef
liver, freeze-dried lamb liver, pumpkin seeds, sunflower seeds, copper proteinate, chicory root,
turmeric, sarsaparilla root, althea root, rosehips, juniper berries, dried lactobacillus acidophilus
fermentation product, dried bifidobacterium animalis fermentation product, dried lactobacillus
casei fermentation product.

CALORIE CONTENT (calculated): Metabolizable Energy is 3405 kcal/kg (388 kcal per 8 oz
cup).

Calories distributed to support peak conditioning with 34% from protein, 24% from
carbohydrates, and 42% from fat.



  GUARANTEED ANALYSIS
  Crude protein (min.)                                     33%
  Crude fat (min.)                                         17%
  Crude fiber (max.)                                        6%


                                                                                                520
    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 521 of 662       Document 73-1
  Moisture (max.)                                      12%
  DHA (docosahexaenoic acid) (min.)                   0.1%
  EPA (eicosapentaenoic acid) (min.)                  0.1%
  Calcium (min.)                                      1.7%
  Phosphorus (min.)                                   1.2%
  Omega-6 fatty acids* (min.)                         1.8%
  Omega-3 fatty acids* (min.)                         0.6%
  Glucosamine* (min.)                            250 mg/kg
  Total Microorganisms* (min.)                100M CFU/lb
  (Lactobacillus acidophilus, Bifidobacterium
  animalis, Lactobacillus casei)

*Not recognized as an essential nutrient by the AAFCO Dog Food Nutrient Profiles



DISPLAY IF fc = 2

DAILY RATION AND FEEDING GUIDE

8 OZ CUP IS 114 G OF FOOD

DOG                               LESS ACTIVE                        ACTIVE
WEIGHT                            1 hour or LESS daily exercise      1 hour or MORE daily exercise
LB               KG               CUPS/DAY          GR/DAY           CUPS/DAY         GR/DAY
4 lb             2 kg             1/3 c             38 g             1/2 c            57 g
11 lb            5 kg             2/3 c             76 g             1c               114 g
22 lb            10 kg            1c                114 g            1 1/2 c          171 g

44 lb            20 kg            1 2/3 c           190 g            2 1/2 c          285 g
66 lb            30 kg            2 1/3 c           266 g            3 1/2 c          399 g
88 lb            40 kg            3c                342 g            4 1/4 c          485 g

110 lb           50 kg            3 1/3 c           380 g            5c               570 g
132 lb           60 kg            4c                456 g            5 3/4 c          656 g

EVERY DOG IS DIFFERENT. FEEDING AMOUNT WILL VARY WITH AGE AND
ACTIVITY.

Use this chart as an initial guide and adjust amounts accordingly.


                                                                                               521
     Case 2:18-cv-01996-JPS        Filed 09/18/19      Page 522 of 662         Document 73-1
Feed twice daily and always provide fresh clean water.

PUPPIES: at 1 1/2-3 months old feed twice the adult amount, at 3-6 months feed 1 1/2 times the
adult amount. At 6-11 months feed 1 1/4 times the adult amount.

GESTATION: increase from 25% to 50% of the adult amount.

LACTATION: feed “free choice.”

ACANA Appalachian Ranch Dog is formulated to meet the nutritional levels established by the
AAFCO Dog Food Nutrient Profiles for All Life Stages, except for growth of large size dogs (70
lb or more as an adult).

Made with UNMATCHED REGIONAL INGREDIENTS

DELIVERED FRESH

THIS 13 LB PACKAGE OF ACANA IS MADE WITH OVER 9 LB PREMIUM ANIMAL
INGREDIENTS

Half are FRESH or RAW and loaded with goodness and taste, and half are DRIED or OILS that
provide a strong and natural source of animal proteins and fats.



DISPLAY IF fc = 2

2 LB* BEEF, LIVER, TRIPE +

1 LB* PORK, LIVER, KIDNEY +

3/4 LB* LAMB, LIVER, TRIPE +

6 1/2 OZ* FRESHWATER CATFISH +

6 1/2 OZ* AMERICAN BISON

PLUS 4 1/2 LB* OF DRIED BEEF, PORK, LAMB AND FISH INGREDIENTS

*APPROXIMATE AMOUNTS

WHOLEPREY™ DIET

MEAT | ORGANS | CARTILAGE




                                                                                           522
   Case 2:18-cv-01996-JPS         Filed 09/18/19     Page 523 of 662      Document 73-1
IN HER ETERNAL WISDOM, MOTHER NATURE MATCHED THE NUTRIENTS FOUND
IN WHOLE FISH, FOWL AND GAME TO PERFECTLY MEET THE NEEDS OF YOUR
DOG.

Mirroring Mother Nature, ACANA WholePrey™ foods feature a nourishing balance of meat,
liver, tripe, kidney and cartilage-all of which reflect the whole prey animal, DELIVERING
NUTRIENTS NATURALLY.

That’s why you won’t find long lists of synthetic additives in ACANA foods.

OUR INGREDIENTS.

OUR KITCHENS.

OUR FOOD.

TRUSTED EVERYWHERE.

JOHN OF ROUNDSTONE NATIVE SEED IN UPTON, KENTUCKY.

TRUSTED SUPPLIER OF FRESH AND LOCAL BOTANICALS.

Kentucky Proud

MADE IN KENTUCKY BY CHAMPION PETFOODS USA INC.

12871 BOWLING GREEN ROAD, AUBURN, KENTUCKY 42206

US REG. 15415996410 | EU REG.

CHAMPIONPETFOODS.COM

DOGSTAR

KITCHENS

CUSTOMER CARE (USA)

TOLL FREE 1.877.939.0006

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@ACANAPETFOOD @CHAMPIONPETFOOD




                                                                                            523
   Case 2:18-cv-01996-JPS         Filed 09/18/19    Page 524 of 662       Document 73-1
AD_003

APPALACHIAN RANCH DOG REGIONALS FORMULA

13 LB | 5.9 KG



DISPLAY IF fc = 2

                                 This is one side of the bag




DISPLAY IF fc = 2

On the next screen, you will see the words that are printed on one side of the bag you saw
earlier. Please read the words on each screen and then go on to the next screen.


DISPLAY IF fc = 2

UNMATCHED REGIONAL INGREDIENTS

FRESH OR RAW

ETHICALLY RAISED on AMERICAN FARMS & RANCHES

REGIONALS

Appalachian Ranch

with RANCH-RAISED RED MEATS & FRESHWATER CATFISH

COMPLETE FOOD

FOR DOGS

ALL BREEDS | ALL LIFE STAGES




                                                                                        524
   Case 2:18-cv-01996-JPS        Filed 09/18/19     Page 525 of 662     Document 73-1
DISPLAY IF fc = 2

                              This is the other side of the bag




DISPLAY IF fc = 2

On the next screen, you will see the words that are printed on the other side of the bag you
saw earlier. Please read the words on each screen and then go on to the next screen.


DISPLAY IF fc = 2

MADE IN OUR USA KENTUCKY KITCHENS

Made with unmatched REGIONAL INGREDIENTS KENTUCKY KITCHENS

REGIONALS

Appalachian Ranch

with RANCH-RAISED RED MEATS & FRESHWATER CATFISH

COMPLETE FOOD

FOR DOGS

ALL BREEDS | ALL LIFE STAGES




                                                                                         525
   Case 2:18-cv-01996-JPS        Filed 09/18/19     Page 526 of 662      Document 73-1
DISPLAY IF fc = 3

                            This is the front of the bag




                                                                                 526
   Case 2:18-cv-01996-JPS   Filed 09/18/19     Page 527 of 662   Document 73-1
DISPLAY IF fc = 3

                    This is a close-up of the top part of the front of the bag




DISPLAY IF fc = 3

                This is a close-up of the middle part of the front of the bag




                                                                                            527
   Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 528 of 662       Document 73-1
DISPLAY IF fc = 3

                 This is a close-up of the bottom part of the front of the bag




DISPLAY IF fc = 3

On the next few screens, you will see the words that are printed on the front of the bag you
just saw. Please read the words on each screen and then go on to the next screen.


DISPLAY IF fc = 3

EASY OPEN

LIFT AND PULL TAB TO YOUR RIGHT

DO NOT CUT

AMERICAN CHOICE AWARDS VOTED Best Brand National Winner

UNMATCHED REGIONAL INGREDIENTS

DELIVERED FRESH OR RAW

ANGUS BEEF Liberty, Kentucky

+

YORKSHIRE PORK Fannettsburg, Pennsylvania

+

GRASS-FED LAMB Russellville, Kentucky



                                                                                          528
    Case 2:18-cv-01996-JPS        Filed 09/18/19     Page 529 of 662      Document 73-1
+

VEGETABLES & FRUITS Kentucky farms

NON-GMO INGREDIENTS FROM AMERICAN RANCHES AND FARMS

ACANA®

HERITAGE

OUR ORIGINAL BIOLOGICALLY APPROPRIATE™ FOODS

AMERICA’S FERTILE FARMS AND RANCHES

OUR SOURCE OF INSPIRATION AND FRESH REGIONAL INGREDIENTS

RED MEAT FORMULA with FRESH ANGUS BEEF, YORKSHIRE PORK & GRASS-FED
LAMB

60% PREMIUM MEAT INGREDIENTS

IN NOURISHING WHOLEPREY™ RATIOS

40% VEGETABLES, FRUITS, BOTANICALS

PLUS ESSENTIAL VITAMINS AND MINERALS†

0% GRAIN, POTATO, GLUTENS

POULTRY BY-PRODUCTS, PLANT PROTEIN CONCENTRATES

*MAXIMUM 30% CARBOHYDRATE (AS ESTIMATED BY NFE)

USA AWARD-WINNING DOGSTAR® KITCHENS

SAFE QUALITY FOOD CERTIFIED KITCHEN

†Plus natural preservatives. Contains a source of live (viable) naturally occurring
microorganisms.


DISPLAY IF fc = 3

WHOLEPREY™ DIET

MEAT | ORGANS | CARTILAGE



                                                                                              529
    Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 530 of 662        Document 73-1
ACANA®

AMERICA’S FERTILE FARMS AND RANCHES

OUR SOURCE OF INSPIRATION AND FRESH REGIONAL INGREDIENTS

Appalachian Ranch

with RANCH-RAISED RED MEATS & FRESHWATER CATFISH

BIOLOGICALLY APPROPRIATE™ | REGIONALLY INSPIRED

BA

BIOLOGICALLY APPROPRIATE™

PROTEIN-RICH, CARBOHYDRATE-LIMITED*

WHOLEPREY DIET™

MEAT, LIVER, TRIPE AND CARTILAGE




DISPLAY IF fc = 3

BIOLOGICALLY APPROPRIATE™

RICH IN ANIMAL PROTEIN, CARBOHYDRATE-LIMITED*

WHOLEPREY™ SUPERFOOD

MEAT + ORGANS + CARTILAGE

FRESH AND REGIONAL

LOCAL INGREDIENTS DELIVERED DAILY

FD

NATURAL PALATABLITY

INFUSED WITH FREEZE-DRIED LAMB LIVER




                                                                                 530
     Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 531 of 662   Document 73-1
ALL BREEDS

ALL LIFE STAGES

NET WEIGHT 13 LB | 5.9 KG


DISPLAY IF fc = 3

                            This is the back of the bag




                                                                                 531
   Case 2:18-cv-01996-JPS   Filed 09/18/19     Page 532 of 662   Document 73-1
DISPLAY IF fc = 3

                    This is a close-up of the top part of the back of the bag




DISPLAY IF fc = 3

                This is a close-up of the middle part of the back of the bag




                                                                                            532
   Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 533 of 662       Document 73-1
DISPLAY IF fc = 3

                 This is a close-up of the bottom part of the back of the bag




DISPLAY IF fc = 3

On the next few screens, you will see the words that are printed on the back of the bag you
saw earlier. Please read the words on each screen and then go on to the next screen.


DISPLAY IF fc = 3

KELLY OF M&E FAMILY FARMS IN RUSSELLVILLE, KENTUCKY. TRUSTED
SUPPLIER OF FRESH LOCAL LAMB.

Kentucky Proud

ACANA®

HERITAGE

OUR ORIGINAL BIOLOGICALLY APPROPRIATE™ FOODS

OUR FOOD. OUR HERITAGE.

Prepared to our Biologically Appropriate™ standards and brimming with Fresh Regional
Ingredients, ACANA HERITAGE celebrates our quarter-century tradition of preparing award-
winning foods with exceptional value.

Reinhard Muhlenfeld

Founder

RED MEAT FORMULA

WITH FRESH ANGUS BEEF, YORKSHIRE PORK & GRASS-FED LAMB

ALL BREEDS




                                                                                          533
   Case 2:18-cv-01996-JPS        Filed 09/18/19     Page 534 of 662       Document 73-1
ALL LIFE STAGES

YOUR DOG IS A CARNIVORE, DESIGNED BY NATURE TO THRIVE ON WHOLE
GAME, FOWL OR FISH, POSSESSING A BIOLOGICAL NEED FOR FOODS THAT ARE
RICH AND VARIED IN HIGH-QUALITY MEAT PROTEIN.

That’s why ACANA RED MEAT FORMULA is brimming with protein from Angus beef,
Yorkshire pork and grass-fed lamb-delivered fresh from regional farms in richly nourishing
WholePrey™ ratios that promote peak health naturally, without long lists of synthetic additives,
grains or GMO ingredients.

Prepared in our award-winning DogStar® Kitchens to our Biologically Appropriate™ standards,
ACANA keeps your cherished dog healthy, happy and strong. Read our ingredients and we think
you’ll agree.



DISPLAY IF fc = 3

INGREDIENTS
Deboned beef, deboned pork, beef meal, whole red lentils, whole pinto beans, whole green peas,
pork meal, beef fat, whole green lentils, whole chickpeas, whole yellow peas, deboned lamb,
alaskan pollock oil, lentil fiber, natural pork flavor, beef tripe, beef liver, beef kidney, pork liver,
pork kidney, beef cartilage, whole pumpkin, whole butternut squash, mixed tocopherols
(preservative), dried kelp, zinc proteinate, collard greens, turnip greens, whole carrots, whole
apples, whole pears, freeze-dried beef liver, freeze-dried pork liver, freeze-dried lamb liver,
calcium pantothenate, riboflavin, vitamin A acetate, D3 supplement, chicory root, turmeric,
sarsaparilla root, althea root, rose hips, juniper berries, dried lactobacillus acidophilus
fermentation product, dried bifidobacterium animalis fermentation product, dried lactobacillus
casei fermentation product.

CALORIE CONTENT (calculated): Metabolizable Energy is 3405 kcal/kg (388 kcal per
standard 8 oz cup).

Calories distributed to support peak conditioning with 30% from protein, 28% from fruits and
vegetables, and 42% from fat.

GUARANTEED ANALYSIS

 Crude protein (min.)                                              29%

 Crude fat (min.)                                                  17%

 Crude fiber (max.)                                                 6%

 Moisture (max.)                                                   12%




                                                                                                    534
    Case 2:18-cv-01996-JPS           Filed 09/18/19       Page 535 of 662         Document 73-1
 DHA (docosahexaenoic acid) (min.)                           0.15%

 EPA (eicosapentaenoic acid) (min.)                          0.15%

 Calcium (min.)                                               1.4%

 Phosphorus (min.)                                             1%

 Omega-6 fatty acids* (min.)                                  2.1%

 Omega-3 fatty acids* (min.)                                  0.8%

 Glucosamine* (min.)                                     300 mg/kg

 Total Microorganisms* (min.)                          100M CFU/lb

(Lactobacillus acidophilus, Bifidobacterium animalis, Lactobacillus casei)

*not recognized as an essential nutrient by the AAFCO Dog Food Nutrient Profiles



DISPLAY IF fc = 3
MADE IN KENTUCKY BY CHAMPION PETFOODS USA INC.

12871 BOWLING GREEN ROAD, AUBURN, KENTUCKY 42206

EU REG. | CHAMPIONPETFOODS.COM

DOGSTAR® KITCHENS

CUSTOMER CARE (USA)

TOLL-FREE 1.877.939.0006

FOLLOW US ONLINE

ACANA.COM

@ACANAPETFOOD @CHAMPIONPETFOOD

interseroh DSI

AD_001

RED MEAT FORMULA

13 LB | 5.9 KG


                                                                                             535
    Case 2:18-cv-01996-JPS            Filed 09/18/19   Page 536 of 662       Document 73-1
OUR INGREDIENTS.

OUR KITCHENS.

OUR FOOD.

TRUSTED EVERWHERE.

TRAVIS AND NATALIA, COMMITTED TO SAFE QUALITY FOODS.

DOGSTAR® KITCHENS. AUBURN, KENTUCKY.

BIOLOGICALLY APPROPRIATE™

EVOLUTIONARY DIET | PROTEIN-RICH, CARBOHYDRATE-LIMITED.

7 3/4 LB PREMIUM ANIMAL INGREDIENTS

1 2/3 LB* FRESH ANGUS BEEF

+

1 1/2 LB* FRESH YORKSHIRE PORK

2/3 LB* FRESH GRASS-FED LAMB

PLUS 3 3/4 LB* OF DRIED BEEF AND PORK INGREDIENTS

*APPROXIMATE AMOUNTS

WHOLEPREY™ DIET

MEAT | ORGANS | CARTILAGE

SUPERFOOD FOR DOGS


DISPLAY IF fc = 3
WholePrey™ ratios of meat, organs and cartilage deliver nutrients naturally, without long lists of
synthetic additives.

FRESH REGIONAL INGREDIENTS

INGREDIENTS WE LOVE. PEOPLE WE TRUST.




                                                                                              536
    Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 537 of 662       Document 73-1
50% FRESH + 50% DRIED

HALF of our meats are FRESH and loaded with goodness and HALF are DRIED to provide a
concentrated source of Biologically Appropriate™ protein that cannot be supplied by fresh meats
alone.

FRESH VEGETABLES & FRUITS

Our pumpkin, greens, carrots and apples are delivered FRESH and WHOLE from local farms
and orchards.

NEVER OUTSOURCED

OUR INGREDIENTS. OUR KITCHENS. OUR FOODS.

DOGSTAR® KITCHENS

SAFE QUALITY FOOD CERTIFIED KITCHEN

THE FOOD YOU CHOOSE FOR YOUR DOG IS AN IMPORTANT DECISION.

That’s why we make ACANA in our award-winning kitchens where we control all aspects of
food preparation from ingredient selection to packaging.

We wouldn’t have it any other way. We believe you wouldn’t either.



DISPLAY IF fc = 3

                                  This is one side of the bag




DISPLAY IF fc = 3

On the next screen, you will see the words that are printed on one side of the bag you saw
earlier. Please read the words on each screen and then go on to the next screen.


DISPLAY IF fc = 3
Made with unmatched REGIONAL INGREDIENTS KENTUCKY KITCHENS



                                                                                           537
   Case 2:18-cv-01996-JPS         Filed 09/18/19     Page 538 of 662      Document 73-1
RED MEAT FORMULA

with FRESH ANGUS BEEF, YORKSHIRE PORK & GRASS-FED LAMB



DISPLAY IF fc = 3

                                This is the other side of the bag




DISPLAY IF fc = 3

On the next screen, you will see the words that are printed on the other side of the bag you
saw earlier. Please read the words on each screen and then go on to the next screen.


DISPLAY IF fc = 3
DAILY RATION AND FEEDING GUIDE

8 OZ CUP IS 114 G OF FOOD

 DOG WEIGHT                      LESS ACTIVE                         ACTIVE

                                 1 hour or LESS daily exercise       1 hour or MORE daily exercise

 LB              KG              CUPS/DAY           GR/DAY           CUPS/DAY          GR/DAY
 4 1/2 lb        2 kg            1/4 c              28 g             1/2 c             57 g
 11 lb           5 kg            2/3 c              76 g             1c                114 g
 22 lb           10 kg           1c                 114 g            1 1/2 c           171 g
 44 lb           20 kg           1 2/3 c            190 g            2 1/2 c           285 g
 66 lb           30 kg           2 1/4 c            256 g            3 1/2 c           399 g
 88 lb           40 kg           2 3/4 c            314 g            4 1/4 c           485 g
 110 lb          50 kg           3 1/3 c            380 g            5c                570 g
 132 lb          60 kg           3 3/4 c            427 g            5 3/4 c           656 g

EVERY DOG IS DIFFERENT. FEEDING AMOUNTS WILL VARY WITH AGE AND
ACTIVITY.

Use this chart as an initial guide and adjust amounts accordingly.

Feed twice daily and always provide fresh clean water.



                                                                                                     538
    Case 2:18-cv-01996-JPS         Filed 09/18/19          Page 539 of 662       Document 73-1
PUPPIES: at 1 1/2-3 months old feed twice the adult amount, at 3-6 months old feed 1 1/2 times
the adult amount. At 6-11 months feed 1 1/4 times the adult amount.

GESTATION: increase from 25% to 50%.

LACTATION: feed “free choice.”

ACANA RED MEAT FORMULA is formulated to meet the nutritional levels established by the
AAFCO Dog Food Nutrient Profiles for All Life Stages, including growth of large size dogs (70
lb or more as an adult).

HERITAGE

OUR ORIGINAL BIOLOGICALLY APPROPRIATE™ FOODS


DISPLAY IF fc = 3

                                This is the bottom of the bag




DISPLAY IF fc = 3

On the next screen, you will see the words that are printed on the bottom of the bag you
saw earlier. Please read the words on each screen and then go on to the next screen.


DISPLAY IF fc = 3

HERITAGE

OUR ORIGINAL BIOLOGICALLY APPROPRIATE™ FOODS

ACANA®

RED MEAT FORMULA

ALL BREEDS



                                                                                           539
   Case 2:18-cv-01996-JPS         Filed 09/18/19     Page 540 of 662      Document 73-1
ALL LIFE STAGES

DOG FOOD

NET WEIGHT

13 LB | 5.9KG


NEXT, YOU WILL READ SOME INFORMATION ABOUT THE DOG FOOD THAT IS
NOT ON THE PACKAGE.


DISPLAY PAGE IF pento = 1

The dog food you saw may contain a drug called pentobarbital. According to the U.S.
government, pentobarbital is used to calm animals, to put them to sleep, to reduce their feelings
of pain, and to end their lives.




DISPLAY PAGE IF pento = 2

According to the U.S. government, the dog food you saw was made with meat products provided
by a company that did not make sure to keep out meat from animals whose lives had been ended
by giving them a drug called pentobarbital.


QUALITY. How would you rate the quality of this dog food? Excellent, good, fair, poor, or
very poor?

•   Excellent
•   Good
•   Fair
•   Poor
•   Very poor



HEALTHY. How healthy would you say this dog food is? Extremely healthy, very healthy,
moderately healthy, slightly healthy, or not healthy at all?

•   Extremely healthy
•   Very healthy



                                                                                               540
    Case 2:18-cv-01996-JPS         Filed 09/18/19      Page 541 of 662       Document 73-1
•   Moderately healthy
•   Slightly healthy
•   Not healthy at all



FOOD_EVER. Did you ever buy dog food, or did you never do that?

•   Bought dog food
•   Never bought dog food



DISPLAY IF FOOD_EVER = 1

FOOD_CLASS. Did you buy dog food after July 1, 2013, or did you not buy dog food then?

•   Bought dog food after July 1, 2013
•   Did not buy dog food after July 1, 2013



DISPLAY IF fc = 1 AND FOOD_EVER = 1

The dog food you looked at is called Orijen Regional Red

DISPLAY IF fc = 2 AND FOOD_EVER = 1

The dog food you looked at is called Acana Regionals Appalachian Ranch

DISPLAY IF fc = 3 AND FOOD_EVER = 1

The dog food you looked at is called Acana Heritage Red Meat

SPEC_BUY. Did you ever buy that type of dog food, or did you never buy it?

                  •   Did buy it
                  •   Did not buy it



DISPLAY IF SPEC_BUY = 1 & fc = 1

SPEC_CLASS. Did you buy this dog food after July 1, 2013, or did you NOT buy this dog food
after that date?




                                                                                         541
    Case 2:18-cv-01996-JPS         Filed 09/18/19   Page 542 of 662      Document 73-1
                 •   Did buy it after July 1, 2013
                 •   Did not do that


DISPLAY IF( [fc = 2 OR fc = 3] & FOOD_EVER = 1 )OR (fc = 1 & SPEC_BUY = 2)

ORIJEN_BUY. Did you ever buy dog food that had the word “Orijen” written on the package,
or did you never do that?

                 •   Did buy it
                 •   Did not buy it
DISPLAY IF ORIJEN_BUY = 1

ORIJEN_CLASS. Did you buy dog food that had the word “Orijen” written on the package
after July 1, 2013, or did you not do that?

                 •   Did buy it after July 1, 2013
                 •   Did not do that



DISPLAY IF (fc = 1 & FOOD_EVER = 1) OR ([fc = 2 OR fc = 3] & SPEC_PURCH = 2)

ACANA_BUY. Did you ever buy dog food that had the word “Acana” written on the package,
or did you never do that?

                 •   Did buy it
                 •   Did not do that
DISPLAY IF ACANA_BUY = 1

ACANA_CLASS. Did you buy dog food that had the word “Acana” written on the package after
July 1, 2013, or did you not do that?

                 •   Did buy it after July 1, 2013
                 •   Did not buy it



DISPLAY IF DOG_EVER = 1

DOG_NUM. What is the total number of dogs you have owned since you were 18 years old?

      RECORD NUMBER




                                                                                        542
   Case 2:18-cv-01996-JPS         Filed 09/18/19     Page 543 of 662   Document 73-1
DISPLAY IF DOG_NUM = 1

DOG_CURR. Do you own that dog now, or do you not own it now?

   •   Own it now
   •   Do not own it now
DISPLAY IF DOG_NUM >1

DOGS_CURR. Do you own one of those dogs now, or do you not own any of those dogs now?

   •   Own one or more dogs now
   •   Do not own any dogs now



DISPLAY IF DOG_CURR = 2

DOG_CLASS. Did you own that dog before July 1, 2013, or did you not own it then?

   •   Owned dog before July 1, 2013
   •   Did not own dog before July 1, 2013


DISPLAY IF DOGS_CURR = 2

DOGS_CLASS. Did you own any of those dogs before July 1, 2013, or did you not own any of
  them then?

   •   Owned one or more dogs before July 1, 2013
   •   Did not own any dogs before July 1, 2013



DISPLAY IF DOG_NUM = 1 & DOG_CURR = 1

WEIGHT1A. In the box below, please type how many pounds your dog has weighed, on
average, during the time you have owned it.

DISPLAY ONE BOX

DISPLAY IF DOG_NUM = 1 & DOG_CURR = 2

WEIGHT1B. In the box below, please type how many pounds your dog weighed, on average,
during the time you have owned it.

DISPLAY ONE BOX


                                                                                      543
   Case 2:18-cv-01996-JPS        Filed 09/18/19     Page 544 of 662   Document 73-1
DISPLAY IF DOG_NUM > 1 AND DOG_NUM < 21

PROGRAMMING NOTE: IN THE QUESTION BELOW, X WILL BE REPLACED WITH
THE NUMBER OF DOGS OWNED

WEIGHTX. In the boxes below, please type how many pounds each of your dogs weighed, on
average, during the time you have owned it.

DISPLAY ONE BOX FOR EACH DOG OWNED, UP TO 20


DISPLAY IF DOG_NUM = 1 & DOG_CURR = 1

DOG_HEALTHY_PRES. How important to you is it that your dog is as healthy as possible?
Extremely important, very important, moderately important, slightly important, or not important
at all?

DISPLAY IF DOG_NUM = 1 & DOG_CURR = 2

DOG_HEALTHY_PAST. How important to you was it that your dog was as healthy as
possible? Extremely important, very important, moderately important, slightly important, or not
important at all?

DISPLAY IF DOG_NUM >1 & DOGS_CURR = 1

DOGS_HEALTHY_PRES. How important to you is that your dogs are as healthy as
possible? Extremely important, very important, moderately important, slightly important, or not
important at all?

DISPLAY IF DOG_NUM >1 & DOGS_CURR = 2

DOGS_HEALTHY_PAST. How important to you was that your dogs were as healthy as
possible? Extremely important, very important, moderately important, slightly important, or not
important at all?

                 •   Extremely important
                 •   Very important
                 •   Moderately important
                 •   Slightly important
                 •   Not important at all



DISPLAY IF DOG_NUM = 1 & DOG_CURR = 1


                                                                                            544
   Case 2:18-cv-01996-JPS         Filed 09/18/19     Page 545 of 662      Document 73-1
DOG_SAFE_PRES. How important to you is it that your dog is as safe as possible? Extremely
important, very important, moderately important, slightly important, or not important at all?

DISPLAY IF DOG_NUM = 1 & DOG_CURR = 2

DOG_SAFE_PAST. How important to you was it that your dog was as safe as possible?
Extremely important, very important, moderately important, slightly important, or not important
at all?

DISPLAY IF DOG_NUM >1 & DOGS_CURR = 1

DOGS_SAFE_PRES. How important to you is that your dogs are as safe as possible?
Extremely important, very important, moderately important, slightly important, or not important
at all?

DISPLAY IF DOG_NUM >1 & DOGS_CURR = 2

DOGS_SAFE_PAST. How important to you was that your dogs were as safe as possible?
Extremely important, very important, moderately important, slightly important, or not important
at all?

                 •   Extremely important
                 •   Very important
                 •   Moderately important
                 •   Slightly important
                 •   Not important at all




DISPLAY IF FOOD_EVER = 1 & DOG_EVER = 1

FOOD_PETSTORE. Did you ever buy dog food from a store that sells only pet supplies, or did
you never do that?

                 •   Did that
                 •   Never did that



DISPLAY IF DOG_NUM > 0

BOOKS_INGRED. Did you ever read books, magazines, or information online to learn about
what ingredients are in dog foods to decide which ones to buy, or did you never do that?




                                                                                           545
   Case 2:18-cv-01996-JPS        Filed 09/18/19      Page 546 of 662      Document 73-1
                   •   Did that
                   •   Never did that



DISPLAY IF DOG_EVER = 1

FOOD_ALLNATURAL. If you were to buy dog food, when deciding which food to buy, how
much attention would you pay to whether or not the food is all-natural? A great deal of
attention, a lot of attention, a moderate amount of attention, a little attention, or none at all?

                   •   A great deal
                   •   A lot
                   •   A moderate amount
                   •   A little
                   •   None at all



DISPLAY IF DOG_EVER = 1

FOOD_GRAINFREE. If you were to buy dog food, when deciding which food to buy, how
much attention would you pay to whether or not the food is grain free? A great deal of attention,
a lot of attention, a moderate amount of attention, a little attention, or none at all?

                   •   A great deal
                   •   A lot
                   •   A moderate amount
                   •   A little
                   •   None at all



DISPLAY IF DOG_EVER = 1

FOOD_ORGANIC. If you were to buy dog food, when deciding which food to buy, how much
attention would you pay to whether or not the food is organic? A great deal of attention, a lot of
attention, a moderate amount of attention, a little attention, or none at all?

                   •   A great deal
                   •   A lot
                   •   A moderate amount
                   •   A little
                   •   None at all




                                                                                                546
    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 547 of 662       Document 73-1
DISPLAY IF DOG_EVER = 1

FOOD_TASTE. If you were to buy dog food, when deciding which food to buy, how much
attention would you pay to whether or not the food tastes good to dogs? A great deal of
attention, a lot of attention, a moderate amount of attention, a little attention, or none at all?

                   •   A great deal
                   •   A lot
                   •   A moderate amount
                   •   A little
                   •   None at all



DISPLAY IF DOG_EVER = 1

FOOD_HEALTH. If you were to buy dog food, when deciding which food to buy, how much
attention would you pay to whether or not the food will improve the health of dogs? A great
deal of attention, a lot of attention, a moderate amount of attention, a little attention, or none at
all?

                   •   A great deal
                   •   A lot
                   •   A moderate amount
                   •   A little
                   •   None at all



DISPLAY IF DOG_EVER = 1

FOOD_APPEARANCE. If you were to buy dog food, when deciding which food to buy, how
much attention would you pay to whether or not the food will improve the appearance of dogs?
A great deal of attention, a lot of attention, a moderate amount of attention, a little attention, or
none at all?

                   •   A great deal
                   •   A lot
                   •   A moderate amount
                   •   A little
                   •   None at all




                                                                                                     547
    Case 2:18-cv-01996-JPS           Filed 09/18/19       Page 548 of 662        Document 73-1
DISPLAY IF DOG_NUM = 1

DOG_FOODSPEND. During the time when you have owned a dog, how much money did you
spend for your dog’s food per month, on average?

DISPLAY IF DOG_NUM > 1

DOGS_FOODSPEND. During the time when you have owned dogs, how much money did you
spend for your dogs’ food per month, on average?

Please round to the nearest dollar and type the amount in the box below.

   ENTER NUMBER BETWEEN 0 AND 10000


Now we’d like to ask some questions about you.


P_SHOP_ORGANIC. When you shopped for groceries during the last month, did you ever buy
organic products, or did you not do that?

                   •   Did that
                   •   Did not do that



P_SHOP_NONGMO. When you shopped for groceries during the last month, did you ever buy
non-GMO products, or do you not do that?

                   •   Did that
                   •   Did not do that




                                                                                           548
    Case 2:18-cv-01996-JPS          Filed 09/18/19    Page 549 of 662      Document 73-1
Here begin screen shots

INTRO1




DOG_EVER.




                                                                               549
   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 550 of 662   Document 73-1
                                                                            550
Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 551 of 662   Document 73-1
DISPLAY IF fc = 1




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 552 of 662   Document 73-1
DISPLAY IF fc = 1




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 553 of 662   Document 73-1
DISPLAY IF fc = 1




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 554 of 662   Document 73-1
DISPLAY IF fc = 1




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 555 of 662   Document 73-1
DISPLAY IF fc = 1




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 556 of 662   Document 73-1
DISPLAY IF fc = 1




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 557 of 662   Document 73-1
DISPLAY IF fc = 1




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 558 of 662   Document 73-1
DISPLAY IF fc = 1




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 559 of 662   Document 73-1
DISPLAY IF fc = 1




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 560 of 662   Document 73-1
DISPLAY IF fc = 1




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 561 of 662   Document 73-1
ISPLAY IF fc = 1




DISPLAY IF fc = 1




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 562 of 662   Document 73-1
DISPLAY IF fc = 1




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 563 of 662   Document 73-1
DISPLAY IF fc = 1




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 564 of 662   Document 73-1
DISPLAY IF fc = 1




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 565 of 662   Document 73-1
DISPLAY IF fc = 1




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 566 of 662   Document 73-1
DISPLAY IF fc = 1




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 567 of 662   Document 73-1
DISPLAY IF fc = 1




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 568 of 662   Document 73-1
DISPLAY IF fc = 1




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 569 of 662   Document 73-1
DISPLAY IF fc = 1




DISPLAY IF fc = 1




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 570 of 662   Document 73-1
DISPLAY IF fc = 1




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 571 of 662   Document 73-1
DISPLAY IF fc = 2




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 572 of 662   Document 73-1
DISPLAY IF fc = 2




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 573 of 662   Document 73-1
DISPLAY IF fc = 2




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 574 of 662   Document 73-1
DISPLAY IF fc = 2




DISPLAY IF fc = 2




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 575 of 662   Document 73-1
DISPLAY IF fc = 2




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 576 of 662   Document 73-1
DISPLAY IF fc = 2




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 577 of 662   Document 73-1
DISPLAY IF fc = 2




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 578 of 662   Document 73-1
DISPLAY IF fc = 2




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 579 of 662   Document 73-1
DISPLAY IF fc = 2




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 580 of 662   Document 73-1
DISPLAY IF fc = 2




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 581 of 662   Document 73-1
DISPLAY IF fc = 2




DISPLAY IF fc = 2




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 582 of 662   Document 73-1
DISPLAY IF fc = 2




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 583 of 662   Document 73-1
DISPLAY IF fc = 2




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 584 of 662   Document 73-1
DISPLAY IF fc = 2




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 585 of 662   Document 73-1
DISPLAY IF fc = 2




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 586 of 662   Document 73-1
DISPLAY IF fc = 2




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 587 of 662   Document 73-1
DISPLAY IF fc = 2




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 588 of 662   Document 73-1
DISPLAY IF fc = 2




DISPLAY IF fc = 2




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 589 of 662   Document 73-1
DISPLAY IF fc = 2




DISPLAY IF fc = 2




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 590 of 662   Document 73-1
DISPLAY IF fc = 3




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 591 of 662   Document 73-1
DISPLAY IF fc = 3 DISPLAY IF fc = 3




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   Case 2:18-cv-01996-JPS       Filed 09/18/19   Page 592 of 662   Document 73-1
DISPLAY IF fc = 3




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 593 of 662   Document 73-1
DISPLAY IF fc = 3




DISPLAY IF fc = 3




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 594 of 662   Document 73-1
DISPLAY IF fc = 3




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 595 of 662   Document 73-1
DISPLAY IF fc = 3




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 596 of 662   Document 73-1
DISPLAY IF fc = 3




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 597 of 662   Document 73-1
DISPLAY IF fc = 3




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 598 of 662   Document 73-1
DISPLAY IF fc = 3




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 599 of 662   Document 73-1
DISPLAY IF fc = 3




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 600 of 662   Document 73-1
DISPLAY IF fc = 3




DISPLAY IF fc = 3




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 601 of 662   Document 73-1
DISPLAY IF fc = 3




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 602 of 662   Document 73-1
DISPLAY IF fc = 3




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 603 of 662   Document 73-1
DISPLAY IF fc = 3




                                                                               603
   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 604 of 662   Document 73-1
DISPLAY IF fc = 3




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 605 of 662   Document 73-1
DISPLAY IF fc = 3




DISPLAY IF fc = 3




DISPLAY IF fc = 3




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 606 of 662   Document 73-1
DISPLAY IF fc = 3




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 607 of 662   Document 73-1
DISPLAY IF fc = 3




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   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 608 of 662   Document 73-1
DISPLAY IF fc = 3




                                                                               608
   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 609 of 662   Document 73-1
IF Pento=1




                                                                               609
   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 610 of 662   Document 73-1
DISPLAY PAGE IF pento = 2




                                                                               610
   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 611 of 662   Document 73-1
QUALITY




HEALTHY




FOOD_EVER




                                                                              611
  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 612 of 662   Document 73-1
DISPLAY IF fc = 1 AND FOOD_EVER = 1

The dog food you looked at is called Orijen Regional Red




                                                                                      612
   Case 2:18-cv-01996-JPS         Filed 09/18/19    Page 613 of 662   Document 73-1
SPEC_BUY.



DISPLAY IF fc = 2 AND FOOD_EVER = 1




                                                                               613
   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 614 of 662   Document 73-1
DISPLAY IF fc = 3 AND FOOD_EVER = 1




                                                                               614
   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 615 of 662   Document 73-1
DISPLAY IF SPEC_BUY = 1 & fc = 1
SPEC_BUY.




SPEC_CLASS




                                                                               615
   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 616 of 662   Document 73-1
DISPLAY IF( [fc = 2 OR fc = 3] & FOOD_EVER = 1 )OR (fc = 1 & SPEC_BUY = 2)

ORIJEN_BUY.




DISPLAY IF ORIJEN_BUY = 1

ORIJEN_CLASS.




                                                                                616
   Case 2:18-cv-01996-JPS    Filed 09/18/19   Page 617 of 662   Document 73-1
DISPLAY IF (fc = 1 & FOOD_EVER = 1) OR ([fc = 2 OR fc = 3] & SPEC_PURCH = 2)

ACANA_BUY.




DISPLAY IF ACANA_BUY = 1

ACANA_CLASS.




                                                                                617
   Case 2:18-cv-01996-JPS    Filed 09/18/19   Page 618 of 662   Document 73-1
DISPLAY IF DOG_EVER = 1

DOG_NUM.




DISPLAY IF DOG_NUM = 1

  DOG_CURR.




                                                                              618
  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 619 of 662   Document 73-1
DISPLAY IF DOG_NUM >1

     DOGS_CURR.




                                                                              619
  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 620 of 662   Document 73-1
DISPLAY IF DOG_CURR = 2

DOG_CLASS.




                                                                              620
  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 621 of 662   Document 73-1
DISPLAY IF DOGS_CURR = 2

DOGS_CLASS.




DISPLAY IF DOG_NUM = 1 & DOG_CURR = 1

WEIGHT1A.




                                                                              621
  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 622 of 662   Document 73-1
DISPLAY IF DOG_NUM = 1 & DOG_CURR = 1

WEIGHT1B




                                                                              622
  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 623 of 662   Document 73-1
DISPLAY IF DOG_NUM > 1 AND DOG_NUM < 21

PROGRAMMING NOTE: IN THE QUESTION BELOW, X WILL BE REPLACED WITH
THE NUMBER OF DOGS OWNED

WEIGHTX




                                                                              623
  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 624 of 662   Document 73-1
DISPLAY IF DOG_NUM = 1 & DOG_CURR = 1
DOG_HEALTHY_ PRES




                                                                              624
  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 625 of 662   Document 73-1
DISPLAY IF DOG_NUM = 1 & DOG_CURR = 2

DOG_HEALTHY_PAST.




                                                                              625
  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 626 of 662   Document 73-1
DISPLAY IF DOG_NUM >1 & DOGS_CURR = 1

DOGS_HEALTHY_PRES.




                                                                              626
  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 627 of 662   Document 73-1
DISPLAY IF DOG_NUM >1 & DOGS_CURR = 2

DOGS_HEALTHY_PAST.




                                                                              627
  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 628 of 662   Document 73-1
DISPLAY IF DOG_NUM = 1 & DOG_CURR = 1

DOG_SAFE_PRES.




DISPLAY IF DOG_NUM = 1 & DOG_CURR = 2

DOG_SAFE_PAST.




                                                                              628
  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 629 of 662   Document 73-1
DISPLAY IF DOG_NUM >1 & DOGS_CURR = 1

DOGS_SAFE_PRES.




                                                                              629
  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 630 of 662   Document 73-1
DISPLAY IF DOG_NUM >1 & DOGS_CURR = 2

DOGS_SAFE_PAST.




End of safe




                                                                               630
   Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 631 of 662   Document 73-1
DISPLAY IF FOOD_EVER = 1 & DOG_EVER = 1

FOOD_PETSTORE.




DISPLAY IF DOG_NUM > 0

BOOKS_INGRED.




                                                                              631
  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 632 of 662   Document 73-1
DISPLAY IF DOG_EVER = 1

FOOD_ALLNATURAL.




DISPLAY IF DOG_EVER = 1

FOOD_GRAINFREE




                                                                              632
  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 633 of 662   Document 73-1
DISPLAY IF DOG_EVER = 1

FOOD_ORGANIC




DISPLAY IF DOG_EVER = 1

FOOD_TASTE




                                                                              633
  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 634 of 662   Document 73-1
DISPLAY IF DOG_EVER = 1

FOOD_HEALTH.




DISPLAY IF DOG_EVER = 1

FOOD_APPEARANCE




                                                                              634
  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 635 of 662   Document 73-1
DISPLAY IF DOG_NUM = 1

DOG_FOODSPEND




DISPLAY IF DOG_NUM > 1

DOGS_FOODSPEND




                                                                              635
  Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 636 of 662   Document 73-1
Now we’d like to ask some questions about you.


P_SHOP_ORGANIC




P_SHOP_NONGMO




                                                                                       636
    Case 2:18-cv-01996-JPS          Filed 09/18/19   Page 637 of 662   Document 73-1
                               Appendix C

                         USC CESR Field Report
                  (including information about the panel)




                                                                            637
Case 2:18-cv-01996-JPS   Filed 09/18/19   Page 638 of 662   Document 73-1
               Field Report for Understanding
               America Study Survey UAS168
               AUGUST 2019




               Tania Gutsche, Erik Meijer, Marco Angrisani, Bart Orriens, Bas Weerman




cesr.usc.edu




                                                                                    638
   Case 2:18-cv-01996-JPS       Filed 09/18/19   Page 639 of 662    Document 73-1
The Understanding America Study is a probability-based panel created and operated by the Center for
Economic and Social Research out of the University of Southern California. Respondents are recruited
by mail through USPS records. The study is an ‘Internet Panel,’ which means that respondents answer
our surveys on a computer, tablet, or smart phone, wherever they are and whenever they wish to
participate. Respondents are able to skip questions they are uncomfortable answering as well as decide
whehter or not to complete each survey offered to them.


Human Subjects Protection
The Understanding America Study is an ongoing study registered and approve by the University of
Southern California’s institutional review board as study id UP-14-00148. This survey was approved
under amendment UP-14-00148-AM066 on July 19, 2019. USC’s Federal Wide Assurance number is
00007099.


Sampling
The sample for this survey was selected following these steps. First, we identified the UAS members
recruited within nationally representative batches who did not express a preference for surveys in
Spanish. As of July 13, 2019, the total number of respondents satisfying these criteria was 5,253. Among
these respondents, a random sample of 1,200 was selected and invited to take the survey. Specifically,
we drew a random number from a uniform distribution, ranked eligible respondents by this number, and
selected the first 1,200.


Survey incentives
Respondents in the Understanding America Study are paid $20 for every 30 minutes of survey time.
Rewards earned each month are deposited on a prepaid card the first week of the following month.
Respondents can track their earned rewards by logging into their study pages, and are informed before
they take each survey the approximate time it will take and the amount that will be earned for completion.
Survey UAS168 was estimated to take 25 minutes and respondents earned $17 for completion. Timing
distribution is seen in the table below and includes incomplete surveys.




                                                                                                      639
    Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 640 of 662         Document 73-1
Construction of Panel Base Weights
   All UAS surveys contain both base weights and final, post-stratification weights. For this
particular survey, only base weights are provided. Base weights are generated to correct for
unequal probabilities of sampling zip codes produced by the adaptive sampling algorithm, as
well as to account for the probability of sampling households conditional on their zip code
being sampled.
   The UAS regularly recruits new batches of panel members. All respondents invited for this
survey were sampled from the nationally representative batches, which were recruited using
three different sampling methods. Batch 1 was a simple random sample from a national
database that included 95% of the U.S. population. Batches 5-12 used an adaptive sampling
algorithm, by which zip codes with population characteristics underrepresented in the UAS
were sampled with a higher probability, and then 40 addresses were randomly drawn within
the selected zip codes. Batch 17 used a similar algorithm, with the difference that the number
of addresses within each zip code was drawn proportional to the number of households in the
zip code. For computing base weights, these three sampling methods are treated as three
sampling frames.
   We estimate the (a priori) probability that a household was drawn in each sampling frame
separately. The estimated probability that the household was drawn for the UAS is the sum of
these three probabilities, and the base weight is the inverse of this, scaled to have a mean of 1
among all households drawn in these batches. For batch 1, the probability of being drawn is the
number of households drawn divided by the number of households in the U.S. For the other
two frames (batches 5-12 and 17), the probability of the household being drawn is the
probability of the zip code being drawn times the conditional probability of the household
being drawn if the zip code is drawn. In this case, we estimate the probability that a zip code is
drawn via logit model as a function of the following zip code characteristics: Census region,
urbanicity, population size, as well as sex, race, age, marital status, and education composition.
Estimation is carried out on an American Community Survey (ACS) file that contains 5-year
average characteristics at the ZIP Code Tabulation Area (ZCTA) level, with urbanicity derived
from 2010 Urban Area to ZIP Code Tabulation Area Relationship File of the U.S. Census Bureau
and merged to this. The probability that a household from a given zip code is drawn,
conditional on that zip code being drawn, is computed differently for batches 5-12 and batch
17. Specifically, for batches 5-12 it is given by the number of drawn households in the zip code
(40) divided by the total number of households in the zip code. For batch 17, since the number
of sampled addresses is proportional to the zip code population with a target average of 40, the
probability that a household from a given zip code is drawn, conditional on that zip code being



                                                                                              640
   Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 641 of 662       Document 73-1
drawn, is the same for all zip codes. Thus, it can be computed dividing 40 by the average
number of households per zip code. The probability that a household from batches 5-12 and 17
is drawn is obtained by multiplying the probability of drawing a zip code and the conditional
probability of drawing a household within a selected zip code, as described above.
   After computing the overall probability that a household is drawn in one of the three frames
as the sum of the three separate probabilities (ignoring the negligible probability that a
household is drawn multiple times, which we ensure is not the case), the raw base weight is the
inverse of this probability. More details about the computation of the base weights can be
found in Angrisani et al. (2019).34

Response Rates and Survey Invitations

Response rates and attrition (%):
                                         Number          Percenta
 Sampled addresses                        43,474
 Nonresidential/vacant                     5,656
 Valid addresses (upper bound)            37,818
 Completed mail survey                    15,051         39.8
 Consented to participate                 11,022         73.2
 Became panel member                       6,017         54.6
 Active (retention)                        4,364         72.5
 Invited for survey                        1,200
 Completed survey                            859         71.6
 Cumulative response rate                                 8.3
aConditional on the previous line




INVITATIONS
Survey invitations were sent through the sample management system which included the following text:

Subject: New UAS168 survey ready

Dear First Name,

I'm writing to let you know that new survey UAS168 is now open for you at our site.

This survey asks you to read information and answer some questions about a consumer product. It
should take no more than 25 minutes, and you will be compensated $17 for completion.

34
  Angrisani, M., Kapteyn, A., Meijer, E., & Saw, H.-W. (2019). Sampling and weighting the Understanding America
Study. Los Angeles, CA: University of Southern California, Center for Economic and Social Research. (In preparation)


                                                                                                               641
     Case 2:18-cv-01996-JPS               Filed 09/18/19         Page 642 of 662           Document 73-1
To begin, first go to the Understanding America Study secure website: https://uas.usc.edu
(If this link is disabled by your browser, please copy and paste it instead of clicking on it)
Your Login Number: xxxxxxx
Your Password: yyyyyy

Thank you so much for participating in our study!

Tania Gutsche

Study Manager https://uas.usc.edu 855.872.8673

Reminder:

Subject: New UAS168 survey is still ready for you

Dear First Name,

I'm writing to let you know that new survey UAS168 is still ready for you at our site.

This survey asks you to read information and answer some questions about a consumer product. It
should take no more than 25 minutes, and you will be compensated $17 for completion.

To begin, first go to the Understanding America Study secure website: https://uas.usc.edu
(If this link is disabled by your browser, please copy and paste it instead of clicking on it)
Your Login Number: xxxxxxx
Your Password: yyyyyy

Thank you so much for participating in our study!

Tania Gutsche

Study Manager https://uas.usc.edu 855.872.8673




Survey invitations and reminders were sent on the following Schedule:



 Date Sent                        Invitations
 Thursday 7/25/19                 1099 emails sent
 Thursday 7/25/19                 89 postcards sent
 Saturday 7/27/19                 682 emails sent
 Friday 8/2/19                    483 emails sent
 Monday 8/5/19                    411 emails sent




                                                                                                   642
    Case 2:18-cv-01996-JPS             Filed 09/18/19      Page 643 of 662         Document 73-1
                                           Appendix D

                         Sample Characteristics and Weighting




        Draft report as of 8/5/19 while survey is still in the field. As a result survey results and response rate are
        not final.




                                                                                                             643
Case 2:18-cv-01996-JPS            Filed 09/18/19           Page 644 of 662             Document 73-1
Benchmarking

        Benchmarks for this study were drawn from three large federal surveys of the American

population: the March 2019 Current Population Survey (CPS), the March 2018 Annual Social

and Economic Supplement (ASEC) of the CPS, and the 2018 National Health Interview Survey

(NHIS). The goal when drawing benchmarks from these samples, as for any benchmarking

exercise, is to simultaneously maximize the accuracy of the method used to generate the

benchmarking sample and to draw data from the most recent possible study. These datasets are

the most commonly used benchmarking studies because they draw large samples of Americans,

use gold standard survey methods, are collected on a regular basis, and have extraordinarily high

response rates.

                               Current Population Survey (CPS)

OVERVIEW

        The CPS is a monthly survey of households that provides data on employment and

demographic characteristics of household members. The CPS uses rotating samples of

households. Randomly selected housing units are surveyed every month for four months, are not

surveyed for the next eight months, and then are surveyed again every month for four months.

Housing units are weighted to account for probability of selection and unit non-response. Each

household member is weighted to account for: (1) probability of household selection; (2) unit

non-response; (3) deviations from known population distributions of demographic

characteristics.

        Demographic and labor force data are collected during the monthly CPS interviews. One

knowledgeable adult in a household (called the household informant) provides information about

the age, sex, marital status, educational attainment, race, ethnicity, veteran and current armed




                                                                                                   644
    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 645 of 662       Document 73-1
forces statuses, citizenship status, and relationship to the person who owns or rents the home for

all people who usually live in the housing unit. Although CPS interviewers attempt to obtain

labor force data from each household member, data for approximately half of these members are

provided by proxies.

           Some CPS interviews are conducted face-to-face, and others are conducted via telephone.

Unless the household informant specifically requests a telephone interview, every informant for

a household that has not previously completed a CPS interview participates in a face-to-face

interview.

CPS MARCH 2019 BASIC SURVEY

           The March 2019 CPS basic survey included a demographics questionnaire, a labor force

questionnaire, and the ASEC.35 Informants in households participating in a CPS interview for the

first time answered questions in the demographics questionnaire about the age, sex, marital

status, educational attainment, race, ethnicity, veteran and current armed forces statuses,

citizenship status, and relationship to the person who owns or rents the home for all people who

usually live in the housing unit. Informants in households that previously participated in a CPS

interview answered questions about any changes to the people living in the household.

Household members or household informants completing the labor force questionnaire answered

questions about work-related activities during a target week. Household members or household

informants completing the ASEC questionnaire answered questions about work experience,

income, noncash benefits, and migration.




35
     The 2019 ASEC is not yet publicly available.


                                                                                               645
       Case 2:18-cv-01996-JPS              Filed 09/18/19   Page 646 of 662   Document 73-1
        A total of 48,697 households completed interviews during the March 2019 CPS survey.

Of the 38,028 households for which type of interview data were available, 40.2% completed

face-to-face interviews and 59.8% completed telephone interviews.

MARCH 2019 DATA USED FOR ADDITIONAL BENCHMARKS

        Household size benchmarks are derived from information provided by household

informants when developing the household roster. Household informants answer questions about

the people residing in, and relations among the people residing in, the household. Answers to

these questions are used to identify the number of individuals living in the participating

household, which the CPS defines as:

        A household consists of all the persons who occupy a house, an apartment, or other group

of rooms, or a room, which constitutes a housing unit. A group of rooms or a single room is

regarded as a housing unit when it is occupied as separate living quarters; that is, when the

occupants do not live with any other person in the structure, and when there is direct access from

the outside or through a common hall. The count of households excludes persons living in group

quarters, such as military barracks and institutions. Inmates of institutions (mental hospitals, rest

homes, correctional institutions, etc.) are not included in the survey.36

        The following questions are used to build the roster:

(What are the names of all persons living or staying here? / What is the name of the next
person)?

Is this (name of person talking about)’s usual place of residence?

        1. Yes
        2. No
        3. Proxy



36
  Current Population Survey (2017). 2017 Annual Social and Economic (ASEC) Supplement. Available at:
https://www2.census.gov/programs-surveys/cps/techdocs/.


                                                                                                       646
     Case 2:18-cv-01996-JPS            Filed 09/18/19       Page 647 of 662          Document 73-1
Does (name of person talking about) have a usual place of residence elsewhere?

       1. Yes
       2. No

Are there any other persons 15 years old or older now living or staying there? (Who have not
been listed.)

       1. Yes
       2. No

How many other?

I have listed . . . READ NAMES. Have I missed any babies or small children?

       1. Yes
       2. No

Have I missed anyone who usually lives here but is away now -traveling, at school, or in a
hospital?

       1.Yes
       2. No

Have I missed any lodgers, boarders, or persons you employ who live here?

       1. Yes
       2. No

Have I missed anyone else staying here?

       1. Yes
       2. No

What is the name of the person or one of the persons who owns or rents that home?

How (are / is) (name/you) related to (reference person's name/you)?

       42. Opposite-sex Spouse (Husband/Wife)
       43. Opposite-sex Unmarried Partner
       44. Same-sex Spouse (Husband/Wife)
       45. Same-sex Unmarried Partner
       46. Child
       47. Grandchild
       48. Parent (Mother/Father)
       49. Brother/Sister



                                                                                               647
   Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 648 of 662       Document 73-1
       50. Other relative (Aunt, Cousin, Nephew, Mother-in-law, etc.)
       51. Foster_Child
       52. Housemate/Roommate
       53. Roomer/Boarder
       54. Other nonrelative

Earlier you said that (name of person talking about) (was/were) not related to (reference person's
name/you). (Are / Is) (name of person talking about) related to anyone else in this household?

       1. Yes
       2. No

Who (are / is) (name of person talking about) related to?
PROBE: Anyone else?

Ask if necessary: Is (name's/your) parent a member of this household?

(Are / Is) (name of person talking about) (your / mother's name) biological, step, or adopted
child?

       1. Biological
       2. Step
       3. Adopted

Ask if necessary: Is (name's/your) other parent a member of this household?

(Are / Is) (name of person talking about) (your / father's name) biological, step, or adopted child?

       1. Biological
       2. Step
       3. Adopted

(REF_FNAME ^REF_LNAME’s) parent is also (name of person talking about)’s parent, is that
correct?

       1. Yes
       2. No

       To produce the benchmarks, the following variables were extracted from the March 2019

CPS Public Use Microdata file. The benchmarks were extracted after excluding records for

persons less than 18 years of age, and weighting records for persons 18 years old or older using




                                                                                                648
    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 649 of 662       Document 73-1
the post-stratification weights (PWSSWGT-FINAL WEIGHT) included in the public use data

file. Coding is noted in brackets if recodes were done.


Household-Level Variables

Region (4-level)
GEREG (REGION)

       1       Northeast
       2       Midwest (Formerly North Central)
       3       South
       4       West

Metropolitan Status
GTMETSTA (METROPOLITAN STATUS)

       1       Metropolitan
       2       Non-metropolitan
       3       Not identified

Total family income
        HEFAMINC

       1       Less than $5,000 [Less than $35,000]
       2       $5,000 to $7,499 [Less than $35,000]
       3       $7,500 to $9,999 [Less than $35,000]
       4       $10,000 to $12,499 [Less than $35,000]
       5       $12,500 to $14,999 [Less than $35,000]
       6       $15,000 to $19,999 [Less than $35,000]
        7      $20,000 to $24,999 [Less than $35,000]
        8      $25,000 to $29,999 [Less than $35,000]
       9       $30,000 to $34,999 [Less than $35,000]
       10      $35,000 to $39,999 [$35,000 to $49,999]
       11      $40,000 to $49,999 [$35,000 to $49,999]
       12      $50,000 to $59,999 [$50,000 to $74,999]
       13      $60,000 to $74,999 [$50,000 to $74,999]
       14      $75,000 to $99,999 [$75,000 to $99,999]
       15      $100,000 to $149,999 [$100,000 or more]
       16      $150,000 or more [$100,000 or more]

[This variable was recoded into 5 categories: Less than $35,000, $35,000 to $49,999, $50,000 to
$74,999, $75,000 to $99,999, and $100,000 or more]




                                                                                            649
    Case 2:18-cv-01996-JPS          Filed 09/18/19        Page 650 of 662   Document 73-1
Household size including children

HRNUMHOU (Total number of persons living in the household)
[This variable was recoded into 4 categories: One person, Two persons, Three or four persons,
Five or more persons]

Person-Level Variables

Sex

PESEX

        1    Male
        2    Female

Age

PRTAGE

        00-79 0-79 Years of age
        80    80-84 Years of age
        81    85+ Years of age

[This variable was recoded into 5 categories: 18-29, 30-39, 40-49, 50-64, and 65+.]

Educational attainment

        PEEDUCA

        31      Less than 1st grade [Less than high school]
        32      1st,2nd,3rd,or 4th grade [Less than high school]
        33      5th or 6th grade [Less than high school]
        34      7th and 8th grade [Less than high school]
        35      9th grade [Less than high school]
        36      10th grade [Less than high school]
        37      11th grade [Less than high school]
        38      12th grade no diploma [Less than high school]
        39      High school graduate – high school diploma or equivalent [High school graduate
                or equivalent
        40      Some college but no degree [Some college but no bachelor’s degree]
        41      Associate degree in college - occupation/vocation program [Some college but no
                bachelor’s degree]
        42      Associate degree in college - academic program [Some college but no bachelor’s
                degree]
        43      Bachelor's degree (for example: BA,AB,BS) [Bachelor’s degree]




                                                                                           650
      Case 2:18-cv-01996-JPS        Filed 09/18/19   Page 651 of 662      Document 73-1
       44     Master's degree (for example: MA,MS,MENG,MED,MSW, MBA) [Advanced
              degree]
       45     Professional school degree (for example: MD,DDS,DVM,LLB,JD) [Advanced
              degree]
       46     Doctorate degree (for example: PHD,EDD) [Advanced degree]

       [This variable was recoded into 5 categories: Less than high school, High school
       graduate or equivalent, Some college but no bachelor’s degree, Bachelor’s degree,
       Advanced degree]

Race

PTDTRACE

       01      White only [White only]
       02      Black only [Black only]
       03      American Indian, Alaskan Native only (AI) [Other or multi-race]
       04      Asian only [Other or multi-race]
       05      Hawaiian/Pacific Islander only (HP) [Other or multi-race]
       06      White-Black [Other or multi-race]
       07      White-AI [Other or multi-race]
       08      White-Asian [Other or multi-race]
       09      White-HP [Other or multi-race]
       10      Black-AI [Other or multi-race]
       11      Black-Asian [Other or multi-race]
       12      Black-HP [Other or multi-race]
       13      AI-Asian [Other or multi-race]
       14      AI-HP [Other or multi-race]
       15      Asian-HP [Other or multi-race]
       16      White-Black-AI [Other or multi-race]
       17      White-Black-Asian [Other or multi-race]
       18      White-Black-HP [Other or multi-race]
       19      White-AI-Asian [Other or multi-race]
       20      White-AI-HP [Other or multi-race]
       21      White-Asian-HP [Other or multi-race]
       22      Black-AI-Asian [Other or multi-race]
       23      White-Black-AI-Asian [Other or multi-race]
       24      White-AI-Asian-HP [Other or multi-race]
       25      Other 3 race comb [Other or multi-race]
       26      Other 4 or 5 race comb [Other or multi-race]
[This variable was recoded into 3 categories: White only, Black only, Other or multi-race]




                                                                                             651
   Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 652 of 662      Document 73-1
Hispanic

       PEHSPNON

       1         Yes
       2         No

Employment Status

       PEMLR

       1       Employed – at work [Employed]
       2       Employed – absent [Employed]
       3       Unemployed - on layoff [Unemployed – on layoff]
       4       Unemployed – looking [Unemployed – looking]
       5       Not in labor force – retired [Retired]
       6       Not in labor force – disabled [Disabled]
       7       Not in labor force – other [Other]
[This variable was recoded into 3 categories: Employed, Not employed and not retired, Retired]

Marital Status

       PEMARITL

       1       Married – civilian spouse [Married]
       2       Married – AF spouse present [Married]
       3       Married – spouse absent (exc. Separated) [Married]
       4       Widowed
       5       Divorced
       6       Separated
       7       Never married
[This variable was recoded into 3 categories: Married, Widowed/divorced/separated, and Never
married]

Citizenship

       PRCITSHP

       1       Native, Born in the United States [U.S. citizen]
       2       Native, Born in Puerto Rico or other US island areas [U.S. citizen]
       3       Native, Born abroad of American parent or parents [U.S. citizen]
       4       Foreign born, US citizen by naturalization [U.S. citizen]
       5       Foreign born, Not a citizen of the US [Not a U.S. citizen]
[This variable was recoded into 2 categories: U.S. citizen and Not a U.S. citizen]




                                                                                            652
   Case 2:18-cv-01996-JPS          Filed 09/18/19     Page 653 of 662       Document 73-1
Ever serve on active duty

       PEAFEVER

       1      Yes
       2      No

Type of housing unit

HEHOUSUT
    0    Other unit [Other]
    1    House, apartment, flat [House, apartment, flat]
    2    Hu in nontransient hotel, motel, etc. [Other]
    3    Hu permanent in transient hotel, motel [Other]
    4    Hu in rooming house [Other]
    5    Mobile home or trailer w/no perm. Room added [Other]
    6    Mobile home or trailer w/1 or more perm. Rooms added [Other]
    7    Hu not specified above [Other]
    8    Quarters not hu in rooming or brding hs [Other]
    9    Unit not perm. In transient hotl, motl [Other]
    10   Unoccupied tent site or trlr site [Other]
    11   Student quarters in college dorm [Other]
    12   Other unit not specified above [Other]

[This variable was recoded into 2 categories: House/apartment/flat and Other]




                                                                                          653
   Case 2:18-cv-01996-JPS         Filed 09/18/19    Page 654 of 662       Document 73-1
                        CPS MARCH 2018 ASEC QUESTIONNAIRE

       Household members or household informants completing the 2018 ASEC supplement of

the CPS answered questions about housing tenure, work experience, income, noncash benefits,

and migration. The 2018 CPS ASEC data indicate that 75,356 of the 92,139 (81.8%) households

selected for the survey provided housing tenure information.

       The CPS ASEC Public Use Microdata file uses three different, nested units of

observation. Data from the study are recorded at the household level, the family level, and the

person level for all individuals in each household. Because weighting is designed to yield a

collection of persons who are nationally representative, it is necessary to translate household-

level variables to the person level. Also, because the data for most surveys is designed to

represent the adult (18 and older) population, it is important to exclude children from all

estimates. To accomplish this, metrics at the household level were appended to the person-level

file for all persons 18 and older, and all persons were weighted using the post-stratification

weight (MARSUPWT) included in the Public Use Microdata file.

       To produce the housing tenure benchmarks, the following variable was extracted from

the March 2018 CPS ASEC Public Use Microdata file:

Housing tenure

       H_TENURE

       1       Owned or being bought by a household member
       2       Rented for cash
       3       Occupied without payment of cash rent




                                                                                                   654
    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 655 of 662        Document 73-1
                           National Health Interview Survey (NHIS)

       The NHIS is an annual cross-sectional household interview survey of the civilian

noninstitutionalized United States population. Persons in long-term care institutions, correctional

facilities, and U.S. nationals living in foreign countries are excluded from the survey.

Households and non-institutional group quarters (e.g., college dormitories) are randomly

sampled following a multi-stage area probability design that results in samples of units from

every state and the District of Columbia. The NHIS is the principal source of information on the

health of the civilian non-institutionalized population of the United States and is one of the major

data collection programs of the National Center for Health Statistics.

       Interviews are conducted for the NHIS conducts throughout the year. Randomly sampled

households receive a mailed letter explaining the purpose of the NHIS and providing general

information about NHIS interviews. The NHIS uses field interviewers to conduct in-person

interviews of members of randomly sampled households. One household member who is at least

the age of legal majority for the state of residence is identified as the “household respondent”,

and the household respondent completes the Household Composition section of the

questionnaire. One resident family member who is at least the age of legal majority is identified

as the “family respondent”, and the family respondent completes a Family Core questionnaire on

behalf of all family members living in the household. While NHIS field interviewers conduct

other interviews with randomly selected household members, the benchmarks estimated from

2018 NHIS data came only from the family core questionnaire.

       The 2018 NHIS public use microdata files contained information for 30,309 families

containing 72,831 persons in 29,839 households. The NHIS reports the family level response rate

for the 2018 NHIS, which reflects the number of families providing sufficient family level data




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    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 656 of 662        Document 73-1
in randomly selected and eligible households, at 64.2%. Of the randomly selected and eligible

households, 35.8% refused to participate or failed to sufficiently complete an interview. Most of

the remaining non-interviews were the result of failures to locate a household respondent after

repeated contact attempts.37

        Similar to the CPS ASEC Public Use Microdata file, the NHIS data are recorded at the

family level and the person level for all individuals in each household. IN order to generate

benchmarks at the person level, measures from the family data file were appended to the person-

level file for all persons 18 and older, and all persons were weighted using the post-stratification

weight (WTFA) included in the Public Use Microdata file. The WTFA weights account for: (1)

probability of household selection; (2) known population distributions of demographic

characteristics.

        Answers to two questions in the 2018 NHIS Family Core questionnaire were used to

estimate the “telephones” benchmarks. One question identified families with non-cell phone

telephones in their households and the other identified families with cell phones. The question

wordings and response options to these questions are:

Landline service (CURWRK)
Is there at least one telephone INSIDE your home that is currently working and is not a cell
phone?

        1          Yes
        2          No
        7          Refused
        9          Don't know

Cell phone service (TELCEL)
Do you or anyone in your family have a working cell phone?

        1          Yes
        2          No

37
  Center for Disease Control and Prevention (June, 2019). National Health Interview Survey (NHIS): Public use data
release. Available at:https://www.cdc.gov/nchs/nhis/data-questionnaires-documentation.htm.


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     Case 2:18-cv-01996-JPS              Filed 09/18/19         Page 657 of 662          Document 73-1
      7      Refused
      9      Don't know


      The “Telephone” benchmarks were estimated by categorizing all family members for

whom CURWRK=1 and TELCEL≠1 as “Landline telephone only”, all family members for

whom CURWRK≠1 and TELCEL=1 as “Cellphone only”, and all family members for whom

CURWRK=1 and TELCEL=1 as “Landline and cell phone”. Family members with either

“Refused”, “Not ascertained”, or “Don’t know” for both CURWRK and TELCEL were treated

as “missing” and excluded from the benchmark computation.




                                                                                         657
   Case 2:18-cv-01996-JPS       Filed 09/18/19    Page 658 of 662     Document 73-1
TABLE 1. March, 2019, Benchmarks (unless otherwise noted, benchmarks are from the
                         March 2019 CPS basic survey).

                                                                 March 2019
Variable                    Category                             Benchmarks
Sex                         Male                                 48.27%
                            Female                               51.73%
                            Total                                100.00%

Age                         18-29 years old                      20.80%
                            30-39 years old                      17.27%
                            40-49 years old                      15.92%
                            50-64 years old                      25.06%
                            65 years old or older                20.95%
                            Total                                100.00%

Race                        White only                           77.72%
                            Black only                           12.65%
                            Other/multirace                      9.63%
                            Total                                100.00%

Hispanic                    Hispanic                             16.49%
                            Not Hispanic                         83.51%
                            Total                                100.00%

Education                   Less than HS                         10.66%
                            HS grad                              28.28%
                            Some college                         27.74%
                            College grad                         21.32%
                            Post-grad                            12.00%
                            Total                                100.00%

Employment status           Employed                             62.14%
                            Not employed                         19.02%
                            Retired                              18.84%
                            Total                                100.00%

Marital status              Married                              52.72%
                            Widowed, Divorced, Separated         18.54%
                            Never married                        28.74%
                            Total                                100.00%

Citizenship                 U.S. citizen                         91.41%


                                                                                 658
  Case 2:18-cv-01996-JPS    Filed 09/18/19     Page 659 of 662   Document 73-1
                              Not a U.S. citizen                      8.59%
                              Total                                   100.00%

Ever serve on active duty     Yes                                     7.34%
                              No                                      92.66%
                              Total                                   100.00%

Census region                 Northeast                               17.55%
                              Midwest                                 20.78%
                              South                                   37.90%
                              West                                    23.77%
                              Total                                   100.00%


Metropolitan status           Metropolitan                            86.72%
                              Non-metropolitan                        12.53%
                              Not identified                          .76%
                              Total                                   100.00%

Family income                 Less than $35,000                       26.38%
                              $35,000 - $49,999                       13.02%
                              $50,000 - $74,999                       18.43%
                              $75,000 - $99,999                       13.51%
                              $100,000 or more                        28.65%
                              Total                                   100.00%

Persons living in household   One person                              14.81%
                              Two persons                             34.91%
                              Three or four persons                   35.46%
                              Five or more persons                    14.82%
                              Total                                   100.00%

Housing tenure (ASEC 2018)    Owned or being bought                   67.97%
                              Rented for cash                         30.90%
                              Occupied without payment of cash rent   1.13%

Type of housing unit          House, apartment, flat                  95.66%
                              Other                                   4.34%
                              Total                                   100.00%

Telephones (NHIS 2018)        Landline only                           4.3%
                              Landline and cell phone                 37.7%
                              Cell phone only                         57.9%


                                                                                      659
  Case 2:18-cv-01996-JPS      Filed 09/18/19       Page 660 of 662    Document 73-1
                                            Weighting Procedure

           To develop weights for the USC CESR data, we followed the basic procedure outlined by

a Blue-Ribbon panel convened by the American National Election Studies to generate their

weighting procedure.38 This weighting process involves (1) identifying a series of benchmarks

for weighting, (2) correcting for known deviations from simple random sampling in the design

by using a base weight, (3) running a raking (a.k.a. rim weighting or iterative proportional

fitting) model to produce weights that lead the overall dataset to match the benchmarks that are

most discrepant from those in the sample and (4) trimming any very large weights that emerge in

the process. The approach proposed by panel members is implemented in the ipfweight

command in the STATA software package, which conducts many of the steps recommended by

the Blue-Ribbon Panel in an automated manner, ensuring that arbitrary researcher decisions are

not influencing the eventual results. The ipfweight was specified using an option that trimmed

the weights so a maximum value of 5.

           To produce the weights used for this study, twelve benchmark categories were

considered: sex, Census region, metropolitan status, marital status, persons in household, age

categories, educational attainment, home ownership, race/ethnicity, working status, housing type,

and home internet access. The NHIS benchmarks for combining mobile phones and landlines

were not used for this study for two reasons. First, the sampling procedure used for USC CESR

panel did not rely heavily on telephone interviewing, meaning that there was not a strong

theoretical reason to expect that telephone status would matter for response propensities. Second,

this variable was not available for USC CESR panel members




38
     https://www.electionstudies.org/wp-content/uploads/2018/04/nes012427.pdf


                                                                                                  660
       Case 2:18-cv-01996-JPS             Filed 09/18/19        Page 661 of 662   Document 73-1
        Whenever benchmarking categories included fewer that 5% of the U.S. population or

when there were more than 6 categories for a benchmarking variable, we attempted to combine

that category with the most closely related categories until this was no longer an issue. When

there were multiple equally acceptable combinations of response categories that could be used,

we opted to combine smaller categories first to maximize the proportion of respondents across

each of the benchmarking groups used.

        For most other variables, selections of six or fewer categories to use were made based on

the fewest category classifications that were available. Hence, benchmarks were created for the

four-category age and education variables that were provided as standard demographics by USC

CESR.

        Finally, for variables where a single category was especially frequent relative to the

others, we created dichotomous benchmarks placing respondents either in the modal category or

not. These included metropolitan status (86.72% of the population), home ownership (69.97% of

the population owns their homes), and housing type (95.66% live in a house, apartment or flat).




                                                                                                 661
    Case 2:18-cv-01996-JPS          Filed 09/18/19      Page 662 of 662       Document 73-1
